                            No. 23-1972

           UNITED STATES COURT OF APPEALS
               FOR THE FOURTH CIRCUIT
                    ________________

                PENINSULA PATHOLOGY ASSOCIATES,

                                             Petitioner-Appellee,
                                 v.

              AMERICAN INTERNATIONAL INDUSTRIES,

                                             Respondent-Appellant.

                          ________________

      On Appeal from the United States District Court for the
     Eastern District of Virginia, No. 4:22-mc-00001-AWA-DEM
      Hon. Arenda L. Wright Allen, U.S. District Court Judge
                          ________________

                    JOINT APPENDIX
                VOLUME I OF III: JA1 – JA588
                     ________________

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  bhatch@mcguirewoods.com

  Counsel for Appellant               Counsel for Appellee

December 13, 2023
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Docket Report, In re Peninsula Pathology Assocs.,
  No. 4:22-mc-00001-AWA-DEM (E.D. Va.) ....................................... JA1

R.2 Exhibits Filed (Nov. 18, 2022)

   R.2-1 - Motion to Quash Exhibit 1:
          Declaration of David M. Smith, MD ..................................... JA6

   R.2-2 - Motion to Quash Exhibit 2:
          Declaration of Theresa S. Emory, MD ................................ JA24

   R.2-3 - Motion to Quash Exhibit 3:
          Declaration of John C. Maddox, MD ................................... JA35

   R.2-4 - Motion to Quash Exhibit 4:
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R.4 Exhibits Filed (Dec. 2, 2023)

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          Excerpts of January 10, 2019 Deposition Transcript of
          John Maddox, MD ................................................................ JA41

   R.4-2 - Opposition to Motion to Quash Exhibit B:
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   R.4-3 - Opposition to Motion to Quash Exhibit C:
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    R.8-10 – Reply in Support of Motion to Quash Exhibit 10:
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  R.20-1 - Opposition to Motion re Objections to Magistrate
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  R.20-2 - Opposition to Motion re Objections to Magistrate
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  R.21-1 - Reply in Support of Motion re Objections to Magistrate
        Judge’s Order Exhibit 1: Excerpts of October 1, 2020
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  R.21-4 - Reply in Support of Motion re Objections to Magistrate
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         Comm’n Jan. 8, 2020) ...................................................... JA1361

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   (Aug. 14, 2023) ............................................................................ JA1367

R.30 – Notice of Appeal (Sept. 13, 2023) ........................................ JA1371

FRAP 10(e)(2)(A) Supplement1

   Corrected Exhibit G to Defendant’s Opposition to Motion
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     Transcript, Johnson v. Johnson & Johnson, No. JCCP
     4676/20STCV17335 (Cal. Super. Ct.) .................................... JA1374




   1 The parties stipulated to supplementing the record with this
corrected exhibit pursuant to FRAP 10(e)(2)(A) as one page was
inadvertently omitted from the exhibit below.


                                                 ix
11/18/23, 5:36 AM                                                             CM/ECF - vaed


                                     Query       Reports          Utilities    Help     Log Out

                                                                                                                         APPEAL

                                              U.S. District Court
                                 Eastern District of Virginia - (Newport News)
                           CIVIL DOCKET FOR CASE #: 4:22-mc-00001-AWA-DEM


 Peninsula Pathology Associates                                                       Date Filed: 11/18/2022
 Assigned to: District Judge Arenda L. Wright Allen
 Referred to: Magistrate Judge Douglas E. Miller
 Case in other court: 4CCA Case Manager T. Barton, 23-01972
 Cause: Civil Miscellaneous Case
 Petitioner
 Peninsula Pathology Associates                                       represented by Elizabeth Catherine Lockwood
                                                                                     Ali & Lockwood LLP (DC-NA)
                                                                                     300 New Jersey Ave, NW
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                                                                                     (202) 651-2475
                                                                                     Email: liz.lockwood@alilockwood.com
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                                                                                      Kathryn Marshall Ali
                                                                                      Ali & Lockwood LLP
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                                                                                      Suite 900
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 V.
 Respondent
 American International Industries                                    represented by Benjamin Lucas Hatch
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                                                                                      Wells Fargo Center
                                                                                      440 Monticello Ave

                                                                      JA1
https://ecf.vaed.uscourts.gov/cgi-bin/DktRpt.pl?213584883777104-L_1_0-1                                                       1/5
11/18/23, 5:36 AM                                                         CM/ECF - vaed

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                                                                                  757-640-3700
                                                                                  Email: skastens@mcguirewoods.com
                                                                                  ATTORNEY TO BE NOTICED


  Date Filed            #    Docket Text
  11/18/2022             1 MOTION TO QUASH (Filing fee $ 49, receipt number AVAEDC-8667030.), filed by
                           Peninsula Pathology Associates. (Attachments: # 1 Brief ISO MTQ, # 2 Exhibit, # 3
                           Exhibit, # 4 Exhibit, # 5 Exhibit)(Ali, Kathryn) Modified on 11/18/2022 (epri, ). (Entered:
                           11/18/2022)
  11/18/2022                 Notice of Correction re 1 MOTION to Quash. Document number 1 contains a Brief in
                             Support attached to the Motion which we have removed. The Motion to Quash and the
                             Brief in Support must be filed as separate docket entries. Please refile the Brief in Support
                             as a separate docket entry using its respective event. (epri, ) (Entered: 11/18/2022)
  11/18/2022             2 Memorandum in Support re 1 MOTION to Quash filed by Peninsula Pathology Associates.
                           (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit)(Ali, Kathryn) (Entered:
                           11/18/2022)
  11/18/2022                 Initial Case Assignment to District Judge Arenda L. Wright Allen and Magistrate Judge
                             Douglas E. Miller. (epri, ) (Entered: 11/18/2022)
  11/28/2022             3 Motion to appear Pro Hac Vice by Elizabeth C. Lockwood and Certification of Local
                           Counsel Kathryn M. Ali Filing fee $ 75, receipt number AVAEDC-8679206. by Peninsula
                           Pathology Associates. (Ali, Kathryn) (Entered: 11/28/2022)
  12/02/2022             4 Opposition to 1 MOTION to Quash filed by American International Industries.
                           (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6
                           Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12
                           Exhibit L, # 13 Exhibit M, # 14 Exhibit N, # 15 Exhibit O, # 16 Exhibit P, # 17 Exhibit Q,


                                                                      JA2
https://ecf.vaed.uscourts.gov/cgi-bin/DktRpt.pl?213584883777104-L_1_0-1                                                      2/5
11/18/23, 5:36 AM                                                         CM/ECF - vaed

                             # 18 Exhibit R, # 19 Exhibit S, # 20 Exhibit T, # 21 Exhibit U, # 22 Exhibit V, # 23 Exhibit
                             W, # 24 Exhibit X, # 25 Exhibit Y, # 26 Exhibit Z, # 27 Exhibit AA, # 28 Exhibit BB, # 29
                             Exhibit CC, # 30 Exhibit DD, # 31 Exhibit EE, # 32 Exhibit FF)(Cook, Eric) (Entered:
                             12/02/2022)
  12/02/2022             5 Financial Interest Disclosure Statement (Local Rule 7.1) by American International
                           Industries. (Cook, Eric) (Entered: 12/02/2022)
  12/05/2022             6 ORDER granting 3 a Motion to Appear Pro Hac Vice by Elizabeth C. Lockwood as
                           certified by local counsel Kathryn M. Ali for Petitioner Pennsylvania Pathology
                           Associates. Signed by District Judge Arenda L. Wright Allen on 12/05/2022. (Allen,
                           Arenda) (Entered: 12/05/2022)
  12/05/2022             7 NOTICE of Appearance by Robert E. Thackston on behalf of American International
                           Industries (Thackston, Robert) (Entered: 12/05/2022)
  12/08/2022             8 REPLY to Response to Motion re 1 MOTION to Quash filed by Peninsula Pathology
                           Associates. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, #
                           6 Exhibit, # 7 Exhibit, # 8 Exhibit, # 9 Exhibit, # 10 Exhibit)(Ali, Kathryn) (Entered:
                           12/08/2022)
  12/13/2022                 Set Remote Hearing (CV Magistrate)Members of the public wishing to listen to remote
                             proceedings should call the Norfolk Division at 757-222-7222 before the hearing for
                             instructions on how to listen to the proceedings. Recording of court proceedings of any
                             kind is prohibited. Motion Hearing set for 12/16/2022 at 02:30 PM on Motion to Quash
                             (#1) in Norfolk Remote w/OCR before Magistrate Judge Douglas E. Miller. (cdod, )
                             (Entered: 12/13/2022)
  12/16/2022             9 Minute Entry for proceedings held before Magistrate Judge Douglas E. Miller:Motion
                           Hearing held on 12/16/2022 re 1 MOTION to Quash filed by Peninsula Pathology
                           Associates. Matter came on for hearing on Motion to Quash (#1). Present via zoom were
                           Elizabeth Lockwood and Kathryn Ali on behalf of the petitioner and Eric Cook and Robert
                           Thackston on behalf of the respondent. Mr. Thackston explained the intentions of the
                           motion to quash. Response by Ms. Ali. Argument presented by both parties. For the
                           reasons stated on the record the Court GRANTED the motion to quash. Petitioners have
                           also requested sanctions. The Court heard argument regarding that request. The Court took
                           the request for sanctions under advisement. Petitioners counsel directed to submit a sworn
                           affidavit regarding costs and fees by January 4 And respondents may file a response by
                           January 18. The Court will then issue an order on that matter. Hearing adjourned. (Court
                           Reporter Paul McManus, OCR.)(cdod, ) (Entered: 12/19/2022)
  12/22/2022           10 TRANSCRIPT of Video Conference proceedings held on 12/16/2022, before Judge
                          Douglas E. Miller, Court Reporter/Transcriber Paul McManus, Telephone number 757-
                          222-7077. NOTICE RE REDACTION OF TRANSCRIPTS:The parties have
                          thirty(30) calendar days to file with the Court a Notice of Intent to Request Redaction
                          of this transcript. If no such Notice is filed, the transcript will be made remotely
                          electronically available to the public without redaction after 90 calendar days. The
                          policy is located on our website at www.vaed.uscourts.gov Transcript may be viewed
                          at the court public terminal or purchased through the court reporter/transcriber
                          before the deadline for Release of Transcript Restriction. After that date it may be
                          obtained through PACER Redaction Request due 1/23/2023. Redacted Transcript
                          Deadline set for 2/21/2023. Release of Transcript Restriction set for 3/22/2023.
                          (mcmanus, paul) (Entered: 12/22/2022)
  12/23/2022           11 ORDER re 1 Motion to Quash. The Court GRANTS Peninsula's motion to quash and
                          ORDERS Peninsula to file a sworn statement of its costs and fees by January 4, 2023, and



                                                                      JA3
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11/18/23, 5:36 AM                                                         CM/ECF - vaed

                             ORDERS responses to be filed by January 18, 2023. Signed by Magistrate Judge Douglas
                             E. Miller on 12/23/2022. (dbra, ) (Entered: 12/23/2022)
  01/04/2023           12 MOTION for Attorney Fees by Peninsula Pathology Associates. (Attachments: # 1 Exhibit
                          Ali Decl., # 2 Exhibit Attach. A, # 3 Exhibit Attach. B, # 4 Exhibit Attach. C, # 5 Exhibit
                          Attach. D)(Ali, Kathryn) (Entered: 01/04/2023)
  01/05/2023           13 MOTION for Extension of Time to File Response/Reply as to 11 Order on Motion to
                          Quash, by American International Industries. (Attachments: # 1 Exhibit Exh 1 - Proposed
                          Order)(Thackston, Robert) (Entered: 01/05/2023)
  01/06/2023                 MOTION REFERRED to Magistrate Judge Douglas E. Miller. 13 MOTION for Extension
                             of Time to File Response/Reply as to 11 Order on Motion to Quash, (jhie, ) (Entered:
                             01/06/2023)
  01/06/2023           14 ORDER granting 13 Motion for Extension of Time to File Objections. Respondent
                          American International Industries shall file its Objection to the Magistrate Judge's Order
                          on or before January 11, 2023. Signed by Magistrate Judge Douglas E. Miller on 1/6/23.
                          (jhie, ) (Entered: 01/06/2023)
  01/11/2023           15 NOTICE of Appearance by Benjamin Lucas Hatch on behalf of American International
                          Industries (Hatch, Benjamin) (Entered: 01/11/2023)
  01/11/2023           16 NOTICE of Appearance by Sylvia Macon Kastens on behalf of American International
                          Industries (Kastens, Sylvia) (Entered: 01/11/2023)
  01/11/2023           17 Motion Re: Objections to Magistrate Judge's Ruling or Recommendation re 11 Order on
                          Motion to Quash, by American International Industries. (Kastens, Sylvia) (Entered:
                          01/11/2023)
  01/11/2023           18 Memorandum in Support re 17 Motion Re: Objections to Magistrate Judge's Ruling or
                          Recommendation re 11 Order on Motion to Quash, filed by American International
                          Industries. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5
                          Exhibit 5)(Kastens, Sylvia) (Entered: 01/11/2023)
  01/18/2023           19 RESPONSE to Motion re 12 MOTION for Attorney Fees filed by American International
                          Industries. (Thackston, Robert) (Entered: 01/18/2023)
  01/25/2023           20 Memorandum in Opposition re 17 Motion Re: Objections to Magistrate Judge's Ruling or
                          Recommendation re 11 Order on Motion to Quash, filed by Peninsula Pathology
                          Associates. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit)(Ali, Kathryn)
                          (Entered: 01/25/2023)
  01/31/2023           21 Reply to 17 Motion Re: Objections to Magistrate Judge's Ruling or Recommendation re 11
                          Order on Motion to Quash, filed by American International Industries. (Attachments: # 1
                          Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7
                          Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9)(Hatch, Benjamin) (Entered: 01/31/2023)
  04/04/2023           22 NOTICE by American International Industries (Attachments: # 1 Exhibit 1)(Hatch,
                          Benjamin) (Entered: 04/04/2023)
  04/05/2023           23 Response to 22 NOTICE filed by Peninsula Pathology Associates. (Ali, Kathryn) (Entered:
                          04/05/2023)
  08/14/2023           24 ORDER. American International Industries' Objections (ECF No. 17 ) are OVERRULED,
                          and the Magistrate Judge's Order (ECF No. 11 ) granting the Motion to Quash is
                          AFFIRMED. Signed by District Judge Arenda L. Wright Allen on 8/14/23. (jhie, )
                          (Entered: 08/14/2023)



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  08/16/2023           25 ORDER: This court GRANTS Peninsula's motion for attorney's fees, (ECF No. 12), and
                          awards Peninsula such fees and costs of $44,610.45. This order will fully resolve the case
                          unless either party objects within 14 days under Federal Rule of Civil Procedure 72(a).
                          Copies sent on 8.16.23. Signed by Magistrate Judge Douglas E. Miller and filed on
                          8/16/23. (epri, ) (Entered: 08/16/2023)
  08/30/2023           26 Supplemental MOTION for Attorney Fees by Peninsula Pathology Associates.
                          (Attachments: # 1 Affidavit)(Ali, Kathryn) (Entered: 08/30/2023)
  08/30/2023           27 Objection to 25 Order on Motion for Attorney Fees, filed by American International
                          Industries. (Kastens, Sylvia) (Entered: 08/30/2023)
  08/30/2023           28 Memorandum in Support to 27 Objection filed by American International Industries.
                          (Kastens, Sylvia) (Entered: 08/30/2023)
  09/13/2023           29 RESPONSE in Opposition re 26 Supplemental MOTION for Attorney Fees filed by
                          American International Industries. (Kastens, Sylvia) (Entered: 09/13/2023)
  09/13/2023           30 NOTICE OF APPEAL as to 24 Order on Motion Re: Objections to Magistrate Judge's
                          Ruling or Recommendation, 11 Order on Motion to Quash, by American International
                          Industries. Filing fee $ 505, receipt number AVAEDC-9123189. (Kastens, Sylvia)
                          (Entered: 09/13/2023)
  09/14/2023           31 Transmission of Notice of Appeal to US Court of Appeals re 30 Notice of Appeal, (All case
                          opening forms, plus the transcript guidelines, may be obtained from the Fourth Circuit's
                          website at www.ca4.uscourts.gov) (Attachments: # 1 Notice of Appeal)(jhie, ) (Entered:
                          09/14/2023)
  09/18/2023           32 USCA Case Number 23-1972 4CCA Case Manager T. Barton for 30 Notice of Appeal,
                          filed by American International Industries. (jhie, ) (Entered: 09/18/2023)




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                             Exhibit 1




                                    JA6
Case 4:22-mc-00001-AWA-DEM Document 2-1 Filed 11/18/22 Page 2 of 18 PageID# 89




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                               NEWPORT NEWS DIVISION
  IN RE SUBPOENA FOR DOCUMENTS
  ISSUED TO PENINSULA PATHOLOGY
  ASSOCIATES

                                                   Case No. - - - - - - -

                                                   Related Case: S.D.N.Y.: 1:20-cv-
                                                   5589-GBD




                       DECLARATION OF DR. DAVID M. SMITH, MD

         Dr. David M. Smith, MD hereby declares under penalty of perjury as follows:

         1.      I am over the age of eighteen and am competent to make this Declaration. I have

  personal knowledge of the matters set forth below.

         2.      I am the President of Peninsula Pathology Associates PC ("Peninsula"). I submit

  this Declaration in support of Peninsula's Motion to Quash the subpoena issued by American

  International Industries ("All") in connection with Grefv. Am. Int'l Indus., et al., 1:20-cv-5589

  (S.D.N.Y.), attached hereto as Attachment A, which Peninsula received on November 7, 2022

  (the "Subpoena").

         3.     Peninsula is a medical practice that has been providing pathology services to

  physicians throughout Eastern Virginia for more than 50 years.

         4.     I am aware that one of my partners, Dr. Theresa Emory, and one part-time

  employee, Dr. John Maddox, co-authored an article titled "Malignant mesothelioma following

  repeated exposures to cosmetic talc: A case series of 75 patients," which was published in the

 American Journal oflndustrial Medicine on March 16, 2020 (the "Article").




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Case 4:22-mc-00001-AWA-DEM Document 2-1 Filed 11/18/22 Page 3 of 18 PageID# 90



          5.      Peninsula had no involvement in researching or drafting the Article, and other than

  Dr. Emory and Dr. Maddox, no member of Peninsula's staff participated in researching or drafting

  the Article or conducting the underlying study. Peninsula did not provide Dr. Emory or Dr.

  Maddox with any resources, compensation, or other assistance to research or conduct the study or

  draft or publish the Article.

          6.     Responding to the Subpoena, which contains many requests concerning the Article,

  Peninsula's correspondence with various individuals, Peninsula's financial records, and additional

  materials, would be burdensome and costly, and would divert time and resources from Peninsula's

  busy medical practice.

          7.      Neither Peninsula nor any of its officers, directors, or employees have been

  engaged to provide any consultation or expert services in connection with Gref v. American

  International Industries, No. 1:20-cv-005589 (S.D.N.Y.), nor do they have any other connection

  to that litigation. My only awareness of the Gref litigation is in connection with the Subpoena

  served on Peninsula by American International Industries.



         I declare under penalty of perjury under the laws of the United States of America that the

  foregoing is true and correct.



 Executed this 18th day of November, 2022 in Newport News, VA.



                                                                  iJrn Mv-,10:_I)
                                                              Dr. David M. Smith, MD
                                                              Peninsula Pathology Associates




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Case 4:22-mc-00001-AWA-DEM Document 2-1 Filed 11/18/22 Page 4 of 18 PageID# 91




                       Attachment A




                                    JA9
  Case 4:22-mc-00001-AWA-DEM Document 2-1 Filed 11/18/22 Page 5 of 18 PageID# 92




                                        U 1TED STATE DISTRJCT COURT
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                    BRIAN JOSEPH GREF-

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 To:          Peninsula Pathology Associates, Department of Pathology, 500 J. Clyde Morris Blvd, Newport News, VA 23601



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                                      ATTACHMENT A
                          NOTICE FOR PRODUCTION OF DOCUMENTS:

      I.      DEFINITIONS


   1. "You" and "your" mean the Deponent to whom these Requests are directed, as wel l

   as your predecessors, successors, divisions, affiliates, parent s, su bsidiaries, officers,

   directors, employees, agents, and anyone else acting or purporting to act on your

   behalf.



   2. "Documents" means documents within the broadest possible sense of the Federal

   Rules of Civil Proced ure whelher fixed in tangible medium or electronically stored. The

   word "document s" shall include writings, drawings, graphs, charts, photographs, sound

   recordings, images, and other data compilations, stored in any medium from which

   information can be obtained, translated, if necessary, by the respondent through

   detection devices into reasonably usable form.



   3. "Person" includes an individual, general or limited partnership, joint stock company,

   unincorporated association or society, municipal or other corporation, incorporated

   association, limited liability partnership, limited liability company, the State, an agency

   or political subdivision of the State, a court, and any other governmental entity.



   4. "Identify", "id entity", or "identification," (1) when used in reference to a natural

   person, means that person's full name, last known address, home and business
   telephone numbers, and present occupation or business affiliation; (2) when used in

   reference to a person other than a natural person, means that person's ful l name, a

   description of t he nature of the person (that is, whether it is a corporation, partnership,

   etc. under the definition of " person" below), and the person's last known address,




                                              JA13
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   telephone number, and principal place of business; (3) when used in reference to any

   person after the person has been properly identified previously means the person' s

   name; and (4) when used in reference to a document, requires you to state the date,

   the author (or, if different, the signer or signers), the addressee, and the type of

   document, and to attach copy of the document.



   5. The terms " communications" and "discussions" refer to any exchange of information

   by any means of transmission, including, but not limited to, face-to-face conversations,

   mail, electronic mail, te legrc:im, overn ight delivery, t elephone, facsimile or telex.



   6. "Concerning" means relating to, referring to, describing, evidencing, or constituting.

   Request for documents concerning any subject matter include documents concerning

   communications regarding t hat subject matter.



   7. The following rules of const ruction shall apply to all discovery requests:

   (a) All/Each. The terms "all" and " each" shall be construed as all and each;

   (b) And/Or. The connectives " and" and " or" shall be construed either disjunctively or

   conjunctively as necessary to bring within the scope of the discovery request all

   responses that might otherwise be construed to be outside its scope;

   (c) Number. The use of the si ngular form of any word includes the plural and vice versa;

   and

   (d) The use of the masculine gender shall include the feminine and neutral genders.



   8. "Deponent " refers to Dr. Theresa S. Emory.




                                              JA14
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       II.    INSTRUCTIONS



    1. These requests specifically encompass "electronically stored information" as that term

    is defined by the Federal Rules of Civil Procedure. Accordingly, requests for documents or

    communications should be construed to encompass any electronic storage medium (i.e.,

    hard drive, USB drive, CD/DVD, "cloud" storage), and communication method (i.e., email,

    instant messenger, text message, etc.).



    2. In producing documents and other materials, you are requested to furnish all

    documents or things in your possession, custody or control, regardless of whether such

    documents or materials are possessed directly by you or your directors, officers, partners,

    members, agents, employees, representatives, parent(s), subsidiaries, managing agents,

    affiliates, investigators, or by your attorneys or their agents, employees, representatives

    or investigators.



    3. If any requested document or thing cannot be produced in full, produce it to the extent

    possible, indicating which document, or portion of that document, is being with held, and

    the reason that document is being withheld.



    4. In producing documents, you are requested to produce each document req uested

    together with all non-identical copies and drafts of that document. If the original of any

    document cannot be located, a copy shall be provided in lieu thereof, and shall be legible

    and bound or stapled in the same manner as the original.


    5. Documents shall be produced as they are kept in the usual cou rse of business or

    organized and labeled to correspond to the categories in t his request.




                                              JA15
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    6. All documents shall be produced in t he file folder, envelope, or other container in w hich

    the documents are kept or maint ained by you. If, for any reason, the contai ner ca nnot be

    produced, produce co pies of all labels or other identifying marks.



    7. Documents attached to each other should not be separated.



    8. Documents not otherwise responsive to this request shall be produced if such

    documents mention, discuss, refer t o, or explain the documents which are called for by

    this discovery request, or if such documents are attached to docu ments called for by t his

    discovery request and co nstitute routing slips, transmitta l memoranda, or letters,

    comments, evaluations, or similar mat erials.



    9. If you claim the attorney-client privilege, any other privilege, or work-product

    protection for all or any portion of any document, that portion of the documen t need not

    be produced, but you shall provide t he following information with respect to each such

    document:

    (a ) date;

    (b) author(s) of the document and each and every other person who prepared or

   pa rticipat ed in the preparation of the document;

    (c) a description of its subject matter and physica l size;

   (d) all addresses or recipien ts of t he original or a copy thereof, together with t he date or

   approximate dat e on which said recipient s received said document s;

   (e ) all ot her persons to wh om t he contents of t he document have been disclosed, the

   date such disclosure took place, t he means of such disclosure, the present location of the
   document and all copies t hereof;

   (f) each and every person having custody or control of t he document and all copies
   thereof; and




                                              JA16
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    (g) the nature of the privilege or other rule of law relied upon and any facts supporting

    your position.



    10. Wh enever a document is not produced in full or is produced in redacted form, so

    indicate on the document and state with particularity as possible, those portions of the

    document which are not being produced.



    11. If a document responsive to these requests was at any time in your possession,

    custody, or control but now is no longer available for production, as to each such

    document state the following information :

    (a) whether the document is missing or lost;

    (b) whether it has been destroyed;

    (c) whether the documen t has been transferred or delivered to another person or entity

    and, if so, at whose request;

    (d) whether the document has been otherwise disposed of;

    and;

    (e) a precise statement of the circumstances surrounding the disposition of the
    document and the date of the document's disposition.



       Ill.   DOCUMENTS TO BE PRODUCED



    l. With regard to Dr. Emory's article, " Malignant Mesothelioma Following Repeated

    Exposures to Cosmetic Talc - Case Series of 75 patients" (March 6, 2020) ("EMORY

    ARTICLE"), please produce the following:

    (a) documents rela ting to the alleged peer review process;




                                           JA17
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    (b) all litigat ion files review ed to reach conclusions referenced in t he EMORY ARTICLE that

    the 75 subjects in t hese cases could have only been exposed to asbestos from cosmetic

    talc;

    (c) all documents relat ing to any protocol used for the alleged study that resu lted in t he

    EMORY ARTICLE;

    (d) t he underlying data, notes, analysis, calcul ations or other docum ents generated in the

    preparation and pub lication of the EMORY ARTICLE;

    (e) all correspondence with plaint iffs' counsel in any of the 75 cases relating to those cases

    and as permitted pursuant to FRCP Rule 26(b)(4)(C)(i)-(iii);

    (f) any defense expert reports received as part of the 75 cases referenced in the EMORY

    ARTICLE;

    (g) all documents related to any tissue digestions relied upon in the EMORY ARTICLE;

    (h) all documents relat ing to t he decision whether to preserve relevant bodily tissue or

    do tissue digest ion or analysis of existing t issue for the 75 cases referred to in

    the EMORY ARTICLE;

    (i) all documents relating to Deponcnt's retention and income earned for work conducted

    for the 140 cases reported in the EMORY ARTICLE for medico-legal eval uation;

    (j) all correspond ence, t ransmittal letters and other documents indicating when, and from

    where, materials w ere received that Deponent relied on in preparing the EMORY

    ARTICLE;

    (k) all documents reflecting all eged review of litigation materials in t he 140 cases to

    determine that there were no alternative exposures to asbestos other than alleged

    contamination of cosmetic talc, such as ma rgin notes, checklist, outline, notes, or any

    other documentation of review and ana lysis of the product identification and

    exposure information;

    (I) all sworn deposition testimony and sworn answers to interrogatories provided by

    subjects, parents and spou ses t o Deponent as referenced in the EMORY ARTICLE.




                                              JA18
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    (m) all documentation of any protocol followed to evaluate exposure testimony including

    criteria for resolving factua l disputes, answers to questions subject to objections or

    leading questions;

    (n) all documentation relied upon for conclusions that environments in which plaintiffs in

    the 75 cases lived and worked did not contain asbestos;

    (o) all documentation for any opinion deponent will express regardi ng background levels

    of exposures;

    (p) all documents related to the physical location or residence of the 75 subjects during

    their alleged years of exposure to asbestos;

    (q) all documents related to, or relied upon by Deponent, for Deponent's opinion that

    "Seventy-five individuals (64 females; 11 males) with malignant mesothelioma, whose

    only known exposure to asbestos was repeated exposures to cosmetic talcum powders ..."

    as stated in the EMORY ARTICLE. This includes all materials provided to Deponent by

    plaintiffs' lawyers, that Deponent generated or received from any source that related to

    these specific 75 people;

    (r) documentation reflecting any inquiry Deponent made regarding whether a claim for

    compensation was made on behalf of any of the 75 subjects as a result of exposure to any

    product for which there is a bankruptcy trust;

    (s) all documents which show, refer to, or relate to the analysis of mineral particles used

    to support the conclusion in the EMORY ARTICLE that the 75 subjects were exposed to

    asbestos;

    (t) all documents that refer to the geological source of the ta lcum powder products
    alleged to have been used by t he 75 subjects identified in the 1:MORY ARTICLE

    (u) all documents that identify the type of talcum powder used by each of the 75 subjects

    identified in the EMORY ARTICLE.




                                            JA19
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    2. Al l documents and records relied upon to provide the opinions related to TABLES 1 and

    2 in the EMORY ARTICLE;



    3. All correspondence to and from any lawyer or law firm employee and Deponent, or any

    co-aut hor and between Deponent and any of t he coauthors, relating to any possible

    asbestos exposure of the subjects of t he study. Th is request includes "sworn deposition

    testimonies and answers to interrogatories provided from the subjects, pa rents, and

    spouses" referenced in the article. EMORY ARTICLE p. 2;



    4. All billing documents/invoices related conducting the study reported on in the EMORY

    ARTICLE or writing the article;



    5. Al l fi les relating to each of the cases in which Deponent served as an expert that became

    subjects of the EMORY ARTICLE . (i.e. her file on each case that became a subject of t he

    article);



    6. Al l communications betw een Deponent and any other individuals where the identity of

    test subject s, residence of test subject s, identity of al leged ta lcum powder brand names,

    or exposure history was revealed to anyone who was not an author of the EMORY

    ARTICLE.



    7. Financial records indicating all money that Dr. Emory, or the company of wh ich she is

    an owner, have earned in connection wit h cosmetic ta lc consultation or litigation in

    the last 5 years;




                                             JA20
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    8. All documents reflecting amounts Dr. Emory, or the company of which she is an owner,

    have billed Simmons Hanly Conroy LLC in the last 5 years for any kind of litigation or

    consultation;



    9. All documents reflecting whether Plaintiff Brian Joseph Gref ("Mr. Gref") (Date of Birth:

     XX/XX/1982, Address: XXXX Whispering Forest Drive, Jacksonville, FL 3225 7) was one of

    the subjects of the EMORY ARTICLE.



     10. All correspondence relating to the compensation paid and/or to be paid for

     Deponent's work relat ed to Mr. Gref.



     11. All correspondence, invoices, bills, statements, IRS Form 1099, other income tax

     records, and other documents relating to the compensa tion paid for Deponent's work or

     testimony done for and/or al the request of the law firm of Simmons Hanly Conroy LLC,

     over the last five (5) years.



     12. All notes, correspondence, records, instrument tapes, slides, charts, x-rays, reports,

     opinions, tape recordings and every other documents of every kind or description, which

     the Deponent has created, seen reviewed or to wh ich she has referred in anyway

     regarding Mr. Gref.



     13. All photographs, calculations, worksheets, working papers, memoranda, and every

     other document or depiction of every sort or description, relied upon and/or generated
     by Deponent or at Dcponcnt's request or direction or supervision, that relate to Mr. Gref.



     14. Any materials Deponent ever possessed or reviewed that relate to any of the locations

     where Mr. Gref worked during his lifetime.




                                             JA21
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    15. Any materials Deponent reviewed or created that relates to the calculation of dose

    related to M r. Gref, if any.



    16. Any materials Deponent ever possessed or reviewed that relat e to Mr. Gref's potential

    exposure to " asbestos" from any source other than cosmetic talc.



    17. All notes, records, x-rays, charts, graphs, t apes, instrument recordings, slides, tissue

    specimens, photographs, ca lculations, w orksheets, working papers, memoranda, and

    every other document or depiction of every sort or description relied upon and/or

    generated by the deponent or at the deponent's request or direction or supervision

    relating to Mr. Gref (including but not limited to Mr. Gref's alleged use of certain cosmetic

    talcum powder produ cts).



    18. Any documents related to the background levels of asbestos, specifically including (i)

    any information rela ted t o th e background levels of asbestos that are/were present in

    Deponent's home town, research/testing facilities, and offices, and (ii) any information

    relating to the background levels of asbestos that are/were present in Mr. Gref' s home

    town, residences, and wo rk places.



    19. If you contend that any materials otherwise responsive to these requests are in any

    way exempt from disclosure on any basis, including but not limited to the basis of a

    confidentiality agreement, create a list identifying all such ma terials for in camera

    inspection by the Court.




                                             JA22
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                                    JA23
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                             Exhibit 2




                                    JA24
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                        lN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DI TRICT OF VIRGINIA
                               NEWPORT NEW DIVISION



  lN RE SUBPOE A FOR DOCUME TS
  ISSUED TO PE lNSULA PATHOLOGY
  ASSOCIATES

                                                    Case o.
                                                              - -- -- - -
                                                    Related Case: S.O.N.Y.: I :20-cv-
                                                    5589-GBD




                      DECLARATION OF DR. THERESA S. EMORY, MD

         Dr. Theresa S. Emory MD hereby declares under penalty of perjury as follows:

          I.     I am over the age of eighteen and am competent to make this Declaration. I have

  personal knowledge of the matters set forth below.

         2.      I am an Officer at Peninsula Pathology Associates PC ("Peninsula '), and a board-

  certified physician in anatomic and clinical pathology. I submit this Declaration in support of

  Peninsula's Motion to Quash the subpoena issued by American International Industries (' All") in

  connection with Grefv. Am. Int '/ Indus., et al., I :20-cv-5589 (S.D.N.Y.).

         3.      I co-authored a peer-reviewed article entitled "Malignant mesothelioma following

  repeated exposures to cosmetic talc: A case series of 75 patients." which was subsequently

  published in March 2020 in the American Journal of Industrial Medicine (the "Article ') and is

  attached hereto as Attachment A.




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          4.       The Article was based on a review of certain records associated with 75 individuals

  with malignant mesothelioma who reportedly had no known asbestos exposure other than to

  cosmetic talcum powder.

          5.       Pursuant to the Department of Health and Human Services and the Food and Drug

  Administration Regulations the 75 human subjects were anonymized in the paper.

          6.       I researched and drafted the Article entirely on my own personal time while I was

  away on vacation in February 2020. I did not use any Peninsula resources or equipment to conduct

   my research and/or author the Article. Peninsula did not compensate me for my efforts to conduct

  the study or draft or publish the Article. One of my co-authors, Or. John Maddox, is a part-time

  employee of Peninsula Pathology and worked on his personal time on this article. No other

  Peninsula staff members assisted me with the Article. I also did not discuss the Article with any

   Peninsula employees, other than Dr. John Maddox, until after it was accepted for publication. As

  a result, the research and drafting of the Article were entirely done in my personal capacity,

  separate and apart from my professional affiliation with Peninsula.

          7.        either I nor Peninsula received any compensation for my role as co-author of the

  Article. The Article's contents, subject matter, and findings were not discussed or shared with

  anyone at Peninsula (other than Dr. Maddox) or any outside party prior to its publication.

          8.       ln connection with my role as a testifying expert in a talc case captioned Bell v. Am.

  Int '/ Indus.,   o. 1:17-cv-0011 1 (M.O.N.C.), I was deposed by lawyers at Lathrop GPM

  representing American International Industries (also a defendant in that case) for approximately

  24 hours over the course of four depositions held in October 2020, November 2020, December

  2020, and April 202 1.




                                                     2




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           9.         I have not been retained as an expert in connection with the litigation captioned

   Grefv. Am. int '/ Jndus., el al., I :20-cv-5589 (S.O.N.Y.), nor do 1 have any other involvement in

   that litigation.

           I 0.       It would be a violation of medical ethics rules to divulge the identities of

   anonymized human subjects. Ifl were required to reveal information concerning these anonymized

   human subjects, it could jeopardize my medical license.

           11.        It is critically important that the identities of anonymized human subjects remain

   confidential. Researchers must adhere to good principals of ethics when performing human

   research. Research of pathological specimens may not require special informed consent and be

   subject to Institutional Review Board waiver of informed consent, but only if the researchers

   minimize risk of harm to the research subjects by carefully de-identifying the research materials

   and maintaining anonymity of the research subjects throughout the process.



           I declare under penalty of perjury under the laws of the United States of America that the

   foregoing is true and correct.



   Executed this 17th day of November, 2022 in        ewport News, VA.




                                                                  DQ~~~
                                                                  Peninsula Pathology Associates




                                                      3




                                                 JA27
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                        Attachment A




                                    JA28
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Received: 24 February 2020       | Revised: 5 March 2020 | Accepted: 6 March 2020
DOI: 10.1002/ajim.23106

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RESEARCH ARTICLE
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Malignant mesothelioma following repeated exposures to
cosmetic talc: A case series of 75 patients

Theresa S. Emory MD1                              | John C. Maddox MD1                                 | Richard L. Kradin MD2,3

1
  Department of Pathology, Peninsula
Pathology Associates, Newport News, Virginia               Abstract
2
 Department of Medicine (Pulmonary/Critical
                                                           Background: Asbestos is the primary known cause of malignant mesothelioma. Some
Care), Massachusetts General Hospital,
Boston, Massachusetts                                      cosmetic talc products have been shown to contain asbestos. Recently, repeated
3
 Department of Pathology, Massachusetts                    exposures to cosmetic talc have been implicated as a cause of mesothelioma.
General Hospital, Boston, Massachusetts
                                                           Methods: Seventy‐five individuals (64 females; 11 males) with malignant mesothelioma,
Correspondence                                             whose only known exposure to asbestos was repeated exposures to cosmetic talcum
Theresa S. Emory, MD, Department of
Pathology, Peninsula Pathology Associates,                 powders, were reviewed in medical‐legal consultation. Out of the 75 cases, 11 were
500 J Clyde Morris Blvd, Newport News,                     examined for asbestiform fibers.
VA 23601.
Email: temorymd@gmail.com                                  Results: All subjects had pathologically confirmed malignant mesothelioma. The mean
                                                           age at diagnosis was 61 ± 17 years. The mean latency from exposure to diagnosis was
                                                           50 ± 13 years. The mean exposure duration was 33 ± 16 years. Four mesotheliomas
                                                           (5%) occurred in individuals working as barbers/cosmetologists, or in a family member
                                                           who swept the barber shop. Twelve (16%) occurred in individuals less than 45 years old
                                                           (10 females; 2 males). Forty‐eight mesotheliomas were pleural (40 females; 8 males),
                                                           23 were peritoneal (21 females; 2 males). Two presented with concomitant pleural and
                                                           peritoneal disease. There was one pericardial, and one testicular mesothelioma. The
                                                           majority (51) were of the epithelioid histological subtype, followed by 13 biphasic,
                                                           8 sarcomatoid, 2 lymphohistiocytoid, and 1 poorly differentiated. Of the 11 individuals
                                                           whose nontumorous tissues were analyzed for the presence of asbestiform fibers, all
                                                           showed the presence of anthophyllite and/or tremolite asbestos.
                                                           Conclusions: Mesotheliomas can develop following exposures to cosmetic talcum
                                                           powders. These appear to be attributable to the presence of anthophyllite and
                                                           tremolite contaminants in cosmetic talcum powder.

                                                           KEYWORDS
                                                           anthophyllite, females, mesothelioma, peritoneal, pleural, talc, tremolite




1 | INTRODUCTION                                                                           of malignant mesotheliomas in individuals who had been exposed
                                                                                           to asbestos from a South African asbestos mine. It has been
Asbestos, a generic term for naturally occurring fibrous mineral                           demonstrated that all types of asbestos and even brief and low‐dose
silicates, is recognized as a carcinogen by the general medical and                        exposures are capable of causing malignant mesothelioma.2‐4 In the
                                                       1
scientific communities. In 1960, Wagner et al reported a large series                      1970s, several types of cosmetic talcum powder products were
------------------------------------------------------------------------------------------------------------------------------------------------------------------------------- -
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provided the original work is properly cited.
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                                                                                   JA29
484         wileyonlinelibrary.com/journal/ajim                                                                                              Am J Ind Med. 2020;63:484–489.
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EMORY ET AL.                                                                                                                                  485



demonstrated to contain asbestos.5‐7 Asbestos fibers in commercial       and 1 poorly differentiated (1%). Treatment, therapeutic outcomes,
talcum powder have also been shown to become airborne upon               and survival were not determined in this study.
application, and repeated exposures to cosmetic talc were implicated         For the 11 subjects whose tissues were examined by ATEM
                                            8                        9
as a cause of mesothelioma by Gordon et al. Recently, Moline et al,      and ASEM, the analysis showed the presence of tremolite and/or
reported a series of 33 subjects with malignant mesothelioma, whose      anthophyllite in all 11 subjects (Table 2).
only known exposure to asbestos was cosmetic talc. We present
75 additional subjects, with malignant mesothelioma, whose only
known exposure to asbestos was cosmetic talc.                            4 | D IS C U S S I O N

                                                                         The 75 individuals with malignant mesothelioma caused by asbestos in
2 | METHODS                                                              cosmetic talc is currently the largest series reported to date. Recently,
                                                                         Moline et al reported 33 cases of malignant mesothelioma attributed to
One hundred forty subjects with documented exposures to cosmetic         exposures to cosmetic talc. Like Moline's work, most of mesotheliomas
talc were initially reviewed. Exposures were identified through sworn    in the present series occurred in women. Several mesotheliomas
deposition testimonies and answers to sworn interrogatories provided     occurred specifically in hairdressers/barbers. Similarly, the asbestos
from subjects, parents, and spouses. Sixty‐five subjects were excluded   fiber types found by ATEM in the tissues examined were comparable to
due to recalled occupational or paraoccupational exposures to other      those found in laboratory testing for cosmetic talc.10‐12
sources of asbestos. Seventy‐five subjects, whose only known                 Mesothelioma is recognized as a “signal tumor” of asbestos
exposure to asbestos was via cosmetic talc, were included for further    exposure, that is, if a patient has mesothelioma, it should signal an
examination. The asbestos content of talcum products and airborne        inquiry into potential asbestos exposure. The presence of asbestos in
asbestos concentrations during simulations of the usage of these         talc deposits has been recognized since the late 1940s.13,14 Since
                                                         10,11
products was determined in previously published studies.                 the 1960s, laboratory testing has identified asbestos in samples of
    Tissues from biopsies and/or debulking procedures were examined      cosmetic talc.15,16 Studies have confirmed that the most common
and the diagnosis of malignant mesothelioma was confirmed by a board‐    types of asbestos present in cosmetic talc are tremolite, antho-
certified pathologist (JCM, TSE, RLK). Immunohistochemical staining      phyllite, and chrysotile. Industrial asbestos products used in
results for BAP‐1 were available in a few cases but was not routinely    the United States generally contained chrysotile, amosite, and/or
performed as a part of this study.                                       crocidolite,17 and anthophyllite and tremolite were rarely present.18
    No efforts were made to reconstruct levels of exposure but all           While the latency between exposure and diagnosis in the present
subjects had been repeatedly exposed over many years. Eleven cases       study is similar to the average latency for the development of me-
were examined for the presence of asbestiform fibers (aspect ratio,      sothelioma (50 years) reported in surveillance epidemiology and end
≥3:1) in sampled tissues. Nine subjects were examined both by            results program (SEER) data,19 the average age at diagnosis in this re-
analytical transmission electron microscopy (ATEM) and microprobe        port (61 years) is 11 years younger than that in the SEER data
analysis (MA) (see Table 2), whereas two were examined by scanning       (72 years). In addition, fewer than 3% of mesotheliomas in the SEER
electron microscopy (SEM) and MA (results not shown).                    data occurred in individuals less than 45 years of age, whereas 16% of
                                                                         mesotheliomas of the present study occurred in individuals less than
                                                                         45 years of age, and 83% of these cases were in women.20
3 | RESULTS                                                                  The present report of 75 cases, together with the 35 cases
                                                                         previously reported8,9 currently brings the number of individuals
The pertinent data from the 75 subjects is shown in Table 1. All         with confirmed diagnoses of malignant mesothelioma following
had pathologically confirmed malignant mesothelioma. Sixty‐four          repeated exposure to cosmetic talcum powder to more than 100. The
subjects were females, 11 were males. The mean age at diagnosis was      presence of anthophyllite and tremolite in the fiber analysis of tissues
61 ± 17 years, with a range of 14 to 94 years. The mean exposure         obtained from the 11 subjects in this series, is consistent with a
duration was 33 ± 16 years with a range of exposure from 6 to            source in cosmetic talc.
65 years. The mean latency from time of first exposure to diagnosis          Unlike industrial or occupational exposure to asbestos, where
was 50 ± 13 years with a range of 14 to 72 years. A total of 4 of the    materials have been regulated, exposure to asbestos in cosmetic
75 cases (5%) occurred in barbers/cosmetologists, or in a family         talc has not been widely reported or recognized within the medical
member who swept the barber shop. Twelve (16%) were 45 years old         community or to the public. Cosmetic talc products are most frequently
or younger (10 females, 2 males) at the time of diagnosis. Forty‐eight   used by women in the United States, and while the incidence of
mesotheliomas were pleural (40 females; 8 in males); 23 peritoneal       mesothelioma in women is less than in men, the majority have
(21 females; 2 men). Two presented with both pleural and peritoneal      previously been reported as “idiopathic,” indicating no recognized
disease. There was one pericardial (woman), and one testicular           source of asbestos exposure. The present study supports the contention
mesothelioma. The majority, 51 (68%) were of epithelioid subtype,        that asbestos exposure through the use of cosmetic talc accounts may


                                                                  JA30
13 biphasic (17%), 8 sarcomatoid (11%), 2 lymphohistiocytoid (3%),       account for an uncertain percentage of these cases.
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T A B L E 1 Seventy‐five mesothelioma cases exposed to talcum powder
                                                                                                      Estimated      Estimated years
 Case    Sex    Year of diagnosis   Age at diagnosis   Mesothelioma site      Histology               years of use   of latency

 1       F      2017                72                 Pleural                Epithelioid             20             57

 2       F      2014                51                 Peritoneal             Epithelioid             30             50

 3       F      2017                50                 Pleural                Lymphohistiocytoid      41             50

 4       F      2017                57                 Peritoneal             Epithelioid             30             52

 5       F      2015                65                 Pleural                Epithelioid             39             62

 6       F      2017                39                 Peritoneal             Sarcomatoid             15             39

 7       F      2016                29                 Pericardial            Epithelioid             29             29

 8       F      2017                94                 Pleural                Epithelioid             60             72

 9       F      2015                80                 Pleural                Epithelioid             19             59

 10      F      2016                72                 Pleural                Sarcomatoid             43             59

 11      F      2013                66                 Peritoneal             Epithelioid             20             52

 12      F      2011                48                 Pleural                Lymphohistiocytoid      13             21

 13      F      2010                51                 Peritoneal             Epithelioid             15             20

 14      F      2018                55                 Peritoneal             Epithelioid             40             42

 15      M      2017                81                 Pleural                Sarcomatoid             60             60

 16      F      2018                56                 Pleural                Epithelioid             48             52

 17      F      2017                32                 Peritoneal             Epithelioid             25             32

 18      F      2017                89                 Pleural                Sarcomatoid             40             42

 19      F      2019                73                 Peritoneal             Epithelioid             47             56

 20      M      2016                70                 Pleural                Poorly differentiated   50             55

 21      F      2015                66                 Pleural                Epithelioid             40             43

 22      F      2016                45                 Pleural                Epithelioid             10             45

 23      F      2018                45                 Peritoneal             Epithelioid             39             45

 24      M      2015                67                 Pleural + peritoneal   Epithelioid             35             60

 25      M      2017                78                 Peritoneal             Biphasic                50             62

 26      F      2018                57                 Peritoneal             Biphasic                25             57

 27      F      2013                14                 Peritoneal             Epithelioid             12             14

 28      F      2016                67                 Peritoneal             Epithelioid             15             59

 29      F      2018                73                 Pleural                Epithelioid             30             65

 30      F      2018                76                 Pleural                Biphasic                60             55

 31      M      2017                39                 Testis                 Epithelioid             7              39

 32      F      2018                57                 Pleural                Sarcomatoid             57             57

 33      F      2016                68                 Pleural                Epithelioid             38             64

 34      F      2017                80                 Pleural                Epithelioid             50             60

 35      F      2016                63                 Pleural                Epithelioid             15             54

 36      F      2017                58                 Pleural                Biphasic                20             58

 37      F      2017                71                 Pleural                Biphasic                60             71

 38      F      2014                70                 Pleural                Epithelioid             41             39

 39      F      2016                26                 Peritoneal             Epithelioid             20             26


                                                                JA31
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TABLE 1            (Continued)

                                                                                                                      Estimated          Estimated years
    Case       Sex     Year of diagnosis    Age at diagnosis     Mesothelioma site         Histology                  years of use       of latency

    40         F       2016                 35                   Pleural                   Epithelioid                35                 35

    41         F       2017                 72                   Pleural                   Sarcomatoid                23                 60

    42         F       2016                 68                   Peritoneal                Epithelioid                65                 68

    43         F       2018                 77                   Pleural                   Biphasic                   30                 55

    44         M       2015                 58                   Plural                    Biphasic                   6                  49

    45         F       2017                 72                   Peritoneal                Biphasic                   30                 42

    46         F       2017                 59                   Pleural + peritoneal      Epithelioid                15                 44

    47         F       2016                 80                   Pleural                   Biphasic                   16                 52

    48         M       2019                 71                   Pleural                   Epithelioid                40                 57

    49         F       2017                 72                   Pleural                   Biphasic                   58                 58

    50         F       2017                 43                   Peritoneal                Epithelioid                43                 43

    51         F       2017                 75                   Peritoneal                Sarcomatoid                55                 59

    52         F       2015                 30                   Pleural                   Epithelioid                20                 20

    53         F       2017                 79                   Pleural                   Biphasic                   65                 61

    54         F       2017                 66                   Peritoneal                Epithelioid                20                 60

    55         F       2015                 64                   Peritoneal                Epithelioid                40                 40

    56         F       2017                 24                   Pleural                   Epithelioid                12                 24

    57         M       2017                 72                   Pleural                   Epithelioid                30                 56

    58         M       2017                 74                   Peritoneal                Epithelioid                30                 52

    59         M       2015                 30                   Pleural                   Epithelioid                20                 30

    60         F       2016                 81                   Pleural                   Sarcomatoid                52                 52

    61         F       2017                 58                   Pleural                   Epithelioid                58                 58

    62         F       2016                 75                   Pleural                   Epithelioid                8                  47

    63         F       2011                 88                   Pleural                   Epithelioid                21                 71

    64         F       2016                 73                   Peritoneal                Biphasic                   41                 60
         a
    65         M       2017                 64                   Pleural                   Epithelioid                18                 40
         a
    66         F       2014                 69                   Pleural                   Epithelioid                16                 60
         a
    67         F       2014                 44                   Peritoneal                Epithelioid                30                 39
         a
    68         F       2016                 68                   Pleural                   Epithelioid                53                 52
         a
    69         F       2016                 72                   Pleural                   Epithelioid                40                 51
         a
    70         F       2016                 67                   Pleural                   Epithelioid                37                 53
         a
    71         F       2017                 58                   Pleural                   Epithelioid                41                 46
         a
    72         M       2016                 44                   Pleural                   Epithelioid                43                 44
         a
    73         F       2017                 51                   Pleural                   Epithelioid                28                 49
         a
    74         F       2015                 47                   Pleural                   Epithelioid                15                 40
         a
    75         F       2014                 62                   Pleural                   Biphasic                   14                 53
a
Tissue analysis performed.

         The present study has several limitations. It is both retrospective     exposure—including dates of exposure, duration, and frequency—that is
and uncontrolled, and the cases were submitted in medico‐legal                   rarely obtained in routine medical exposure histories, and which allowed
consultation, all of which potentially introduce bias. However, detailed         for corroborating witness testimony in some cases. The strengths of the


                                                                          JA32
deposition testimonies provide a level of detail concerning product              current series include its size, as malignant mesothelioma is a rare disease
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  T A B L E 2 Fiber detection in tissue digestion from nine cases of malignant mesothelioma
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                                                                                                Concentration (fibers per gram         Limit of detection (fibers per
                                                                                                of wet tissue)                         gram of wet tissue)              Tissue digest weight (g)
                                                                                                Lung, lymph node, omentum,             Lung, lymph node, omentum,       Lung, lymph node, omentum,
   Case     Mesothelioma site     Asbestos type                        Tissues examined         ovary                                  ovary                            ovary

   65       Pleural               Anthophyllite, tremolite             Lung, lymph node         8625                                   4313                             0.08, 0.34

   66       Pleural               Anthophyllite                        Lung, lymph node         15 333, 23 000                         7667, 1150                       0.06, 0.06

   67       Peritoneal            Anthophyllite, tremolite             Omentum, lymph node      1917, 1725                             639, 1725                        0.54, 0.20

   68       Pleural               Anthophyllite, tremolite             Lymph node               3044                                   1015                             0.82, 0.34

   70       Pleural               Anthophyllite, amosite, chrysotile   Lymph node               17 250                                 3450                             1.06




JA33
   71       Pleural               Anthophyllite, tremolite             Lung, lymph node         4313, 857, 3451                        2156, 857, 575                   0.16

   72       Pleural               Anthophyllite, tremolite             Lymph node               17 250                                 3450                             0.02

   74       Pleural               Anthophyllite, tremolite             Lung                     2300                                   460                              2

   75       Pleural               Anthophyllite                        Lung, ovary              3450, 2070                             1150, 2070                       0.6, 0.2

  Note: All cases shown were examined by analytical transmission electron microscopy and structures analyzed by microprobe analysis.
                                                                                                                                                                                                                                                                  Case 4:22-mc-00001-AWA-DEM Document 2-2 Filed 11/18/22 Page 10 of 11 PageID# 115
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(1‐2 cases per 100 000), and its novelty, as exposures to cosmetic talc are    5. Rohl AN, Langer AM. Identification and quantitation of asbestos in
rarely considered by most medical practitioners when they are eliciting           talc. Environ Health Perspect. 1974;9:95‐109.
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Administration, the poor prognosis of malignant mesothelioma may               9. Moline J, Bevilacqua K, Alexandri M, Gordon RE. Mesothelioma
warrant regulation or the withdrawal of cosmetic talcs from the market,           associated with the use of cosmetic talc. J Occup Environ Med.
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was the primary author of the manuscript. RLK revised and gave the                October 1968. https://cdn.toxicdocs.org/gb/gbq4wMVNy39gQpYQo
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Theresa S. Emory      http://orcid.org/0000-0002-8075-4480                        asbestos body cores in patients with mesothelioma. Cancer. 1982;
John C. Maddox       http://orcid.org/0000-0003-1417-0337                         50:2423‐2432.
Richard L. Kradin     http://orcid.org/0000-0002-3953-8671                    19. American Cancer Society. Key Statistics About Malignant Mesothelioma;
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                                                                                  How to cite this article: Emory TS, Maddox JC, Kradin RL.
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                             Exhibit 3




                                   JA35
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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                NEWPORT NEWS DMSION



  IN RE SUBPOENA FOR DOCUMENTS
  ISSUED TO PENINSULA PATHOLOGY
  ASSOCIATES

                                                      Case No. - - -- -- -

                                                      Related Case: S.D.N.Y.: 1:20-cv-
                                                      5589-GBD




                         DECLARATION OF DR. JOHN C. MADDOX, MD

          Dr. John C. Maddox, MD hereby declares under penalty of perjury as follows:

          1.      I am over the age of eighteen and am competent to make this Declaration. I have

  personal knowledge of the matters set forth below.

          2.      I am a part-time employee of Peninsula Pathology Associates LC ("Peninsula"),

   and a board-certified physician in anatomic and clinical pathology as well as hematopathology. I

   submit this Declaration in support of Peninsula's Motion to Quash the subpoena issued by

   American International Industries ("All") in connection with Gref v. Am. Int 'l Indus., et al., l :20-

   cv-5589 (S.D.N.Y.).

           3.     I co-authored a peer-reviewed article entitled "Malignant mesothelioma following

   repeated exposures to cosmetic talc: A case series of 75 patients," which was subsequently

   published in March 2020 in the American Journal of Industrial Medicine (the "Article").

           4.     I researched and drafted the Article entirely on my own personal time. I did not use

   any Peninsula resources or equipment to conduct my research and/or author the Article. Peninsula




                                                JA36
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  did not compensate me for my efforts to conduct the study or draft or publish the Article. Other

  than my co-author, Dr. Theresa Emory, no other Peninsula staff members assisted me with the

  Article. I also did not discuss the Article with any Peninsula employees, other than Dr. Emory,

  until after it was accepted for publication. As a result, the research and drafting of the Article were

   entirely done in my personal capacity, separate and apart from my professional affiliation with

  Peninsula.

          5.      I have not been engaged to provide any consultation or expert services in

   connection with Grefv. American International Industries, No. l:20-cv-005589 (S.D.N.Y.), nor

   do I have any other connection to that litigation.



          I declare under penalty of perjury under the laws of the United States of America that the

   foregoing is true and correct.



   Executed this 17th day of November, 2022 in Palmyra, VA.




                                                                 Dr. John C. Maddox, MD
                                                                 Peninsula Pathology Associates




                                                JA37
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                             Exhibit 4




                                   JA38
Case 4:22-mc-00001-AWA-DEM Document 2-4 Filed 11/18/22 Page 2 of 3 PageID# 121




                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF VIRGINIA
                                     NEWPORT NEWS DMSION


      IN RE SUBPOENA FOR DOCUMENTS
      ISSUED TO PENINSULA PATHOLOGY
      ASSOCIATES

                                                         Case No. _ _ _ _ __

                                                         Related Case: S.D.N.Y.: 1:20-cv-
                                                         5589-GBD




                                 DECLARATION OF KATHRYN M. ALI

              Kathryn M. Ali hereby declares under penalty of perjury as follows:

              l.     I am over the age of eighteen and am competent to make this Declaration. I have

      personal knowledge of the matters set forth below.

              2.     I am a Partner at Ali & Lockwood LLP, which was retained by Peninsula Pathology

      Associates LLC ("Peninsula") in connection with Peninsula's Motion to Quash the subpoena

      issued by American International Industries ("All") in connection with Grefv. Am. lnl '/ Indus., et

      al., l :20-cv-5589 (S.D.N. Y.) (the "Subpoena").

              3.     On November 15, 2022, I attended a meet and confer with All's counsel to discuss

      the Subpoena. During that meet and confer, I asked All's counsel to explain their basis for issuing

      the Subpoena after the conclusion offact discovery in the Gre.flitigation. I also asked All's counsel

      to withdraw the Subpoena as untimely and issued in violation of the court's scheduling or.ders in

      Gref.




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             4.      All's counsel stated its position that there was no prohtl,ition on third-party

      discovery at this phase of the Greflitigation. They did not provide any authority for this contention,

      nor did they cite any court order showing that discovery remained open.

              S.      As of the date of this Declaration, All's counsel has not withdrawn the Subpoena
      or indicated any agreement to do so.



              I declare under penalty of perjury under the laws of the United States of America that the
       foregoing is true and correct.



       Executed this 17th day of November, 2022 in Washington, D.C.~




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                                                     JA40
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               EXHIBIT A




                                   JA41
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                                                                       Page 1
 1         SUPERIOR COURT OF THE STATE OF CALIFORNIA
 2                FOR THE COUNTY OF LOS ANGELES
 3

 4

 5   GAIL KORETOFF, by and through
     her Guardian ad Litem, ALLEN
 6   KORETOFF and ANNEILLIA
     KORETOFF, Individually,
 7
                 Plaintiffs,
 8                                         Case No.
     VS.                                   JCCP 4674 / BC656506
 9
     ARKEMA, INC. f/k/a PENNWALT
10   CORPORATION, et al.,

11               Defendants.

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13
14
15          TELEPHONIC DEPOSITION OF JOHN MADDOX, MD
16                        January 10, 2019
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23
24   REPORTED BY: CARRIE LAMONTAGNE, CSR No. 13393
25   JOB NO: 153779


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                                   JA42
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                                                                                 11
                                                                        Page ?9 1,
                                                                                 r,h
 1   consultation_s of this sort.           After I star:tcd vv0rking            I


 2   at this hospital,    I started doing my own

 3   consultations of that sort in about 1983 or '84.
                                            r,, 1 0
 4                Tn the last year,   r'}

                                      ✓-.VJ....U




 5   have your testifying list there with you -- can you

 6   please tell us how many times you were retained by

 7   the Simon Greenstone firm.

 8                MR. MANDIA:   I'll just note my objection

 ~   because you are pointing him to the list.             Are you
10   talking only cases he was deposed?

11                MR. BAYMAN:   No.   I was using Lhe list as

12   a reference.     My question's broader.

13   BY MR. BAYMAN:

           Q.     Do you know, Doctor, how many times you've
                                                                                 I
15   been retained by Simon Greenstone in the last year?
                                                                                 I
16         A.     Let me give you a broad view of that.          The
17   most active year that I had in reviewing cases was

18   2009 at which time myself and my partner

19   Dr. Jacques Legier -- that's J-A-C-Q-U-E-S,

20   L-E-G-I-E-R -- reviewed a total of about 300 cases

21   that year.     Some of those were duplicates; in other

22   words, he'd make a report and I'd make a report on

23   the same case.

24         I think there were probably a total of about

25   200 patients involved in 300 reports.             I did


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                                                                      Page 30
 1   slightly more than half of those, maybe a hundred

 2   and ten.    He did about 90 of the patients, maybe.

 3   I'm just trying to do the estimate as best I can.

 4         Since that time the yearly number of

 5   consultations has been in the range of a hundred to

 6   slightly more than a hundred.        Last year, in 2018, I

 7   think it was 70 cases.      And this year it will

 8   probably be a total of 70 cases, maybe fewer.          I
 9   have three partners that also review

10   asbestos-related disease cases.        And one of those
11   partners, Dr. Theresa Emory, is increasing the

12   number of cases that she reviews and I'm decreasing

13   the number of cases that I'm reviewing because I'm

14   getting ready to retire fairly soon.

15         Also, two other partners, Dr. Smith and

16   Dr. Swartz, review a lesser number of cases usually

17   just for compensation type situations.

18         Q.    So of the 70 cases that you mentioned in

19   2018, were those 70 cases that you had or that your

20   firm had?

21         A.    Well, all of these cases are reported on

22   the Riverside Regional Medical Center report --

23   equipment, a software program called CoPath and the

24   revenues from all of those cases go into Peninsula

25   Pathology Associates, Incorporated, that is all the


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                                   JA44
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                                                                     Page 31
 1   professional xevEmue.
 2           There's a technical charge for the preparation

 3   of slides and custodian of records and that type

 4   thing that goes to the hospital.        But all of the
 5   professional component billing on that goes to

 6   Peninsula Pathology Associates and it would be

 7   divided equally amongst all of the partners in the

 8   group.

 9           Q.    I understand that.    My question, though,
10   you individually, how many cases did you work on in

11   2018?

12           A.    About 70.

13           Q.    Okay.   And did you write reports in all

14   those cases?

15           A.    Yes.    That would be about 70 that I wrote

16   reports on.      Somewhere between a third and a half of

17   those cases I'd estimate went to deposition and

18   then, let's see, about six or eight, I guess eight

19   of those cases went to trial.

20           Q.    Did you have cases that you worked on in

21   which you did not write reports beyond those 70?

22                 MR. MANDIA:   Andy, let me just insert an

23   objection.      Maybe we can get around it.     I don't
24   know what types of jurisdictions or all the

25   different jurisdictions that Dr. Maddox has been


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                                    JA45
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                                                                      Page 32
 1   asked to, you know, be involved in olher cases and I
                                                                                 I


 2   don't know if there would be privilege rules.

 3         So I'll let him answer that question.         I don't
 4   know how much farther we can go because I would want
                                                                                     :
                                                                                 I
 5   to make sure -- if there are any privileges in those

 6   cases, I wouldn't want that to be violated.
                                                                                 I
                                                                                 I
 7   BY MR. BAYMAN:
                                                                                 I:
 8         Q.    I don't want to reveal the details of the

 9   case if you're retained as a non-Lestifying

10   consultant.     I'm just trying get a s~nse of the
11   numbers.

12         A.    I think that I wrote reports on almost a
13   hundred percent of the cases that I received to

14   review.    Now, historically over the last several
15   years there have been approximately 2 percent of

16   cases where I did not diagnose mesothelioma, but

17   generally speaking I have written a report in those

18   cases as well because I didn't want to be misquoted.

19   And also, you know,     I've been talking about all the
20   cases that I have reviewed, not just Simon

21   Greenstone cases.

22         Q.    Go ahead.

23         A.    My estimate would be that the Simon

24   Greenstone cases are maybe 35 percent of the cases

25   that I see, maybe.      That's about the best that I can


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                                   JA46
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                                                                     Page 33
 1   do onan estimate.      L also do review cas_es fox

 2   Peter Angelos' law firm and for the local law firms,

 3   including Patten, Wornom, Hatten & Diamonstein.

 4         Q.    Simon Greenstone, though, is the biggest

 5   law firm client that you have in the last year?

 6               MR. MANDIA:    Objection to form.     Biggest.
 7         You can answer, Doctor.

 8               THE WITNESS:    I think I probably did

 9   receive more cases from the Simon Greenstone law

10   firm than from any other individual law firm.          I did
11   mention a couple others.      I also review cases for
12   Dean, Omar & Branham law firm.       Those are the major

13   contributors to the cases that I review.

14   BY MR. BAYMAN:

15         Q.    And you would have received more cases

16   from the Simon Greenstone law firm than any other

17   law firm in the past two years also, correct?

18         A.    I think that that's likely.      I can't say
19   with absolute certainty, but I think that's very

20   likely.

21         Q.    And it's also -- you receive more cases

22   from Simon Greenstone than any other law firm in the

23   past five years, correct?

24         A.    Again, that's likely.      I cannot give you
25   precise numbers off the top of my head, but I think


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                                   JA47
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                                                                      Page 34
 1   that's likely.
 2           Q.     And in 2008 you wrote more reports for the
 3   Simon Greenstone firm than any other law firm that
 4   retained you, correct?
 5           A.     Well, that's kind of an asked and answered
 6   question.       That's what I've been trying to say in my
 7   answers for the last three or four questions.
 8           Q.     So that's a yes?

 9           A.     That is a yes.     Well, as best as I can
10   remember, that is a yes.
11           Q.     What is your hourly rate, sir?
12           A.     Well, I do not personally charge for

13   these.       As I mentioned earlier, all of the
14   professional billing goes through Peninsula
15   Pathology Associates at the rate of $500 per hour.
16   As a partner in that firm,         I receive one quarter of
17   that after the cost of billing is subtracted.          So I
18   personally receive about $122 per hour for that

19   work.
20           Q.     In 2008 how much did your company earn

21   from litigation consulting?
22           A.    Well, in aggregate, including the work of
23   Drs. Emory, Swartz and Maddox it was a little bit
24   more than $600,000.
25           Q.    How about in 2017?


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                                     JA48
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                                                                     Page 35
 l               It was less than~~hat~robably.
 2         Q.    Do you have an estimate?

 3         A.    Just off the top of my head I'd say

 4   probably more like about 500,000.        And in years
 5   previous to that probably closer to 400,000.          The
 6   increase during that time has largely been due to

 7   the fact that Dr. Theresa Emory has ramped up her

 8   practice and I have been decreasing mine.

 9         Q.    You still own 25 percent of the company,

10   correct?

11         A.    That's right, yes, sir.

12         Q.    Have you ever had any of your opinions
13   excluded in the past?

14         A.    There was a case in Pittsburgh where my

15   testimony was limited by the judge.        There was a
16   case that I just learned about last year where

17   someone had presented a consult report that I had

18   prepared.    There was an objection from the defense
19   and so the plaintiffs' attorney never followed up on

20   it, and I was excluded from that case because there

21   was an unanswered objection.       And there was a case
22   in Georgia, Butler, B-U-T-1-E-R, where again my

23   testimony was limited.      I understood that there was
24   a problem with the testimony of -- the testimony

25   that established the exposure in the case of that


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                EXHIBIT B




                                   JA50
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                                                                   Page 1

    1       IN THE DISTRICT COURT

    2       11th JUDICIAL DISTRICT

    3       HARRIS COUNTY, TEXAS
    4

    s       CRISTINA LOPEZ and CARLOS LOPEZ,

    6                    Plaintiff(s),

    7               v.                                       Case No.

    8       BRENNTAG NORTH AMERICA, INC., ET AL              2017-86022-ASB

    9                    Defendant(s).

   10
   11       TELEPHONIC DEPOSITION OF JOHN MADDOX, M.D.

   12       DATE:             Wednesday, May 13, 2020

   13       TIME:             9:05 a.m.

   14       REPORTED BY:      Latrice E. Porter, Notary Public

   15       JOB No.:          4046266

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                                     JA51
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                                                                          Page 19

    1       addendum just to account for that one additional
    2       slide.      And the addendum -- you know, the addendum was
    3       unchanged -- unchanged diagnosis.
    4       BY MS. DIWAN:
    5               Q     Okay.   Dr. Maddox, you're a partner at
    6       Peninsula Pathology Associates?
    7               A     No, ma'am.     I retired on December the 31st,
    8       2019.       I am no longer a partner in that firm.              I was a
    9       full partner, but now I am a part-time employee.
   10               Q     Well, congratulations, Dr. Maddox.
   11               A     Well, thank you, ma'am.               I'm now 70 years
   12       old and so I'm starting to ease out of the business
   13       that I've been in for the last 45 years.
   14               Q     Are you still -- but as a part-time employee
   15       of Peninsula, are you still reviewing pathology cases,
   16       both in your clinical practice and in your litigation
   17       consulting role?
   18               A      I have quit doing clinical work.              Much of my
   19       clinical work was hematology.               I would see patients
   20       with hematologic disorders, study their blood films or
   21       perform bone marrow biopsies, or aspirations of lymph
   22       nodes, flow cytometry and so forth, and that has
   23       entire ceased.        I also would look at samples,
   24       clinically, patients with lung disorders, lung
   25       cancers, mesotheliomas and so forth, that has also

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                                                               Page 21

    1       consulting in 2019?
    2              A     Again, I think it would probably be around
    3       that same amount, it might be a bit less, because like
    4       I say, in advance of my retirement, my numbers have
    5       certainly gone down.      And so far
    6              Q     And as a part-time
    7              A     I was going to add
    8              Q     I'm sorry to interrupt, I thought you had
    9       completed.
   10              A     Well, I thought I was finished, too, but I
   11       wasn't.    Sorry.   This year my numbers have gone down
   12       even more than that.      This year, I think that the
   13       total number of cases that I've reviewed this year is
   14       less than ten.
   15              Q     And now that you're a part-time employee of
   16       Peninsula Pathology, and I understand you're no longer
   17       a partner in Peninsula Pathology Associates, what
   18       share of, you know, litigation consulting fees do you
   19       receive in your new role?
   20              A     Well, previously I received 22 or 23
   21       percent, because the revenue was evenly split amongst
   22       four partners, after the cost of billing expenses.
   23       Now, of the professional component stuff, I receive 80
  24        percent.     Of the technical component stuff, I receive
   25       0 percent.    And I'm limited, for expenses

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                                                                Page 22

    1       reimbursement, to about $3,000 per year.         That would
    2       be for things like printer paper, toner for the
    3       printers, ink for the printers, things like that,
    4       FedEx expenses for transferring files back and forth

    5       between my current house and the hospital in Newport
    6       News, and so forth.
    7              Q   All right.     Dr. Maddox -- I'm sorry.

    8              A   I was going to just add one thing.

    9       percent of a small amount is a lot less than 23
   10       percent of a larger amount, so far this year, on
   11       asbestos consulting, my revenue has probably been
   12       somewhere in the neighborhood of $15,000.
   13              Q   I'm sorry, Dr. Maddox, have you
   14                       MS. KAGAN:        I'm sorry, can you repeat
   15       that number?    I didn't hear it clearly.
   16                       THE WITNESS:         I was saying that so far
   17       in the year 2020 my total income from doing
   18       consultation work has probably been about $15,000.
   19                       MS. KAGAN:        Thank you.
   20       BY MS. DIWAN:
   21              Q   Dr. Maddox, have you spoken to Ms. Lopez?
   22              A   No, ma'am, I have not spoken with the
   23       patient.
   24              Q   Have you spoken to any of her treating
   25       physicians?

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                                     JA54
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                                                                   Page 146

    1       burdens versus exposure information.
    2                    We tossed it back and forth and decided,

    3       nah, that was not really going to be practical.                I am

    4       not the one that had done the digestion studies.

    5       There was a bunch of reasons why that wasn't going to

    6       be feasible.     So at that point, we thought, well,

    7       let's just find everybody we have seen who has a

    8       history of talc exposure, whether or not fiber counts
    9       were done and look at that series.

   10                    So he found some cases, I found some cases

   11       and we started working on them.             I have never been a

   12       particularly good medical writer, so late in 2019, I

   13       managed to persuade Dr. Emory to help us out and do

   14       some of the writing on the article.

   15                    In fact, I've been working on her since the

   16       spring of 2019 to help us with the article.             But

   17       finally, I think in December, she agreed to do it.

   18       The cases, 140 cases, I think that about a third of

   19       them came from Dr. Kradin, more than a third of them

   20       came from me, and slightly less than a third of them

   21       came from Dr. Emory.

   22                    Dr. Kradin generated his own data, and I

   23       generated much of the data, not all of it, but much of

   24       the data from the Riverside files, that is myself and

   25       Dr. Emory.     And once I had compiled all the data, I

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                                                                      Page 147

    1       turned it over to Dr. Emory and she wrote the report,
    2       did some of the statistics on things like average age,

    3       average length of exposure and things like that, and
    4       did some drafts.

    5                    Dr. Kradin and I both contributed to the
    6       drafts, and then we submitted it for publication,

    7       sometime I think it was either late February or early
    8       March, late February, I think.             That would also
    9       probably be in the article itself.                Oh yeah, it says
   10       here that it was received 24 of February, 2020,
   11        revised and accepted on March the 6th.               So that's the
   12       narrative.     I hope that was helpful to you.

   13               Q    It was.   Thank you.         If you can turn to the
   14        last page of your article, there's a section called
   15        "All Author Contributions" that sort of gives an
   16       overview of what each of you did.
   17               A    Yes.
   18               Q    I want to ask you first about your role on
   19       this paper, where it says you "initiated the
   20       acquisition and dissolved the initial data analysis."
   21       What does it mean to initiate the acquisition of the
   22       data?
   23               A    Well, I started looking stuff up.             What I
   24       did was I went to that co-path computer system in
   25       and I did natural language searches of some of the

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                                                                       Page 151

    1       exposure or even probable asbestos exposure, we would

    2       exclude that case.      That would then become one of the

    3       65, rather than one of the 75, if you catch me.
    4              Q   Okay.     And when you say we would include the

    5

    6              A   In other words -- well --

    7              Q      65 --

    8              A      I would exclude it.             I'm sorry.     I guess

    9       I should say I would exclude it.              I will take full

   10       responsibility for excluding those 65.                If I came

   11       across something where a patient had occupational

   12       asbestos exposure, I would exclude that patient.                  Only

   13       if I was unable to exclude the patient, would I add
   14       the patient to the 75.
   15                  And in fact, when I turned that data
   16       generation work over to Dr. Emory, there was probably
   17       a few more, probably closer to 80.                And then, I think

   18       in her review and double checking the data, she

   19       probably knocked several more out.

   20              Q   Did you revise the final article?

   21                          MS. KAGAN:      Objection, form.

   22              A   I'm not sure what you mean by the final

   23       article.   I was given access to the various drafts of
   24       the article that Dr. Emory had written.               And I made

   25       some comments and suggestions on those, some of which

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                                                                 Page 154.

    1       corresponding author?
    2              A    Well, she's the one that actually submits
    3       the manuscript to the publisher, and handles the
    4       logistics of any further review, makes sure that her
    5       co-authors sign their disclosure statements.           And when
    6       the article is peer reviewed, the peer review comments
    7       are usually sent to her, and then she would distribute
    8       them to us, Kradin and Maddox.           So she --
    9              Q    And did -- sorry.
   10              A    She becomes the central fulcrum of getting
   11       the paper into the journal.
   12              Q    Can you give me a rough estimate of when you
   13       started case selection on the paper versus when
   14       analysis began, and then at what point drafting began?
   15              A    Well, I would say data acquisition began
   16       last spring, continued through the summer and fall,
   17       and I tried to write, but it was horrible.           And I
   18       finally persuaded her to take over the writing in
   19       December.
   20              Q    Did any one of your co-authors or you review
   21       all 140 cases?
   22                        MS. KAGAN:      Objection, form.
   23       BY MS. DIWAN:
   24              A    I don't think so.       I think that Dr. Kradin
   25       reviewed all the cases that he submitted.            I reviewed

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    1                         MS. DIWAN:      Dr. Maddox --

    2                         MS. KAGAN:      --    (inaudible) of Dr.
    3       Maddox questions about the article, and that was
    4       certainly not my objection.            My objection was to your

    5       questioning about what Dr. Emory did or did not do,
    6       which she had been deposed on by counsel for Johnson &
    7       Johnson in this case, in another matter.            And so, that

    8       was my only point.
    9                         MS. DIWAN:      I would really appreciate

   10       it if I could continue asking questions so we could
   11       move through this.
   12       BY MS. DIWAN:
   13              Q     Dr. Maddox, did you go back and review all
   14       of the information in these cases at the time of
   15       drafting?     Or did you rely on your existing reports in
   16       this case?
   17                         MS. KAGAN:      Objection, form.

   18       BY MS. DIWAN:
   19              A     On most of them, I relied on my existing
   20       report.     The review had already been done previously.

   21       On a few of them, where I wasn't sure about something
   22       or was -- well, when I was uncertain about something,
   23       I would go back to the original file and look at the
   24       primary documents.
   25              Q     Did you submit this case series to any other

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    1              A    Well, I'm sure that there must be.             But I
    2       don't know exactly what they are.                I mean, I know that
    3       they have published some articles that have had

    4       physician reviewers.      But I don't know what their
    5       editorial policy is.
    6              Q    So if you look at the date that this was
    7       received versus the revisions and the acceptance, the

    8       entire process took roughly 10 days for peer review?

    9                         MS. KAGAN:      Objection, form.
   10       BY MS. DIWAN:
   11              A    Yeah, about 12 days from received until
   12       accepted.    That's pretty quick, isn't it?
   13              Q    Do you -- it is.       Do you know any members of
   14       the Editorial Board of the American Journal of
   15       Industrial Medicine?
   16              A    If you were to ask me what their names are,
   17       I wouldn't be able to tell you.             I certainly don't
   18       know any of them personally.           In the course of things,
   19       I became aware that they had a change of editor
   20       sometime around the first of the year, but I can't

   21       remember the name of the previous editor nor the
   22       current editor.
   23              Q    Before the article was accepted for
   24       publication, did you communicate with any plaintiff's
   25       attorneys in the talc litigation with respect to the

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    1       article?
    2              A     Well, there were a couple of times where I
    3       had to ask for more information, a transcript or
    4       something of that sort.          But the attorneys had no

    5       editorial control or input for that matter on anything
    6       about -- anything to do with the publication of this
    7       article.     This was not something that was requested by
    8       them, but they became aware of the fact that we were
    9       working on something when on a few occasions, I would
   10       go ask for additional documentation or transcripts or
   11       something of that sort.          And also --

   12              Q     Did you
   13              A     Also, let me mention that I was asked a
   14       question by one of the defense attorneys last summer,
   15       was I working on something?            And I -- and that was in

   16       a deposition, and I answered him, yes, I am working on
   17       an article on mesotheliomas.             And that -- I'll tell

   18       you his name in a second.           It was Shep something, not

   19       Shep the plaintiff's attorney, but the Shep, the
   20       defense attorney.       I'm blocking on his name right now.

   21       I'm sorry.     But it was during the summer.
   22              Q     When you       so my question is limited to

   23       plaintiff's lawyers.        When you went back and asked for
   24       additional materials to plaintiff's lawyers, did you
   25       identify the case that you were looking for those

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                                       JA61
Case 4:22-mc-00001-AWA-DEM Document 4-2 Filed 12/02/22 Page 13 of 19 PageID# 174




                                                                     Page 165

    1        additional materials on?
    2                A     Well, yes, I guess I would've had to have
    3        done that.

    4                Q     And roughly how many cases did you do that
    5        for?
    6                A     Not very many.      10?     Less?
    7                Q     Did you identify which materials you needed,
    r.
    0        but specifically that you needed a deposition

    9        transcript?
   10                A      You know, it was different from case to
   11        case.       But on some of those, it probably was
   12        transcript.       On some of those, it would've been
   13        questions on what had been proven about this or that,
   14        which I don't remember the details of it.              But it was
   15        variable from case to case.
   16                Q      So that last statement when you said what
   17        had been proven about this or that, do you mean that
   18        you went back to the attorney to ask what happened in
   19        this case regarding, you know, tissue digestion or
   20        something, and then the plaintiff's attorney responded
   21        to you?
   22                            MS. KAGAN:      Objection, form.
   23        BY MS. DIWAN:
   24                A      Well, that probably happened at least once.
   25                Q     And do you recall what happened in that

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                                        JA62
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                                                                   Page 167

    1                           MS. KAGAN:      Objection, form.
    2       BY MS. DIWAN:
    3              A       Like what do you mean?
    4              Q       Is there, you know, an internal review board
    5       at Peninsula Pathology Associates?
    6              A       Well, now, the hospital has IRBs,
    7       Institutional Review Boards for review of studies done
    8       with therapeutics.       But this was a -- pretty much a
    9       retrospective type study, where institutional review
   10       boards are not required.
   11              Q       So did you consult anyone -- and when you
   12       say the hospital, do you mean Riverside?
   13              A       Well, yes, Riverside Hospital has a -- an
   14       institutional review board.             I used to be on it, years
   15       ago.       But as it says on the last page of this paper,
   16       as these cases were selected from medical legal
   17       consultation practice and no identifying information
   18       was included, there was no formal institutional
   19       consent nor informed consent required.             Which means
   20       that it does not go through an institutional review
   21       board like a paper on therapeutics would have to go.
   22              Q       Is Riverside aware of your work in Talc
   23       litigation?
   24                          MS. KAGAN:       Objection, form.
   25       BY MS. DIWAN:

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                                       JA63
Case 4:22-mc-00001-AWA-DEM Document 4-2 Filed 12/02/22 Page 15 of 19 PageID# 176




                                                                     Page 178

    1                    If there are other specific publications
    2       that address that, I'm unable to give you the citation
    3       for them.

    4              Q    The next sentence -- and the version I'm
    5       looking at -- maybe this is a typo that's been
    6       corrected -- states, "The present study supports the
    7       contention that asbestos exposure through the use of
    8       cosmetic talc accounts, may account for the              UHl_;t=L tc1..i.11


    9       percentage of these cases."             Is typo in the version
   10       that you're looking at as well?
   11              A     Yes, ma'am, it is.           I think --
   12              Q    All right.       Do you
   13              A     "Accounts" was the first word that was
   14       there.     And that was probably supposed to be redlined
   15       and substitute "may account".
   16              Q     Okay.    All right.        So I'm going to ask you
   17       about the cases now.         Do you have a key that matches
   18       up each of the 75 cases reported in the article with
   19       the name of the plaintiff in the litigation?
   20              A     No.     I no longer have that.         When I
   21       delivered the data to Dr. Emory, I relinquished the
   22       key to case number with the descriptors of the case.
   23              Q     And will you answer questions about the
   24       identity of those 75 cases if I pose you a series of
   25       questions on the cases reported in your table?

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                                        JA64
Case 4:22-mc-00001-AWA-DEM Document 4-2 Filed 12/02/22 Page 16 of 19 PageID# 177




                                                                       Page 183

    1               Q    Dr. Maddox, each of these 75 cases came to
    2        you as an expert in litigation, is that right?
    3                             MS. KAGAN:      Objection, form.
    4        BY MS. DIWAN:
    5               A    Well, not necessarily to me.             I mean, some
    6        of them came to Dr. Emory, some of them came to Dr.
    7        Kradin.     But I do believe that at one time or another

     8       most of these people had been involved in litigation.
     9              Q     Okay.     And when you say involved in
   10        litigation, they were involved in health litigation?
   11                             MS. KAGAN:      Objection, form.
   12        BY MS. DIWAN:
   13               A     I can't really answer that.            Not
   14        necessarily.     Some of the excluded cases could have
   15        been involved in other forms of the asbestos
   16        litigation.
   17               Q    Okay.      How did you determine that these 75
   18        cases were unique from those reported in Dr. Moline's
   19        33 cases series?
   20               A    You know, that's a very interesting
   21        question.     In fact, some of the cases that were
   22        excluded were cases that Dr. Moline may have been
   23        involved with possibly.           And at some point -- at some
   24        point in our discussion, Dr. Emory and I worried
   25        together about that.         And earlier I had told you that

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                                         JA65
Case 4:22-mc-00001-AWA-DEM Document 4-2 Filed 12/02/22 Page 17 of 19 PageID# 178




                                                              Page 184

    1       there were a few patients that we based inquiries on

    2       regarding whether we should include them or not.         Some

    3       of those inquiries probably had to do with that.         I'm
    4       sorry if I have to sort of speak around the issue.

    5       But we try to be cognizant of that possibility, and

    6       that was one reason that we tried to exclude some of

    7       the 65 cases that we did exclude.
    0
    u


    9              A     So is it possible that we may have missed
   10       something?     I suppose it's possible that we could have

   11       missed one or two.        But if we did, there's very, very
   12       few overlap cases here.
   13              Q     Let's turn to Case 72 in your series.      If

   14       you look at your table, it's a 44-year-old man.

   15              A     Yes, ma'am.
   16              Q     And if you look at your second table, it
   17       shows that he had tissue digested from his lymph nodes
   18       that showed anthophyllite and tremolite in your tables
   19       one and two.

   20              A     Yes, ma'am.
   21              Q     And now I want to turn your attention to
   22       Exhibit 12, which is Moline 2019.
   23              A     Okay, let me put my hands back on it.      Yes,
   24       ma'am.     I've got it right here.
   25              Q     All right.     If you look at the top of page

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                                       JA66
Case 4:22-mc-00001-AWA-DEM Document 4-2 Filed 12/02/22 Page 18 of 19 PageID# 179




                                                                   Page 185

    1        13, case number six.         Case number six is a 34-year-old
    2       man.       Do you see that?
    3              A       Yes, ma'am.
    4              Q      All right.      Now, if you turn to your article
    5        at Table one, case 72 is also listed as a 44-year-old
    6       male, right?
    7              A       It is.
    8              Q       I'm sorry to make you jump around.       But if
    9       you turn to Table 2, the details of the tissue
   10       analysis on your case 72 matches up with the details
   11       on Dr. Moline's Table two, case number six, correct?
   12                           MS. KAGAN:      Objection, form.
   13       BY MS. DIWAN:
   14              A      Well, I will admit the numbers are very
   15       similar.
   16              Q      So it reports that that case had tissue from
   17       his lymph node digested and the concentration of
   18       tissue in both tables, in both articles, is 17,250.
   19       And the limit of detection in both articles is 3,450.
   20       And anthophyllite and tremolite were found in the
   21       tissue as reported in both articles, right?
   22              A      Patients with those characteristics are
   23       reported in both articles.
   24              Q      So what steps did you take to confirm there
   25       were no other typographical or analytical errors in

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                                         JA67
Case 4:22-mc-00001-AWA-DEM Document 4-2 Filed 12/02/22 Page 19 of 19 PageID# 180




                                                                   Page 186

    1      Dr. Moline's report that would not have led to
    2       possible double counting in your case series?

    3                          MS. K.~G~~J:    Objection, form.

    4       BY MS. DIWAN:
    5               A     If I missed it, I missed it.         And as far as

    6       your question were there any other cautions that we
    7       took to avoid that, I'd have to refer you back to Dr.

    8       Emory because he's the one that did the final analysis

    9       of the (indiscernible) cases for the study.
   10               Q     Did you intend to take any other steps to

   11       verity that these are in fact unique cases from the
   12       case that was reported in Dr. Moline's series?
   13                          MS. KAGAN:       Objection, form.

   14       BY MS. DIWAN:
   15               A     Well, I'd have to go to the co-authors about
   16       that.       Just per se, I mean, it does not -- well, I'd
   17       have to go back to the co-authors on that.
   18               Q     Do you intend to revise the statement
   19       currently in your article that states you and your co-
   20       authors present 75 additional subjects to only 33?
   21                           MS. KAGAN:      Objection, form.
   22       BY MS. DIWAN:
   23               A      I'd have to talk to my co-authors about
   24       that.
   25               Q      In your article, you state anthophyllite and

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                                       JA68
Case 4:22-mc-00001-AWA-DEM Document 4-3 Filed 12/02/22 Page 1 of 12 PageID# 181




                EXHIBIT C




                                   JA69
Case 4:22-mc-00001-AWA-DEM Document 4-3 Filed 12/02/22 Page 2 of 12 PageID# 182




   l    IND I AN A:

   2         IN SUPERIOR COURT 2 FOR THE COUNTY OF MARION

   3

   4

   5    DARRELL PALMER and NORMA          )
        PALMER,                           )
   6                                      )
                  Plaintiffs,             )
   7                                      )
        V.                                ) NO. 49D02-l704-MI-0l6728
   8                                      )
        APPLETON GRP, LLC d/b/a    )
   9    APPLETON GROUP and EMERSON )
        ELECTRIC, et al.,          )
  l0                                      )
                  Defendants.             )
  ll                                      )

  12

  13

  14

  15                 DEPOSITION UPON ORAL EXAMINATION OF

  16                           JOHN C. MADDOX, MD

  17                  TAKEN ON BEHALF OF THE DEFENDANTS

  18                        Newport News, Virginia

  19                      Wednesday, December 27,       2017

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 6    VS                                     Nos. IJ7 ~C~761
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 7    AW CHESTERTON COMPA.NV, et al,


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 5          Attorney at Law
            214 Cap Ito l Street
 6          Ch ar1e sto n, West Vlrg lri ta 2 S 30 ·t
            (30~) 346-5500
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Case 4:22-mc-00001-AWA-DEM Document 4-3 Filed 12/02/22 Page 4 of 12 PageID# 184




                                                                                1
          1   STATE OF SOUTH CAROLINA
                                                 COURT OF COMMON PLEAS
          2   COUNTY OF SPARTANBURG

          3   Beverly Dale Jolly and
              Brenda Rice Jolly,
          4
                          Plaintiffs,
          5
              vs.                                 Case No:   2016-CP-42-01592
          6
              General Electric Company, et al.,
          7
                          Defendants.
          8

          9

         10                        T E L E P H O N I C

         11                        D E P O S I T I O N

         12

         13   WITNESS:           JOHN MADDOX, MD

         14   DATE:              Tuesday, June 13, 2017

         15   TIME:              10:04 a.m.

         16   TAKEN BY:          Attorneys for the Defendants

         17

         18   REPORTED BY:       Heather M. Curlin, RPR

         19

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  1        IN THE SUPERIOR COURT OF NEW JERSEY LAW DIVISION
                           MIDDLESEX COUNTY
  2
  3 KAYLA MARTINEZ,

  4                         Plaintiff,

  5   v.                                                        DOCKET NO.
                                                             MID-L-1120-17 AS
  6 !AVON PRODUCTS,        INC., et al. ,

  7                         Defendants.
  8

  9

 10              DEPOSITION UPON ORAL EXAMINATION OF
                        JOHN C. MADDOX, M.D.
 11

 12                   February 22, 2018 - 1:10 p.m.
 13                       Newport News, Virginia
 14

 15
 16
 17

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 22
 23
      REPORTED BY:        Gale W. Murphy
 24
 25


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                                         JA76
     Case 4:22-mc-00001-AWA-DEM Document 4-3 Filed 12/02/22 Page 6 of 12 PageID# 186


                                                                                  Page 1
 1                SUPERIOR COURT OF THE STATE OF CALIFORNIA
 2                      FOR THE COUNTY OF LOS ANGELES
 3



 4

         CAROLYN WEIRICK, et al,
 5

                         Plaintiff,
 6

         V.                                                             Case No.
 7                                                                 JCCP 4674 / BC656425
         BRENNTAG NORTH AMERICA, INC.
 8       (sued individually and as a
         successor-in-interest to
 9       MINERAL PIGMENT SOLUTIONS, INC.
         and as success-in-interest to
10       WHITTAKER CLARK & DANIELS,
         INC.)' et al,
11
                          Defendants.
12


13
14                      DEPOSITION OF JOHN C. MADDOX, MD
15
16                           March 8, 2018 - 9:00 a.m.
17
18
19

                              Newport News, Virginia
20

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23

24       Reported by:   Lisa T. Lineberry
25       Job No. 138950

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                                           JA77
Case 4:22-mc-00001-AWA-DEM Document 4-3 Filed 12/02/22 Page 7 of 12 PageID# 187


                                                                             1
       1                 IN THE UNITED STATES DISTRICT COURT

       2                 MIDDLE DISTRICT OF NORTH CAROLINA

       3

       4    IN RE: ASBESTOS PRODUCTS
            LIABILITY LITIGATION
       5
            DOROTHY E. SMITH, Individually
       6    and as Executrix of the Estate
            of JULIAN JACKSON SMITH,
       7
                         Plaintiff(s),
       8
                    V                      C/A No. 1:16-cv-00379-LCB-LPA
       9
            WEYERHAEUSER COMPANY, et al.,
      10
                         Defendant(s).
      11

      12       T E L E C O N F E R E N C E        D E P O S I T I O N

      13

      14    WITNESS:               JOHN C. MADDOX, M.D.

      15    DATE:                  Tuesday, May 8, 2018

      16    TIME:                  10:00 a.m.

      17    LOCATION:              Riverside Regional Medical Center
                                   500 J. Clyde Morris Boulevard
      18                           Newport News, Virginia 23601

      19    TAKEN BY:              Attorneys for the Defendant(s)

      20    REPORTED BY:           DEBORAH L. DUSSELJEE, RPR, CRC
                                   Realtime Systems Administrator
      21

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Case 4:22-mc-00001-AWA-DEM Document 4-3 Filed 12/02/22 Page 8 of 12 PageID# 188
                                    John C. Maddox, M.D. - 7/24/2018
                               John Dugger, Jr. v. Union Carbide Corporation


                                                                                           Page 1
                       IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF MARYLAND


               JOHN DUGGER, JR., et al.,

                                      Plaintiffs                Civil Action No.
              V                                                 16-cv-03912-CCB

              UNION CARBIDE CORPORATION,

              et al.,

                                      Defendants
               *               *               *                *              *



                   TELEPHONE DEPOSITION OF JOHN C. MADDOX, M.D.

                                        PLAINTIFF EXPERT

                                          JULY 24, 2018



                              Reported by:          Denise M. Thomas




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                                            JA79
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 1         DISTRICT COURT IN AND FOR OKLAHOMA COUNTY

 2                        STATE OF OKLAHOMA

 3

 4

 5   SHARON PIPES and spouse,       )
               Plaintiff ,          )
 6                                  )
                                    )
 7   VS.                            )      CJ-2017-3487
                                    )
 8                                  )
     JOHNSON & JOHNSON, et al       )
 9            Defendants.           )

10     ---------------------------------------------------

11                            JURY TRIAL

12                            VOLUME IV

13
             Held Before the Honorable SUSAN STALLINGS
14                         District Judge

15

16                         March 18th, 2019

17     ---------------------------------------------------

18

19

20

21   Reported By:

22         Sherrol L. Ledbetter, RPR, CSR
           Official Court Reporter
23         321 Park Avenue, Suite 304




                                JA80
         Oklahoma City, OK   73102
24

25



            OFFICIAL TRANSCRIPT      --   STATE OF OKLAHOMA

                                                              1176



 1                   A P P E A R A N C E S

 2   FOR THE PLAINTIFFS:

 3
                   MR. CHRIS PANATIER
 4                 MS. JESSICA DEAN
                   302 N. Market Street, Suite 300
 5                 Dallas, TX 75202

 6

 7                 MR. STEVEN T. HORTON
                   114 NW 6th Street, Suite 201
 8                 Oklahoma City, OK 73102

 9

10   FOR THE DEFENDANTS:

11

12                 MR. MANUEL CACHAN
                   MS. SUSAN GUTIERREZ
13                 2029 Century Park East, Suite 2400
                   Los Angeles, CA 90067
14

15                 MR. ERIC COOK
                   440 Monticello Avenue
16                 Norfolk, VA 23510

17

18                 MR. MICHAEL T. MALOAN
                   201 Robert S. Kerr Ave, 12th Floor
19                 Oklahoma City, OK 73102




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            OFFICIAL TRANSCRIPT     --   STATE OF OKLAHOMA

                                                              1177



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 2

 3   WITNESSES FOR THE PLAINTIFF:

 4

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 6         Direct Examination by MS. DEAN               196

 7         Cross Examination by MS. GUTIERREZ           296

 8         Redirect Examination by MS. DEAN             464

 9         Recross Examination by MS. GUTIERREZ         478

10

11

12       JAMES WEBBER

13         Direct Examination by MR. PANATIER           485

14         Cross Examination by MR. COOK                630

15         Redirect Examination by MR. PANATIER         770




                             JA82
16     Recross Examination by MR. COOK              796

17

18

19   JACQUELINE MOLINE

20     Direct Examination by MR. PANATIER           891

21     Cross Examination by MR. CACHAN              991

22     Redirect Examination by MR. PANATIER        1143

23     Recross Examination by MR. CACHAN           1162

24

25



        OFFICIAL TRANSCRIPT     --   STATE OF OKLAHOMA

                                                          1178



 1                       INDEX (cont)

 2   KRISTEN JANNEY

 3     Direct Examination by MS. DEAN            1265

 4     Cross Examination by MR. CACHAN           1298

 5     Redirect Examination by MS. DEAN          1310

 6

 7

 8   JOHN MADDOX

 9     Direct Examination by MS. DEAN            1313

10     Cross Examination by MR. COOK             1425

11     Redirect Examination by MS. DEAN          1663




                           JA83
12         Recross Examination by MR. COOK          1698

13         Redirect Examination by MS. DEAN         1716

14

15

16       WILLIAM LONGO

17         Direct Examination by MR. PANATIER       1747

18         Cross Examination by MR. CACHAN          1871

19         Redirect Examination by MR. PANATIER     2146

20         Recross Examination by MR. CACHAN        2172

21

22

23       SHARON PIPES

24         Direct Examination by MS. DEAN           2180

25         Cross Examination by MS. GUTIERREZ       2203



            OFFICIAL TRANSCRIPT    --   STATE OF OKLAHOMA

                                                             1179



 1                          INDEX (cont)

 2   WITNESS FOR THE DEFENDANT

 3       RICHARD ATTANOOS

 4         Direct Examination by MR. COOK             2359

 5         Cross Examination by MS. DEAN              2462

 6         Redirect Examination by MR. COOK           2636

 7         Recross Examination by MS. DEAN            2662




                              JA84
Case 4:22-mc-00001-AWA-DEM Document 4-3 Filed 12/02/22 Page 10 of 12 PageID# 190


       JOHN MADDOX, M.D.                                    December 11, 2020
       BREWER vs AIR & LIQUID SYSTEMS CORP                                  1

   1                    UNITED STATES DISTRICT COURT
   2                    FOR THE DISTRICT OF ARIZONA
   3    Lidia Brewer, as Anticipated                  Case No.:
   4    Representative of the Estate of           2:18-cv-3339-PHX-ROS
   5    Kenneth Brewer, Deceased, as
   6    surviving spouse, and on behalf
   7    of Decedent's surviving
   8    statutory beneficiaries, Kenneth:
   9    Brewer, Jr. and Tina Brewer,
  10                Plaintiffs,
  11    v.
  12    Air & Liquid Systems Corporation:
  13     (sued as successor-by-merger to
  14    Buffalo Pumps, Inc.),
  15                Defendants.
  16
  17                                         Friday, December 11, 2020
  18    Zoom Deposition of:
  19                          JOHN MADDOX, M.D.
  20                A witness, called for examination by counsel
  21    for the defendants, pursuant to notice, via Zoom,
  22    beginning at 11:14 a.m., before Cheryl K. O'Donnell, a
  23    Court Reporter and Electronic Notary Public in and for
  24    the Commonwealth of Virginia at Large.
  25


                                                         800.211.DEPO (3376)
                                                         EsquireSolutions. com




                                    JA85
Case 4:22-mc-00001-AWA-DEM Document 4-3 Filed 12/02/22 Page 11 of 12 PageID# 191




                                                                    Page 1

     1        IN THE DISTRICT COURT
     2        11th JUDICIAL DISTRICT

     3        HARRIS COUNTY, TEXAS
    4

    5         CRISTINA LOPEZ and CARLOS LOPEZ,
     6                    Plaintiff(s),
    7                v.                                       Case No.
    8        BRENNTAG NORTH AMERICA, INC., ET AL              2017-86022-ASB
     9                    Defendant (s).

   10
   11        TELEPHONIC DEPOSITION OF JOHN MADDOX, M.D.

   12        DATE:             Wednesday, May 13, 2020
   13        TIME:             9:05 a.m.

   14        REPORTED BY:      Latrice E. Porter, Notary Public
   15        JOB No.:          4046266

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                                      JA86
Case 4:22-mc-00001-AWA-DEM Document 4-3 Filed 12/02/22 Page 12 of 12 PageID# 192




                                                                              Page 1

    1                                COMMONWEALTH OF KENTUCKY
                                     JEFFERSON CIRCUIT COURT
    2                                CASE NO:       18-CI-03951
                                             DIVISION 12
    3     -------------------------------------------------x
          MICHAEL CLOUSE,
    4                                        Plaintiff


    5                 -against-


    6    ASSOCIATED DRYWALL SUPPLIERS, INC., d/b/a
          LAGRANGE HARDWARE & BUILDING SUPPLY, INC., et al.,)
    7                                        Defendants.
          -------------------------------------------------x
    8
    9
   10                        TRANSCRIPT of the Virtual Deposition
   11     of the witness, JOHN C. MADDOX, MD, taken by Defendant,
   12     called for Oral Examination in the above-captioned
   13    matter, said deposition being taken pursuant to Federal
   14    Rules of Civil Procedure by and before, ELEANOR SEKULIC,
   15     a Notary Public on Wednesday, March 17, 2021, commencing
   16     at 9:58 a.m.
   17
   18
   19
   20
   21               PRIORITY-ONE COURT REPORTING,                 INC.
   22          290 West Mount Pleasant Avenue, Suite 2260
   23                  Livingston, New Jersey               07039
   24                             ( 718) 983-1234
   25    Job Number:      4387774

                  Priority-One Court Reporting Services Inc. -A Veritext Company
                                          718-983-1234




                                        JA87
Case 4:22-mc-00001-AWA-DEM Document 4-4 Filed 12/02/22 Page 1 of 10 PageID# 193




                EXHIBIT D




                                   JA88
Case 4:22-mc-00001-AWA-DEM Document 4-4 Filed 12/02/22 Page 2 of 10 PageID# 194

                                                Theresa Swain Emory, M.D.                 October 1, 2020

                                                                                         Page 1

    1                        IN THE UNITED STATES DISTRICT COURT
    2                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
    3                                           GREENSBORO DIVISION
    4                                           -   -   -   -   -   -   -   X

    5      LLOYD BELL,                Individually and
           as Executor of the Estate of
    6      BETTY WHITLEY BELL, Deceased
                                          Plaintiff
    7                  vs.                                                      Civil Action No.
           AMERICAN INTERNATIONAL                                               l:17-cv-00111
    8      INDUSTRIES,                INC., et al.
                                          Defendants
    9      -   -   -    -    -    -   -    -    -   -   -   -   -   -   -   X

           AMERICAN INTERNATIONAL
   10      INDUSTRIES,                INC.
                                          Third-Party
   11                                     Plaintiff
                       vs.
   12      NESLEMUR COMPANY f/k/a,                              THE
           NESTLE-LEMUR COMPANY
   13                                     Third-Party
                                          Defendant
   14                                                                   -   X

   15                            VIRTUAL VIDEOTAPED DEPOSITION OF
   16                                     THERESA SWAIN EMORY, M.D.
   17      DATE:                          Thursday, October 1, 2020
   18      TIME:                          10:21 a.m.
   19      LOCATION:                      Remote Proceedings
   20      REPORTED BY: Denise M. Brunet, RPR
   21
   22

                                                  Veritext Legal Solutions
                                               202-803-8830 -- 410-494-8300


                                                        JA89
Case 4:22-mc-00001-AWA-DEM Document 4-4 Filed 12/02/22 Page 3 of 10 PageID# 195




                                                                       Page 1
                      COMMONWEALTH OF MASSACHUSETTS
                        SUPERIOR COURT DEPARTMENT
                              MIDDLESEX, SS.

       ROBERT M. ALIOTTA AND PATRICIA
       J. DINON, AS PERSONAL
       REPRESENTATIVES OF THE ESTATE
       OF PATRICIA ALIOTTA, DECEASED,

       Plaintiffs,

       vs.                                       Civil Action No.
                                                 19-1101

       AKZO NOBEL PAINTS, LLC, ET
       AL.,

       Defendants.




         VIDEOCONFERENCE DEPOSITION OF THERESA EMORY, M.D.
                      Taken on behalf of Defendants
                                 June 1, 2022




                       JULIE HUNDELT, RPR, CCR, CSR
                           Missouri CCR No. 829
                       Illinois CSR No. 084-004789




                                   JA90
Case 4:22-mc-00001-AWA-DEM Document 4-4 Filed 12/02/22 Page 4 of 10 PageID# 196


      1             SUPERIOR COURT OF THE STATE OF CALIFORNIA

      2    COUNTY OF LOS ANGELES - COURT OF UNLIMITED JURISDICTION

      3

      4   Coordinated Proceedings                    Case No. JCCP 4674
          Special Title (Rule 3.550)
      5
          LAOSD ASBESTOS CASES
      6

      7   LINDA ZIMMERMAN,                           Case No. BC720153

      8                        Plaintiff,

      9                vs.

     10   AUTOZONE, INC., et al.,

     11                         Defendants.

     12

     13                                 VOLUME I

     14         TELEPHONIC DEPOSITION OF THERESA S. EMORY, M.D.

     15                        THURSDAY, MARCH 12, 2020

     16

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     22   REPORTED BY:

     23   VICKI HAINES, CSR NO. 5995

     24   JOB NO. 462775

     25



                                              1

                             THERESA S. EMORY, M.D. - VOLUME I                  .        '
                                                                         Court R&parters !




                                   JA91
Case 4:22-mc-00001-AWA-DEM Document 4-4 Filed 12/02/22 Page 5 of 10 PageID# 197
                                          Theresa S. Emory, M.D. 7/14/2017
                                               Robert Jones v. ACandS


                                                                                              Page 1
               IN RE:          BALTIMORE CITY              * IN THE CIRCUIT COURT

                               ASBESTOS CASES              * FOR BALTIMORE CITY

               *      *        *      *      *      *      *      *      *   *   *        *
               ROBERT JONES, et al.,                       * September 12, 2017
                                    Plaintiffs             * Mesothelioma Trial
                                                             Cluster
               v.                                          * Consolidated Case
                                                             No. : 24X16000497
               ACandS,         INC., et al.,               *
                                                             Law Offices of Peter
                                    Defendants             * G. Angelos

               *   *   *   *    *                   *      *   *   *   *         *        *
               CASE AFFECTED:                                Case No.
               IOANNIS SANDALIS                            * 24Xl6000416
               *   *   *   *    *                   *      *   *   *   *         *        *


                   TELEPHONIC DEPOSITION OF THERESA S. EMORY, MD

                                      PLAINTIFF EXPERT WITNESS

                                          BALTIMORE, MARYLAND

                                                 JULY 14, 2017



               Reported by Kathleen E. Manes, Court Reporter



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                                                  JA92
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                     IN THE SUPERIOR COURT FOR THE STATE OF WASHINGTON

                                      FOR THE COUNTY OF KING


            JAMES A. PETTIE and
            HARRIET E. PETTIE,

                        Plaintiffs,
                                                        No. 20-2-13224-1 SEA
            vs.

            BRAKE PARTS, INC., LLC, et al.,

                        Defendants.
            _____________/


                             DEPOSITION OF THERESA EMORY, M.D.


                        Taken by the Defendants, on the 3rd day of March, 2021,

                  via Zoom, before Dawn M. Houghton, CSR-3071, Certified

                  Shorthand Reporter, Registered Professional Reporter,

                  Illinois License 084.004881, Washington License 20109559,

                  Oregon License 20-0469, and notary public, at 9:02 a.m.

                  Eastern.




                                       JA93
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                                                                     Page 1
              IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                     COUNTY DEPARTMENT - LAW DIVISION

         STEVE WIERSEMA and CHERYL
         WIERSEMA,

                     Plaintiffs,
                                              Case No. 201910011944
         v.

         BASF CATALYSTS, LLC,
         et al.,

                     Defendants.




                 VIDEOTAPED ZOOM DISCOVERY DEPOSITION OF
                           THERESA EMORY, M.D.
                    Taken on Behalf of the Defendants
                               June 25, 2020




                            Susan L. Law, CCR, CSR




                                   JA94
Case 4:22-mc-00001-AWA-DEM Document 4-4 Filed 12/02/22 Page 8 of 10 PageID# 200
                    Deposition of Theresa S. Emory, MD - 8/14/2019
             Paul H. Fankhauser, et al. v. Borg Warner Morse, Tee, LLC, et al.


                                                                                 Page 1
        1          IN THE IOWA DISTRICT COURT FOR POLK COUNTY
        2

        3
              PAUL H. FANKHAUSER and
        4     MARY M. FANKHAUSER,
        5          Plaintiff,
        6     v.                    Case No.
                                   LACL140972
        7     BORG WARNER MORSE, TEC, LLC, et al,
        8          Defendants.
        9     ------------------------------------
       10
                      DEPOSITION OF THERESA S. EMORY, MD
       11
       12               August 14, 2019 - 11 :00 a.m.
       13
       14
                           Newport News, Virginia
      15
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                              Benchmark Reporting Agency
                                    612.338.3376



                                     JA95
     Case 4:22-mc-00001-AWA-DEM Document 4-4 Filed 12/02/22 Page 9 of 10 PageID# 201



                                                                   Page 1   (Page 1)

 1        IN THE COURT OF COMMON PLEAS OF CUYAHGOA COUNTY, OHIO
                          CIVIL ACTION - ASBESTOS
 2
     BEVAN GROUP 30
 3   BARBARA MADDY, Executor for                )
     The Estate of JAMES MADDY,
 4
                       Plaintiffs,
                                                ~   Case No.
 5

 6
     V.

     HONEYWELL INTERNATIONAL INC., )
                                                l   CV-17-881732
                                                    JUDGE HARRY HANNA
     et al.,                       ~)
 7
                  Defendants.
 8

 9

10

11
                    DEPOSITION UPON ORAL EXAMINATION
12                      Of THERESA S. EMORY, M.D.
                    TAKEN ON BEHALF OF THE DEFENDANT
13
                           Newport News, Virginia
14                            January 21, 2019
15

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                                        JA96
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                                                                               1


               IN THE CIRCUIT COURT FOR LAWRENCE COUNTY, TENNESSEE

          BRIDGET B. BAILEY,

                            Plaintiff,                        DOCKET NO.
                                                               2752-13
          v.

          AUTOZONE, INC., et al.

                            Defendants.



                            DEPOSITION UPON ORAL EXAMINATION
                               OF THERESA S. EMORY, M.D.,
                            TAKEN ON BEHALF OF THE DEFENDANT
                             HONEYWELL INTERNATIONAL, INC.


                                 Newport News, Virginia

                                  January 30, 2018

                                      VOLUME I

          Appearances:
                SHRADER & ASSOCIATES, L.L.P.
                By: THOMAS H. HART, III, ESQUIRE
                     JORDAN C. ROBERTS, ESQUIRE
                     Counsel for the Plaintiff

                  WILLCOX & SAVAGE, P.C.
                  By: KEVIN P. GREENE, ESQUIRE
                          and
                  BAKER, O'KANE, ATKINS & THOMPSON, PLLP
                  By: MICHAEL K. ATKINS, ESQUIRE (via telephone)
                          and
                  K&L GATES
                  By: MELISSA J. TEA, ESQUIRE (via telephone)
                       Counsel for the Defendant Honeywell
                       International, Inc.




                            ADAMS HARRIS REPORTING, INC.
                                    (757)631-0458



                                    JA97
Case 4:22-mc-00001-AWA-DEM Document 4-5 Filed 12/02/22 Page 1 of 7 PageID# 203




                EXHIBIT E




                                   JA98
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Received: 24 February 2020      Revised: 5 March 2020      Accepted: 6 March 2020

DOI: 10.1002/ajim.23106


RESEARCH ARTICLE




Malignant mesothelioma following repeated exposures to
cosmetic talc: A case series of 75 patients

Theresa S. Emory MD 1 G I John C. Maddox MD 1 G I Richard L. Kradin MD 2 •3 ~

'Department of Pathology, Peninsula
Pathology Associates, Newport News, Virginia
2 Department of Medicine (Pulmonary/Critical

Care), Massachusetts General Hospital,
Boston, Massachusetts
3 Department of Pathology, Massachusetts

General Hospital, Boston, Massachusetts

Correspondence
Theresa S. Emory, MD, Department of
Pathology, Peninsula Pathology Associates,
500 J Clyde Morris Blvd, Newport News,
VA 23601.
Email: temorymd@gmail.com




1     I INTRODUCTION                                                            of malignant mesotheliomas in individuals who had been exposed
                                                                                to asbestos from a South African asbestos mine. It has been
Asbestos, a generic term for naturally occurring fibrous mineral                demonstrated that all types of asbestos and even brief and low-dose
silicates, is recognized as a carcinogen by the general medical and             exposures are capable of causing malignant mesothelioma. 2--4 In the
scientific communities. In 1960, Wagner et al 1 reported a large series         1970s, several types of cosmetic talcum powder products were

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484       wileyonlinelibrary.com/journal/ajim                                                                              Am J Ind Med. 2020;63:484-489.




                                                                     JA99
Case 4:22-mc-00001-AWA-DEM Document 4-5 Filed 12/02/22 Page 3 of 7 PageID# 205

          ~A'-------------------111111~111111r,:1111-w 1LEY--'---
~EM~OR~Y~er                                                                                                                                     4 85
                                                                                                                                                 -

demonstrated to contain asbestos. 5 •7 Asbestos fibers in commercial       and 1 poorly differentiated (1%). Treatment, therapeutic outcomes,
talcum powder have also been shown to become airborne upon                 ;md survival were not determined in this study.
application, and repeated exposures to cosmetic talc were implicated           For the 11 su_bjects whose tissues were examined b:( ATE!vl
as a cause of mesotheliom,i by Gordon et al. 8 Recently, Moline et al, 9   and ASEM, the analysis showed the presence of tremolite and/or
reported a series of 33 subjects with malignant mesothelioma, whose        anthophyllite in all 11 subjects (Table 2).
only known exposure to asbestos was cosmetic talc. We present
75 additional subjects, with malignant mesothelioma, whose only
known exposure to asbestos was cosmetic talc.                              4   I DISCUSSION

                                                                           The 75 individuals with malignant mesothelioma caused by asbestos in
2   I METHODS                                                              cosmetic talc is currently the largest series reported to date. Recently,
                                                                           Moline et al reported 33 cases of malignant mesothelioma attributed to
One hundred forty subjects with documented exposures to cosmetic           exposures to cosmetic talc. Like Moline's work, most of mesotheliomas
talc were initially reviewed. Exposures were identified through sworn      in the present series occurred in women. Several mesotheliomas
deposition testimonies and answers to sworn interrogatories provided       occurred specifically in hairdressers/barbers. Similarly, the asbestos
from subjects, parents, and spouses. Sixty-five subjects were excluded     fiber types found by ATEM in the tissues examined were comparable to
due to recalled occupationai or paraoccupational exposures to other        those found in laboratory testing for cosmetic ta1c. 1c~ 12
sources of asbestos. Seventy-five subjects, whose only known                   Mesothelioma is recognized as a "signal tumor" of asbestos
exposure to asbestos was via cosmetic talc, were included for further      exposure, that is, if a patient has mesothelioma, it should signal an
examination. The asbestos content of talcum products and airborne          inquiry into potential asbestos exposure. The presence of asbestos in
asbestos concentrations during simulations of the usage of these           talc deposits has been recognized since the late 1940s. 13•14 Since
products was determined in previously published studies. 10•11             the 1960s, laboratory testing has identified asbestos in samples of
    Tissues from biopsies and/or debulking procedures were examined        cosmetic talc. 1s· 16 Studies have confirmed that the most common
and the diagnosis of malignant mesothelioma was confirmed by a board-      types of asbestos present in cosmetic talc are tremolite, antho-
certified pathologist (JCM, TSE, RLK). lmmunohistochemical staining        phyllite, and chrysotile. Industrial asbestos products used in
results for BAP-1 were available in a few cases but was not routinely      the United States generally contained chrysotile, amosite, and/or
performed as a part of this study.                                         crocidolite, 17 and anthophyllite and tremolite were rarely present. 18
    No efforts were made to reconstruct levels of exposure but all             While the latency between exposure and diagnosis in the present
subjects had been repeatedly exposed over many years. Eleven cases         study is similar to the average latency for the development of me-
were examined for the presence of asbestiform fibers (aspect ratio,        sothelioma (SO years) reported in surveillance epidemiology and end
2:3:1) in sampled tissues. Nine subjects were examined both by             results program (SEER) data, 19 the average age at diagnosis in this re-
analytical transmission electron microscopy (ATEM) and microprobe          port (61 years) is 11 years younger than that in the SEER data
analysis (MA) (see Table 2), whereas two were examined by scanning         (72 years). In addition, fewer than 3% of mesotheliomas in the SEER
electron microscopy (SEM) and MA (results not shown).                      data occurred in individuals less than 45 years of age, whereas 16% of
                                                                           mesotheliomas of the present study occurred in individuals less than
                                                                           45 years of age, and 83% of these cases were in women.2°
3   I RESULTS                                                                  The present report of 75 cases, together with the 35 cases
                                                                           previously reported 8 •9 currently brings the number of individuals
The pertinent data from the 75 subjects is shown in Table 1. All           with confirmed diagnoses of malignant mesothelioma following
had pathologically confirmed malignant mesothelioma. Sixty-four            repeated exposure to cosmetic talcum powder to more than 100. The
subjects were females, 11 were males. The mean age at diagnosis was        presence of anthophyllite and tremolite in the fiber analysis of tissues
61 ± 17 years, with a range of 14 to 94 years. The mean exposure           obtained from the 11 subjects in this series, is consistent with a
duration was 33 ± 16 years with a range of exposure from 6 to              source in cosmetic talc.
65 years. The mean latency from time of first exposure to diagnosis            Unlike industrial or occupational exposure to asbestos, where
was 50 ± 13 years with a range of 14 to 72 years. A total of 4 of the      materials have been regulated, exposure to asbestos in cosmetic
75 cases (5%) occurred in barbers/cosmetologists, or in a family           talc has not been widely reported or recognized within the medical
member who swept the barber shop. Twelve (16%) were 45 years old           community or to the public. Cosmetic talc products are most frequently
or younger (10 females, 2 males) at the time of diagnosis. Forty-eight     used by women in the United States, and while the incidence of
mesotheliomas were pleural (40 females; 8 in males); 23 peritoneal         mesothelioma in women is less than in men, the majority have
(21 females; 2 men). Two presented with both pleural and peritoneal        previously been reported as "idiopathic," indicating no recognized
disease. There was one pericardia! (woman), and one testicular             source of asbestos exposure. The present study supports the contention
mesothelioma. The majority, 51 (68%) were of epithelioid subtype,          that asbestos exposure through the use of cosmetic talc accounts may
13 biphasic (17%), 8 sarcomatoid (11%), 2 lymphohistiocytoid (3%),         account for an uncertain percentage of these cases.




                                                                  JA100
Case 4:22-mc-00001-AWA-DEM Document 4-5 Filed 12/02/22 Page 4 of 7 PageID# 206

  ~-w, LEv-llllllbl.11111.llllr------------------~EM~o~RY~•T~AL.
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-

TABLE 1   Seventy-five mesothelioma cases exposed to talcum powder




 1    F        2017               72                Pleural          Epithelioid          20   57
                                                                     Epithe!ioid

 3    F        2017               50                Pleural          Lymphohistiocytoid   41   50
                                                                     Epithelioid

 5    F        2015               65                Pleural          Epithelioid          39   62


 7    F       2016                29                Pericardia!      Epithelioid          29   29


 9    F       2015                80                Pleural          Epithelioid          19   59


 11   F       2013                66                Peritoneal       Epithelioid          20   52


 13   F       2010                51                Peritoneal       Epithelioid          15   20


 15   M       2017               81                 Pleural          Sarcomatoid          60   60


 17   F       2017               32                 Peritoneal       Epithelioid          25   32


 19   F       2019               73                 Peritoneal       Epithelioid          47   56


 21   F       2015               66                 Pleural          Epithelioid          40   43


 23   F       2018               45                 Peritoneal       Epithelioid          39   45


 25   M       2017               78                 Peritoneal       Biphasic             50   62


 27   F       2013               14                 Peritoneal       Epithelioid          12   14


29    F       2018               73                 Pleural          Epithelioid          30   65


31    M       2017               39                 Testis           Epithelioid          7    39


33    F       2016               68                 Pleural          Epithelioid          38   64


35    F       2016               63                 Pleural          Epithelioid          15   54


37    F       2017               71                 Pleural          Biphasic             60   71


39    F       2016               26                 Peritoneal       Epithelioid          20   26




                                                       JA101
Case 4:22-mc-00001-AWA-DEM Document 4-5 Filed 12/02/22 Page 5 of 7 PageID# 207
EMORY [T AL.
                                                                                                         - j ~ - WI LE v~-4-37
TAB LE 1        (Continued)




 41         F       2017                  72                   Pleural                   Sarcomatoid               23                 60
 42         F       2016                  68                   Peritoneal                Epithelioid               65                 68
 43         F       2018                  77                   Pleural                   Biphasic                  30                 55
 44         M                                                  Plural                    Biphasic                  6                  49
 45         F       2017                  72                   Peritoneal                Biphasic                  30                 42

 46         F                                                  Pleural+ peritoneal       Epithelioid               15                 44
 47         F       2016                  80                   Pleural                   Biphasic                  16                 52
 48         M                                                                            Epithelioid               40                 57
 49         F       2017                  72                  Pleural                    13iphosic                 58                 58
 50         F                                                  Peritoriea!               Epithelioid

 51         F       2017                  75                   Peritoneal                Sarcomatoid               55                 59

                                                                                                                   20
 53         F       2017                  79                  Pleural                    Biphasic                  65                 61
                                                               Peritoneal

 55         F       2015                  64                   Peritoneal                Epithelioid               40                 40
            F

 57         M       2017                  72                  Pleural                    Epithelioid               30                 56


 59         M       2015                  30                   Pleural                   Epithelioid               20                 30
 60
 61         F       2017                  58                  Pleural                    Epithelioid               58                 58



 63         F       2011                  88                  Pleural                    Epithelioid               21                 71
 64                                                                                      Biphasic;

 65'        M       2017                  64                  Pleural                    Epithclioid               18                 40


 67'        F       2014                  44                  Peritoneal                 Epithelioid               30                 39


 69"        F       2016                 72                   Pleural                    Epithcl ioid              40                 51


 71"        F       2017                  58                  Pleural                    Epithelioid               41                 46


 73'        F       2017                 51                   Pleural                    Epithelioid               28                 49


 75°        F       2014                 62                   Pleural                    Biphasic                  14                 53
'Tissue analysis performed.

      The present study has several limitations. It is both retrospective      exposure-including dates of exposure, duration, and frequency-that is
and uncontrolled, and the cases were submitted in medico-legal                 r·ar·ely obtained in routine medical exposure histories, and which allowed
consultation, all of which potentially introduce bias. However, detailed      for corroborating witness testimony in some cases. The strengths of the
deposition testimonies provide a level of detail concerning product           current series include its size, as malignant mesothelioma is a rare disease




                                                                    JA102
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        TABLE 2      Fiber detection in tissue digestion from nine cases of malignant mesothelioma

                                                                                                     :tbncentration (fibers i;er




         65       Pleural               Anthophyllite, tremolite             Lung, lymph node         8625                                   L313            0,08, 0.34
                                        Anthophyllite                                                                                        7667,1150       0.06, 0,06
JA103




         67       Peritoneal            Anthophyllite, trcmolite             Omentum, lymph node      1917, 1725                             639, 1725       0.54, 0.20
                                        A nth op hyllit¢;lr~tno Iite                                                                         1015            0,82, 0.34
         70       Pleural               Anthophyllite, amosite, chrysotile   Lymph node               17250                                  3450            1.06
                                                                                                      4313,~57/@~51                          2156, 857,575   0.16
         72       Pleural               Anthophyllite, tremolite             Lymph node               17 250                                 3450            0.02
                                                                                                                                             460             2
         75       Pleural
                                      _______
                                        Anthophyllite
                                                           ,.,,    ,.,   ,,,,,   ________
                                                                             Lung, ovary              3450,2070                              1150,2070       0,6, 0.2
        Note: All cases shown were examined by analytical transmission electron microscopy and structures analyzed by microprobe analysis.




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~EM~OR~Y.:'._•T~AL._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                                                    --1111111•11.111,111111-w 1LEY--'--4-B9
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                                                                                . ders: mlneraland ·chemical· characterization. J Toxic:ol ··Environ··Health.
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was the primary author of the manuscript. RLK revised and gave the                October 1968. https://cdn.toxicdocs.org/gb/gbq4wMVNy39gQpYQo
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                 EXHIBIT F




                                  JA105
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                                                                          ORIGINAL ARTICLE



                 Mesothelioma Associated With the Use of Cosmetic Talc
           Jacqueline Moline, MD, MSc, Kristin Bevilacqua, MPH, Maya Alexandri, JD, and Ronald E. Gordon, PhD

                                                                                            presence of three different types of asbestos fibers in 22 of 22 talcum
        Objective: To describe 33 cases of malignant mesothelioma among indi-
                                                                                            products tested (tremolite, anthophyllite, and chysotile). However,
        viduals with no known asbestos exposure other than cosmetic talcum
                                                                                            talcum powder is still widely produced and consumed with a
        powder. Methods: Cases were referred for medico-legal evaluation, and
                                                                                            reported 58.3 million adults using body and baby powder in the
        tissue digestions were petformed in some cases. Tissue digestion for the six
                                                                                            United States in 2017. 26
        cases described was done according lo standard methodology. Results:
                                                                                                   While the relationship between occupational exposure to
        Asbestos of the type found in talcum powder was found in all six cases
                                                                                            asbestos and mesothelioma is well established, multiple studies have
        evaluated. Talcum powder usage was the only source of asbestos for all 33
                                                                                           shown that not all individuals who develop mesothelioma can pin-
        cases. Conclusions: Exposure to asbestos-contaminated talcum powders
                                                                                            point exposures to asbestos. 8•11 Among women, occupational ex~o-
        can cause mesolhelioma. Clinicians should elicit a history of talcum powder
                                                                                            sure explains less than half of malignant mesothelioma cases. 2 •28
        usage in all patients presenting with mesothelioma.
                                                                                           Some studies have focused on conventional exposure categories that
                                                                                           for women only reflect take home exposures from (male) family
                                                                                            members who worked in one of the selected occupations. In one such
                                    BACKGROUND                                             study, data on home or personal use exposures were not collected, yet
       A forsbestos in all forms is recognized by the International Agency
               Research on Cancer (IARC) as a human carcinogen and all
                                                                                           increased amounts of tremolite asbestos fibers noted in the lungs of
                                                                                           women with MM with no identified source of asbestos contact led
       forms of asbestos are reco<fnized as the primmy risk factor for                     study authors to hyEothesize that the tremolite could be related to
       malignant mesothelioma. 1- By the mid-1950s, over 60 cases of                       talcum powder use. 8 The high prevalence of unexplained or, "idio-
       asbestos-related lung cancer had been published in the literature. In               pathic mesothelioma" among women necessitates further inquiry into
        1955, Doll 10 published a seminal paper describing the increased risk              potential non-occupational exposures, such as exposure to asbestos-
       of lung cancer among asbestos-exposed workers. In 1960, Wagner                      contaminated talcum powder.
       et at2 published a study of 33 cases of malignant mesothelioma                              In light of these gaps in the existing literature, we present 33
       among individuals who were exposed to asbestos in and around the                    cases of individuals with malignant mesothelioma who were
       crocidolite mines in South Africa. By the mid-20th century, as                      exposed to commercial talcum powder products. Of those cases,
       asbestos use rose in the industrialized world, diseases associated                  we present six in detail, where the individuals had no other known
       with its use also began their upward curve. 3•8•11 •12 On average                   exposure to asbestos and for whom tissue studies show the presence
       between 2003 and 2008 1.05 cases per 100,000 of malignant                           of asbestos commonly found in talcum powder (such as tremolite,
       mesothelioma (MM) were diagnosed in the United States and in                        and/or anthophyllite). For all 33 cases, other potential exposures to
       2015, 2597 deaths resulted from the disease.13· 14                                  asbestos were considered, with no identified source apart from the
               The presence of asbestos in talc and talcum powder consumer                 talcum powder. The cases were referred to author J.M. for medico-
       products including body powder, baby powder, facial cosmetics, and                  legal evaluation as part of tort litigation, and tissue digestions were
       pharmaceutical talc was first discussed in the medical and scientific               performed by author R.G. as part of this litigation. In eve1y case, a
       literature beginning in the 1940s. 15 -- 17 Asbestos contamination of               pathology report confirmed the diagnosis of malignant mesotheli-
       talc products is understood to occur during the mining process, in                  oma. This study was conducted with approval from the Northwell
       which talc deposits overlap or lie in close proximity to naturally                  Health Feinstein Institute for Medical Research (#18-0225 FIMR).
       occurring asbestos deposits. 18 - 22 The natural presence of asbestos
       within talc deposits makes selective minin~ or the extrication of                                   MATERIALS AND METHODS
       asbestos from mined talc nearly impossible. 1 During application in
       its commercial talcum powder form, asbestos fibers become air-                      Case Histories
       borne and can be inhaled. 23 •24 In 1968, Cralley et al 25 found the                       Data gathered for all 33 patients were gathered from each
                                                                                           individual's medical records and sworn testimony (deposition tran-
       From the Northwell Health Department of Occupational Medicine Epidemiology          scripts) of individuals. All cases were reviewed by an occupational
           and Prevention (Dr Moline, Ms Bevilacqua); Donald and Barbara Zucker            physician with experience evaluating asbestos exposure in thou-
           School of Medicine at Hofstra/Notthwell, Hempstead (Ms Alexandri);              sands of patients. Data abstracted included medical diagnosis,
           Department of Pathology, The Icahn School of Medicine at Mount Sinai            review of pathology reports confirming the diagnosis of malignant
           (Dr Gordon), New York, New York.
       Funding: No funds or external assistance were obtained by any outside source in     mesothelioma, and clinical course. Exposure data was obtained
           the development, writing, analysis, or conclusions of this manuscript.          from sworn testimony by the cases, which included extensive
       Conflicts of Interest: Authors J.M. and R.G. have served as expert witnesses in     questioning regarding all sources of asbestos exposure. This
           asbestos litigation, including talc litigation for plaintiffs.                  included family occupational histories (parents and anyone cohab-
       Supplemental digital contents are available for this article. Direct URL citation
           appears in the printed text and is provided in the HTML and PDF versions of     itating with the patient) for all cases to assess potential asbestos
           this article on the journal's Web site (www.joem.org).                          exposure, hobbies that included use of products that might contain
       Clinical Significance: This manuscript is the first to describe mesothelioma        asbestos (such as ceramics), residence in an area that might have had
           among talcum powder consumers. Our case study suggest that cosmetic             asbestos industry leading to possible environmental exposures,
           talcum powder use may help explain the high prevalence of idiopathic
           mesothelioma cases, particularly among women, and stresses the need for         known abatement of asbestos while the patient was in school, home
           improved exposure history elicitation among physicians.                         renovations that might have used asbestos containing materials, and
       Address correspondence to: Jacqueline Moline, MD, Northwell Health, Great           any other potential sources of asbestos exposure. Additional data
           Neck. NY Gmoline@northwell.edu).                                                related to family history of cancers was obtained from the sworn
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           Medicine                                                                        testimony. Any data related to potential genetic mutations such as
       DOI: I 0.1097/JOM.0000000000001 723                                                 BRCAI associated protein-I was collected, if present.

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       Moline et al                                                                                   /OEM• Volume 62, Number 1, January 2020



               Talcum powder exposure histories were reviewed based on             also use talcum powder when visiting her grandmother because she
       sworn testimony by patients and in some cases, family members               enjo_yecl the seen\ a_ncl 11/()U]d 11pply the po"'der b~fore g()ing 0_11__ll
       with f,rst~hiind knowledge    ofiiieuse of taici.im   powcier,-sucii as     date. She continued to use powder after getting married and used
       parents who recalled using talcum powder while diapering the                baby powder with all three of her children. In the early 2000s she
       patient. Data including type of talcum powder used (Appendix 3,             began to regularly apply a fragrance and its matching talcum powder
       http://links.lww.com/JOM/ A65 l ), age at first use of talcum powder,       in the morning and at night, describing it as her signature scent. She
       and duration of use was obtained to ensure adequate latency from            also sprinkled the powder in her lingerie drawer and traveled with
       first exposure was present. 29 In some cases, individuals were also         the powder which she would rub on her suitcases and other surfaces.
       interviewed in person, and these data were merged with the data                    EMA of the lung tissue revealed anthophyllite fibers in a
       obtained in medical records and deposition transcripts.                     calculated concentration of 8625 fibers per gram wet weight with a
               The six cases described below also had tissue digestions            limit of detection of 2875 fibers per gram wet weight. A significant
       performed by author R.G. These case reports are presented in                amount of fibrous and platy talc was seen. EMA of the lymph node
       greater detail; their clinical course was similar to all 33 cases           tissue revealed anthophyllite and tremolite fibers in a calculated
       evaluated, and the same rigor with respect to obtaining information         concentrations of 34,500 fibers per gram wet weight with a limit of
       related to any asbestos exposure was applied to all 33 cases.               detection of 11,500 fibers per gram wet weight. They were seen in a
                                                                                   ratio of 2: I anthophyllite:tremolite/actinolite. All fibers counted
       Case 1                                                                      were 5 µ.m or greater in length with aspect ratios greater than 8.
               Case I is a 70-year-old woman who presented to a physician          There was also some amount of fibrous and platy talc noted in the
       with shortness of breath and chest pain in January 2015. A chest x-         lymph node tissue.
       ray revealed a small pleural effusion with left basilar atelectasis. In
       August 2015, a CT angiogram showed development of two sub-                  Case 3
       pleural nodules anterior to the lingula and a pleural based mass; a                 In September 2014, Case 3, an 84-year-old woman, devel-
       pleural effusion was still present. A thoracentesis was done and the        oped shortness of breath, a cough, and chest tightness. A chest x-ray
       cytology showed large clusters of cells suspicious for mesotheli-           in November 2014 showed a large left pleural effusion. A CT
       oma. A positron emission tomography (PET) scan showed pleural               angiogram showed a large left pleural effusion with compressive
       thickening and focal intense uptake inferiorly and posteriorly on the       atelectasis of the left middle and lower lobes and ground glass
       left side of her chest. In September 2015, she underwent thoraco-           opacities in the left upper lobe and right lung. A thoracentesis
       scopic surgery. The pathology showed epithelial malignant meso-             showed carcinoma cells. Case 3 underwent a video thoracoscopy
       thelioma with invasion of the visceral pleura and pulmonary                 with pleural biopsy and evacuation of a pleural effusion. Pathology
       parenchyma with tumor present at the stapled margin.                        revealed a malignant epithelial neoplasm consistent with malignant
               Case I applied loose face powder on a daily basis from the          epithelial mesothelioma. Case 3 then underwent a left pleurectomy
       1940s to the 1970s. Her mother also used the same loose face                and decortication in June 2015. The mesothelioma had spread to the
       powder and Case I cleaned residual powder from her mother's                 lymph nodes and chest wall, and the pathology now showed
       dresser and clothing every other week from I 994 to 2012.                   malignant biphasic mesothelioma. Case 3 entered hospice care in
               Electron microscopic analysis (EMA) of the lung tissue              September 2015 and died in late October 2015.
       revealed anthophyllite fibers in a calculated concentrations of                     Case 3 worked as an elementary school teacher with no
       3286 fibers per gram weight. There was also significant amount              known occupational exposure to asbestos. Case 3 used talcum
       of fibrous and platy talc and aluminum silicates.                           powder "before [she] was 12 and 13 years old," applying it under
               Case I was treated with four cycles of combination chemo-           her arms and in her shoes daily. She shook the powder out of the can
       therapy with cisplatin and pemetrexed for four cycles.                      and applied it onto her body. She noted that her mother also used
                                                                                   talcum body powder, and they shared a small bathroom. She used
       Case 2                                                                      talcum powder beginning in the 1940s and continuing for decades,
               In August 2015, Case 2, a 65-year-old woman presented with          until her preferred brand was no longer available for purchase.
       exertional dyspnea and dry cough. A chest x-ray showed a large left                 EMA of the lung tissue did not reveal any asbestos fibers
       pleural effusion. A chest CT scan in September 2015 showed a                above the limit of detection of 6900. However, there were a number
       freely-movable, large-volume, left pleural effusion, nodularity/lob-        of very small chrysotile asbestos fibers. Analysis of the lymph node
       ulation of the left pleura, left lower lobe atelectasis, three nodules in   tissue revealed tremolite asbestos fibers in calculated concentrations
       the left upper lobe, and no hilar or mediastinal lymphadenopathy. A         of9409 fibers per gram wet weight with a limit of detection of 9409.
       thoracentesis showed carcinoma cells. A PET-CT scan on Septem-              All fibers counted were 5 µ.m or greater in length with aspect ratios
       ber 22, 2016 reported showed abnormal deposits of tumor in the left         greater than 20. There was also a significant amount of aluminum
       pleura. There was no reported disease outside the chest.                    silicates, silica particles, and both fibrous and platy talc. Light
               Case 2 underwent a bronchoscopy in October, 2015. Pathol-           microscopic analysis revealed a calculated concentration of 409
       ogy showed malignant mesothelioma, biphasic mixed type (50%                 asbestos bodies per gram wet weight of lymph node tissue by phase
       sarcomatoid, 50% epithelioid). A second opinion confirmed the               contrast light microscopy.
       diagnosis. She underwent two cycles of chemotherapy with dox-
       orubricin, ifosfide, and mensa and completed treatment in Novem-             Case 4
       ber. A PET scan showed no response to the chemotherapy. In                         In August 2014, Case 4, a 66-year-old woman, developed
       December, Case 2 underwent left radical pleurectomy/decortica-              abdominal pain and had a CT scan of the abdomen and pelvis that
       tion, resection of left hemidiaphragm, and one lymph node dissec-           showed omental caking, ascites, a fluid pocket in the right lower
       tion. Surgical pathology showed residual biphasic malignant                 quadrant, and enlarged diaphragmatic lymph nodes. She underwent a
       mesothelioma with negative nodes and negative margins. In January           paracentesis and an omental biopsy in August 2014. The cytology
       2016, radiation oncology recommended adjuvant radiation therapy             revealed atypical mesothelial cells. She then underwent a laparotomy,
       to the left chest, which she received in February and March of 2016.        appendectomy, omentectomy, and left salpingo-oophorectomy. The
       As of April 2016, Case 2 had no evidence of disease recurrence.             pathology showed malignant epithelioid mesothelioma. In September
               Case 2 reported starting to use talc around age eight or nine       2014, a PET/CT showed increased uptake in the abdomen consistent
       and would apply powder after her daily shower or bath. She would            with malignant ascites, omental metastatic disease, and cardiophrenic

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       /OEM • Volume 62, Number 1, January 2020                                                                     Mesothe/ioma and Cosmetic Talc



       nodules. A thoracoscopy showed tumor cove1ing the right hemi-             Case 6
       diaphragm. She was treated with multiple rounds of chemotherapy                   Case 6 is a 44-year-old man who developed chest pain after
       with cisplatin and pemetrexed and therapeutic paracenteses due             playing hockey in 2012 and was evaluated in the Emergency
       to persistent ascites. Her tumor progressed, and she died in               Department. A CT scan that showed no pulmonary abnormalities.
       February 20 I6. She was 68 years old.                                     Case 6 continued to have chest pain over the next 4 years and
              Case 4 grew up in a home where her mother used talcum               underwent multiple cardiac evaluations. A CT scan in February
       powder "for as long as [she could] remember." She recalled                 2016 showed increased pleural thickening or non-calcified pleural
       personally using talcum powder starting around the age of 9 or            plaque along the right major fissure and anterior right hemithorax
        10, applying the powder to her armpits, groin, and around her            along the right upper lobe. A PET/CT scan in March 2016 showed
       body, using a powder puff. She applied talcum powder to her                unilateral hypermetabolic pleural fissural and non-fissural soft
       body for approximately 40 years. Case 4 had additional exposure            tissue abno1malities suspicious for malignancies involving the
       to talcum powder in the 1960s while working as a licensed cosme-          pleura. There were non-specific tiny parenchymal lung nodules.
       tologist, applying talcum powder on clients' necks after a haircut.       Case 6 underwent a tissue biopsy in March 2016. The pathology
       She shook the talcum powder onto the client's neck, and would wipe        showed malignant epithelioid mesothelioma with invasion to the
       off the excess with a brush or blow dryer. She also used talcum           skeletal muscle.
       powder inside the gloves that she donned prior to applying                        Case 6 underwent neo-adjuvant chemotherapy with peme-
       hair color.                                                               trexed, cisplatin, and bevacizumab in April 2016. In May 2016, Case
              EMA of the peritoneal tissue revealed chrysotile type asbes-       6 underwent a mediastinoscopy which showed metastatic spread to
       tos fibers in a calculated concentration of 920 fibers per gram wet       the level VII lymph node. Additional chemotherapy was adminis-
       weight with a limit of detection of 920 fibers per gram wet weight.       tered, which was not well tolerated. In July 2016, a parietal
       Fibrous and platy talc was also observed. Also seen were non-             pleurectomy was done along the fissure between the upper and
       asbestiform tremolite and silica crystals.                                lower lobe. There was spread to the site of previous inferior right
                                                                                 chest tube site. Case 6 developed acute thrombus in the right upper
       Case 5                                                                    extremity. In September 2016, a chest x-ray showed unchanged right
               Case 5 was a 76-year-old woman who developed chest pain           pleural thickening versus a small right pleural effusion. Three
       and fatigue in September 2015 and was diagnosed with viral                additional cycles of chemotherapy were recommended. A PET/
       pericarditis. A CT scan in October 2015 showed mild pericardia!           CT scan in November 2017 showed a persistent hypermetabolic
       thickening and mild perihepatic ascites. She was treated with             focus in the right anterobasal pleura and a slight increase in a right
       steroids for viral pericarditis. In late fall 2015, Case 5 developed      pleural effusion.
       decreased appetite, weight loss, tenderness around the umbilicus,                 Case 6 was exposed to talcum powder beginning when he was
       and abdominal pain. In December 2015 she had an abdominal                 an infant. His mother applied it to him after his bath until he was able
       ultrasound that showed a mild to moderate amount of ascites. An           to apply it himself, starting around the age of six. Case 6 recalled
       abdominal CT scan showed slightly bilateral pleural thickening with       using the powder in the bathroom and in his room, and that there
       minimal linear atelectatic change. There was copious perihepatic          would be powder on his floor. He applied the talcum powder directly
       ascites extending to the right and left paracolic gutter and deep         to his torso, groin, legs, and back, often twice a day after showering.
       pelvis, nodularity at the paracolic gutter, and a right sided deep        He played hockey as a youth and used powder in his hockey gear
       pelvic mass. A paracentesis was done and showed atypical epithe-          before donning the equipment. He recalled getting mouthfuls of
       lioid cells and tissue fragments with an inflammatory background.         powder during the application. He often applied talcum powder
       A laparoscopy showed peritoneal carcinomatosis with a diffuse             once or twice a day after showering. He had no occupational
       miliary excrescence, a moderate sized pelvic mass and ascites. In         exposure to asbestos.
       January 2016 she underwent an exploratory laparotomy and resec-                   EMA of the lymph node tissue revealed anthophyllite and
       tion of the omentum, spleen, resection of abdominal tumor, and            tremolite asbestos fibers in a calculated concentrations of 17,250
       resection of the abdominal wall tumor. The pathology showed               fibers per gram wet weight with a limit of detection of 3450 fibers
       malignant mesothelioma involving the omentum, spleen, colon,              per gram wet weight. They were seen in a ratio of 2:3 anthophylli-
       and mesente1y, as well as the fibroadipose tissue of the peritoneum.      te:tremolite. All fibers counted were 5 µ,m or greater in length with
       Malignant mesothelioma also involved the parietal peritoneum as           aspect ratios greater than 14. 7 or greater. There was also some
       well as the appendix, with fibrous obliteration of the appendiceal        amount of fibrous and platy talc along with platy aluminum silicates
       lumen. Case 5 died in October 2017.                                       and magnesium aluminum silicates.
              Case 5 had daily personal use of talcum body powder from
       the 1950s to the mid- l 970s. She would pour the powder onto her          Tissue Sample Analysis
       hands and pat it under her arms, in her genital area, between her toes,         Tissue samples from six patients were analyzed: (a) lung and
       and on her legs. When she was menstruating she would apply talcum         lymph node tissue from four of the patients diagnosed with pleural
       powder on her feminine napkins and her underwear. She also                mesothelioma; and (b) lung and lymph node from two of the patients
       applied talcum powder to her shoes. Case S's husband also used            diagnosed with peritoneal mesothelioma. The tissue samples had
       talcum powder. Both Case 5 and her husband applied the powder in          been preserved in paraffin blocks or as formalin fixed tissues.
       the bathroom. She shook the bathroom floor mat and cleaned up
       residual powder from the bathroom sink.                                   Tissue Digestion Protocols
              EMA of the omental tissue did not reveal any asbestos fibers
       above the limit of detection of detection of 651 fibers per gram wet      Paraffin Blocks
       weight. EMA of the lymph node tissue revealed chrysotile and                       The tissue was extracted from paraffin blocks was done
       anthophyllite asbestos fibers in a calculated concentrations of           according to the methodology described in Heller et ai3° and Wu
       20,700 fibers per gram wet weight with a limit of detection of            et al. 31 The tissues were cut from the paraffin blocks and deparaffi-
       10,350 fibers per gram wet weight. All fibers counted were 5 µ,m or       nized by melting and xylene treatment. They were brought to water,
       greater in length with aspect ratios greater than 20. There was also a    blotted and weighted. The tissues were digested with KOH and the
       significant amount of fibrous and platy talc as well as fibrous and       inorganic pellet cleaned with distilled water by multiple centrifu-
       platy aluminum silicates.                                                 gation steps on an asbestos locator grid coated with formvar. In

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       addition, 250 µL samples were prepared using a cytoccntrifuge onto                      Table 2 provides the results of the fiber burden analyses for
       a standard glass slide l<l identify ferruginous bodies and longer               the six cases in ,.,·hich asbestos fibers were identified in the anatomic
       fibers by phase contrast rn icruscopy. ••• •       -                            vicinity of the pat1e11ts' 111esotheliorri~s: U11iformly, thetissue:fiber
                                                                                       burdens reveal the presence of the following: talc, aluminum
       Formalin Fixed Tissue                                                           silicates, aluminum magnesium silicates, silica crystals, and asbes-
              This protocol is similar to above without the deparaffinizing            tos fibers. The asbestos fibers are all anthophyllite, tremolite, and/or
       step as described in 23 •39 Controls for both the paraffin and formalin         chrysotile. These three types are typical contaminants of talcum
       fixed tissues included looking at the paraffin, if from blocks, the             powders. 19 They have been identified as contaminants in talcum
       formalin, if from fixed wet tissue, or any other materials used lo              powders in repeated laboratory resting at nulllerous institutions.''
       process the tissue to view the remaining inorganic material on                  -'' The tissue fiber burdens cPnlained no a111osite or crocidolite,
       the grids.                                                                      commercial ainphibole asbestos fibers. Testing results of talcum
                                                                                       powders have failed to show the presence of commercial amphib-
       Asbestos Fiber Counting                                                         oles.
              The grids were analyzed two ways: (a) transmission elec-                         Table 3 presents the asbestos fiber burden results from
       tron microscopy (TEM) using a standard fiber-counting protocol                  background controls in tissues from autopsy and surgical population
       (23,40/ 3 -n on 800 grid openings; and (h) phase contrast light                 with no evidence of ovarian uincer ur other malignancy, and with no
       microscopy on two cytocentrifuge preparations per tissue type in                known asbestos exposure. The lung and lymph nodes sampled
       accordance with a standard asbestos bodv-counting protocol                      showed only chrysotile and 11on-commercial arnphihole asbestos
       (23,40). 23 •32 Asbestos fibers were evaluated to determine whether             in a small percentage of control samples-six of the 35 control
       they met the definition of a fiber, which includes having at a 5:1              samples, or 17%. All women with asbestos present were over
       length:width ratio and parallel sides and at least 5 µ,min length.              60 years of age. While asbestos is present at extremely low con-
       The fibers were also analyzed by Energy Dispersive Spectroscopy                 centrations in the ambient air, 38 in the control samples presented in
       (EDS) to determine the ratio of elements contained in the fibers                the study, there was no evidence of asbestos in women under the age
       and by Selected Area Electron Diffraction (SAED) to confirm                     of 60 years of age, Two fibers were seen in two specimens and 011e
       the crystalline structure of the fiber to confirm that they were                fiber was seen in four samples, all under 1 µ,min size. The asbestos
       asbestos. To evaluate for potential contamination, control samples              fiber burdens in the six talc exposed patients were all greater than
       were prepared from the same distilled water used to wash the                    the control population. No aluminum silicates, aluminum magne-
       samples and the paraffin surrounding the tissue. Verification                   sium silicates, and silica crystals, all components of talcum powder
       techniques of fiber counting were used for quality control and                  identified in our patients, were not found in the control population
       quality assurance. All fibers, regardless of size, were counted in              that did not use talcum powder.
       800 grid openings.
                                                                                                                   DISCUSSION
       Calculating Asbestos Fiber Concentration                                               This paper provides the first large case series to identify
                                                                                      cosmetic talcum powder contaminated with asbestos as the cause of
       TEM and PCM                                                                    malignant mesothelioma in cosmetic talc users. In 1960, Wagner
               Asbestos fiber concentration in the samples examined with              presented 33 individuals exposed to crocidolite asbestos from
       transmission electron microscopy was calculated (see Appendix 1,               occupational and environmental exposures, providing the first large
       http://links.lww.com/JOM/A649), The 250 µL samples centrifuged                 case series of individuals diagnosed with mesothelioma with clearly
       onto standard microscope slides were examined using phase con-                 identifiable exposure to asbestos." Since then, the high prevalence of
       trast light microscopy (Appendix 2, http://links.lww.com/JOM/                  idiopathic mesothelioma cases suggested other possible exposures,
       A650). The asbestos fiber concentration in these samples was                   including exposure to asbestos contaminated talc. Like Wagner, we
       calculated (see Appendix 2, http:/!links.lww.com/JOM/A650).                    present 33 cases, predominantly of women, who had no known
                                                                                      exposure to asbestos other than prolonged use of talcum powder.
       Control Samples                                                                This is co11siste11t with the distribution of talcum powder usage in the
               Background coniro1 sarnples weie uLJtained at autopsy                  United Saies, with greater numbers of women using powder than
       or from surgical specimens from pulmonary or obstetrical and                   men. 26 Furthermore, the six case histories detailed years or decades
       gynecologic pathologists. Samples included lung, thoracic,                     of talcum powder use as well as tissue analysis that showed asbestos
       mesenteric and abdominal lymph nodes, abdominal tissue, ova-                   present in either tumor tissue or lymph nodes. In all six cases,
       ries, fallopian tubes, uteri and mesentery tissue. Exposure histo-             asbestos fibers consistent with those identified as contaminants in
       ries had been obtained by treating pulmonologists or surgeons                  repeated laboratory testing of talcum powder samples across several
       from all individuals; all were screened for asbestos exposure from             institutions were identified. 20 •2 '-''- 39 Notably, the fiber types found
       personal use, family exposure, and personal or family use of                   were consistent with the types of asbestos found in talc. Amosite and
       talcum powder. For those patients in whom there was any question               crocidolite, asbestos fibers that are encountered in cases of indus-
       of asbestos exposure from any source, the pathologists conferred               trial and occupational exposure, not cosmetic talcum powder, 40
       with the treating clinician to ensure there was no known asbestos              were not found in any of these cases,
       exposure. If there was potential asbestos exposure, the specimens                      This paper is also the first, to the authors' knowledge, to
       were not included in the group. As a result, the background control            utilize background controls for which an extensive exposure history
       specimens reflect only asbestos exposure from the overall com-                 was elicited and for which no known asbestos exposure had
       munity.                                                                        occurred, Background controls are the best comparison when
                                                                                      analyzing tissue of asbestos exposed individuals however, one of
                                    RESULTS                                           the biggest challenges is to choose a population of patients with no
              The data associated with the exposure history of all 33                 hist01y of environmental or occupational exposure to asbestos apart
       patients is presented in Table 1. The table identifies talcum powder           from ambient air concentration of asbestos. Previous fiber lmrden
       as the only asbestos exposure these patients have experienced. No              studies of non-occupationally exposed individuals have compared
       individual identified any asbestos exposure apart from contaminated            the asbestos content in their tissue to workers in the same commu-
       talcum powder from workplace or household exposures.                           nity where asbestos mines or asbestos containing factories were

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       TABLE 1. Description of 33 Mesothelioma Cases

       Talcum Powder Exposure

                             Year of         Age at          Mesothelioma                             Talcum Powder            Estimated Years
        Case       Sex       Diagnosis       Diagnosis       Site                  Histology          Brand                    of Use                  Occupation (s)

        I.          F          2015              101         Pleural               Epithelial          A                               30              Medical technician
       2·           F          2015              65          Pleural               Biphasic           C,H, V                           50              Homemaker
        y           F          2014              821         Pleural               Biphasic           C                                70              Teacher
       4'           F          2014              661         Peritoneal            Epithelial         B,C                              30              Hairdresser
       5'           F          2015              75 1        Peritoneal            Epithelial         C                                25              Teacher
       6'           M          2016              43          Pleural               Epithelial         D                                40              Finance
       7            M          2016              65          Peritoneal            Epithelial         D                                62              None provided
       8            M          2016              761         Pleural               Epithelial         u                                38              Accountant
       9            F          2016              661         Pleural               Epithelial         C, E                             35              Hair dresser
       IO           F          2015              80          Pleural               Epithelial         F                                30              Administrative assistant
       II           F          2018              73          Pleural               Epithelial         C, V                             30              Flight attendant
       12           F          2017              57          Peritoneal            Epithelial         A, D,G, H,I                      40              Medical technologist
       13           M          2016              56          Peritoneal            Biphasic           D, I, S                          15              Maintenance worker
       14           M          2017              56          Peritoneal            Epithelial         D                                50              Molding press operator
       15           F          2016              40          Peritoneal            Epithelial         D, J                             12              Retail worker
       16           F          2015              30          Pleural               Epithelial         D, K,L,M                         19              Retail worker
       17           F          2015              sot         Pleural               Epithelial         A,C,N                            40              Office worker
       18           F          2015              64          Pleural               Sarcomatoid        C                                40              Real Estate agent
       19           F          2009              62          Pleural               Epithelial         C                                15              Teacher and fitness instructor
       20           F          2016              69          Peritoneal            Epithelial         D,G                              30              Hair dresser
       21           F          2013              34!         Peritoneal            Epithelial         C                                IO              Teacher
       22           F          2018              59          Pleural               Epithelial         C,D                              42              School custodian
       23           F          2016              27          Peritoneal            Epithelial         D,O                              IO              Not provided
       24           F          2016              38          Peritoneal            Epithelial         0,1                              18              Social services
       25           F          2017              64          Pleural               Epithelial         D, G, J                          27              Mathematician
       26           F          2016              83          Pleural               Epithelial         C, D, I                          60              Not provided
       27           F          2017              41          Peritoneal            Epithelial         D                                30              Computer programmer
       28           F          2016              79          Peritoneal            Epithelial         A,C, T,                          21              Not provided
       29           M          2015              46          Pleural               Epithelial         D,R,U                            15              Informational technology
       30           F          2016              88'         Pleural               Epithelial         A,D,C, I                         80              Administrative worker
       31           F          2017              53          Pleural               Epithelial         D                                23              Cleaner
       32           F          2017              76          Pleural               Epithelial         D,C                              17              Rehabilitation coordinator
       33           F          2017              46          Peritoneal            Epithelial         D                                25              Clerical worker

             *Tissue analysis presented done by author. Tissue analysis might have been done in some cases by other investigator, these results are not presented in this paper.
             toeceased as of writing; vital status of many individuals is cun-ently unknown.



       present. 41 •42 Autopsy studies have been performed 43 - 45 in individ-                     amosite. Lee and Van Orden's results are consistent with the
       uals without a specific history of workplace asbestos exposure; full                        background asbestos fibers found in the older women the present
       exposure histories were not obtained. Langer measured asbestos                              study. 32 While fiber burden studies are rarely undertaken in the
       fiber burdens in New York Ci~ residents with no known history of                            course of clinical treatment, and are used primarily for medico-legal
       asbestos. 46 Roggli and Longo 7 measured tissue burdens for indi-                           purposes, the findings of various fibers in the lung tissues can
       viduals who had bystander or household exposure from family                                 provide guidance as to potential prior asbestos exposure, whether
       members who directly worked with asbestos in their work, such                               from occupation, residential, or para-occupational exposure to
       as laundering clothes, However that type of exposure does not truly                         asbestos. Attention to true background rates for fiber burdens is
       reflect background or "unexposed" individuals. Lee and Van                                  critical. 48
       Orden32 measured background air exposure in and outside of                                          Our findings strongly suggest that asbestos exposure through
       buildings. They found short chrysotile, tremolite, and actinolite                           asbestos-contaminated cosmetic talc explains cases once deemed
       fibers, but no anthophyllite or crocidolite, and very small levels of                       idiopathic or "spontaneous," and underline the importance of

       TABLE 2. Tissue Digestion of Six Mesothelioma Cases

                         Mesothelioma                                                                                  Concentration                Limit of Detection        Asbestos
       Case      Sex         Site                        Asbestos Type                       Site Found          (Fibers/g) (Lung, Lymph)            (Lung, Lymph)             Bodies

       1           F     Pleural              Anthophyllite                              Lung                                 3,286                         1,643                  0
       2           F     Pleural              Anthophyllite, tremolite, actinolite       Lung, lymph node                8,625, 34,500                 2,875, 11,500               0
       3          F      Pleural              Tremolite                                  Lung, lymph node                   0, 9,409                    6,900, 9,409           0,409
       4          F      Peritoneal           Chrysotile                                 Peritoneum                            920                           920                 0
       5          F      Peritoneal           Anthophyllite                              Lymph node                          20,700                        10,350               0,0
       6          M      Pleural              Anthophyllite, tremolite                   Lymph node                          17,250                        3,450                 0



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       TABLE 3. Current Levels of Asbestos Fiber Burden Observed in Digests of Tissue From Autopsy and Surgical Population With
       no Hislory of Asbestos Exposure (Controls)

       Tissue Type                                         N               Ashestos Type           Mean (Fibers/(;ram Wet Weight)·              Range (Fibers/Gram Wet Weight)

       Lung tissue                                         35        Chrysotile                                    892                                        0-30,000
                                                                     Tremolite                                      84                                        0-1,552
                                                                     Chrysotile and tremolite                       35                                        0-1,208
                                                                     /\sbcstos bodies                  < I bodies/gram wet weight                               () 6
       Paratrr1d1e,:1i or parachronchiai                   35        Chrysotiie                                      IL                                       U 1,JIJ35
           lympl1 node tissue
                                                                    TrcmolJtc                                        2lJ                                        0-552
                                                                    Chrysotilc and trcmolite                        24                                          0-828
                                                                    Asbestos bodies                    < I bodies/gram wet weight                                0-5
       Peritoneum + gynecological tissue                   10       Chrysotile                                       0                                            0
                                                                    Tremolite                                       0                                             0
                                                                    Chrysnlile and tremnlite                        0                                             0
                                                                    /\sbcstos bodies                                 (l                                           0
            • AH fiber;:;. that were counted '.Vere al'!Jays ! µ,m or le:;:; in length.




       collecting detailed exposure histories that incorporate these find-                            depositions were given under oath and the potential for recall
       ings in patients presenting with mesothelioma. Several factors may                             bias noted would be presented whether patients completed a struc-
       hinder the collection of comprehensive exposure histories among                                tured interview or were asked questions during sworn testimony.
       individuals diagnosed with mesothelioma. Minimal training 111                                  Furthermore. the utilization of medical records allowed the authors
       occupational medicine and exposure taking practice among medi-                                 to corroborate important medical information and confirm the
       cal students may contribute to a lack of or incomplete exposure                                pathological diagnosis.
       history elicitation on the part of clinicians. 49 •50 Secondly, long                                  In March 2019 the Federal Drug Administration (FDA)
       latency periods between exposure and illness pose a challenge both                             released a statement as an update to their 2017 finding, confirming
       to individual recall as well the ability to establishing causality. Due                        asbestos contamination of certain cosmetic products marketed and
       to the relatively sho1t period between diagnosis and death among                               sold to young girls and outlining new steps to work with manu-
       mesotheli<1ma patients, patients are often too ill or are deceased                             facturers to ensure the safety of their products. 53 While such public
       before being able to provide a full history. Furthermore, though the                           acknowledgment of the potential for asbestos contamination in
       presence of asbestos in talc and talcum powder was first discussed                             cosmetic talc marks an important turning point, manufacturers
       in the scientific literature in the 1940s, individuals may not be                              are not legally obligated to register cosmetic products with the
       aware that the products they used contained asbestos. Few clini-                               FDA. The results of this study coupled with the widespread use of
       cians are aware that this is a potential exposure. Typically, patients                         such products"" underline the continued risks posed to consumers
       with rnesothelioma will be simply asked whether they worked with                               through common household and cosmetic products. While these
       or around asbestos, rather than being providing with a listing of                              products remain unregulated and on the shelves, the use of talcum
       potential sources of the types of exposure in which one might                                  powder must be incorporated into standard exposure history practice
       encounter asbestos. Cases of mesothelioma among hairdressers                                   in order to promote earlier detection of asbestos related disease
       characterized as idiopathic also underscore the contribution of an                             among non-occupationally exposed individuals. This paper pro-
       incomplete exposure history; the potential failure to identify the                             vides evidence that mesothelioma cases once considered idiopathic
       use of talcum powder exposure in their work would prevent the                                  may be attributable to asbestos-contaminated cosmetic talcum
       linking of occupational exposure to asbestos to their n1esothe1i-                              powde1 usage. and that the elicitation of a hisiory of such usage
       oma. In our paper, there were three female hairdressers who                                    is imperative to obtaining a full exposure history in all patients
       regularly used talcum powder in their work. It was unclear from                                presenting with mesothelioma.
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                                                                                 JA112
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   .. i\ppendix 1. Asbestos fiber concentrati()n inthe sc1mples. ex.amine_cl with transinissio11 el~ctron
      microscopy




                                          552• X total fluid volume X averag_e # of fibers
                                                           10 µL.                 grid space




                                                             weight oftissue




    a. total number of square micrometers of a grid opening in the total area of the grid.




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    Appendix 2. Equation for asbestos fiber concentration in samples examined with phase contrast light
    microscopy




                          abestos bodies on 2 slides x 2 x #mL of total digest
                                       weight of digested tissue




                                                JA114
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    Appendix 2. Cosmetic Talcum Powder Companies



       a. Coty Airspun face powder
       b. Mennen
       C. Cashmere Bouquet
       d. Johnson's
       e. Clubman
       f. Chantilly
       g. White Shoulders
       h. Jean Nate
       i. Shower to Shower
       j. Avon
       k. Maybelline
       I. Cover Girl
       m. Mary Kay
       n. Helena Rubinstein
       0. Spting Fresh
       p. Desert Flower
       q. Giorgio Dustin
       r. Goldbond
       s. Air Mist
       t. Lily of the Valley
       u. Old Spice
       v. Chanel




                                           JA115
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               EXHIBIT G




                                  JA116
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               :;i;PERIOP COURT OF THE STATr, OF CALIFORNTA
                       FOR THE COUNTY OF LOS ANGELES
          DEPARTMENT 4             HON. STEPHEN M. MOLONEY,                       JUDGE
    4
         COORDINAT8D PROCEEDING SPECIAL TITLE
    5    (RULJ,; 3. 550)

    (,   LAOSD ASBESTOS CASES

    7
                                                             ) Cl\;'; E   NO. :
    8    SHAWN JOHNSON, l\N INDIVIDUAL;       HOLLY          )
         JOHNSON, AN INDIVIDUAL,                             )JCCP 4671/20STCV17335
    9                                                        )
                                                             )
   10                   PLAINTIFFS,                          )
                                                             )
   11      vs.                                               )
                                                             )
   12    JOHNSON & JOHNSON; JOHNSON & JOHNSON                )
         CONSUMP,R INC., A SUBSIDIARY OF                     )
   13    JOHNSON & JOHNSON; ALBERTSONS                       )
         COMPANIES, TNC., INDIVIDUALLY AND AS                )
   14    SUCCESSOR TN INTEREST TO SAV-ON DRUG                )
         STOR8S, INC.; COSTCO WHOLESALE                      )
         CORPURRl'I ON; RAT,PHS GROCE:RY COMPANY;            )
         THRTFTY PAYLESS, INC., OBA RITE AID                 )
   16    PHARMACY; WALMART, INC. AND DOES 1
         THROUGH 400, INCLUSIVE,
   17
                        DEFENDANTS.
   18
   19
   20            REPORTER'S TRANSCRIPT OF PROCEEDINGS
   21                 WEDNESDAY, OCTOBER 6, 2021
   22                           DAY 36
   23                   (PAGES 10801 TO 11014)
   24
   25       (APPEARANCES ON NEXT PAGE)
   26
   27
         REPORTED BY:     DAYNA HESTER, C.S.R. 9970
   28                   OFFICIAL REPORTER PRO TEMPORE


                                  Veritext Legal Solutions
                                       866 299-5 I 27




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                                                                                10U66
     l    TA,/: CETTING Ml :SOTHl<LTOMA.
    2                 HOW MANY PEOPLE HAVE TO DIE OF             MESOTHEL= □ MA

     3    BEFORE THIS COMPANY WILL SAY,              "OKAY.    ENOUGH'S ENOUGH.
     4    WE ADMIT IT WE DID IT"?
    5                 THE CRAZY THING IN OUR SOCIETY, EVEN IF YOU'RE
     6    GUILTY,    YOU CAN COME INTO COURT AND REQUIRE THE OTHER
    7     SIDE TO PROVE IT.
    8                THAT'S WHAT JOHNSON         &   JOHNSON DID.     Tlli':Y CAME
    9     INTO THIS COURTROOM KNOWING THAT THEY WERE LIABLE,
   10     KNOWING THAT THEY WERE GUILTY, AND TIIEY SAID,                "HEY,
   L_     PLAINTIFF PROVE IT."
   12                AND THAT'S WHAT WE'VE DONE OVER THE LAST
   13     16 DAYS.     AND I KNOW IT'S BEEN EXHAUSTING.              IT'S BEEN
   14     EXI 1/\ll STING FOR ME AND MY TEAM.
                     I KNOW AT TIMES IT'S BEEN FRUSTRATING FOR YOU
   16     AS JURORS.     I KNOW IT'S BEEN HARD TO GET HERE EVERY
   17     DAY.   I KNOW SOMETIMES IT'S HARD TO PAY ATTENTION.
   la
    e;
                     BUT IT'S THAT IMPORTANT.
  19                 THE LAST 36 DAYS,       WE SAID TO THEM,        "ALL RIGHT.
          YOU WANT US TO PROVE IT?          THAT'S EXACTLY WHAT WE'RE
  21      GOING TO DO."
  22                 AND THAT'S EXACTLY WHAT WE DID,              LAIJTES AND
         GENTLEMEN.
  24                 AND DR. MOLINE TELLS YOU HIS EXPOSURES FROM
  25      1964 TO 1978.     THOSE EXPOSURES ALONE CAUSED HIS
  26      DISEASE,   INCREASED HIS RISK OF MESOTHELIOMA.
  27                   HE TELL~; YOU,   "ALL RIGHT.           IF YOU JUST LOOK
  28     AT 1985 THROUGH 2019, THAT EXPOSURE PERIOD ALONE



                                 Veritext Legal Solutions
                                      866 299-5127




                                  JA118
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                EXHIBIT H




                                  JA119
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           "II   ~   '•]
          "I        "
          ""I     ~ ·~

          "'l!""I ~ Northwell
                     Health"
          Occupational Medicine, Epidemiology and Prevention



          October 28, 2021


          Simmons, Hanly, Conroy
          One Com1 Street
          Alton, IL 62002
          Attention: Melissa Schopfer, Esq.

          Re: Brian Gref

          Dear Ms. Schopfer:

                  I am writing to report the results of my evaluation of the materials listed below
          pe11aining to Mr. Brian Gref. I have reviewed these materials in the context of my pre-
          existing knowledge, training, and experience in the field of occupational medicine. These
          materials are of the type I and other specialists in occupational medicine normally rely
          upon and are sufficient to form a reliable basis for my opinions contained within this report.
          All of the opinions stated in this report are given within a reasonable degree of medical
          certainty.

                  This report and the opinions stated in the report are based on the listed materials
          and my 30 years of training, education, and experience in the area of asbestos-related
          occupational medicine. Over the past 30 plus years, I have had the opportunity to evaluate
          and treat hundreds of patients with asbestos exposure, many of whom have asbestos related
          diseases.

          Qualifications:

                 I am a physician licensed in the State of New York, specializing in the field of
          occupational and environmental disease. I have been a practicing physician since I
          graduated from medical school in 1988.

                 I attended the University of Chicago and received a Bachelor of Arts degree with
          Honors, with a major of History, Philosophy, and Social Studies of Science and Medicine.
          I then continued at the University of Chicago - Pritzker School of Medicine, where I
          obtained my medical degree in 1988. I was elected to the Alpha Omega Alpha Honor




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     Society, and was also awarded an American Medical Women's Association Award.
     Following medical school graduation, I was an intern and resident in Internal Medicine at
     Yale University -Yale Ne,,, Haven Hospital from 1988 - 199 L Upon completion ofmy
     Internal Medicine Residency program, I completed a second residency at the Mount Sinai
     School ofMedicine in Occupational Medicine, from 1991-1993. During my Occupational
     Medicine Residency Program, I obtained my Master of Science Degree in Community
     Medicine (equivalent degree to a Masters of Public Health) in 1993. I began to evaluate
     dozens of patients with asbestos exposure during my residency program at Mount Sinai. i
     am board certified in Occupational Medicine and in Internal Medicine. I have become
     recertified in Internal Medicine two times.

             Following completion of my residency training in Occupational Medicine, I was
     awarded a Fellowship in Occupational Medicine from the Foundation for Occupational
     Health and Research. I continued at Mount Sinai, where I joined the faculty, and continued
     to evaluate patients with asbestos exposure. I became Vice Chair of the Department of
     Preventive Medicine in 2001. I was Director ofthe New York/New Jersey Education and
     Reseaich Center from 2006 - 2010, and had been Director of the Residency Program in
     Occupational Medicine from 1998-2006. I was also the Director of the Mount Sinai World
     Trade Center Medical Monitoring and Treatment Program from 2006 - 2010, although my
     involvement with the World Trade Center medical programs started in 2001, when I began
     to evaluate patients with exposure to the World Trade Center disaster, and was initially
     Medical Core Director of the World Trade Center Worker and Volunteer Medical
     Screening Program (2002-2004), and Co-Director of the World Trade Center Medical
     Monitoring and Treatment Program (2004-2006). I have published over fifty articles in the
     peer-reviewed literature.

             In 2010, I left the Mount Sinai School of Medicine to become the Founding Chair
     of the Department of Population Health at Northwell Health and Hofstra North well School
     of Medicine (formerly known as North Shore University Health System). The Depa11ment
     changed its name in 2014 to Occupational Medicine, Epidemiology and Prevention.

             I have evaluated hundreds of patients with asbestos exposure in my career in
     occupational medicine, spanning over 30 years. I currently direct the Occupational and
     Environmental Medicine Center of Long Island, providing occupational health services to
     patients in the metropolitan New York area. Over the past year alone, I have supervised
     the examination of or directly examined nearly 700 patients with asbestos exposure, as we
     have greatly expanded our clinical services. Over the course of the past 30 years, I have
     evaluated dozens of patients with malignant mesothelioma and lung cancer due to asbestos
     exposure. I have kept abreast of the scientific and medical literature regarding the diagnosis
     and causation of mesothelioma. I have personally evaluated cases of mesothelioma where
     the exposure was brief, and have also seen cases of mesothelioma in individuals whose
     only exposure to asbestos was from family members who worked with asbestos and
     brought their asbestos contaminated clothes home.

             My current rate for deposition and trial testimony is $750 per hour. My curriculum
     vitae is attached hereto as Exhibit A. A list of my former testimony is attached hereto as



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     Exhibit B. In addition to the documents referenced herein, I may also rely on the
     documents and literature referenced in my reference and reliance list for this case, attached
     hereto as Exhibit C.

     Materials Reviewed:

         I have had the opportunity to review the medical records of Mr. Gref and reviewed
     deposition transcripts from Mr. Gref and his parents. I was provided with the following
     information:

         I. Dr. Zhang report
         2. Advent Health medical records
         3. Baptist Medical Center medical records
         4. Cancer Specialists of North Florida medical records
         5. Dr. Elizabeth Worsham medical records
         6. Mayo Clinic medical records
         7. VA Jacksonville medical records
         8. Dr. Mark Krekler reports
         9. Social Security records
         10. Plaintiffs Answers to Interrogatories
         11. Deposition of Brian Gref
         12. Deposition of Roger Gref
         13. Deposition ofJeneane Bennett
         14. Article-Asbestos Found in Ten Powders, dated 3/10/76
         15. Memo from Environmental Science Laboratory dated 3/22/76

     Mr. Gref's Medical and Exposure History:

     Clinical History: Mr. Gref is a 38 year old who presented to the Emergency Department
     (ED) on August 17, 2017 with right flank pain. A CT scan showed a right ureteral calculus.
     He returned to the ED on December 4, 2017 with left upper quadrant abdominal pain, fever,
     chills, nausea and vomiting for four days. A CT scan of the abdomen and pelvis on
     December 4, 2017 showed moderate induration of the omen tum in the left upper quadrant
     and a small amount of free fluid in the pelvis. These findings were new compared with the
     CT scan in August 2017. There was a concern for ischemia to the omentum, and suspected
     omental torsion. Mr. Gref underwent surgery on December 6, 2017 and an exploratory
     laparotomy with omenectomy was done, with an area of congestion noted in the omentum.
     The pathology showing acute inflammation, reactive mesothelial hyperplasia and vascular
     congestion. There was no evidence of malignancy. He was discharged home on December
     7, 2017. Mr. Grefhad another episode of abdominal pain in late October 2018. A CT scan
     of the abdomen and pelvis showed a very small area of omentum to the right of the midline
     just above the umbilicus that showed hazy edema. There was a hazy density in the left
     upper quadrant mesentery near the spleen. A loop of small bowel was mildly dilated with
     slight thickening as well. There was "a swirling of the deep mesentery without vascular
     occlusion." The radiologist's impression was mesenteritis. He was admitted to the hospital
     and treated with intravenous fluids, antibiotics, and pain medication. He underwent an



     Dr. J Moline-Gref report                                                        Page 3 of23




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     endoscopy on October 30 th , 2018 that was normal. His pain resolved and he was discharged
     home.

             Mr. Gref developed abdominal pain again on December 17, 2018, and went to the
     ED, where a CT angiogram showed no evidence of an acute vascular abnormality. There
     was circumferential mucosa! thickening of the small bowel loops within the left mid
     abdomen and left upper quadrant, most suggestive of small bowel enteritis. There was
     redemonstralion ofinfiammaiory stranding/edema throughout the mescntcric fat especiaiiy
     within the left upper quadrant. There was significant interval progression compared to the
     previous examination, and the radiologist noted that while the findings were non-specific,
     they did raise the possibility of peritoneal carcinomatosis. He was admitted to the hospital
     and given fluids and antibiotics. A significant fluid collection was noted in his abdomen.
     and a paracentesis was done on December 19. 2018. Around 1700 cubic centimeters of
     fluid was removed and the cytology was negative for malignant cells. There were some
     reactive mesothelial cells, along with neutrophils and lymphocytes. A video capsule
     endoscopy showed slow gastric transit, gastric ulcerations and gastritis and a normal small
     bowel otherwise with delayed transit. The endoscopy biopsies showed findings suggestive
     of peptic duodenitis and gastritis. No abnormalities were noted in the colon. He was
     discharged home on December ?3, 2018.

             Mr. Gref s abdominal pain returned in June/July 2019 and he developed nausea and
     difficulty taking a deep breath due to left upper quadrant pain. The pain gradually worsened
     over three to four weeks and he returned to the ED for evaluation on July 20, 2019. He had
     a CT scan of the abdomen that showed a moderate amount of ascites throughout the
     abdomen. Small bowel thickening was seen within several loops of small bowel within the
     abdomen. He was placed on antibiotics for presumed mesenteritis. An endoscopy was done
     that showed gastritis, and the gastric antrum showed no significant findings. He had a
     paracentesis done with 1600 cubic centimeters of fluid removed, and the fluid cytology
     showed acute inflammation and mesothelial cells. No malignant cells were seen. He was
     discharged home on July 22, 2019. A repeat CT scan was done on August 18, 2019. There
     was a moderate amount of intra-abdominal ascites. Mild splenomegaly was seen. There
     were a few mildly enlarged epicardial lymph nodes. Mr. Grefwas admitted to the hospital
     with five days of abdominal pain and vomiting. Dr. Bradford Joseph, a gastroenterologist.
     saw Mr. Gref in the hospital. He recommended an MRI of the abdomen and Doppler
     ultrasound of the liver. If the tests were abnormal, he recommended a surgical evaluation.
     A repeat paracentesis was done with 1,400 cubic centimeters of fluid removed. Dr.
     Benjamin Piperno, a surgeon, saw Mr. Gref in consultation. He did not feel he required
     surgery at that time. An MRI of the abdomen was done on August 20, 2019. There was a
     moderate volume of ascites of uncertain etiology. Borderline enlarged epicardiac lymph
     nodes were again seen. There was a tiny splenic lesion, likely benign, and mild
     splenomegaly. A less than one centimeter pulmonary nodule was seen at the right lung
     base. An abdominal ultrasound showed mild splenomegaly and small volume ascites.
     Normal blood flow in the portal vein was seen on Doppler. A paracentesis was done and
     the fluid showed reactive mesothelial cells and acute inflammation. No malignant cells
     were seen. He was discharged home on August 25, 2019, and a recommendation was made
     to seek care at Mayo Clinic for a second opinion.



     Dr. J Moline-Grefrcport                                                         !'age 4 o/23




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             Mr. Gref was admitted to the Mayo Clinic in Florida on Novernbe 24, 2019 with
     worsening abdominal pain and distention along with nausea. He also had non-tender
     cervical lymphadenopathy. A CT scan on November 24, 2019 showed a large volume of
     ascites with heterogenous stranding and nodularity of the omenturn, omental caking with a
     soft tissue mass anterior to the level of the umbilicus. Mr. Gref had a CT-guided
     paracentesis and biopsy. Around 2.15 liters of fluid was removed from the abdomen. The
     fluid showed ncutrophils and he was treated with antibiotics and given albumin to treat
     spontaneous bacterial peritonitis. The fluid cytology and the biopsy pathology showed
     malignant mesothelioma, epithelial cell type. Dr. Zhang reviewed the pathology and noted
     that the histological features and immunohistochemical staining pattern supported the
     diagnosis of malignant mesothelioma, epithelioid cell type. Mr. Gref was switched to oral
     antibiotics and plans were made for an outpatient chest CT, PET/CT and consultation,
     along with surgical consultation regarding possible HIPEC. He was discharged home on
     November 28, 20 I 9. Mr. Grefreturned on November 29, 2019 with a panic attack. He was
     treated with anxiolytics.

              Dr. Thomas Davis, a medical oncologist, saw Mr. Gref on December 15, 20 I 9. A
     PET scan was done on December 17, 2019 and showed hypermetabolic omental soft tissue
     infiltration throughout the upper abdomen consistent with known mesothelioma with a
     mass in the right upper quadrant measuring 3.2 x 2.5 centimeters. There was moderate
     ascites with low-level FDG. There was no abnormal uptake within the neck or chest. Dr.
     Marcelo DaSilva, a surgical oncologist, saw Mr. Gref on January 8, 2020. He discussed
     treatment options with Mr. Gref including cytoreductivc surgery. Mr. Gref went to the ED
     at Mayo Clinic on January 21, 2020 with two weeks of abdominal pain and nausea. A
     bedside ultrasound showed no ascites. He was given pain medication. Dr. DaSilva
     recommended induction chemotherapy with Cisplatin and Pemetrexed, and Dr. Davis
     planned to administer the chemotherapy and rescan after two cycles. Mr. Grcfwent to the
     ED on February 8, 2020 with chest pain, shortness of breath and generalized weakness. He
     had started chemotherapy on February 4, 2020. A CT angiogram of the chest showed no
     evidence of a pulmonary embolism. There was no acute abnormality noted in the chest.
     His chest pain was relieved by nitroglycerin. He was admitted for monitoring to see if he
     had a cardiac event. He continued to have abdominal pain and nausea. A stress
     echocardiogram showed normal clinical response to exercise stress with no chest pain
     during the procedure. There was a normal electrocardiographic response during exercise
     stress and perfusion imaging was normal. The overall left ventricular systolic function was
     normal with no wall motion abnormalities. He was discharged home on February I 0, 2020.

             Dr. Davis saw Mr. Gref on February I 81'\ 2020. He had some nausea, headache and
    diarrhea, and was getting a bit dehydrated. He had less abdominal distension. Dr. Davis
    arranged for hydration and planned a second cycle for the following week. Mr. Gref saw
    Dr. Davis on March 10 th . He had daily nausea and a poor appetite with occasional diarrhea.
    He received intravenous fluids and anti-emetics. He received his third cycle on March 17th ,
    2020. Dr. Davis saw Mr. Gref on March 3 !81. His nausea and appetite were improved but
    he still had nausea and bloating for a week after treatment. A PET scan was done on March
    31, 2020. There was an interval decrease in the volume and FDG intensity within the



    Dr. J Afo!ine-Grefrepnrt                                                       Page 5 o/23




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     mesothelioma in the omental fat, consistent with a response to interval therapy. There were
     persistent areas of fine omental nodularity in the left upper quadrant with low-level FDG
     activity. Persistent but improved intra-abdom1nal ascites was noted. Dr. Davis saw Mr.
     Grefon April 7th . Mr. Grefwas doing better on treatment and his pain had decreased. He
     was using Varubi and Protonix with relief of his symptoms. Dr. DaSilva saw Mr. Grefvia
     telehealth on April 22, 2020 and discussed the plan for surgery. Dr. DaSilva planned a
     radical peritonectomy with possible cholecystectomy, splenectomy, bowel resection and
     omentectomy with HIPEC. Dr. Davis saw Mr. Gref on April 28, 2020. He planned to see
     him in June following his surgery.

             Mr. Gref underwent cytoreductive surgery with HIPEC on May 20, 2020. Dr.
     DaSilva performed a radical omentectomy and administered intraoperative heated
     Cisplatin. [full records of the surgery and hospitalization were not available for my review].
     The pathology showed multiple miscroscopic foci of malignant mesothelioma in the
     peritoneum soft tissue. There was extensive malignant mesothelioma involving an area up
     to 30.3 centimeters and excision of the mesentery showed malignant mesothelioma. Dr.
     DaSiiva saw Mr. Gref on July 8, 2020. He was abie to waik around 1/2 of a miie a day and
     had very mild incisional pain. A PET scan on July 28, 2020 showed no PET evidence of
     active malignancy. There was interval resolution of the previously seen fine nodularity that
     was infiltrating the omental fat in the left upper quadrant. No intraperitoneal ascites was
     seen and no focal abnormality was seen in the neck or chest. Dr. Davis saw Mr. Gref on
     July 29, 2020. Dr. Davis noted that there was no evidence of disease on his PET scan. He
     started him on lisinopril for an elevated blood pressure. Mr. Gref returned to Dr. Davis on
     March 10, 2021. Mr. Gref continued to require pain medication and Dr. Davis noted he had
     no evidence of disease on his recent scan [not available for my review]. He planned to see
     Mr. Grefin 12 months for follow-up with a repeat scan.

            No other records were available for my review.

     Past Medical History: Mr. Grefhas a history of kidney stones, chronic sinusitis and sinus
     surgery, migraines, low back pain, bipolar disease, alcohol use disorder, depression and
     anxiety.

     Cigarette Smoking History: Mr. Gref smoked cigarettes regularly from 2004 - 2019. He
     smoked between several cigarettes a day to up to one-half pack of cigarettes a day, although
     there is notation that he smoked around one pack a day.

     Environmental and Occupational History: When Mr. Grefwas young, his parents served
     in the US Navy. He recalled his mother worked in an office and as a detailer and his father
     was a drug and alcohol counselor and worked on aircraft, working on ejection seats and
     doing supervisory work. His mother had ship duty, but she did not go into the mechanical
     areas, and performed administrative duties onboard. His father was unaware of any
     asbestos exposure during his service. His parents separated when he was young and he
     and his mother moved to Virginia from Florida when he was around 9. Mr. Grefworked
     as a security guard from 2001 - 2004. He worked at a front desk for an office building for
     two years from 2003 - 2005. He worked as a service technician for North Florida Lube



     Dr. J. Moline-Gref report                                                        Page 6 o/23




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     from 2005 2007. He worked as a call center operator from 2007 - 2013, and served in
     the US Army from 2014 - 2015. He worked as a website builder from 2015 - 2019, and
     has been a blood technician since 2019.

              Mr. Grefrecalled that his parents bathed him when he was young and dried him off
     and applied powder to his body. He recalled that a lot of powders were in the house,
     particularly Old Spice and Clubman, which were used a lot. He also remembered English
     Leather, Johnson & Johnson, Shower to Shower, and Mennen. He stated that the powder
     was applied "in healthy doses, dust getting all up in the air." His parents either applied the
     powder directly onto him from the bottle or put the powder on their hand and applied it
     over his body and rubbed it in. Mr. Gref stated that his family no longer used Mennen after
      1993 or 1994. When Mr. Grefmoved with his mom to Virginia in 1991, he stopped using
     powder daily, and used it weekly until he was 12 years old. He used the same brands of
     powder in Virginia. When he was around 12 he began using powder daily. He applied it to
     his groin region, under his arms, behind his knees, and to his neck. Mr. Gref used a
     container of powder every two to three weeks. Mr. Gref graduated from high school in
     2001 and continued to use the powders, including Johnson and Johnson, Shower to Shower,
     Clubman and Old Spice, on a daily basis. After he moved to Florida in 2004 Mr. Gref
     continued to use powders by English Leather, Clubman, Johnson and Johnson and Shower
     to Shower. He used these powders until he was diagnosed with mesothelioma in 2019. Mr.
     Gref stated that he used the various powders interchangeably. He estimated he would go
     through around 6 containers of Clubman talcum powder a year. He had to clean up the
     bathroom after he used the powder, around two to three times a month. He estimated over
     his lifetime he used dozens of bottles of Clubman talc over the years he used powder. He
     used several dozen bottles of English Leather talc, and ten to twelve bottles of Old Spice
     (during the period of 1994-1999/2000)]. He also mentioned using Imperial Talc.

            Mr. Grefs father, Roger Gref, noted that he used Johnson's Baby Powder or
     Mennen when he changed his son's diapers. He also applied talcum powder after Mr. Gref
     was bathed. His mother, Karen Nappi recalled using Mennen, Clubman, Shower to Shower,
     Old Spice, Johnson and Johnson's Baby Powder, and English Leather on her son. When
     she and Mr. Roger Gref were stationed in Cuba, her father would send packages that
     included talcum powder for her to use on Mr. Gref, who was age 3 months to 3 years. She
     used various powders when she was changing his diaper, and then after his bath. Ms. Nappi
     used powder on Mr. Grefuntil he was around 7-8 years old, when Mr. Grefbegan bathing
     independently. In Cuba she used three to four containers once a month for 30-36 months.
     Over the years from 1982-1987, Ms. Nappi estimated that she used 5-7 bottles each of the
     various talcum powders on her son. She estimated that she bought around 5-7 bottles of
     Mennen and the other powders when Brian was 7-11 years old. He used more after he was
     around 11. Similarly, she bought additional bottles of the various talcum powders for him
     more frequently after he reached puberty, around 11 or 12, and he continued to use a variety
     of powders.

     Conclusion: Mr. Gref has malignant mesothelioma of the peritoneum as a result of his
     cumulative exposure to asbestos. His parents noted that they used talcum powders on Mr.
     Gref from birth, including Mennen, Clubman, Shower to Shower, Old Spice, Johnson's



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     Baby Powder and English Leather. Mr. Gref continued to use talcum powders until 2019,
     for a total of36 years. Mr. Grefhas undergone chemotherapy and cytoreductive surgery'.

             The methodology and basis for my opinions follows standard methods of the
     medical and scientific community and have been described in the peer reviewed literature
     including by Bradford-Hill, Lemen, and Welch. Asbestos is the most well known cause of
     mesothelioma, and the causation of mesothelioma has been established by the quantitative
     history of exposure to asbestos. Thousands of individuais, from myriad professions and
     exposure situations have developed mesothelioma as a result of either direct or indirect
     exposure to asbestos. The reliance on the history of exposure to asbestos was used by
     seminal studies by Newhouse, Wagner and Selikoff in the 1960s, who attributed
     mesothelioma to asbestos exposure based solely on the history of exposure. The increased
     risks for mesothelioma exist for individuals who both directly handled asbestos products
     and for those who worked adjacent to or were in the vicinity of others who were using
     asbestos products, which is known as "bystander" exposure.

     Asbestos and lvfaiignant 1vfesothelioma General Opinions: Occupationai Medicine is the
     field of medicine that deals with exposures to substances, toxins, conditions and agents in
     the workplace that are associated with increased risks of diseases. It exists as a subspecialty
     of Preventive Medicine that deals with identifying ways to prevent people from becoming
     ill. This includes identifying the sources, agents or catalysts that increase the likelihood of
     someone developing a disease, illness, or detrimental condition, and educating people on
     how to eliminate, avoid, and/or mitigate those risks. To put it simply, Occupational
     Medicine and Preventive Medicine involves searching for and identifying causes of
     diseases. This knowledge is important for those who are already ill: elimination of the
     catalysts can eliminate or mitigate the illness. It is also important from a public health point
     of view: to a large extent, the higher purpose of Occupational Medicine and Preventive
     Medicine is to educate and warn the public on how to eliminate, avoid, or mitigate the risks
     of diseases at the workplace, and to provide guidance to governments and businesses on
     appropriate regulations and standards concerning workplace health and safety.

              One of the essential tasks of a physician of Occupational Medicine, when dealing
     with an individual patient, is the taking of a proper occupational history. Standard medical
     histories usually involve the patient explaining their reason for seeking medical attention;
     a listing of current symptoms, conditions, allergies, medications and other relevant medical
     problems; and providing some family and social history. Occasionally, a standard medical
     history may-but doesn't always-include identifying the patient's occupation.

              A full occupational history, on the other hand, will go into details of a patient's
     entire work history, including details concerning their tasks and duties and their working
     conditions and environment. The history will also routinely make inquiries into the
     patient's home or hobbies. It would also reveal what kinds of substances or agents the
     patient was exposed to in his or her working environment that might have occurred decades
     earlier. It remains the standard tool for determining exposure and has not been supplanted
     by quantitative measurements, which are rarely obtained, and would not, unless
     continuously performed on an individual (which is not feasible), fully address all exposures



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      an individual might have had. At times, it is not possible to directly obtain an occupational
      history from an individual, and information concerning work and environmental
      experiences contained in deposition transcripts by plaintiffs, co-workers and family
      members can provide detailed information of that type that can be elicited from an
      occupational physician-obtained history.

              The hallmark of occupational medicine is to connect an exposure to a hazardous
      substance to a disease, and identify whether there is a causal relationship. This is a critical
      differentiation in the field of occupational medicine; not only do we treat patients for
      disease, but we emphasize what hazardous substance might be causing the disease. In
      occupational medicine training, there are core areas of training, including epidemiology,
      biostatistics, toxicology, and industrial hygiene.

      Asbestos and Disease: Asbestos is a naturally occurring mineral that has been used
      commercially for a variety of purposes for over 100 years. Asbestos is mined in the form
      of microscopic fibers released from the surrounding earth. Asbestos was extremely useful
      from an industrial perspective: it is highly resistant to heat and therefore serves as an
      excellent insulator and friction surface. It is also very durable, and as a fiber it can be
      molded into shapes and products that serve a variety of functions. However, asbestos is
      also highly toxic and carcinogenic when the fibers are inhaled or ingested.

               While there are many "fiber types" of asbestos, as well as different sizes of the
      fibers, there exists consensus among scientists that exposure to any asbestos fiber type or
      size increases the likelihood of lung cancer, mesothelioma, as well as nonmalignant lung
      and pleural disorders. Asbestos fibers are generally divided into two categories:
      amphiboles and serpentine (or chrysotile). There are several varieties of amphiboles,
      including both commercial and non-commercial types. The three major asbestos types used
      in industry have been chrysotile, amosite and crocidolite. Of these three fiber types, over
      95% of all asbestos used in the United States has been chrysotile. Much of the chrysotile
      asbestos that was used in the US was mined in Canada, where there was contamination
      with small amounts of tremolite, another type of amphibole asbestos. The mainstream
      scientific community has also long recognized, and continues to recognize today, that there
      is no "safe" level of exposure to asbestos regardless of fiber type or size. This position is
      shared by numerous United States government agencies, including the Occupational Safety
      and Health Administration ("OSHA", which has regulatory authority over workplaces), the
      Environmental Protection Agency ("EPA" which has regulatory authority over non-
      occupational settings), the National Institute for Occupational Safety and Health
      ("NIOSH", which is responsible for conducting research and making recommendations for
      the prevention of work-related injuries and illnesses), the World Trade Organization
      ("WTO"), and the national academies of science of every major industrialized nation. The
      World Health Organization recently reviewed the existing literature and concluded (in
      2014) that all fiber types are capable of causing asbestos related disease, including
      mesothelioma, and reiterated the statement that there is no safe level for exposure to
      asbestos.




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             Due to the ubiquitous use of asbestos and its presence in naturally occurring
      formations, there is asbestos in the ambient air in the United States, albeit at minute levels.
      The ambient air concentration or "background level" has been reported to be approximately
      0.00001 flee. These levels arc thousands of times less than the current OSHA permissible
      exposure level of 0.1 lice. While it is theoretically possible to develop mesothelioma from
      ambient air concentrations, it has not been proven to occur at levels at or below ambient
      air concentrations. Given that there is no truly "unexposed" population, it would be
      impossible to reasonably perform such a study to determine if this were the case.

      State of the Art (Brief):

              [n 1898. Montague Murray described interstitial fibrosis in an individual exposed
      to asbestos. Pancoast described radiographic changes of interstitial fibrosis in asbestos
      workers in 1917. Cooke described two cases of asbestosis in the 1920s, and actually used
      the term "asbestosis" to describe the interstitial fibrosis among asbestos workers, and also
      noted pleural plaques (fibrosis) in these workers.

              In 1930, Merewether and Price, in their Report on the Effects a/Asbestos Dust on
      the Lungs und Dust Suppression in the Asbestos Industry, noted that inhaling dust
      containing asbestos fibers could lead to disabling and fatal lung disease. They studied
      asbestos workers in the textile mills in Great Britain, and noted that asbestosis could occur
      in large numbers of exposed individuals. Moreover, they found that the textile workers
      vvith the highest exposures had more asbestosis than workers in areas where asbestos
      exposure was lower. Mercwethcr and Price noted that asbestos was a potential hazard to
      health in any industry where dry asbestos products were abraded or otherwise manipulated
      to generate dust, such as thermal insulating. They recommended warning, education and
      training of all those individuals who were exposed to asbestos.

              Lynch and Smith noted a case of lung cancer in an asbestos worker from South
      Carolina in 1935. Textbooks in the 1930s, such as A.J. Lanza's textbook on dust disease,
      included asbestosis as a disease of concern. In 1943, the first case of mesothelioma was
      associated with asbestos exposure and was published by Wedler in Germany. Also in 1943,
      Hueper from the United States Public Health Service stated that he believed asbestos
      caused lung cancer. He published an editorial stating this association in the Journal of the
      American Medical Association in 1949.

              In 1955, Doll published a seminal article that described the increased risk of lung
      cancer among asbestos exposed workers. By the time of Doll's epidemiology study, there
      had been over 60 cases of asbestos-related lung cancer published in the literature. In 1960,
      Wagner et.al. published a study of33 cases of malignant mesothelioma among individuals
      who were exposed to asbestos in and around the crocidolite mines in South Africa. Not
      only were miners developing disease, but family members, individuals on the wagon routes
      in which the asbestos was carried and people who had played with mine tailings as children
      developed mesothelioma. In the early 1960s, numerous studies in several countries, under
      different exposure scenarios, were published that showed mesothelioma in association with




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      asbestos exposure. In fact, by the end of 1964, over 700 scientific articles had been
      published that showed the adverse health effects of asbestos.

      Asbestos Related Disease:

      The Development ofDiseases: When asbestos is inhaled, some proportion of the fibers can
      be deposited upon any component of the respiratory tract, including the nose, pharynx,
      conducting airways and the alveolar or gas exchanging regions of the lung. Fibers that land
      initially on the airways and above are cleared rapidly from the lung. The primary defense
      mechanism that mediated this clearance is known as the mucociliary escalator. The
      escalator is comprised of collated and mucous producing epithelial cells that propel inhaled
      fibers up to the mouth where they can be swallowed or expectorated. These epithelial lining
      cells are the "target cells" for cancers. Fibers that evade the mucociliary escalator can
      penetrate into the lower airways and lung tissue, where they can be transported through the
      body. Amphibole fibers tend to clear from the lung less rapidly than chrysotile fibers.
      Asbestos is cleared through the pulmonary lymphatics to lymph nodes and to the pleura,
      the target organ for pleural mesothelioma. Of the different fiber types, Suzuki, Sebastien
      and LeBouffant have all shown that chrysotile fibers preferentially translocate to the
      pleural space.

      Asbestosis: The fibers that are inhaled and deposited past the escalator can cause asbestosis.
      These fibers deposit initially on the Type 1 and Type 2 alveolar epithelial cells. On the
      epithelial surfaces, some asbestos fibers activate the 5th complement which attracts
      inflammatory cells, including foreign particles, like asbestos, from the lung. About 20% of
      the fibers deposited on the alveolar surfaces are enveloped by the Type 1 cells and are
      translocated to the underlying connective tissue (interstitial) compartment. There, the fibers
      can interact with interstitial fibroblasts, myofibroblasts and macrophages. Fibroblasts and
      myofibroblasts are the target cells for asbestos because these are the cells that synthesize
      and release the scar tissue matrix. (See Y. Suzuki & N. Kohyama, Trans location ofInhaled
      Asbestos Fibers from the Lung to Other Tissues.,19 Am J. Indus, Med. 701 (1990); Y.
      Suzuki & N. Kohyama, Translocation of Inhaled Asbestos Fibers from the Lung to Other
      Tissues., 19 Am J. Indus, Med. 701 (1991)). They produce scar tissue when the epithelial
      cells are injured and when the macrophages are activated. Alveolar cells and macrophages
      release a number of protein growth factors that stimulate the fibroblasts to multiply and
      produce scar tissue and the fibroblasts and myofibroblasts also synthesize a similar array
      of factors that induce their own cell growth and matrix production that we recognize as
      asbestosis. Like all of the asbestos-related diseases, asbestosis is dose dependent. An
      individual typically needs long-term occupational exposure to develop clinical asbestosis.

             The scarring process described above begins as soon as inhaled fibers are deposited
      on the alveolar surfaces, and microscopic asbestosis is ongoing in the lungs of afflicted
      individuals for many years before any clinical signs or symptoms are presented. The initial
      physiological symptom of asbestosis is shortness of breath. This is caused by the scar tissue
      which replaces normal elastic connective tissue, this producing a stiff lung that restricts the
      individual from taking a deep breath. Shortness of breath also results when scar tissue




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      thickens the alveolar-capillary membrane, the barrier across which oxygen and carbon
      dioxide gases arc exchanged.

      Pleural Plaques and Fibrosis: This is scar tissue formation in an identical manner to that
      described above, under asbestosis. The difference is that there is little direct deposition of
      asbestos fibers in the pleura. While some fibers can be inhaled through the alveolar ducts
      and reach the pleura directly, most fibers that land on alveolar surfaces and reach the
      inrerstitiai compartment have direct access to the picura do so by way of pulmonary
      lymphatic flow. The inhaled fibers that land on alveolar surfi1ces and reach the interstitial
      compartment have direct access to lymphatic fluids which flow through these regions on
      the way to the pleura. The lymphatic flow carries fibers to the pleura where they interact
      with the sub-mesothelial fibroblasts that produce a scar tissue matrix, as described above.
      If the scarring is in a circumscribed pattern, the scarring is called "plaque". Investigators
      have shown that this injury can result in a restrictive lung disease in some individuals.

      Lung Cancer: These tumors caused by asbestos typically arise in cigarette smokers,
      although some epidemiologic studies on asbestos-exposed non-smokers show an increased
      risk of developing the disease. When an individual is exposed to the cancer-causing agents
      (carcinogens) ol both cigarettes and asbestos, the risk of getting lung cancer is increased
      well beyond the risk presented by exposure to either agent alone or by simply adding the
      risks of the two carcinogens. Epidemiologists multiply the risks of the two carcinogens
      since there is a clear synergy in the way asbestos and cigarette smoke combine to cause
      lung cancer.

             Cancer is the loss of control of cell growth. Every cell in the bodies of humans and
     animals is under strict genetic control of the rate at which a given cell replaces itself by
     dividing. Cancer is caused when the specific genes that control cell division and other
     aspects of the cell cycle develop errors or mutations. Carcinogens induce such errors, and
     complete carcinogens can produce the errors with no other agent required. Cigarette smoke
     has a number of complete carcinogens, and all of the asbestos varieties have been shown
     to act as complete carcinogens. Thus, as the airway epithelial cells of the mucociliary
     escalator are assaulted daily by cigarette smoke and asbestos fibers, a number of cells are
     injured, an<l many exhibit genetic errors through the lifespan of the individual. In those
     who are susceptible to developing a cancer. one of those injured cells accumulates a
     sufficient number of genetic errors in genes that control cell growth to finally, after decades
     of exposure, lose the normal growth pattern and grow into a malignant tumor. (See Frost
     G, Darton A, Harding AH. The effect of smoking on the risk of lung cancer mortality for
     asbestos workers in Great Britain (1971-2005) Ann Occup Hyg 55:239-24 (2011)).

     A1esothelioma: This cancer occurs when mesothelial cells of the pleural or peritoneal
     surfaces develops a sufficient number of genetic errors in a set of genes that control cell
     growth, as described above. Cigarette smoking has no influence on the development of
     mesothelioma. (See N.S. Offermans, et. al., Occupational Asbestos h)cposure and Risk of
     Pleural Mesothelioma, Lung Cancer, and Laryngeal Cancer in the Prospective Netherland
     Cohort Study, 56 J. Occupational Envt' I Med. 1 (2014); Robinson BM. Malignant pleural




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      mesothelioma: an epidemiological perJpective, 1 Annals Cardiothoracic Surgery 491
      (2012)).

               Asbestos exposure is the only known occupational and/or environmental cause of
      mesothelioma in North America, and all of the asbestos varieties induce the genetic errors
      described above and cause this cancer. The fibers that cause mesothelioma reach the pleural
      surfaces through the lymphatic pathways, as explained earlier, and they interact with the
      target cells of the mesothelial surfaces. When a sufficient number of genetic errors have
      accumulated in a single mesothelial cell, this cell can undergo neoplastic transformation
      and grow into a deadly tumor. It typically takes many decades for a sufficient number of
      mutations to occur in a single mesothelial cell because of the numerous effective defense
      mechanisms that destroy genetically defective cells, thus explaining the long latencies
      known for this cancer. However, shorter latency periods have been reported in the
      literature, and latency period is measured as the time from first exposure; all additional
      exposures to asbestos are cumulative.

              All of the asbestos varieties have been shown to cause genetic errors and fibers less
      than five microns can bind DNA and this contributes to the development of genetic
      damage. Short fibers have been found to accumulate in the pleural regions of the lung as
      well as in mesenteric lymph nodes of the peritoneal cavity. Longer fibers may be
      comparatively more dangerous than short fibers (on a fiber per fiber basis), but all size
      ranges are capable of causing and contributing to the development of mesothelioma or any
      of the asbestos-related diseases. Exposure to asbestos fibers of all types and lengths are
      toxic, and short fibers more readily reach the mesothelial target cells of the pleura. (See Y.
      Suzuki & S. R. Yeun, Asbestos Fibers Contributing to the Induction of Human malignant
      mesothelioma., 982 Annals N.Y. Acad. Sci. (2002); Y. Suzuki, et al. Short thin asbestos
     fibers contribute to the development of human malignant mesothelioma: pathological
     evidence., 208 Int'!. J. Hygiene Env. Health 201 (2005)). Some have suggested that
      geological nomenclature - calling the anthophyllite and tremolite in the talc either "non-
     asbestiform" or "cleavage fragments" - has biological significance. This notion has been
     rejected by the EPA, US Centers for Disease Control and Prevention, Agency for Toxic
     Substances and Disease Registry USGS (United States Geological Survey), and American
     Thoracic Society, and most recently by the FDA Working Group, and is not a distinction
     that is considered medically important. The Finnish Institute of Occupational Medicine
     (2019) provided a definition of asbestos that states that "asbestos fibers with a thickness of
     3 micrometers or less and a length of 5 micrometers or more cause a risk of cancer and
     pulmonary diseases when inhaled, regardless of whether they have been formed as a result
     of a geological process metamorphism or in an industrial process, such as in mining
     operations." In fact, mesotheliomas have been documented among New York State miners
     and millers of talc containing approximately 50% "non-asbestiform" anthophyllite and
     tremolite. Asbestos related diseases have also been found at the Italian and Vermont talc
     mines and mills. The absence of documented cases of mesothelioma among one cohort of
     miners and millers of talc containing less than 1% the tremolite and anthophyllite (such as
     the Rubino, Coggiole, and Pira Italian studies of talc miners and millers) is most likely due
     to an inadequate sample size, selection criteria, and the manner in which the data has been
     reported. (US EPA Region 9 Response to the 2005 National Stone, Sand and Gravel



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      Association Report, April 20, 2006; RT Vanderbilt Co., MSDS, May 1, 1975; Roggli, et.al.
      Tremolite and Afesothelioma. Ann 0cc Hyg 46(5):447-453 (2002); Lamm,Similarities in
      lung Cancer and Respiratory Disease Mortality of Vermont and New York State Talc
      Workers; Epidemiology-Fibers, 1576-1581 ( 1988), Mirabelli, Letter on "Cosmetic Talc as
      a Risk Factor for Pleural Mesothelioma: a Weight of Evidence Evaluation of the
      Epidemiology; Inhal Toxicol 29(8):341 (2017)). Mirabelli noted a case of mesothelioma in
      a 79 year old man who was a maintenance worker who worked at the Italian talc mill from
      1947-1957 (Mirabeiii D, Letter on: "Cosmetic taic as a risk factor for pieurai
      mesothelioma: a weight of evidence evaluation of the epidemiology, Inhal Toxicol
      29(8):341 (2017). A mesothelioma in Johnson & Johnson's consumer product division
      worker population has been reported. This individual's exposure in the consumer product
      division would be more analogous to what a consumer of talcum powder products would
      experience than a miner or miller's exposure. Johnson & Johnson's own internal records
      document many dozen mesotheliomas with Johnson & Johnson associating the possible
      cause to be exposure to its talcum powder products.

              Fibers uf all lengths can bind to DNA and cause genetic errors that are required in
      the causation of cancer such as mesothelioma. Fiber burden studies of mesothelioma
      patients show a preponderance of chrysotile asbestos within the tumor tissue. Since the
      target location of mesothelioma is the pleura, the lung burden of asbestos does not reflect
      the fact that asbestos has moved from the lung to the pleura, where it can cause the
      mesothelioma to develop. (See Ronald F. Dodson, Analysis and Relevance of Asbestos
      Burden in Tissue, in Asbestos: Risk Assessment, Epidemiology and Health Effects. Risk
      Assessment, Epidemiology and Health Effects 78 (2d, ed. 2011); M. Silverstein, et al.,
      Developments in Asbestos Cancer RiskAssessment. Am J. oflndus. Med. (2009)).

              Moreover, there is ample evidence to support the conclusion that exposure to the
      asbestos fibers typically used in brake linings-chrysotile fibers-can and does cause
      mesothelioma. This conclusion is supported by, among others, the American Conference
      of Governmental Industrial Hygienists, the American Thoracic Society, the Environmental
      Protection Agency, the International Agency for Research on Cancer, the National
      Toxicology Program, OSHA, the Consumer Products Safety Commission, the World
      Health Organization, and the World Trade Organization. The scientific consensus that all
      fiber types and sizes can cause mesothelioma is also reflected in the Consensus Report of
      the 1997 Helsinki Conference (discussed below) and publications from the American
      Cancer Society and the National Cancer Institute of the National Institutes of Health.

             In essence, there exists a consensus among the overwhelming majority of medical
     and scientific professionals and organizations that asbestos fibers of any type or size can
     cause mesothelioma, including chrysotile fibers. (See Dodson, Ronald F. et al., Asbestos
     Fiber Length as Related to Potential Pathogenicity: A Critical Review, 44 Am J. Indus.
     Med. 291 (2003); D. Egilman, et al., Exposing the "Myth" of ABC, "Anything But
     Chrysotile: A Critique of the Canadian Asbestos Mining Industry and McGill University
     Chrysotile Studies. 44 Am J. Indus. Med. 540 (2003); David S. Egilman & Marion Billings:
     Abuse of Epidemiology: Automobile Manufacturers Manufacture a Defense to Asbestos
     Liability, 11 Int. J. Occupational Envtl Health 360 (2005). 11:360-371; Egilman D. Fiber



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      Types, Asbestos Potency, and Environmental Causation. 15 Int. J. Occupational Envtl.
      Health (2009); Finkelstein, M. Asbestos Fiber Concentrations in the Lungs of Brake
      Workers: Another Look, 52 Annals Occupational Hygiene 455 (2008); M.M. Finkelstein
      & C. Meisenkothen, Malignant Mesothelioma among Employees ofa Connecticut Factory
      that Manufactured Friction Materials Using Chrysotile Asbestos. 54 Annals Occupational
      Hygiene 692 (2010); P.J. Landrigan, et al., The Hazards ofChrysotile Asbestos, a Critical
      Review. 37 Indus. Health 271 (1999); W.J. Nicholson, The Carcinogenicity of Chrysotile
      Asbestos-A Review. 39 Indus. Health 57 (2001); R.A. Lemen, Chrysotile Asbestos as a
      Cause of Mesothelioma: Application of the Hill Causation Model. IO (2) Int. J.
      Occupational Envtl. Health (2004); see also R. Lemen, Asbestos in Brakes: Exposure and
      Risk of Disease. 45 Am. J. Indus. Med 229 (2004); EPA: Guidance For Preventing
      Asbestos Disease Among Auto Mechanics. (1986); A.H. Smith & C.C. Wright, Chrysotile
      Asbestos is the Main Cause of Pleural Mesothelioma. 30 Am. J. Indus. Med. 252 (1996);
      U.S. Dept. of Labor: Working Safely with Asbestos in Clutch and Brake Linings. (posting);
      U.S. Dept. of Labor, OSHA Directorate of Science, Technology and Medicine, Office of
      Science and Technology Assessment. Asbestos-Automotive Brake and Clutch Repair
      Work; World Health Organization, Environmental Health Criteria 203: Chrysotile
      Asbestos. International Programme on Chemical Safety (1998 Geneva)).

               Asbestos fibers are very small; so small, in fact, that millions of fibers could fill the
      air in a room without anyone being able to perceive it with the naked eye. The fibers are
      odorless, cannot be seen with the naked eye, and are aerodynamic. Consequently, someone
      can inhale asbestos fibers without even being aware of it. The fibers are also small enough
      to pass through the normal respiratory defense mechanisms that the human body uses to
      keep out toxins and debris.

              The Scientific community has even concluded that small amount of asbestos
      exposure can cause cancer. The Rodelsperger study indicates that exposure to asbestos
      below the Occupational Safety and Health Administration (OSHA) Permissible Exposure
      Level (PEL) of 0.1 fibers per cubic centimeter can cause disease. However, visible
      asbestos-laden dust that is released into the air from the manipulation of gaskets or packing,
      or that is reintroduced into the respirable zone from the process of sweeping the floor, is
      between 2.0 and 10.0 fibers per cubic centimeter. These levels far exceed the OSHA PEL.
      Some of these levels even exceed the OSHA PEL issued in 1972.

              Government agencies and international organizations universally recognize
      asbestos as a carcinogen in low levels. These agencies include the International Agency for
      Research on Cancer, Environmental Protection Agency, OSHA, National Institute for
      Occupational Safety and Health, and World Health Organization. The inhalation of
      asbestos fibers also does not trigger any immediate physiological reactions: the victim
      doesn't experience any immediate irritation, asthmatic problems, or allergic reactions.
      Moreover, the latency, or development period, for mesothelioma is very long: the minimum
      latency period is usually considered to be around 10 years with a maximal latency period
      well over 60 years after the last exposure. There are some case reports of shorter latency
      periods; the idea of latency starts with the first exposure to asbestos, with additional
      exposures also contributing. Consequently, it could be decades before someone is aware



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      that he or she was exposed to asbestos, or it might have occurred so remotely that they do
      not realize they had asbestos exposure. Moreover, they may not realize lhat aproducl they
      used contained asbestos and thus are unaware they had exposure.

      The Helsinki Criteria for Attribution: In January 1997, a conference called "Asbestos,
      Asbestosis and Cancer'' was held in Helsinki, Finland. The conference was convened to
      establish criteria for diagnosis and attribution of disorders of the lungs and pleura,
      inciuding mcsothciioma. This ,vas a muitid1sc1piinary group of internationally recognized
      experts, consisting of pathologists, radiologists, occupational and pulmonary physicians,
      epidemiologists, toxicologists, industrial hygienisls, and clinical and laboratory scientists
      specializing in tissue fiber analysis. Collectively, the members had published over 1,000
      articles on asbestos and associated disorders. The conclusions of the conference were
      developed into a peer-reviewed Consensus Report that established the "Helsinki
      Criterion". Among the conclusions of the Helsinki Criterion are:

                 a. That, in general, reliable work histories provide the most practical and
                    usefui measures of occupational asbestos exposure; and
                 b. That even in the absence of other independent evidence of disease (e.g. lung
                    fiber counts exceeding the background range for the lab in question; the
                    presence of radiographic or pathological evidence of asbestos-related tissue
                    injury; histopathologic evidence of abnormal asbestos content), a history of
                    significant occupational, domestic or environmental exposure to asbestos
                    will suffice for attribution of the disease wilh asbestos exposure.

            Moreover, with reference to determining an occupational                  etiology   of
      mesothelioma, the Helsinki Criterion Consensus Report concluded that:

                 a. The great majority ofmesotheiiomas are due to asbestos exposure;
                 b. Mesothelioma can occur in cases with low asbestos exposures. However,
                     very low background environmental exposures carry only an extremely low
                     risk;
                 c. About 80% of mesothelioma patients have had some sort of occupational
                     exposure to asbestos (necessitating a carefully obtained and detailed
                     occupational history for proper diagnosis);
                 cl. An occupational history of brief or low-level exposure should be considered
                     sufficient for mesothclioma to be designated as occupationally related;
                 e. A minimum of 10 years from the first exposure is required to attribute
                     rnesothelioma to asbestos exposure (though in most cases, the latency
                     interval is longer);
                 f. Smoking has no influence on the risk of mesothelioma.

            The conclusions of the Helsinki Criterion have since been adopted by, and form the
     general consensus of, the medical community's positions vis-a-vis mesothelioma and
     asbestos. (See Consensus Report, Ashestos, asbestosis and cancer: the Helsinki criteria for
     diagnosis and attribution, 23 Scandinavian J. Work Environ Health 311 (1997)). And,
     given the fact that about 80% of patients with mesothelioma have had some sort of



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      occupational exposure to asbestos, 1 asbestos exposure in the workplace is a prime focus of
      Occupational Medicine when dealing with mesothelioma patients.

      Mesothelioma is a dose responsive disease: It is my opinion that Mesothelioma and
      asbestos related lung cancer are dose responsive diseases in which more substantial
      exposures directly increases the risk for the development of these cancers. This linear dose-
      response relationship presented in Asbestiform Fibers: Non-occupational Health Risks,
      published by the National Research Council National Academy of Sciences in 1984,
      discussed herein, is neither new nor novel and generally accepted in the medical and
      scientific communities. As per the aforementioned Helsinki criteria, the first question
      usually asked of a patient diagnosed with mesothelioma, concerns how, when, and where
      the patient was exposed to asbestos. (See Consensus Report, Asbestos asbestosis and
      cancer: The Helsinki criteria for diagnosis and attribution. 23 Scandinavian J. Work
      Environ Health 311 ( 1997)). Because of the proven association between asbestos fibers
      and mesothelioma, proof of significant exposure to asbestos dust is considered to be proof
      of specific causation. (See P. Boffetta, et al., Health Effects of Asbestos Exposure in
      Humans: A Quantitative Assessment. 89 (6) Medicina Del Lavoro, 471 (1998). This causal
      relationship between exposure to asbestos dust and the development of mesothelioma is so
      firmly established in the scientific literature that it is accepted as a scientific "fact".

              Malignant mesothelioma is, in general, a dose response disease where all significant
      exposure to asbestos-containing dust has been shown to contribute to cause diffuse
      malignant mesothelioma including pleural mesothelioma (See also Newman, et al.,
      Malignant Mesothelioma Register 1987-1999. 74 Int'! Arch Env. Health 383 (2001),
      (concluding that "higher cumulative asbestos-fiber dose leads to the earlier development
      of mesothelioma)). As each exposure to asbestos contributes to the total amount ofasbestos
      that is inhaled, and, in doing so, reduces the necessary period for asbestos disease to
      develop. As a result, all non-trivial exposure to asbestos should be considered a
      contributing factor in the development of the malignant mesothelioma or lung cancer. More
      recently, the BAP-1 gene mutation has been found to confer increased susceptibility in
      individuals who have both the mutation and have asbestos exposure. There is no evidence
      that the genetic mutation of this tumor suppressor gene without asbestos exposure causes
      mesothelioma.

      Exposure to Asbestos contaminated talc and disease: Asbestos fibers have been reported
      in cosmetic talcum powder for decades, in company documents, the media, FDA
      communications, and the published medical and scientific literature. In 193 5 asbestos was
      identified as a source of exposure in talc miners and millers by Dreesen. By 1968 Cralley
      had described asbestos in consumer cosmetic talc products. By 1972, the cosmetic industry
      was looking for asbestos free alternatives to cosmetic talc. Cosmetic talc has been analyzed
      by researchers in various countries, and has routinely been shown to be contaminated with
      asbestos. In 1957, researchers at Battelle Memorial reported finding tremolite in Italian talc
      used by Johnson & Johnson. In 1968, Johns-Manville documented fibrous tremolite
      asbestos in consumer cosmetic talcum powder products. In 1972, Snider, et al., reported

      1 The remaining 20% of mesothelioma patients likely had asbestos exposures that were para-occupational or

      are simply unidentified.



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      finding asbestos in several consumer cosmetic talcum powder products, including
      Johnson's Baby Powder. That same year, Lewin of New York University reported finding
      asbestos in nu1nerous ta!cun1 po\vder products including Johnson's Baby Powder
      purchased off the shelf. The University of Minnesota also found asbestos in Lewin's
      sample of Johnson's Baby Powder. In 1973, Lewin reported asbestos in Clubman talc. That
      same year, talc industry Round Robin testing reported asbestos in Italian, Montana,
      Alabama, and North Carolina talc sources. In 1974 Rohl, and in 1976, Rohl and Langer
      tested 20 consumer products that had been iabcied as talc or talcum powder, including hody
      powders. Of the 20 products that were tested, ten were found to contain tremolitc and
      anthophyllite, principally asbestiform. Of note, the product that had the highest asbestos
      content in the Rohl and Langer study was the same product later tested by Gordon, et.al.
      Pooley, while consulting for Johnson & Johnson, also found anthophyllite in the Cashmere
      Bouquet Rohl and Langer studied. In 1979, Berg reported the presence of asbestos in the
      Montana talc mine deposits, the source of talc used to manufacture Clubman and included
      in Mennen talc. In I 99 I, Blount reported amphibole asbestos in talc from Vermont used to
      manufacture Johnson's Baby Powder. Mattenklott et. al. in 2007 found that low or trace
      levels of asbestos by weight in talcum powder (0. i percent) reieased miliions of asbestos
      fibers upon use. In 2015, llgren, et al. attributed the increased rate of mesothelioma in the
      chrysotile miners in Italy to the tremolite asbestos in the talc in the adjacent mining region.
      Recently, Saldivar under contract for FDA reported chrysotile asbestos in Johnson's Baby
      Powder.

             Exposure to asbestos-containing talc has been shown to cause asbestos related
     diseases, including mesothelioma. A paper by Gordon, et.al., Asbestos in Commercial
     Cosmetic Talcum Powder as a Cause of Mesothelioma in Women, evaluated the
     mineralogical constituents of Cashmere Bouquet and its ability to release asbestos fibers
     into the breathing zone of the direct user and bystanders. In their paper Gordon et.al. noted
     that the talc that was used in Cashmere Bouquet was derived from three distinct regions,
     where anthophyllite and tremolite asbestos were found, regions from which the talc used
     in Johnson's Baby Powder was also sourced. Gordon et.al. measured 18 million
     anthophyllite asbestos fibers per gram in the talcum powder. Air measurements were done
     by both phase contrast microscopy (PCM) and transmission electron microscopy (TEM),
     and significant levels of asbestos fibers were noted (anthophyllite, tremolite and some
     chrysotile) in the breathing zone of the individual applying the powder as well as a
     bystander. Results taken from the experiment in the paper show that personal
     measurements from the shaker container test showed a measurement by PCM of 4.8 flee,
     with an actual asbestos fiber measurement of 1.8 flee. Bystander measurements showed a
     lower, but still significant exposure of 1.35 Ucc by PCM for the bystander, and 0.5 Ucc of
     actual asbestos fibers. Similar measurements were done with the puff application method.
     Personal measurements after using a puff were 23 .6 flee and 16.5 flee for the user, with
     actual asbestos fiber measurements of 5 flee and 3.5 flee. A short term sample showed even
     higher measurements, of 60 flee with the use of a puff and actual asbestos fiber
     measurements of 13 flee. Bystander exposures to asbestos from the puff application were
     elevated. with a short term sample by PCM of 13.7 flee and 9.7 flee, and an actual asbestos
     fiber measurement of 4.9 fi'cc and 3.5 flee. Gordon et.al. also noted that the TEM
     measurements were far more sensitive than x-ray diffraction detection, since there was a



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      much lower detection limit with TEM. In addition, the Mine Safety and Health
      Administration (MSHA) monitored personnel in the mill where Italian talc was ground
      (this talc was used in consumer products) in 1984. The filters form the personal
      measurements from these workers contained 5.8% anthophyllite. The MSHA scientist
      determined that this equated to anthophyllite comprising 0.6% of the bulk Italian talc. Dr.
      Steven Compton found asbestos (anthophyllite, tremolite, actinolite, and chrysotile) in 11
      samples collected from the Italian mining region from which the talc originated that was
      then used in consumer products, including Cashmere Bouquet and Johnson's Baby Powder
      and others. Dr. Compton further found asbestos in 6 of 7 Argonaut Vermont talc mine
      samples and 4 additional samples collected on the mining property, as well as in samples
      of Montana talc provided to him by the manufacturer ofC!ubman.

              Both historic and recent analyses (published in the medical and scientific literature
      as well as industry, government and private laboratory testing) of the talc from the source
      mines used in Johnson's Baby Powder and Clubman finished powder products, have shown
      significant amounts of chrysotile, anthophyllite and tremolite asbestos. Studies done
      recently from products using ore taken from the same source mines as those used in the
      manufacture of the Johnson's Baby Powder and Clubman, showed significant amounts of
      chrysotile, anthophyllite, and tremolite asbestos. The asbestos found in the ores is also
      found in the finished consumer products. Dr. William Longo from MAS found tremolite
      and anthophyllite, as well as chrysotile, in his analysis of historic and current Johnson's
      Baby Powder and Shower to Shower powder products, the same fiber types found in the
      historic testing records of Italian and Vermont talc ores and in historic testing records of
      Johnson's Baby Powder. Dr. Longo analyzed and reported on approximately 146 Johnson's
      Baby Powder and Shower to Shower products that were manufactured from the 1940s
      through the 2000s and provided to his laboratory from mesothelioma plaintiffs, off-the-
      shelf purchases, from collectors, and from Johnson & Johnson's own historic collection
      (72 obtained directly from Johnson & Johnson). Dr. Longo report regulated asbestos in 116
      of the 146 (79%) containers of Johnson & Johnson talcum powder products. For Johnson
      & Johnson talcum powder products manufactured in the United States, Dr. Longo reported
      regulated asbestos in 88 of 112 containers (79%). For containers manufactured in the
      United States after 2003, Dr. Longo report asbestos in 37 of 40 (93%) of containers.
      Subsequent analyses have shown chrysotile present in Johnson's Baby Powder sourced
      from Chinese talc as well. MAS and MVA (Dr. Compton's laboratory) have analyzed and
      identified asbestos in hundreds of containers of talcum powder products and ore samples
      from varying vintages and sources.

              Dr. Longo's laboratory has performed additional analysis to determine whether
      exposure from use of talcum powder below the waist (using Italian talc-sourced Johnson's
      Baby Powder), led to respirable levels of asbestos. Samples taken in the breathing zone of
      an individual during use of Johnson's Baby Powder below the waist, resulted in a mean
      tremolite fiber exposure of2.57 fibers/cc. Area samples taken resulted in a mean tremolite
      fiber exposure of 0.2 fibers/cc. Dr. Longo's results were published in 2020 (Steffen, 2020).
      The cosmetic talc testing done by Dr. Longo and Dr. Compton, combined with published
      air measurements in the medical literature (Gordon 2014, Anderson 2016, Steffen 2020)
      all show measurements of asbestos that are orders of magnitude above the ATSDR



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      background level of 0.00005 flee. At the levels measured by these authors, the literature
      shows a substantially increased risk for disease at the cumulative levels of exposure
      ([watsubo, Rode!sberger, LaCourt).

              Exposure data from talcum powder usage as compared lo background is identified
      on the graph below:

      Asbestos Exposure From Cosmetic Talc

                                                     51,400 X
                                                                                           3
                                                    Background

                     38,000X
                    Background                                                             2.2G

                                                                         22,200X
                                                                        Background         1.5


                                     BOX
                                  Background                                               0.75


                                      • 111l!■
        ATSDR
                    Gordon 2044
      Background      1 9 flee  Anderson 2016                            MAS Baby
                                                    Steffen 2020
      .00005 f/cc                  .004 f/cc                           Diapering 2020
                                                      2.57 flee
                                                                          1.11f/ce

             In addition to looking at bulk and air samples, Gordon et.al analyzed the lung tissue
     and lymph node tissue of a woman who had been exposed to contaminated talcum powder
     (Cashmere Bouquet). The authors found that there were 3150 and 4150 fibers per gram wet
     weight, respectively, with a detection limit of 690 fibers per gram wet weight. All fibers
     were 5 micrometers or greater in length, and had an aspect ratio of 20: 1 or greater. The
     fibers were identified as anthophyllite or tremolite. In addition to the fibers counted above,
     there were many anthophyllite and tremolite fibers that were less than 5 micrometers in
     length, with a predominance of anthophyllite. In the lymph node, amphibole asbestos fibers
     were also noted, measuring 12,738 fibers per gram wet weight (detection limit 2123 fibers
     per gram wet weight). Again, the fibers noted were anthophyllite and tremolite. In addition
     to the asbestos found in the lungs, the authors noted fibrous and platy talc and small
     asbestos bodies.

            The issue of asbestos and talc has been studied for decades. Millman in l 94 7 noted
     pneumoconiosis in a man exposed to cosmetic talc. Lung scarring was seen in miners from
     New York State in the 1950s, and there are elevated rates of mesothelioma and lung cancer
     in miners at the asbestos contaminated talc mines. Moskowitz 1970 reported a talc
     pneumoconiosis in a woman exposed to cosmetic talc while working as a quality control
     inspector on the production floor at Revlon for 11 years. The International Agency for
     Research on Cancer has noted that talc contaminated with asbestos is carcinogenic. Case


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      reports published out ofltaly have involved patients with mesothelioma and exposure only
      to cosmetic talcum powder (Andrione, 1994, Musti, 2009). In the fall of 2019, the FDA
      found asbestos contamination in Johnson's Baby Powder, leading to a recall of thousands
      of bottles of cosmetic talc. In 2018, OSHA found tremolite asbestos contamination in
      make-up products that contained cosmetic talc. I have recently published a paper, along
      with co-authors, that describes 33 cases of mesothelioma among individuals whose only
      known exposure to asbestos was through their use of cosmetic talc (Moline et al, 2019).
      Emory et al. (2020) has published a paper on an additional 75 individuals with
      mesothelioma whose source of asbestos exposure was cosmetic talc. Together, these papers
      show over 110 patients with mesothelioma and cosmetic talc use.

      Applying an Accepted Method for Evaluating Disease Causation in an Individual:
      In deciding whether Mr. Grefs mesothelioma was caused by his exposure to asbestos, I
      applied the methodology that was described by Welch, et.al. in her paper Asbestos
      Exposure Causes Mesothelioma, but Not This Asbestos Exposure: An Amicus Brief to the
      Michigan Supreme Court, published in 2007 in the International Journal of Occupational
      and Environmental Health. This method mirrors the Hill criteria, but is specific for asbestos
      (see also Lemen). Similar methodology for assessing causation for individuals exposed to
      asbestos who developed asbestos-related diseases was also outlined by Freeman. In this
      paper, Dr. Welch identifies four questions that should be examined in the causation of
      disease in an individual:

                   1. Was the individual exposed to a toxic agent?
                   2. Does the agent cause the disease present in the individual?
                   3. Was the individual exposed to this substance at a level where the disease
                      has occurred in other settings?
                   4. Have other competing explanations for the disease been excluded?

      For question #2, there is ample literature that asbestos causes mesothelioma and no dispute
      in the medical literature. With respect to question #I, Mr. Gref was exposed to asbestos
      from talcum powder for approximately 36 years, from birth continuing until around 2018,
      fulfilling this criterion. Clubman talcum powder, Mennen, Johnson's Baby Powder, Old
      Spice, and other talcum powders using talc from the same ore sources have been shown to
      contain asbestos, and Mr. Gref would have had asbestos exposure based on his family's
      descriptions of their use on him as well as his own descriptions of his powder use. For
      criteria #4, Mr. Gref had no known alternate exposures to asbestos. The remaining
      criterion, #3 is whether there is an analogous exposure scenario in which others also
      developed mesothelioma. As described above, and recently referenced by the Center for
      Disease Control, as well as published in the peer-reviewed literature, there are numerous
      other individuals with exposure to asbestos-containing talc products who have developed
      malignant mesothelioma. 2

      2 Andrion, Alberto, et al. Malignant Peritoneal Mesothelioma in a 17-Year-Old Boy with Evidence of
      Previous Exposure to Chtysotile and Ttemolite Asbestos, Human Pathology, Volume 25, No. 6 (June 1994);
      Bulbulyan, M.A., et al., Cancer Mortality Among Women in the Russian Printing Industry, AM J Ind Med,
      36:166-171(1999); Finkelstein, M., Malignant Mesothelioma Incidence Among Talc Miners and Millers in
      New York State, Am J lndust Med 55, 863-868 (2012); Ghio, A, Roggli, V, Talc Should Not Be Used for
      Pleurodesis in Patients with Nonmalignant Pleural Effusions, Am J Respir Crit Care Med, Vol 164, No. 9,


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     Summary and Specific Causation in Mr. Grers Case

             Based on the information that was provided to me and the diagnosis of
     mesothelioma as outlined by his treating physicians, and applying both my understanding
     of the medical and scientific literature and the facts of this case, it is my opinion to a
     reasonable degree of medical certainty that the exposures to the dust from asbestos-
     contaminated cosmetic taic products that Mr. Gref used or were used on hnn, beginning
     approximately 36 years prior to his diagnosis, were above normal background levels. Both
     historic and recent analyses (published in the medical and scientific literature as well as
     industry, government and private laboratory testing) of the talc from the source mines used
     in Johnson's and Johnsons' Baby Powder, Old Spice, Mennen, Clubman talc have shown
     significant amounts of asbestos, including chrysotile, anthophyllite and tremolite asbestos.

              Studies done recently on both Clubman talc products and on products using ore
     taken from the same source mines as those used in the manufacture of Clubman Talc
     showed significant amounts of chrysotiic, anthophyiiite, and tremoiite asbestos. Dr.
     Compton found asbestos (primarily anthophyllite) in 6 different containers ofClubman talc
     manufactured with Montana talc. Recent testing of two Clubman samples showed
     tremolite/actinolite asbestos, ranging from 11.8 million fibers per gram in one container to
     2.3 million fibers/gram in the other (although the latter measure is likely an underestimate
     clue to a higher concentration of fibers initially noted on direct examination). Dr. Compton
     also identified asbestos in a Clubman container from a vintage prior to the use of Montana
     talc. Dr. Compton analyzed and identified asbestos in samples of Montana talc produced
     by the manufacturer of Clubman.

             Studies by Dr. Longo have also identified asbestos in an Avon Night Magic
     container manufactured with Montana talc. While Mr. Grefdid not use Avon products, the
     talc used came from the same region. Similarly, both Drs. Longo and Compton have
     identified asbestos in Cashmere Bouquet manufactured with Italian and Montana talc.
     These findings are consistent with both current and historic product testing of talcum
     powder products containing the same talcs (Cashmere Bouquet - 5/5 Montana talc from
     Beaverhead; Avon Night Magic - Montana; Clubman 6/6 Montana talc from Barretts
     Minerals and Whittaker Clark & Daniels). Testing of Old Spice powders by Dr. Longo has
     shown asbestos in virtually every container evaluated as well. Similarly, Dr. Mark Kreleker
     has done a comprehensive review of testing of the ore and talcum samples over decades,

     pp 1741 (2001); Fujiwara, Hiroshi, et al. An Autopsy Case of Pri111,11y Pericardia/ Mesolhelioma in Arc:
     Cutter Exposed to Asbestos through Talc Pencils, 43 Industrial Health 346-350 (2005); Ilgren E, et al.,
     Crilical reappraisal of Balangero ch1ysotile and mesothelioma risk, Epidemiology Biostatistics and Public
     Health, Vol. 12, No. 1 (2015); Lamm, S.H., et al., Similarities in Lung Cancer and Respiratory Disease
     lvfortality of Vermont and New York State Talc Workers, Epidemiology-fibers, 1576-1581, (1988); Mirabelli
     D, Letter on: "Cosmetic talc as a riskfactorfor pleural mesothelioma: a weight of evidence evaluation ofthe
     epidemiology", Inhalation Toxicology, 29:8, 34 I (2017); Musti, et al.. Exposure to ilshestos and
     Mesothclioma Risk of Onset of Primary Ovarian, Description of Two Cases, (2009); Moline:, Jacqueline, et
     al., Mesolhefioma Associated with the [fie of C'osmetic Talc, Journal of Occupational and Environmental
     Medicine, (2020); Emory, Theresa, et al., Malignant mesotheliomafollowing repeated exposures to cosmelic
     talc: A case series of 75 patienls, Am J Ind Med, (2020).



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      documenting testing results showing that asbestos was repeatedly found, including in the
      Italian, Montana, Chinese and North Carolina sources.

              Fiber release studies done recently by MV A Scientific Consultants and others from
      products using ore taken from the same source mines as those used in the manufacture of
      Johnson's Baby Powder and Mennen (which used the same talc as that used in Cashmere
      Bouquet) showed significant amounts of chrysotile, anthophyllite, and tremolite asbestos.
      MSHA found anthophyllite in the mills that processed the Italian talc. Similarly, Dr.
      Compton found anthophyllite in 11 of the 13 samples of talc ore from the Italian mines,
      from which the talc originated that, was then used in consumer products. As outlined above,
      MAS performed an additional analysis to dete1mine whether exposure of talcum powder
      below the waist led to respirable levels of asbestos (using Johnson and Johnson Baby
      Powder). Their report stated that there was a mean tremolite fiber exposure of2.57 fibers/cc
      during this activity. Dr. Longo has done extensive testing on Chinese talc, which was used
      in both Johnson's Baby Powder, and has found chrysotile asbestos in every sample he has
      evaluated. Dr. Longo has evaluated 91 containers of Cashmere Bouquet, and found
      asbestos in 79 of91 containers.

              Alternative powders not containing talc were available since the early 20 th century.
      The opinions related to Mr. Gref s case are based on my review of the evidence of exposure
      in this case, the medical and scientific literature as described above regarding asbestos
      exposure and disease, available studies concerning fiber release, epidemiological studies
      of exposure to asbestos exposure and the development of disease, and my knowledge, skill,
      experience, and training as a physician specializing in occupational medicine with a clinical
      focus on evaluating individuals with asbestos exposure.

             In conclusion, Mr. Grefs exposure to asbestos-contaminated talcum powder led to
      his diagnosis of peritoneal mesothelioma. He has undergone chemotherapy and
      cytoreductive surgery. There is no cure for mesothelioma, and his prognosis is poor.


      Sincerely,




      Jacqueline Moline, MD, MSc, FACP, FACOEM




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. l)ate Prepared:      05/03/2021

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Education
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 1988                   MD                       Medicine                                  University of Chicago-Pritzker
                                                                                           School of Medicine
 1993                   MSc                      Community Medicine                        }.1011nt Sinai.School of


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                                                                                          Hav¢ii.Hospita,I
 07/1991-06/1993        Resident                 Occupational and Environmental           Mount Sinai School of
                                                 Medicine                                 Medicine/ Mount Sinai Medical
                                                                                          Center




        "Academic Appointments
         3 - 12/1995'' •Instructor'              . '¢2mfilunity M                          Mounf
                                                 ?Medicine                                 Medici
 01 /1996    12/2004    Assistant Professor         Community and Preventive Medicine, Mount Sinai School of
                                                    and Internal Medicine                  Medicine
                        .Associate Professor       c::9~unityan~rrey~ritiveM¢ •            MouritSin • .... ~,'""' v ,
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                        Associate Professor        Population Health and Internal          Hofstra Northwell
                                                   Medicine                                School of Medicine
                        Clinical Associate         Preventive.Medicine                   )v.1~1111tSinai School of
                        Professor{Adjunct)                                                 Medicine
 11/2014 - 04/2015      Associate Professor        Occupational Medicine,                  Hofstra Northwell
                                                   Epidemiology & Prevention, and          School of Medicine
                                                   Internal Medicine
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                                                   Internal MediciI1¢                      H()fstta/No.rthwell

Appointments at Hospitals/Affiliated Institutions
 Ot/198~liif:◊#y2010 11:tii$.1iji:1.int AttencHngr;f• lnternii'M¢d(¢ine                          Sin::ii.Medical!Center
 04/2002 - 06/2004    Medical Core Director World Trade Center Worker &                    Mount Sinai School of
                                                      Volunteer Prngra111                  Medicine
 Ol/2092 ':- 04/2010  Vice.Chair                      Comm@Jty.@cl f'reventJYY.Medicine   cM@i:itSiriai Mc:diq1J . Center

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 07/2004 - 06/2006         Clinical Services                World Trade Center Medical                              Mount Sinai School of
                           Director and Co-                 Monitoring Program                                      Medicine
                           Principal Investigator
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                    • ·'<;;/c>•• •·•• 0 ···:, •••• ·' • •.,·Momtormg & Treatment Program                    Medicine
 05/2010 - 11/2014 Chair                                    Population Health                               Hofstra Northwell School
                                                                                                            of Medicine, North Shore
                                                                                                            University Hospital, and Long
                                                                                                            Island Jewish Medical Center
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 05/20 l O- Present                     Member                       North Shore University Hospital        North Shore University
                                                                     Medical Board
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 01/2012            Present             Clinical Investigator     Patient Oriented Research                         Feinstein Institute for Medical
                                                                                                                    .,,.,,,..,,.,.,., Northwell Health

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 11/2014 - Present                      Chair                        Occupational Medicine,                         Donald & Barbara School of
                                                                     Epidemiology & Prevention                      Medicine at Hofstra/Northwell,
                                                                                                                    North Shore University
                                                                                                                    Hospital, and Long Island
                                                                                                                    Jewish Medical Center
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                                                                                   Facult Practice Associates Assembly, MSSM


 1998 - 2010                            Coordinator                                Occupational Medicine Training for Primary Care
                                                                                   Residents, North General Hospital
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 2000 - 2004                            Physician Panel                            Department of Energy (appointed by the National Institute


 2010-2012                              Member                                     Safety & Occupational Health Study Section, NIOSH,
                                                                                   CDC,DHHS
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 2013 - 2017                            Ad hoc Reviewer/ Chair                     Occupational Health & Training Study Sections, NIOSH,
                                                                                        DHHS

 2015 - Present                         Chair                                      Health & Wellness Committee, Fireman's Association of
                                                                                   the State of New York FASNY


 201 7 - Present                        Advisory Council Member                    New York State Workers' Compensation Board




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 Major Administrative Leadership Positions
 Local
 l 993 - 1994        Coordinator                                                   Mount Sinai School of Medicine
                     Occupational MeclicirreResidency                              Divi$fofrofEnvirorrmental and Occupational
                                                                                   M_edicine                         -•
   1993      1997                 Co-Director                                      Mount Sinai School ofMcdicinc
                                  Environmental Health Research Training           Funded by National Institute of
                                  Summer Program                                   Environmental Health Sciences
                                  Medical Students
                                  Co-Director                                      MoU11t Sinai School ofMedicine
                                  Occupatiotjal                                    DitisiofrofEnvironmerttal and Occupati~nal
                                                                                   Medicine
   1997 -2010                     Director                                         Mount Sinai School of Medicine
                                  Environmental Health Research Training
                                  Summer Program
                                  Medical Students
 19.98 -.2006                     Director·•                                       M6tihtSfoai Scho6lofMedicine
                                                                                   Diyision of Environmental and Occupational
                                                                                   Medicine
 2005 -20i0                       Track Director                                   Mount Sinai School ofMcdicine
                                                                                   Master of Public Health Program
                                                                                   Occupational and Environmental Medicine
 Regional
  2005~2010                        Director                                        NY/NJ Education and Research Center
  2002-·20l0,&                     Member                                          World Trade Center Health Program Steering
  20 I 1 - Present                                                                 Committee

 Committee Service
 Local
  1996-2010       Residency Advi~◊r)'Committee.                . . l,\l§wYork.Hospital-Cornell Medical Center Preventive
                                                              ··•····•.Jvi.idti:;itiqResiaenqy
  2001       2002              Member                               Chancellor's Committee on Environmental Safety
                                                                   N~~.:X.?.[~ City Deg~~w~nt ofEd~c~ti?n.;'                 > >
                                                                   Q¢~u}fal,t6nal Medicine Re:;;idency Directors Associatiotf •
  2004 - 2010                  Chair                               Teaching Committee
                                                                   Depmiment of Community and Preventive Medicine
                                                                    Mount Sinai School of Medicine
 >~(}()5 - ~v;,;.y ;;;; ·.;.                                       BitWafeffi;Comrnitfe~;fMount Sinai{Sclio61· of Mediptnei
  2006       2010              Clinical Advisor                    The Ne.v .:' ork CittJ?~p~rtmento{ 1-Ieait~and. Me.nt~l H:?'.giene
                                                                             m19:,~Ayi,$(Jf)' Committee ,-Masters of Pub Uc H:ealth,
                                                                       o'untSin:aiSchool ofMedicine
  2006-2010                    Member                              Admissions Committee - Masters of Public Health, Mount
                                                                   Sinai School of Medicine
                               Chair                                               ··o,11otiodJ,. ~~mlJ1itt.ee
                                                                                     ai SchoblbBMedicine
  2008-2010                    Member                              Executive Admissions Committee
                                                                   Mount Sinai School of Medicine
                                                                                            n; s ·care<;r~ ~9visoryCommittee

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  2010 - Present               Member                              Mount Sinai Occupational Medicine Residency Advisory
                                                                   Committee
  2011       Present           Member                              A:<;lrnissipns Committee
                                                                   Hofsfra.NorthweUSchool of Medicine
  2011 - Present               Member                              Master of Public Health (MPH) Advisory Committee
                                                                   Hofstra University
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  2012 - Present   Member                           ECRIP Review Committee
                                                    Northwell Health
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  2013 - Present   Member                             Diversity, Inclusion & Health Literacy Physician Council




  2014             Member                           Clinical Research Executive Committee
                                                    Feinstein Institute for Medical Research
                                                    Northwell Health



  2014 - Present   Member                           Wellness Advisory Committee
                                                    Northwell Health


  2016 - Present   Member                           Workers' Compensation Steering Committee
                                                    Northwell Health


  2017 - Present   Medical Advisor
                                               •••;;•;·tt:t~l~t~~~~~ittii1•
                                                    Food and Nutrition Transformation


                                                                                     ,.
  2020 - Present   Member                           Clinical Advisory Council
                                                    Northwell Health




  2002 - 2008      Member                           Workers' Compensation and Occupational Health, Injury
                                                    Prevention and Control, and Physical Medicine and
                                                    Rehabilitation (WCOH, IP&C, and PM&R) Committee, The
                                                    Medical Socie of New York
                                                           . (ii'~;g
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  2020 - Present   Executive Board Member          Mid-Atlantic Regional Committee in Occupational &
                                                   Environmental Medicine (MARCOEM)

 National and International


  2007 -2008       Planning Committee Member        AOHC Annual Conference 2008 Planning Committee, New



  2014-2017        Committee Member               National Quality Forum (NQF)
                                                  Health and Well-Being Steering Committee
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   2021 -, Present      Committee Member                     Central Department of Energy Institutional Review Board
                                                             (CDOEIRB)

 Professional Soci • •
   1988 Present                                             Alpha Omega AlphaHonor Society •
   1991 Present       Fello,v                               American College of Physicians
   l 991 ~ Present    Member                                American Public Health Association
   l 992 - Present    Fellow                                American College of Occupational and Environmental
                                                            Medicine
                                                             ....,   '''''     .
                                                            Medica}Socieiy of theSiate ofNewYork
                                                            Environmental Conimittec         •
  1994 - Present      Member                                New York Academy of Medicine
  1995 - Present      Member                                American Medical Women's Association
  2012 - 2016         Executive Board Member                New York Occupational & Environmental Medical Association
                                                            (NYOEMA)
  2016                                                      NiW:)'9rk Occupati9nal & Envir6µryi~ntal M(~CllCl!1!¢ ,>'.
                                                            Association (NYOEMA)            • •• ,·
  20 I 7 - 2018       Secretary                             New York Occupational & Environmental Medicine
                                                            Association (NYOEMA)
                                                            Nqw,Xprk Occupati9naL& Environw,entai ""~~•vt'.'.Y•, F'.
                                                            A'$$9ciation (NYOEMA}                   ••• •
  2019 - 2020         President                             New York Occupational & Environmental Medicine
                                                            Association (NYOEMA)
  2020 -Prese11t      Executive BoardMerriber               New York Occupational & Environmental Medicine
                                                            Association (NYOEMA)
 Editorial Activities
   1993 · PresenH7 Revicw@)fijT!                             Ameri~~,dJ1/µrnal of lndustd&I
   1993 Present Reviewer                                     Environmental Research
   1994 -' Present Reviewer                                  Journal of Occupational & Environmental Medicine·.
   l 999 - Present Contributing Editor                       American Journal of Industrial Medicine
  '.W 12 · - Pre§e.Dt'. ' Revieweti;iL'Tff                   Joum~Lofthe AmericariMedJcal •Ass6ciati6li(JAMA Yi,UJ.;.fl;
  2012 - Present Editor                                      Confore~c~gapers in ¥~djsine
  2013 • -2Q1;®Hilf       Editori4l!i3:~l:1tl1               AdvancfSin·Epidemiology ••
  2013 - 2016             Editorial Board                    Advances in Medicine
  2014 _: Present                                          ..A:ttliritis & Rheumatology
  2017 - 2018             Deputy §1HsrJn-Chief               Archi :'?,s ,of~nvironmsntal .& . Occupatign~IH ealth
  2019. • Pre~e'rtf :?Editor,Ii£}J:l)fl{if;    ·•>·''"'''< Arch iy~'ofJSn vi ron n1eptc1! lg,; 0cc upatipnil'.l[feal th


 Other Editorial Roles
  1999i                                                1','JoJfoe J. "Insights on asthma.at work". The 1.,w,KeT;,,::i•..J'+a
                                                        6ctob¢r:2,J999.                           • ,.,,.,.,, ....

 Honm·s and Prizes
  1984                Getietal EJ.pµcits in}he •   Division ofSociat Sciences,
                      Collegea.rid;:£-'(cinors     l1i1iversity ofChicago
  1988                American Medical             American Medical Women's                      Excellence in Academics
                      Women's Association          Association
                      Award
  1988                                             A,lphaOmegaAlpha Honor Society,
                                                   Uriiversify 6fChi¢ago



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  1999                        New Jersey-New York                              New Jersey-New York Laborers'                                                 Potential Leadership in
                              Laborers' Research                               Research Foundation                                                           Occupational Medicine
                              Foundation Award
 2004                         Mmmt SinaiFaculty                                                                                                       •• •Research and Clinical
                              Council Junior Faculty                                                                                                 •.·.· .Excellence
                              Award
 2004                         Nomination, IME                                  Mount Sinai School of Medicine                                                Teaching Achievement
                              Teaching A ward
                              Fellow                                           The New Y()rk';A'tjid¢ilif'()tM¢clid½i . Fellow ••
                              Fellow                                           Ame.ric...11.. n. . . !=o.... l,\e,. .$. . .~. . ?. .f. . r~.xs,k:i.,11n.s,····. ·. ,......·. ·.•. Fellow
                              Fellow                                           i\(rwrjc~11 G<>U~~~{Q.f •                                                . o,at; <; fellov/ ·
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 2010                          Kehoe Award of Merit                            American College of Occupational                                                                   Outstanding Contributions in
                                                                               and Environmental Medicine                                                                         Occupational Medicine
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 2010                          Humanitarian A ward                             New York City Detective                                                                            Humanitarian Award
                                                                               Investigators' Association
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                       <<; Cotn:munity Service?r \ • • i:i ?itNft F:• •>:;,
 2014                                   VIP Woman of the Year                                               National Association of Professional             2014-2015 Woman of the Year



 2020                          Lifetime Achievement                            Asbestos Disease Awareness                                                    Lifetime Achievement A ward
                               Award                                           Association (ADAO)


Local Invited Presentations
• 0:3½f999 ·' • Il\;I?!~Rrttc)t~~}(l,S>~r~Wo.:,~e~~t                    !st~i~1
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  ,;\c:;:;;;; .. ,. ., .... ~meJ..auJ~Y1'! ... J.JX1!.;IJ1,!!gJJ$ m.o.:fa.
  03/30/1999                "Sick Building Syndrome"
                            tvlount ~inai, I)epartrri~nt of AHe!9Y iu1d..Immunolo
·,it~~~'.:~~!;:\,:,;;ii:atfwttt~fi\i.;I;i\';\ ;1~iii.1~;;:f
 04/28/2000               Conference on Occupational Medicine for the Primary Care Physicians
                          ~t~!~ri Is!and Uriiyer.si~y l::!ospital, New York, NY
          llrH,:,c:,,,;,,·,        {~!l,iJ11¢A Jffar
 I 0/18/200 I             "Occupational Health Risks Related to the World Trade Center Disaster"
                          New York University, World Trade Center Forum, New York, NY
                                    '.Stu~i'i'esltn:,:r:1'3'"                                                  •                                 '"·"""ii"'i,•iYcc.:;•

                                        rtimf~~r:%i
 0 l/10/2002              "Occupational Medicine for the Primary Care Physicians"
                          Staten Island Universi Hospital, Grand Rounds, New York, NY

1\l~tf~~r~,1~.1~~i~i~t~~~iTi~~~~~a                                                   •                                       ''"'"'"' ···"'·
 11/14/2002               "Occupational Medicine for the Primary Care Physicians"
                          Sta!~?. Islard Uni,vers,itx liospital, Gra.nd Rounds, New York, NY
(~iiit~1~i1t:·i1\Ii~l~i1~ilf!ttC~\tftfftijlt~.. ~~~;·;·;                                                                                                 h
                                                                                                                                             '{::;:\:jfij;    f·?) '"if
 09/11/2003               "WTC Aftermath- Health Effects Related to Exposure"
                          Elmhurst Hospital Grand Rounds, Elmhurst, NY

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  03/24/2004            ''Emerging Threats in Health and Medicine Conference, New York: World T1:ade Center Disease"
                        NewYork,NY
  09/12/2004            "Medical Examination of WTC Responders at Mount Sinai"
                        NYU Mc:clicaLCenter, The September 11 ' 11 World.Trade Center DustHealth Effects Conference, New
                        York, NY
• 09/13/2005           '.'Health Effecfs•frofo the World Trade Center Disaster"
                        MountSinai School of Medicine Grand Rounds, Departmcntof Medicine, New
  09/27/2005            "Lessons Learned from the WTC Worker and Volunteer Medical Screening Program"
                        University of Medicine and Dentistry of New Jersey (UMDN.I), Protecting the Protectors Conference.

 11!15/2006         i 't'Jj'n,# World Tt~de.<:::enter Disaster: A 5 Year A;sses~ment"                                           .. < . . /        .. • .y •
                    •• North General'Hospital Grand Rounds, Depa1tmcritof Medicine, New York, .NY
   09/12/2007           ''The Warid Trade Center Medical Monitoring & Treatment Program"
                        Saint Vincent's Hospital, Emergency Department Architecture and Disaster Preparedness Symposium,
                        New York, NY
               . ·HH'~"" Worldlfr~~lf¢.enter Medical Monitoring &Tfeatment Pt!Yf;faj!1:l1"
                                                   @~Wstl:una Society, New York/NY ••
   10/31/2007           "Health Policy Implications of Studying the World Trade Center Disaster"
                        NevyX?rkWeill Cornell Medical Center, David Rogers HealthPolicy C()ll()quium, New York, NY
                r :'f¥B World TI:l1:¥f (;enter CojI4pse: ·.Impact. of '1Il .T,JnprecedenJR9,M~pmade n.
               •:;;;:~,1q.µnt Sinai :sc:{i.09[ofMedidne,Allcrgy and··Imn:ill11ology CJi,~@,R9tmds,                                                          ·,• NY
   02/26/2009           'The World Trade Center Collapse: Impact ofan Unprecedented Manmade Disaster on Health"
                        Office of the NYC Chief Medical Examiner, Grand Rounds, New                                                            NY
   05/30/20(19          "ContrO}'<)fS~es from th<) Fallout of 9/11"
                       New)YorkChapter American College of Physician's ;:,c1.em1nc Me:etilrrg;
   06/04/2009           Recent Findings from the World Trade Center Medical Monitoring and Treatment Program
                       Ivia,gnt Sinai .s.s~a,olof Medicine, Department of Medicine, New York. NY
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                       MourJtSinai SchoolofMedicine, New York,
  06/03/2010           "The World Trade Center Collapse: Impact of an Unprecedented Manmade Environmental Health
                        Disaster on Health"
                        WTC Symposiumon the Intrepid, New York, NY
             0                              11tj~f
                                      Dep ...                             Populati.§11I-Ie~Ith: How <::r11,¥{c Impact!                     Health
                                 Jic Healtl':iL ·Jfallenges andAchiever11ents C.orifei:i:;nce, Ho                                          y.ersity;
  01/02/2011           "Multiple Myeloma in World Trade Center Responders: A Case Series"
                        Wod~JradeCenter Health Conditions: A Scientific Update,                                                                NY
                                   .NotJust;f!.~~}~£.s'' •.                        : u . , .. ·                      . . r ,.,,
                                      ers MiJjlffty!e~tcal School, North well H~i.1ltJ:Jii$rcat 1',_lr•.~Y,v,.,t,',1:'ft'·•··;.,'
  02/17/201 l          "Health Foods and Tobacco Free Policy"
                       ExecutivepirectorsMeeting, North Shore-LIJ Health System, Great
                       "Well.\t~SS ruid. PopulationHealth''
                      Truste:e Meeting, North. Shore LIJ Health System,
                                                               0


  04/04/201 l          "Medical Mysteries: Occupational and Environmental Medicine for the Practitioner"
                       fr?!"fealth,.N.e.;Y.!"ff'de Park, NY
i;q4z@;612011 t]'[!/1Mij9ical Exri~fiiHt>'.st" . ........·.•···· . . . . .
                       The !\1il}fortWomen's HeartSmnmit,NewHyde
  07/19/2011           "WTC Health Program"
                       Trustee Meeting, North Shore-LU Health System, Great Neck, NY
                                    •               of Popul*fi?iHlfealth" •. ·•·                                  · •·
                                                  Jeat MecHfigLNorth Sho,re~LPCHeaith Sy;s.
  08/10/2011           "Wellness Prevention and Population Health"
                      Profession~] E~.alu~don Medical Grnup, Mineola, NY
                      "lntrocluction.toEnvironmentalHealth"
                      Ho'fst.rai*orthwell Sch,ookofMedicine, :ije;mpstead, N)" t;
  09/15/2011          "The Impact of the World Trade Center Disaster: Reflections on the 10 Year Anniversary"
                                                                                                            Page 7 of32




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                         Department of Medicine Grand Rounds, Long Island Jewish Medical Center, Queens, NY
  I0/27/2011             "Medical Mystefi~s: Occupai:icma.I and Enviromnental Medicinefor the Practitioner"
                         Department of Medicine OrandRourids;•J:Iuri,ti11gtonHospital, Huntington, NY
  03/13/2012             "Patient Access"
                         Chairs Affairs Subcommittee, North Shore-LIJ Health System, Great Neck, NY
  04/25/2012. "Welh1rssµpc1*~':\. 1. ..·,:;,·                            ,<;,.
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                      ·. N ursirig 1,eadersbip M~etjng;,F'.i'a't1.l<.Ii1rf1Qspital, V a'lley.Stream,~Y.
  10/11/2012             Joint Benefit and Pension Funds Annual Meeting, CEOs Against Cancer, New York Chapter
                         Executive Liaiso11Meeting, New York,NY
  2012                   "Updat~ pn Vl~Hn~¥~\II1iti.~ffy~s'\, ,}.;;t\ :. < • • , ·. ·..·             , • .. •..
                         Board Meeting, ,'Noftli.~Jic;ii:~i:LJJ'.:U¢~11!'.!o1Sy$tym;J'ity~.t Neel<; ,Ny·
  02/08/2013             "Medical Monitoring & Treatment of9/l I Responders"
                         North Shore yniversity:Hospital Tra11~ph:mt.Cen.ter?.¥anh,asset, 1'JY
  09/l 0/2014 ••         ~!)ltji~~s)qtS,¢Pi~mR&~~1~t]Iw~~Iihi~~jliis &\Qg111i;µ1111gi~ifJffo: nagedy''
                    • •13tAnriualDa5i -0f Rellieffi&ra11c~~nt:01-rnatiori Fpfoin;:New York, NY • •• •
  03/24/2015             "The Impact of the Older Worker on Businesses"
                         Cardinus LLC, British Consulate, New York, NY
' 091 i 112015 •• .•1 ~~:1!~tg!)f~t~lfa'· • , •, ,.                 f!~~t\flffs~h~i\i!~~dr,ri!:t~r(~C:' :·,:, .. II~,•;\
                                                                    ·~;;c •••••••• ,, ••• '

 09/28/2015           Occupational and Environmental Medicine Presentation
                      Chinese Delegation, New York Occupational & Environmental Medicine Association
                      (NYOEMA), New York, NY
.o112012016 •• }Pcsµr~tt?#cµj~i?9§Mf •• •                 l~~t~~'qg2,i§!Mt:FD: : ,.·\ CL
                      Gmu!:! ·F,-0µ111.j$;NQrth•.~   !1!¥!:li§i~1H~$Pi~lI\'M~M~~tiJ'IK,
 03/23/2016           "Air Pollution"
                      Estee Lauder Panel Discussion, New York, NY
ros19~f~?'I6:; . .  :fmi~ifi;:                             •
 05/06/2016            Cancer Roundtable
                       National Volunteer Fire Council, Alban
 o$/i/f~ql~ •       l;;a1~~:t~~" ,, •      ·, .,,, • •

 09/08/2016           The Future of 9/11 Health 15 Year Commemorative Conference
                      United Federation of Teachers (UFT), New York, NY
 09/lO(f  i:~~;\ jj:~~t!lliif      ~       •
                                          ~ii •.••• •• •• .••. '' •. '•

 05/19/2017           "Translating Medical Surveillance into Research"
                      Feinstein Institute for Medical Research, Northwell Health
                      Centricify Series, Health Outcomes Research: Research that Changes Healthcare Today, Manhasset,
                      NY
)~?lftgt~fi~:ir~})titg .
 10/27/2017          "Enhancing the Wellness of People with Disabilities"
                     Projec:tAccessible Oral Health, The Viscardi Center & New York
•to9/osY20X~l!•,'··'
 ,•,:

 11/14/2018          "How the Environment Impacts Your Health"
                     Katz Institute for Women's Healt
·o\;)Jtol2Q'l9,·•
                     ,~f!j~f"''
 09/16/2019          "WTC Health Programs & the Victim's Compensation Fund"
                        Borough of Manhattan Communi      Colle    New
•2t!'9fa:zt~q~~i.;;: ;.,.:tlili~~· ., , ,
                     'Ai
 03/12/202 l         "Maximizing Professional Fulfillment Through Connectivity and Self Knowledge"
                                                          PageS of32




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                  Department ot Cirdiology, North Shore University Hospital and Long Island Jewish Medical Center,
                  Nortlrwell Health. Virtual Grand Rounds

Report of Regional, National andlntenrntional Invited Teaching Courses and Presentations
Regional
 06/1999              "Lead Mobilization"
                      American Industrial Hygiene Association (New York Chapter), Annual Meeting, Mineola, NY
 2000                 Lead Mobilization/ Lead Exposure
                      Visitinl!: Scholar
                      Johns Hopkins School of'Medicine, Baltimore, MD
                      Division of Environmental and Occupational Medicine, December 4, 2000
 04/01/2002           "Endocrine Disruption"                           .              .·• .... ·. ·.· . .
                      Hudson River PCBs and the Health of River Commmiities $yrriposium, Albany, NY
 12/10/2002           "World Trade Center Health Effects"
                      NevV Jersey OMA Annual Me~ting, East Bruns\\-'kk, NJ
                     .tQccupationalJ-Iealth, Issues ii:itlie,$5I10ols" ·. ..... :.;J. . .
                      New York State U nitedTeachers Health 11nd Safety Conferel) ,
 04/15/2003            "World Trade Center Health Effects"
                       Yale School of Public Health, Department ofOccupationaIMedicine
                       \'J~t)ad Exposw7Cand Its Conseq11ehc;~s"             '' }(:.f. .· •.·•
                    • Yafo School of Public llealth,Depii:tment of Qc~Y~ii}ional 1
 12/07/2007           "The World Trade Center Collapse: Worker Health in the Wake ofan Unprecedented Man-made
                       Environmental Disaster"
                       27'h NE Regional Industrial Hygiene Conference & Exposition: Here's to your Health!
                       Boston, MA
                      '':\3/prld Trade.G.enter Health
                • • /Q6116q uia, Occ*pati{)nal Mc:di(:iri1clfIJ!ep:art1nent;J
                      CT               • •.•
 12/13/2010         "Implementing a Smoke-Free Hospital Campus"
                    Greater New York Hospital Association, New York, NY
                                                                                 •• •••>c••>•
           14      .:t1E111ployee CJ~l111~ 0 9111: Ho~Jn~torkers'
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                   '.Stiln4 Today,''?anel Discussi?D·
                    NYS Workers~Cornpensationi€~tii~h1Halco
03/23/2016          "Effects of Air Pollution on Your Skin"
                    Estee Lauder Panel Discussion, New
03/24/2016          "The Aging Workforce''
                ''The British Embassy, New Yprk;fm
05/02/2016          "Occupational Medicine as a Career"
                    Eta Sigma Gamma Honorary Ceremony, J\lcw York, NY
05/06/2016          ''Canceramong Fire Fighte~s'' .· < i i+ Ci • . . > ...... · · ·.•· .......
                    National Fire FighterVolunteer Rounclta,61e/Alex
 10/29/2016         "Emerging Topics in Environmental Medicine"
                    New York Occupational & Environmental Medicine Association (NYOEMA) Regional Board Meeting,
                    New York, NY



05/12/2017        '•Aftermath ofa Tragedy: The WTC Disaster & Its Impact"
                  Anna Baetjer Lecture, Department of Environmental Health & Engineering
                  Johns Hopkins School                  Baltimore, MD
. 05/19/2017                       World


 10/17/2017       "Occupational Medicine Perspective and Workers' Compensation"
                                                    Page 9 of32




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                       New York State Workers' Compensation Board
                       Schenectady, NY
 10/27/2017            ''.Oral Health &JntemaJ:Health'! f . •.•. ·•· .. •. ..                 ·        >>  •• •
                  .•·• eh:ij~rtAci:~ssibl,e ◊r!ll JI~~lthfP.~h~b\Voddl}g Together for Successful Coll~~or.ations
                • • ·New )"\)rlc;Uuiversity School o'fpentistry•·
 10/11/2020            "World Trade Center Updates"
                       Mid-Atlantic Regional Conference in Occupational & Environmental Medicine
                       Virtual Presentati?n, ~osted by Lenox HilIHospital, Northwell Health,
                     •''New S()Jutions.forl3urtiout and ;substance Abuse in Healthcare Yf()te:s·s;1or1a1s
                       WJ~i~~rMrMttKJt;t''tt{   .,/.:'.T' ·•             < ••• • •••• > ••• •
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                                          fiUad~Ipnt~;,WAii•i~t,:· '.,                              •             . . ''";;,
 I 0/2000         "Establishing Causation"
                  Nation~! C<?H~g~ .ofAdy?caf~, A!LA.'., Napa, CA
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07/17/2001        American College of Preventive Medicine Leadership Forum
                  Invited Particip1lTlt

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 10/21/2006       "Disaster Medicine: From Shock to Public Health Response"
                      American Colle e of Occu ational Medicine, SOTAC Conference
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02/15/2008        ''The World Trade Center Medical Monitoring & Treatment Program"
                  Dartmouth Medical School, Medical Grand Rounds, Hanover, NH
                                                 ~t,;;•://,"·':·. t< cJ\::>;: ,;\;""<:">" .~;
                                                     :~Jl~fj ~~a~fhtblsiiJiibb'#307: iNbWM> .,.
02/08/2012        "Collection of Data on Race, Ethnicity and Language: Development and Implementation of a Strategic
                  Plan for a 15 Hospital Health System"
                  Dis arities Leadership Pro ram Santa ,uv·,uvu,



10/09-10/2013     The World Congress 4th Annual Executive Forum on Creating a Culture of Health & Wellness
                  Chica o, IL




                  "Cancer among Firefighters"
                  National Firefighter Roundtable
                  This event was live-streamed over the radio to thousands of listeners.
                  Alexandria, VA



03/05/2018        "Tell Congress: 'Remember 9/11' Should Be More Than a Bumper Sticker"
                  Citizens for the Extension of the James Zadroga Act
                                                          Page 10 of32




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                             Washington, DC
 06/ 1 l /2019               "The Need to Reauthorize the September 11 th Victim Compensation Fund"
                             House Judiciary Committe~ rlearings, https://voutu.be/NLK WRsDPU lk and
                   · · ·• ···· hHps://judiciary.housc.gov/legislation/hearings/need-reauthorizc-september"l l th-victinF
                          compcnsatiori~fund          •• •              •          •
                          Washington,' DC
 12/10/2019               "Examining Carcinogens in Talc and Best Methods for Asbestos Detection"
                          House Oversight & Reform Committee Hearings,
                          https ://oversight.house. gov/legislation/hearings/exam i~grc inugel)~:i!!~ ta! c-and-the-best-
                          methods- for-asbestos-detection
                          And
                          https://www.youlube.com/watc h?v=ZL8o-lo4 WZM
                          Washington, DC
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                          Collapse toj~fotgi.Ctrrent •        vents"
                        'f\merican A;ga~~WY of All           hma &Imffilih,ology (AA;AAL)Annual Meetini VirtuafEZv¢nt
 05/13/2020               "Asbestos, Talc, Prevention, and Policy"
                          The Asbestos Disease Awareness Organization (ADAO)
                            ~~ational Zoon1 ~v1ceting

International
 02/1998                   'Lead Mobilizatidn c!µril)g Wt!Mri~cy''
                        ···.•·1

                           InstitutoNacionaLde ~<1.~@ Publica, fothrriational CoTJferencc on Occupational and Environmental
                           Health, Cuernavaca, Me~ico                  •                                       •
 12/1998                   "Lead and Pregnancy"
                           1'1 International Meeting on Environmental and Occupational Health, Rio de Janeiro, Brnzil
/08/30/2000            y:.:1:::nvironmenf,l(mffuences                . en Bra"                   -~fopment aijdlB~liavior
                        • ·rrt'vited Sge~k~r •       ••s ...•· i >••       :x.· .· ••·•· ••·· ·. ·•·•·•·•·· ii•·.· . •·•·.····•·······, ·•
                           26 th InternationaJ.Q9ngrC$S on ()ceµpafiphaj Health, Singapore
 06/23/2003                "Evaluating the Physiological and Psychological Impacts to Rescue and Recovery Personnel at the
                           WTC Site"
   . .. . .    .       ..)Y,~rld Con¥rF~·~..?,Il Risk, B,.~g~.~~-1.~,;. Belgiuw ... • .·•
•· •QJ/25/2004 • , • ·; QgeupatiorJ~l1W~digi11( Jr1i-11i~~;:ffi            llS:i!h:ii:;;:,.
                         ConvocatOJiaReunio1rNaHnvest                         ;Mexico City, Mexico
    01/19/2009           The World Trade Center Collapse: Impact of an Unprecedented Manmade Disaster on Health
                         JNIOSH, Tokyo, Japan




Report of Clinical Activities and Innovations
Current Licensure and Certification
:19.8.8        }t0;Nationallao1'it,<WlPfMedic~ilit;ittiiners
 1990              New York State
 19-9._J'.,.2001/··~                             ••••••• , .• . , ••.•••••••.
2011
1995                              American Board of Preventive Medicine: Occupational Medicine

Practice Activities
 199.Jil1(HO                                                                                        r.~cf'd~at.f9Il~lfytedf'dln~f•
                                                                                                     .lPfMe<iic;,ine, Nl;lwYork,  NY··
2004 - 2010                       Attending Physician &                         WTC Medical Monitoring and Treatment Program
                                  Director                                      Mount Sinai School of Medicine, New York, NY
2011:SJ?resent                    Dit~t:liof·                                   No11li:iirn.:m~alth Ql(~~ij$/~orld Trao.ij(ij\ib'ter HealthIRrogf;j;m
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                                                             Queens, NY
2013 - Present           Attending Physician &               Occupational & Environmental Medicine of Long Island
                         Director                            Northwell Health, New Hyde Park & Islandia, NY

Report of Education of Patients and Service to the Community
Activities
 iWidQf:: •••..• ~•He~lthEtTects of Creosote"                      ... ·. ········ . •. " ····· ..................... i\,.rnt~20\,;U','
                         •••• • United Brotherhood of Carpenters (Dockbuilders        a:ria   :Piledii:v~l"sk'.e~!mlSprjhg~ffgi\:n
    11/03/2010                   "Women and Their Environment: How Does it Affect Health"
                                 Action Long Island, Hempstead, NY
 itW1'<5!:2Qib ?'North Shoie~LIJ and the Borough .ofQt1eens: A Pop.o1~tfofi;Ba~~p.iij~t'@·
  ""(:C:('                   , 'f'~~i1er~hip" •••.       ..•.. •• : , .•••.•••••.• ;<,.. •• •• ''./,/ii'"·'
 ::,~t)'.;~;:;,:~~::t•..~;:: :• 'Queens Borough Cabinet Meetirig,CNewY611e;' NY;
  01/13/2011                    "Health Effects of PCBs Exposure"
                                United Federation of Teachers, PS36, Staten Island, NY
1ij~xw,v~t>:~:li~!l\1t,•·t~~~lth.Effects ofTrichlqroethylbne'Eip9sl(re!';i/·\·,<0:riftt(Ii}%]!iJ
;g~t[}!'t[11}1tI'i~lt:)f1iffip)\¢~:ti4~tatiQn ,of Teic4eri., ·ps5J. )(, il1'oi1x, '&¥::,;t~til Ii};}:,\ttii~\;t
  10/25/2011                    "Wellness in the Workplace, The Employer's Advantage"
                                Commerce & Industry Council, New Hyde Park, NY
                  fh:)'!tftw~lbf e~
               .:Q}\~;:~{                   W~lhiesstcillabor,atio11 \Ipinafiy~r\·:···. ,. ,.
               !~tiz11,1tT*\t~S.J;,1Jl'.l1~Q ,SEIUDelegafes?New YQrl<fN:Y:'.;fiffii
  07/11/2012                    "Employee Wellness Collaboration Initiative"
                                Joint Benefit and Pension Funds Annual Meeting, New York, NY


04/17/2013
           ;,:I/,;:,I:iirlt!efri1~ri~tih~]~l::1~f~itu~'~i~t~~t\1~:: ••
                       "Occupational Health & Safety in Schools"
                       United Federation ofTeachers
             '~1]Jtii;}f~l~~ttt~ell~!t~t~i~~tt~:~:,,,•••
                     :Ntiifliti/NYi:.: ··•.,.;·•·CJ·>•,··
 10/02/2014            "Occupational Health"
                       Ethical Humanist Society of Long Island (EHSLI), Community Health Care Seminar




 04/24/2014
                ~c,,~!fiiI~:Z~:~=!;&ic,
                       "Health Hazards to Volunteer Firefighters"
                       Brookhaven Fire District, Terryville, NY


 06/11/2014
                          ·•·:~1~;~~~~~\itrjtfell!~~til.
                       "What's Next? ... ", Follow-up on Asbestos Dumping in Brentwood
                       Brent\¥ood Library1 Brentwood, NY
                          ., , ••••• • . . ,~t::tYc1J~ii~t11V~fl\1~!~~z~il
 09/10/2014             "Voices of September 11th, Healing Families & Communities after Tragedy"
                         13 th Annual Day of Remembranceinform~tion Forum, New York, NY
                   ••• "'. • • , • ijfft#fil'.9~i1QYplu~te,e,r :P;ir~~ijfij~r~tt:tf:; ""
                                    ownYF5r~fignteriC4iefsICo'tinctt;M~@tingf
 11/01/2014             "Health Challenges to Firefighters"
                        Association of Fire Districts of the State of New York 43 rd Annual Mid-Year "Fall"
                        Workshop, Ellenville, NY
                             .l#iiG~~Il~n~e,~ to     ~ifaJi~htefriiI:liifs:iilt2'1 j'l1t?·;"
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 02/13/2015             "Wellness of Firefighters"
                                                                   Page 12 of32




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                          BeHerose Terr~ce FireDepartment, Bellerose Terrace, NY
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                                                                  .                                ···.••·. ·.·
                       •. Fireme11;§'Association of New York (FAS NY), Mastic Fire Department, Mastic, NY
. 03/14/20 l 5            "Exposure to Chemicals and Occupational Asthma".
                          Teamsters 237, New York, NY
 05/29/2015            •. ''Fit~fighfef Health'' >.. ....·. . . ·
                     • • >Fr~¢porl·Fl(~'~i$tkict; .Fi'.~eport; NY
 07/30/2015               "Occupational Health and Exposures on the Job"
                          Uniformed S~~it~tionrnen'sAssociation, New York, NY
      J/      <tt~ff: r~·~1il~tife¥~~Jt!ftira!iw····• •
 • LO/l 2Q(?;:.
 I 0/15/2015           "Health Hazards for Fire Fighters"

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                       Nassau Count . Fire Chiefs Genernl Meeting, Valley Stream, NY
                 1


 12/10/2015            "Health Hazards to Plumbers"
                       Plumbers Local Union I, Q~.~en,s, NY

                                                                           f+B~iiiJdtafetotectfo1t(NYc
 06/29/2016            "Occupational Heaith ofNationai Grid Workers"


                        '"'                               ,.,

 08/09/2016            "Occupational Health of Fire Fighters"
                       Fireman's Association of the State ofNew York (FASNY) Annual Conference
                       Alban NY


 09/24/2016            "Occupational Asbestos Exposure among Plumbers"
                       Plumbers Local I New York NY


 09/29/2016            "Occupational Health of Fire Fighters"
                       Centereach Fire De artment, Centereach, NY


 10/27/2016            "Occupational Health Exposure to Sanitation Workers"
                                                                                  4ti~1~i~~,~1  1~~i:~~;;~ft
                       New York, NY



 04/06/2017
                              .              .
                       "Health Effects of Meningitis"



 08/09/2017            "Cancer among Volunteer Firefighters"
                       Fireman's Association of the State ofNew York (FASNY) Annual Convention
                       S racuse, NY


 01/18/2018            "Health Hazards to Fire Fighters"
                       Rockland Coun Fire Chiefs Association


 03/06/2018            "Occupational Exposures to Fire Fighters"
                                                                          Page 13 of32




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                          Port Jefferson Fire District, Port Jefferson, NY
  03/2] /20.18            National Vol\m.teer FiI;c:.C:oµnciI'sLayeµderRibb6n)leport &.sJJ Best Practi9es for
                          Preventing Firefighter Cancer.          •\< • ' • , 'i,;:/~i\< ••                 •
  09/16/2019              "9/11 Victim Compensation Fund Permanently Extended"
                          Borough of Manhattan Comnmnity C9Heg~, Ne\.\' or~,. NY                             X
  10/16/2019              "Occupational & Envirmiw~Utiil Me,cliQin~ot\IJ:qhJs"{s)@ld'.1•··: •
                          Long Island Health Colla.bor11tiye; Ha\fripatige,;\·:tijf ,.:; . • •
  01/27/2021              "Virtual Covid Panel"
                          Zoom Panel Discussion, .Oceanside Library,Qc~anside, Ny ....
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Educational Material for Patients and the Lay Community

Books, monographs, articles and presentations in other 111edia
•12/3.0/4,QJO:i•. <•··.yivo HealthFitµess' ···.•··                       ···•·t•f.;~p~~1r;~1)£li::'I:''      · · ·--·,·_:,:;,'_'·;,:' ·\:"::"·::,:,'.;.;;~..;: /.\:· ~ :. ,· •~:)\.< >< \ . "Ti-.:., .< ::.::;"::   ;
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 03/03/2011              9/11 Firefighter Dies of                                   Interviewee       CNN
                         Cancer Linked to TR                                                           • •                                         0 I I /HEAL TH/03/02/new.york, fi




 07/28/2011              Further Research Needed                                    Interviewee       CNN Morning
                         to Draw Conclusive                                                           http://am.blogs.cnn.com/category/911-responders/
                         Connection between
                         Cancer and Ground Zero
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 09/02/2011              Firefighters Responding to                                 Interviewee       CNN
                         9/11 at Increased Cancer                                                       •                                                1/HEALTH/09/01/911.firefig
                         Risk



                         First Responders Get Help
                         in Queens                                                                    http://www.qchron.com/editions/gueenswide/first-
                                                                                                                - -     -• -          •           -ebbO-



 09/201 l                Lancet Study on Cancer                                     Interviewee       Doctor Radio, SiriusXM Satellite Radio
                         Rates in Fire De artments
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 02/2012
                      Xft!~tfl~
                         World Trade Center Health
                                                                 .                  Interviewee       ABC Radio
                         Program's
                         Scientific/fechnical
                         Advisory Committee
                         (STAC) added cancer as a
                         covered condition
                                                                                       Page 14 of32




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 02/2012               WTC's program STAC                          Interviewee     CBS New York
                       added cancer as a covered                                   http://newvork.cbslocal.co1ri/2012/02/16/govt-panel-
                       condition                                                   wants-aid-for-wtc-victims-w - • - • •• '.- • • •
.03/2012               Opening of Cold Spring                     - Interviewee    Grain's New YorkBusincss
                       Harbor
 04/09/2012            Health Workers."Walk to                     Interviewee     Long Island Newsday
                       Paris" and Fitness                                          http://www.newsday,com/news/health/health-workers-
                                                                                   walk-to-paris-and-fitness-l .3651502
 05/22/2012            Study: 911 WTC Dust                         [nterviewee     CNN Health
                       Cl!-'- ___   1   n, -~~~I ___ _,__   'l/
                       .:)JCl\.ern;u 1'st:SIUt:IILS r eat~                         hiip://lhechart.biogs.cnn.com/20 i 2/05/22/studv-9 i i-
                           Later                                                   wtc-dt 1st-sickened-residents-years-later/
,,·'o9z07/20J 2, ,;.i·, , ·-w-hy_-Qrgani"6"'.· E/BCtter            Author,         Ne\\/YorkTirries              ···•
                          (NeverMind the Study)                    Letter to the   http://www. nytimes .con1/Wl 2/09/07 /opinion/why-
                                                                   Editor          onrnni c-iscbetter-never-mindc the-study.html
 09/13/2012            9/11 First Responders                       Interviewee     Reuters
                                                                                   http://www.reuters.com/article/2012/09/ 13/l ife-
                                                                                   ifi.Ll§.RTR37ULP
                       Co111ptr9Uer Uu Proposes                    Interviewee     Press Release, New York City ComptroHer}ohfl C. Liu
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 12/19/2012            911 - Terror in the Dust                    Interviewee     CNN Health
                       Increased Risk for Three



 01/04/2013                                                        Author              9/11 Health Watch
                                                                                       91 IHealth            •          • • - r    •
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 01/17/2013            Americans Sicker                            Interviewee         CBS New York
                       Compared to Other                                               http://ncwyork.cbslocal.com/2013/01/17 /americans-
                       \V~~hhy "Nations                                                sicker-compared-to-other-wealthy-nations/
                       AftertheTowers Fell:·The                    Presenter           Webitiar


03/11/2013             North Shore-LIJ Unveils                     Interviewee     FiOs 1 News, Television
                       World Trade Center                                          http://fios 1news .corn/longisland/node/29150#. Ug<lfhdJ
                         • •    enter




03/16/2013             New Center to Treat 9/11                    Interviewee     The Queens Courier
                       First Responders                                            htt •      •   • • com/2013/new-center-to-treat-




                                                                                   clinics
04/22/2013            Cancer Rate 15% Higher                      Interviewee      NY Daily News
                      than Normal for 9/11                                         http://www.nydailvnews.corn/new-york/9-11-
                      Responders                                                   responders-higher-cancer-rate-study-miicle-l. l 324613
                                                                       Page 15 of32




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04/23/2013        9/l LFir:st R1:tSP0l!de~:$~eL ( Interviewee         H11ffington !lost                           . ••.... <.
               ....• rs% increliSedC:airceK<··.. •               • •• http://www.huffingtonpost.com/2013/04/23/91 l -first-' •
                • Ri~k;Sh1c!y<Sa9~ :(                                 responders-cancer-study n 3 I 36672.htm1
06/04/2013        Large Handbags are                 Interviewee      CBSNews.com
                  Causing Undue Strain,                               http://www.cbsnews.com/news/large-handbags-are-


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                  Experts Warn                                        causing-un     -  • - ,     - •

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09/06/2013        FDA: Low Levels of                 Interviewee                   US News & World Report
                  Arsenic in Rice                                                  http:/!health. usnews. com/health-
                                                                                   news/news/articles/2013/09/06/fda-low-levels-of-
                                                                                   arsenic-in-rice
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09/06/2013        FDA: Low Levels of                 Interviewee Yahoo! Health
                  Arsenic in Rice
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09/11/2013        Is the Air Quality in              Interviewee                    The Atlantic
                  Beijing Worse than Ground                                         https://www. theatlanti c. com/china/archive/2013/09/is-
                  Zero's After 9/11?                                                the-air-guality-in-beijing-worse-than-ground-zeros-
                                                                                       er-9-11/279589/




12/01/2013        Asbestos Health Fears              Interviewee                    Long Island Newsday
                                                                                    http://www.newsday.com/9 l l-anniver:sary/9-11-
                                                                                    asbestos-crews-share-fear-of-health-coverage-
                                                                                                   519945


02/24/2014        WTC Health or Lung                 Interviewee                    AFP Wire
                  Disease among 9/11
                  Res onders



03/12/2014        Dust, Health Effects of            Interviewee                    CNN
                  Building Collapses and
                  Fires



06/26/2014       Pesticides Could Lead to            Interviewee                    Great Neck Patch
                 Autism                                                             http://patch.com/new-york/greatneck/pesticides-could-
                                                                                    lead-to-autism 97dlla84
                                                             Page 16 of32




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07/14/2014        M&M Glass Recall Raises        Interviewee      Great Neck Patch
                  Lead Concerns                                   http://patch.com/new-yorld2:reatneck/mm-2:lass-rccall-
                                                                  raises-lead-concerns
08/20/20 1,i      PQC Partnership for            Presenter      ..Webinar
                  Quality Care,
                  Immuni1ation of
                  Healthcare Workers
                  Against Influenza
09/02/2014        Occupational Health            Interviewee      Labor Lin.es
09/08.120 [ ,1    Relief fur \Vorld Trn.dc       Intervic\vcc     T ....,1.-.,...,.,. I : ..... ,..,.,..,
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                  Center Responders and                           http://labor[ines.com/2014.109/08/relief-}vorlcl-trade-
                  Survivors                                       center-responders-survi vors/
09/11/2014        Extending 9/ 11 Health Act     Interviewee      MSNBCReid Report
                  for Survivors                                   http://www,msnbc.com/the-rcid-
                                                                  report/watch/extending-9- I 1-health-act-fcfr-survi vors-
                                                                  32:81B933! 95.S( '             • ••• •• • •••    ••
09/26/2014        The Zadroga Act, Ground        Interviewee      North Shore-LU News
                  Zero and Justice                                https://www.northshorelij.co11i/about/news/z11drogc1-
                                                                  act-ground-zcro-and-

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04/02/2015        Could Household Bleach         Interviewee     Health Day
                  Raise Your Risk for Flu,                       http://consumer.healthday.com/respiratory-and-gllergy-
                  Other Infections?                              infonnati on-2/asthma-news-4 7/could-house ho Id-
                                                                 b leach-raise-kids-risk- for- f1u-other-i nfect ions-
                                                                698036 .html
04/17/2015       •••• Mbre Evideh8e bfLong-      Intei-viewee • tJSf[eWs 9' )Vorld Ifop9rt. 7 Health, ·H~althDay
                      Term rnness in 911                        http· ·•· •;·••·;·•;• .••.· ·••.•··;•••···.··.news.com/health~
                      Responders                                                                             ~of-loner-term-

04/17/2015        PTSD Rampant among             Interviewee     Newsmax Health
                  9/11 Responders                                http://www.newsmax.com/Health/Heal th-N ews/PTS D-
                                                                 emergency-rescue- workers/2015/04/ l 7/id/639228/
04/25/2015     Retired Firefighter, Who                          DailyN~w$
               I?}1edforEjgl1\moriths at r
                  round Zero:after.9/11 and/.
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               theBestfob in the World
06/24/2015     Occupational Medicine and Interviewee             Medscape Video Lecture
               9/11
                 •• 1efighters ,timt1~g
                      cer
09/04/2015     Follow up to Firefighters      Interviewee
               Fighting Caneer                                  Interview by Carolyn Stone to discuss the Firefighters
                                                                Fighting Cancer video that was published on the
                                                                FASNY website (on Au ust 7th )
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                 toHelp Healthcare                                                             lthcare-professionals~
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                 thdElfg ility. Scre~nj                                                        l-survl-vHt~? •
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 09/11/2015                   Federal Program for                Interviewee              CBS News
                              Ground Zero Workers Set                                     http://www.cbsnews.com/news/health-effects-of-911-
                                                                                          linger-for-ground-zero-workers/
                                                                                          NY I News            •• •
                                                                                          http://www.ny l .co1n/~wc:/q1.16~1isYrieWsh6is109/ii:i;;: .• '.i.'..
                                                                                          doctor-pushes-for-zadrOga~aCt-.1:eneWal.httlll -/~~~~~:~:';:ff(:~~;;]~
 09/16/2015                   Firefighters More Likely to        Interviewee              Newsday, Health News
                              Develop Cancer than                                         http://www.newsday.com/news/health/firefighters-
                              Public at Large, Experts                                    rnore-likely-to-develop-cancer-than-public-at-large-
                              Say in Calling for                                          call-is-for-volunteers-insurance-1.10853464
                              Volunteers' Insurance




                              Doctor Radio                       Interviewee              Sirius XM Radio

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 10/04/2015                   A Lot of Loud Noise May            Interviewee              Youth Health Magazine
                              Raise Your Risk of Heart                                    http://www.youthhealthmag.com/articles/24520/201510
                              Disease                                                     04/noise-heart-disease-workplace-environment-loud-
                                                                                          noise.htm
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 01/08/2016                   Firemen's Association of           Interviewee             Firehouse.com
                              NY Forms Health,                                           http://www.firehouse.com/product/l 2156548/firemens-
                              Wellness Committee                                         association-of-the-state-of-new-york-fasny-firemens-
                                                                                         association-of-the-state-of-new-york-forms-health-and-
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02/08/2016                    Honor Roll                         Interviewee              The Buffalo News
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02/24/2016                    Paid to Live Near Work             Interviewee              CBS News New York
                                                                                          http://newyork.cbslocal.com/show/cbs-new-york-
                                                                                          videos/video-3364909-paid-to-live-near-
                                                                                          work/?utm campaign=6832990 In%20the%20News%2
                                                                                          03%2F3%2FI6&utm rnedium=email&utm source=No
                                                                                          rthwell%20Health%20Internal%20Communications&d
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02/26/2016         FASNY Press Conference                lntei'viewee       WCBS-TV 6pm
02/26/2016         Cancer in Volunteer                   Interviewee        Rochester Radio
                   Firefighters
March 2016 .       Things Worth.Celebrating                         :.Environmental, Occupational andf>opulation Mealth- •.
                                                                        (EO:PH) Ncwsietter, American Thoracic Society
03/0 I /20 16       Proposed Bill Calls for              Interviewee Register-Star
                    Coverage of Volunteer                               http://www.registerstar.com/news/article 8fc0 I 7fc-
                    Firefighters with Cancer                            df50-l l e5-bd87-67b899457f4Chtml
03/03/2016          Talcum Verd.ictAnother                              Northwell Health News
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05/05/2016         Long Island School to                 Interviewee NBC New York
                   Reopen after Asbestos                               h ttn ://www .nbcnewv o rk. com/ news/! o cal/Long- Is land-
                   Scare                                               Schoo l-Cl osed-A fter-Asbestos-Scare-378285111. html
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05/25/2016              Health Effects of WTC            Interviewee        Blue Collar Buzz Radio
                        Responders
                        lsPollution
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07/22/2016         Local Schools Fear Lead in            Interviewee   Fox 5
                   Water                                               https://www.northwell.edu/about/ncws/video/local-
                                                                       schools-fear-lead-water
                                                                     UW~~;l;Jniversity ofGhicago Ma&aii11~
                                                                     y:Https:/lmag.11chicago;edt1/scicnee-medicine/aft¢i,.!att~8ks
08/29/201 G        9/11 First Responders                 Interviewee Newsday
                   Show Memory Problems,                               https://www.northwell.edu/about/ncws/l l-first-
                   Researchers Find                                    responders-show-mernory-problerns-rcscarchers-
                                                                       find?utm campaign=74 773 I I ln%20the%20News%20
                                                                       9%2F I %2F l 6&utm med ium=email&utm source=Nort
                                                                       hwe!l%20Health%20!nternal%20Comrnunications&dm
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08/30/2016         Rep9K;91/tlr,fst .          I ; ,.:                 EMSl<coin
                   RespgndersShow EtWly·                                       ww.erns I.com/health-
                    emoryPr         sr
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09/01/2016         Study Identifies Cognitive            Interviewee Public Health Watchdog
                   Impairment among 9/11                               https://www.publichealthwatchdog.com/study-
                   Re                                                  •     •- -      • • -•     • · -        -    -•      nders/
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                   Yeai:sJ ¢f
                   9/1 I First Responders                Interviewee        News 12
                   Share Their Stories at New                               https://www.northwell.edu/about/news/video/danny-
                   Hyde Park Remembrance                                    rodriguez-9-11-news-l 2
                   Event

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                                                                                   re.counH.frcllind-zer6~ilihessesi:{,i•(~;. .••• ••.. •.. ,.>·• :•.. •·
    11/14/2016        WTC Dust Caused First                       Interviewee      Newsday
                      Responders' Nerve                                            http://www.newsday.com/news/health/li-hospital-study-
                      Damage, Study Finds                                          links-n • - •             - - -         -•           -
Ol!i:3/2017\ ''. Pos.sible Qarcinogen Found
, , •• • • •• • • •• /nLo,;glsJa1}d Water
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    03/01/2017              The Hidden Mesothelioma               Author           Surviving Mesothelioma
                            Risk for Dentists                                      https: /survivin me t e •                   the-hidden-
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    10/22/2017              Governor Cuomo Signs                  Interviewee      New York State, Press Release
                            Legislation to Deliver                                 http://www.governor.ny.gov/news/governor-cuomo-
                            Health Benefits to                                     signs-legislation-deliver-health-benefits-volunteer-
                                                                                   firefighters-across-new-york




    12/22/2017              How Safe is That Painted              Interviewee      Consumer Reports
                            Drinking Glass?                                        htt •                                         duct-safety/how-




 03/05/2018                New York Congressmen,                  Interviewee      WNYCNews
                           First Responders Want to                                https://www.wnyc.org/story/new-york-congressmen-
                           Block 9/11 Health Care                                  and-first-responders-want-block-changes-91 l-health-




 Summer 2018               Lavender Ribbon Report:                Panelist        National Volunteer Fire Council
                           Best Practices for                                     https://www.nvfc.org/wp-
                           Preventing Firefighter                                           oads/2018/08/Lavendar-Ribbon-Report-
                           Cancer




09/06/2018                 Hero FBI Agents and First              Interviewee     American Legal News
                           Responders Sick and Dying                              https:    •                                  - ._          - d-
                           from 9/11 hx1:msure



09/27/2018                 Cancer Study Looks at                  Interviewee     Lohud
                           New York's Volunteer                                   https://www.lohud.com/story/opinion/perspective/2018/
                           Firefighters, but Needs                                09/27 /cancer-study-seeks-input-new-york-volunteer-
                           Local Participants                                     firefighters/14 34090002/
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10/10/2018     Snloggy AirTicdto Higher       Interviewee   HealthDay
               Odds for Mouth Cancers                       https://consumcr.healthday.com/canccrcinformation-
                                                            5/mouth-cancer-news- l 03/smoggv-air-tied-to.hig:her-
                                                          . odds-fur-mouth-cancers-73 8476.litihl
10/1 i/2018    Smog Linked to Higher          interviewee UPi
               Risk for Mouth Cancers                       httµs:/iwww.upi.com/l lealth News/2018/ I0/ l l/Smog-
                                                            1inked-to-higher-risk-for-mouth-
                                                            cancers/96 l 1539289063/
10/22/2018    . Eating More Organic Food                    Everyday Health
                                                            https-·:·1/\,V-W\V. c-ve_rydaY:._11 cal 1.11. cO_tri!~i_e~-"f' , ;,: _ , ;.:_;, .;_,
                                                            nutrition/dict/organic.food-tiedi-lower~canccr-risk,
                                                            ~finds/                             ••••••              •                            ••
l 0/23/2018    New Law Will Provide           Interviewee      Press-Republican
               Improved Disability                             httrs://www.pressrept1blican.com/news/local news/new
               Benefits for Voluntccr                          -law-wi 11-provide-imprnved-disability-bene fits-for-
               Firefighters                                    voluntccr- fircfighters/atticlc 6bc60e60-4887-59fa-al ct~
                                                               3cb843J5c19J .html
10/25/2018     R¢p◊rt: Weed KilletFound       Interviewee Fox 5
                in More 13reakfast Cereals,                    http://www.fox5ny.com/news/report~weedckiller-foondc
              . SyJtblC:-J3"ars: "                             in-more-breakfast-cereais-s11ack-bars. • •• • •.•• ;...... ,; .... ,;;
10/26/2018      Eating More Organic Food      Interviewee Everyday I lealth
                May I lelp Prevent Cancer                      https://www .everydayhealth.com/diet-
                                                               nutrition/diet/organic-fr)Od-tied-lower-cancer-risk-
                                                               stuclv-
                                                               finds/?dm t=0.0.0.0.0&dm i= I Y9P,5XLRY,M5CII IK,
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                                                               lead-from-hair~clye:a fter~40-years
11/15/2018     Chemicals Used in E-Cig        Interviewee Healthline
               Flavors Are Toxic and                          https://www.healthline.com/health-news/vaping-may-
               We've Known for Decades                         be-worse- for-your-lungs-than-you-think




11/21/2018     Here's I low Smoke from        Interviewee          Live Science
               California Wildfires                                https://www. !ivesciencc.com/64144-wildfire-smoke-
               Affects the Human Body                              health-effects.html




03/19/2019     Plaintiffs Expert Witness      Interviewee          Legal Ncwsline
               Faces Questions from J&J                            https ://I egalnewsline .com/stories/5122 99464-plaintiff-s-
               in N.J Talc-Asbestos Trial                          ex pert-witness-faccs-q uestions-from-j-j-in-n-j-talc-
                                                                   as bestos-trial
05/2&2019··   Up '€:fose~•;Hammering;ouf                           ABC7
              _the New York City budget



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 05/26/2019         EMS Memorial Opens at            Interviewee WABC - Channel 7
                    9/1 I Memorial and                               https://www.n01thwell.edu/news/in-the-news/-up-close-
                    Museum                                           h~mmeri11g-out~the-nevv-york~city-budget
 06/11/2019         Jon StewartLashes Out at i.··•.i:111tervieyve~\;<.1:B~"Ne\Vi(::>·•.··•·•.•.·.... ·•• •• ••.·.. •·•··.···•·•
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                    Responders Bill: ~'You.·                       ,~fundl)o1i~~tewari⇒lashes-out-itt-house-hearing-on~911 ~
                    Sho.uld Be Ashamed of                           •r~spo11ders~hiH.:.;you:-~hould~be~ashamed-of1.             • • ••
                    Yourselves"
 06/11/2019         Jon Stewa1t Excoriates           Interviewee New York Daily News
                    Congress for 'Shameful'                          https://www.nydailynews.com/news/politics/ny-9 I 1-
                    Support for 9/1 I Victim                         victim-compensation-fund-jon-stewart-terrorism-luis-
                    Compensation Fund                                alvarez-201906 I l-d4dtysboifb6rc4oi7xztb6tva-
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06/1l/2019          Congress Blasted for              Interviewee         Efficient Gov
                    Inaction on Benefits                                  https://efficientgov .com/blog/20 I 9/06/ I I/congress-
                    Funding to 9/11 First                                 blasted-for-inaction-on-benefits-funding-to-9- I 1-first-
                                                                              onders/




06/16/2019          Jon Stewart Says Mitch            Interviewee         Newsweek
                    McConnell Has Only                                    https://www.newsweek.com/jon-stewart-says-mitch-
                    Supported 9/11 Victims                                mcconnell-has-only-supported-9/1 l-first-responders-
                    Fund After Lobbying and                               fund-after-lobbying-1444244
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 07/03/2019          The Full Story: 9/11 Victim      Interviewee         WSHU
                     Compensation Fund




07/23/2019          Why It's So Hard to               Interviewee      PBS
                    Predict How Much                                   https ://www.pbs.org/newshour/health/why-its-so-hard-
                    Funding 9/11 First                                 to-predict-how-much-funding-9-11-first-responders-
                    Responders Need                                    need




07/30/2019          Are There Toxins in Your          Interviewee      The Well
                    Coffee?                                            https://thewell.northwell.edu/dear-doctor/are-there-
                                                                       toxins-in-your-coffee

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                                                              Interviewee        .WCBSRadio880
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                                                                                  illnesses~en1erging?drni;,dl Y9P,6F22.1.;M5CIHK:PF\l73. l


 08/05/2019         Executive Profile: Dr.                    Interviewee        Long Island Business News
                    Jacqueline Moline                                            https ://1ibn.corn/2019/08/05/executi ve-profile-dr-
                                                                                 jacqueline-
                                                                                 mol ine/?utm term=Executive%20Profile%3A %20Dr.%
                                                                                 20Jacqueline%20Moline&utm)campaign=afternoon&ut
                                                                                 m content=email&utm source=ealert&utm medium=e

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 09/11/2019                       18 Years after 9/11, Former Interviewee ABC News
                                  Students are Feeling Health                https://abcnews.go.com/US/18-years-9 I 1-students-
                                  Effects, but Full                          feeling-health-effects-full/storv?id=65484454
                                  Consequences Remain
                                  Unknown
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  09/17/2019                      Jon Stewart, Kirsten          Interviewee The Villager
                                  Gillibrand health spread                             •              •   [J'                  •   -         -


                                  word on 9/ 11 healthcare
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 10/07/2019         Uterine Cancer Rejected as                Interviewee
                    Related to WTC Time                                          https://thechiefleader.com/news/news of the week/uter
                                                                                 ine-cancer-rejected-as-related-to-wtc-
                                                                                 time/article b5ab32d2-e6c7-11 e9-9028-
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 10/15/2019         A New Study Suggests                      Interviewee        Time
                    Tainted Talcum Powder                                        https://time.com/5692129/talcum-powder-
                    Can Cause a Rare Cancer.                                     mesothelioma/
                    Here's How that Could
                   Play Out in the




 10/16/2019         Contaminated Baby                         Interviewee        Romper
                    Powders May be Linked to                                     https://www.romper.com/p/contaminated-baby-
                    Rare Form of Cancer,                                                  -   - - • eel-to-rare-form-of-cancer-study-
                    Stud Su ests




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10/18/2019          Case Study Shows                Interviewee Asbestos.corn
                    Asbestos in Talc Causes                                               https://www.asbestos.com/news/2019/10/18/talc-
                    Mesothelioma                                                         mesothelioma-case-study/
10/21/2019          StudyLinks Asbi~tcifo           l~ter;viewee )-Ieajth Day                                                              •                         ... ·•·. . ·. . . ..·
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10/22/2019          Mesothelioma Due to             Interviewee Doctor Radio, Sirus XM
                    Asbestos in Talcum
                    Powder
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02/06/2020          9/11 Study Shows PTSD           Interviewee Health Day
                    Tied to Earlier Death                                                https://consumer.healthday.com/mental-health-
                                                                                         information-25/post-traumatic-stress-disorder-news-
                                                                                         773/9-11-study-shows-ptsd-tied-to-earlier-death-
                                                                                         754664.html
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07/03/2020           Attorney from Locust                                     Interviewee                           Long Island Herald
                     Valley Advocates for 9/11                                                                      https://www.liherald.com/glenhead/stories/attorney-from-
                     Survivors during the                                                                           locust-valley-advocates-for-911-survivors-during-the-
                     Pandemic                                                                                       pandemic, I 26355?dm i=l Y9P,6XSS5,M5CIHK,RY6UH




08/19/2020          UFT President: All                                        Interviewee                           CBS New York
                    Students, Adults Must                                                                           https://newyork.cbslocal.com/2020/08/19/new-york-city-
                    Have Evidence They Don't                                                                        public-schools-coronavirus-covid-19-united-federation-
                    Have COVID-19 Before                                                                            of-teachers/
                    Being Allowed Back in




08/23/2020          UFT President: All                                        Interviewee                           Jewish Voice
                    Students Must have                                                                              https://thejewishvoice.com/2020/08/union-demand-test-
                    Evidence they don't have                                                                        every-nyc-student-teacher-for-covid-19-before-school-
                    COVID-19 before Being                                                                           resumes/
                    Allowed Back in School




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Report of Scholarship

Publications

Book Chapters

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; qndEnvironmental; Toiicology, ldEd.itidn,200i.';<·. •.•·.·; :i;f;j'.:i/iiY''"'''.' iT : . /                                                                    •• :.                c··•······ :. ·•••··•· • . •••• · ;•.•.
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Peer reviewed publications in print or other media

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        Jacqueline Moline, MD, MSc, FACP, FACOEM
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                                                                       Depositions and Testimony 2017-2021
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        Case                Date            Law Firm                                      Deposition / Trial Docket#                     Judge                            County                  State
        McManus             2/28/17         Coady Law Firm                                Deposition
        Yates               3/22/17         Klamann Law Firm                              Deposition
        Nemeth              3/24/17         Levy Konigsberg                               Trial               190138/2014                Shulman                          New York                NY
        Caine               3/30/17         Simon Greens tone Panatier                    Trial                                                                                                   NJ
        Hopkins             4/6/17          Klamann Law Firm                              Deposition                                                                                              NY
        Goodman             4/7/17          Klamann Law Firm                              Deposition
        Brown               5/26/17         Levy Konigsberg                               Deposition
        Anisansel           615117          Weitz & Luxenberg                             Trial
        Hanson              6/6/17          Simon Greenstone Panatier                     Deposition         2: 16-CV-34-LGW-RSB                                          Southern District of    GA
        Bartlow             6/28/17         Simon Greenstone Panatier                     Deposition
        Schoeniger          6/28/17         Simon Greenstone Panatier                     Deposition
        Bartlow•            6/29/17         Simon Greenstone Panatier                     Deposition
        Schoeniger*         6/29/17         Simon Greenstone Panatier                     Deposition
        McGlynn             8/7/17          Simmons Hanley Conroy                         Trial                                                                           New York                NY
        Herford             9/5/17          Simon Greenstone Panatier                     Deposition         BC646315                                                     Los Angelos             CA
        Lanzo               9/5/17          Levy Konigsberg                               Deposition
        Jenkins             9/7/17          Simon Greenstone Panatier                     Deposition         37-2016-00025572-CU-AS-                                      Los Angelos             CA
        Snowdale            9/8/17          Belluck&Fox                                   Trial                                                                           New York                NY
JA202




        Herford*            9/14/17         Simon Greens tone Panatier                    Deposition         BC646315                                                     Los Angelos             CA
        Lanzo*              9/14/17         Levy Konigsberg                               Deposition
        Boucher             9115117         Law Office of Michael P. Joyce                Deposition
        Barbosa             9/29/17         Law Office of Michael P. Joyce                Deposition         MA 16-1939
        Northrup            10/11/17        Belluck and Fox                               Trial                                                                          Riverhead                NY
        Herford             10/26/17        Simon Greenstone Panatier                     Trial              BC646315                                                    Los Angelos              CA
        Kohr                11/6/17         Levy Konigsberg                               Deposition                                                                     New York                 NY
        Chapp               11/28/17        Simon Greenstone Panatier                     Deposition                                                                     New York                 NY
        Teuscher            2/21/18         Simon Greenstone Panatier                     Deposition                                                                     Great Neck               NY
        Lanzo               2/22/18         Levy Konigsberg                               Trial              MID-L-7385-16AS                                             New Brunswick            NJ
        Barber              3/1/18          Belluck and Fox                               Trial              190112/2016                 Barbara Jaffe                   New York                 NY
        Ingham              3/15/18         Lanier Law Firm                               Deposition                                                                     Great Neck               NY
        Anderson            3/28/18         Simon Greenstone Panatier                     Deposition         BC6665l3                                                    Los Angelos              CA
        Lyons               4/18/18         Simon Greenstone Panatier                     Deposition         CGC-16-276495                                               San Francisco            CA
        Berry               4/20/18         Simmons Hanley Conroy                         Deposition         15-005737                                                   Fort Lauderdale          FL
        Brick               4/25/18         Simon Greenstone Panatier                     Deposition         BC674595                                                    Los Angelos              CA
        Anderson            5/7/18          Simon Greenstone Panatier                     Trial              BC6665l3                                                    Los Angelos              CA
        Morris              6/22/18         Law Office of Peter G. Angelos                Deposition         1:16-cv-00118-CCB                                           Maryland
        Ingham              6/25/18         Lanier Law Firm                               Trial              1522-CC I 0417-0 I                                          St Louis                 MO
        Pipes               6/27/18         Dean Omar Branham Law Firm                    Deposition         CJ-2017-3487                                                Oklahoma                 OK
        Von Salzen          7/12/18         Simon Greenstone Panatier                     Deposition         BC680576                                                    Los Angelos              CA
        Von Salzen          8/3/18          Simon Greenstone Panatier                     Trial              BC680576                                                    Los Angelos              CA
        Stock               8/30/18         Belluck & Fox                                 Trial              807846/20 I 7
        Allen               9/14/18         Simon Greenstone Panatier                     Deposition         DRl80l32                                                    Humboldt County          CA
        Rimondi             9/17/18         Lanier Law Firm                               Deposition         MID-L-2912-17AS
        Ruman               9/17/18         Lanier Law Firm                               Deposition         MID-L-2919-17AS
        Hayes               9/27/18         Levy Konigsberg                               Deposition
        Kerkhof             I 0/1/18        Simon Greenstone Panatier                     Deposition         439392-V                                                    Montgomery County        MD
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        Jacqueline Moline, MD, MSc, FACP, FACOEM                      Depositions and Testimony 2017-2021                          *deposition/trial continued
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        Case                 Date           Law Firm                                    Denosition / Trial Docket#                 Jnd!!e                        County              State
        Chapman              10/4/18        Lanier Law Firm                             Deposition         MID-L-02911-17                                        Middlesex Coun):y   NJ
        Allen                10/9/18        Simon Greenstone Panatier                   Trial              DRI80132                                              Humboldt Coun(y     CA
        Leavitt              11/8/18        Levy Konigsberg                             Deposition         RGl7882401                                            Alameda County      NY
        Rice                11/27/18        Simon Greenstone Panatier                   Deposition         ASB-FBT-XX-XXXXXXX--S
        Edenfield           12/6/18         Levy Konigsberg                             Trial              MID-L-4820-11 AS                                      Middlesex Coun1)'   NJ
        Stepanek            12/12/18        Levy Konigsberg                             Deposition         17 L 008994                                           Cook County         IL
        Blinkinsop          12/20/18        Weitz & Luxenberg                           Deposition                                                               Los Angelos   '     CA
        Forgie              1/7/19          Simon Greenstone Panatier                   Deposition         17CV01032               Pauline Maxwell               Santa Barbara       CA
        Fong                1/8/19          Levy Konigsberg                             Deposition
        Donovan             1/16/19         Phillips & Paolicelli                       Deposition
        Koretoff            2/4/19          Simon Greenstone Panatier                   Deposition         JCCP4674                David Cunningham              Los Angeles  '      CA
        Ripley              2/27/19         Simon Greenstone Panatier                   Deposition         MID-L-00562-I SAS       Ana Viscomi                   New Brunswick'      NJ
        Olson               3/4/19          Maune Raichle Hartley French & Mudd         Trial                                                                                  '
        Lefrak              3/7/19          Weitz & Luxenberg                           Trial              190033/14                                             New York            NY
        Blinkinsop          3/13/19         Weitz & Luxenberg                           Trial                                                                                  '     CA
        Pipes               3/15/19         Simon Greenstone Panatier                   Trial              CJ-2017-3487            Susan Stallings               Oklahoma City '     OK
        Rimondi             3/18/19         Lanier Law Firm                             Trial                                                                                    :
        Schmitz             3/26/19         Levy Konigsberg                             Deposition
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        Carrera             3/27/19         Simon Greenstone Panatier                   Deposition         17CV02331               Paul Burdick                  Santa Cruz          CA
        Jefferson           3/27/19         Simon Greenstone Panatier                   Deposition         15C-05-l58ASB                                         Wilmington      '   DE
        Stepanek            5/3/19          Levy Konigsberg                             Deposition                                                               Chicago         '   IL
        Fredericks          5/6/19          Simmons Hanley Conroy                       Trial                                                                    Philadelphia        PA
        Souza               5/9/19          Simon Greenstone Panatier                   Deposition         l-15-CV-13109           Maryann Bowler                Boston              MA
        Strain              5/15/19         Lanier Law Firm                             Deposition                                                                               i

        Babich              5/22/19         Levy Konigsberg                             Deposition
        Crudge              5/29/19         Simon Greenstone Panatier                   Deposition         BC685901                Steven Kleifield              Los Angeles         CA
        Citizen             6/19/19         Simon Greenstone Panatier                   Deposition         20142920                Clayton Davis                 Calhoun             LA
        Mason               6/24/19         Simon Greenstone Panatier                   Deposition         BC687010                David Cunningham              Los Angeles   '
                                                                                                                                                                                     CA
        Cabibi              7/1/19          Simon Greenstone Panatier                   Deposition         BC665257                David Cunningham              Los Angeles         CA
        Weirick             7/1/19          Simon Greenstone Panatier                   Deposition         BC656425                Steven Kleifield              Los Angeles   !     CA
        Barden              7/3/19          Levy Konigsberg                             Deposition                                                               New Brunswick'      NJ
        Etheridge           7/3/19          Simon Greenstone Panatier                   Deposition                                                               New Brunswick       NJ
        McNeil              7/3/19          Maune Raichle Hartley French & Mudd         Deposition                                                               New Brunswick:      NJ
        McNeil              7/3/19          Simon Greenstone Panatier                   Trial                                                                    New Brunswick;      NJ
        Ronning             7/3/19          Levy Konigsberg                             Deposition                                                               New Brunswick'      NJ
        Citizen*            7/17/19         Simon Greenstone Panatier                   Deposition         20142920
        Delacruz            7/18/19         Simon Greenstone Panatier                   Deposition         BC658576                Brian Currey                  Los Angeles     '   CA
        Nemec               7/25/19         Peter Angelos Firm                          Deposition                                                                               '
        Barden              7/29/19         Levy Konigsberg                             Trial                                                                    New Brunswick:      NJ
        Etheridge           7/29/19         Simon Greenstone Panatier                   Trial               MID-L-932-17AS                                       New Brunswick'      NJ
        McNeil*             7/29/19         Maune Raichle Hartley French & Mudd         Deposition                                                               New Brunswick:      NJ
        Ronning             7/29/19         Levy Konigsberg                             Trial                                                                    New Brunswick :     NJ
        Stewart S.          8/26/19         Law Office of Michael P. Joyce              Deposition                                                                               !
        Cabibi              8/28/19         Simon Greenstone Panatier                   Trial               BC665257               David Greenstone              Los Angeles         CA
        Weirick             9/23/19         Simon Greenstone Panatier                   Trial                                                                    Los Angeles     !   CA
        Wille               9/26/19         Klamann Law Firm                            Deposition
                                                                                                                                                                                               Case 4:22-mc-00001-AWA-DEM Document 4-8 Filed 12/02/22 Page 86 of 87 PageID# 309
        Jacqueline Moline, MD, MSc, FACP, FACOEM                      Depositions and Testimony 2017-202 l                          • deposition/trial conti11 ued
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        Case                Date            Law Firm                                    Deposition / Trial Docket#                  Judl(e                           County          State
        Crudge              9/27/19         Simon Gree11stone Panatier                  Trial                                                                        Los Angeles     CA
        McAllister          10/8/19         Simmons Hanley Conroy                       Deposition         18-361                   Shelly D. Dick                   New Orleans     LA
        Fong                10/28/19        Levy Konigsberg                             Trial                                                                                        CA
        Sturn ho/Hall       11/18/19        Freidman Rubin                              Deposition
        Breakell            12/18/19        Lanier law Firm                             Deposition                                                                                   CT
        DuQuette            12/23/19        Simon Greenstone Panatier                   Deposition
        Evans               1/10/20         Cheely Law Firm                             Deposition
        Johnson             1/15/20         Simon Greenstone Panatier                   Deposition
        Lashley             1/15/20         Simon Greenstone Panatier                   Deposition
        Birch               2/10/20         Phillips & Paolicelli                       Deposition
        Biermann            2/18/20         Cheek Law Firm                              Deposition                                                                   New Orleans     LA
        San Nicholas        2/20/20         Simon Greenstone Panatier                   Deposition         20 l 7-CP-4005764        Jean Hoesertoal                  Richland        SC
        Zimmerman           2/26/20         Simon Greenstone Panatier                   Deposition
        Johnson*            2/27/20         S iomon Greenstone Panatier                 Deposition
        King                3/3/20          Simmons Hanley Conroy                       Deposition
        Johnson             3/9/20          Simon Greenstone Panatier                   Trial                                                                                        NJ
        Lashley             3/9/20          Simon Greenstone Panatier                   Trial                                                                                        NJ
        Barry, J            5/14/20         Law Office of Michael P. Joyce              Deposition
JA204




        Lopez               6/11/20         Simon Greenstone Panatier                   Deposition         201786022                Mark Davidson                    Zavala          TX
        McNeal              6/29/20         Simon Greenstone Panatier                   Deposition                                                                   Los Angeles     CA
        Armstrong           7/13/20         Simmons Hanley Conroy                       Deposition
        Carroll             7/31/20         Karste & Von Oiste                          Deposition
        O'Riordan           9/21/20         Thorton Law Firm                            Deposition
        Dickens             10/16/20        Simon Greenstone Panatier                   Deposition         1:18-cv-00162            Louis Girola                     Mississippi
        Lefton              10/28/20        Phillips & Paolicelli                       Deposition
        Terantino           11/19/20        Maune Raichle Hartley French & Mudd         Deposition
        Hamilton            117/21          Phillips & Paolicelli                       Deposition
        Johnson, Shawn      1/15/21         Weitz & Luxenberg                           Deposition
        Whetsel             1/19/2 I        Karste & Von Oiste                          Deposition
        Castro              1/25/21         Belluck & Fox                               Deposition
        Chenet              3/4/21          Cheek Law Firm                              Deposition
        Whelan              3/5/21          Lanier Law Firm                             Deposition
        Archer              3/24/21         Cheely Law Firm                             Deposition
        McNeal              4/1/21          Simon Greenstone Panatier                   Trial                                                                                        CA
        Casaretto           4/6/21          Levin Papantonio Rafferty                   Deposition                                                                                   FL
        Miller, Joyce       4/15/21         Law Office of Michael P. Joyce              Deposition
        Harpster            4/30/21         Simmons Hanley Conroy                       Deposition
        Pritchard           5/27/21         Phillips & Paolicelli                       Deposition
        Moran               6/21/21         Belluck &Fox                                Deposition
        Wheeler             7/2/21          Simmons Hanley Conroy                       Deposition
        Corcoran            7/2/21          Simmons Hanley Conroy                       Deposition
        Manz                7/9/21          Weitz & Luxenberg                           Deposition
        Dobson              7/14/21         Phillips & Paolicelli                       Deposition
        Sandoval            7/26/21         Weitz & Luxenberg                           Deposition
        Petas               8/4/21          Simon Greenstone Panatier                   Deposition
        Hamilton            8/13/21         Phillips & Paolicelli                       Deposition
                                                                                                                                                                                Case 4:22-mc-00001-AWA-DEM Document 4-8 Filed 12/02/22 Page 87 of 87 PageID# 310
        Jacqueline Moline, MD, MSc, FACP, FACOEM                       Depositions and Testimony 2017-2021                  *deposition/trial continued
                                                                                                                                      ..
JA205




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        Case                 Date           Law Firm                                     Deposition / Trial Docket#         Jude:e                        County        State
        Myers                9/13/21        Simon Greenstone Panatier                    Deposition         BC701665        David Cunningham, III         Los Angeles   CA
        Johnson, Shawn       9/15/21        Weitz & Luxenberg                            Trial                                                            Los Angeles   CA
        Hattenburgh          9/21/21        Law Office of Peter Angeloes                 Deposition                                                       Baltimore     MD
        Evans                9/23/21        Cheely Law Finn                              Trial                                                                          GA
        Gutierrez            10n121         Weitz & Luxenberg                            Deposition
        Welch                10/8/21        Simon Greenstone Panatier                    Deposition         MID-L-3376-AS                                 Middlesex     NJ
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                  EXHIBIT I




                                   JA206
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Murray M. Finkelstein PhD MD         Occupational Medicine        336 Spadina Road         Phone: 416-886-6448
                                     Environmental Medicine       Suite 902
                                     Epidemiology                 Toronto                  E-Mail:
                                     Biostatistics                Ontario, Canada          murray.finkelstein@
                                                                  MSR 2V8                  utoronto.ca




      September 7, 2021

      Lauren Brady, Paralegal
      Simmons, Hanly, Conroy
      New York, NY.

      Dear Ms. Brady:

      Re: Brian Gref (DOB : 1111182)

      At your request I have reviewed medical records and other materials concerning Brian Gref in
      order to express an opinion about whether the development of Mr. Grefs malignant
      mesothelioma was related to exposures to asbestos.

      I am a physician-epidemiologist. My education is in physical science and medicine. In 1972, I
      was awarded a PhD in physics from Case-Western Reserve University in Cleveland, Ohio. I
      graduated from the Faculty of Medicine at McGill University in Montreal, Canada in 1976. In
      1978, I completed my residency training at the University of Toronto and obtained my
      certification in Family Medicine. In July 1978 I began employment as a Medical Consultant with
      the Ontario Ministry of Labour, a position I held until retirement in September 2008.
      My first assignments at the Ministry of Labour were to prepare the background health-effects
      documentation for the proposed asbestos regulation (R.R.O. 1990, Reg. 837) and to undertake an
      epidemiologic study of the health of workers at the Johns-Manville asbestos-cement plant in
      Scarborough, Ontario. I have subsequently published numerous studies, in the peer-reviewed
      literature, of the relations between asbestos exposure and health. In 2008 I was appointed as a
      member of the United States Environmental Protection Agency Science Advisory Board
      Asbestos Panel. In 20 13, I was invited by the Finnish Institute of Occupational Safety and Health
      to be a member of the Working Group to Update the Helsinki Criteria for Asbestos and Disease.
      In 2017, I was invited to participate in the Elongate Mineral Particles Conference in
      Charlottesville,Virginia.

      During the course of my career I have designed numerous epidemiologic studies, collected study
      data, performed the statistical analyses, prepared the study reports and published the findings. As
      a result of this work, I have developed expertise in the analysis of data and databases.

      The following items have been reviewed:

      1. Medical records;
      2. Deposition Transcripts of Brian Gref (Vols 1-2);
      3. Deposition Transcript of Roger Gref;

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                                                                                        Gref.B-FI N01-000001




                                                 JA207
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           4. Deposition Transcript of Jeneane Bennett;
           5. Deposition Transcripts of Karen Nappi(Vols 1-2);
           6. Answers to Interrogatories.

           Clinical Information

           Mr. Gref had a several year history of abdominal pain and was diagnosed with peritoneal
           mesothelioma in May 2020.

History of Present Illness
This is a 37 y/o male with peritoneal mesothelloma.
He had a history of se11eral years of severe abdominal pain and some asoites who is sent for a diagnosis of mesothellorna which Wa$ found
only after 2 years of problems and operations. He had bean told he has mesentelitis by Baptist. He has been through multiple surgeries
including a partial eolon resection and omental biopsy hi 2017. He has pathology reports from Baptist and Baptist South that fail to
demonstrate any malignancy, Apparently he had a new biopsy done at Mayo and this shows clea evidence of mesothelioma. He reports
that pain has been going of for over 2 years, He reported ascites reaccumulatlon and need for 2 liter paracentesis ever few weeks,



 Social History
 father was a navy mechanic, $0 may have had asbestos exposure that he brought home


           There was no family history of cancer.

           Exposure History (from the Interrogatories)

           Plaintiff used asbestos containing cosmetic talc products on a regular and frequent basis from
           approximately 1982 until 2019. Plaintiff used the following brands of asbestos containing talc
           powder between 1982 and 2019: "Johnson and Johnson," "Shower to Shower," "Old Spice,"
           "Mennen," "Clubman," and "English Leather." This information was provided by Plaintiff, and
           his parents, Roger Gref, and Karen Nappi.


           Exposure History (from the Deposition of Brian Gret)

           Mr. Grefwas born in 1982. His parents divorced about 1990 and he continued to live with his
           mother. His parents were both in the Navy. His father was an aircraft mechanic and then a drug
           and alcohol counsellor. His mother held administrative positions. His parents were posted to
           Guantanamo Bay (1982-85) and then they moved to Jacksonville, Florida.




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                                                                                                             Gref.B-FIN01-000002




                                                               JA208
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                    Use of Powders

                    Q. Okay. And do you have a
                    3 recollection as to the brand or brands of
                    4 powder that your parents applied to you when
                    5 you lived on Travertine Trail?
                    6 A. I know that we had a lot ofit.
                    7 There was -- there was Clubman. There was Old
                    8 Spice. There was English Leather. There was
                    9 Johnson & Johnson. There was Shower to Shower,
                    10 and there was some Mennen -- ad there was
                    11 Mennen as well.

                    22 Q. Okay. And were one of these --
                    23 you mentioned a whole list of brands here.
                    24 Were one of these brands more popular than the
                    25 others?
                    I A. I don't think so. I don't think
                    2 we had any kind of -- we weren't really -- we
                    3 weren't really brand myopic, so I think it was
                    4 just whatever was available at the time.



                    Mennen

                    Q. Sitting here today, do you have an
                    6 actual memory of the Mennen powder being
                    7 applied to you?
                    8 A. I do for a little while at least
                    9 anyway. I recall we stopped getting Mennen for
                    10 one reason or another maybe around '93 or '94
                    11 and that was about the extent of the Mennen.

                    Johnson and Johnson

                    Q. Okay. And do you have a memory of
                    25 the Johnson & Johnson powder also being used on
                    you in that home?
                    2 A. Yes.
                    3 Q. And is that true also for the
                    4 Shower to Shower?
                    5 A. Yes.

                    Q. And do you recall how the powder
                    1 would be applied to your body?
                    2 A. Usually, in healthy doses, dust
                    3 getting all up in the air. Can you still hear
                    4me?
                    5 Q. Yeah, sorry. It froze on my end
                    6 for a second.
                    7 A. Okay. I remember there being a
                    8 lot of dust. Again, I don't want to speculate


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                                                                                    Gref.B-FIN01-000003




                                                JA209
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                    9 here, but [ do remember there just being a lot
                    l O of dusl in the air.

                    A. [twas either applied directly
                    16 from bottle to the area or was put on their
                    17 hands and then they would rub it in for me.
                    18 Q. Okay. And why would one method be
                    19 used -v·(;r:--u~ another, if y"t,u i\i1uw?
                    20 A. I wouldn't know why they would use
                    21 one method over another. Maybe because of the
                    22 area in which it was contained in that they
                    23 were applying it to.

                    Were there certain times of the
                    8 year where powder was not used because of
                    9 either the specific season or something like
                    10 that?
                    11 A. No. [twas pretty much a staple
                    12 of my daily hygiene ritual at that point.

                    Q. That's okay. And would you have a
                    20 memory as to the specific body parts where the
                    21 powder was being applied?
                    22 i\.. [twas -- a lot of it was in my
                    23 groin region, the derricrc, my armpit areas and
                    24 my neck as well.

                    4 Q. What brand or brands of powder do
                    5 you recall applying to yourself when you were
                    6 living on Enochs Drive?
                    7 A. I remember the Old Spice. I
                    8 remember the Clubman. There was an English
                    9 Leather in there as well, Johnson & Johnson,
                    IO the Shower to Shower and the Mennen.

                    Q. Okay. Now, I think you told me,
                    12 and certainly con-ect me if I'm wrong, sir,
                    13 that Mennen phased out sometime in about 1992.
                    14 Am l accurately summarizing your testimony?
                    15 A. Yes. I stopped -- I didn't have
                    16 any more Mennen around '92 or '93. That's when
                    I 7 I stopped seeing it.

                    23 Q. Now, did you use these powders --
                    24 when you used powders ahout once a week, did
                    25 you use them in the same way or would it depend
                    I on the hrand that you were using?
                    2 A. It was all the same way.




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                                                                                    Gref.B-FIN01-000004




                                                  JA210
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                    3 Q. Now, putting Mennen aside, because
                    4 you said that you stopped using it in about
                    5 I 992 or 1993. Did you use the other brands
                    6 equally?
                    7 A. Yeah, pretty equally. I didn't
                    8 have any brand loyalty. It was just whatever
                    9 my mom was getting at that time.

                    Application

                    16 Q. After you would take a shower,
                    17 what would you do next?
                    I 8 A. I would take a shower. I would
                    I 9 leave the bathroom, let the steam settle or do
                    20 what it's going to do, make sure that I was
                    21 completely dry. The d1ying process kind of
                    22 takes a little bit longer with me. I had to
                    23 make sure I was completely dry first, and then
                    24 I would go back into the bathroom, and that's
                    25 where I would apply my powder. You know, just
                    I shake out a nice mound ofit in my hand, and
                    2 pat it in, rub it down and get it into those
                    3 places that I had my irritation

                   Q. And how often would you say that
                   14 you recall applying powder to yourself after
                   15 your showers when you lived on Waterflow Place?
                   16 A It was every time.
                   17 Q. And do you have a recollection as
                   18 to what brand or brands of powder you were
                   19 using during this time?
                   20 A. The ones that I've already
                   21 mentioned, the Clubman, the Old Spice, the
                   22 English Leather, and maybe a little -- and
                   23 there was some Mennen in there. Like I said, I
                   24 know we couldn't find that for a while.
                   25 Q. Okay. You told me earlier that

                   Q. So when's the last year that you
                   21 recall using Mennen?
                   22 A. It was either '93 or '94.

                   Own Purchases

                   17 Q. And when you started purchasing
                   18 them on your own, were you purchasing -- well,
                   19 what brands were you purchasing yourself?
                   20 A. I was purchasing the Johnson &
                   21 Johnson, and I was purchasing the Old Spice,
                   22 the Mennen, excuse me, not the Mennen, excuse
                   23 me, the Clubman, English Leather. It just
                   24 depended what I saw first, what was on sale.



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                                                                                    Gref. B-FIN01-000005




                                              JA211
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                    Q. Okay. Do you know how long it
                    2 would take you to use one full container of
                    3 powder?
                    4 A. Religiously. It could be a couple
                    5 of weeks. We could be looking about three
                    6 weeks maybe to go through a container, three to
                    7 four weeks to go through a container.
                    8 Q. You mentioned using several brands
                    9 of powder. Are you saying that you would get
                    10 through each brand's container every three
                    11 weeks?
                    12 A. I would say -- I would go through
                    13 the equivalent of one container about every
                    14 three weeks.
                    15 Q. Okay. So you weren't buying one
                    16 particular brand every three weeks?
                    17 A. No.



                    A. From there we moved to Parkstone
                    9 Crossing Drive in Jacksonville, Florida.
                    10 Q. What kind of home is that?
                    11 A. That is a town home.
                    12 Q. How many bedrooms?
                    13 A. That has three bedrooms.
                    14 Q. And how many bathrooms?
                    15 A. Two and-a-half.
                    16 Q. And how long did you live there
                    17 for?
                    18 A. Until 2013 or 2014.

                    Q. I was going to ask you, what brand
                    8 or brands of powders were you using at this
                    9 time?
                    10 A. That would be the Clubman, the Old
                    11 Spice, English Leather, Johnson & Johnson,
                    12 Shower to Shower.
                    13 Q. And how often were you using
                    14 powder during this time?
                    15 A. Daily



                    Q. Okay. What brand of powders were
                    16 you using when you were in Texas?
                    17 A. The Clubman, Old Spice, Johnson &
                    18 Johnson, Shower to Shower, English Leather,
                    19 Clubman.
                    20 Q. And why were you using powder
                    21 during this time?
                    22 A. With Texas and the heat. We PT'd
                    23 in the morning. You get super hot. There's a

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                                                                                   Gref. B-FI NO 1-000006



                                             JA212
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                    24 lot of sweat going on. And with those uniforms
                    25 they're not built for comfort.

                    A. Then I moved to 12700 Bartram Park
                    18 Boulevard in Jacksonville, Florida.
                    19 Q. And how long did you live there
                    20 for?
                    21 A. From 2016 to 2020.
                    22 Q. And who did you live there with?
                    23 A. I was by myself.

                    Q. Were you using any other products
                    22 on your body other than soap in connection with
                    23 your shower routine?
                    24 A. The Old Spice, Clubman, English
                    25 Leather, Johnson & Johnson, Shower to Shower.
                    Page 120
                    I Q. Did there come a point in time
                    2 when living at this residence that you stopped
                    3 using one or more of these brands of powder?
                    4 A. I was pretty much using everything
                    5 all the way up until I was diagnosed in 2019
                    6 with cancer.

                    Q. Did you have any other brands of
                    18 powder in your possession at the time that you
                    19 were diagnosed with mesothelioma?
                    20 A. The only one that I remember
                    21 specifically having was the Clubman. I believe
                    22 I had Old Spice as well, but I don't recall
                    23 specifically ifl had it or not.

                    ENGLISH LEATHER

                    Q. Now I'm going to move on to a few
                    12 questions about English Leather. You mentioned
                    13 English Leather a little bit yesterday. Can
                    14 you tell me the first time you recall seeing
                    15 English Leather?
                    16 A. I remember hearing and seeing it
                    17 around six years old.
                    18 Q. Okay. And, I'm sorry, which
                    19 residence would that be at again?
                    20 A. That would be at Travertine Trail

                    Q. Okay. To the extent you did use
                    4 any English Leather powder product, would you
                    5 apply the product in the same manner you
                    6 previously described your application of
                    7 Clubman earlier today?
                    8 A. Yes, ma'am.


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                                                                                    Gref. B-FI N01-000007




                                             JA213
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                    9 Q. And you described it taking a few
                    10 seconds for each step ofthe process: Would
                    11 you agree that that's -- you would you say
                    12 that that's the same manner in which you would
                    13 have applied this English Leather product?
                    14 A Yes, ma'am.

                    Estimated Usage

                    Q. Can you estimate how many bottles
                    9 of Clubman talc you used over the course of
                    10 your lifetime?
                    11 A Dozens, several.
                    12 Q. Can you estimate how many bottles
                    13 of Old Spice talc you used over the course of
                    14 your lifetime?
                    15 A Ten, maybe 12.
                    16 Q. Can you estimate how many bottles
                    17 of English Leather talc you used over the
                    18 course of your lifetime?
                    19 A Again, several dozens.

                    A. I believe so. And would actually
                    13 like to make a correction if that's possible.
                    14 Q. A correction regarding what?
                    15 A The use of Old Spice.
                    16 Q. What correction would you like to
                    17 make?
                    18 A With my usage of the Old Spice. I
                    19 may have gotten that actually confused with
                    20 Imperial when I was talking about my usage with
                    21 it.
                    22 Q. All right. Let's see ifwe can
                    23 un-pack that.
                    24 Did you use Old Spice talc?
                    25 A. I did.
                    l Q. Okay. When did you use Old Spice
                    2 talc?
                    3 A. During when I was going through
                    4 puberty, so '94 to '99, 2000 time frame.
                    5 Q. And are you saying you were
                    6 confused -- for all of the other times you
                    7 mentioned using Old Spice beyond puberty, are
                    8 you saying that you confused Old Spice with
                    9 Imperial?
                    10 A. I did, yes.
                    11 Q. Does that change your estimation
                    12 as to how many bottles of Old Spice talc that
                    13 you used?
                    14 A About a dozen or so of the Old
                    15 Spice would be about what I do with the Old
                    16 Spice, yeah.

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                                                                                    Gref.B-FIN01-000008




                                            JA214
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                   From the Deposition of Karen Nappi (Mother)

                   She powdered Brian when he was a baby.

                   14 A. And -- and -- and ifl may go back to what
                   15 brand of -- of powders l used on Brian, l -- l could
                   16 tell you what -- what brand of powders l used on Brian,
                   17 but -- I used a variety of-- of powders on Brian, but
                   I 8 any one in particular, I didn't use any one in
                   I 9 particular at any particular time. l just -- when I'd
                   20 go shopping, I'd grab what they had and I used it.
                   21 Q. And as you're sitting here today, can you tell
                   22 me what brand you used when you lived at this Chartwell
                   23 Drive apartment?
                   24 A. I used several. As I said, I didn't
                   25 specifically hone on any one particular brand. When I'd
                   I go shopping, whatever caught my eye, I'd take it --
                   2 Q. And--
                   3 A. -- or I'd purchase it.
                   4 Q. And as you're sitting here now, can you tell
                   5 me which brand or brands you used at this apartment?
                   6 A. We're going back to -- I used Mennen. I used
                   7 Clubman. I used Shower to Shower. I used Old Spice. I
                   8 used English Leather. I'm sure I used another brand, as
                   9 well.


                   Q. -- is it your testimony that you used all
                   4 these brands at this apartment during that three-month
                   S period of time?
                   6 A. Yes.
                   7 Q. Okay. When Brian was born and you first
                   8 brought him home, what was the first powder you bought?
                   9 A. I don't remember.
                   10 Q. How did you make your selection?
                   I I A. I don't remember. Whatever jumped out at me.
                   I 2 Q. Did you buy all these brands at one particular
                   13 commissary or different commissaries?
                   14 A. Different commissaries.

                   Guantanamo

                   Her father shipped supplies to them from the mainland.

                   Q. And what about the powder that you received
                   22 from your father?
                   23 A. Mennen, the Shower to Shower, the Clubman, the
                   24 Old Spice, and the English Leather.
                   25 Q. Any others?
                   IA.No.
                   2 Q. No? Never bought Johnson -- never sent you
                   3 Johnson & Johnson?
                   4 A. Not that l recall.

                   22 Q. Did the package that your father sent to
                   23 Guantanamo ever include Johnson's Baby Powder?


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                                                                                      Gref.B-FIN01-000009




                                                 JA215
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                    24 MR. FULLER: Objection.
                    25 A Quite possibly.


                    Jacksonville

                    Q. When you were living at this home in
                    12 Travertine Trail while you were stationed at fleet
                    13 training center in Fiorida, do you recall what brand of
                    14 powder you used for Brian?
                    15 A. I used several brands. Again, I -- I used --
                    16 I used Mennen. I used Old Spice. I used Clubman. I
                    17 used English Leather. There was just -- I used them
                    18 all.


                    Old Spice
                    Q. Just focusing on the Old Spice talcum powder
                    24 product that you had used to treat Brian's rashes as a
                    25 child, when was the last time you recall purchasing that
                    1 specific Old Spice ptoduct?
                    2 A. The late '90s, maybe.
                    3 Q. And why would you have purchased an Old Spice
                    4 powder product in the late '90s?
                    5 A. Well, he was still living with me at the time
                    6 and we were living in Virginia. He was still using the
                    7 products.


                    Clubman
                    17 Q. (BY MR. THACKSTON) What did a -- what did a
                    18 container ofClubman look like in 1982 when Brian was
                    19 born?
                    20 A. To the best ofmy recollection, green.



                    From the Deposition of Roger Gref (Father)

                    Naval aircraft Mechanic

                    20 A. I studied the systems that I would
                    21 be working with within my rating, which is
                    22 ejection seats, air-conditioning and aircraft
                    23 environmental systems and oxygen systems

                    Q. All right. Before we talk about
                    12 your time at Norfolk generally when you were at
                    13 Cecil Field, were you assigned to ships?
                    14 A. Yes. The squadron would be
                    15 assigned to a specific ship.
                    16 Q. Do you recall the ships that you
                    17 were assigned to during your time with VA 44?
                    18 A. Okay. VA 44 was a land-based
                    19 thing. That was a training squadron. VA 83
                    20 was assigned to the USS Forrestal and VS 28 was


                                                                                  Page -10-



                                                                                              Gref. B-FIN01-000010




                                                 JA216
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                    21 assigned to the USS America.
                    22 Q. And VA 174, because that was
                    23 training, that was land-based as well?
                    24 A. That's correct.
                    25 Q. And what type of a ship was the
                    I Forrestal?
                    2 A. Aircraft carrier.

                    Q. What was your assignment when
                    2 Brian was born?
                    3 A. I said when Brian was born I was
                    4 attending equal opportunity program specialist
                    5 school at Patrick Air Force Base in preparation
                    6 for my assignment to Guantanamo Bay.
                    7 Q. All right. So after VF 143, what
                    8 did you do next?
                    9 A. Okay. I went to that school. I
                    IO was assigned to that school first, before --
                    11 Q. I apologize. Could you please
                    12 repeat for me the school?
                    13 A. Oh, yes. It is equal opportunity
                    14 program specialist, oh, I'm sorry, equal
                    15 opp01tunity management institute, I'm sorry.
                    16 Q. And where was that located?
                    17 A. That was at Patrick Air Force
                    18 base, Cocoa Beach, Florida.

                    Q. What was your rank at Gitmo?
                    10 A. I was an E6.
                    11 Q. And the -- what were your duties
                    12 during the 7 :30 to 4:30 Monday through Friday
                    13 time frame?
                    14 A. Okay. As an equal opportunity
                    15 program specialist, my basic function was to
                    16 assure that the directives concerning equal
                    17 oppmtunity were met. I did that through
                    18 interviews and gathering statistics for the
                    19 different commands.

                    Diaper Changes

                    Q. As you're sitting here now, do you
                    8 recall the process that you used in changing
                    9 Brian's diapers that once or twice before you
                    10 came to Gitmo?
                    11 A. Yes. I would -- he would
                    12 basically-- he would be in his crib. I would
                    13 put a towel down, lay him on the towel. I
                    14 would have wet wipes beside me here. I would
                    15 take the diaper off, clean him up real good,
                    16 use another towel to dry him and then I would


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                                                                                    Gref.B-FIN01-000011




                                             JA217
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      17 use baby powder or talc.
      18 Q. And what brand ofhaby powder did
      19 you use?
      20 /\. I remember using either Johnson &
      21 Johnson Baby Powder or Mennen talc.

      you saw Johnson's l3aby Powder there'/
      2 A. I saw it there, the only thing I
      3 could say, a lot of times.
      4 Q. Do you recall any other brands of
      5 powder that you recall being on that
      6 nightstand 9
      7 /\.Yes.I do recall the Mennen talc

      Let me answer it this way,
      18 Johnson & Johnson and Mennen were the ones we
      19 used the most. Every once in a while something
      20 else might come in on occasion, but that would
      21 be very rare that something like that would
      22 happen

      Q. And when you talk about powdering
      10 him down, did you use Johnson's Baby Powder on
      11 Brian on these bathing occasions?
      12 A. That was -- that would be one of
      13 the powders that 1 would have used.
      14 Q. Do you recall using any other baby
      15 powder than Johnson's?
      16 A. I recall using Mennen one time and
      17 the reason for that is I had started using it
      I 8 myself at that time because of my feet. So I
      19 remember a lot of times I would powder, you
      20 know, I would powder him, and then when I
      21 finished I would give myself a little powder
      22 too.


      From the Deposition of .Jeneane Bennett (Sister)

      Ms. Bennett confirmed the use of cosmetic talc, but was mostly unable to recall which brands
      were used.

      1 Q. Do you recall what brands you used'1
      2 A. There were several. Like l said, my
      3 mom would buy what was on sale, what was
      4 available. I think the only one that I could
      5 probably remember by name only is Shower to
      6 Shower. And that doesn't mean that I used it
      7 any more than any other one, or that it was
      8 in the house any more. It's just that's the
      9 one I remember.



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                                                                                    Gref. B-FIN01-000012




                                                          JA218
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     Q. How about powders? Any cosmetic talc
     20 products that he used or you saw in the house
     21 when you went to Arlington?
     22 A. He's always used powder products. I
     23 could not nail down a specific brand or a
     24 name. He's used products. Powder products.
     25 Talc products throughout his life.

     Summary of Exposures

    1. Johnson and Johnson: Shower to Shower and Baby Powder: 1982 - 2000s
    2. Old Spice : 1982 - 2000s
    3. Mennen: 1982 - 1992
    4. Clubman: 1982 - 2000s
    5. English Leather: 1982 - 2000s


    Opinions and basis for opinions

     1. Diagnosis: a) Malignant peritoneal mesothelioma

    Malignant peritoneal mesothelioma was diagnosed on biopsy tissue on the basis of pathologic
    appearance and immunostaining.

    2. Causation of Mr. Gref's Malignant Mesothelioma

    I conclude, to a reasonable degree of medical certainty, that Mr. Gref's exposures to asbestos
    fibers originating in cosmetic talcs were substantial contributing causes of his malignant
    mesothelioma.


    Basis for Conclusion

    From the 1980s through the 2000s, cosmetic talcs were contaminated with asbestos fibers.

    In order to assess the cancer risk associated with the use of cosmetic talcs, it is helpful to review
    the geology and mineralogy of talc and asbestos and then to assess asbestos contamination of
    commercial cosmetic talcs.

    Geology

    Continental rocks are dominated by the elements silicon (Si) and aluminum (Al), and ocean or
    basalt is relatively silica poor while being magnesium (Mg) and Iron (Fe) rich. Ocean crustal
    rocks are therefore called "mafic" or "ultramafic", and mostly occur on land when they are split
    or planed from the ocean floor and then faulted through the silica-rich continental "country" rock,

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                                                                                         Gref.B-FIN01-000013




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    normally in tectonic mountain-buildiilg processes. Therefore, the occurrence of ultramafic rock is
    most often coincidental with the ocean side of mountain ridges, folded in and among the foothills
    (piedmont regions). As the intermixing of these elements are subjected to the metamorphic forces
    of heat, pressure, and water that are conducive to the formation of asbestos minerals, they are
    also the conditions that fom1 talc. Indeed, the occurrences of talc and asbestos in the Ea1th occur
    in bands and belts in these regions, as the presence of one is often a good indicator of the other.

    Talc is a natural mineral, hydrous magnesium silicate, with the general formula (OH) 2Mg 3Si4O 10 .
    Talc mineral is formed by the hydrothermal alteration of serpentine and tremolite or directly from
    unserpentinized ultrabasic rocks. Talc may also be formed by the thermal metamorphism of
    silicous dolomites. The characteristics of the mineral deposits vary widely from the pure talc
    formula and from each other according to the mineralogy involved. Some deposits may contain
    varying amounts oftremolite, chrysotile, pyrophylite, or serpentine, or other basic material from
    which the talc may be derived. The deposits may also contain varying amounts of metals such as
    iron, nickel, cobalt, chromium, and manganese as associated minerals, as well as silica (Cralley
    et al. 1968).

    According to Rohl and Langer 'Talc rocks occur fairly commonly in nature, and are formed as
    the result of two important geological processes, i.e., the hydrothermal alteration ofultramafic
    rocks and the low grade thermal metamorphism of silica-rich dolomite, CaMg(CO 3) 2 . These
    metamorphic processes frequently result in the formation of an assemblage of co-existing
    minerals, principally hydrous magnesium silicates, but also hydrous calcium-magnesium-iron
    silicates. Some of these are the magnesium and calcium amphibole minerals, which include
    anthophyllite and tremolite; and the serpentine minerals, including chrysotile asbestos.
    Depending on the nature of the parent rock, varying amounts of mica minerals (e.g., chlorite),
    quartz and carbonates may also be found. Although pure talc deposits exist, very frequently the
    mineralogically complex deposits are used to provide "talc" for both industrial and consumer
    products.' (Rohl and Langer 1974).

    According to Rohl, 'The mineral talc is a hydrous magnesium sheet silicate that occurs in both
    platy and fibrous crystal forms. Talc tends to occur in rock masses coexisting with a number of
    other hydrous magnesium silicate minerals. Typically, talc deposits consists of fine-grained,
    intergrown mixtures of minerals which may contain considerable amounts of asbestos. In
    addition, talc deposits often show complex mineral zonation, which adds to the difficulty of
    selective mining. For example, in the talc deposits of the Gouveneur District of New York State,
    talc occurs with the asbestos minerals chrysotile, tremolite, and anthophyllite in addition to other
    silicate minerals. Since the mining of talc rock almost invariably includes the mining of asbestos
    as well, the asbestos contaminant may be carried over into the consumer product and thus
    introduce the risk of asbestos disease. This possibility leads to an important public health
    question: is asbestos present in consumer talcs, and if present, which mineral fibers and in what
    concentrations?' (Rohl 1974).




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                                                                                        Gref.B-FIN01-000014




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    Analytical Techniques for Identification and Quantification of Fibrous Minerals in Talc
    (Rohl and Langer. Published in Dusts and Diseases, 1979)

    Techniques which have been successfully used for the analysis of mineral fibers in talc products
    include optical microscopy, x-ray diffractometry and electron beam instrumentation.
    The use of polarized light optics has long been a standard technique for the identification of
    minerals. By using immersion oils of known refractive indices, for example, the optical
    properties ofunlmown crystalline particles can be determined. However, there are a number of
    conditions which limit the usefulness of optical microscopy. The accurate determination of
    refractive indices is extremely difficult when applied to particles less than 1 µ in diameter. The
    optical properties of fibrous minerals frequently obviates full characterization of their optical
    constants. In consumer talc products, most of which are finely pulverized powders, the particle
    dimensions are at, or below, the resolution capability of optical microscopy, making
    identification very difficult, if not impossible. Large numbers of fibers may go undetected when
    this technique is used exclusively. However, it may be useful in some cases, at least as a
    screening or preliminary technique.

    X-ray powder diffraction has been used in both the continuous scan and step-scan modes of
    operation for the identification and quantitation of fibrous minerals in talc. This can be achieved
    by comparison of dilutions of known minerals in a talc matrix with unknowns. Quantitative
    analysis using this technique requires (1) a talc standard or matrix completely free of
    contaminating minerals and pure standards of fibrous minerals for preparing talc-fiber dilution
    standards; (2) a preparation method which is both sensitive and reproducible; and (3) selection of
    diagnostic x-ray reflections for quantitative analysis of specific minerals. X-ray diffraction in the
    step-scan mode is used for quantitative determination oftremolite, chrysotile and anthophyllite in
    talc at levels as low as 0.1%, 0.25% and 2.0%, by weight, respectively. These minerals are often
    found as fine-grained and intimate components of talc rock, and they are of particular concern as
    constituents of consumer talc products because of their biological potential. The major limitation
    ofx-ray diffraction analysis is its inability to distinguish between different morphological habits
    of the same mineral. For example, short tremolite fragments and long fibers of asbestiform
    tremolite give virtually identical x-ray patterns. To distinguish between different habits or shapes
    of the same mineral, including asbestos minerals, requires microscopic techniques.

    Transmission electron microscopy, used in conjunction with selected area electron diffraction
    (SAED), provides the resolution capability to visualize all particles and, in many cases, to
    identify them. For example, at magnifications of about 25,000x, or greater, chrysotile fibers may
    be identified on the basis of their unique morphology. In some instances, the morphological
    similarities between fibrous talc and amphibole fibers may be close enough to preclude the
    unequivocal identification of the latter on the basis of such characteristics as cleavage, diffraction
    contrast figures and aspect ratios. However, talc fibers can be easily distinguished from
    amphibole fibers on the basis of SAED patterns.




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                                                                                         Gref.B-FIN01-000015




                                                 JA221
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      Al. Analysis of.Ores from Mines Supplying Talc to Manufacturers of
      Cosmetic Talcs

      Johnson and Johnson imported talc from the Val Chisone region of the Italian Piedmont and also
      sourced their talc from mines in Vermont. After the year 2000, talc was imported from China.
      From 1968-2003 the ore was mostly Windsor Vermont - but also Val Chisone, Italy (exclusive
      supply during a six month strike of Vermont workers in 1979-80). According to the Answers to
      Interrogtories (Superior Court of New Jersey Law Division: Middlesex County. Docket No:
      MID-L-4 726-17 AS) the suppliers of cosmetic talc used to manufacture IBP from 1971 to 2017
      were Windsor Minerals, Cyprus Minerals, and Luzenac/Rio Tinto/Imerys. Defendants state the
      suppliers of cosmetic talc used to manufacture STS from 1971 to 2012 were Charles Mathieu,
      Windsor Minerals, Cyprus Minerals, and Luzenac/Rio Tinto/lmerys. Defendants state that
      between 1971 and 2017 cosmetic talc used for IBP was sourced from the Hammonds ville,
      Argonaut, Rainbow, and Hamm (Windham) mines in Vermont, mines in Val Chisone, Italy, and
      Zhizhua, Guping, IIuamei Shang Lang, and Tongzi qumTies in China. Defendants state that
      between 1971 and 2012 cosmetic talc used for STS was sourced from the Hammondsville,
      Argonaut, Rainbow, and Hamm (Windham) mines in Vermont, mines in Val Chisone, Italy, and
      Zhizhua, Guping, Huamei Shang Lang, and Tongzi quarries in China.




~..4 Y.ERMONl ORE S0URCf~ - ~ BRIEF REVIEW



1966· ll'Vil le was producing 90,000 tons (f,5,000 FF & 45,000 dry ground industrial).   Production was from
      the 3rd level by traditional dri LI and blast.
1973- Argonaut was started using mechanical full face boring machines (continuous miners).
1975- Rainbo11 wai; stllrt4;1d as an open pit with continuous miners-
1978· H'Vi lle 4th level being developed.
1979· /\rgons1ut open pit was phased in ebove the UG workings.
1982.- First continuous miners ui1ed in ll'Vil le for development 1986- Fed Lip to 30% Argonaut to float
feed. C011tinuous miners phased out of production.
        1989· Started assay program & ore coding for ore control.
1990- Started ~Ising llar1l!l as primary source of float feed.
1991- IP Vil le phase-d out and closed.
1994- Expanded Argonaut open pit over the undergroud workings
1995· First float feed production from exposed ore body.




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                                                                                         Gref. B-FIN01-000016




                                                 JA222
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        Mennen




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                                          RAW MAT'..:RIAL SPt;ClFICA ilDNS

                                                                                        Code Number             ll,316
SUBJECT:        'J.lalo


                Janua:cy 11, 1989

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           SUPPLIER:                               Whittak er, Clark; & Dani.els (5141 Talc Io Micron BC)




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   Date               May 16, 1989                                                       Supersedes-·- ~2/13/88                    i
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   Reason for Revis.ion~         Pevise COlor t Screen .Analysi s, Arsenic and Microbi... 01:i..cal specifiC',at:                  :

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                                                     Cyprus Industr ial Minerals o:::.. (Supru A 'J.'alc)
                                                                                                                                   .I
           ~~:

           DEFINITION:                               Hydrous, magnesiu n silicate sore~ containi ng
                                                      a small port.ion of-aluminum silicate ,
                                                      50% Italian/5 0% Au.stt:alian Talc




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                                                                                                 Gref.B-FIN01-000018




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                                          RAW MAT?RIAL SPECIFICATIONS
(
                                                                                 Code Number   •J.l,316
SUBJECT:      Talc


Date:         Jc\Iluary 11, 1989                                                 Supersedes--~---

Reason for Revision:         original

           SUPPLIER:                                Whittaker, Clark & Daniels (5141 'I'alc Io Micron BC)


         . Excerpts from the deposition of Keith Lehman (Cyprus employee):

         Q Did you ever hear of the Supra talc?
         4 A Supra, yes.
         5 Q What does that mean to you?
         6 A Supra is a Cyprus name for the
         7 Italian talc that's milled in New Jersey at the
         8 South Plainfield mill, through the roller mill
         9 at a 200 mesh screen size.
         10 Q And what is the source of the Supra
         11 talc?
         12 A The source is the Val Chisone Italy
         13 mill.

        A Every product had a name.
        2 Q What were they? Any names that you
        3 recall.
        4 A Okay, we had Supra, which was Italian
        5 200 mesh. We had Suprafino, which was Italian
        6 finer mesh 325. There was Supra Extra Fine,
        7 which is just what it says, it's finer, also
        8 made on the roller mill. We had Monoblend,
        9 which is a blend of Italian and Beaverhead.
        IO There was Mistron. Mistron Vapor,
        11 actually, is the full name. And that was
        12 straight Yellowstone crude from the Yellowstone

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                                                                                      Gref. B-F INO 1-000019




                                                      JA225
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             13 mine,There was Steawhite 200. Steawhite.


             Clubman Talc

             I have Customer Sales Sheets from Whitaker, Clark, and Daniels.


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PROOUCT (S)
                                                                                                           ,.,
Name~O
            ,. SUPRA/ bali} pal
          tons                                                                              Ton Prlce    Book

       Charles of the Ritz (manufacturer ofClubman talc) was thus supplied Supra talc byWKD.



       OLD SPICE

       Shulton Products Including Old Spice Body Powder

       According to the Deposition of Whittaker Clark and Daniels corporate representative Theodor
       Hubbard (Los Angeles Superior Court BC607192; Aug 8, 2016) Italian ore from the
       Metropolitan Talc Company was used from 1977 to 1983. In 1976, the ore was from the
       Hitchcock mine in North Carolina. Ore from Alpine, Alabama was also used. Old Spice Talcum
       Powder products were manufactured into the early to mid- l 990s.

       Lewin, in his 1973 report to the FDA, reported 1% tremolite in Old Spice Body Powder.

       According to the February, 2020 report of the geologist Sean Fitzgerald, 'Whittaker, Clark &
       Daniels was the primary supplier of talc (99%) to the Shulton Company for use in the
       talc-containing products manufactured in the Clifton and Mays Landing, NJ plants, including Old
       Spice®, Desert Flower® , and Friendship Garden® talcum powders.

       The talc supplied to Shulton came from the mining of three talc formations. The first was known
       as American Ground Italian (AGI), which was talc from the Val Chisone talc mines in the
       Piedmont region of northwest Italy. Grade 1615 was such an AGI talc. Whittaker, Clark &
       Daniels also supplied Shulton with talc grade 2450 (a.k.a., 643), from a mine located in Cherokee
       County, North Carolina. This talc came from a geologic belt known as the Murphy marble belt,
       specifically from the Hitchcock mine, approximately I .Smiles southwest from Murphy, NC.
       Thirdly, grade 141 was supplied from Alpine Alabama, from the talc mined in Talladega (and
       nearby Tallapoosa; Dadeville) County. This talc was mined in a zone of metamorphic rocks that
       contains both asbestos and talc deposits, and includes areas rich in amphiboles, specifically,
       anthophyllite.

       All three of these talc formations sourced for use in the subject products have been shown to
       contain asbestos, both in the geologic investigations of their formations and in the laboratory
       analysis of talc ore and products sourced from these mines.'




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                                                                                          Gref.B-FIN01-000021




                                                  JA227
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          With respect to North Carolina Talc, Fitzgerald wrote" I have personally visited this area,
          collected samples, and confirmed tremolite presence in the talc mines of the Murphy, NC marble
          and talc belt. [ confirmed asbestos presence including in the Hitchcock talc mine. In both hand
          samples of bedrock and collected samples of milled talc taken from the mine I confirmed
          asbestos presence in the laboratory, including chrysotilc, winchite, richterite, and asbestifonn
          lremolite.'

          With respect to Alabama talc: 'I have personally tested grade 141 in a manner consistent with
          and in fact parallel to my testing of AGI 1615 (see Italian talc section, to follow), and confirmed
          that grade 141 talc contained releasable fibers of chrysotile and anthophyllite asbestos.'

          And for Italian talc: 'Further, in 2013, I personally tested samples of talc ore (AGI 1615) given to
          me for testing from Dr. Arthur Langer and Dr. Robert Nolan, experts retained by the companies
          involved in this case, including Colgate. ("TEM Images, EDS Spectra, and SAED of Asbestos
          Released from Source Talc Grade 1615".) The samples were confirmed as originating from the
          Val Chisone/Val Germanesca region and of a 1970s vintage. In my testing or the Italian ore, I
          found both asbcstiform anthophyllite and asbcstiform tremolite, and occasional chrysotile
          asbestos.'



Sam le Asbestos              count Volume EFA sus ens ali uotdiltition GO
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Sam le Asbestos               count Volume EFA SUS ens ali uot 1all~!lan" GO GOA
  141 Anthopyllite &Chrysoti!e 6      100 1320 130        30 0,230l710 0.0128
              Table 1: Calculated concentrations of asbestos released ft-om Talc Grades 1615 and 141.



          Fitzgerald also measured release of asbestos from containers of Old Spice and Desert Flower
          talcs.




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                                                                                             Gref. B-FIN01-000022




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2-center   Chrysotile                 25     1320     400      100     Jl.~ • 10
2-ceuter   ALL                        25     1J20     400      100    .:c·o.25 . 10




Sample     Asbestos         count   Volume   EfA    susper,s aliquot ''dliutiiin; GO    GOA
3-1.eft    MtilOl)hylltt&    2       100     1320     400       10 •·,11,.:llj~ 10     O.o12S
3-left     Tremofi1"          3      100     1320     400       10      .M?S. 10       0.012,~
3-Left     ALL               5       100     1320     400       10    .:11,l!?S   10   0.0128



                                                               ~~ ;I{ll\:: :~
3-right    Anthoph)ilile     1       100     1320     400                              0.012Ll
3-11ght    Tramofit&         3       100     1320     400                              0.0128
3-rlght    ALL               4       100     1320     41)0                             0.0128

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           Anthoph).itte
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           ALL
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                He also measured tremolite in the Dustfall.

                Mr. Fitzgerald's summary stated:

                "In summary, the talc sources for the historic Shulton talcum powders supplied by Whittaker,
                Clark & Daniels were formed in geologic formations that can and do have asbestos minerals
                associated with them, and asbestos has been confirmed by geologists and associated with those
                talc ores. Repeated testing of both the grade 1615 Italian talc from Val Chisone and the grade 141
                talc from the Hitchcock mine in North Carolina have been found to contain asbestos, including
                anthophyllite, tremolite, and chrysotile asbestos. Finally, my own releasability tests of Old
                Spice® and Desert Flower® found significant concentrations of airborne asbestos, including the
                same three mineral species historically identified, namely chrysotile, anthophyllite, and tremolite
                asbestos."




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      A2. Italian .Talc

      Val Chisone

      1. The American geologist and mineralogist Sean Fitzgerald analysed a sample of Grade 1615
      American Ground Italian (AGI) talc from Val Chisone on behalf of an American law firm
      (Fitzgerald, S. AGI Talc Powder Testing. Report prepared for the Law Offices of Peter G.
      Angelos. May, 2014). He reported that 'Anthophyllite, tremolite, and chrysotile asbestos were all
      identified in a TEM preparation of this sample. Chrysotile fibers exhibited their characteristic
      "soda straw" morphology, highly characteristic electron diffraction pattern (SAED), and a
      chemistry commensurate with serpentine. Anthophyllite fibers were found with characteristic
      asbestiform morphology, amphibole crystalline structure by SAED, and appropriate ratio of silica
      to magnesium as determined by EDS. Tremolite fibrous structures demonstrated pronounced
      asbestiform morphology as well, and also had distinct amphibole structure demonstrated by
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      U.U.. .1.J.U.Vl.J.VJ..1.•   J..Y.I.J.. .1. .11-LoE,w'I.U.J.\.I. .1\.lpv.11.\.AJ.   , V   .l.l.l.l.l.l.lV.l.l a.:,uv.::H.V.:l .:ll..LUVLU.lVL.I pv.1   51-a.1.1.1 V.1_ LCL.l\,., .U. .l VCl.\..1.1.l U.1_ .£,


      subsamples. Both subsamples were found to contain multiple asbestos structures both greater and
      lesser than 5 ~L in length.




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          .u"'\f ''"'""' m,,nLa'!.½ VJ'- µ,"':~ 14~mv;r.r.:,•,U' !14U:li.!) UJIJJf UJll'll,Ut; f.t~Uf.Jd l.!J IWU..t/jmf~fitm, :llUC{.m;i-




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     The International Agency for Research on Cancer (IARC Monographs on the Evaluation of
     Carcinogenic Risks to Humans, No. lO0C. lARC Working Group on the Evaluation of
     Carcinogenic Risk to Humans. Lyon (FR): International Agency for Research on Cancer; 2012)
     has written about these talc sources:

     "Talc deposits formed from the alteration of ma 6r:nesian carbonate and sandy carbonate such as
     dolomite and limestone are the most important in terms of world production. Two types are
     recognized:

      1) those derived from hydrothermal alteration ofunmetamorphosed or minimally
     metamorphosed dolomite such as found in Australia (Mount Seabrook and Three Springs); USA
     (Wintersboro, Alabama; Yellowstone, Montana; Talc City, California; Metaline Falls,
     Washington; and West Texas); the Republic of Korea; the People's Rep11blic of China; India; the
     Russian Federation (Onot); and, northern Spain (Respina); and,

     2) those derived from hydrothermal alteration (including retrograde metamorphism) of
     regionally metammphosed siliceous dolomites and other magnesium-rich rocks such as in the
     USA (Murphy Marble belt, North Carolina; Death Valley-Kingston Range, California;
     Gouverneur District, New York; Chatsworth, Georgia); Canada (Madoc); Italy (Chisone
     Valley); the Russian Federation (Krasnoyarsk); Gcm1any (Wunsiedel); Austria (Leoben);
     Slovakia (Gemerska); Spain; France (Trimouns); and Brazil (Brumado) (IARC, 2010).

     In a study to examine the amphibole asbestos content of commercial talc deposits in the USA,
     Van Gosen et al. (2004) found that the talc-forming environment (e.g. regional metamorphism,
     contact metamorphism, or hydrothermal processes) directly influenced the amphibole and
     amphibole-asbestos content of the talc deposit. Specifically, the study found that hydrothc1mal
     talcs consistently lack amphibolcs as accessory minerals, but that contact metamorphic talcs
     show a strong tendency to contain amphiboles, and regional metamorphic talc bodies
     consistently contain amphiboles, which display a variety of compositions and habits (including
     asbestiform). Death Valley, California is an example ofa contact metamorphic talc deposit that
     contains accessory amphibole-ashestos (namely talc-tremolite)




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     2: Dr. Steven Compton analysed Italian Talc samples on behalf of a plaintiffs law fi1111 (Report
     of Results: MVAl 1730. Investigation of Italian Talc Samples for Asbestos. Prepared for: Simon
     Greenstone Panatier Bartlett. August 1, 2017)

     This report presented the results of an investigation of several talc/mineral samples for
     asbestos. The fifteen samples were initially collected onsite from the Imerys mining facility
     (Fontane) in Rodoretto, Italy by Alan Segrave with Bureau Veritas of Kennesaw, Georgia. It was
     requested that MVA investigate the bulk talc samples for the presence of asbestos fibers. The
     MVA report provides the analytical results of the thirteen samples corresponding to Italian talc
     sources.

     Compton's Methods

     After visual examination and labeling with an MVA sample number, each sample
     received was photographed using a Nikon D60 DSLR camera. Mineral particulate was extracted
     both directly via forceps and also after breaking up a portion of the sample with a mortar and
     pestle. A representative portion of each sample was weighed, suspended in filtered deionized
     water, and a known aliquot was extracted and filtered through a 0.2 micrometer pore size
     membrane filter. Each filter was dried and grids prepared following standard direct preparation
     procedures for analysis by transmission electron microscopy (TEM). The grids were examined
     using either a Philips CM120 transmission electron microscope (TEM) equipped with an
     Oxford INCA energy dispersive spectrometry (EDS) x-ray analysis system or a Philips EM 420
     TEM equipped with a Thermo Scientific Noran System 7 EDS x-ray analysis system. Both
     microscopes are capable of selected area electron diffraction (SAED).

     Talc fibers were not counted, but were discounted after confirming their identity by elemental
     composition and observation of a pseudohexagonal diffraction pattern, consistent with the
     reported literature. Anthophyllite, tremolite, and actinolite fibers were designated as such based
     on their elemental composition and linear repeating diffraction patterns. When possible, a zone
     axis pattern was indexed to confirm the mineral identity. For each prepared sample, a laboratory
     blank sample was prepared following all of the same procedures except for the addition oftest
     material. The TEM results for asbestos are given in terms of percent by weight and structures per
     gram.

     Dr. Compton concluded 'Amphibole fibers were detected in eleven of the thirteen samples
     analyzed for this report. Aside from the talc itself, the primary fibrous contaminants in the
     sample set are anthophyllite and tremolite/actinolite. The asbestos content of samples found to
     contain amphibole and chrysotile fibers range from approximately 1. 7 to 660 million fibers per
     gram. After estimating the mass of the fibers, this corresponds to a quantity ranging from
     0.00002% to 0.68% by weight.'




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     Dr. Compton's measurements of the Val C:hison~ sample,. containing 9 rI1i1li<>ri fibers of
     anthophyllite per gram of powder are shown below.


Table 6. Fibers Detected During Examination of Bulk Sample AB1535

                         Length        Width
            Str. #                                     Aspect Ratio                 Type
                            ~tm          ~tm
               1            1.9         0.10                     19           Anthophyllite
               2            3.9         0.52                     8            Anthophyllite
               4           18.8         0.14                     134          Anthophyllite
               5            __
                            ?,1,.       ()  ~A                   ~            Anthophyll ite
                                        '-'•'-''-'
                                                                 ""
               6            2.2         0.26                     8            Anthophyll ite
               7            2.9         0.29                     10           Anthophyllite
               8            3.2         0.19                     17           Anthophyll ite
               9            2.5         0.21                     12           Anthophyllite
              10           3.9          0.14                     28           Anthophyll ite
              11           2.9          0.57                     5            Anthophyll ite
             NA - NOC Ana1yzea


     Finkelstein: All 4 of the Fontana samples contained anthophyllite (Sample AB1532 also
     contained tremolite), as did Sample AB1535 from Val Chisone, Sample AB1537 (Milled Italian),
     AB1540 (Paulo Rimonta 5), AB1542 Gianna, and AB1543 (Gianna at Fault). The average
     concentration of anthophyllite was 9 million fibers per gram.

     Analysis by Mr. Alan Segrave of Bureau Veritas

     Mr. Alan Segrave had collected the Italian samples and he also analysed them. He reported
     finding no asbestos in the samples.

     Mr. Segrave described his method:




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 CLIENT:            ALSTON & BlRD, lLP
Project:            Italy
Work Order No: Al512004

In addition to the analysis outlined above, an additional 1oo grid openings were counted to derive a lower
sensitivity. If present, asbestos structures which met a >3:1 length:width aspect ratio and a minimum length of
0.5 µm were identified using morphology, selected area electron diffraction, and energY- dispersive x-ray
spectroscopy. Fibers are classified by structure type, sized (length and width), and identified as chrysotile and
the identified regulated amphlbole. Several grids are placed consecutively in the TEM for examination so that
100 grid openings, or 100 fibers, are counted, whichever occurs first. A magnification of 15,000X or higher was
used for the analysis.

Consistent with the EPA method_, asbestos is defined as having high aspect r:atios of at least20:1 orgreater.
Using a counting protocol of >3:1 as defined above provided a means to determine if any population of
asbestos in any dimension existed in the sample(s). Even if fibers of >3:1 criteria we.re observed meeting the
morphology, chemistry and crystalline structure of asbestos, a population of fibers 20:1 or greater would also
have to exist for the S'ample to contain asbestos. Since no asbestos in any of these dimensions were
observed, no asbestos was identified in any of the samples.



           Segrave referenced the EPA method: United States Environmental Protection Agency. Method
           for the Determination of Asbestos in Bulk Building Materials. EPA-600/R-93/116, July 1993
           (PLM).

           The materials scientist Dr. James Millette published 'Procedure for the Analysis of Talc for
           Asbestos' in Microscope, the journal of the American Society for the Testing of Materials, (THE
           MICROSCO PE• Vol. 63:1, pp 11-20 (2015)). Millette wrote: 'A transmission electron
           microscope equipped with EDS X-ray analysis system and capable ofSAED is used to analyze
           the talc and asbestos fibers in the sample including tilting oftalc/anthophyllite fibers. The TEM
           asbestos fiber counting criteria of fibers greater than 0.5 micrometer in length with at least a 5: 1
           aspect ratio as described in the Asbestos Hazard Emergency Response Act (AHERA) (15) and
           ASTM methods: D6281 (16), D5755 (17), D5756 (18) and D6480 (19) as well as in ISO 10312
           (20) and 13794 (21) are used.'

           Millette also wrote: 'Differentiation of Asbestos Fibers from Non-asbestos Fibers. In 1990,
           Wylie published some suggested characteristics of a population of particles with the asbestiform
           mineral habit. These included a mean aspect ratio of 20: 1 or greater for fibers longer than 5 µm.
           Asbestos was characterized by very thin fibrils, usually less than 0.5 µm in width, and two or
           more of the following:
           • Parallel fibers occurring in bundles
           • Fiber bundles displaying splayed ends
           • Fibers in the form of thin needles


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    • Matted masses of individual fibers
    • Fibers showing curvature

    Subsequently, the draft EPA R-93 (14) repeated most of the characteristics in a glossary
    providing a definition of a population of asbestos fibers as observed with light microscopy in a
    bulk sample. The EPA draft deleted the characteristic of fibers in the form of thin needles as
    being indicative of asbestiform.

    Research by Wylie reported in 1985 showed that 50% of the fibers in a known amosite
    (grunerite) asbestos sample would not be counted if a 20: 1 aspect ratio were used as a criterion.
    Comparison of the aspect ratio plots in the 1977 Bureau of Mines Circular (26) shows that a
    criterion of about 5: 1 aspect ratio appears to be the best aspect ratio discriminator for asbestos
    versus non-asbestos fibers. The 5:1 aspect ratio is used in AHERA; ASTM methods D6281,
    D5755, D5756 and D6480; and ISO 10312 and 13794. The width of the fiber was found in
    inter-laboratory testing by Harper (27) to be the best discriminator for asbestos fibers, and that
    using a criterion of width that is less than or equal to one micrometer provides the least number
    of false negatives when dealing with asbestos and non-asbestos fibers.'

    Segrave thus applied the EPA method for light microscopy to his measurements by TEM. He did
    not use the method suggested by Millette and published in the Journal of the ASTM. (TJ-m
    MICROSCOPE• Vol. 63:1, pp 11-20 (2015).


    A transmission electron microscope equipped with EDS X-ray analysis system and capable ofSAED is used
    to analyze the talc and asbestos fibers in the sample including tilting oftalc/anthophyllite fibers. The TEM
    asbestos fiber counting criteria of fibers greater than 0.5 micrometer in length with at least a 5:1 aspect ratio
    as described in the Asbestos Hazard Emergency Response Act (AHERA) (15) and ASTM methods: D6281
    ( 16), D5755 ( 17), D5756 (18) and D6480 (19) as well as in ISO 10312 (20) and 13 794 (21) are used. The d-spacing/
    interfacial angle tables of Shu-Chun Su (22) are used when the option to index zone-axis patterns ofamphibole
    minerals obtained by SAED in the TEM is chosen. The results of the TEM analysis are recorded using
    the procedures described in ASTM D628 I.
    interfacial angle tables of Shu-Chun Su (22) are used when the option to index zone-axis patterns ofamphibole
    minerals obtained by SAED in the TEM is chosen. The results of the TEM analysis are recorded using
    the procedures described in ASTM D6281.



    Fibers and Cleavage Fragments

    It has become a matter of controversy, in the regulatory and legal settings, whether the amphibole
    particles measured in samples such as AB1535 should be called fibers or cleavage fragments. A
    number of authors and Agencies have considered this issue. I will examine these considerations
    from a data analytic perspective.




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    The most recent publication to address this issue was published in 2019 by Roggli and Green
    ( Roggli VL, Green CL. Dimensions of elongated mineral particles: a study of more than 570
    fibers from more than 90 cases with implications for pathogenicity and classification as
    asbestifonn vs. cleavage fragments. Ultrastructural Pathology:
    https://doi.org/10.1080/01913123.2019.1566298). In this publication they reported their study of
    more than 570 fibers extracted from more than 90 cases examined in their laboratory, and have
    drawn conclusions for pathogenicity of Elongated Mineral Particles and their classification as
    asbestiform vs. cleavage fragments. There are aspects of their methodology and discussion that
    would benefit from examination (Finkelstein MM: Comments on "Dimensions of elongated
    mineral particles with implications for pathogenicity and classification as asbestiform versus
    cleavage fragments", Ultrastructural Pathology, 2019: 43:326-329.)

    Dr. Roggli's laboratory has been perfonning fiber analyses of lung tissue samples since 1980,
    counting only those fibers that are 5µ or greater in length with aspect ratios of at least 3: 1 and
    roughly parallel sides. Roggli and Green reference Harper and colleagues (Harper M, Lee EG,
    Doom SS, Hammond 0. Differentiating non-asbestiform amphibole and amphibole asbestos by
    size characteristics. J Occup Environ Hyg. 2008;5:761. doi:10.1080/15459620802462290) for
    the proposition that the best morphologic criteria for distinguishing cleavage fragments from true
    asbestos fibers is a length of at least 10µ and a diameter of less than 1.0µ. I have reviewed the
    paper by Harper et al and find that, concerning length and diameter, Harper and colleagues write
    that 'Commercially exploited asbestos normally occurs in veins, and the width of the vein
    determines the fiber length, generally between 0.5 and 20 mm but with fibers up to 250 mm long
    being common. Asbestos ore is processed after mining to remove impurities and to produce a
    consistent product. This processing shortens the length of fibers, but the majority of the
    commercial product is still of the order of millimeters in length. However, as a result of this or
    subsequent processing, fibers small enough to remain airborne are formed, and these are
    generally <100µ in length and <3µ in width.' Decades earlier than the Harper paper, the British
    physicist, Vernon Timbrell, working at the MRC Pneumoconiosis Unit, wrote: 'Unlike fibre
    diameter fibre length is dependent on milling history and does not provide an identification
    method.' (Timbrell V. 1982. Deposition and retention of fibres in the human lung. Ann Occup
    Hyg 26:347-369). Both of these authorities thus agree that milling history is an important factor
    in determining the length of the particles a microscopist might subsequently detect and measure
    in lung tissue. The degree of milling is likely to vary by fiber type, with commercial amphiboles,
    largely used for construction applications, likely to be less heavily milled than chrysotile and talc.

    Harper and colleagues write about the size distributions of airborne amphibole "fibers".
    'Disturbing asbestos by extraction or processing leads to airborne fibers, which may be individual
    fibrils or fibrillar bundles. Due to comminuting, these fibers are not as long as those found in the
    ore bodies. In general, airborne asbestos particle length distributions can be modeled as a
    log-normal distribution, with the majority below 100µ and more than 50% below 10µ in length.'
    The size distribution of fibers in the air is, of course, a determinant of the size distribution of the
    fibers inhaled and retained in the human lung. With respect to "cleavage fragments" Harper and
    colleagues write 'Disturbance of coarsely crystalline amphiboles can result in the release of


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    prismatic. sir1gle c:ry~tals or . cleayage fragments, .w.hich. 1nay rese111bleasbest<>s fibers. Although
    there has been less work considering the size distributions of airborne prismatic crystals and
    cleavage fragments, the general opinion is that they are sh011er and thicker than airborne asbestos
    fibers. In general, the widths of airborne cleavage fragments are greater than those of airborne
    asbestos fibers, although there is some overlap in the case of very fine cleavage fragments or
    thickfibrillar bundles of asbestos. However, the difference in lengths may be exaggerated. There
    appears to be substantial overlap in the distributions of cleavage fragment and asbestos fiber
    length.'

    Harper and colleagues write about the use of Phase Contract Optical Microscopy (PCM) and
    Transmission Electron Microscopy (TEM) in detecting asbestos fibers and cleavage fragments.
    'The greater resolution ofTEM causes more individual fibrils to be seen than are visible under
    PCM. Thus PCM is considered an index of asbestos fiber exposure. Under standard PCM there
    may be very little difference in appearance between a cleavage fragment or prismatic crystal and
    an individual fibril or bundle of fibrils, and so, by default, all objects meeting certain dimensional
    criteria as described above may be assumed to be potentially asbestos. These dimensional criteria
    do not separate asbestos fibers from non-asbestiform particles well. The NIOSH (National
    Institute for Occupational Safety and Health) method does not attempt to differentiate because
    NIOSH does not recognize there is currently sufficient evidence for a different toxicity for
    non-asbestiform amphibole particles that meet the morphological criteria for a fiber. The EPA
    has a similar position. Various laboratories have devised their own criteria for determining
    whether a particle under PCM is asbestos or a non-asbestiform analog and this leads to variability
     in analysis. These criteria may also be subjective and may require skill to apply, which leads to
    variation even in the application of the same procedure. Thus the OSHA method for counting
    fibers under PCM declares that "differential counting" should be discouraged unless absolutely
     necessary. '

    Harper and colleagues pointed out that the American Society for Testing of Materials (ASTM)
    International Subcommittee D22.04 had ballotted a revision to the standard for assuming that a
    particle is a potential asbestiform fiber. The proposed revision was to become: Length > 10µ and
    width <lµ (these are the criteria used by Roggli and Green). However, the ASTM ballot to
    change the definition of asbestiform returned some negative votes that were considered
    persuasive, and the revision was rejected. Thus, the existing version in D7200-06 remains in
    effect. Under the ASTM D7200-06 method, any particle meeting the definition of a fiber, that is,
    curved, has split ends, or has any other morphology suggesting that it is a bundle of fibrils, is
    automatically assigned to a class of particles (Class 1), defined as potentially asbestiform,
    whatever its actual dimensions.

    The Harper paper describes the results of an interlaboratory study to test the ASTM D7200-06
    method. It was first necessary to obtain asbestiform and non-asbestiform amphibole mineral
    specimens. The minerals were crushed in a sequential operation using first a hydraulic press to
    create cm-sized particles. These large chunks were screened through Imm, 360µ, and 250µ
    sieves, and in each case, larger material was returned for recrushing. The screened material was


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     ground by hand in a mortar and pestle using little or no hand pressure for I -min intervals. /\frer
     each minute interval, a glass slide mount was prepared and was then inspected by polarized light
     microscopy to observe the range of particle sizes present When a sufficiently large portion of the
     particles appeared to meet acceptable size criteria (>5 µ long, <3 µ wide, aspect ratio >= 3: I), the
     material was suspended in water and allowed to settle. In addition, alternative actinolite asbestos
     and tremolite asbestos specimens were sourced from the U.K. Health and Safety Executive
     (HSE). Samples of these materials were treated in a similar fashion as the non-asbestifonn
     arnphiboles, except that the initial crush in the hydraulic press was not necessary. The cleavage
     fragments generated from the non-asbestiform amphibole specimens and the fibers generated
     from the asbestos reference materials were transferred to filters and examined under PCM and
     TEM and measured. This procedure allowed the binning into different size categories to see the
     effect of using different size criteria to differentiate asbestos from cleavage fragments. PCM and
     TEM analyses were carried out.

     Approximately 300 particles from each material were examined under PCM to detennine the
     percentage of particles meeting NIOSH rules for definition of a fiber. Approximately 300
     particles from each material were examined under TEM to determine the total size distribution.

     Table 1 of Harper et al shows the classification of crushed non-asbestiform amphibolc particles
     under several classification criteria, and Table 2 of their paper shows the same for crushed
     amphibole asbestos particles. The results are summarized in the Table below.



      Table. Results of Classification Criteria for non-asbestiform and asbestiform mineral particles.
      300 Particles counted in each cell.
      Particle Type            Percentage classified    Percentage >IO µ          Width Only
                               as Fibers by PCM         long and < I µ wide       Classification -
                               counted under            (counted by TEM)          Percentage
                               (NIOSH rules: (>5 µ                                <1 µ wide (counted
                               long,<3 ~L wide,                                   by TEM)
                               aspect ratio >= 3:1
      Tremolite (Non-          62.3%                    4.9%                      24.4%
      asbestifonn)
      Tremolite                65.3                     2.7%                      27.2%
      (asbestifom1)
     Anthophyllite (Non-       91.3                     6.8%                      50.4%
     asbestiform)
     Anthophyllite             74.3                     3.7%                     37.5%
     (asbestiform)


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    Harper anqc0He<1gt1es write thatift_h~ IIl<>rpliologic criteria for clistingt1i1>hingcleavage fragments _
    from true asbestos fibers (a length of at least 10µ and a diameter of less than 1.0µ) adopted by
    Roggli and Green are utilized, then the majority of particles of actinolite asbestos and tremolite
    asbestos would be considered as unlikely to be asbestos.

     Harper and colleagues concluded that 'On microscopic examination, the degree of overlap in
     length distributions for the asbestos fibers and for the non-asbestifonn cleavage fragments was
     unexpected. However, the size distributions appear to be relevant to airborne particles as well as
    to particles used as surrogates for airborne materials. Based on the size distributions observed
     in this study, an alternative size-selection criterion can be suggested. For crocidolite and amosite
     asbestos and for actinolite asbestos and tremolite asbestos, it has been shown that most fibers are
     likely to be <1 µ wide, but also <1 0µ long, and this is also true of actual airborne fibers. For most
     of the non-asbestiform amphiboles, the processing gave rise to particles where a proportion were
    > 10µ long but where, typically, only around 25% of particles meeting the NIOSH definition of a
     fiber were <lµ wide.' 'The current ASTM D7200, which is based on the appearance of the
    fiber, is rather subjective and may not be very use.fa/for distinguishing amphibole asbestos.'

    The ultimate conclusion of Harper and colleagues with respect to criteria for differentiating
    asbestos from cleavage fragments is based upon the following width criterion: 'A width criterion
    of <1 µ may adequately include asbestos (although, for example, missing 5% of crocidolite and
    18% of amosite) while minimizing the amount of cleavage fragments also included. It would also
    exclude any prismatic or acicular crystals > 1 µ in width. Thus, it is relatively conservative, and
    since it depends on measurement alone, it is verifiable.' The final sentence in the paper by Harper
    and colleagues is: 'However, it should be clearly recognized that a 1µ width criteria is not being
    proposed here as a dividing line between safe and unsafe.'

    Returning to the analysis of Roggli and Green, it is clear from the above that they have
    misinterpreted the work of Harper and colleagues. Roggli and Green wrote that 'It has been
    reported (by Harper and colleagues) that the best morphologic criteria for distinguishing cleavage
    fragments from true asbestos fibers is a length of at least 10µ and a diameter of less than 1.0µ.
    This distinction is important since there is no convincing evidence for the pathogenicity of
    cleavage fragments.' As seen above, however, the ASTM and Harper and colleagues rejected the
    morphologic criteria adopted by Roggli and Green, but instead adopt a width criterion of <lµ.
    They further state that 'a Iµ width criteria is not being proposed here as a dividing line between
    safe and unsafe.'

    Roggli and Green write 'It has been our impression that this distinction (between fibers and
    cleavage fragments) has little effect on the identification of amosite or crocidolite as asbestos but
    might have a considerable effect on the identification of non-commercial amphiboles, including
    tremolite, actinolite, and anthophyllite.' As described above, length differences between the
    commercial and non-commercial amphiboles are likely due, in large part, to the handling and
    milling after mining. Amosite and crocidolite were largely used in construction applications and
    were not heavily milled. Tremolite, actinolite, and anthophyllite in the United States mostly


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     occurred as contaminants of Talc and Canadian asbestos. These minerals were usually heavily
     milled for many of their commercial applications.

    Roggli and Green reported that only 1% of crocidolite fibers and none of the amosite fibers
    analyzed met the criteria of both length less than 10µ and diameter greater than 1.0µ. This might
    be compared with 69% of crocidolite fibers and 85% of the amosite fibers measured by Harper
    and colleagues. These differences might be due to the relatively small number of fibers counted
    by Roggli, the fact that he used SEM rather than TEM, and the fact that his particles were
    extracted from lung tissue, rather than coming straight from the mill. Roggli and Green reported
    that 10% percent of tremolite and 14% of actinolite fibers met the criteria of both length less than
    10µ and diameter greater than 1.0µ and thus were likely cleavage fragments. Harper and
    colleagues crushed amphibole asbestos particles and measured their dimensions. They reported
    that 97% percent of tremolite and 89% of actinolite asbestos fibers met the criteria of both length
    less than 10µ and diameter greater than 1.0µ. The conclusion of Roggli and Green that the
    particles they measured were likely cleavage fragments is thus not supported by the
    measurements reported in their primary reference.

    Roggli and Green conclude that 'Our findings demonstrate the lack of pathogenicity of fibers less
    than 10µ long or likelihood of cleavage fragments for fibers less than 1Oµ long and greater than
    1.0µ in diameter has little or no effect on the classification of commercial amphibole fibers using
    our analytical methodology. On the other hand, both lack of pathogenicity and likelihood of
    cleavage fragments apply to a significant proportion of noncommercial amphiboles identified
    using our counting scheme.' This is not true. The study of Roggli and Green was a simple fiber
    counting study with no control population. The design of such a study does not allow the
    investigator to draw any conclusions about pathogenicity, or lack thereof.

    Particle Width

    Some geologists believe that particle width is a more fundamental parameter of asbestos fibers
    than the Aspect Ratio. Dr. Ann Wylie, Professor of Geology at the University of Maryland has
    noted that, while there are differences in the distribution of aspect ratios when one looks at
    populations of asbestos fibers and nonasbestiform cleavage fragments, aspect ratio is a
    dimensionless parameter and lacks information about the size particles; it only describes shape.
    Rather than aspect ratio, Dr. Wylie stressed that "width is a much more fundamental parameter of
    asbestos fibers, and perhaps will shed some light on how we tell particles that are elongated,
    whether they are cleavage fragments, or whether they are asbestos" (Federal Register/ Vol. 57,
    No. 110 I Monday, June 8, 1992). To illustrate this point Dr. Wylie presented data, in her
    testimony to the OSHA hearings, on the widths of various populations of asbestos fibers and
    nonasbestiform cleavage fragments from both bulk and airborne data. These data showed that in
    the populations of asbestos fibers she studied, the majority of fibers had widths less than one
    micrometer. In tremolite asbestos samples, 85- 95% of the fibers had widths less than one
    micrometer and 75% had widths less than 0.5 micrometers. Wylie stated that when looking at
    these fiber populations it generally doesn't make any difference whether you look at particles


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    longer tlian [lye micrometer~, ()r. ?-llp?-rti~le~ in ?- popµlation, whenym1 look q,t width.Pr. Wylie
    acknowledged, however, that asbestos fiber bundles may have widths greater than one
    micrometer, but she added that even in these cases the majority of particles are less than one
    micrometer (Federal Register/ Vol. 57, No. 110 / Monday, June 8, 1992). A critical
    dimensional distinction between asbestiform fibers and cleavage fragments thus appears to be
    their widths. Thus, Dr. Wylie stated that her analyses of width show that about 80 percent of the
    amphibole cleavage fragments longer than five micrometers, have widths greater than one
    micron, and none have widths less than 0.25. Dr. Wylie also pointed out how the width of
    asbestos fibers will influence their aspect ratio. She states that the mean width of asbestos fibers
    is less than half a micron, and if you have five micrometer particles, you have to have an aspect
    ratio of at least 10 to 1. Moreover, she states that while low aspect ratio fibers (or fiber bundles)
    are present in asbestos populations, they are characteristic of short asbestos fibers. Since the
    mean width of asbestos fibers is less than 0.5 micrometers, the mean aspect ratio of a 5
    micrometer fiber is about 10: 1.

    Dr. R.J. Lee, a microscopist and mineralogist with R.J. Lee and Associates, also noted the
    importance of width in distinguishing asbestos fibers from nonasbestiform cleavage fragments.
    Dr. Lee testified to the following: First airborne asbestos is less than one micrometer in
    diameter, unless it's present as bundles or clusters, which exhibit the characteristic fibrillar
    structure ofasbestos, or as Dr. Wylie indicated, the hallmark of asbestos. Asbestos larger than a
    half a micron is a bundle. Second, nonasbestos particles longer than five micrometers in length
    are generally more than one micrometer in diameter, and only rarely less than half a micrometer
    in diameter. (Federal Register/ Vol. 57, No. 110 / Monday, June 8, 1992).


    Harper and colleagues, Dr. Wylie and Dr. Lee thus generally agree that the width of amphibole
    asbestos particles is less than the width of amphibole cleavage fragments (Harper et al. 2008).
    Wylie published the size distribution of a sample of crushed Swedish prismatic amphibole
    (Wylie 2016). Fifty-two precent of particles were less than 5 µ in length and these had a mean
    width (SD) of0.71 +/- 0.29 µ. Nine of the 10 particles in Compton's sample were less than 5 µ in
    length, and the mean width (SD) was 0.30 +/- 0.16 µ. The widths of these 2 samples of
    amphibole particles (one, crushed Swedish prismatic amphibole, the other crushed Italian talc
    ore) were significantly different




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     Two-sample t test with unequal variances

                          Obs              Mean        Std. Err.           Std. Dev.       [ 95% Conf. Interval]
     ---------+---------------------------------------- ----------------------------
              x I          81               . 71       . 0322222                . 29       . 6458757       . 7741243
              y I           9                 .3       .0533333                 .16        .1770131        .4229869
     ---------+---------------------------------------- ----------------------------
     combined     I        90              . 669       . 0321793           . 3052796       . 6050604       . 7329396
     ---------+---------------------------------------- ----------------------------
          dif f   I                         . 41       . O6 2 3114                          . 2 7 6 95 8    . 5 4 3 O4 2
         diff = mean(x) - mean(y)                                                   t =                      6.5799
     Ho: diff = 0                                  Satterthwaite's degrees of freedom=                      14.7102

         Ha: diff < 0                             Ha: diff != 0                                 Ha: diff > 0
      Pr(T < t)       =
                  1.0000                     Pr(ITI > ltl) = 0.0000                          Pr(T > t)     =
                                                                                                         0.0000




                                                   •   The widths of the Val Chisone particles
                                                       were essentially normally distributed




                                      ,4




                            Shapiro-Wilk W test for normal data

         Variable I             Obs                W                   V               z        Prob>z
     -------------+------------------------------------ ------------------
             Width I              9           0.92161                1.152       0.238        0.40577



     In Wylie's sample of Swedish crushed anthophyllite, 4% of particles were> 15µ in length. Their
     mean width was 2.70 +/- 1.89 µ and the minimum width was 0.72 µ. In the Compton sample, the
     anthophyllite particle> 15µ in length was 0.14 µ wide.

    Based on their length and width distribution, the anthophyllite particles measured in Italian talc
    by Dr. Compton were significantly different from the cleavage fragments obtained from crushing
    prismatic anthophyllite.




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     The topic of fibers. and cleavage fragIT1ents \Vas also addressed in a I3ureau ofMines Report in
     1977. These geologists concentrated on the Aspect Ratio distribution of a population of particles
     as the measure to distinguish fibers from cleavage fragments. Like Harper and Timbrell, they
     noted the shortening of fibers by milling.




    Dr Campbell was the Program coordinator, Particulate Mineralogy Unit, College Park Metallurgy
    Research Center, College Park, Md. The authors of the Report wrote that 'Various legislative
    actions and public concerns within the past decade have had, and will continue to have, an
    impact upon the mineral industry. As a result, control of mineral particulates is becoming
    increasingly important, with much recent attention focused on asbestifonn particulates in both air
    and water. Figure I, from an Environmental Protection Agency report, shows the widespread
    occurrence of common amphibole and serpentine minerals that, according to existing regulatory
    definitions, may be classified as asbestiform minerals




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    'With such possibly overwhelming implications to both mineral producer and mineral consumer,
    it is essential that existing ambiguities regarding silicate minerals and their asbestiform varieties
    be resolved. Until recently, adverse health effects associated with asbestos were focused on
    occupational exposure in asbestos-related industries. Now there is international concern regarding
    the effect on health from long-term low-level, or short-term high-level, exposure to mineral
    particulates by the general public. These particulates may include both the common and the
    asbestiform varieties of certain silicate minerals. In many instances, cleavage fragments of
    common amphibole minerals have been mistakenly identified as microscopic fibers of the related
    asbestiform variety. Such lack of precision in identifying these particulates is a handicap to
    scientific decision making by regulatory agencies and medical researchers. The Particulate
    Mineralogy Unit was created to work on problems such as this. The unit is to assist local, State,
    and Federal agencies in establishing precise and workable mineral definitions and to improve or
    develop methods ofparticulate identification and quantitative measurement.

    This Bureau of Mines report is intended to clarify some of the terminology used in identification
    and characterization of asbestiform minerals, and to sharpen the distinction between common rock
    minerals and their asbestiform varieties. It defines certain mineral terms related to asbestifonn
    minerals and discusses mineral-characterization techniques on a strictly mineralogical basis. The
    report then discusses the identification of silicate particulates and suggests how to apply this
    information to asbestos-related problems.'

    'Many macroscopic samples of interest to the occupational and environmental health personnel
    may contain low percentages of asbestiform minerals (for example, chrysotile in serpentine and
    tremolite asbestos in talc). As a supplement to optical microscopy, the presence or absence of

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    serpentine. or aJJ1phi}J<>le. InineraJs ca,J:J. l>i:: q~tE,rlll.iJ:J.E,d i11 I 0~t<> .l 00~lllg s11inplE,S by i11strnme11t11l..
    techniques such as X-ray diffraction, differential thermal analysis, or infrared spectrophotometry.
    In general, the sensitivity of these instrumental methods is approximately 1.0 weight-percent. It is
    important to note that these methods usually only distinguish between mineral groups; light
    optical or electron optical microscopy is required to obtain morphological characteristics
    necessary to identify varieties of the same material.

    Amphiboles in acicular habit may appear to grade into the asbestiform varieties. The characteristic
    features of this habit may still be seen by electron microscopy. Terms such as "acicular" or
    "prismatic" may still be applied when seen, but the term "asbestiform" begins to lose its
    usefulness. For example, how may flexibility be demonstrated in a 2-um bundle of fibers? As
    particle size decreases, the inability to manipulate the mineral grains restricts the use of the term
    "asbestiform" without altering the original sense of the word. High magnification necessitates
    the use of strictly dimensional terms such as size and aspect ratios to accurately describe the
    morphology of the amphiboles and serpentines.' (Emphasis by Finkelstein)

    'For the purpose of this discussion, assume that a hand specimen meeting these requirements
    is correctly identified as an asbestiform mineral. If this sample is crushed and its fragments
    examined at various magnifications, its fibrous nature would be apparent These elongated
    fragments would be termed "fibers" and "bundles of fibers," and with the other available
    information would be called asbestiform. As these asbestiform particles are examined at
    increasing magnification, smaller particles become visible, while the image of large fibers and
    fiber bundles may exceed the field of the microscope. At increasingly smaller sizes, while fibers
    or bundles of fibers are still the predominant shape, a few of the fibers are observed to have
    broken into shorter and shorter segments. These very short fiber segments are no longer
    described as fibers, but would be classified as fragments of fibers, or cleavage fragments if
    one or more cleavage planes govern their shape. Therefore, a known asbestiform sample
    would show an increase in the ratio of fiber fragments to fibers with a decrease in particle
    size.

    'If the hand specimen discussed previously does not separate into flexible fibers or bundles of
    fibers, the mineral would not be considered asbestiform. If crushed fragments of this known
    nonasbestiform mineral are examined at various magnifications, the particles would be primarily
    cleavage fragments, or irregularly broken fragments if cleavage does not govern breakage.
    However, a few elongated particles may resemble a fiber in appearance to the degree that they
    may be indistinguishable morphologically from fibers derived from an asbestiform mineral
    sample. What can be stated morphologically about particles derived from crushing a known
    nonasbestiform mineral is that most of the particles are cleavage fragments with
    nonasbestiform texture; a few are fibrous in appearance, particularly at low magnification;
    and all of the particles are known to be derived from a nonasbestiform source.'




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    ASPECT RATIO

    'Existing regulatory standards are based on counting specific mineral particulates with aspect
    ratios of 3 to 1 or greater. This report emphasizes that the aspect ratio has little mineralogical
    significance for individual particulates but is applicable to a large number ofparticles. A few
    relatively long thin particles are produced as cleavage fragments from the crushing and grinding
    of many nonasbest(form minerals. Conversely, similar milling treatment will result in a few short
    segments of true fibers from the asbestiform varieties. However, statistically, the length-to-width
    characteristics of the milled amphiboles and serpentine and their asbestiform varieties are
    sign(ficantly distinct, as shown by the data in figures 41-42. Figures 41 and 42 show the
    frequency polygons of the aspect ratio distribution for milled samples of the normal
    nonasbestifom1 variety of anthophyllite and tremolite. Note that in both examples, approximately
    70 percent of the particles have an aspect ratio ofless than 3 to 1, and 95 percent of the pm1icles
    have a length-to-width ratio of less than 10 to 1. The frequency distribution maximums of the
    aspect ratios for milled anthophyllite asbestos and tremolite asbestos are significantly higher
    than those for the normal, nonasbestiform variety. Thirty to forty percent of the asbestiform
    particulates are in the 10-to-l-or-longer class, with a significant number ofpa11icles having an
    aspect ratio greater than 20 to 1.'

    'Based on these data, one test for distinguishing the presence or absence of the asbestiform
    variety of a mineral could be an examination of the frequency distribution of the aspect ratio
    for that mineral. Assuming positive identification of the mineral type, then the designation of
    variety would be based both on particle morphology and the frequency maximum of the aspect
    ratio. Cleavage fragments will generally have a frequency maximum less than 3 to 1, whereas
    the asbestiform varieties will fall between 10 to 1 and 20 to 1 or higher, depending on the
    characteristics of the mineral and the history of the sample, particularly the type and degree of
    milling.




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                                   nthophyl l_i te




    So, to quote the US Bureau of Mines document once more:

     'Based on these data, one test for distinguishing the presence or absence of the asbestiform
    variety of a mineral could be an examination of the frequency distribution of the aspect ratio
    for that mineral. Assuming positive identification of the mineral type, then the designation of
    variety would be based both on particle morphology and the frequency maximum of the aspect
    ratio. Cleavage fragments will generally have a frequency maximum less than 3 to 1, whereas
    the asbestiform varieties will fall hetween I() to I and 20 to 1 or higher, depending on the
    characteristics of the mineral and the histo;y of the sample, particularly the type and degree of
    milling.

    Harper and colleagues also measured the distribution of Aspect Ratios in their 2008 paper.




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                                                                                     Gref. B-FI N01-000042




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   Firstly they considered crushed non-asbestiform amphibole mineral particles:


   TABLE IV.. Aspect Ratios of                                             Crushed         Non-
   Asbestiform Amphibole Particles
                                                            Percentage Fibers Under
                                                                         TEM 8 with:
   Non-
   Asbestiform    Percentage      Aspect                                            Aspect
   Amphibole Type  F1,·b· ers A Ratio >5:l                                        Ratio >10:l
   Riebeckite                             62.0                   31. l                 3.3
   Cun1n1ingtonite                        7] .3                  -c)
                                                                 ~-.)
                                                                      t.               8.6
   Grunerite                              64.7                   48.6                  5.3
   Actinolite                             58.3                   41.2                  2.9
   Tre111olite                            62.3                   53.7                  9.8
   Anthophy!litec                         91.3                   83.8                 35.0
    Percentage meeting the NIOSH 7400 method "A" counting rules definition
   11

   of a fiber out of 300 panicles observed under PCM. From Table I.
   BFor greater accuracy~ measurements were made under TEM. 300 total
   particles were measured and the number of PCM~equivalent (PCJ\.1e) fibers
   counted. Percentage is the nmnber meeting the stated classification out of the
   300 PCMe fibers measured under TEM.
   c Anthophyllite contains t-ilc, probably fibrous.

  Then they tabulated crushed asbestiform amphibole mineral particles.




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   TABLE V. Aspect Ratios of Crushed Amphibole
   Asbestos Particles
                                                   Percentage Fibers
                                                   Under TE1Vl 8 ,vith

                                Percentage Aspect    Aspect
   Asbestos                      FibersA    ratio     ratio
   Type                            (%)     >5:l (%) >10:1(%)
   Crocidolite                       77.3           99.7           94.3
   A1nosite                          59.0           98.0           66.8
   Actinolite asbestos               64.0           84.0           36.7
   Trernolite asbestos               65.3           58.l           14.8
   AnthophyHite asbestos             74.3           67.2           17.4
   A. Percentage meeting the NIOSH 7400 n1ethod "A" counting rules definition
   of a fiber out of 300 particles observed under PClvt From Table n.
   B For greater accuracy, measurements were madeunderTEM. Percentage is the
   number meeting the stated classification outoft:he 300 PCMe fibers measured
   underTEtvt




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     With these measurements in mind, the histogram below shows the distribution of the Aspect
     Ratios of the anthophyllite paiiicles in the Val Chisone sample measured by Dr. Compton.




                       Aspect Ratios of Anthophyllite Particles from Val Chi son~<:
                                                                                ,,.,,




    There are clearly particles with Aspect Ratios of 10: 1 and 20: 1 and higher, including one with an
    Aspect Ratio of 134: 1, which did not fit on the graph.

    Now Dr Compton counted only those particles with an Aspect Ratio of 5: 1 or greater. In the
    Bureau of Mines graph, 88% of cleavage particles had aspect ratios less than 5:1, as did 50% of
    asbestos fibers. Of the 12% of particles with aspect ratios >5:1, 10 of 12% (ie 83%) were in the
    Aspect Ratio range 5: 1 - 10: 1; and about 2 of 12% (ie 16%) were in the Aspect Ratio range 10: 1 -
    20:1. Of the 50% of fibers with Aspect Ratios of 5:1 or more, 27 of 50% (ie 54%) were in the
    Aspect Ratio range 5: 1 - 10: l; and about 15 of 50% (ie 30%) were in the Aspect Ratio range 10: 1
    - 20: 1. About 16% of anthophyllite fibers had Aspect Ratios of more than 20: 1. The aspect Ratio
    distributions of the Bureau of Mines cleavage fragments and fibers, and the Anthophyllite
    measurements made by Dr. Compton on the Val Chisone sample, are shown in the Table below.




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     Comparison ofAspect Ratios for Bureau of Mines Anthophyllite Cleavage Fragments, Bureau
     of Mines Anthophyllite Fibers, and the Val Chisone Anthophyllite Particles Measured By Dr
     Compton
     Aspect Ratio     Bureau of Mines Cleavage    Bureau of Mines          Val Chisone Particles
                      Fragments                   Fibers
     5:1 - 10:1       83%                         54%                      40%
     10:1 - 20:1      16%                         30%                      40%
     >20:1            1%                           16%                     20%

    The population of Val Chisone anthophyllite particles more closely resembles the Bureau of
    Mines anlhophyllite asbestos than the Bureau of Mines anthophyllite cleavage fragments and
    would support calling these amphibole particles "fibers".


    The Effect of Milling on the Particle Size Distribution

    In their 1976 paper, Rohl and Langer wrote: 'By comparing the results of optical microscopy with
    those of quantitative X-ray diffraction and electron microscopy, we observed that large numbers
    of fibers go undetected. In addition to the restraints ofresolution imposed by light microscopy,
    another major drawback relates to the strong tendency of asbestifonn minerals to cleave or break
    along planes of weakness when they are crushed, producing large numbers of small fibers. For
    example, light microscopic examination of a talc sample which contains over 7% tremolite
    demonstrates the presence of mineral fragments that are primarily not asbestiform. However,
    electron microscopic examination of the same sample demonstrates that many of the
    submicroscopic tremolite particles are fibrous. Basically, the large fibers are broken during
    milling yielding a new size distribution in the submicroscopic range. '

    The same point was made in 1982 by the British physicist, Vernon Timbrell, working at the MRC
    Pneumoconiosis Unit (Timbrell V. 1982. Deposition and retention of fibres in the human lung.
    Ann Occup Hyg 26:347-369.) Dr Timbrell wrote: 'Unlike fibre diameter fibre length is dependent
    on milling history and does not provide an identification method.' Referring to the UlCC
    anthophyllite sample he reported that the count median fibre diameter was 0.5 µ in the UICC
    reference sample of anthophyllite. The count median fibre length was 3 µ.

    The count median fibre width in Compton's Val Chisone sample was about 0.24 µ and the count
    median fibre length was about 3µ.




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    It is of interest to compare the concentration of anthophyllite in the Val Chisone Bulk Sample to
    the concentration of anthophyllite in a commercial talc product, Colgate Palmolive's Cashmere
    Bouquet, that was manufactured using talc from Val Chisone. Gordon and colleagues were hired
    by a plaintiffs law fonn to analyse samples of Cashmere Bouquet Cosmetic Talc (Gordon et al.
    2014). In the Shaker Container Test, this particular talcum powder contained approximately 0.1 %
    by weight and approximately 18 million anthophyllite asbestos fibers per gram. In the Puff
    applicator Test, this particular talcum powder contained approximately 0.05% anthophyllite
    asbestos, approximately 70 million asbestos fibers per gram. It can thus be seen that the bulk
    sample contained anthophyllite fibers in somewhat lower concentrations than the refined
    commercial products measured by Gordon and colleagues.


    The Bureau of Mines has written about the identification of cleavage fragments and fibers
    in TALC.

    Asbestos-related health regulations are having a significant impact on the domestic talc industry
     from occupational exposure at the mines and mills and at various manufacturing plants that use
    talcs in their operations. Certification that the talc does or does not contain asbestiform minerals is
    impo1tant because the occupational health requirements are much more restrictive if the talc is
    designated as containing asbestiform serpentine or amphibole minerals. Talc is both the name of a
    specific mineral and a commercial tenn for a mixture of minerals ranging from essentially 100
    percent talc to blends where the mineral talc is a minor constituent. Semiquantitative estimation of
    the serpentine and/or amphibole mineral concentration, if present, can be obtained by X-ray
    diffraction and differential thermal analysis. Several talc deposits contain a variable amount of
    tremolite. Therefore, the essential question faced by the analyst is whether or not the tremolite is
    fibrous. Figure 52 illustrates the type of particles obtained from a mixture of tremolite and platy
    talc. The cleavage fragments oftremolite are typical of the nonasbestiform variety. Better
    judgment is required of the analyst with the type of sample illustrated in figure 53. This sample
    consists of platy talc, cleavage fragments oftremolite, and minor to trace amounts of fibrous
    tremolite. For this latter sample, the 3-to-l aspect-ratio criteria would greatly overestimate the
    number of fibrous tremolite particles collected on air filters or other monitors.




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                                                         tlw Width9f tl:J.f! c:leayagf!
                                                   r Fragment




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    The Preliminary Recommendations of the Interagency Working Group on Asbestos in
    Consumer Products (IWGACP) (January 6, 2020)

    In the fall of 2018, the United States Food and Drug Administration (US FDA) formed the
    Interagency Working Group on Asbestos in Consumer Products (IWGACP), with representatives
    from eight federal agencies (Food and Drug Administration (FDA), National Institutes for
    Occupational Safety and Health (NIOSH), National Institute of Health (NIH)/ National Institute of
    Environmental Health Sciences (NIEHS), Occupational Safety and Health Administration
    (OSHA), Environmental Protection Agency (EPA), Consumer Product Safety Commission
    (CPSC), the National Institute of Standards & Technology (NIST), and the Department of
    Interior's U.S. Geological Survey (USGS). The participating federal agencies have expertise in
    asbestos-testing and/or asbestos-related issues (e.g., from a health perspective), or because they
    regulate some of the consumer products that contain talc as an ingredient), to support the
    development of standardized testing methods for asbestos and other mineral particles of health
    concern in talc that could potentially affect consumer product safety. The IWGACP was formed in
    response to reports of the presence of asbestos in talc-containing cosmetic products, with talc
    being the presumptive source of asbestos.

    'The health hazards associated with asbestos are well documented. There is general agreement
    among US federal agencies, most developed nations, and the World Health Organization (WHO)
    that there is no known safe level of asbestos exposure. Concern about the purity of talc used as
    a raw material was heightened in the early 1970s when numerous cosmetic products tested
    positive for asbestos. However, at that time the development of asbestos testing methods was
    still in its infancy. In 1976, the cosmetics industry implemented voluntary asbestos testing of
    talc raw materials using the Cosmetic, Toiletry, and Fragrance Association (CTFA) J4-1
    method. Talc suppliers to the pharmaceutical industry use a similar method to certify that
    talc meets the United States Pharmacopeia's (USP's) requirement for "Absence of
    Asbestos." To date, both methods rely on the use of X-ray diffraction (XRD) or infrared
    (IR) spectroscopy followed by polarized light microscopy (PLM) only if XRD or IR is
    positive for amphibole or serpentine minerals in talc. The CTFA J4-1 and USP methods
    remain standard test methods despite long-recognized shortcomings in specificity and
    sensitivity compared with electron microscopy-based methods.

    In 2010, FDA asked the USP to consider revising the current tests for asbestos in talc to ensure
    adequate specificity, and in 2014 the Talc USP expert panel recommended an update of the Talc
    USP monograph to require an electron microscopy method for the measurement of asbestos in
    talc. Recent reports from testing of cosmetic products indicate that because of shortcomings in
    sensitivity, light microscopy (polarized light microscopy; PLM) sometimes fails to detect
    finely-sized particles of asbestos and similar minerals even when they are present in talc.
    Moreover, modern laboratories with expertise in asbestos testing, when asked to test
    talc-containing consumer products, routinely perform electron microscopy and do not rely solely
    on PLM. These findings provide support to recommendations from many scientific experts,



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                                                                                     Gref. B-FI N01-000049




                                               JA255
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    including tlwse on this Worl<i1:1g Group, thattransmissio1:1 electron microscopy (TEM) should be
    used for asbestos-testing of talc, even if the findings of PLM are negative.

    Asbestos regulations and standard methods for analysis contain a wide variety of "counting rules"
    designating how to quantify asbestos in occupational or environmental settings using various
    microscopic methods. Rules were tailored to simplify counting, to improve statistical analysis,
    and to provide a threshold for mitigating risk when asbestos is known to be present. To date,
    counting rules have not specifically considered biological activity, overt toxicity, or epidemiology
    of the kinds of chrysotile and amphibole particles being detected and counted. That is, all mineral
    particles meeting specified criteria for mineral type and dimensions are expected to be reported
    and counted.

    Importantly, testing methods pertaining to asbestos in articles of commerce were developed for
    analyzing "bulk materials" containing at least 1% asbestos as an intentional ingredient by weight
    or in settings where asbestos was known to be present (e.g. mines, mills, factories, schools, and
    other settings). Published methods for analysis of bulk materials were not intended to determine
    the presence of asbestos in products at less than 1 % concentration. In contrast, the likely amount
    present when asbestos is a contaminant or impurity in talc or talc-containing consumer products
    might be orders of magnitude below 1%.

    The difficulty of identifying and quantifying individual asbestos or other mineral particles present
    at low concentrations in talc is compounded by the presence of non-asbestiform analogs with the
    same elemental composition and crystal structure, but different growth habit. Using TEM,
    differentiation of chrysotile from non-asbestiform serpentine analogs is relatively straightforward;
    however, each of the non-asbestiform amphiboles can disaggregate into particles resembling
    asbestiform fibers, giving rise to disputes between laboratories over whether elongate amphibole
    particles are truly asbestos, or are particles resulting from attrition of larger particles of a
    non-asbestiform analog. Because both types of elongate minerals are suspected of having
    biological activity with similar pathological outcomes, the distinction is irrelevant. Lack of
    consensus concerning what should be called "asbestos" has persisted since the first reports
    indicating that asbestos might be present in talc used in cosmetics and has inhibited thorough
    toxicological and epidemiological investigations of disease attributable to talc that contains
    asbestos.

    In light of this lack of consensus, the IWGACP considered applicable published asbestos test
    methods and other published documents in developing recommendations for terminology,
    analytical techniques, and criteria for qualitative and quantitative measurement of asbestos
    in talc and talc-containing consumer products. Based on its review, the IWGACP agrees
    with the recommendations and rationale provided in the peer reviewed NIOSH Bulletin
    6210 regarding adopting the term "elongate mineral particle" or "EMP" that is defined as
    "any mineral particle with a minimum aspect ratio [i.e., length: width ratio] of 3:1."




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                                                                                        Gref.B-FIN01-000050




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    Countable EMPs have an aspect ratio (AR) of>3:1 and a length of> 0.5 µmusing the most
    inclusive criteria for length and AR from among the "asbestos" counting rules in established
    testing protocols. The specified minimum length of 0.5 µm is consistent with the counting
    rules for fibers established by the global standard for TEM sampling and analysis, ISO
    10312:2019 and is supported by studies that indicate asbestos particles and EMPs of these
    dimensions could pose a health concern.'




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                                                                                Gref. B-FI N01-000051




                                            JA257
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             A3: Vermont Talc

             Johns on & Johns on used Verm ont talc for their Baby
                                                                                 Powd er and Show er to Show er products.

             The Mine Safet y and Health Admi nistra tion samp
                                                               led workers for asbestos exposure at Luzcn ac's
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 Type of Mine:                  Facility
 Location:                      Windsor county , VT
 State:                         VT




             Asbestos fibers were detected in perso nal samp ling
                                                                              of mill employees.

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     There is evidence from Johnson and Johnson documents that Vermont ores were contaminated
     with tremolite, in amounts less than 1%. This is comparable to the tremolitic contamination of the
     chrysotile ores mined to the north of Vennont in Quebec.

     The concentrations were low, and scientists eventually realized that concentration techniques
     were required to enable reliable detection of the tremolite contamination.

     Dr. Alice Blount wrote: 'Unfortunately, asbestos and amphiboles cannot be
    measured using currently developed methods to the level of 0.1% in
    the presence of talc. Some investigators have suggested that
    tremolite can be measured to that level by X-ray diffraction. But
    others have shown that the peak intensities vary between nonfibrous
    and fibrous tremolite so that the 0.1% level of detection and
    measurement is doubtful except in cases where the sample has been
    spiked so that the exact nature of the tremoli te is known. For
    anthophyllite there is little argument about the fact that detection
    cannot be made to 0.1% .However, the main problem with using X-ray
    diffraction for detection of amphibole minerals is that it gives
    no information about the shape of the particles, and shape is
    important in view of the uncertainity in the outcome of the
    asbestos regulation pertaining to nonfibrous amphiboles.' She went
    on to describe a heavy-liquid concentration method for tremolite and concluded:

    'Finally, even in those cases where one may wish to use the standard 100 FOV
    count, the centrifuge method offers a way to screen samples between those times
    when a more lengthy count is made, and it permits a double check of values so
    determined. In addition, the tendency to bring down a disproportional number of
    larger particles has the advantage that with true asbestiform amphiboles one
    generally sees some particles showing bundles offibrils which removes any
    doubt about the nature of the amphibole.




                                                 Page -53-



                                                                                      Gref. B-F IN01-000053




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     Finkelstein: Minor amounts of tremolite and actinolite means below 1%.



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     Finkelstein: The Vermont ore used for Johnson's Baby Powder contained
     trace amounts (<1 %) of fibrous tremolite and actinolite.

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                                                                                                  JA261
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            Memo {1973) : Re Pooley analysis and use of concentration techniques, which
            are 'much more sensitive'. Shows traces of tremolite.

                                                                                       June 4, 197 J




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            Finkelstein: Vermont talc shows traces oftremolite by concentration technique.




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                                                                                           Gref. B-FI NO 1-000056




                                                    JA262
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                                                                              New Brunswick, N.J.
                                                                               May 16, 1973
  Subject: •.




             Dr. F.· R. Rolle




             I am going to England Fr~day, May 25.   I have been asked to
             bring along our proposed specs for analyzing talc for '.'asbestos, 11

             Please get; me copies of all reports, correspondence, etc., that
             are pertinent, plus a cover memo outlining our recommendations.

             England is considering method of preconcentrating the asbestos
             so as to be able to analyze by X-ray.     They find no "asbestos''
             by doing this with Italian talc.. They· find {Pooley) O. 05% of ·a
             tremolite-type in Vermont.



    Finkelstein: Using a concentration technique, Pooley finds 0.05% of tremolite asbestos in
    Vermont talc.




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                                                                                 Gref.B-FIN01-000057




                                            JA263
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     Memo (1992) concerning Cyprus Tak Deposits in Vermont




                                  INTEROFFICE CORRESPONDENCE
                                                   I                   .                   •    •

                                                             LOS ANGELES

   TO                     SEE DISTRIBUTION                                                     DATE      March 25, 1992

   ATIENTION                                                                                   L.A. FILE

   FROM                   R. C. MUNRO                                                          YOUR FILE

   SUBJECT                                                                                     ·COPIES TO.
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                       CYPRUS ORE RESERVES - ARSENIC & TREMOLITE
                              Excerpts from Cyprus Talc Reserve Report by· R.C; M~nro


   Geology & Environment
   There are some important environmental issues related to the geology and
   mineralogy of the Cyprus talc deposits, particularly in Vermont.

        Trsmolito

       The other serious mineralogical contaminant in the talc erel! of Vermont is the
       fibrous variety of the amphibole minerals, tremolite and actinolite (hydrous calcium
       :ron-magnesium. silicates) vvh~ch have been classified. as .. as.bestifor.-:-,1- a1hlerais by
       OSHA and· EPA," OSHA was expected to de-classify non;fibrous·(blockyl tremolite •
     • on Februc1ry 29, but has not as yet announced their decision. .                              •

        As a result, all tremolite, the fibrous varieties of all arrtpt.liboles and chrysotile •
        asbestos in talc ores are a source of great concern to all talc producers and
        especially ,to marketers o.f cosmetic products.                      •

        Cyprus claims that there are no fibres in their cosmetic talc products and they work •            This 1992
        rigorously to ensure this. However; a recent paper published by Rutgers University
        worker, AUce Blount, suggests the presence of fibre in several cosmetic talcs, some
                                                                                                        memo refers to
        of which migl]t have been from Cyprus West Wi.nqsor material, which is a source.                the work of Alice
        of great concer.n to Cyprus management and potentially to their principal customer,
        Johnson & Johni,on. Talc de Ll,izenac personnel are well aware of the situation and             Blount
        Phillipe Moreau is currentl•(quietly working to Identify the reality and the magnitude
        of. the problem. •                  •


                                                              Page -58-



                                                                                                           Gref.B-FIN01-000058




                                                            JA264
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     Blount (Blount 1991) identified asbestiform tremolite in Johnson Baby Powder using a tremolite
     concentration technique (see further on in my report).


     The Cyprus geologist saw tremolite in the deposits.

       Vermont talcs ar.e .defived ·fr~m .altered serpentine - a natural host ·for asbestiform
       minerals. There· is certainly visible tremolite and actinolite in specific zones of the
       Vermont deposits - fibr:ous tremolite was identified by the writer in exposures and
       cores at the East Argonaut and Black Bear mines. Cyprus.· staff report past
       trernolite from the t,lammondsvjle and Clifton dep<>sits.

       Tremolite in thes·e deposits 1s e·ncountered in the contact zones between the talc
       and th!i, surrounding schist: 'in "grey talcs" in. the vicinity of the contacts; and
       associated with the chlorite/amphibole waste zones Within the talc ores that ar.e
       locally termed "cinders" .. Cyprus maintains a selective mining program In Vermont
       that is directed toward exclusion of all of the·se poter-1tially fibre-bearing zones from
       the ores· sent to the mills, and those suspect tonnages,. including the associated
       talc, are ·left in the pit walls. o~ sent to waste piles.




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                                                                                                   Gref. B-FI N01-000059




                                                        JA265
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    McC rone Analysis of Verm ont Ore 1975




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                                                                                     -STAlE CHEMISTRY




                                                              5 November 1975

       Mr. Ver non Zei tz
       Windsor Min eral s Company
       P. O·. Box 680
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    Tab le 1 follows on th e next pa ge . Note that "HC" designation is for ore for cosmetic
    production.




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                                                                                      Gref.B-FIN01-000060




                                               JA266
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     - -. -                                    Table l


                                                                                        SED1ME_NT
                                                         Fibers of            Fines   Number
    Sample Number               Date                     Asbestos             PPM     of Fibers       PPM
          ,..:.'···




     D-HC
     D-Gl
                      7/22/74
                      7/15
                                  - 7/29
                                    7/26/74                                             2
                                                                                        0
                                                                                                      0.2
                                                                                                      0.0
     F-HC             9/13              9/7                                             0             o.o
     H-W'J'.          9/Hi              9/23
     [-WI             9/23             9/28                                             0.            0.0
     P-OI             10/M        - 11/1                                               ·i{~nwh.       0.4
    Q-HC
     U~HC
                      11/4
                      12/2
                                  --11/8
                                       12/6
     U.-OI            12/2        -    12/6                    0              o.o       0             0.0
     V-WI             12/9        -    12/20                   0              o.o       0             o.o
     V-HC             12/g        -    12/13                   0              o.o       0             o.o
     V-GI             12/9        -    ]2/16                   2 a:ruph.      0.3
     W-HC             lZ/16       - 12/20                      0              o.o        0            o.o
     W-GI             12/16       - 12/20                      ()             o.o       0             o.o
     X-HC             12/26       - 12/28                  _2 ampb.           0.2       0             0.0
     Y-HC             12/SO             J/3/75                 0              o.o       0             0.0
     Y-GI             12/30             1/6/75                 0              o.o       0             o.o
     Z-Hc              1/6/75           1/10/75                9.amph.        ?..O      .aaixr,p,h.   0.4
                                                                                         0 ......
     Z-GI              1/6              1/13                   0              o.o                     o.o
     Al-HC            1/13             1/17                '
                                                               0       ,','
                                                                              o.o
     Bl-HC            2/24        -    2/28               ns .i'impn.i        1.s       0             o.o
     Bl-WI             2/24            3/7                     0              o.o
     Bl-GI             2/24            3/3                     0              o.o
     Cl ... HC         3/3             3/7                     0              o.o       0             o.o
     Cl-GI            3/3              3/10                    B amph;        1.5
     D1-HC            3/lO        -    3/14                    0              o.o       0             0.0
     Dl-WI            3/10             3/14                    0              o.o
     Dl-GI            3/10        - 3/21
                                    3/17                       0              0.0       0             0.0
     El-HC            3/17        -                            a amph.        0,2
     El-WI            3/14             3/21                    0              (l. D     :JLa:mpb.     0.2
     El-GI            3/17             3/24                    0              o.o       '.J<?:mph.    0.1
     Fl-HC            3/24             3/:W               •:t-Oampli~         2.0
     Fl-WI            3/24             3/29                  i amph.          0.1        0            o.o
                                                               1 antigotiteo.1
     Gl-HC            3/31             4/4                     0              o.o       0             o.o
     Gl-WI
     ffl-HC
                      3/31
                      4/7
                                  - 4/4
                                    4/11
                                                               ~JlffU\>h.
                                                               0
                                                                              0.1
                                                                              o.o
     Hl-WI            4/7         - 4/11                       0              o.o       0             0.0

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                                                                                      Gref. B-FI N01-000061




                                               JA267
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     D: McCrone Analysis of Cyprus Windsor
       This plant processed Vermont talc




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     Finkelstein: The Vermont ore milled at Cyprus Windsor contained anthophyllite asbestos.
     The anthophyllite fiber observed was 20 microns in length with an aspect ratio of 13.3.




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                                                                               Gref. B-FIN01-000062




                                            JA268
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     E: Measurement's by the Rutgers University Geologist Alice Blount (Blount, 1991)

     El: Letter from Alice Blount April 23, 1998


    "Although my papers report an improved method for analysis, the determinations for the sample labeled I
    (Johnson & Johnson's Vennont talc) have been done by the traditional methods as well (see Table 2, page 567 in
    the 1990 paper). As I told you, I believe that Johnson & Johnson's Vermont talc contains trace amounts of
    asbestos which are well below those specified by OSHA. It should be noted that the proposed FDA regulation.
    which was never finalized, also specified the same 0.1 % limit for amphibole asbestos as OSHA."




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                                                                                              Gref. B-FI N01-000063




                                                   JA269
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                                                 Alice M. Blount. Ph.D.
                                                             Mineralogil.i


                                                                                                      April 23, 1998

             M. Raymond Hatcher
             MEHAFFY & WEBER                                                       RECEIVED
             2615 Cillder Avenue
             P.O. Box 16
             Beaumont, Texas 77704
                                                                          MEHArrY & waER
            Dear Mt. Ha1chet:
                                                                             !!EAl.lMONT, TEXAS

                According 10 your h,ner of MMCh 31. I ?98, l have writu.ln and cn,:10$l::d a report on the
            occunem:e, regulation Md up-lQ•date sciernlfic:view of asbestos, amphlbotes and "inlennediate"
            fibers. J have also endoscd copies of my ! 990 and l 99 l papers,. QIIC <1 f whkh l am sure that yoti
            almtdy have. The 1991 p.rpc-r was Written because I became aware th111 it wQ a common opln.ion
            among i11th)rtrinl h)•g:len1$1:., thtil .indll$!:tial talcs were beuer lhttn pru1rmaeeut!eal and cosmeiic
            uiles because there was a reiulation for the former and not for the laner. I knew thlll this was not
            the cMe llnd YlllilU-:d to set 1he record Strnigh1.

               Although my papers report an improved method for analysi.s, !ht: determinations for the
            sample labeled l (Johnsi)n & Joh.nS()l! 's Vermont talc) have been done by the uaditional methods
            as wdl ($ee Table 2, page S67 in the 1990 paper}. As I told you, l believe lhnt Johnsoo .&
            Johnson's Verm,om lak contains irac~ arnoutus of <1Sbestos which an: well below those specified
            by OSt-1 A. II slioukl be noteo that the proposed FDA regulation. wmch was never fmalized, also
            specified lhe same 0.1¾ limit for arnphibolc asbestos as OSHA.

              1 m;,y be away fut short periods d.ll'i~ the contiug weeks, bul 1 do cl.wk fur mes~s 011 niy
            work phone 111 \he number you have been using,




            Alioe M. Blount, Ph.D.




                                                                  &:»: },1)7
                                                          fll.lllanl.l. VT OS70l
                                                       !'hone, 002~747•"1357



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                                                                                                            Gref. B-FI N01-000064




                                                         JA270
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                    Tobie 1. Counts of regulatory fibers in processed talcs.
                        Counts.
           Sam~le     Earticleslm&      SD     Particle shapes          Particles/FOVa
             A              38          25     Cleavages                     3/lOO
             B              NDb                                              0/20
             C              ND                                               0/20
              D           <2511                Cleavages                     0/20
              E             ND                                               0/20
              F             ND                                               0/20
              G             ND                                               0/20
              H              17          17  Cleavages and                   2/20
                                               needles
               I           226           59. Needles and fibers              1712ft
                           283          100 Needles and fibers                8/20
                           291          ·9g  Needles and fibers               9/20
                           341          108 Needles and fibers               l0/20
                           102           51  Needles and fibers               3/20
               J            25           14  Cleavages                        l/20
                            27          27 Cleavages                          3/20
              K             25           25 Cleavages                         1/20
              L           <l<f                 Needles                       0/20
              M·            39          21     Cleavag~ and                   4/20
                                                 fibers
              N             25          17     Prismatic pieces               3/20
              0             ND                                                0/20
            aFOV, fields of view.
            bND., none detected.                   /
            cNo particles seen during a 20 FOV count, but some particles could be sten
          during a random scan of the filter. Value shown is tlie lower limit of d~tection.
            dLarge sample used for this analysis (305 mg).




    Johnson Baby Powder was analyzed in 100 microscopic fields, in 5 groups. The counts ranged
    from 102-341 particles/mg, averaging 250 particles/mg. Blount wrote that 'The FDA has equated
    0.1 % with 1000 particles per milligram.' 250 particles/mg is thus equivalent to 0.025%. This might
    be compared with Millette's finding ofTremolite in the Canadian chrysotile from Black Lake,
    Quebec at a weight percent level of 0.0094%. As will be seen below, Longo measured 445,000
    tremolite fibers per gram in a 1993 sample of Johnson's Baby Powder. The FDA has equated 0.1 %
    with 1000 particles per milligram.' 450,000 fibers / gm= 450 particles/mg is thus equivalent to
    0.045%.


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                                                                                         Gref.B-FIN01-000065




                                                JA271
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 FIGURE 5. Particle of amphibole in centrifuged sample/. Width of view 0.07
    mm and 1.584 refractive index liquid. Particle is on a membrane filter.



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                                                               Gref. B-FI NO 1-000066




                                    JA272
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                                                                                     ;,o



                                                                                     60


                                                                                    50
                                                      Tak l
                                   -   -   - - -      fra,ollt.,   a.t,,,,k,o




                                                                                    30


                                                                                   20




     Fmu~ 6. :i,,..,,,m.unpbillcmt in each aspect llllio &IOl>p li>Tlalc 1181i1plo l (ldl) i!tJd M(rlglll} ~ Wilh!Iltllk'lli~ 1absitos(7}sDCI tmnolnt~ibml)
       (7).




                                                                                               Figure 6 shows distribution of aspect
                                                                                               ratios for asbestiform (left) versus
                                                                                               non-asbestiform tremolite.


                                                                                               As a reminder, here is the figure from
                                                                                               the Bureau of Mines.


                                                                                               The similarity ofBlount's analysis of
                                                                                               the Aspect Ratios of Talc I to the
                                                                                               Bureau of Mines Aspect Ratio
                                                                                               distribution for tremolite asbestos is
                                                                                               striking.




                                                                                                                                                          I




                                                                                                                                    Gref. B-FI N01-000067




                                                                         JA273
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    Summary concerningyermontOre: The MSHA me?st1red.asllestos in persllnal sampling 9{
    Luzcnac mill workers. Pooley and Blount detected fibrous tremolite using concentration
    techniques. Without using a concentration technique, Mccrone reported amphibole fibers in
    Vermont ore.


    Comparison with the Detection of Tremolite in Canadian Chrysotiie Asbestos


    Millette conducted an analysis for tremolite as a contaminant of Quebec chrysotile (Millette et al.
    2009). Millette wrote 'The analysis for low levels of amphibole fibers in chrysotile-containing
    samples requires that samples be prepared in a way that concentrates the amphibole fibers so
    they may be detected among the more voluminous chrysotilefibers. * For example, a sample in
    which tremolite is present at the 0.0 I% level in the overall sample where chrysotile is nearly 100%,
    there will be over I 0,000 chrysotile fibers for every tremolite fiber. Eliminating the chrysotile
    fibers \Vil! result in tJ1e concentration and detection of very small a1nounts of ticmolitc.' This is the
    same problem faced by analysts examining talc for the presence oftremolite. Millette used an acid
    digestion technique to eliminate the chrysotile; Pooley and Blount used tremolite concentration
    methods.


    The Canadian chrysotile asbestos sample was collected from a bag of asbestos labeled "SR-4
    Asbestos, Black Lake, Quebec, Canada." Tremolite was found in the Canadian chrysotile from
    Black Lake, Quebec at a weight percent level of0.0094%. The single fiber analytical sensitivity
    was 0.0000003%. No amphibole fibers were found in the laboratory blank. Pooley (above) found
    0.05% tremolite asbestos in the Vermont sample.


    * Finkelstein: The analogous situation with talc concerns detection of the amphibole fibers among
    the more voluminous talc particles and fibers.




                                                Example of TEM micrograph of a talc sample.




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                                                                                          Gref. B-FIN01-000068




                                                  JA274
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    F. Recent Analyses of Bulk Samples from the Argonaut Mine


    1. Investigation of Vermont Talc Samples for Asbestos: MV A 12588 April 23/18


    Dr. Stephen Compton analyzed samples from the Argonaut Mine collected by Dr. Mickey Gunter.


    "This report presents the results of an investigation of fifteen talc/mineral samples for asbestos.
    The fifteen samples were initially collected by Mickey Gunter from the Argonaut mine in Vermont.
    The samples were transfen-ed to R.J. Lee Group (RJLG) before they were received onsite at the
    RJLG facility by Matthew Underwood ofMVA. It was requested that we investigate the bulk
    mineral samples for the presence of asbestos fibers. The analyses of the fifteen mineral samples
    were perforn1ed during the period of30 March to 20 April 2018."


    Dr. Compton's Methodology
    After visual examination and labeling with an MVA sample number, each sample received was
    photographed using a Nikon D60 DSLR camera (Figures 1 through 15). Mineral particulate was
    extracted from powdered samples (AD0534 and AD0535) directly via a stainless steel laboratory
    spatula. Mineral particulate was extracted from aggregate samples (AD0536 through AD0548)
    using a new stainless steel razor blade to shave representative particulate from each aggregate. A
    representative portion of each sample was weighed, suspended in filtered deioniser water, and a
    known aliquot was extracted and filtered through a 0.4 micrometer pore size membrane filter. Each
    filter was dried and grids prepared following standard direct preparation procedures for analysis by
    transmission electron microscopy (TEM). The grids were examined using a Philips EM 420 TEM
    equipped with a Thenn Scientific Noran System 7 energy dispersive spectroscopy (EDS) x-ray
    analysis system capable of selected area electron diffraction (SAED).


   Talc fibers were not counted, but were discounted after confirming their identity by elemental
   composition and observation of a pseudohexagonal diffraction pattern, consistent with the reported
   literature. Anthophyllite, tremolite, and actinolite fibers were designated as such based on their
   elemental composition and linear repeating diffraction patterns. When possible, a zone axis pattern
   was indexed to confirm the mineral identity for anthophyllite. For each prepared sample, a
   laboratory blank sample was prepared following all of the same procedures except for the addition
   of test material. The TEM results for asbestos are given in terms of percent by weight and
   structures per gram.


   Results and Discussion
   "During the TEM examination, numerous platy and fibrous talc particles were observed. In
   addition to talc, several samples contained one or more fibers of anthophyllite. One sample,


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                                                                                       Gref.B-FIN01-000069




                                                JA275
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    AD0548, also ~011tai11ed a great numbl;lr of tremolite ancl ac:tinolite fibers.Jn five sampks, no.
    asbestos was detected. Analytical sensitivities for these five samples range from approximately 5 to
    7 million fibers per gram. Additional material may be analyzed for increased sensitivity, if
    desired."


    Conciusions
    "Amphibole fibers were detected in ten of the fifteen samples analyzed for this report. Aside from
    the talc itself, the primary fibrous contaminants in the sample set are anthophyllite and, in one
    sample, tremolite/actinolite. The asbestos content of samples found to contain amphibole fibers
    range from approximately 1.2 to 2,600 million fibers per gram. After estimating the mass of the
    fibers, this corresponds to a quantity ranging from 0.00009% to 4.5% by weight.


    Fiber release studies of consumer talc products within this range documented elevated
    concentrations of airborne asbestos fibers during use of those products. It is expected that
    aerosolization of these samples or any powder consumer product containing these samples as a
    constituent ingredient would likewise result in elevated concentrations of airborne asbestos fibers."




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                                                                                        Gref. B-FIN01-000070




                                                JA276
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              Table 1. Summary of TEM Bulk Sample Analytical Results

    MVA                                                    TEM Analysis Results
   Sample      Client Sample ID/Description         Fibers        %Wt        [Million Fibers
     ID                                            Confirmed    Asbestos       Per Gram}
              USA VT Argonaut BB
   AD0534                                              2         0.0124          15.3
              (From Buzon)
              USA VT Argonaut Underflow
   ,l\O0535                                            1         0.00077          1.35
              (From Buzon)
              USA VT Argonaut LG
   AD0536                                              1         0.00009          1.16
              {From Buzon)
              USA VT Argonaut XST
   AD0537
              (From Buzon)
                                                     NAO         (3x10-7 )       (4.64)
              USA VT Argonaut R
   AD0538                                              3         0 ..0040        3.80
              (From Buzon)
              USA VT Argonaut G
   AD0539                                              3         0.0001          3.96
              (From Buzon)
              USA VT Argonaut HG
   AD0540                                              1         0.00002         6.07
              (From Buzon)
   AD0541     USA VT Argonaut Serp                     2         0.00023         12.0

   AD0542     USA VT Argonaut CRX                    NAO         (4x10-7 )      (5.03)

   AD0543     USA VT Argonaut Drill                  NAO         (5x10-7)       (7.34)

              USA VT Argonaut
   AD0544                                              1        0.00028          1.46
              (Talc Bench Rust)
   AD0545     USA VT Argonaut BW                     NAO         (5x10-7 )      (7.27)

   AD0546     USA VT Argonaut MG                     NAO         (4x1 o·7)      (4.82)
              USA VT Argonaut
   AD0547                                              3         0.00046         4.38
              (Talc Bench Gray)
   AD0548     USA VT Argonaut Amp                    104          4.46          2,585

        NAO - No Asbestos (Structures) Detected (Analytical Sensitivity)


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                                                                      Gref. B-FI N01-000071




                                      JA277
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    The Tables of the report present the clime11sions of the fibers counted by Dr Compton.


Table 2. Fibers Detected During Examination of Bulk Sample AD0534

                        Length       \Nidth
            Str. #                                Aspect Ratio                 Type
                         µm           µm
               1          15.1        0.67               23              Anthophyllite
              2           1.7         0.14               12              Anthophyllite


Table 3. Fibers Detected During Examination of Bulk Sample AD0535

                        Length       Width
           Str. #                                 Aspect Ratio                 Type
                          µm          µm
              1           7.3        0.58                 13             Anthophyllite


Table 4. Fibers Detected During Examination of Bulk Sample AD0536

                        Length Width
           Str. #                                 Aspect Ratio                 Type
                         µm     µm
              1           4.6         0.26               18              Anthophyllite



Table 5. Fibers Detected During Examination of Bulk Sample AD0538

                        Length Width
           Str. #                                  Aspect Ratio                   Type
                         µm     µm
              1           4.2          0.38                 11              Anthophyllite
              2           10.4         1.11                  9              Anthophyllite
              3           1.2          0.14                  9              Anthophyllite

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                                                                                      Gref. B-FI N01-000072



                                               JA278
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       Table 6. Fibers Detected During Examination of Bulk Sample AD0539
                                                            -··--- ·········--·····- .... ···-··-··--··-··
                         Length   Width
                Str. #                       Aspect Ratio               Type
                          um       um
                  1       4.4     0.14            31        Anthophyl lite
                  2       4.2     0.19            22        Anthophyl lite
                  3       5.0     0.14            36        Anthophyllite


       Table 7. Fibers Detected During Examination of Bulk Sample AD0540

                         Length   Width
                Str. #                      Aspect Ratio               Type
                          um       um
                  1       1.31    0.10            13        Anthophyllite




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                                                                                                    Gref.B-FIN01-000073




                                        JA279
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      Table 8. Fibers Detected During Examination of Bulk Sample AD 0541

                              Length           Width
                    Str. #                             Aspect Ratio       Type
                                  um            um
                      1           2.0          0.14         14        Anthophyllite
                      2           2.2          0.24          9        Anthophyiiite


      Table 9. Fibers Detected During Examination of Bulk Sample AD0544

                              Length           Width
                    Str. #                             Aspect Ratio       Type
                               µm               µm
                      1          14.3          0.24         60        Anthophyllite


     Table 10. Fibers Detected During Examination of Bulk Sample AD0547

                              Length Width
                    Str. #                             Aspect Ratio       Type
                                   um           um
                      1                11.6    0.29         40        Anthophyllit~
                      2                  4.1
                             ·-·-·········
                                               0.14         29        Anthophyllite_
             •-·-
                      3                  5.1   0.24         21        Anthophyllite




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                                                                                       Gref.B-FIN01-000074



                                                       JA280
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      Table 11. Fibers Detected During Examination of Bulk sample AD0548

                        Length Width
               Str. #                    Aspact Ratio       Type
                         um      um
                 1       2.2    0 ..10       22          Tremoll.te
                 2       1.6    O.W           6          TremoHte
                 3       1.5    0.24          6          Tremolite
                 4       2.0    0.24          8          Tremonte
                 5       :u     0.10         21          Tremolite
                 6       1.5    0.24          6          Tremome
                 7       2.5    0.34          7          Tremolite
                 a.      2.6    0.29          9          Tremolite
                9        1.3    0.05         26          Tremolite
                10       1.0    0.05         w           Tremoute
                11       2.3    0.14         16          Tremolite
                12       1.5    0.29          5          Tremolite
                13       1.3    0.24          5          Tremolite
                14       4.0    0.24         17          Tremolite
                15       1-4    0.19          l          Adino!i!e
                16       2.5    0.24         10          Tramonte
                17       2.5    0.48         5           Tremollte
                18       1.5    0.24         6           Tremolite
                19       1.5    0.10         15          Tremolite
                20       2.1    0.34         6           Tremollte
                21       1.3    0.05         26          Tremoltte
                22       3.7    0.29         13          Tremollte
                23       1.4    0.10         14         Anthonhvflite
                24       2.2    0.24          9          Tremolite
                25       1.7    0.14         12          Tremolite
                26       1.2    0;10         12          Tremolite
                27       4.1    0.19         22          TremoHte
                28       1. 1   0.10         11          Tremoltte
                29       2.7    0.10         27          Actinolite
                30       6.6    1.01          7          Tremottte
                31       2.5    o.:w          9          Tremolite
                32       1.8    0.19          9          Tremollte
                33       1.9    0.19         10          Actinoltte
                34       2.0    0.38          5          Tfemollte
                35       1.4    (l.05        28          Tremolite
                36       2.6    0.19         14          Tremollte
                37       rn     0.19         rn          Tremoute
                38       2.5    0.34          7          Tremollte
                39       1.3    0.24          5          Tremoltte
                40       u      0.10         11          Tremollte




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                                                                           Gref.B-FIN01-000075




                                                   JA281
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      Table 11 (cont'd). Fibers Detectec! During Examinatron of BUik S::1n

                              Length \~i,dth
                    StL #                           Aspect Ratio               Type
                                um      um
                     41        2.6     0.34              8                Tremolite
                     42         1.9    0.19             10                Actino!ite
                      M
                     •-½,,)     1.6    '.]-_;!_~~        6                TfeffHJi\<.e
                     44        2.5     0.3S              7                TremoH:e
                     45        1.4     024               6                TremolHe
                     46        279     U5               21                Tremolite
                     47        4.4     OA3              10                Tremolite
                     48        2,0     0.29              7                Tremo!ite
                     4tl       2.1     0.10             21                Tramoilte
                     so        0,5     0 10              5                Tremoli'.e
                     51        J,4     OJ!:/             7                Adinoiite
                     52        1.3     {U4               g                Tremolite
                     ~,,
                     o,.,      3.4     038               9                Tremolite
                     54        24]     4.33              6                Tremon:e
                     55        2.1     024               g                Act!nolite
                     56        1.4     024               6                Tremo!te
                     57        u       i:UO              11               Tremolite
                     58        'I.O    0.10             10                Tremo!ite
                     59        3.4     0.48              7                Adino!ite
                                                        7r,
                     130       2.8     OiO              :,...,{)          Tritt!mlite
                     61        0.9     O.W               9                Tremoii,e
                     62        2.8     0312,             7                Tremaine
                     63        0.9     {U4               6                Tremollte
                     64        'f.O    (U9               5                Trernolite
                     65         l.2    0.:24             5                Tremolite
                     66        1.5     0.24              6                Tremollie
                     67        3.6     0.58              6                Tremoli,e
                     AH        4.4     O.B7               5               Aclinolite
                     69        0.9     !U4               6                Tremollte
                     70        33.7    2.21             15                Tremo!ite
                     71        rn      0.19              5                Tremolite
                     n         7.8     Ut                 7               Tremolite
                     73        0.9     \'.U4             6                Tremolite · -
                     74        i.il    {tiO              1D               Tremollte
                     75        0,8     0.14              6                Actlnolite
                     76        1.3     <UO              13                Tremolite
                     Tl        1.3     0.24             5                 Tremollte
                     78        8,3     0.9t              9                Tremollte
                  - 79         1.3     OJ7               s                Actlnolite
                    ;:w        1.4     (UO              14                Tremolite




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                                                                                          Gref B-FIN01-000076




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      Table 11 (com·c1). Fibers Detected During Examination of Bulk Sample AD0548

                           Length   Width
                  Str. #                    Aspect Ratlo           Type
                            um       um
                   81       0.7     0.10        7              Tremolite
                   82       1.4     0,14        10             Tremolite
                   83       1.2     0.14         9             Tremolite
                   84       1.0     0.19         5             Actinolite
                   85       9.1     '1.39        7             Tremolite
                   86       1.4     0.24         6             Actiooflte
                   87       1:.5    0.24         6             Tmmolite
                   88       0,6     0.10         6             Trem.oftte
                   89       3.5     0.19        18             Tremolite
                   90       8.7     1.49         6             Trem.oate
                   ft!      8.3     1.01:        8             Tremolite
                   92       2.5     0.29         9             Tremollte
                   93       l.3     0.14         9            Tremolite
                   94       0,8     0.14         6            Tremolite
                   95       2.6     0.43         6            Trernolite
                   96       3.9-    0.24        1:6            Acllnolite
                   97       2.0     0.24        8             Tremolite
                   98       Ul      0.14        1:3,          Tremolite
                    99      0.1     0.10         7            Tremolite
                   100      1.4     0.14        to            Actinoflte
                   101      3.5     0.58        6             Tremolite
                   102      u       {L10        11            Tremolite
                   103      2.3     0.19        12            Tremoffle
                   104      1.8     0.19        9             Tmmolh




    Figure 16, below, shows representative images of the anthophyllite fibers and bundles detected by
    Dr Compton.




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                                                                                    Gref.B-FIN01-000077




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          figure 16. TEM images of representative anthophyltite fibers and bundles detected
                        during examination of the Vermont talc sample set



     As shown on the next page, the wider particles were often identified as bundles.




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                                                                                              Gref. B-FIN01-000078




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                                                MVA SCIENTIFIC CONSULTANTS
                                                      Sulk S;a;mpleeAm11ysi5 Sl">Mt
        MVA Proj~_lc..2...fiei?...c..._ _ __     AMOUnt Co!lt!otad(;g): !Hl43ll6g        AnJilyst: _ _"_!R_U_ _ _ _ _ __
        MVA Sampk:#_A_D_0_54_7_ _ __               GridO~{mn>.2}:.E:fil_                                          4l1W2018
          C!ier.l l.D.: 3148'113                     Filler Area {mn".2): 1256
          fnstrumlITll: Philips EM420                        Filler Type:!:£._        Comments: 5ml a!guoi C03G1S
        Ma9n!l'1Caticn: ...2""0.._,00
                                  .....
                                      0 _ _ __      OpenlnQs Analyzed:~                  Meihod: !SO 10312           X
        Aoo. Vo!lage:_1_00_k_V_ _ __                  Level of Analysils: ~ (C)               or ASTM Dfr2ii! _ _ _ __
                                                      level oi Analysi1>: "220. (A)
                                                       ~l!!U!l"fglll"7vi'iiiiir
        Q.1(1  ~ M ?!1i'(l31V             TOI.ii! am     ........  f«lll    iClnl   comm~              ii/ml       f\Jml
         Ml      C3-3     N$0
                 ;;4.3    NSO
                 F5-1     NSO
                 86-1       1         1        AZZQ        B        24.1     0.00        M!hooh>Aliit<        'll.6   0.29
                 H5-e     NSD
                 K4-3     NSO
                 H3-6     NSD
                 G2-3     NSD
                 F3-3     NSD
                 e2•<l    NSD
         B5      84-f}    NSD
                 C3-3     NSD
                 E«       NSO
                 F5-6      2         2         "2.Q        F        a.e      Q.3(1                     fit'   4.1     0.14
                00-6      NSO
                H5-t      NSD
                K4-3      NSD
                H3-4      NSD
                 02-3     NSD
                 F3-1     NSD
                            ~~ E- n ana-...addilionaf 20 Ga's on 4111ll1S            =
         A5     K!i,-1    NSD
                H4-4      NSD
                05-6       3         s         At)Q        a        tu       0.00        l,n,l,,,nh,,lfft.,   IU      1l24
                F4-3      NSD




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      .The chartbelow shows the distribution.oflengths andwidths of the anthophyllite particles.




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                                                                                    Gref. B-FIN01-000080




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           and, the distribution of Aspect Ratios.




           and, finally, the relation between width and Aspect Ratio.




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                                                                        Gref. B-FI N01-000081



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    We see .thaJ . both byJforper's, Wylie' s,.andLee's size .criteria, and those . ofthe Bureau of Mines,
    these anthophyllite pmticles would be classified as asbestos.


    Analyses of the Vermont Ore Samples by the RJ Lee Group.


    These samples were also analysed by the RJ Lee Group (Project Number: LLH802394). They
    reported that they detected no asbestiform amphiboles.
    "RJ Lee Group (RJLG) has completed our analysis of the fifteen (15) samples collected by
    Professor Mickey Gunter from the Argonaut Mine. No asbestos was observed in any of the talc
    samples. In two non-talc samples composed of primarily serpentine group minerals a trace quantity
    of chrysotile was observed by TEM. No asbestiform amphiboles were observed in any sample.
    Non-asbestifonn tremolite-actinolite amphibole was the primary component of sample 3149114
    which is also not a talc sample."


    "A portion of each sample was first examined then ground into a powder. The remainder of the
    samples were then sealed and placed in storage. The samples were examined using three analytical
    procedures, X-ray powder diffraction (XRD), polarized light microscopy (PLM), and transmission
    electron microscopy (TEM)."


    "Finally, TEM was conducted in accordance with the EPA Level III protocol (Method for the
    Measurement of Airborne Asbestos by Electron Microscopy, Contract No. 68-02-3266) and the
    analytical portions of ASTM D5756 (Standard Test Method for Microvacuum Sampling and
    Indirect Analysis of Dust by Transmission Electron Microscopy for Asbestos Mass Loading)."


    Analytical Results
    The XRD scans are summarized in Table 1 and the individual scans with results are attached in the
    XRD Analytical Report in Appendix B. Four samples contained serpentine group minerals and
    subsequent PLM analyses determined the serpentine to be consistent with lizardite/antigorite. Two
    of these samples represent ore grade material (3149100 and 3149101). The final two samples were
    serpentinite (non-talc ore) and contained trace quantities of chrysotile by TEM.


    "The PLM results are summarized in Table 2 as well as the attached analytical report with bench
    sheets (Appendix C). Table 3 provides the optical properties of the observed non-asbestiform
    amphibole identified as actinolite by optical properties. Four samples contained serpentine group
    minerals, these are 3149100, 3149101, 3149107, and 3149109. In each sample massive serpentine
    was observed by PLM. Images of the serpentine in these samples are provided in Figure 2. Sample
    3149114 contained non-asbestiform amphibole with some talc replacement of the original
    amphibole phase. Select grains were also mounted and the optical properties were measured using


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       spindle stage techniques. Images of mounted grains are shown in Figure 3 illustrating the
       non-asbestiform nature of these amphiboles. Figure 4 is a grain mount overview of sample
       3149114, note the presence of talc fiber as replacement of the original nonasbestifonn amphibole.
       None of the ore or talc samples contained any chrysotile or amphibole minerals."



       3) Luzenac Analyses of the Argonaut Mine


       Analysts at Luzenac America analyzed samples of waste rock from the Argonaut Mine and
       reported fibrous tremolite.



Request:

A sample of fibrous material from the waste rock on the west side of the south end of the Argonaut mine was
submitted to the Technical Center for identification. The waste rock was being considered for road paving
applications.


Results:

The fibrous material is tremolite.

The material was first examined by polarizing light microscopy, using the dispersion staining technique.
Tremolite was preliminarily identified by this method.
      From:      Julie Pier
                 Analytical and Technical Support
      Copy:      J, M. Godla
                 S.S. Mauney
                 R. J. Zazenski

      Subject:       ANALYSIS OF FIBROUS MATERIAL FROM ARGONAUT
                                     WASTE ROCK




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Request:

A sample of fibrous material from the waste rock on the west side of the south end of the Argonaut mine was
submitted to the Technical Center for identification. The waste rock was being considered for road paving
applications.


Results:

The fibrous material is tremolite.

The material was first examined by polarizing light microscopy, using the dispersion staining technique.
Tremolite was preliminarily identified by this method.


Subsequent ana!ysis by scanning oloctron microscopy (SErv1) and transmission election microscopy (TEivi)
confirmed the tremolite identification. SEM micrographs and chemical analysis by energy dispersive X-ray
spectroscopy (EDS) are included in Plate 1.


  ANALYSIS OF FIBROUS MATERIAL                       Plate 1           LUZENAC AMERICA TECHNICAL CENTER
  FROM ARGONAUT WASTE ROCK                                                                              23-May-02
  Project No. A01709                                                                                     J.W. Pier
                                                                                   SEMIMAGE
                                                                                   Fibrous material found in
                                                                                   Argonaut waste rock identified as
                                                                                   tremolite. The material clearly
                                                                                   has an extremely high aspect
                                                                                   ratio.




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      Finkelstein Conclusions About Arnphibole Contamination of the Source Mines


      Amphibole particles have been found in ores from Italian and Vermont mines.


      The MSHA measured asbestos in personal sampling ofLuzenac Vermont mill workers. Pooley
      and Blount detected fibrous tremolite using concentration techniques. Without using a
      concentration technique, Mccrone reported amphibole fibers in Vermont ore. Compton detected
      amphibole fibers in ten of the fifteen samples analysed for his report. Aside from the talc itself, the
      primary fibrous contaminants in the sample set are anthophyllite and, in one sample,
      tremolite/actinolite. The RJ Lee Group identified no fibrous amphiboles in samples of the same
      ores analysed by Compton. Analysts at Luzenac America analysed samples of waste rock from the
      Argonaut Mine and reported fibrous tremolite.


      The RJ Lee group used a method for the evaluation of asbestos in airborne samples. As Yamate
      wrote:




APPLICATION TO•NONAIRBORNE SOlJRCES

(      Although the methodology has been develope.d for airborne asbestos, other-·1
; type$ of samples from different sources can be analyzed if the samples are       V~ ·.
ifinely divided and placed with proper loading and uniform distribution either.:_j~
~n _a_ polyca_rbonate membrane filter or on a carbon-coated EM grid. Of course,
the limitations of the collection and preparation steps must be known and ..                                    ~
accounted for to prevent inaccuracies in comparing results.                                                     ••




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    ORDER OF ANALYSIS                                                                                                                                  ·.,:

     : · . The .order of analysis is (l) field blanks, (2) laboratory blanks (if
    needed), and ( 3) field samples.                                                                                                                ···,: •

        COLLECTION MID REPORTING                                    ..

       The counting rule, "minimum 100 fibrous structures per known area
• (complete grid opening) or 10 grid openings, whichever is first," is a minimum
  rule for cost limitation. For very low asbestos presence, or for asbestos
  contaminati~n studies, where particulate loading is high and asbestos presence
  very low, counting 20 grid openings from each of 2 grids (10 per grid) is
  recommended .
. ·--
.,.,.
                'J'hp,    1=:M m.::10-.,..,if;l'l~t'inn   f~rf'nr   ic   ,to'ru 'hirrh n,..   ~,,,..,,..,.a.,.~~,..,.   t-h"'   .'!S,,..n"11   -~
        deposi~-         e;~mi~=d-i;-:;;;·· s;;ii:· The;;f~r~: ~1 ;h~u;h.. th; ";i;~t;~~ :;_~;o;~opist _1
                                                                                     6

        may report a zero count, the no tat ion "Below Detectable Level" is more appro- __ j
        priate in the sample report. Along the same lines, the electron microscopist

            The RJ Lee group counted 10 or 25 grid openings.
            Note Yamate's comment: Below Detection Limit more appropriate than a zero count.

        '(°7)        's':ince asbestos fibers are found isolateir as.. well as· with'
                     each other or with other particles in varying arrange-
                     ments, the fibrous particulates are characterized as
                     asbestos structures:                                  ,"
                     Fiber (F) is a particle with an aspect ratio of 3:1 or
                     greater, with substantially parallel sides.
                         Bundle (B) is a particulate composed of fibers in a
                     parallel arrangement, with each fiber closer than the
                     diameter of one fiber.
                     Cluster (Cl) is a particulate with fibers in a random
                     arrangement such that all fibers are intermixed and no
                     single fiber is isolated from the group.

            Compton measured fibers and bundles.


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                                                                                                                        Gref. 8-F!N01-000086




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    1. The MSHA measured asbestos in personal sampling of Luzenac Vennont mill workers.


    2. Pooley and Blount detected fibrous tremolite using concentration techniques.


    3. Without using a concentration technique, McCrone reported amphibole fibers in Vermont ore.


    4. Compton detected amphibole fibers in ten of the fifteen samples analysed for his report. Aside
    from the talc itself, the primary fibrous contaminants in the sample set are anthophyllite and, in one
    sample, tremolite/actinolite.


    5. Luzenac analysts identified fibrous tremolite in Argonaut rock.


    6. The RJ Lee Group identified no fibrous amphiboles in samples of the same ores analyzed by
    Compton and Luzenac analysts.


    RJ Lee is thus an outlier. I am unable to account for the discrepancies among the analysts.




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                                                                                        Gref.B-FIN01-000087




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    III: .Studies of Asbestos Content q[Consumer.Takum Products


    1. (Rohl and Langer: in Dusts and Diseases 1979)


    Consumer Talcums and Po,•tders


    'In a paper published in 1976, we reported a mineral and chemical characterization of20 consumer
    talcums and powders obtained in New York city during the period 1971-1975 (Rohl et al., 1976).
    Where known, all were formulated prior to 1973. Of the twenty products, 10 contained either
    tremolite or anthophyllite or both. The proportions, determined by step-scan x-ray diffraction
    ranged from 0.1 % to over 14%, by weight. No attempt was made to distinguish proportions of
    fibrous and non-fibrous morphological phases, although every sample contained fiber. Two
    contained detectable ammmts of r.hrysotilP.. ThP. prP.sP.nrP. ofth"'""' mini>rnk in fihnm" form'"'"'
    verified by electron beam techniques.




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                                                                                       Gref. 8-FI NO 1-000088



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                1FIGURE 2. Eleelrotl pltolomicrograph of amphibo!& fiben, in cosmetic t"1cum powder. x52,000
                :mllQllifi~alioo.




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    2. The Study of Consumer Talcum and Powders by Robl,Langer and Colleagues (1976)


    J Toxicol Environ Health. 1976 Nov;2(2):255-84.
    Consumer talcums and powders: mineral and chemical characterization.
    Rohl AN, Langer AM, SelikoffIJ, Tordini A, Klimentidis R, Bowes DR, Skinner DL.
    Abstract


    Representative consumer talcums and powders, including 20 body powders, baby powders, facial
    talcums, and also one pharmaceutical talc, were analyzed to determine their mineralogical and
    chemical composition. Where known, all were formulated prior to 1973. Of the 20 products 10
    contained detectable amounts oftremolite and anthophyllite, principally asbestifonn, while some
    also contained fragmented forms of these minerals. The amounts ranged from tenths of a percent to
    over 14% by weight; two contained detectabie amounts of chrysotiie asbestos fiber. Eight
    contained quartz, seven ranging from 2 to 5%, with one as high as 35%. The analyses showed that
    the consumer products examined were rarely the pure mineral talc, but rather were mixtures of
    various minerals; some samples consisted of three to five minerals, only one of which was talc.
    Other common mineral phases included chlorite, platy serpentine, pyrophyllitem mica, and
    carbonate minerals. Kaolin additive was identified in two products. The single pharmaceutical talc
    examined contained only a trace amount of quartz. The chemical composition of these products,
    including both major oxide and trace element content, correlated with their mineral components.
    Four samples contained substantial concentrations of nickel, cobalt, and chromium, suggesting
    latice substitution or the presence of trace mineral phases. Geological provenance of the talcs may
    be ascertained on the basis of chemistry. Possible adverse health effects from intermittent use of
    these products, especially those that contain asbestiform and fragmented anthophyllite and
    tremolite, chrysotile, quartz, and trace metals, are presently unknown and warrant evaluation.



    A. Methodology and Results of Mineral and Chemical Characterization


    The analytical techniques employed for mineral identification and quantification included optical
    microscopy, transmission electron microscopy with selected area electron diffraction, X-ray
    diffraction, and scanning electron microscopy with X-ray analysis capabilities.


    Al. Optical Microscopy


    Optical microscopy is a conventional technique for the identification of minerals and for the study
    of mineral relationships. A microscope equipped with bright field illumination and polarized light
    optics was used to analyze the cosmetic powders. Approximately 0.5 mg of powder was placed on


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    a precleaned glass slide and immersed in index oils of known refractive indices. These were
    checked on a refractometer. The information obtained on particles with this method included most
    of the measurable optical prope1ties, including indices of refraction, extinction angles of fibers,
    general morphology, and size characteristics of mineral phases. In coarse-grained powders, fibers
    could be identified {tremolite, anthophyllite, talc). Two samples contained cornstarch, easily
    recognized by morphological and optical characteristics. One product consisted entirely of
    cornstarch.


    In most samples, however, the powders were too fine grained, with particle dimensions
    significantly less than 1.0 µm, for the technique to be useful. The limiting factor for determination
    of optical constants, and hence for identification of particles, is the resolving power of the
    microscope. The presence of talc fibers, which may have indices ofrefraction similar to amphibole
    (tremolite, anthophyllite) fibers, also confounds analysis. Therefore, although this technique is an
    excellent diagnostic instrument in some instances these restrictions limited its usefulness. Optical
    microscopy while it works well on pure samples of fairly massive fiber length from 3 to 5 microns,
    our observations by transmission electron microscopy have shown that naturally occurring
    asbestifmm minerals often lie below the working resolution capabilities of the light microscope
    and furthermore while massive fiber bundles can often be observed by either light or electron
    microscopy the observation of individual fibers smaller than 0.5 by 0.2 micrometers often will
    require the high resolution capability of the transmission electron microscope


    By comparing the results of optical microscopy with those of quantitative X-ray diffraction and
    electron microscopy, we observed that large numbers offibers go undetected. In addition to the
    restraints of resolution imposed by light microscopy, another major drawback relates to the strong
    tendency of asbestiform minerals to cleave or break along planes of weakness when they are
    crushed, producing large numbers of small fibers. For example, light microscopic examination of a
    talc sample which contains over 7% tremolite demonstrates the presence of mineral fragments that
    are primarily not asbestiform. However, electron microscopic examination of the same sample
    demonstrates that many of the submicroscopic tremolite particles are fibrous. Basically, the large
    fibers are broken during milling yielding a new size distribution in the submicroscopic range.




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              C




              F'lGUKt: l. Tr.insmls:~lon cJettrof1 tnitrog.raphs showing f,mg,c k~ rno,qH101uei:h.-.:il (:JUrJ:cted-stk'.i of
              ~u,beshfor'tn trtm.-oHt-c and anihophyHite t-n tak, 'the enrir¢ rtu11,.t ?;f rn1)tpnolo~ico1! v.ariatiQf'I$
              ~t•s.1:1rvttt for thtsie mimir.-tl~ I$ obstfYCd in tIJ-: J~bes101- MamLH1h: :et-tilint;,u- m-.H>:1~ .,.,.ilh p.;i.-.:tUet
              t.m..l). .:.nd edges fA}; .SktH.;.!~,ii.;Jgt emh (B}; ,.H,ii: Hbrlls p-rotruJin:,t. t(,)r,, filn.?f lx)dy, IC); (.urvi:Hnr:ar·
              (H>tJi   w41h arnphlbt,/1,;; 1...k,.iv..ige -tnd   (-0); hi,;li li:ngv1•lO·widlh rv.tio libi.:r::; (£); fibtrs \H( __a1>1.H11'1'tl, fr9m
              iru~non- of f;fllc plate,. (f-). AH of thC<;t>  rnorphotogic:;d vui;-uirm~ .1nd fOrm.~ {A-L{ t:,n"': txtcm
              ,t~~,dbth:I in anthophyWte ~tHJ trernoUtt: ..t~~bitUos. klmple~, The, ,mtph ➔ tJ,;::,le '1,ftt,CH..tr-O WJ'S t::onfir'If\td
              ln aH C.!'!>es hy ~~htct~d ,Me'i:t JJt~c.uon difh,urtiof'J c:haraGtni~.-ttfon, s,-:1ic ~1-,.., mukecl. Mi~rqg,r.:tph'->
              obt·PifNd on a J [0-L jEM 12D U with ~-m aci,;-cforiliins ·toh;a_g.;;; •H l 20 kV.




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    A2. X-ray Diffraction


    The application of X-ray diffraction analysis in step-scan mode for quantitative determination of
    asbestos in talc has been described in detail (Rohl and Langer, 1974), including the selection of talc
    and asbestos reference materials, the preparation of standard dilutions of asbestos minerals in talc
    to ensure sensitivity and reproducibility, the selection of characteristic X-ray reflections to be
    scanned, and instmmental technique.


    A3. Electron Microscopy and Electron Diffraction


    The transmission electron microscope has been shown to possess the sensitivity required for fiber
    identification and for detennination of particle size distribution of submicroscopic particles.
    Accordingly, aliquots of talcum samples were prepared for electron microscopic analysis by a
    technique that disperses pa1iicles in a drop of nitrocellulose solution on a glass slide. A second
    glass slide is placed on the first and the two are drawn lightly apart, leaving a film. This technique
    is intended to minimize the alteration of particle size distribution. The film is mounted on electron
    microscope grids and scanned at magnifications ofX20,000.


    Morphologically, amphibole minerals are generally quite dissimilar from other silicate minerals.
    Both anthophyllite and tremolite are rectilinear, often with amphibole-type step cleavage or,
    infrequently, with prismatic terminations. Tremolite fibers tend to be electron dense and shorter
    than anthophyllite, while the latter has a tendency to be electron translucent and to show diffraction
    contrast figures. Electron microscopy, in combination with selected area diffraction was used to
    verify the presence of amphibole in the 10 samples shown to be positive by X-ray diffraction.
    Electron microscopy, while not quantitative, also showed that amphibole fibers were present in
    relative amounts that corresponded to their percentages as shown by X-ray diffraction.
    The presence of traces of chrysotile, rather than platy serpentine, in samples 12 and 15 was verified
    by electron microscopy. By comparison with known dilution levels of chrysotile in talc observed
    by electron microscopy, the levels of contamination of chrysotile in the two samples correspond to
    about 0.25-0.5% chrysotile, which was suggested by the X-ray diffraction results. The chrysotile
    fibers were all shorter than 2 µm and the diameters less than 0.2 µm, explaining why they were not
    visible by optical microscopy.


    A4. DISCUSSION AND CONCLUSIONS by Rohl, Langer, and Colleagues


   Talc used in the United States represents a wide range of mineralogical substances. Industrial grade
   talcs are obtained from different rock types of highly variable mineral composition with the result
   that the mineral talc may actually be a minor constituent. However, it has been stated that


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    consumer talcum products should contain at least 90% of the mineralof the same name and no
    asbestos fiber. Review of the literalure suggests that at least until i 968, materiais that were
    marketed as cosmetic talcum products did not necessarily conform to these criteria.


    Talc mineral may occur in a platy form or in a fibrous form. Talc fiber may occur as a small
    proportion of the minerai desposit or as a major constituent. Tntcrgrowths of taic with other mmeral
    phases are common. These phases may be simply macroscopic zones adjoining talc mineral or may
    occur as microscopic intergrowths within the talc. Of the many minerals that may coexist with talc,
    a number of asbestiform phases commonly occur: tremolite, anthophyllite, and chrysotile have
    been identified in these deposits.


    Methodology has been developed for quantitative X-ray diffraction determination of anthophyllite,
    tremolite, serpentine, and quartz in consumer talcums and powders. Important factors in the
    calibration standard development include selection of talc aml reference minerals and the selection
    of diagnostic X-ray reflections. The sample preparation technique is sensitive and reproducible.
    Dilution standmds are step scanned over di21gnoslic reflection areas, peak areas are measured, and a
    set of standard calibration curves is developed by regression analysis. Samples of consumer
    talcums and powders are prepared and analyzed under identical conditions and compared with the
    calibration curves, permitting quantitative analysis of these minerals. X-ray diffraction alone
    cannot distinguish between asbestiform andfragmented forms of anthophyllite and tremolite nor
    between asbestiform and platy serpentine varieties. Electron microscopic analysis was used to
    distinguish between these forms.


   Mineralogical characterization o/21 consumer talcums and powders showed that 10 contained
   measurable concentrations o/asbestiform tremolite and anthophyllite, and some also contained
   fragmented forms of these minerals. Two samples contained trace quantities of chrysotile
   (0.25-0.5%). These observations were confirmed by transmission electron microscopy. The
   amphibole phases present in these talcum products ranged in amounts from several tenths of a
   percent to over 14% by weight.


    Examination of the same consumer talcum products by both optical and transmission electron
    microscopy indicates that not all of the materials fall within the definition of fiber or asbestiform.
    For example, one consumer talcum product that contained more than 7% trcmolite was observed to
    contain both fragmented tremolite grains by optical microscopy and asbestifonn fiber with 3: 1 or
    greater length-to-width ratio by transmission electron microscopy. Optical microscopy may provide
    useful information. However, more complete characterization can be obtained by electron
    microscopy and selected area electron diffraction. Using electron microscopy, for example, several
    samples of consumer talcum products exhibited both free amphibole fiber, discrete from talc
    grains, and, in addition, numerous small amphibole fibers were visible, apparently inter-layered
    between talc or chlorite plates. Preliminary examimition of the asbestiform amphiboles by an


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                                                                                        Gref B-FIN01-000094




                                                 JA300
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         electron microprobe technique has demonstrated that individual fiber chemistry is identical to those
         fibers encountered in the IARC Asbestos Standards.


         On the basis of the mineralogical and chemical characterization of these products, all formulated
         prior to June 1973, we conclude that cosmetic grade talc was not used exclusively. The presence in
         these products of asbestiform anthophyllite and tremolite, chrysotile, and quartz indicates the need
         for a regulatory standard for cosmetic talc. This standard should be cognizant of talc complexities,
         mineralogical and chemical in nature, and should provide for adequate analytical protocols to
         ensure monitoring. We also recommend that evaluation be made to detennine possible health
         hazards associated with the use of these products.


         Rohl and Langer did not identify asbestos in Johnson's Baby Powder. It should be noted that they
         first screened their samples with XRD before undertaking electron microscopic analysis. The limit
         of detection for XRD is 0.1 % contamination.


         Rohl and Langer reported asbestos contamination of Mennen Shave Talc and English Leather After
         Shave Talc. They did not detect asbestos in Mennen Bath Talc.




Th.e Ne.w York Times Wednesday March 10, 1976


   Asbestos· FOUlld                  zt•                                                                                           1:- ....~.       ♦
                                                                                                                                                                                                                                  .....


     ·1n.·.ten~ POWderS
                     ,o.   '    -,               A   iJo   M   •   1W'   :           'IP             ...                                                f    ·"'•           ...




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                                                     -                                         ...   ~     •                                    .                   •'
   ,4,                                                                                     •                   •   ..              "                                        ~-      ~,    •   ~   •   ~-         ,,,.        ..

             ..   ....     ,.    •                   .,.                     ...••         • - Ii\                             '            •           ..                      ,        ..                ...          ..

 - .-Ten:~ out .9f 19 qodJ . -4 baby powder, ·.tested at
 • .Mobnt sbtil HQiJ)ital heie ivere corttamma~ ~-asbestos·
 ~is .. ti,a1,1e of ·ehstng~ :a· nm •• or chest amt .
   abdominai amcer,
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           '",.     -·researchers
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                                                               Gref.B-FIN01-000096




                                   JA302
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      In 1976, Johnson and Johnson submitted over the counter talc samples to Dr Fred Pooley, the
      English analyst, for testing.


      J&J-0086512
      JNJNL61_000069017




                                                                         -
   Dr. P. Finkelstein
   J..'r. A. J. Goudie  -
   Dr. G. Hildick-Smith
   Hr. G, Lee               9'ofu,ittn,, +e\.1HOlt
   Dr. W. Mashed
   Dr. D. Petterson
   Dr. B. Semple
   Dr. J. Schelz to Ms. R. Gallagher                                             Hew Brunswick, H.J.
   J;)r. T. H. Shelley                                                            May 4~ 1976
      Subject:

                   Talc Advisory Group

                  I have ju.st received and passed onto Mr. G. Lee, a 20
                  page report enticled ''Report of t.he Examination of
                  American Consumer Talc Satnples 11 by our prolific con-
                  sultant Dr. F. D. Pooley. This report provides detailed
                  quantitative analysis by x-ray diffraction, TEM/SAD and
                  bulk chemistxy (Prof. Bowes) of the five OTC ~ale samples
                  that were mentioned by Langer in the Washington Post. A
                  summary of this report is as follo~s:


      Tremolite was present in 12% by weight. Dr Pooley identified these tremolite particles as fibrous.



                  From an exanu.nation of the traces, six of th$ saaples
             appear to contain amphibole type material: these are
             samples Nos. 1, 8, 11, 16, 21 and 24. There ia no indic-
             ation from the scans to suggest amphibole material in any
             of the other specimens.              The six samples l.i st.ed above
             have also been examined using the analytical electron
             microscope 11nd in Samples Nos, l, 11, 16, 21 and 24, the
             atnpbibo1e type detected w-as anthophyllite.                    sample No. 8
             is a rather pec:ulia.r semple which contains very minor
             quantities of talc and has yet to be fully investigated.



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                                                                                      Gref. 8-F INO 1-000097



                                               JA303
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     J&J-0086513
     JNJNL61_000069018




     Dr Pooley identified amphibole, which he identified as anthophyllite, in:


     Sample 1: Cashmere Bouquet Body Powder (Yellow Can)


     Dr. Pooley thus found Cashmere Bouquet, sourced from the Italian mines, to contain 4% fibrous
     anthophyllite by weight.




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                                                                                   Gref.B-FIN01-000098




                                                JA304
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    APPENDIX A: DEFINITIONS OF TERMS USED by Rohl, Langer, and Colleagues


    ASBESTOS:


    Asbestos implies current or possible exploitation, based on the presence of special physical and
    chemical properties, detennined on the bulk sample level. For example, high fiber tensile strength,
    flexibility, low heat conductivity, high electrical resistance, and chemical inertness are properties
    of asbestos. Noncommercial varieties of the same mineral may not possess the same qualities on
    the bulk level.


    Amosite may be considered as an aggregate ofunoriented, discrete, grunerite crystals with only the
    c axis in common alignment. Comminution of such aggregates produces fibers with characteristics
    identical to those of single crystals of grunerite that have been similarly pulverized. Some workers
    have suggested that mechanical size reduction of amosite yields fibers with crystal growth surfaces
    rather than cleavage surfaces. Since amphibole cleavage tends to parallel prominent crystal face
    planes, such distinctions on the submicroscopic level may disappear. This appears to be the case
    for tremolite and anthophyllite as well. However, because no methods exist to distinguish between
    possible differences in fiber surface, we do not refer to anthophyllite and tremolite fibers in these
    talcums as asbestos. Instead they are referred to as asbestiform. It should be stressed, however, that
    evidence does not exist that would indicate that fibers with crystal growth surfaces or cleavage
    surfaces possess lesser or greater biological potential than fibers from commercial asbestos
    deposits.



    Asbestiform "Formed like or resembling asbestos; fibrous; .... (Bureau of Mines, 1968). The term
    is used herein for amphiboles (anthophyllite and tremolite) seen on both light and submicroscopic
    examination, which resemble comminuted asbestos varieties, on the basis of morphology.
    Essentially, when these fibers are derived from commercial deposits we term them "asbestos" and
    when analytically identical fibers are found as noncommercial intrusions with the mineral talc, we
    term them "asbestiform." The use of two tenns does not imply differences that can be analytically
    determined.


    Fiber "The smallest single strand of asbestos or other fibrous materials" (Bureau of Mines, 1968).
    We use this term in a broader sense. For example, chrysotile fibers are called fibrils, possessing
    unit diameters of about 200-400 A. Coherent bundles of fibrils are also called fibers. Fiber in the
    present text is used to denote any elongated single mineral unit visible on the light or electron
    microscopic level. The Occupational Safety and Health Administration has applied a 3: I
    length-to-width ratio to distinguish fiber from mineral fragment.



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                                                                                         Gref. 8-FI N01-000099




                                                 JA305
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     Ill: Studies of Asbestos Content of Consumer Talcum Products


     Measurement of Italian Talcs

     1. Paoletti and colleagues measured tremolite fibers in Italian cosmetic talcs (Paoletti L,
     Caiazza S, Donelli G, Pocchiari F. Evaluation by electron microscopy techniques of asbestos
     contamination in industrial, cosmetic, and pharmaceutical talcs. Regul Toxicol Pharmacol.
     1984;4:222-235.)

                                                 TABLE 9
      PERCENTAGE OF FIBROUS PARTICLES AND OF AsBESTOS FIBERS IN SoME CosMETIC TALCS


       % Fibers in        % Fibers > 5 µm         % Asbestos fibers      % Asbestos fibers      Variety
      the particulate     in the particulate      versus tot.al fibers   in the particulate    of asbestos

A        6.1 ± 0.9            1.6 ± 0.5                   <;2                  <0.1
B       21.6 ± 1.6            5.0 ± 0.9                    <2                   <0.4
C       11.l ± t.l            3.2 ± 0.6                    <2                   <0.2
D        4.9 ± 0.5            0.7 ± 0.2                 32 ± 4.7             1.6 ± 0.3         Tremolite
E       I0.3 ± 0.7            3.2 ± 0.4                    <2                   <0.2
F        5.1 ± 0.6            1.8 ± 0.4                 10 ± 3               0.5 ± 0.2          Tremolite



     2. Ilgren reported finding tremolite in a historic sample of Italian Cosmetic Talc (Ilgren, I et
     al. Analysis of an Authentic Historical Italian Cosmetic Talc Sample - Further Evidence for
     the Lack of Cancer Risk. Environment and Pollution; Vol. 6, No. 2; 2017)


     He reported 3.7 million fibers per gram of talc.




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                                                                                         Gref.B-FIN01-000100




                                                 JA306
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                                                   Table 1. Results of Analysis of Talc Sample



                                                                                                                                   '
                                                                                                                     Numerical
                                                                                                                   Concentration        Weight
                                     lnltlal                               Area       Mean     Number     Number         of             Percent
                                    Weight   Dispersal       Volume        of        Grid        of         of       Tremollte         Tremollte
              Sample                   of     Volume         Filtered   Analytical Opening   Grid        Tremolile     Fibres           Fibres
                                  Sub-Sample   (ml)           (ml)        Filter     Area  Openings       Fibres         In                In
                                       (g)                               (mm2)      (mm )2 Examined      Detected     Original          Original
                                                                                                                      Sample            Sample
                                                                                                                   (Fibres/gram)


   ROBERT'S 8OROTALCO TALC
   100 9 Bollie Dated 3 71
  , GTIN 8001 8735                  0.1045         100         0.1          199      0.01033    100           2     3,687 X 106        0.0000722 ·
  !Reeeived 201f>.11-23




                   Gtid                            Structuri&                        Stfucb.ilr♦      U!o-gt~     Width
                                    Gt.i<1JID                           Clau
                  o~nmg                            Number                              Type            (pm)       (µm}

                          61        8--04-3                             NSD
                          B,2·      S.03-3                              NSD
                          63.       B~Cl43               1              AOQ             F                3.4        0.23
                          64        S..E3-3                             NSD
                          85        B-E3-6                              NSD
                          66        8-F3-3                              NSD
                          67        8-F3-6                              NSD
                          6$;1.     C-CJ~·t                             NSO
                          ~·        C-c:3-4              2              ADQ            F                 2.1        tUQ
                          --        .-.   --   ~                        111,)lt_._




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                                                                        JA307
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     IV: More Recent Measurements ofthe Asbestos Content of
     Consumer Tak Products (Johnson & Johnson)

     A: Measurenwnfa hy Dr, A!kr B!ounL


     In addition to her analysis of Vermont ore, Dr. Blount also detected tremolite in retail samples of
     Johnson's Baby Powder (Deposition of Dr. Alice Blount, Case Number: 1522-CCl 0417-01. April
     13, 2018. ).


     B. Measurements of the asbestos content of Johnson and Johnson's Tak
     Products

     1: On behalf of plaintiffs' attorneys, Longo and Rigler analysed Johnson & Johnson Baby Powder
     And Valiant Shower to Shower Talc Products for Amphibole (Tremolite) Asbestos (Longo and
     Rigler, Materials Analytic Services, August 2, 2017).


     The authors analyzed 30 separate containers of talc containing Johnson & Johnson (J&J) Baby
     Powder (BP) and Valiant Shower to Shower (SS) talc products for the presence of amphibole
     asbestos fibers. The 30 J&J/SS talc products that were analysed for this report were sent to MAS,
     LLC by three different law firms. These were The Lanier Law Firm, Kazan McClain Satterley &
     Greenwood, and Simon Greenstone Panatier Bartlett. Dr. Longo described the containers in his
     deposition dated August 23, 2017 ( SUPERIOR COURT OF NEW JERSEY, LAW DIVISION,
     MIDDLESEX COUNTY, Docket MID-L-7385-16AS).


      Sample ID                Description              Year                     Tremolite fibers/g
      KAZAN
      M65205-001               Tin                      Pre 1964                 15100000
      M65208-00I               Hospital-Metal Can       Pre 1964                 376000
      M65228-001               Plastic                  1993                     445000


      LANIER
      M65329-041               Metal Can                Late 1940s, 1950s        1310000


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                                                                                       Gref. B-F!N01-000102




                                                JA308
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      M65329-043        Metal Can                 Late 1940s, 1950s   938000
      M66173-001        Metal Can                 1960                None Detected
      M66173-002        Metal Can                 Pre 1964            301000
      M66173-003        Metal Can                 Pre 1964            4120000
      M66203-001        Metal Can                 Pre 1964            18700
      M66203-002        Metal Can                 Pre 1964            None Detected
      M66203-003        Metal Can                 Pre 1964            None Detected
      M66203-004        Metal Can                 Pre 1964            None Detected
      M66203-006        Metal Can                 Pre 1964            9120
      M66203-007        Metal Can                 Pre 1964            9030
      M66309-002        Metal Can                 Pre 1964            None Detected
      M66309-003        Metal Can                 Pre 1964            None Detected
      M66352-001        Plastic Container         2012                None Detected
      M66352-002        Plastic Container         2014                17200
      M66405-001        Metal Can                 Pre 1964            45200
      M66405-002        Metal Can                 Pre 1964            None Detected




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                                                                             Gref.B-FIN01-000103




                                        JA309
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      Simon-Greens tone         Collected from
                                Clients

          Denr lk Longo,

          Enclosed plc.,se find tl1c li_1llowing cosm,:lii.: taic sampie(s) for anaiysis:

          SGPB 11-28-16(1): Johnson's Baby Povvder, 1.5 oz (from client Gail Korelofl)
          SGPB 1-28-17(1); Johnson's Baby Powder, l .5 oz (purchased by SGPB 1/2017)
          SGPB 1-28-17(2); Johnson's Baby Powder, 22 oz (_purchased by SGPB 1/2017)
          SGPB 2-27-17(3); Valeant Shower to Shower Powder 13 oz, blue plastic bottle (from
          client John C'.un-ie)
          SGPB 3-7-17(1); Valeant Shower to Shower Powder 13 oz, blue plastic bottle (purchased
          bv SGPB 2/2017).,
           ;.;



          SGPB 3-21-17(2); Valeant Shower to Shower Powder 13 oz, blue plaslic bottle (20 I 3)
          (from client Earl Wheeler)
          SGPB 3-21-17(4); Johnson's Baby Powder, 1.5 oz (2010) (from client Earl Wheeler)
          SGPB 4-7-17(1); Johnson's Baby Powder, 9 oz (from client Carnlyn Weirick)
          SGPB 4-19-17(6); Johnson's Baby Powder, 4 oz (from client Pauline Citizen)
          SGPB 4-19-17(7); Johnson's Baby Pow<ler, 1.5oz (from client Pauline Citizen)



      M66507-001               Plastic Bottle               2004                        None Detected
      M66508-00I               Plastic Bottle              2017                         None Detected
      M66509-001               Plastic Bottle               2017                       None Detected
      M66510-001               Shower to Shower             2013                        18200
      M66511-001               Shoivcr to Sho1,ver         'l/)1'7
                                                           "-'V.l /                     None Detected
      M66512-001               Shower to Shower             2013                        8800
      M66513-001               Plastic Bottle               2010                        None Detected
      M66514-001               Plastic Bottle              ?                            24700
      M66515-001               Plastic Bottle              2012                         8740
      M66516-00I               Plastic Bottle              2012                         8690




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                                                                                               Gref.8-F!N01-000104




                                                  JA310
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     Longo and Rigler wrote:'Since the amount of possible amphibole content of the J&J BP/Valiant
     SS talc product samples was expected to be at trace levels (0.1 % or less), it was recognized that
     this analysis would require the use of an analytical transmission electron microscope (ATEM).
     ATEM is the only analytical method with the appropriate sensitivity for this type of trace mineral
     analysis as it can positively identify potential fibrous amphibole structures by energy dispersive
     x-ray analysis (EDXA) for mineral fiber chemistry and crystalline structure information by
     selective area electron diffraction (SAED). Additionally, the ATEM provides good fibrous
     morphology inf01mation that can eliminate obvious non-asbestiform particulates. The authors
     used the Blount method oftalc-to-amphibole separation through the use of heavy liquid density
     separation during the sample preparation stage. '


     The authors report that 'using the Blount talc density heavy liquid preparation method for these
     J&J BP/Valiant SS samples, our ATEM analysis showed that of the 30 J&J BP/Valiant SS product
     samples analyzed for this report, I 7 samples were found to contain detectable amounts of
     amphibole asbestos (tremolite series and ferro-anthophyllite). The amphibole concentration range
     for the 17 J&J BP/Valiant SS samples that were positive for fibrous amphibole asbestos ranged
     from between 8,690 fibers/gram to 15,100,000 fibers/gram.


     Among the I 7 talc container samples that were positive, four different amphibole asbestos types
     were found including tremolite, ferro-anthophyllite, richterite and actinolite. The percentage for
     each of the fibrous amphibole asbestos types found in our analysis were approximately 92.8%
     tremolite, 4.4% ferro-anthophyllite, 2.4% richterite and 0.4% actinolite. No anthophyllite or
     chrysotile fibers/bundles were found in any of the 30 J&J talc samples we analyzed.'


     Counting Rules

     A minimum of 20 grid openings to a maximum of 100 grid openings were analyzed for these J&J
     Baby Powder samples. The 20 to I 00 grid opening counts were split evenly between two grids. If
     the amount of amphibole fibers/bundles exceeded I 00 structures before 20 grid openings were
     analyzed, then the analysis was stopped as long as a minimum of 4 grid openings from 2 different
     grids were analyzed. If there were less than three amphibole structures found in the first 20 grid
     openings, then I 00 grid openings were analyzed. If 3 or more amphiboles were found in the first 20
     grid openings, then the analysis was stopped at 20 grid openings.


    The detection limit was 9000 fibers per gram.


    Table 1 of the Report gives the sample-specific results.


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                                                                                        Gref.B-FIN01-000105




                                                 JA311
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3 Kazan Mcdain Satterley Greenwood J&J Samples


     MAS Sample Number              Sample Description           Date Samples Received at MA5

         M65205·001                Johnson's Baby Powder                   9/22/2016
                               Johnson's Baby Powder (Hospital
         M65208·001                   Dispensing Only)                     9/22/2016

         M65228-001                Johnson's Baby Powder                   9/22/2016




                                       \"1UIIIIIIGI)' I

     Samples Received From: Kazan McClain Satterly and Greenwood

         Sample ID                                 Tremollte Concentration
                          Sample Description                                  Fibrous Talc
                                                            Fiber.wg

                          White - fine grained
        M65205-001                                         15,100,000            Trace
                         homogeneous P0Wder
        M6520H-001
                          White - fine grained
                         homoaeneous oowder
                                                            376,000              Trace
                          White - fine grained
        M65228-001                                          445,000               NSD
                         homoaeneouspowder




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                                                                          Gref.B-FIN01-000106




                                        JA312
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 17 The Lanier Law Firm J&J Samples


 I       MAS Sample Number                             Sample Description            Date Sample Received at MAS
 '            M65329-041                               Johnson's Baby Powder                   9/1/2016
              M65329·043                               Johnson's Baby Powder                  11/14/2016
          M66173·001, 002 & 003                   Johnson's Baby Powder Containers             3/3/2017
     M66203-001, 002, 003, 004, 006 &007          Johnson's Baby Powder Containers             3/8/2017
            M66309· □ 02 & 003                    Johnson's Baby Powder Containers            3/23/2017
            M66352·001 & 002                      Johnson's Baby Powder Containers            3/28/2017
            M66405-001 & 002                      Johnson's Baby Powder Containers             4/5/2017
          Samples Received From: The Lanier Law Firm

                                                                 Tremolite Conoentratton
              Sample 10           Sample Description                                     Fibrous Talc
                                                                         Flbers/g
                                  White - fine grained
             M65329-041                                                 1,310,000             NSD
                                 homoaeneous powder
                                  White - fine grained
             M65329-043                                                  938,000            Common
                                 homoaeneous oowder
                                  White - fine grained
             M66173-001                                                    NSD               Trace
                                 homoaeneous oowder
                                  White - fine grained
             M66173•002                                                  301,000             Trace
                                 homooeneous oowder
                                  White - fine grained
             M66173-003
                                 homooeneous oowcler
                                                                        4,120,000            Traee
                                  White - fine grained
             M86203-001                                                   18,700            Common
                                 homogeneous oowder
                                  White - fine grained
             M66203-002                                                    NSD               Trace
                                 homogeneous powder
                                  White ...:..fine grained
             M66203-003                                                    NSD               Trace
                                 homogeneous powder
                                  White - fine grained
             M66203~004                                                    NSD                NSD
                                 homooeneous oowder
                                  White - fine grained
             M&5203-000                                                   9,120              Trace
                                 homooeneous powder
                                  White - fine grained
             M66200-007                                                   9,030               NSD
                                 homoaeneousoowoer
                                  White = fine grained
             M&5300-002                                                    NSD               Trace
                                 homogeneous oowder
                                  White - fine grained
             M66300-003                                                    NSD               Trace
                                 homooeneous oowder
                                  ~   ., n   ~.   ..




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                                                                                            Gref.B-FIN01-000107




                                                         JA313
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                             ...   I !V! ! !U\.jt:,JJQVl,J.O f)VYVU<:>l

                                    Wt1ite - fine grained
                M66352•00i                                                    NSD            NSD
                                   homoQeneous powder
                                    Wt1lte - fine grained
                M66352-002                                                   17,200          NSD
                                   homogeneous powder



    Samples Received From: The lanler Law Finn Continued
                         White - fine grained
       M66405-001                                        45,200                             Trace
                        homoQeneous Pffwder
                         White - fine grained
       M68406-002                                         NSD                              Common
   I                         I homoaeneous ooWder                                      I




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                                                                                      Gref B-FIN01-000108




                                                           JA314
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  10 Simon Greenstone Panatier Bartlett J&J and Shower to Shower Samples

       MAS Sample Number             Sample Description           Date Sample Received at MAS
                                         SGPB 11-28-16(1)
            M66507·001            Johnson's Baby Powder 1.5 oz.            4/21/2017
  ''                                     SGPB 1·28-17 (1)
 ''         M66508·001            Johnson's Baby Powder 1.5 oz.            4/21/2017
                                         SGPB 1·28·17 (2)
            M66509·001            Johnson's Baby Powder 22 oz.             4/21/2017
                                         SGPB 2·27-17 (3)
                                Valiant Shower to Shower Powder
            M66510·001                        13 oz.                       4/21/2017
                                          SGPB 3·7·17 (1)
                                Valiant Shower to Shower Powder
            M66511·001                        13 oz.                       4/21/2017
                                         SGPB 3·21-17 (2)
                                Valiant Shower to Shower Powder
            M66512·001                        13 oz.                       4/21/2017
                                         SGPB 3·21-17 (4)
            M66513·001           Johnson's Baby Powder, 1.5 oz.            4/21/2017
                                         SGPB 4·7·17 (1)
            M66514·001            Johnson's Baby Powder, 9 oz.             4/21/2017
                                         SGPB 4·19-17 (6)
            M66515-001            Johnson's Baby Powder, 4oz.              4/21/2017
                                         SGPB 4·19·17 (7)
            M66516·001           Johnson's Baby Powder, 1.5 oz.            4/21/2017




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                                                                         Gref. B-FIN01-000109




                                       JA315
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     Samples Received From: Simon Green stone PanaHer Bartlett

                                                           Tremolite Concentration
         Sample ID             Sample Description                                  Fibrous Talc
                                                                   Fibers/g
                               White - fine grained
        f•,,166507-001                                                  NSD                     Trace
                              hon1oqeneotiS povv·d,ar
                               White - fine grained
        M66508-001                                                      NSD                     NSD
                              homogeneous powder
                               White - fine grained
        M66509-001                                                      NSD                     NSD
                              homogeneous powder
                               White - fine grained
        M66510-001                                                    18t200                    NSD
                              homoqeneous powder
                               White - fine grained
        M6651-1-oo 1                                                    NSD                     NSD
                              homooeneous powder
                               White - fine grained                                       I
        M66512-001
                              homoqeneous powder                       8,800                     NSD
                               White - fine grained
        M66513-001                                                      NSD                     NSD
                              homooeneous powder
                               White - fine grained
        M66514-001                                                    24,700                    NSD
                              homoaeneous powder
                               White - fine grained
        M66515-001                                                     8,740                    NSD
                              hornoqeqf:!qµs powder
                               White - fine grained
        M66516-001                                                     8,690                    NSD
                              homogeneous powder




    The authors' summary:


    ~using the Blount heavy liquid sample preparation method, \Ve \Vere able to detect fibrous
    amphiboles in 17 of the 30 J&J samples we analyzed. The majority of the fibrous amphiboles were
    of the trcmolite series (95.6%) and the remaining 4.4% of the fibrous amphiboles found were of the
    ferro-anthophyllite type. As anticipated and discussed below, neither chrysotile nor anthophyllite
    were found in any of the J&J talc samples.


    Of the 17 positive amphibole samples, 5 samples had only one tremolite fiber detected in a
    hundred grid openings which represents the limit of detection for this analysis. The finding of one
    tremolite fiber or bundle is not considered background by this method. This result is significant and
    can be relied on to quantify the amount of tremolite asbestos contained in these five J&J talc
    samples. Tremolite is a non-commercial amphibole in a mineral (talc) that is known to have the
    potential for varying amounts of amphibole asbestos such as tremolite.

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                                                                                       Gref.B-F!N01-000110



                                                JA316
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     For the 13 J&J talc samples, the TEM results were less than the limit of detection of approximately
     9,000 amphibole fibers per gram. This result cannot be characterized to mean the samples do not
     contain amphibole fibers. Rather it can only be said that if there are any amphiboles present, they
     are at less than the detection limit for the TEM analysis. The maximum grid openings analyzed by
     this method was I 00. By increasing the number of grid openings from I 00 to either 500 or l 000,
     the detection limit would decrease to either 1,800 fibers per gram or 900 fibers per gram. Due to
     time constraints, these analyses have not perfom1ed at this time. Additionally, the 13 J&J talc
     samples analysis at less than the limit of detection, are further evidence of no laboratory
     cross-contamination.'


    'This heavy liquid method is specific to the asbestos tremolite series, and as anticipated neither
    anthophyllite or chrysotile was detected. The reason for this is that the heavy liquid solutions
    (I ,MT & LST) used for talc separation process had a density of 2.84 to 2.85 g/cm3. Therefore, any
    mi1wrals with a similar density or lower would not be separated by this method such as chrysotile
    that has a density of between 2.5 to 2.6 glee. The density of anthophyllite ranges from 2.85 to 3.2
    g/cm3. This range of densities is primarily due to the addition of iron (Fe) to the chemical
    structure. For example, anthophyllite is part of a solid solution series with a chemical formula of
    Mg7Si8O22(OH)2 to approximately Fe2Mg5Si8O22(OH)2. Without Fe being present, the density
    would be at the lower end ofthe density gradient of 2.85 g/crn3. Again, since anthophyllitc is a
    solid solution series, the amount of iron atoms that can be substituted into the molecular formula of
    anthophyllite depends on the iron content of the surrounding rock. This iron atom substituted could
    be 0, 1, 2 or higher which accounts for the range of anthophyllite densities described here. With an
    anthophyllite density of approximately 2.85 g/cm3, which is the same as the heavy liquid used, one
    would not expect separation of this type of anthophyllite from the talc particles using the Blount
    method and they would not be detected by our analysis. Therefore, by using the Blount talc
    separation method, the lack of detection for anthophyllite and chrysotile in the J&J samples we
    analyzed was anticipated, but not taken as a negative result for either anthophyllite or chrysotilc.
    J\nthophyllite was never identified in any of the heavy liquid separation analyses reported in the
    Blount papers either, as only tremolite was described. Since tremolite has a density of between 3.0
    to 3.2 g/cm3, it would be separated using the Blount method as was consistent with our analysis in
    this report.


    J\s discussed above, fibrous ferro-anthophyllite was found in one J&J sample (M66514-001) that
    had a much higher iron content than is typically seen at our laboratory for iron-containing
    anthophyllite. This higher iron content would increase the density to the degree necessary for heavy
    liquid separation as compared to no iron or low iron anthophyllite as shown by our analysis. This
    ferro-anthophyllite, depending on the mine location of the J&J talc used for the product we tested,
    could also he called ehesterite (polymorph of anthophyllite) as described by D.R. Veblen for talc
    samples he analyzed from Chester, Vermont.'




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                                                                                        Gref.B-FIN01-000111




                                                JA317
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     'Base(jqn . therf,mltsof ourq.nalysis,it canbestated,. that individuals who used Johnson&
     Johnson's Baby Powder or Valiant Shower to Shower talc products would have, more likely than
     not, been exposed to fibrous amphibole asbestos. '


     For samples manufactured from Italian talc:


      Sample ID              Description             Year                   Tremolite fibers/g
      KAZAN
      M65205-001             Tin                     Pre 1964               15100000
      M65208-001             Hospital-Metal Can      Pre 1964               376000


      LANIER
      M65329-041             Metal Can               Late 1940s, 1950s      1310000
      M65329-043             Metal Can              Late 1940s, 1950s       938000
      M66173-001             Metal Can               1960                   None Detected
      M66173-002             Metal Can              Pre 1964                301000
      M66173-003             Metal Can              Pre 1964                4120000
      M66203-001             Metal Can              Pre 1964                18700
      M66203-002             Metal Can              Pre 1964                None Detected
      M66203-003             Metal Can              Pre 1964                None Detected
      M66203-004             Metal Can              Pre 1964                None Detected
      M66203-006             Metal Can              Pre 1964                9120
      M66203-007             Metal Can              Pre 1964                9030
      M66309-002             Metal Can              Pre 1964                None Detected
      M66309-003             Metal Can              Pre 1964                None Detected
      M66405-001             Metal Can              Pre 1964                45200
      M66405-002             Metal Can              Pre 1964                None Detected




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                                                                                   Gref.B-FIN01-000112




                                             JA318
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     The observed counts were logarithmically normally distributed .

                                                                          •
                                                                      •
                                                            •
                                            • •

                                        •
                                • •

                                            12                  14        16
                                      Inverse No.nna I




     3. Longo and Rigler (February 16, 2018) performed a TEM Analysis of an Historical 1978
     Johnson's Baby Powder sample.


     Two samples from a historical 1978 Johnson's Baby Powder (JBP) container, that was provided to
     MAS from The Lanier Law Firm were examined for the presence of amphibole asbestos fibers or
     bundles. According to the information supplied with these two samples, they were collected from a
     2/8/1978 historical JPB container that was supplied by Johnson & Johnson, lot number l 13J and
     bottle/container identification number JBP084.


    Using the Blount talc density heavy liquid preparation method for these samples, the TEM analysis
    showed that for the two 1978 JPB product samples analyzed for this report were found to contain
    detectable amounts of amphibole asbestos (ferroanthophyllite). The two samples had an amphibole
    asbestos concentration range ofbetween 7,240 fibers/gram to 22,100 fibers/gram.




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                                                                                     Gref.B-FIN01-000113




                                                    JA319
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     New Am!lysis olJohnson's HistorkaLBabyPowder (October 2018)




                                                              LEVY KONIGSBERG LLI-'
                                                                ATTORNEYS AT LAW
                                                                800 THIRD AVENUE
                                                               NEW YORK, N ,Y, 1 0022

                                                                   (2 f 2) 605di.200
                   f\11.:W )l:RSEY OFFICE                       FAX: (2 Ill) 605•62.llO                          ALBANY OFl'ICI!
          QVAK!E:RBRlOQE'. 5:XF.CLf't'NE'. CE!N'Y·ER:           WWW.Ll':VYLAW,COM                               90 STAT£ STREET
               IOI Gl'IOVSl'!S MILL ROAD                                                                   ALBANY, New YORK 1:1.207
                                                                    July 16, 20!8
              LAWRENCEVILLE, NJ 000413                                                                    Tl!:LEP><ONE, ($18) 281'1-!5068
             'Tl'.1.l!PHON.E: (60.<I) 7 20-0400
                  FAX! (609) 720•0457
                   Via FedJ.<;x
                   Dr. William Longo
                  MAS,LLC
                  3945 Lakefield Ct.
                  Suwanee, GA 30024

                                                        Re:    T<!resa Leavitt case--J&,J s11mples

                  Dear Dr. Longo,


                          enclosed please find the following samples of talcum powder produced by fohnson & Johnson in
                  the Leavitt: case:


                       1. Sample numbered 20180056-020, taken from bottle with sample number JBP 209;
                       2. Sample numbered 20180056..060, taken from bottle with sample rmmber JBP 213;
                       3.  Sample numbered 20180056-3 lD, taken from bottle with ,ample number 18P 238;
                       4.  Sample numbered 20 l S0056-34D, taken from bottle with sample number JBP 241:
                       5.  Sample numbered .20 l 80060-25D, taken from bolt!e with sample number JBP 188;
                       6,  Sample numbered 2018006049D, taken from bottle with sample number JBP 092;
                       7. Sample numbered 20180060-SOD, taj(en from bottle with sample 11m11ber JBP 093;
                       8. Sample numbered '20 I 80060-670, raken from bottle with sample number J BP l IO;
                       9. Sample numbered 20180060-680, taken from boltle with $ample munber JBP i 11; and
                       10. Sample numbered 20180070-860, taken from container with sample number2014.00L5l02.


                            Also enclosed please the roHowing materials:


                         Exllibif l to this letter is a series of Chain of Custody Forms for the.re samples; at your
                      convenience, please complete the form and send a eopy to me (you can scan the signed form and
                      email ii to jillsd~,;ir@l&lf:li!ilw,1:orii)-


                            Exhibit 2 to this letter Is n set ofphotogn1phs produced by Johnso11 & Johnson to Plaintiff prior
                      10 rhe sample split.




                                                                Page -114-



                                                                                                                Gref.B-FIN01-000114




                                                               JA320
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    In October 2018, Longo and Rigler prepared a new analysis of Johnson's Historical Baby Powder
    (M69042). They used both a Polarized Light Microscopy (PLM) analysis and an analysis by
    Analytical Transmission Electron Microscopy (ATEM). /n the PLM method they used the Blount
    heavy liquid concentration method.


    ATEM Amphibole Analysis Procedure
   JEOL 1200EX ATEMs equipped with either a Noran or an Advanced Analysis Technologies (light
   element) energy dispersive x-ray analyzer (EDXA) were employed for this analysis. ATEM
   samples were analyzed at a screen magnification of Amphibole fibers or bundles with substantially
   parallel sides and an aspect ratio of 5:1 or greater, and at least 0.5µm in length were counted as
   regulated asbestos fibers and bundles per standard TEM counting rules as described by ASTM
   D5755, ASTM D5756, ISO 10312, ISO 13794, AHERA (TEM section only) and D7712-1 l. l, 2,
   3, 4,


   Positive identification of amphibole asbestos requires EDXA for mineral chemistry confinnation
   and selected area electron diffraction (SAED) for each amphibole type. At times, amphibole
   bundles may have a diameter that is too thick to acquire a SAED pattern, then only the mineral
   chemistry can be used. For Anthophyllite series asbestos, two zero angle SAEDs. One hundred grid
   openings were analyzed for each of the 10 Johnson's Baby Powder samples. Six of the 10 samples
   had detectable amphibole particles, primarily anthophyllite. The particles were a mixture of fibers
   and bundles.


        MAS Sample
                             Cllont Sample ID
                                                                Year of
         Number                                                  Marr.
                                                                           --- •                                  IJTP
                                                                                               M6\>042--006      JBPOOl              1%7
                                  JJTP                                                                        20180060-490
         M69042-00I              JBP209                     1973-1975
                              20]80056-020
                                                                                                                    IJTP
                                                                                               M69042-007        JBP093            1966-1961
                                  JJTP                                                                        20l80060.SOD
         M69042-002              JBP213                          1978
                              20180056-060                                                                          JJTP
     ··--······-·-"'~~--,-                 •···••• -~.                                         M69042-ll08        JBPJIO             1978
                                                                                                              2018006().(i7D
                                  JJTP                                                    ··············'
         M69042"Cl03             JBP238                          1967
                              20180056-3[0                                                                        JHP
                                                                                               M6904UJ09         JBPIII              1970
                                                                                                              20180060-68D
                                  JJTP
         M69042--004             JBP241                          1978                                              JJTP
                              20180056-340                                                     M69042-0I0     '.'.1014.00I.S 102     1985
                                                   .................... ,., . ~--                             20180070-860

                                  JJ'n'
        M69042..00S              JBPISS                          1967
                              20180060-25D




                                                                                    Page -115-



                                                                                                                                               Gref.B-FIN01-000115




                                                                                    JA321
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              The results of the iEM analyses are presented below:

                                                               TF.M Structure Data for M6!1042-00I

                             Str.11
                                        Ii        L,ngrb
                                                   (/Im)            I         Width
                                                                               ()10l)
                                                                                                       Aspect Ratio               Structure Type       I    A,llfftos Type

                 ••••h•••'
                               l                    [4.4                        0.4
                                                                                         ....   i            36.U                      Fiber        i       Anthopb.yllile
                               2        j---r.i                                 0.4
                                                                                                    "''"
                                                                                                              5J!                      riber        i       Anlhophyllile
                               3      ··1              15.7                     2.0                           7.9                     Bwidl<        !       Allthophyllite-
                               4        I               JO                      0.2                          50.0            '         Fiber
                                                                                                                                             ······ 1       Anlhophyllite
                                                                                                ·-··-,----·--··-···
                               5        I              :i2.5        i           2.5                           9.0                     Bundle           !    Anthophyllite
                                                                                                                                                                       ...,...........
                                                                            Average Aspect Ratio: 21,7

                                                               TEM Struct11re Data for M691142-002

                             Str,11
                                                  \)l~b ....... ,   l___i_':i.,_     1
                                                                                     _:_ _ ,_ A•peol Ralio
                                                                                                                                  Structure Type            Asbelfo, Type
                                                   3$.4                         1.8     _..,___ _l_9._7_ _• +---~B_••-'d~l•_ ..                        I Anthophyllitc
                               2        I              124                      l.l              11.3             Bundle        !                           Anlhophyllire
                    3    · · ··l · ,....... · 6;~....                           I. I              S.8             Bundle                                    Anthophylli1e
               -·
               1-~~---1----,6.,.0..,,.-
                    4                                            .. :          0.7              1---,.8....,6----+---Bu=-n-cdl-,--+-/\-11~1hophyllitc
                                                                                                       .
                               s                       J4.5    ... ', ' .      ·'   L           ·1---37 1.,,.4---+-- Bundd.lc
                                                                                                                 Anlhophyllile
                   6         11.5                       1.2                                            9.6           Bun le
                                                                                                                 A..•.., .., .....
               .______
                   7   __.___1_1._s__ .. J ..........,_1_.0_ _~___
                                                                 11_.s_ _~__B_u_nd_.'""1_c-::_-::.-::.""~
                                                                                                       •:-::.Ar:-.,_lh-::_o.:. p_l,,;:1_y"l_l,,.i_1e-=_-::;
                                                                                                       1


                                                               TEM Structure Data for M69042-003

                                                  l,ength                     Widlb                   ASj>fff ROtiO              Strutrure T•p•            A!beslns T=
                         _s_t_,._11__ ,            (/Im)                      (/tm)                                                         ,                        ,,.
                                                   4.S2 ••                     0.44                         l0.3 •          ..... ~ Bundle                   Trcmolite •
                                                       3.4




                                                               l'EM Structure Dala for M69042-004

                             Str.#
                                                 Length
                                                  (11m)
                                                                              Width
                                                                              (I'm)
                                                                                                     Asp ..t Ratio               Structure Type    I       AsbelllnSType
                               I                   13.4                        0.4                          33.5                                   I       Anthophyllite
                                                                                                                 ~---~ ---~. .-~------~ fiber
                              2                    4.2                        0.38                     ····T1:1                         Bundle             Anthophyllite

               .....
                               )                   13.4
                                             .......
                                                                              0.63                         • ih                      Bundle        '
                                                                                                                                                   ! Anlhoph!Uit• j




                                                                                                                Page -116-




                                                                                                                                                                        Gref.B-FIN01-000116




                                                                              JA322
Case 4:22-mc-00001-AWA-DEM Document 4-9 Filed 12/02/22 Page 118 of 293 PageID# 428




                                                                    TEM Structure Data for M69042-008

                  Str,#

                    I
                                              Length
                                               (Jlm)
                                                3.9
                                                                             Width
                                                                              (p.m)
                                                                               0,5
                                                                                           I       Aspect Ratio

                                                                                                       7.8
                                                                                                                    Structure Type
                                                                                                                             Bundle
                                                                                                                                                                Asbestos Type
                                                                                                                                                        Anthophyllite
      --NM<••-            ----   .,,,..,.
                                              • 7.8
                                                                                                                                    .. ,....,,.,.,,. ..   ,,_


                    2                                                          I.S         I           5.2                   Bundle                 I Anthophyllite
                    3                           5.3                           0.5          I           10.6                  Bundle
                                                                                                                        ~-·~·,··~···•-····-
                                                                                                                                                j Anthophyllite
                                                                           A,·erage ..\sped Ratio: 7.9


                                                                    TEM Structure Data for M69042-010

                                              Length                         Width                 Aspeet Ratio     Structure Type                              Asbestos Type
                  Str,#
                                                                             (p.m)
                                             . {Jim)                                                                •      Bundle
                    1                           9.2                            l.5                     6.1                                                      Anthophyllite
                    2                           8,9                           0.42                     21.2             ~-· Bundle                              Anthophyllite
                                                ~   ~~··-··~·· ..                                                                              "•~rn~•-




                                                                          Average Aspect Ra,tro; 13. 7

            Blank Sample
                    No.
                 M69042-000
                                            Date Prepped
                                             7/26/2018
                                                                      r·
                                                                      I
                                                                           Date Analyzed
                                                                             9/17/2013
                                                                                               I
                                                                                               I
                                                                                                   Fur Sample Set
                                                                                                      M69042
                                                                                                                          Asbestos
                                                                                                                          Detected
                                                                                                                              None            ..... ,
                                                                                                                                                           Fibrous Talc
                                                                                                                                                             Detected
                                                                                                                                                                  None
                                                                                                                                                                            ·1
                                                                                                                                                                                I




     Four of the 21 anthophyllite objects were fibers. The remainder were bundles.


       The Anthophyllite Fibers
       Length                                                         Width                                         Aspect Ratio

       14                                                             0.4                                           36

       2.3                                                            0.4                                           5.8

       10                                                             0.2                                           50

       13.4                                                           0.4                                           33.5


     These particles are fibers by both the width and aspect ratio criteria. In the containers among which
     the amphiboles were detected, the concentrations exceeded 10,000 fibers/gm. The weight-percent
     was less than 0.1%.




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                                                                                                                                                        Gref.B-FIN01-000117




                                                                                 JA323
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    We thus have the following results for measurements of Johnson's Baby Powder. Some were made
    with talc-amphibole separation methods.


     Analyst                       Asbestiform Tremolite          Source
                                   Concentration
     Pooley                        0.05%                          Vermont Ore
     Blount                        0.025%                         Johnson's Raby Powder
                                                                  (~1990)
     Longo (V crmont)              0.045%                         Johnson's Baby Powder
                                                                  (1993)
     Longo (Chinese)               0.001%                         Concentration in 3 of 6
                                                                  positive samples from 2004 to
                                                                  2014
     Rohl and Langer               None detected                  4 samples of J and J talc
                                                                  Preliminary screening by Xray
                                                                  diffraction
                                                                  No concentration technique to
                                                                  measure tremolite
     Compare with

     Millette                      0.0094%                        Tremolite in Quebec
                                                                  Chrysotile




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                                                                                Gref. 8-F!N01-000118




                                             JA324
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      The Table below compares the Aspect Ratios of the Tremolite particles measured by Longo in
      Johnson's Baby Powder, in Metal Cans from before 1964 (samples 66205-001 and 66173-003),
      with those measured by the Bureau of Mines.




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                                                                                  Gref.B-FIN01-000119




                                             JA325
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                                                                                     ...   ....



     Comparison of Aspect Ratios for Bureau of Mines Tremolite Cieavage Fragments, Bureau of
     Mines Tremolitc Fibers, and the Tremolite Paiiicles Counted hy Dr. Longo

     Aspect Ratio     Bureau of Mines Cleavage     Bureau of Mines          Longo Tremolite
                      Fragments                    Fibers                   Particles

     5: I - 10: 1     80%                          39%                      44%
     10:1-20:1        20%                          32%                      42%
     20: 1 - 50: 1    0%                           22%                      13°/4,
     50: I - 100:1    0%                           5%                       0%
                                                                                                  -   --




    The Tremolite particles measured by Longo more closely resernbk lh1;; Tremolite fibers measured
    hy the Bureau of Mines than the Trcmolite fragments measured by the Bureau of Mines.


    In summary, Pooley used a concentration technique and identified 0.05% asbestiform tremolite
    contamination ofVennont ore. Two analysts used a concentration technique on powder from J & J
    retail containers. Blount found a concentration of 0.025% and Longo a concentration of 0.045% in
    talcs from Vermont and a concentration of0.001% in 3 of6 positive samples from 2004 to 2014.
    Rohl and Langer did not use a concentration technique, and, using X-ray diffraction, they did not
    find tremolite in the 4 retail samples they examined.


    These tremolite contamination levels in consumer talcs may be compared with the level of
    0.0094% in Quebec chrysotile.




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                                                                                     Gref B-FIN01-000120




                                              JA326
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                           Additional Analyses by Dr. Longo
    Longo Declaration of January 25, 2019


    Dr. Longo wrote:
    '3. My lab, MAS, has now tested approximately 91 containers ofJohnson &Johnson talc
    products (primarily Johnson's Baby Powder) that cover a span ofdecades. This number will
    continue to increase as I obtain and test additional containers. Of the 91 containers, approximately
    34 of them were obtained from lawyers representing plaintiffs in lawsuits against Johnson &
    Johnson. Those 34 containers included Johnson & Johnson talc products purchased off the shelf or
    from the attorneys' clients themselves, while others came from collectors. The other 57 containers
    were obtained directly from the Johnson & Johnson archive. The results of the initial 30 containers
    are contained in my report dated August 2, 2017 and later updated with additional containers in
    reports from February 2018 (a 1978 J&J archive sample) and March 11, 2018. The results for the
    remaining 56 J &J archive containers are contained in my report dated November 14, 2018 and
    updated report dated January 15, 2019.


    4. My lab has also analyzed 15 samples ofTmerys Vermont talc produced from its archive. (January
    15, 2019 report) These Imerys samples represent Vennont ores that would have been shipped to
    Johnson & Johnson for use in its talcum powder products.'


    Statistical Analysis of Longo and Rigler's Johnson Talcum Data


    The analysis of consumer talcums for asbestos contamination, using sufficiently sensitive analytical
    techniques, has been going on sporadically for the past 40 years. X-ray diffraction, a technique with
    a detection limit of 0.1 % or more, was widely used in the 1970s. In 1979, Rohl and Langer wrote:
    "The major limitation of x-ray diffraction analysis is its inability to distinguish between different
    morphological habits of the same mineral. For example, short tremolite fragments and long fibers
    of asbestiform tremolite give virtually identical x-ray patterns. To distinguish between different
    habits or shapes of the same mineral, including asbestos minerals, requires microscopic techniques.
    Transmission electron microscopy, used in conjunction with selected area electron diffraction
    (SAED), provides the resolution capability to visualize all particles and, in many cases, to identify
    them. In a paper published in 1976, we reported a mineral and chemical characterization of 20
    consumer talcums and powders obtained in New York city during the period 1971-1975 (Rohl et
    al., 1976). Of the twenty products, 10 contained either tremolite or anthophyllite or both. The
    proportions, determined by step-scan x-ray diffraction ranged from 0.1 % to over 14%, by weight.
    No attempt was made to distinguish proportions of fibrous and non-fibrous morphological phases,
    although every sample contained fiber. The presence of these minerals in fibrous form was verified
    by electron beam techniques."



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                                                                                        Gref.B-FIN01-000121




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    A seminal contribution was published in 1984 by Paoletti and colleagues who discussed the
    statistical basis for drawing inferences about the asbestos contamination of pharmaceutical and
    cosmetic talcs. The authors utilized electron microscopy (EM) and associated analytical techniques
    such as electron diffraction and X-ray microanalysis which allowed the morphological and
    structural characterization, as well as elemental analysis of particles, at high levels of resolution. A
    binomial distribution was expected for the values of the fibrous fraction of a given number of
    particles and for the percentage of asbestos fibers in a given number of fibers. This allowed
    calculation of the number of particles to be observed in order to obtain the required accuracy of
    measurement. They found that, in order to evaluate the fiber concentration with a relative standard
    deviation of less than 10-15%, the number of particles counted must be about 1000, even for
    concentrations between 5 and 30%. and must increase by at least of a factor 10 for lower
    concentrations. They wrote that 'since some talc specimens may contain very few asbestos fibers,
    and therefore are barely detectable, it is necessary to define an upper limit for the pollution level, in
    case that no asbestos fibers should be detected in a given specin1en. Even in such a case ~we cannot
    infer that the talc specimen is completely asbestos free.' They found that, for very small
    concentrations (Concentration << l o- 4), the probability of observing one asbestos fiber is very close
    to zero for samples containing l 00- l 000 fibrous particles.


    The consequence of these considerations is that, for low asbestos concentrations and for the
    counting of a limited number of particles, some samples will reported to be "Below the Detection
    Limit, or Non-Detects."


    (It should be noted that the Blount and Pooley concentration techniques are intended to increase
    detectability by decreasing the back6rround concentration of talc fibers.)


    I have been involved in researching statistical methods for dealing with non-detects for several
    decades (Finkelstein MM, Verma D: Exposure Estimation in the Presence ofNondetectable
    Values: Another Look. Am Ind Hyg Assoc J 2001; 62: 195-198.). According to Google Scholar
    (December 2019) this paper has been cited by other researchers 123 times. In 2013, I published
    additional statistical methods in the context of asbestos concentrations in the lungs of brake
    workers (Finkelstein MM: Commentary: The Analysis of Asbestos Count Data With "Nondetects":
    The Example of Asbestos Fiber Concentrations in the Lungs of Brake Workers. Am J Ind Med
    2013 ;5 6: 1482-1489). Dr. Dennis Helsel, an American statistician, discussed my statistical
    methodology in the introduction to his textbook (Helsel D. Statistics for Censored Environmental
    Data Using Minitab and R. Hoboken, N.J.: Wiley; 2012.) Dr. Helsel wrote:




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                                                                                           Gref. B-FIN01-000122




                                                  JA328
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            Fin.kclslcin {2008) rc-exuminr;:<l a study that C{)mpared asbestos in tht.! lungs of
        automobile brake mechanics w a control group, The original study decided that no
        llifforcnce in trcmolitc asbc$los was evident between the two groups, basc-d on
        visually comparin~ group medians. The smdy was faced with many censored
        observations in the two groups, and was not sure how to best incorporate them into
        us1a1istical tci:r. Finkelstein used censored maximumli.kelibood (seeCbnpter9) to test
        fordilTercnces. finding that t·om.:entrations oftremolit~ asbestos were indeed elevated
        in the mcchanic5' lungs. The message of his paper is clear-ignoring methods that
        incorporate censored data leads to wrong decisions botb economically and for human
        or ecosystem health. In lhc introduction to the first edition1 I used the flawed decision
        to biunch the Challenger shuttle l!S the example, flnkelstein·s example of missing tile
        t!fevnted level$ {11" asbestos in the lungs of brake trlOChanits is equally ct:l!npelling.
        Sirnple, <.:heap, ca8y but ineffective medmds today can orum lead to ex1x:nsive, heart•
        breaking. ditlkull consequences later.



    In this discussion, I apply the methods of statistical analysis for non-detects to measurements of
    Johnson's Baby Powder made by Drs. Longo and Rigler, and reported in 2019 (The Analysis of
    Johnson & Johnson's Historical Product Containers and Imerys' Historical Railroad Car Samples
    from the 1960's to the Early 2000's for Amphibole Asbestos: February I, 2019, 2nd Supplemental
    Report) and the Declaration of Dr. Longo from January, 2019.


    Methods of Statistical Analysis


    The statistical methods used were presented in my paper "The Analysis of Asbestos Count Data
    With "Nondetects", published in AJIM in 2013.


    'Measurement of asbestos contamination in substances is a fundamental procedure in the field of
    asbestos toxicology. Contamination "level" is calculated by counting the number of asbestos fibers
    in a sample of microscope fields, and by then dividing the number of fibers counted by an
    appropriate denominator to produce a "density". Typically, the number of fibers counted is divided
    by the weight of substance analyzed to produce the number of fibers per gram of substance. When
    the number of fibers counted is reasonably large the distribution of counts may be well
    approximated by a normal distribution, and the usual normal distribution statistics may be used to
    estimae mean concentrations. When the number of fibers counted is small, then it is found that the
    distribution of counts is not nonnally distributed; that is the number of counts is not symmetrically
    distributed about the mean with variability independent of the magnitude of the counts. There is


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                                                                                                     Gref. B-FI N01-000123



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    often a tail to the right of the mean and the variance increases with the mean of the distribution
    (Ililbc 2011). There are a variety of methods for dealing with the non-normality associated with
    the statistics pertinent to small counts of fibers. One approach is to transform the "density" data to
    make the distribution more normal, and the logarithmic normal (lognormal) transformation is a
    popular and useful choice. A complication frequently arises in the comparison of populations,
    however, because it is not unusual to have some measurements reported to be below the analytical
    detection limit (nondetects). Lognormal transformation may be used straightforwardly in the
    absence of nondetects. When nondetects are present, and one is analyzing density data, then one
    might consider a maximum likelihood method, and Finkelstein and Verma (Finkelstein and Verma
    2001) have published a method implemented in spreadsheet software which utilizes the
    presumption of a lognormal distribution of the underlying data to maximize the likelihood of the
    observed data.


    Methods for dealing with nondetects have been discussed in the hygiene literature (Helsel
    20iO;Ogden 2010) and IIeisei has written a text on the topic (Helsel 2012). It is the purpose of this
    paper to present an alternative method for hand Iing nondetccts in the analysis of asbestos fiber
    count data. This method involves aclmowledging the integer properties of the underlying data and
    applying statistical models for integer data. These methods take account of the non-normal
    distribution of the count data.


    Statistical Methods
      The basic model for count data is the Poisson distribution. In the Poisson distribution, ifµ is the
    mean, or expected, count, then the relation between µ and the probability of observing any
    observed count, y, is given by:
                 Pr(ylµ) = e-µµY/y!
    A unique feature of the Poisson distribution is the relationship of the mean to its variance. Recall
    that in the Normal distribution the variance is independent of the mean and is a constant. In the
    Poisson model the variance is equal to the mean, ie V = µ.
       In data obtained in "real world circumstances" it is often found that the variance exceeds the
    mean (Hilbe 2011). It would not be surprising, for example, that in a convenience sample of talcum
    powders the variation in asbestos concentrations would be greater than that predicted from a simple
    Poisson model. The negative binomial regression model (NBRM) addresses the failure of the
    Poisson model by adding a parameter, a, that reflects unobserved heterogeneity among the
    containers. The NBRM is a model for discrete data in which the variance, V(,Lt) = µ + a~t2, is
    greater than that of the Poisson (Cameron and Trivedi 1998).'




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                                                                                         Gref.B-FIN01-000124




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    The Data Analyzed


    I used the measurements of Johnson's powders made by Longo and Rigler. In their earlier work on
    the Italian samples the analysts used the Blount method oftalc-to-amphibole separation through the
    use of heavy liquid density separation during the sample preparation stage. 'This heavy liquid
    method is specific to the asbestos tremolite series, and as anticipated neither anthophyllite or
    chrysotile was detected. The reason for this is that the heavy liquid solutions (LMT & LST)
    used for talc separation process had a density of 2.84 to 2.85 g/cm3. Therefore, any minerals
    with a similar density or lower would not be separated by this method such as ch1ysotile that has a
    density of between 2.5 to 2.6 glee. The density of anthophyllite ranges from 2.85 to 3.2 g/cm3.
    This range of densities is primarily due to the addition of iron (Fe) to the chemical structure. For
    example, anthophyllite is part of a solid solution series with a chemical fonnula of
    Mg7Si8O22(OH)2 to approximately Fe2Mg5Si8O22(OH)2. Without Fe being present, the density
    would be at the lower end of the density gradient of2.85 g/cm3. Again, since anthophyllite is a
    solid solution series, the amount of iron atoms that can be substituted into the molecular formula of
    anthophyllite depends on the iron content of the surrounding rock. This iron atom substituted could
    be 0, 1, 2 or higher which accounts for the range of anthophyllite densities described here. With an
    anthophyllite density of approximately 2.85 g/cm3, which is the same as the heavy liquid used, one
    would not expect separation of this type of anthophyllite from the talc particles using the Blount
    method and they would not be detected by our analysis.' In their more recent work on Vennont
    talc, Longo and Rigler used a different heavy liquid. 'Approximately 1.2 ml of Heavy Liquid
    (Lithium heteropolytungstates solution, GeoLiquids, Inc., Cat. No. LSTOlO density 2.25 glee)
    was added to the tube containing the talc samples and mixed with a disposable mixing rod for
    approximately 10 to 20 seconds.' The use of this heavy liquid permitted the detection of
    anthophyllite.


    Longo and Rigler used A TEM because it is the only analytical method with the appropriate
    sensitivity for this type of trace mineral analysis as it can positively identify potential fibrous
    amphibole structures by energy dispersive x-ray analysis (EDXA) for mineral fiber chemistry and
    crystalline structure information by selective area electron diffraction (SAED). Additionally, the
    ATEM provides good fibrous morphology information that can eliminate obvious non-asbestiform
    particulates.


    I extracted the measurement results from the various reports. Johnson and Johnson sourced their
    talc from mines in the Val Chisone region of the Italian Piedmont (until the late 1960s), and then
    from Vermont (about 1968 to 2000s) and subsequently from China.




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                                                                                       Gref.B-FIN01-000125




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    Here are Longo's measurements for the Italian talcs (from the Declaration)

         Photo          Container ID        Sender        Source     Vintage       Asbestos TE.W    Asbestos PL:\1
                        M65205-00I      Kazan          JBP          1950s        15.100,000 s/g    N/A
                                                       Collector
                                                                                 Tremolite

                                                                                 Average Aspect
                                                                                 Ratio: 12.0
                                                                                 Below Waist
                                                                                 Personal
                                                                                 Application:
                                                                                 1.81 4.51 £'cc
                        M65208-00l      Kazan          JBP          1957         176,000 s!g       NIA
                                                       Collector
                                                                                 Tremolite
                                                                                 Richtente

                                                                                 Average Aspect
                                                                                 Ratio: 10.5




                        M65329-04i      Lanier          JBP          1940-42     UlO,OOOsig        NIA

                                                                                 Tremolite

                                                                                 Average Aspect
                                                                                 Ratio: 11.l




         Photo          Container ID         Sender        Source    Vintage       Asbestos TEM     Asbestos PLM
                        M65329-043      Lanier          JBP         1927-39      938,000 sfg       NIA

                                                                                 Tremolite

                                                                                 Avernge Asped
                                                                                 Ratio: 9.0




                        lv166l 73-001   Lauier          JBP         1960         NAD               NIA

                                                                                 Fibrous Tak



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                                                                                        Gref.B-FIN01-000126




                                                 JA332
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                   M66173-002     Lanier         JBP         1927-39     301,000 s!g       NIA

                                                                         Tremolite

                                                                         Average Aspect
                                                                         Ratio: 8.1




                   M66173-003     Lanier         JBP         1945        4,120,000 s!g     NIA

                                                                         Tremolite
                                                                         Richterite

                                                                         Average Aspect
                                                                         Ratio: 11.7




                   Container ID        Sender       Source    Vintage       Asbestos TEM     Asbestos PLM
                   M66203-001     Lanier         JBP         1953-58      18,700 s/g       N/A

                                                                          Tremolite

                                                                          Average Aspect
                                                                          Ratio: 9.2



                   M66203-002     Lanier         JBP         1960         NAD              NIA

                                                                          Fibrous Talc




                   M66203-003     Lanier         JBP         1960 37c.   NAD               NIA

                                                                          Fibrous Talc




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                                                                                  Gref. B-FI N01-000127




                                           JA333
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                                         Lanier            JBP               1953 or
                                                                             pnor




         Photo       Container ID             Sender          Soune           Vintage         Asbestos TEM      Asbestos PL\-I
                     M66203-006          Lanier            JBP               1953-58        9,120 ;,/g         NIA

                                                                                            Tremohtc

                                                                                            Average Aspect
                                                                                            Ratit, 5.9




                  M06203-007   L211ie1              .IBP         1953-58     9,030 s!g           NIA

                                                                             Tremohte

                                                                             Average Aspect
                                                                             Ratio 9.8



                  M66309-002   T.aniet              JBP          19.1?; 01   NAD                 NIA
                                                                 prior
                                                                             Fibrous Talc




                  M66309-003   Lanier                            1950s 53c   NAD                 N/A

                                                                             Fibrous Talc




                                                  Page -128-



                                                                                                       Gref. B-FIN01-000128




                                                   JA334
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                   M66405-001      Lanier          JBP          1953 or     45.200 s/g        NIA
                                                                prior
                                                                            Tremolite

                                                                            Average Aspeci
                                                                            Ratio: 18.6




                   M66405-002      Lanier          IBP          1953 or     NAD               NIA
                                                                prior
                                                                            Fibrous Talc




                    Container ID         Sender        Source     Vinta e      Asbestos TEM     A~bestos PLM
                    M66203-005      Lanier          IBP          1953 or     37,000 s/g        NIA
                                                                 prior       Tremolite

                                                                             Average Aspect
                                                                             Ratio: 13.7




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                                                                                     Gref.B-FIN01-000129




                                            JA335
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     and in Tabular Fonnat


      Sample                          Year                        Concentration
      M65205-001                       1950s                       15100000
      M65208-001                       1957                       376000
      M65329-041                       1940-42                     1310000
      M65329-043                       1927-39                    938000
      M66173-002                       1927-39                    301000
      M66173-003                       1945                       4120000


      M66203-001                       1953-58                     18700
      M66173-001                       1960                       Non-Detect
      M66203-002                       1960                       Non-Detect
      M66203-003                       1960                       Non-Detect
      M66203-004                       1953                       Non-Detect
      M66203-006                       1953-58                    9120
      M66203-007                       1953-58                    9030
      M66309-002                       1953                       Non-Detect
      M66309-003                       1953                       Non-Detect
      M66405-001                       1953                       45200
      M66405-002                       1953                       Non-Detect
      M66203-005                       1953                       37000


     The graph below shows that the "OBSERVED DATA" are logarithmically normally distributed.


     P = 0.39 for the Shapiro-Wilk Test for normal data




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                                                                               Gref.B-FIN01-000130




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                                           8.127679                                              12.21591                           16.30415
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               ......   Lowest Observed
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                                                                                          • "12':
                                                                                 1       nv¢rse    No           rm·a1. •·
                        Grid lines are 5, 10,. 25,' ' 50,        75,:90;and             95   :percentiles.
                                                      ,. ' ... ,. : • ' .. ' '. ' ' . •... ' . . ,. ,. ····.' ,.....' .. :: . .
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    The lowest observed point is at the detection limit of 9030 fibers/cc. The dashed line shows that the
    distribution continues below the detection limit, and that samples with concentrations below the
    detection limit would be recorded as Non-Detects.


    The mean concentration was 1.1 million fibers/gm. As noted above, Ilgren reported 3.7 million
    fibers/gm in a container ofltalian talc.




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                                                                                                                                               Gref.B-FIN01-000131




                                                                                            JA337
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      Here are Longo' s measurements for the Vermont talcs (from the Declarntion)
      Longo 1970s




                 Photo       Conlam.er ID     l'vlA S &unp le ID   Sender       Vintage     Asbes1os lEM        Ashes1os PLM
                             201':-0061-lll   M58503-026         MDL         1969         262,000 s/g         ISO
                             STS 042                                                                          s:0.1 Trem/Act
                                                                                          Tremolite
                                                                                                              Blount:
                                                                                          Average Aspiet      <0.1 Trem/Act
                                                                                          Ratio: 8.7


                             20Jt--lJ056 3Q   M58503 0!)5      MDL           1970         NLD                 NAD
                             JBP 237




                             2018-0060-68     M59042-009       L,;,,y(MDL)   1970         NAD                 ISO:
                             JBP 111                                                                          <0.1 Trem/Act

                                                                                                              BlolilLt:
                                                                                                             NAD



                             2018-0061-17     M585!J3-029      IV[)L         1971         NAD                NAD
                             STS 051




                                                            Page -132-



                                                                                                           Gref. B-FI N01-000132




                                                      JA338
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                       Container ID   MAS San le ID   Sender       Vin     Asbestos TEM       Asbestos PLM
                       2018-0060-54   M58503-021    MDL          1972    NAO                NAO
                       JBP 097




                       2018-0060-64   M.58503-023      MDL       1973    8,760 s/g          ISO:
                       JBP 107                                                              <0.1 Anfu
                                                                         Anthophyllite
                                                                                            Blount:
                                                                         Average As))lct    <0.1 Anth
                                                                         Ratio:
                                                                         10.7


                       2018-0061-12   M58503-028       MDL       1974    17,500 slg         ISO:
                       STS 046                                                              NAO
                                                                         A11thophyllite
                                                                                            Blount:
                                                                         Ave,age As~ct      -::O.l Anfu
                                                                         Ratio:
                                                                         10.5


                       2018-0061-     020              J3(MDL)   1975    NAO                ISO:
                       020                                                                  NAO(J3)
                       STS 1611A
                       (STS 36)                                                             Blount
                                                                                            NAO




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                                                                                           Gref.B-FIN01-000133




                                               JA339
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                       Container ID-- MAS San -, ID        Sender     Vini ae     Asbesios TEM      Asbesios PLJI..J-
                       2018-0056-     ivi59042-00i      Levy        i975        22,400 s/g        ISO:
                       02D                              (Iv[)L)                                   <0.1 Trern.Jf:.,r:t
                       JBP 209                                                  Anthophyihte
                                                                                                  Blo@t:
                                                                                Average Aspect    c:O.J T1~mrAc1
                                                                                Ratio:
                                                                                21-7




                       2018-0061-57   M58503-0'16       Jv[)L       1975        NJ\D              NAD
                       STS 021




                      2018-0061-49    M58503-042        t,[)L       1976        23,600 s.ig       ISO:
                      STS 013                                                                     c:IJJ Trern/Act
                                                                                Anthophy!lite     «0.1 Anth

                                                                                Average Aspect    Blo@t:
                                                                                Ratio:            s:0.1 TrmdAct
                                                                                9.8




                                                     Page -134-



                                                                                                 Gref. 8-F! N01-000134




                                                 JA340
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              Photo    Container ID   MAS Simple ID     Sender      Vinrage     Asbestos TEM      Asbestos PLM
                       2018-0015-     lvi'i8233-001 l'v1DL        1978        7,240 s/g         ISO:
                       O!Al                           (Lallier)                                 «0.1 Trem/Acl
                       JBP 084                                                Antl10phyilite
                                                                                                Blount:
                                                                              Averege Aspect    <0.1 Trem/Act
                                                                              Ratio:
                                                                              7.6
                       2018-0015-     Mi8233-002                              22,130 s/g        ISO:
                       OIA2                                                                     <0.1 Trem/Act
                       JBP 084                                                Anthophyilite
                                                                                                Blount:
                                                                              Average Aspect    «0.1 Anth
                                                                              Ratio:
                                                                              19.4

                       2018-0070-10   Mi8503-057      MDL         1977        8,360 s/g         ISO:
                       2014-001-                                                                «0.1 Trem/Act
                       0612                                                   Tmnolite          <0.1 Anth
                       JBP                                                                      Blount:
                                                                              Averege Aspect    NAO
                                                                              Ratio:
                                                                              5.3



                       2018-0060-53   Mi8503-020      MDL         1978        34,800 slg        ISO:
                       JBP 096                                                                  «0.1 Trem/Act
                                                                              Anlhophyilite     «0.1 Anth
                                                                              Tmnolite
                                                                                                Blount:
                                                                              Averege Aspect    «0.1 Trem/Act
                                                                              Ratio:
                                                                              13.8




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                                                                                               Gref.B-FIN01-000135



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                       Container ID MAS       le ID     Sender             Asbertoe TEM         Asbestos PLM
                       2018-0056-D6 M59042-002      Levy                                      ISO:
                       JBP 213                      (IvlDL)                                   <0.1 Ti-em/Act
                                                                         Anthophyllire        <=0.1 Anth

                                                                         Average As:i:ect     Blount:
                                                                         Ratio:               s:0.I Ti-em/Act
                                                                         14.0                 <0.1 Anth


                       2018-0056-34   M59042-004      Levy(MDL)   1978   18,000 s/g           ISO:
                       JBP 241                                                                <0.1 Trem/Act
                                                                         Anthopllyllire       «0.1 Anth

                                                                         Ave:rage Asp,ct      Blount:
                                                                         Ratio:               <0.1 Trem/ 1\ct
                                                                         21.9                 s:0,1 Anth


                       2018-0060-67   M59042-008      Levy(MDL)   1978   18,100 s/g           ISO:
                       J.BP 110                                                               «0.1 Anth
                                                                         Antrophyllire
                                                                                              DlOUIU:
                                                                         Average Asp,ct       «0.1 Anth
                                                                         Ratio:
                                                                         7.9



                       2018-0070-     07D             J3          1978   82,000 slg           ISO:
                       07D                            (IvlDL)                                 NAD(J3)
                       2014-001-                                         Anthophyllire
                       0397                                                                   Blount:
                       STS                                               Average As:i:ect     0.2 Trem/Act
                                                                         Ratio:               0.5 Anth
                                                                         18.5




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                                                                                            Gref. B-FIN01-000136




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                       Container ID   MAS    ., ID        Sender      Vin   !!l!     Asbestos TEM      Asbestos PLM
                       2018-0061-     15D            J3            1978            61,000s/g         ISO:
                       15D STS 049                   (MDL)                                           NAD(J3)
                                                                                   Anthophyllire
                                                                                                     Blowtl:
                                                                                   Awrage Asp,ct     0.3 An1h
                                                                                   Ratio:
                                                                                   20.0


                       2018-0061-     50D            J3            1978            NAD               ISO:
                       50D                           (MDL)                                           NAD(J3)
                       STS 1605A
                       STS 014                                                                       Blowtl:
                                                                                                     <0.1 Anth




                       2018-0070-16 M58503-059       MDL           1979            17,100 s/g        ISO:
                       2-14001-1363                                                                  s:0.I Trem/Act
                       JBP                                                         Anthophyllire     <0.1 Anth

                                                                                   Awrage Asp,ot     Blowtt:
                                                                                   Ratio:            <0.1 Trem/Act
                                                                                   18.4              <0.1 Anth


                       2018-0061-     !OD            J3            1980            NIA               ISO:
                       !OD                           (MDL)                                           NAD(J3)
                       STS 044
                                                                                                     Blowtl:
                                                                                                     0.2 Trern/Aot
                                                                                                     <0.l Anth




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                                                                                                    Gref.B-FIN01-000137




                                            JA343
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      1980s and Later


       M66514-001     SGPB 4-7-17(1)   JBP - Client   Circa      24,700 sig            NIA
                                       Carolyn        1980
                                       Weirick                   Ferro Anthophyllite

                                                                 Average Aspect
                                                                 Ratio: 14.8




       Container ID        Send.er        Source       Vintage     Asbestos TEM         Asbestos PLM



        M65228-001      Kazan          IBP-            1994      445,000 s/g           NIA
                                       Collector
                                                                 Tremolite
                                                                 Richterite

                                                                 Average Aspect
                                                                 Ratio: 7.9




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                                                                                       Gref.B-FIN01-000138




                                              JA344
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      • • 2018-0061-   IOD ••          .. Tf     ............. · · 19so                     ISO:
          lOD                            (MDL)                                              NAD (J3j
          STS 044
                                                                                            Blount:
                                                                                            0.2 TremlAct
                                                                                            <0.1 Anrh




        Container ID   MAS Sample ID         Sender              Vintage     Asbestos TEM     Asbestos PLM
        2018-0061-     38D               J3                   1980         53,000s/g        ISO:
        38D                              (1vIDL)                                            NAD(J3)
        STS 002                                                            Authophyllite
                                                                                            Blount:
                                                                           Average Aspect   0.2 Tre/Act
                                                                           Ratio:           0.2Anth
                                                                           9.6


        2018-0061-     63D               J3                   1980         NIA              ISO:
        63D                              (MDL)                                              NAD (J3)
        STS 027D
                                                                                            Blorn1t
                                                                                            0.2 Tre/Act
                                                                                            0.2 Anth




                                                         Page -139-



                                                                                             Gref.B-FIN01-000139




                                                    JA345
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                      I                                         I
       2018-0061~         520                    J3                 !981
                                                                                                                   -
                      !                                                          7(\000 s/g       ISO:
       52D                                       (MDL)                                            NAD (B)
       STS 016                                                                   Anthophyllite
                                                                                                  Blount:
                                                                                 Average Aspect   0.2 Tre/Act
                                                                                 Ratio:           0.5 Anth
                                                                                 --..,   ,1
                                                                                 L-L-."'t




       2018-0061-         65D                    J3                 1981         95,000 s!g       ISO:
       65D                                       (MDL)                                            NAD (J3)
       STS 029                                                                   Anthophyllite
                                                                                                  Blount:
                                                                                 Average Aspect   0.2 Tre/Act
                                                                                 Ratio:           0.2Anfu
                                                                                 ·10 ,f
                                                                                 10.'---t




                      ·-······   ---   --    ,
                                            -- _ _ _ _ _ _            ---                ---                           I
       Container ID       M,\S Sample ID              Sender           Vintage     Asbestos TEM       Asbestos PLM
       2018-0061-         37D                    J3                 1982         9,300 s/g          ISO:
       37D                                       (:MDL)                                             NAD(.T3)
       STS 001                                                                   Anthophyllite
                                                                                                    Blount
                                                                                 Average Aspect     <0.1 Tre/Act
                                                                                 Ratio:             <0.1 Anth
                                                                                 6.1


       2018-0061-         451)                   J3                 1982         9,000 s/g         ISO:
       45D                                       (!villL)                                          NAD (B)
       STS 009                                                                   Anthophyllite    ---·-
                                                                                                   Blount:
                                                                                 Average Aspect     <0.1 Tre/Act
                                                                                 Ratio:
                                                                                 8.0


       2018-0061-         51D                    J3                 1982         NAD               ISO:
       51D                                       (MDL)                                             NAD (J3)
       STS 1606A
       STS 015                                                                                     Blount:
                                                                                                   <0.1 Tre/Act




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                                                                                                      Gref 8-F!N01-000140




                                                             JA346
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       2018-0061-       66D              J3           1982          NAD             ISO:
       66D                               (MDL)                                      NAD(J3)
       STS 1610A
       STS 030                                                                      Blount:
                                                                                    0.1 Tre/Act




        Containe1· ID   :MAS Sample ID     Sender        Vintae:e    Asbestos TEM    Asbestos PLM
       2018-0061-       21D              J3           1983          NAD             ISO:
       21D                               (MDL)                                      NAD(J3)
       STS 1614A
       STS 055                                                                      Blount:
                                                                                    <0.1 Tre!Act
                                                                                    <0.1 Auth




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                                                                                     Gref.B-FIN01-000141




                                                 JA347
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                                                                              ......              ...
        2018~0051 ~34 •M68503-001   MDL           1984      t8;7oo s!g                 ISO:
        IBP294                                                                         <0.1 Tre/Act
        "Twiupack.                                          i\nthophyllite
        Only 1 bottle                                       TJemolite                  Blount:
        selected for                                                                   <0.l Tre/Act
        sampling by                                         Avernge Aspect
        MDL (See                                            Ratio:
        noteonCOC                                           11.5
        from MDL
        split)

        2018-0070-86 M69042-010     Levy          1985      12,500 s/g                 ISO:
        2014.001.5102               (1Y:IDL)                                           <0.J Tre/Act
        IBP                                                 Anthophyllite
                                                                                       Blount:
                                                            Average Aspe.ct            <0.1 Auth
                                                            Ratio:
                                                            11.5

        2018-0061-    31F           J3            1986      22,000 s/g                 ISO:
        31F                         (MDL)                                              NAD (J3)
        STS 065                                             Anthophyllite
        "Regular"                                                                      Blount:
        (Left)                                              Average Aspect             0.3 Tre/Act
                                                            Ratio:                     <0.1 Anth
                                                            16.6




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                                                                                        Gref. B-FIN01-000142



                                               JA348
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      Container ID          MAS Sample ID            Sender            Vintage         Asbrstos TEM             Asbestos PLM
      2018-0061-            31G                   J3                1986             30,000 sig               ISO:
      31G                                         (.MDL)                                                      NAD (B)
      STS 065                                                                        Anthophyllite
      "Spice"
                                                                                                              Blount:
      (Right)                                                                        Average Aspect
                                                                                                              <0.7 Tre/Act
                                                                                     Ratio:
                                                                                     21.8


       2018-0060-33         M68503-016            rvIDL             1994             NAD                      NAD
       JBP 001




       2018-0060-38         M68503-017            MDL               1996             NAD                      NAD
       JBP006




                                                      TABLE IIl-Il\ffiRYS MDL SAMPLES

                    Photo           Container ID     l\-lAS Samnlc ID      Sender      Vintaee    Asbestos TEM          Asbestos PLM
        1   Wes! Windsor          2018--0314-03      M69751-037         Beasley     1989         59,000 s/g         ISO:
            Gra<le66              ImeJYS                                (MDL)                                       <0.1 Tre/Act
                                                                                                                    Blount
                                                                                                                    <0.7 Tre!Act
        2                         2018-0343-03A      M69757-005         Beasley     1990         27_000s!g          ISO:
                                  Imerys                                (MDL)                                       <O.J Tre/Acl
                                                                                                 Anthopbylliie      <0.1 Anlb
                                                                                                                    Blount:
                                                                                                 Average Aspect     <0.1 Tre/Act
                                                                                                 Ratio:             <0.1 Anlb
                                                                                                 11.1




                   Photo          Containc1· ID      MAS Sample ID      Sender      Vinta2c      Asbestos TEM       A.,bc.,tos PL'\1
        3                         2018-0358-0IA      M69757-007         Beasley     1990         39,000 sfg         ISO:
                                  Tmerys                                (MDL)                                       <0.1 Tre/Act
                                                                                                 Amhophyllite
                                                                                                 Actinolite         Blount:
                                                                                                                    <0.1 Tre/Act
                                                                                                 Average Aspect     <0.1 Alllh
                                                                                                 Ratio;
                                                                                                 11.l




                                                                  Page -143-



                                                                                                                  Gref. 8-FI N01-000143



                                                              JA349
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                                                                                                                          ll.l
       T~\V~!,;f \Vithi.sor            iors-0,20-01 A            tvl6975J-O ,9         Beasley
             Grnrle. 66                Irnc:rys                                       (MDL)
                                                                                                                                          ---f---
             \Vest \Viwh111            2018-0.lHi-J 1A           M69751-1l.JO         Deasle-Y       [{)9!-1992           11 1)0() ,. e            ISO·
             Grade 96                  Imeiys                                          (MDL)                                                       )\"\f)
                                                                                                                         Allthupliyllite
                                                                                                                                                   Bl11unr:
                                                                                                                         Average :-\speer          --.Q_ J Tre-'Acl
                                                                                                                         Ratio:·
                                                                                                                          ILl
                                       2018-0339-05              lvl69757-00.J        Bea::;ley                          '-I-, n          -- --~ -;"An
                                    ~~                                                (MDL)
        7    \Vest \:Vinds;i)l       2018-0, I1-02A              M69751-0ili          Beaslev
             Grn<k ()(j                ImeI}'S                                        (l\!DL)
                                                                                                                         Tremolite

                                                                                                                         Avernge .-\'.->peer
                                                                                                                         Rarir)
                                                                                                                         3).0
                                                                                                         ------+
        8                              2018-03.14-0.JA           M69757-006           Beasley        \ {)\.J1~
                                       Ime:iys                                         rMDL)
        9    K:1ilcar k Rnrr S!lmp1e   2018-0JI5-02!A           i tv!6975 l-002       Bcosky         1999                NAD                       NAD
           Grade 66                    T111erys                                       (MDL)
        10 Rnilcar & Bag Sample        2018-0315-0IA            i l\!69751-001        Ili:nsle-y    2001-2002            .J,400 Sig                NAD
             Viesr Windsor             Imerys                                         (i\llJLJ
             Grnde 66                                                                                                     1rcmolitc-

                                                                                                                         .\vcrac;c Aspect
                                                                                                                         Ratio:
                                                                                                                         8.8




                       Photo           Container ID              l\-:IAS Sample ID    Sender         Vi11!t~•g~•----+ -\-~ht-sl().S 1:°~~_!___~\_.,_l~t'.~tmi Pl".l\I
        11 Rnilcar & llag Sample       2018-0.116-020A           M697~1-00G           Beasley      , Dcc'.'000        -l GOO s'g                 ISO:
             \Vest Wirnlsm Flo:11      Imery;,;                                       (MDL)        '                                             NALJ
             Feed                                                                                                        Tremohle
                                                                                                                                                  mount:
                                                                                                                         Average Aspect           <0.1 Tre/Acr
                                                                                                                         Ratlo:
                                                                                                                         1',_0
        12 Rnilcar&BagSmnple           2018-0<16-021A            M69751-007           Beasley       Feb 2000                                      NAD
           West Windsor Fhit           Imerys                                         (MDL)
             Feed                                                                                                        trcmolitc

                                                                                                                         A vcrage Aspe-ct
                                                                                                                         Ratio:
                                                                                                                 --
                                                                                                                         12.2
        I] West WinZI;~,;-             2018-03 l 7-04A           M69751-038           Bensley       :'0(11_1             N,\J.l                   Nc\D
           Grade 66                    Imervs                                         (J\IIDL)
        14 Railc.'lr &~B,ie "mnple     2018-03 ! :s-(►'11)<1_   lvl6975 !-ijjJ,i      Beasley      I 200t                NAD
           Silo Grnde 66               Ime1vs                                         (MDL)
        15 Raika:r & Bag Sample        2018-0316-022A            M69751-008           Beasley       Jan2003              NAD                      NAD
           Wesl Windsor Float          Imerys                                         CMDL)
           feed


      and next, a Table of these data with the fiber counts inse1icd.




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                                                                                                                                            Gref. 8-F!N01-000144




                                                                            JA350
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      Results of TEM /\nalysis of Talcum Powders
      Sample Number Source           Year Concentration       Structures*   Detection Limit
                                            (Structures per   Counted       (Structures per gm)
                                            gm)
      M685003-005       JBP           1970                    0             8780
      M69042-009        JBP           1970                    0             6370
      M678503-029       STS         1971                      0             8400
      M68503-021        JBP         1972                      0             5920
      M68503-023        JBP         1973    8760              1             8730
      M68503-028        STS         1974    17500             3             5800
      02D               STS         1975                      0             9400
      M69042-001        JBP         1975    22400             5             4470
      M68503-046        STS         1975                      0             5900
      M68503-042        STS         1976    23600             4             5890
      M68233-001        JBP         1978    7240              1             7240
      M68233-002        JBP         1978    22130             3             7400
      M68503-057        JBP         1977    8360              1             8360
      M68503-020        JBP         1978    34800             4             8690
      M69042-002        JBP         1978    63800             7             9120
      M69042-004        JBP         1978    18000             3             6020
      M69042-008        JBP         1978    18100             3             6020
       07D              STS         1978    82000             9             9100
      15D               STS         1978    61000             7             8700
      50D               STS         1978                      0             9300
      M68503-059        JBP         1979    17100             2             8560
      38D               STS         1980    53000             8             7600
      52D               STS         1981    70000             8             7800
      65D               STS         1981    95000             13            7300
      37D               STS         1982    9300              1             9300
      45D               STS         1982    9000              1             9000
      51D               STS         1982                      0             9400
      66D               STS         1982                      0             9400
      21D               STS         1983                      0             8300
      M68503-001        JBP         1984    18700             3             6240
      M69042-0l0        JBP         1985    12500             2             6200
      3IF               STS         1986    22000                           7300
      31G               STS         1986    30000             4             7500
      M69751-037        Imerys      1989    59000             13            4500


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                                                                                   Gref. B-FIN01-000145




                                             JA351
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       l\169757-005      Imerys       1990 27000                 6       4500
       M69757-007       Imerys        1990 39000                 8       4300
       I\169751-039     Imerys        1991                       0       4400
       l\169751-040     Imcrys        1991     13000             3       4500
       l\168503-016     JBP           1994                       0       9000
       lYlO~ /') /-UU4  Imerys        i994                       ()      4400
       I\169751-036     Imerys        1995 4400                  1       4400
       l\168503-017     JBP           1996                       0       9000
       l\169757-006     Imerys        1996                       0       4400
       l\169751-002     Imerys        1999                       0       4400
       Source: IBP= Johnson's Baby Powder; SIS - Johnson's Shower to Shower Powder.
       *Structure= A bundle of asbestos fibers or a single fiber




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                                                                             Gref. 8-F! N01-000146




                                           JA352
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                                                 Analysis Results
     The graph below shows that the "OBSERVED CONCENTRATION DATA" (that is the
     concentrations measured in samples with concentrations above the detection limit) were
     logarithmically normally distributed.




                                                           •••••
           0
           C:
           Oo
           (J ~.
           OJ
           .Q




                Ol                 ••
                           Lowest Observed Concentration



                     '8        9                                            12




     P = 0.58 for the Shapiro-Wilk Test for normal data
     Shapiro-Wilk W test for normal data

        Variable I       Obs       W          V        z      Prob>z
     -------------+------------------------------------------------------
         logConc I        28 0.96996           0.907 -0.200 0.57941

     The lowest observed point is at the detection limit of 4400 structures/gm. The dashed line shows
     that the distribution continues below the detection limit, and that samples with concentrations
     below the detection limit would be recorded as Non-Detects.




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                                                                                     Gref.B-FIN01-000147




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     Statistical Analysis

     ln this analysis of the parameters of the lognormal distribution of concentration data I used the
     method, Maximum Likelihood Estimation, that I published in the Journal of the American
     Industrial Hygiene Association in 2001 (Finkelstein MM, Verma D: Exposure Estimation in the
     Presence ofNondetectable Values: Another Look. Am Ind Hyg Assoc J 2001; 62:195-198). I used
     the Spreadsheet method, described in that paper, to maximize the Likelihood ofLongo's
     measurements.

     The spreadsheet and the observations are shown on the next page.




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                                                                                     Gref.B-FIN01-000148




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              A                                  ------···-      - ·--······   B                                             _•• r_   D
                                    Spreadsheet for Maximum Likelihood Calculations of Johnson Vermont Data


                                                                                                                                           Solver Cells
           DATA'                                        Log Likelihood of Observation, gfven estim11te of Mean&. SD         Starter       9_293862800
       8760                                , =LN((1/((2'Pl()/'0.5*E$6:))*EXP(~(·1/2)*((LN (.A,6)-E$5)/E$6f2))               Starter
  -T·17500                          --- j =::LN((-1 /([2".PIO)"'0 _5* E$6 ii' EXF'(:(112}' (lLN CA.7)-E$5 }"E $6 /'2))
  ·• i22400                       __ '=LN(("1./((2tf='IQY'Q,5*E$6,YEXP(-t112}*((LN(.A8)-E$5NE$6)"2::)
    .] 231300                               i=LN((11((2•PIO}"DSE$6)/EXP(-(1l2Y((UJ (A.9}-E$5}/E$ 6)'·2))
 1 7240                                       =L,N((1/((2'Pl())"0,5*E$6}}*EXP(-(·J/2}*((U~(A10>-ES5)/E$6}"2))
       22·130                                 =LN{(1/((2'PlOY'0 5'E$6))*EXP(-(1l2Y((LN(A11 }-ES5)/E$Ei}"2)}
 : .• 83130                         -·· · ::==LN((1J((2*F'l()}'Cl,5*E$6))'E}F'(::(1l2)*((LN(A12J-ES5}1E$6}"2})
:J     34800                      __ ]:=:LN((1 !'((2"f"l0Y':(l,5' ESB)? E:XF'(~(1}2}'((UJ(A13}-E$5)/ES6}"2})
 -! 63800                        ___ ;:=:LN((1/((2*Pl())''Q,5"E$6 }}' E:XP(-(112)'((LN(A14 }-E$5)/E$6 }1'2})
;J1     soot:i                             i=LN((·l /((2*Pl()Y':()_5"E$6 }}'EXPH1l2/'((LN(A.15)-E$5 )/E$6)A2}}
 ; l ·i 8100                                  =LN((1/((2*Pl()}"O_;i*E$6))*EXP(-(1/2)*((LN(A113,-E$5}lE$6}"2))
 '. : 82000                                  =Ll:J((1/((2'Pl())"O_!J*E$6))'EXP(-(1i2}*((LN(A17,-E$ 5)lE$6 )-•2}}
 : i 61000                                   =LN((1 /{(2'PIOY'-0-5*E$6))'EXP(-C-1i2}*((LN(A18}-E$5}JE$6}"2}}
 1.J 53000                                 ,=LN((il((2*Pl())'•{lS'E$6)}'EXPffl/2)'((LN(A19}-E$5)/E$6}"2})
 l J 17·100                         _._i=LN((1/((2:Pl()Y':(l,5'E$6})'E,;'<P(-(i/2/(lLN(A20}-E$5}/E$6Y•2))
 i"l 'iori oo       _-· ··- . _J:::LNJ11N(2~PIOY':Q,5' ESc,))· E:XPC~(1J2)"i!U•J (.A21}E$5 ).IE$ B}' 21,
 iT95000                                     =LN((1l((2'Pl()Y':()5*E$6))'EXP(-(1/2f'((LN(A22}-E$5}/E$6}"2}}
 3 J 93 00                                                                                                t
                                             =L!\J{(1/((2*Pl0)"0_5*~$6})'EXp(-(·112}*((LN(A23 }-E$5)/E$6 2}}
 \j£1CIOO _                                  =Ll\J({1/((:2'Pl()jl'0_5'E$6))*EXPHii2}*((LN(A24}-E$5)lE$6}"2})
 ti:18.700          ··--·-·--- ·- :::Ll'J((1JIJ2-tl"I.OY'.9:5'ES6;}"EXF'H1l2)"((LN(.A25)--E$5VE$6;'2)L ··-
5112500               ___ _ j:::LN((1/((2*fJl())':Q,5'E$6}}*E:)(f"{::(112Y((LN(.A26)--E!l,5)/ET,6}"2)) _
(fa,2900                             _. :=LN((1/({2'F'l())"-Q,5*ES6))'EXP{--(1/2}*((Lt,J(A27}-E$5)/E$6Y,2))
f 130000                                   ·=LN((i/{(2*Pl{))AO~~E$6)}*EXP(-(:112Y((U~(fa.28,-E$5}/E$6}1'2))
,j 59000                                   i =l,t:,l((1/((?*F'l()):"O_,§~E!li6JrEXP(-(1/2}*((LN(fa.29,-E$5)/E$6}'2)}
l :27000                                   i=L,N((1J({2*Pl()Y,O_!:i*E$13))'EXP(-(112}*{(LN{A30}-E$5)/E$6}"2})
IJ}9000                                      =-LN((1!((2:PlOY'QSE$6))*EXP(~(1/2}*((LN(A.31yE$5)/E$6}'2})
~!J   1}000                                  :::LN((1.1((2*f11())'':Q5'E$6 }}'EXf1(1i/2}\(LN(A3?,-E$5 )J'E$6 Y,2))
fl4400                                       :::::LN((·1/(t2:f'l()>'-'.():5'E$6))*!::l<f'.(~(1/2/ttLN(.A.33,-E$5)/E$6t2))
fl           •8780                           =LI\J(NQRMD!ST(U\J(B78O},E$5,E$6,TRUE))
,'           <6370                      _i=LN(NQRMD1ST(U\j(6'.3]0}.~$5,E$6,TRUE)l
,·:          <8400                           =LN(NQRMQIST(LN(84O()},E$5,E$6,TFWE)l
IJ           <5920                           =LN(NORMDlST{LN(5920),E$5,E$6 .TRUE))
                                                                                      f_
tL........ , -~_9f9Q,.,~---~---~..-~~::.:]:~L.f:J{fJ_Q~!?i~=t!~N($4PP ,;g~lS,;5,,~: TRUE}
U__          -~5900                       ,:=:LN(NORfv1{)1$T(LN(5900},~$?,E$6.TRUE}}_
l! «93(1(1                       · ·- j:==l,l::l{N()RMPlST(l,.l\j(93(H)},E:$§,E$6.TRUE)}
Ll-<:9400                        __ :::hN(NQRMP1$T(L,tJf94QQ),~$5,E$6,TRUE))
~. !·<94Q0                                i=L,N(t:,JQRMDIST(LNf940O),E$5,E$6,TRUE))
3_ 1<8300                                _' :::::LN(NQRMPl$I(Li\f (830()J,E$5,E$6 ,TRUE))
d:4400                                  _i=LN(NORf,il{)l:3I(LN(4400}.E$5,E$6.TRUE})
fi«~poo                         __. 2LN(NORMP1$I(LN(9000),E:$5,E$6,TRUE})
tl~=1,ioo                             ___ ::::::LtJ(NoR.M.121~mVJ(4400),1:::$:5.~E.:i6,rnuE)>
1.J <9000                                 "=LN(NORMDIST{LN{9000),E$S.E$6,TRUE})
i] <4400                             ·-· ;;L,l'J(~JQRf,1[)1§.I((N(4400),f=$5,E:$6,TRUE))
IJ«4409 · -                          . •=::LN(NQRMOl§T{L,.N(4400},E$5,E$6 ,TRUE})
    -                                     -Til!<lll:,()(!Likelihood
                                          ,=$1.,ltvl(El-§:849}




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                                                                                                                               Gref.B-FIN01-000149




                                                                               JA355
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    I used the formulae for the arithmetic mean and standard deviation described in the Perkins
    textbook (Perkins JL. Modem Industrial Hygiene. Volume I: Recognition and Evaluation of
    Chemical Agents. New York: Van Nostrand Reinhold; 1997).




                                                                  expijtt + <½)(rJ
                                                                  µ, cxp[(½)a2J

                                                                    ..Jr- l ~"-1'\'+"L
                                                                            ___
                                                                            P').,m   i   -2Ylfa.v...t-1\ 1~
                                                                                       T V L.IJl"'"'.P\ vz.r I J

                                                                  ✓µ;{exp(a2Jl(exp(oi)-1J

    So Mean= di exp(9.29 + 0.5*(1.25)A2)
    23653.113

    and SD
    . di (exp((2*9.29) + l.25''2)*exp((l.25*1.25)- 1))"0.5
    31335.283

    The arithmetic mean concentration was about 23,700 structures/ gm and the standard deviation
    was about 31,000.

    To calculate the Confidence Intervals for the Arithmetic Mean, I used the methods described in: Ulf
    Olsson (2005) Confidence Intervals for the Mean of a Log-Normal Distribution, Journal of
    Statistics Education, 13:1,, DOI: 10.1080/10691898.2005.l 1910638.

    The Confidence Intervals for log(Mean) are:




                  s2        .              s2                  s4
       Y+                  ±z              --+-----
                    2                      n            2{n-1)
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                                                                                          Gref.B-FIN01-000150




                                                JA356
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    This gives the 95% Confidence Interval on the arithmetic mean concentration to be (14,500-38,950)
    structures gram.

    We thus have that the mean concentration of amphibole structures in the powders manufactured
    from Vermont talc was 23,700 (14,500 - 39,000) strnctures / gm of powder.

    These data were also analyzed with a negative binomial count model using Stata Statistical
    Software.

    The mean fiber count in the Vermont samples was 2.8 amphibole strnctures per 100 grids
    examined.

    To illustrate how it is common to have "nondetects" when the mean count is 2.8 fibers per sample,
    the following graph shows the distribution of counts measured by Dr. Longo with those predicted
    by the negative binomial distribution with a mean of 2.8.




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                                                                                      Gref.B-FIN01-000151




                                               JA357
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     The fit of the Negative Binomial Model to Longo's Vermont data




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        8.
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        I....
        CL




                               ·2             4              6                          10
                                           Nurn ber _of_Fibers

                            I Observed Number of Structures                Predicted




     The bars show the Longo fiber counts; the Curve is the negative binomial model fitted to the
     data.


     Some 35% of samples would be expected to be below the detection limit, in agreement with
     what was measured.




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                                                                                 Gref. 8-F!N01-000152




                                             JA358
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      Fibers of Cleavage Fragments? Comparison with Wylie's Measurements of Crushed Rock

      This analysis addresses the question: Are the amphibole particles best characterized as
      crushed rock (cleavage fragments) or fibers?

      Here are Longo' s measurement results for powders from the l 970's, l 980's and l 990's.

      B or F means Bundle or Fiber; Mineral = Anthophylite or Tremolite

             Sample      Length Width AspectR B or F Mineral

      1.     M68503-023     12      .8     15      B       A
      2.     M68503-028     18.8     1.8   10.4    B       A
      3.     M68503-028     5.7     .4     14.3    B       A
      4.     M68503-028     6       .9     6.7     B       A
      5.     M69042-001     14.4    .4     36      F       A
      6.     M69042-001     2.3     .4     5.8     F       A
      7.     M69042-001     15.7    2      7.9     B       A
      8.     M69042-001     IO      .2     50      F       A
      9.     M69042-001     22.5    2.5    9       B       A
      10.    M68503-042     19      2      9.5     B       A
      11.    M68503-042     29      2      14.5    B       A
      12.    M68503-042     6.7     .08    804     B       A
      13.    M68503-042     40      6      6.7     B       A
      14.    M68223-001     6.8     .9     7.6     F       A
      15.    M68233-002     27.7    .7     36.7    B       A
      16.    M68233-002     16.4    2.6    6.3     B       A
      17.    M68233-002     7.6     .5     15.2    F       A
      18.    M68503-057     8       1.5    6.3     B       T
      19.    M68503-020     8.5     .42    20.2    B       A
      20.    M68503-020     2.7     .44    6.1     B       T
      21.    M68503-020     4.62    .62    705     B       A
      22.    M68503-020     21.1    .98    21.5    B       A
      23.    M69042-002     35.4    1.8    19.7    B       A
      24.    M69042-002     12.4    1.1    11.3    B       A
      25.    M69042-002     6.4     1.1    5.8     B       A
      26.    M69042-002     6       .7     8.6     B       A
      27.    M69042-002     34.5    1.1    31.4    B       A
      28.    M69042-002     11.5    1.2    9.6     B       A
      29.    M69042-002     11.5    1      11.5    B       A
      30.    M69042-004     13.4    .4     33.5    F       A
      31.    M69042-004     4.2     .38    11.1    B       A
      32.    M69042-004     13.4    1.63   21.3    B       A
      33.    m69042-008     3.9     .5     7.8     B       A

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                                                                                       Gref.B-FIN01-000153




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                    34.   11169042-008   7.8     1.5   5.2    B      A
                    35.   11169042-008   5.3    .5     10.6   B      A
                    36.   07D 3.5        .25    14     F      A
                    37.   07D 6          .4     15     B      A
                    38.   07D 7.5        .2     37.5   B      A
                    39.   07D 11         .6     18.3   B      A
                    40.   07D 4          .25    16     B      A
                    41.   07D 14         1.1    12.7   B      A
                    42.   07D 8.5        .4     21.3   B      A
                    43.   07D 9          .7     12.9   B      A
                    44.   15D 6.6        .7     9.4    B      A
                    45.   15D 5.2        .22    23.6   B      A
                    46.   15D 20.3       .92    22.1   B      A
                    47.   15D 27         1.5    18     B      A
                    48.   15D 5.9        .22    26.8   F      A
                    49.   m68503-059     12     .4     30     B      A
                    50.   m68503-059     17     2.5    6.8    B      A
                    1980S .
                    53.   38D 3.2        .6     5.3    B      A
                    54.   38D 3.6        .7     5.1    B      A
                    55.   38D 18.9       1.5    12.6   B      A
                    56.   38D 6          .9     6.7    B      A
                    57.   38D 6.2        l.l    5.6    B      A
                    58.   38D 3.5        .4     8.9    F      A
                    59.   38D 6          .3     20     B      A
                    60.   38D 3.1        .25    12.4   B      A
                    62.   52D 46.5       1.5    31     B      A
                    63.   52D 29.2       l.5    19.5   B      A
                    64.   52D 10         .5     20     B      A
                    65.   52D 22.5       1.3    17.3   B      A
                    66.   52D 11.7              11.7   B      A
                    67.   52D 31                31     B      A
                    68.   52D 9          .25    36     F      A
                    69.   52D 3.8        .3     12.7   B      A
                    71.   65D 18         1.5    12     B      A
                    72.   65D 14.3       1.5    9.5    B      A
                    73.   65D 20.2       1.3    15.5   B      A
                    74.   65D 11.2       .7     16     B      A
                    75.   65D 6.8        .7     9.7    B      A
                    76.   65D 13.3       .7     19     B      A
                    77.   65D 22.3       14.5   14.9   B      A
                    78.   65D 17         .22    77.3   F      A
                    79.   65D 28         2.5    11.2   B      A
                    80.   65D 9.5        l.3    7.3    B      A

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                                                                           Gref.B-FIN01-000154




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                   81.   65D   12         .8      15      B       A
                   82.   65D   10.2       .4      25.5    B       A
                   83.   65D 23           3.5     6.6     B       A
                   85.   37D   15.8       2.6     6.1     B       A
                   87.   45D   17.5       2.2     8       B       A
                   89.   M68503-001       9.9     .46     21.5    B         ;\
                   90.   M68503-001       3.2     .59     5.4     B         T
                   91.   M68503-001        10.4   1.38    7.5     B         T
                   93.   M69042-010       9.2     1.5     6.1     B         A
                   94.   M69042-010       8.9     .42     21.2    B         A
                   96.   31f  21.6         1.3    16.6    B       A
                   98.   31G 30.1         .7      43      B       A
                   99.   31G 13.5         .7      19.3    B       A
                   100. 310 7             .7      10      B       A
                   101. 310 22.5          1.5     15      B       A
                   1990S .
                   104. M69757-005        2.32    .21     11     B          A
                   105. M69757-005        6.1     .41     14.5   B          A
                   106. M69757-005        4.4     .84     5.2    B          A
                   107. M69757-005        2.72    .42     6.5    B          A
                   108. M69757-005        8.7     .38     22.9   B          A
                   109. M69757-005        4.82    .76     6.3    B          A
                   111. M69757-007        5.6     1.1     5.1    B          A
                   112. M69757-007        4.6     .64     7.2    13         A
                   113. M69757-007        9.9     .36     27.5   F          A
                   114. M69757-007        10.9    .35     31.1   B          A
                   115. M69757-007        11.7    1.4     8.4    B          A
                   116. M69757-007        11.6    1.1     10.5   B          ACT
                   117. M69757-007        11.8    1.6     7.4    B          A
                   118. M69757-007        8       1.3     6.2    B          A
                   119. M69757-007        49.4    2.1     23.5   B          T-A
                   121. M69751-040        7.4     .62     11.9   B          A
                   122. M69751-040        14.9    .74     20.1   B          A
                   123. M69751-040        6.72    .62     10.8   B          A
                   125. M69751-036        6.3     .18     35     B          T

                   Most of the Structures were identified as bundles

                   Here are the structures that were identified as Fibers




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                                                                                  Gref. B-FIN01-000155




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                                                                                    --
                 S2Jnple     Length     Width       AspectR     Bundle     Mineral


      5.    M69042-001          14.4         .4           36          F            A
      6.    M69042-001           2.3         .4          5.8          E'           A
      8.    M69042-001            10         .2           50          F            A
     14.    M68223-001           6,8         .9          7.6          F            A
            M68233-002           7.6         .5         15.2          F            A


     30.    M69042-004          13.4         .4         33.5          E'           A
     36.             07D         3.5        .25           14          E'           A
     43.             1.5D        .5.9       .22         26. 8         F            A
                     38D         3.5         .4          8.9          F            A
                     52D            9       .25           36          F            A

     75.            6.5D          17        .22         77.3          F            A
            M69757-DD7           9.9        .36         27.5          F            A
                                                                                       -
    I next look at the experimental data reported by Dr Ann Wylie in which prismatic (non-
    asbestifom1) anthophyllite was crushed and the size distribution of the resulting cleavage fragments
    was characterized.




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                                                                                           Gref B-FIN01-000156




                                                  JA362
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         Wylie published on the Dimensions of particles found after the crushing of non-fibrous tremolite
         and anthophyllite (Wylie AG. Amphibole Dusts: Fibers, Fragments, and Mesothelioma. Canadian
         Mineralogist. 2016;54: 1403-1435.).

         Here is a Table from her publication:



                                TABLE 7B. AMPHIBOLE CLEAVAGE FRAGMENT EMPS DERIVED FROM CRUSHED

                               a            A           A            B            H                        II
                            tremolite   tremolite   riebeckite   riebeckite   grunerite   grunerite   anthophyllite
                             NIEHS       NIEHS          CA          co           SD       Portugal      Sweden
    1$L$5ftm
    % all EMPs               59           74          37         69           69          80          52
    width mode (µm)      0.83 ± 0.17 0.18 ± 0.12 0.44 ± 0.06 0.63 ± 0.06 0.64 ± 0.07 0.36 :!: 0.06 0.72 0.06
    mean width ± SD (µm) 0.77 ± 0.28 0.40 ± 0.29 0.63 ± 0.30 0.59 ± 0.31 0.59 ± 0.31 0.54 ± 0.31 0.71 ± 0.29
    range (~1m)           0.33-1.76   0.06-1.45   0.17-1.76   0.06-1.27   0.01-1.27   0.06-1.45    0.24-1.44
    5 <Ls-; 10 µrn
    % all EMPs                21          11          20          25            23            13         40
    width mode (µm)       1.93 ± 0.17 undefined 0.66 ± 0.06 0.66 ± 0.06 0.89 ± 0.07 1.21 ± 0.06 1.80 0.12
    mean width ± SD (11m) 1.70 ± 0.49 1.14 ± 0.59 1.09 ± 0.56 1.56 :t 0.63 1.33 :!: 0.62 1.30 ± 0.53 1.40 ± 0.50
    range (~1m)            0.77-3.08   0.06-2.72   0.11-3.08   0.51-2.92    0.51-2.79     0.48--2.72  0.48-2.40
    10 < L :s; 15 µm
    % all EMPs                10          5           9           4           2           3           5
    width mode (11m)     3.3 ± 0.10   undefined 0.66 ± 0.06 undefined     undefined   undefined   undefined
    mean width ± SD (µm) 2.76 ± 0.95 2.17 ± 0.94 1.66 ± 1.01 2.57 ± 1.01 2.88 ± 0.66 2.45 ± 1.03 2.76 ± 0.78
    range (µm)             0.99-4.4   0.48--3.33  0.33-3.96   1.52-4.44   2.22-3.81   0.97-3.93   1.44-3.60
    L > 15 µrn
    %all EMPs                 11          2           33           2           1            <1             4
    width mode (µm)      3.85 ± 0.08 undefined 0.77 ± 0.06 undefined       undefined      undefined    undefined
    mean width ± SD (µm) 4.47 ± 3.10 3.95 ±. 2.29 3.82 ± 3.30 3.77 ± 0.97 3.81 ± 2.29     undefined   2.70 ± 1.89
    range (11m)          0.55-13.75 2.18--7.26     0.33-15.4   2.92-4.83   1.91-6.35      undefined    0.72-5.40
    Number of EMPs            157         233          651         195          210         209           155
    minimum length (µm)       1.1         0.6         0.44         0.64         0.8          0.5          1.2
    maximum length (µm)       165          30          160         18.4         22           21           23.4




         Column II is crushed prismatic anthophyllite.

         Three ofLongo's anthophyllite fibers were less than 5 microns in length. Their widths were 0.4,
         0.25, and 0.4 microns. From Wylie's table we see that the mean width of cmshed prismatic
         anthophyllite in this size range was 0.71 microns (range: 0.24 - 1.44).

        Five ofLongo's anthophyllite fibers were 5 - <10 microns in length. Their widths were: 0.9, 0.5,
        0.22, 0.25, and 0.36 microns. From Wylie's table we see that the mean width of crushed prismatic
        anthophyllite was I .40 microns (range: 0.48 - 2.40).

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                                                                                               Gref.B-FIN01-000157




                                                    JA363
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    Three ofLot1g()'s anthophyllite fibers were 10.:15 micrnns inlength. Their \l\/idths were: 0.4,0.4,
    and 0.4 microns. From Wylie's table we see that the mean width of crushed prismatic anthophyllite
    was 2.76 microns (range: 1.44 - 3.60).

    One of Longo's anthophyllite fibers was >15 microns in length. The width was 0.22 microns. From
    Wylie's table we see that the mean width of crushed prismatic anthophyllite was 2.70 microns
    (range: 0.72 - 5.40).

    I conclude that the anthophyllite fibers counted in talcums produced from Vermont talc did
    not arise from crushed prismatic anthophyllite and are correctly characterized as fibers.




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                                                                                      Gref. B-FIN01-000158




                                               JA364
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     On February 24, 2020 I received from Sam Iola, of Waters and Kraus, a copy of the RJ Lee report
     on the analysis of splits from the data of Dr. Longo.



       RJ LEE GROUP
       April 23, 2018



       Mr. Kevin Hynes
       Orrick
       51 West 52 nd Street
       New York, New York 10019-6142



       Re: Preliminary Analytical Test Report of thirty-seven MAS Split Samples



       Dear Mr. Hynes,

       RJ Lee Group (RJLG) has completed our analysis of thirty-one (31) of thirty-seven (37) samples
       that we in the possession of Dr. William Longo. Tremolite asbestos was detected in only one (1)
       of the 31 samples analyzed, the asbestiform phase was observed in 3149796.


    RJ Lee thus reported that, with one exception, all of the tremolite particles that they observed were
    cleavage fragments.


    The results of their analyses are presented below:




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                                                                                        Gref.B-FIN01-000159




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                   Report    Sa:llipleID   Miiiera.I~e   c1assificat1;,;a   Length      Width     Aspect~o

 l.    Longo Splits- JJBP     3149785      Tremolite           Cleavage       3.1           .3          10
 L.    Longo Splits- JJBP     3149785      Tremolite           Cleavage      2.57          .35           7
 3.    Longo Splits- JJBP     3149785      Tremolite           Cleavage      3.72          .25          15
 4.    Longo Splits- JJBP     3149785      Tremolite           Cleavage      2.66          .15          18
 s.    Longo Splits- JJBP     3149785      'l'remolite         Cleavage      3.92           .5           8

 6.    Longo Splits- JJBP     3149785      Tremolite           Cleavage      6.06          ,37          16
 7.    Longo Splits- JJBP     3149785      Tremolite           Cleavage       4.2           .9           4
 8.    Longo Splits- JJBP     3149785      Tremolite           Cleavage      2.55          .45           6
 9.    Longo Splits- JJBP     3149785      Tremol.ite          Cleavage       2.1          .15          14
10.    Longo Splits- JJBP     3149785      Tremolite           Cleavage      2.53           .3           8

11.    Longo Spl.its- JJBP    3149785      Tremolite           Cl·eavage     16.6          .57         29
12.    Longo Splits- JJBP     3149785      Tremol.i.te         Cleavage      2.33           .2          12
13.    Longo Splits- JJBP     3149785      Tremolite           Cleavage      3.26          .32          1ll
l'l.   Longo Splits- JJBP     3149785      Tremolite           Cleavage      4.31          .35          12
15.    Longo Splits- JJBP     3149785      Tremolite           Cleavage      2.66          .15          18

16.    Longo Splits- JJBP     3149785      Tremolite           Cleavage      7.45          .96           7
17.    Longo Splits- JJBP     3149785      Tremolite           Cleavage      2.33          .35           7
13.    Longo Splits- JJBP     3149785      Tremolite           Cleavage      3.26          .58           6
19.    Longo Splits- JJBP     3149785      Tremolite           Cleavage      2.55           .2          13
20.    Longo Splits- JJBP     3149785      Tremolite           Cleavage       2 .l.         .2          10

21.    Longo Splits- JJBP     3149785      Tremolite           Cleavage       2.1           .2:         10
22.    Longo Splits- J.JBP    3149785      Tremo1ite           Cleavage       2.8           .3           9
23.    Longo Splits- JJBP     3149785      'l'remolite         Cleavage      5.12          .84           6
2'I.   Longo Splits- JJBP     3149785      Tremolite           Cleavage      3.45           .4           9
25.    Longo Splits- JJBP     3149785      Tremolite           Cleavage       5.1          .35          15

26.    Longo Splits- JJBP     3149785      Tremo1ite           Cleavage      3.26          .47           7
27.    Longo Splits- JJBP     3149785      Tremolite           Cleavage      10.4          .63          17
28.    Longo Splits- JJBP     3149785      Tremolite           Cleavage      8.29          .63          13
29.    Longo Splits- JJBP     3149785      Tremol.ite          Cleavage      5.99          .46          13
30.    Longo Splits- JJBP     3149785      Tremolite           Cleavage      16.6          .99          17

31.    Longo Splits- JJBP     3149785      'l'remolite         Cleavage      6.02          .95           6
32.    Longo Splits- JJBP     3149785      Tremolite           Cleavage      11.1          .92          12
33.    Longo Splits- JJBP     314979ll     Tremo1ite           Cleavage       6 . .9-       .8           9
35.    Longo Splits- JJBP     3149790      Tremolite           Cleavage       9.6           .8          12
36.    Lo.ngo Splits- JJBP    3149795      Tremolite           Cleavage      7.81          .61          13

37.    Longo Spl.its- JJBP    3149796      Tremol.ite          Cleavage      5.13          .35          15




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37.       Longo    Splits.-   JJBP         3149796      'I'remol.ite                Cl.eavage           5.13           .35     15
38.       Longo    Sp1i ts-   JJBP         3149796      Tremolite                   Cleavage             4.1           .25     16
39.       Longo    Splits-    JJBP         3149796      Tremol.ite                  Cl.eavage            5.6           .25     22
40.       Longo    Splits-    JJBP         3149796      Tremol.ite                  Cleavage            2.13            .2     10
41.       Longo    Spl.its-   JJBP         3149796      Tremolite          Asbestos F'iber              7.65            .2     38

42.       Longo    Splits-    JJBP         3149796      Tremolite                   Cl.eavage         4.46            .3       15
43.       Longo    Spl.its-   JJBP         3149796      Tremolite                   Cleavage          4.46            .3       15
44.       .Longo   Splits-    JJBP         3149796      Tremolite                   Cleavage          5.53            .1       55
45.       Longo    Splits-    JJBP         3149796      Tremolite                   Cleavage          6.92           .46       15




           Dr Ann Wylie, of the University of Maryland, has published on the Dimensions of particles found
           after the crushing of non-fibrous tremolite and anthophyllite (Wylie AG. Amphibole Dusts: Fibers,
           Fragments, and Mesothelioma. Canadian Mineralogist. 2016;54:1403-1435.).

           Here is a Table from her publication:


                                    TABLE 7B. AMPHIBOLE CLEAVAGE FRAGMENT EMPS DERIVED FROM CRUSHED

                                  Q             R            A             B            H                         II
                               tremolite    tremolite    riebeckite    riebeckite   grunerite   grunerite    anthophyllite •
                                NIEHS         NIEHS         CA            co           SD       Portugal       Sweden
      1<::L<;5,un
      % all EMPs                 59          74          37         69           69          80          52
      width mode (,,m)      0.83 ± 0.17 0.18 ± 0.12 0.44 ± 0.06 0.63 ± 0.06 0.64 ± 0.07 0.36 ± 0.06 0.72 0.06
      mean width ± SD (ftm) 0.77 ± 0.28 0.40 ± 0.29 0.63 ± 0.30 0.59 ± 0.31 0.59 ± 0.31 0.54 ± 0.31 0.71 ± 0.29
      range (ftm)            0.33-1.76   0.08-1.45   0.17-1.76   0.06-1.27   0.01-1.27   0.06-1.45   0.24-1.44
      5 < L :<; 10 ,Im
      % all EMPs                21           11         20          25           23          13         40
      width mode (,,m)      1.93 ± 0.17 undefined 0.66 ± 0.06 0.66 ± 0.06 0.89 ± 0.07 1.21 ± 0.06 1.80 0.12
      mean width ± SD (ftm} 1.70 ± 0.49 1.14 ± 0.59 1.09 ± 0.56 1.56 ± 0.63 1.33 ± 0.62 1.30 ± 0.53 1.40 ± 0.50
      range (,1m)            0.77-3.08   0.08-2.72   0.11-3.08   0.51-2.92   0.51-2.79   0.48-2.72   0.48-2.40
      10<L:C:15µm
      % all EMPs                 10          5           9           4           2           3             5
      width mode (f1m)      3.3±0.10 undefined 0.66 ± 0.06 undefined         undefined   undefined     undefined
      mean width ± SD (;tm) 2.76 ± 0.95 2.17 ± 0.94 1.66 ± 1.01 2.57 ± 1.01 2.88 ± 0.66 2.45 :.t 1.03 2.76 ± 0.78
      range (11m}             0.99-4.4   0.48-3.33   0.33-3.96   1.52-4.44   2.22-3.81   0.97-3.93     1.44-3.60
      L > 15 ~u-n
      % all EMPs                 11             2              33          2           1           <1             4
      width mode (f1m)      3.85 ± 0.08 undefined 0.77 ± 0.06 undefined            undefined    undefined     undefined
      mean width ± SD (11m) 4.47 ::!: 3.10 3.95 ::!: 2.29 3.82 ± 3.30 3.77 ± 0.97 3.81 ± 2.29   undefined    2.70 ± 1.89
      range (11m)           0.55-13.75 2.18-7.26           0.33-15.4   2.92-4.83   1.91-6.35    undefined     0.72-5.40
      Number of EMPs             157          233          651           195          210         209           155
      minimum length (µm)        1.1          0.6          0.44          0.64         0.8         0.5            1.2
      maximum length (µm)        165          30           160           18.4          22          21           23.4


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                                                                                                            Gref.B-FIN01-000161




                                                             JA367
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       Dr. Wylie has proviclecl to me acopyofthe NIEI-IS TEM analysis data, set (Sa,mpl~ R in the Table),

       In the following analysis, I compare the size distributions of the tremolite particles measured by RJ
       Lee in the Longo samples to those measured in crushed prismatic tremolite (cleavage fragments) by
       NIEHS.

       Wylie categorized the NIEHS data by Particle Length.

       Here is the RJ Lee data for L < 5

       and For L < 5




                         Report     SampleID      Mineral~e       Classi~G      Length      Width     Aspect---o


 l.      Longo Splits- JJBP          3149785      Tremolite       Cleavage          3.1         .3             10
 2.      Longo Spl.its- JJBP         3149785      Tremolite       Cl.eavage        2.57        .35              7
 3.      Longo Spl.its- JJBP         3149785      Tremol.ite      Cl.eavage        3.72        .25             15
 4.      Longo Spl.i ts- JJBP        3149785      Tremolite       Cleavage         2.66        .15             18
 5.      Longo Splits- JJBP          3149785      Tremolite       Cl.eavage        3.92         .-5             8

 7.      Longo Spl.its- J,JBP         3149785     Tremolite       Cleavage          4.2         .9              4
 8.      Longo Splits- iJJBP          3149785     Tremol.ite      Cleavage         2.55        .45              6
 9.      Longo Spl.its- JJBP          3149785     Tremolite       Cleavage          2.1        .15             14
J.O.     Longo Spl.its- JJBP          3149785     Tremolite       Cleavage         2,53         .3              8
12.      Longo Splits- JJBP           3149785     Tremolite       Cl.eavage        2.33         ,2             12

13.      Longo Spl.its- JJBP         3149785      Tremol.ite      Cl.eavage        3.26,       .32             10
.14.     Longo Spl.its- JJBP         3149785      Tremol.ite      Cleavage         4.31        .35             12
15.      Longo Spl.its- JJBP         3149785      Tremolite       Cleavage         2.66        .15             18
17.      Longo Spl.i.ts- JJBP        3149785      Tremol.ite      Cleavage         2.33        .35              7
18.      Longo Splits- JJBP          3149785      Tremol.ite      Cleavage         3.26        .58              6

19.      Longo Splits- JJBP          3149785      Tremolite       Cleavage         2.55         .2             13
20.      Longo Splits- JJBP          3149785      Tremolite       Cleavage          2.1         .2             10
21.      .Longo Splits- JJBP         3149785      Tremol.ite      Cleavage          2.1         .2             10
22.      Longo Splits- JJBP          3149785      Tremolite       cieavage          .2.8        .3              9
24.      Longo Splits- JJBP          3149785      Tremolite       Cleavage         3.45         .4              9

26.      Longo Sp1its- JJBP          3149785      Tremolite       CJ.eavage        3.26        .47              7
38.      Longo Spl.its- JJBP         314979,6     Tremolite       Cl.eavage         4.1        .25             15
40.      Longo Spli.ts- iJJBP        3149796      Tremolite       Cl.eavage        2.13         .2             10
42.      Longo Splcits- J-JBP        3149796      Tremolite       Cl.eavage        4.46         .3             15
43.      Longo Spl.its- JJBP         3149796      Tremolite       Cleavage         4.46         .3             15



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                                                                                            Gref.B-FIN01-000162




                                                     JA368
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        and a histogram of the data




        and the NIEHS Width Distribution for Cleavage Fragments




                                                 .... \Nidth (microns)
                                              • • • P~gi--163-

                                                                         Gref.B-FIN01-000163



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        and the RJ Lee data for L>5 and L < 10


. list if M =="Tremolite" & L > 5 & L<:10



                    Report    SampleID     Mineral~e      Classificati~G   Length   Width     Aspect~o

 6.    Lango Splits- JJBP      3149785     Tremolite           Cleayage     6.06       .37          16
16.    Longo Splits- J,JBP     3149785     Tremolite           Cleavage     7.45       . 96          7
23.    Longo Splits- JcIBP     3149785     Tremolite           Cleavage     5.12       .84           6
25.    Longo Splits- ,JJBP     3149785     Tremoli te          Cleavage       5.1      .35          15
28.    Longo Splits- ,JJBP     3149785     Tremolite           Cleaya,ge    8.29       .63          13

29.   Longo Splits- JJBP       3149785     Tremolite           Cleavage     5.99       .46          13
31.   Longo Splits- JJBP       3149785     'I'remoli te        Cleavage     6.02       .95           6
33.   Longo Splits- ,JJBP      3149790     Tremolite           Cleavage      6.9        .8           9
35.   Longo Splits- ,JJBP      3149790     Tremoli te          Cleavage      9.6        .8          12
36.   Longo Splits- cTJEP      3149795     Tremolite           Cleavage     7.81       .61          13

      Longo Splits- JJBP       3149796     Tremolite            Cleavage    5.13       .35          15
39.   Longo Splits- JJBP       3149796     Tremoli te           Cleavage     5.6       .25          22
41.   Longo Splits- JJ]c.P     3149796     Tremolite      Asbestos Fiber    7.65        .2          38
44.   Longo Splits- c1JBP      3149796     Tremolite            Cleavage    5.53        .1          55
45.   Longo Splits- JJBP       3149796     Tremolite            Cleavage    6.92       .46          15




       The comparative histograms :.ire shown below.




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                                                                                    Gref.B-F!N0,-000164




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          Here are the tremolite data measured by RJ Lee




          and the tremolite cleavage fragment data measured by NIEHS




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                                                                       Gref.B-FIN01-000165




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         and finally,particles > 10 microns in Le11gth

         Firstly, RJ Lee
          list if M =="Tremolite 11 & L >10

              +----------------------------------------------------------------------------------+
                           Report    SamplcID   Mincrc:ilA•c ClassiA·G Length    VJidth  Aspect--o I
              1----------------------------------------------------------------------------------1
          11. I Longo Splits- JJBP      3149785   Tremolite   Cleavage    16.6     .57           29   I
          27. I Longo Splits- JJBP      3149785   Tremolite   Cleavage    10.4     .63           17   I
          30. I Longo Splits- JJBP      3149785   Tremolite   Cleavage    16.6     .99           17   I
          32. I Longo Splits- JJBP      3149785   Tremolite   Cleavage    11.1     .92           12   I
              +----------------------------------------------------------------------------------+




        and then                                                                         NIEHS




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                                                                                         Gref.B-FIN01-000166




                                                  JA372
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    Dr. R.J. Lee has testified about the width distributions of fibers and cleavage fragments.

    Dr. R.J. Lee, a microscopist and mineralogist with R.J. Lee and Associates, also noted the
    importance of width in distinguishing asbestos fibers from nonasbestiform cleavage fragments. Dr.
    Lee testified to the following: First airborne asbestos is less than one micrometer in diameter, unless
    it's present as bundles or clusters, which exhibit the characteristic fibrillar structure of asbestos, or
    as Dr. Wylie indicated, the hallmark of asbestos. Asbestos larger than a half a micron is a bundle.
    Second, nonasbestos particles longer than five micrometers in length are generally more than one
    micrometer in diameter, and only rarely less than half a micrometer in diameter. (Federal Register
    / Vol. 57, No. 110 / Monday, June 8, 1992).

    Here are the "Cleavage Fragments" greater than 5 microns in length measured in Johnson's Baby
    Powder by RJ. Lee.




    As stated by Dr. Lee: "Nonasbestos particles longer than.five micrometers in length are generally
    more than one micrometer in diameter, and only rarely less than halfa micrometer in diameter. "

    One may conclude, based upon the comparative measurements between RJ Lee and NIEHS, and by
    Dr. Lee's criteria, that the Tremolite particles measured in Johnson's Baby Powder by RJ Lee are
    not cleavage fragments but fibers.




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                                                                                           Gref.B-FIN01-000167




                                                  JA373
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                                              Chinese Talc
     Longo and Rigler analyzed samples of talc from Chinese sources for amphibole fibers.


    Analysis of Johnson & Johnson Baby Powder
    and Valeant Shower to Shower Talc Products for
    Amphibole Asbestos
    Chinese
     February 2019


    Analysis of J&J Johnson Baby Powder and Vaieant Shower to Shower Off the Shelf
    or Client Samples:
    Source of the Cosmetic Talcum Powder is the Guangxi Mine in China

    "The Lanier Law Firm requested that we analyze Johnson and Johnson & Johnson (J&J) and
    Johnson's Baby Powder (JBP) and one J&J Shower to Shower (STS) container where the source
    of the talcum powder was shown to be from the Guangxi mine in China. We have also
    segregated our previous analyses of 13 containers of Johnson & Johnson's Baby Powder (JBP)
    and Va leant Shower to Shower (STS) where the source of the cosmetic talc used in these products
    was also the Guangxi mine in China.

    These JBP /STS and Valeant STS talcum powder sample containers were either purchased off
    the shelf or provided by clients in either mesothelioma or ovarian cancer cases. These 18 JBP
    and STS containers were purchased between and 2017 and therefore, the cosmetic talc was
    supplied by lmerys Talc America, Inc. or Luzenac to J&J and Valeant Pharmaceuticals. It is
    recognized by us that the Valeant STS products were not sold by J&J during this time frame.
    However, the Valeant STS talcum powder products used the same source of talc (China) as did
    J&J. Therefore, thP rlata from the Va!eant STS products is relevant to out testing of the J&J
    talcum powder products.



    Analysis for Regulated Amphibole Asbestos

    China
    This report contains the results for our analysis of 18 J&J/Valeant talcum powder containers
    where the source of the cosmetic talc was Guangxi, China. Out of the 18 containers, seven
    were positive for regulated amphibole asbestos. For the positive containers, the amphibole
    asbestos structures of talc concentration range from 7,160 fiber/bundles per gram to 18,800
    fiber/bundles per gram of talc. The analytical sensitivity for the analysis ranged from 6,970 to
    16,597 fiber/bundles per gram. Of the 18 samples tested, 11 were below our analytical

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                                                                                           Gref. B-FIN01-000168




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    sensitivity or non-detects.

    For these analysis, the type regulated asbestos amphiboles was of the tremolite solid solution
    series (tremolite, winchite, richterite & actinolite) and anthophyllite solid solution
    series (anthophyllite, iron-rich anthophyllite, cummingtonite & grunerite).

    A TEM Amphibole Analysis Procedure

    JEOL l 200EX ATEMs equipped with either a Noran or an Advanced Analysis Technologies (light
    element) energy dispersive x-ray analyzer (EDXA) were employed for this analysis. ATEM
    samples were analyzed at a screen magnification of20,000X. Amphibole fibers or bundles with
    substantially parallel sides and an aspect ratio of5:l or greater, and at least 0.Sµm in length were
    counted as regulated asbestos fibers and bundles per standard TEM counting rules as described by
    ASTM D5755, ASTM D5756, ISO 10312, ISO 13794, AHERA (TEM section only) and Positive
    identification of amphibole asbestos requires EDXA for mineral chemistry confirmation and
    selected area electron diffraction (SAED) for each amphibole type. For anthophyllite series
    asbestos, two separate angle SAED were acquired.

    Counting Rules
    100 grid openings were analyzed for each of the JBP/STS and Imerys talcum powder samples. The
    100 grid opening counts were split evenly between two grids. All amphibole fibers/bundles that
    meet the above-stated size criteria were recorded on the MAS TEM structure count bench sheets for
    each sample. Length and width of each amphibole fiber/bundle was recorded and identified. Every
    amphibole structure identified and counted by the analyst required observation of an EDXA spectra
    matching the mineral chemistry for that particular amphibole and a SAED amphibole pattern.
    EDXA spectra and SAED patterns are recorded/saved for every asbestos amphibole structure found
    in the samples. Photomicrographs were taken of the amphibole fibers/bundles found from each of
    the samples that were positive for amphibole asbestos. Results were reported as either amphibole
    asbestos fibers/bundles (structures) per gram of talc or in weight percent. Analytical
    sensitivity/detection limits were reported as structures per gram.

    Analysis Results

    The results of Dr. Longo's analysis are shown in the Table below.

    The column entitled "Calculated Average Fibers/ Bundles per gram of talc is a calculation in which
    values below the Detection Limit are replaced by ½ Detection Limit. As noted previously, this is
    not necessary when Maximum Likelihood Methods are used to compute averages over the
    collection of samples.

    The Spreadsheet for the Maximum Likelihood analysis is shown on the page following the
    photographs of fibers observed in the powders.




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                                                                                         Gref.B-FIN01-000169




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                                                                    Table l
                                                                    P.TEM                               Approximate
                                                                                     C.:.tb:ulated
             rv1;.,s                                               A"alysis                             Ftbe r /Bundle,
                          Client S;;cimple           ()ate of                          Average
           .Sarnpl-E                                            Fib1cr/bundt-es                          Per i'..C -o-f Air     Product
                              Number                   Mfg                          Fiih1r/EhHHll<es
           Numbe.r                                               Per gram c.,f                           jfrom fjg vs
                                                                                   P-er gram -:>f Tak
                                                                      Tak                                f/cc Gr;:.;ph)
           M66507-     SGPa 11-28-1611;
                                                      2006         <9,120               4,569                0.0035               JB?
           001 CA'        Gail Koretoff
           M66508-      SGf'B 1-28-17{1)
                                                      2016         <8,050               4,025                0.0035               lBP
            001 CA          Off-shelf
           M66509-     SG?S 1-28-17 (2)
                                                      2016         <9,143               4,372                O.OIBS               JBP
           001CA            Off-shelf
           M66510-     SGPll 2-27-17(3)                                                                                           STS
                                                                    18,100              1:r.200              0,()lQ[t
            001 CA        John Ctrrrie                2016                                                                      VaJeant
           M66511-      3Gl'B 3-1-17[1)                                                                                           STS
                                                      1017         <8,8-00              4,400                0.0035
           C-01 CA          Off-she\'f                                                                                          vateant
          1\/166511-   5GP8 3-11-17 (l)                                                                                           STS
                                                      1013          8,8()(1             8,800               0,('(}6(1
           001 CA        Earl Whe@i<fr                                                                                          \/al":mt
           M665B       SG?B 3-21-~17 (4 l
                                                      2011         <S,560               4,280                 0.01                !BP
            C-01 CA       Ear . 'vVhee:!er
           M66515-     SGPE.I 4-19-17{6)              2011
                                                                    8,740               3,740                0.0060               !BP
           001 CA       Pc1 uHne Citiz,;;_n
          M66.516-     SGP!l 4019-17{7)
                                                      2012          8,6'.clO            8,690               0.0035                JBP
           001 CA       Pauline CJtiz~n
          •M63379-     SGPB ll-22-17(1)
                                                      2004          <6970               3,845                0J]!030              .IBP
             001       Joanne t'.11-derson
           M6,8379-    SGPB 11-22-17(2)
                                                      1004          7,16-0              7,160                 0.006               JBP
           002CA       Jc,:a11n:e .a\nde:rson
          M66352-           #1 Lanier
                                                      2014         <16,597              8,293               0.0060                JB?
             001           Krystal Kim
          ME:6351-          #2 La1oier
                                                      2014         17,200               17,200               0,0035               JBP
             002          1(1ystal Kim
          M67420-
                            itl Lanier                2017         <8,367               4J,283              0.1)035             JBP"
          001 CA•~
          M67420-
                            #2 Lanier                 2017         <',::lfq.:J:;        4,703                0.006              JBP ..
          002 CA*'
          M67420-                                                                                                                 J&J
                            #3 Lanier                 lt117        18,800              18.,800               0.0100
          003 CA••                                                                                                              STS ••
          M67420-
                            #4 Lanler                 2017          <9540               4,770                 0,006             JBP"
          004CA*'
          M67420-
                           .#5 Lanier                 2:017        <3,359               4,429               0,0(135             JBP"
           005 CA
         CA - purchased in California           "¥   Purchased in California in 2017




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                                                                                                                              Gref.B-F!N01-000170




                                                                 JA376
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                  The fibers detected were:



      Str. #                Grid Openina        Str./Asb. TvPe                         Lem:1th          Width          Ratio              SAED           EDS
                               CH\ Ill.                  PI.ICn

                                     u-r                '1'-'-'

                                     85          B/Actinolite                             2.3           0.22           10.5            Observed          Ii!
                                                         ....,,.,_
          2                          H3           F/Rlchterlte                            11.2            0.2              56.0           Observed            0
                                                         .. ,.... """'
           1                          16          B/Richterlte                            20              2                10.0        Observed              It]


                                 A2              B/Tremolite                              20             0.7           28.6            Observed           0
                                 A,-,                  l.11""11 .....




I                   I         C6               Fiber
                                                                  I Tremolite                    3.7            0.4           9.3     I Observed             l?:I

                                 r\V                   ,~..;,1,,1
                                 A6              8/Tremolite                            2.3             0.46           5.0                 X             X
                                 fl.7                  l\l~r'l


     J'111-.,IV               ...u
        1                     89               Bundle                      Tremolite             11.5           1.3           8.8         Observed        ~
     MQn                      l:Hfl



I                    ~ ..
                                I"'
                                H4
                                llr        I   Bundle               I     Anthophylllte    I      4.1
                                                                                                         I      0.45
                                                                                                                       I 9.1          I        X
                                                                                                                                                     I       X
                                                                                                                                                                    I
I      2
                    I
                             l:i2
                             G3
                             ~,1           I   Fiber            I        AnthopfJyllite   I       7
                                                                                                        I       0.2
                                                                                                                       I     35,0
                                                                                                                                      I        X
                                                                                                                                                     I r     X




                                                                                       Page -171-



                                                                                                                                    Gref. B-FIN01-000171




                                                                                    JA377
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                                                               Gref.B-FIN01-000172




                                    JA378
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....... :it-- .~··_A_··--~--                                                                           ... B..................................................... - - ~ ~ -                                        ,· · •. • .C ••.·.· (                 IJ                    i •
, 1;::I                              Spreadsheet for Maximum Likelihood Calculations of Amphibole Concentrationsj'! ,C,:~ir,ie_!ie, yatc


Lt···                                                                                                                                                        .                           Solver Cells
\?:.         . [)~TA" •••••••• ··;                                  Log Likelihood of Observation, given esiimate of Mean & SD •••••••• !starter jMean i8.88~~14439S
(9! 1§20_{)__                                          J;=iN((1/((2'Pl())"-0.5•E:&6})'EXP(-(112}'((LN(A6}~E$5:WE$6)"2})····························          i S!~'!~~--- ~.f?. !0.538901034:C:
    8800                                           .   [==LN(Cl/((2"Pl()r'0.5*E$6))*EXP(-(112t((LN(A7}-E$5~E$6)":i))
    . . 7 40. ...................................... ]==!::N((1/{(?",l"l(}Y':Q.5"E$6 ))'E)<P(-(1 /2)"((LJ\J(f\8}~E$!i}/E$6}"2))
         690                   ................. 1':!::N((1/(C2.~f'IOY':Q.?'E:$:6})*EXPH112t((L~J(AIJ}-E$5}/E:$6}"W . .
        160. ...                          ..... L=LN((11cc2~1"1QtQ,q:si~,rExPc-(·1.12>·ccLN(A1qtJ=~s}l·1::..$s,Xin .


                                                                                                                                                                                                                                                     ~
        '72Q:O ..                                    . i :::.l,l'J{{1/((2'Pl(l}"0.5*E$6)}*EXP(-('1/2)*((LN(A11):E$5)IE:$6)"2,))
        8800 .                                         :==LN((:1/((?*Pl()):"0.5* E$6 }YEXPH112)' ((LN(A12)-E$5 )JE$6}"2)) ....

                  :~~~-                      ·!; t~~~g~~g:$f~t~rnJ·~~~:~:~:~:~:+=~·~·~~                                                          ................................. . : t :
                                                                                                                                                                                                                                                            ==nNJ~                    •••'"•••••••• .. ••••••••·


       ............ QJ4.3 ... . . l.=lN(NQRMDIST{LN(9143),E$5,E$6,TR.UE))
                                                                                                                                                                                                 ;
                        :8800 ................. J:==1=N(NQRMPIST{LN{8800),E$5J::S.~,IR.lJJ:))
            ..........<8560.............. J.==lN(NQRMP1$I(L,,Nrn~!JO),E$5,E$6,IRUE))
       .         ... <6970               ... (=LN(NOR!vlJ)j§T(Lr-J(697QJ,ES5,E$6,TRl,lE.))                                                                             ........................ 1.1:·              !
                                                                                                                                                                                                                 ,¢'½                        .......... ,_,,. •• ._ .... ,._ •. ,     , _ , •• ,s,•;mo,m,o,-,o,½   .,




                    <16597 ....... <::Lf',f(NOR,MDJST(LN(16597),E$5,E$6,TRUE})
            ... <8367 ..                        i==l,,tJ{NQRMDIST{LN(8367),E$5,E.$6,TRUE}}                                                          ••••••••••••••••                                                                   L.                                                                                ,
                       <9407               . J==L,,NCNQRMQlST(lN(9407).E~5,E$6,TRUE})                                   .. ...... .... .....                         i .                                 .......                                                                                                         l
                       <9540                . t==bNCNORMi::J.l§T(LJ\JrnS.4P>iE~s,E!li6,TRWE)) . .. ... ......... . . . ...... .. ...............:-•                   1 ........... ,...........................J ....... .
                      .<!3j:l~f} ........ l=!::N{NQR!y1Dl~T(L1'J(8!3:i9),E$5,E$6,TRUE}}                                                                                                                                                +·
       ---~·············i . . . . . . . •. . . . . . . . . . . . . ·...........                                                                                                                             ---• ..
                                                         !Total LogUkefihood                                                                     ............ ·:·===·~=} ~ ......... J .
                   .......... . . .. •. .... .. ········ 1=sDMis6:02ii .............................
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                                                                                                                                                                                                                            Gref. B-FI N01-000173




                                                                                                       JA379
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    I used the fommlae for the arithmetic mean and stl:lndard <leviatio11 described in the Perkins
    textbook (Perkins JL. Modem hldustrial Hygiene. Volume I: Recognition and Evaluation of
    Chemical Agents. New York: Van Nostrand Reinhold; 1997).

    The arithmetic mean concentration was about 8400 structures / gm and the standard deviation was
    about 5900.


    To calculate the Confidence Intervals for the Arithmetic Mean, I used the methods described in: Ulf
    Olsson (2005) Confidence Intervals for the Mean of a Log-Normal Distribution, Journal of
    Statistics Education, 13:1,, DOI: 10.1080/10691898.2005.l 1910638.

    The Confidence Intervals for log(Mean) are:




                   s2                                          s4
       Y+ • ±z --+-- ---
          2    fJ 2(n-1)
    This gives the 95% Confidence Interval on the arithmetic mean concentration to be (6500-11,000)
    structures gram.

    We thus have that the mean concentration of amphibole structures in the powders manufactured
    from Chinese talc was 8400 (6500 - 11,000) structures I gm of powder.

    Recall that for Vermont talc the mean concentration of amphibole structures in the powders
    manufactured from Vermont talc was 23,700 (14,500 - 39,000) structures/ gm of powder.

    So, the concentration of Amphibole fibers in Vermont talc was nominally higher than that of
    amphibole fibers in Chinese talc. I used at-test to analyze whether this difference was statistically
    significant.




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                                                                                         Gref.B-FIN01-000174




                                                  JA380
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t-Test resdt:
1, t-Scom:
                                                                       1,696

2. Standard ErrorofDiff8rence:
                                                                       0,2359

3, Degrees of Freedom:
                                                                       30.3727

4, Tv;o-taHed p-Value:
                                                                       0.1798


Pick a c:onfidencr inter.,,al:

                                            95%




Confidence range:

1. Mean Difference:
                                                                       -OA

2. Confidence Range:
                                                                       -0.8816                     0.0816




             The result was that the difference between the concentration of fibers in the powders from the 2
             sources failed to achieve statistical significance. However, regression analysis of the count data
             using Negative Binomial Regression showed that the concentrations of amphibole fibers were
             significantly higher in the Vermont than in the Chinese powders.


             Chrysotile Asbestos in Chinese Talc

             Longo has used a concentration method and reported chrysotile fibers in Chinese talc.




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                                                                                                 Gref.B-FI N01-000175




                                                         JA381
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     'This report provides the analytical results for tlie testing of three 1,5 oz. Jl3P talcum powder
     containers that were purchased off-the-shelf in 2020 at CVS and Walgreens located in Suwanee and
     Johns-Creek, Georgia. The talcum powder in the three JBP 1.5 oz. containers were analyzed for
     chrysotile asbestos and fibrous talc using the ISO-22262-1 PLM method without heavy liquid
     separation (HLS), and the Colorado School of Mines (CSM) PLM method for chrysotile with HLS
     at 2.72 g/cc. The CSM-PLM method was implemented at MAS in January of this year. JBP
     container samples were also analyzed by the Blount-PLM method for amphibole asbestos, with
     HLS at a density of 2.81 g/cc.'

     Overview of Results

    The ISO 22262-1 (w/o HLS) method for chrysotile showed that all three JBP container samples
    analyzed were positive for chrysotile asbestos at an estimated volume weight concentration range of
    between 0.008 to 0.01 %.

     The Blount-PLM amphibole asbestos method showed that all three off-the-shelf IBP samples were
     found to be non-detects for amphibole asbestos.

    For the PLM-CSM method for chrysotile, all three JBP samples were found to be positive for
    chrysotile asbestos. The estimated chrysotile weight percent (recovery weight corrected) for the
    three JBP container samples was between 0.0012 to 0.0030 % by volume weight estimation.



                                                   Table 2
   Overall Summary of Off-The-Shelf JBP 1.5 oz. Container sample Analysis Results


                       JBP              1S0-PLM                            Weight           CSM-PLM
                                                         Blount-PLM
        MAS          Container          w/o HLS                           Recovery          withHLS
                                                          with HLS
     Sample#           Codes           Chrysotile                           CSM             chrysotile
                                                             trem/act
                                            %                                                   %
    M71166·001        08719RA         0.006:-0.008            NOA*          17.0%       *"'O.OcilS-0.0017
    M71166-002        24219RA         0.009-0.010              NAD          14.6%        0;0013-0.0030
    M71166-003        24119RA         0.009-0.010              NAD          13A%         0.0012-0.0026


    And the concentration of Chrysotile bundles:




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                                                                                      Gref.B-FIN01-000176




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                                      Table 8
             Summary of Estimated Chrysotile Bundles per gram Calculations
                             For the JBP ISO & CSM PLM Results


                                          Chrysotile                CSM-PLM             Chrysotile
                   ISO PLM w/o HLS                                                     Bundles/gram
      MAS                                Bundles/gram                with HLS
                     Chrysotile %
    Sample#                                                        Chrysotile%

    M71166                                                        0.0015-0.0017
                      0.006-0.008                                                        1;263,576
      -001                                  822,000
    M71166                                                        0.0013-0.0030
                      0.009-0.010                                                        1,466,000
     -002                                   1,311,000
    M71166                                                        0.0012-0.0026
                      0.009-0.010           1,347,000                                    1,490,000
     -003

             Total 1S0-PLM Average= 1,160,000                Total CSM-PLM Average= 1,406,000



    Dr. Longo commented:
    'For the 1.5 oz. JBP containers we analyzed, each contained 42 grams of talcum powder, using the
    average number of chrysotile bundles for both methods, 1,283,000 chrysotile bundles per gram
    would equate to approximately 61,000,000 PLM size chrysotile bundles. Assuming that the average
    amount of talcum powder dispersed during the typical application of a 1.5 oz. JBP container is 4
    grams by an adult user of this product, then for each application, approximately 4,000,000
    chrysotile bundles would be potentially dispersed into the breathing environment of that user.'

    Johnson Recall

    In 2019, Johnson recalled a batch of Baby Powder after FD A testing found chrysotile asbestos.




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                                                                                     Gref.B-FIN01-000177




                                               JA383
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Johnson & Johnson onsun1er Inc. to Voluntarily Recall i\
Single Lot of Johnson's Baby Po,vder in The United States
                                                                              Abu1,,l,,;1ce oj'Ca11!i;,,1


                                                        Lor               r>rod11c1,i        S'hippeci


NEVV BRUNSWICK, NJ, October 18, 2019 - Out of an abundance of caution, Johnson & Johnson Consumer Inc. (JJCI) announced that
it is initiating a voluntary recall in the United States of a single lot of its Johnson's Baby Powder in response to a U S. Food and Drug
Administration (FDA) test indicating the presence of sub-trace !eve ls of chrJsotile asbestos contamination (no greater than 0.00002%) ;n
samples from a single bottle purchased from an online retailer. Despite the low levels reported and in full cooperation and collaboration
wiih the FDA, JJCi is initiating ihis voiuntary recaii of Lot #223i8RB of Johnson's Baby Powder, from which the tested sample was taken

In parallel. JJCI has immediately initialed a rigorous thorough investigation into this matter, and is working with the FDA to determine the
integrity of the tested sample, and the validity of the test results. At this early stage of the investigation, JJCI:


    ,. Cannot confirm if cross-contamination of the sample caused a false positive.
    • Cannot confirm whether the sample was tal<en from a bottle '-Nith an intact seal or whether the sample was prepared in a
       controlled environment.
    ,. Cannot confirm whether the tested product is authentic or counterfeit.




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                                                                                                                   Gref. B-FIN01-000178




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                  AMA Analytical Services, Inc.
                                  fo..:,.,,,,J ,Jn I~"'"'"                                    CERTIFICATE OF ANALYSIS
       Chain of Custody; 308006                                                                  lob Name: Toi$k3 - Aru-lyili of Official Samples                                                    0.at-e Submitted~ 7/2'1/1019
                  C1knt:        us
                             rood & OtiJg Altmltaitlll;Uon                                    JQIJ-1.ot;ttlM; 4th Group - lS!:.amf)le~                                                                D°'• ,.,,.,,,,,., 8/lD/!019·Sl18/l019
                Ad'dreu: Office cf C:o,;,metla. & cotor,                                       Job Number: CLIN 1 - tuk .1                                                                              Repatt DaU!; l(J/3/2019
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              Attentlort: John Casper                                                                                                                                                                           W:f!Visedi 10/H/101!1 {ftewlon illJ
                                                                                                    SUMMARY OF ANALYSIS
                                                                                                                                             S Total Ttl!mafit~ &
                                        TlMiOD                    TEMI.OQ           'Ji rremolite by n.M        '.llithrysct~tr(TEM
    AMA         tlitil'1t   •                                                                                                                 Ctvys,ot(I(! ~ ttll.t      ~             '\S       s Acid
                                                                                                                                                                                                                                            Comments
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                                       Qlr:ullliDn               Clkull\ion               C1lculati0ll             C.ak,datiOA                      Cal,:ul1tion
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           FDA Statement

           The U.S. Food and Drug Administration is alerting consumers of a voluntary recall by Johnson &
           Johnson of Johnson's Baby Powder after FDA testing has found that a sample from one lot of the
           product contains chrysotile fibers, a type of asbestos. Consumers who have Johnson's Baby Powder
           lot #22318RB should stop using it immediately and contact Johnson & Johnson for a refund. The
           FDA stands by the quality of its testing and results and is not aware of any adverse events relating
           to exposure to the lot of affected products.

           During talc mining, if talc mining sites are not selected carefully and steps are not taken to purify
           the talc ore sufficiently, the talc may be contaminated with asbestos. Asbestos is a known
           carcinogen. It is important to note that the FDA has been conducting testing of talc-containing
           cosmetic products for asbestos. Not all talc contains asbestos and the majority of product samples
           tested by the FDA did not contain asbestos.

           Since 2018, the FDA has been conducting an ongoing survey of cosmetic products for asbestos and
           to date has tested approximately 50 cosmetic products. As part of this testing, two samples of
           Johnson's Baby Powder were tested: one sample from lot #2231 SRB was found to be positive for
           asbestos; a second Johnson's Baby Powder sample, lot #00918RA, tested negative for asbestos.
           The FDA expects to issue the full results from this survey, including all tested products having both
           positive and negative results, by the end of the year. Since undertaking the testing, the agency has
           warned consumers when products tested positive for asbestos, advising them to stop using affected
           products, including not to use certain products from Claire's and Beauty Plus Global. The FDA will
           continue to update its safety alert with new information as it becomes available.

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                                                                                                           JA385
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    Measurements of Shulton Prnducts Including Old Spice Body Powder

    According to the Deposition ol Whittaker Clark and Daniels corporate representative Theodor
    Hubbard (Los Angeles Superior Court BC607192; Aug 8, 2016) Italian ore from the Metropolitan
    Talc Company was used from 1977 to 1983. In 1976, the ore was from the Hitchcock mine in
    North Carolina.Ore from Alpine, Alabama was also used. Old Spice Talcum Powder products
    were manufactured into the early to mid-1990s.

    Lewin, in his 1973 report to the FDA, reported 1% tremolite in Old Spice Body Powder.

    According to the February, 2020 report of the geologist Sean Fitzgerald, 'Whittaker, Clark &
    Daniels was the primary supplier of talc (99%) to the Shulton Company for use in the
    talc-containing products manufactured in the Clifton and Mays I ,anding, N.I plants, including Old
    Spice®, Desert Flower® , and Friendship Garden® talcum powders.

    The talc supplied to Shulton came from the mining of three talc formations. The first was known as
    American Ground Italian (AGI), which was talc from the Val Chisone talc mines in the Piedmont
    region of northwest Italy. Grade 1615 was such an AGI talc. Whittaker, Clark & Daniels also
    supplied Shulton with talc grade 2450 (a.lea., 643), from a mine located in Cherokee County, North
    Carolina. This talc came from a geologic belt known as the Murphy marble belt, specifically from
    the I Iitchcock mine, approximately I .Smiles southwest from Murphy, NC. Thirdly, grade 141 was
    supplied from Alpine Alabama, from the talc mined in Talladega (and nearby Tallapoosa;
    Dadeville) County. This talc was mined in a zone of metamorphic rocks that contains both asbestos
    and talc deposits, and includes areas rich in amphibolcs, specifically, anthophyllite.

    All three of these talc formations sourced for use in the subject products have been shown to
    contain asbestos, both in the geologic investigations of their formations and in the laboratory
    analysis of talc ore and products sourced from these mines.'

    With respect to North Carolina Talc, Fitzgerald wrote "I have personally visited this area, collected
    samples, and confirmed tremolitc presence in the talc mines of the Murphy, NC marble and talc
    belt. I confirmed asbestos presence including in the Hitchcock talc mine. In both hand samples of
    bedrock and collected samples of milled talc taken from the mine I confirmed asbestos presence in
    the laboratory, including chrysotile, winchite, richterite, and asbestiform tremolite.'

    With respect to Alabama talc: 'I have personally tested grade 141 in a manner consistent with and
    in fact parallel to my testing of AGI 1615 (see Italian talc section, to follow), and confirmed that
    grade 141 talc contained releasable fibers of chrysotile and anthophyllite asbestos.'

    And for Italian talc: 'Further, in 2013, I personally tested samples of talc ore (AGI 1615) given to
    me for testing from Dr. Arthur Langer and Dr. Robert Nolan, experts retained by the companies
    involved in this case, including Colgate. ("TEM Images, EDS Spectra, and SAED of Asbestos
    Released from Source Talc Grade 1615".) The samples were confirmed as originating from the Val


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                                                                                        Gref. B-F! N01-000180




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                ChisoneNal Gem1anesca region and of a 1970s vintage. In my testing of the Italian ore, I found
                both asbestiform anthophyllite and asbestiform tremolite, and occasional chrysotile asbestos.'



  Sam le Asbestos
   1615 Anlhopyllite &Tremo!ite                 7          100         1320 200      50      0.25 10 0.0128


  Sam le Asbestos                             count Volume EFA sus ns al' uot;,dilu.tloirGO GOA
     141 Anlhopyll"e &Chrysotile 6                         100         1320 130      30 !ft,2~07[ 10 0.0128
                          Table 1: Calculated concentrations o_f asbestos released fi·om Talc Grades 1615 and 141.



                Fitzgerald also measured release of asbestos from containers of Old Spice and Desert Flower talcs.




2-rlght      ALL (chryj         5       100         1320         400     Jo    ',M,S • 10
2•<:enter
2-cen1er c~e
2-cooter All
             Ant!lop~11e                 25
                                         25
                                         25         :~E :: i~~ 1:z\l]t;1 ~~
S&mple
Mell
             As.besllls
             Anlllophyfltte
                               toont
                                2
                                       Volume
                                        100
                                                    EFA
                                                    1320
                                                            •
3-Len        Tremoltte           3       100        1320
3-t.elt      ALL                 5      100         1320         400

3-right      Anlhlll)hyllile    1       100         1320         400     20
3-tigllt     Tremolit&          3       100         1320         400     20
3-rlghl      ALL                4       100         1320         400     20

'.l-eenler   Anthoph)'flilll    2        25         1320         400     100
3-tenter rremolile               1       25         1320         400     100
3-<:enter ALL                   3        25         1320         400     100




                He also measured tremolite in the Dustfall.

                Mr. Fitzgerald's summary stated:

                "In summary, the talc sources for the historic Shulton talcum powders supplied by Whittaker, Clark
                & Daniels were formed in geologic formations that can and do have asbestos minerals associated
                with them, and asbestos has been confirmed by geologists and associated with those talc ores.
                Repeated testing of both the grade 1615 Italian talc from Val Chisone and the grade 141 talc from
                the Hitchcock mine in North Carolina have been found to contain asbestos, including anthophyllite,

                                                                                            Page -181-



                                                                                                              Gref.B-FIN01-000181




                                                                                            JA387
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    trcrnolite, and chrysotile asbestos. Finally, my ownreleasability testsofOld Spice® and Desert
    Flower® found significant concentrations of airborne asbestos, including the same three mineral
    species historically identified, namely chrysotile, anthophyllite, and tremolite asbestos."

    Dr. William Longo tested samples of Old Spice. Powdered samples were obtained, but the
    containers were not identified, nor the year of manufacture.


    ANALYSIS REPORT
    MAS Project # M70594
    Old Spice Talc Powder Products
    01/15/2020


    "This report includes the results of analyses foi sixteen of seventeen containers of Old Spice Body
    Powder {OSBP) samples. The samples were supplied to Materials Analytical Services, LLC by J3
    Laboratories on behalf of Phillips & Paolicelli on June 10, 2019 and were then assigned MAS
    laboratory project identification number M70594 and sample numbers 001-017, respectively.
    The container labeled OS-028C was found to be empty so therefore, only 16 Old
    Spice aliquots were analyzed for the possible presence of amphibole asbestos.

    The 16 OSBP samples were analyzed for the possible presence of amphibole asbestos by both
    PLM {ISO & Blount method) as well as ATEM with heavy liquid separation {HLS). Also, a
    semiquantitative analysis for amount of fibrous talc in the 16 samples was also done by both
    ATEM and PLM during the analysis.

    Each of the 16 OS-C containers were examined by polarizing light microscopy by both the ISO
    22262-1 PLM {w/o HLS) and the Blount PLM method with HLS. For the analytical transmission
    electron microscopy {ATEM); the samples were first prepared by the ISO-22262-2 heavy liquid
    (HLS) cosmetic talc analysis method. For the ATEM analysis, suspected amphibole asbestos
    structures were analyzed by the three-step method: 1} morphology, 2) energy dispersive x-ray
    spectroscopy (EDXA) and 3) selected area electron diffraction (SAED), for the verification of
    fibrous amphibole asbestos.

    The overall results showed that 8 of the 16 {50%} OSBP samples were positive for the tremolite
    asbestos solid solution series.

    ATEM

    For the ATEM analysis, six of the 16 (38%) OS-C samples were positive for amphibole asbestos at
    a concentration range of 6,950 to 48,500 asbestos fiber/bundles per gram of talcum powder,




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                                                                                     Gref. B-F! t--101-000182



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    with an average asbestos ratio of 12.5 to 1. For the 13 fibrous tremolite asbestos structures
    found by ATEM, a/113 were classified as bundles.

    Blount PLM
    For the Blount PLM method {with) HLS there were 5 out of 16 {31%) positive for
    tremolite/actinolite asbestos. The aspect ratio for all of the amphibole asbestos bundles found
    was all greater than 20:1. Also, 14 out of 16 samples were found to contained
    tremolite/actinolite cleavage fragments cleavage {nonfibrous).

    ATEM Analysis
    For the ATEM analysis, 100 grid openings were analyzed between two grids {SO openings per
    grid). JEOL 1200EX ATEMs equipped with either a Noran or an Advanced Analysis Technologies
    {light element) energy dispersive x-ray analyzer {EDXA) were employed for this analysis.
    The sample was analyzed at a screen magnification of 20,000X. Verification of regulated asbestos
    structures is done in the ATEM by the following three steps:

    Morphology {Step 1)
    For the determination of the fibrous morphology {step 1) for any potential regulated amphibole
    asbestos structures in the sample was done by the standard ATEM methodology. For
    morphology, fibers and bundles, the potential asbestos structures must have substantially parallel
    sides with an aspect ratio of 5:1 or greater, and at least 0.5 µmin length.

    Amphibole Asbestos Verification (Steps 2 & 3)
    For potential fibrous asbestos structures that fit the above morphology criteria, they are analyzed
    in the ATEM by EDXA for the fiber/bundle chemistry {step 2) and selected area electron
    diffraction {SAED) for the appropriate crystalline lattice measurements for regulated amphibole
    asbestos.The detection limit for this method, as specified by the ISO 22262-1, is the findings of
    either 1 fiber or 1 bundle in the analysis.

    ATEM Analysis
    For the ATEM analysis, six of the 16 {38%) OS-C samples were positive for amphibole asbestos at
    a concentration range of 6,950 to 48,500 asbestos fiber/bundles per gram of talcum powder,
    with an average asbestos ratio of 12.5 to 1. For the 13 fibrous tremolite asbestos structures
    found by ATEM 13 or 100% were classified as bundles.




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                                                                                      Gref.B-FIN01-000183




                                                JA389
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                                      Table 1. Sample Analysis Results

                    Client Sample   ATEM TEM str+·
                                                - -p-L- /                                         Fibrous Talc
  Sample Number                                    PLM w o HLS                 Blount-PLM
                       Number          / gram              ___                                   Amount (1S0-PLM}

    M70594-001         OS-002C          <7;070             NDA*                   ND.A*
                                                                                                     Abundant

    M70594-002         0S-003C          <7,100             NDA*               <0.1%Trem/Act
                                                                                                     Abundant

    M70594-003         0S-007C          <7,210             NDA*                   NDA*
                                                                                                     Abundant

    M70594-004         OS-008C          <6,960             NDA*                   NDA*
                                                                                                     Abundant

    M70594-005         OS-012C          <6,950             NDA*                   NDA*
                                                                                                     Abundant

    M70594-006         OS-013C           7,240             NDA*                   NDA*
                                                                                                     Abundant

    M70594-007         OS-018C          <7,010             NDA*                   NDA*
                                                                                                     Abundant

    M70594-008         0S-020C           7,210             NDA*               <0.1 %TremlAct
                     ---
                                                                                                     Abundant

    M70594-009         OS-021C           7,110             NDA*               <0.1%Trem/Act
                                                                                                     Abundant

    M70594-010         OS-023C          <7,100             NDA*               <0.2%Trem/Act
                                                                                                     Moderate
                                                                          -                                     ----




   M70594-011         OS-024C           <7,090             NDA*                   NDA*
                                                                                                     Moderate

   M70594-012         OS-027C            7,290             NDA*                   NDA*
                                                                                                     Moderate
   M7()<;q,1_n1 ~     OS-028C           N/A**              N/A*                      II
                                                                                   ~•1  A*
                                                                                        r\
                                                                                                       N/A*
   M70594-014         OS-029C           <7,180             NDA*                   NOA*
                                                                                                     Moderate
                                                                  -   -

   M70594-015         OS-030C           48,500             NDA*               <0.2Trem/Act
                                                                                                     Moderate
                                                                                                     ------     --




     M70594-016       OS-031C           14,200             NOA*                   NDA*
                                                                                                     Abundant

   M70594"017         OS-032C           <7,130             NDA*                   NOA*
                                                                                                     Abundant
*NDA: No fibrous Amphibole structures detected with aspect ratios~S:1
**N/A: Not applicable, no sample in the OS-028C container


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                                                                                             Gref. 8-F!N01-000184




                                                  JA390
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             SUPPLEMENT ANALYSIS REPORT
                         MAS Project# 70092
                     Old Spice Talcum Powder

      May 15, 2020


                                              OVERVIEW

The 17 Old Spice talcum powder split samples were analyzed by MAS for the possible presence
chrysotile asbestos using the PLM HLS method developed by the Colorado School of Mines (CSM},
and provided in late 1972 to early 1973.1•2


The CSM-PLM results showed that 16 of 17 (94%) OS-B sample splits were found to be positive for
chrysotile asbestos. The estimated chrysotile volume weight percent for the positive 16 OS-8
sample splits was an estimated range 0.2 to 1.4 wt. percent. (20 % recovery corrected). The one
sample that was not positive for chrysotile was 05-028, M70092-013.

Additionally, fibrous talc, at a trace estimated concentration, was detected in all 17 OS-B samples
analyzed by the CSM-PLM method.




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                                                                              Gref.B-FIN01-000185



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                                       Table 1. Sample Analysis Results

                                       ATEM f-b/gram               PLM             Blount-PLM
                                                                                                      PLM-CSM
                     OS Sample#        With HLS (2.8S)        with-out HLS        with HLS (2,81)
   MAS Sample#                                                                                      with HLS (2.70)
                                         Amphibole            Amphiboles           Amphibole
                                          -                                                           Chrysotile
                                                                as.l:te.ru>s
    M70092-001          0S-002B               11,700                NDA*               NDA           0.6 to 1.0%**

    M70092-002          OS-003B               12,100                             0.02% Trem/Act       0.4to 0.8%
                                                                    NDA

    M70092-003          0S-007B               <5,690                NDA                NDA            0.4to 0.8%

    M70092-004          05-008B               <4,310                NDA                NOA            O.&to 1.4%

    M70092·005          OS-012B               <6,030                NDA                NOA            0.8 to 1.4%

    M70092-006          05-013B               22,200         <O. l %Treml Act          NOA            0.4to 0.8%

    M70092-007          OS-018B               <5,930                NDA                NDA            0.8to 1.4%

    M70092-008          OS-020B               12,100                NDA           o.02%Trem/Act       0.2 to 0.6%

    M70092-009          OS-0218               <5,720                NOA           0.02%Trem/Act       0.2 to 0.6%

    M70092-010          OS-023B               <6,060         <0.1%Trem/Act        0.02%Trem/Act       0.4to0.8%




   M70092-011         05-024B            <4,470                 NOA                 NDA             0.4to 0.8%

   M70092-012         OS-0278            18,200                 NDA             0.02%Trem/Act       0.4 to 0.8%
                                                           <0.1%Trem/Act        0.4% Trem/Act
   M70092-013         OS-028B            61,800                                                       NDA*
                                                             <0.1%Anth             0.2%Anth
   M70092-014         OS-029B            <6,010                 NDA                 NDA             0.6to 1.0%

   M70092-01S         OS-030B            17,700                 NDA             0.02%Trem/Act       0.2 to 0.6%

   M70092-016         OS-031B             4,590                 NDA                 NDA             0.4 to 0.8%

   M70092-017         OS-032B            <6,130                 NOA                 NOA             0.4 to 0.8%
*NDA: No Fibrous Amphibole Structures Detected.
**CSM-PLM results weight corrected for HLS 20% recovery




                                                       Page -186-




                                                                                             Gref.B-FIN01-000186




                                                       JA392
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                 ANALYSIS REPORT
             MAS Project # M71045
                    Old Spice Retains
     May 15, 2020



                                       PROJECT SUMMARY


This report includes the results of analyses for the three Old Spice talcum powder containers were
submitted to MAS by Lee Poye, on behalf of the law firm of Simon, Greenstone & Panatier, and
received by MAS on 1/3/2020. The three Old Spice talcum powder containers were assigned MAS
laboratory project identification number M71045-001, 002 and 003 and were labeled OS-006A, OS-
016A and OS-033A Photographs of the three Old Spice sample split containers can be found in
Section 7 to this report,




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                                                                              Gref.B-FIN01-000187



                                            JA393
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                                            OVERVIEW

The three Old Spice talcum powder samples were analyzed by MAS for the possible presence of
amphibole asbestos (tremolite series & anthophyllite series) by the Blount/PLM and ATEM, with
heavy liquid separation (HLS), and the ISO-PLM method without HLS sample preparation.

Also, the three Old Spice tafcum powder samples were analyzed for the presence of chrysotile
asbestos using the PLM HLS method developed by the Colorado School of Mines (CSM), and
provided in late 1972 to early 1973. 1•2

For the three OS-A container samples, all were found to be below the detection limit for both the
ISO-PLM and I5O-ATEM methods.

For the Blou nt-PLM method, OS-00lA sample was positive for tremolite/actinolite, while the other
two OS-A samples (OS-016A and OS-033A were both found to be below the detection limit for
amphibole asbestos by the Blount-PLM method.


The CSM-PLM results showed that all three OS-A sample splits were found to be positive for
chrysotile asbestos. The estimated chrysotile volume weight percent for the OS-A container
sample M71095-001 was a range of between 0.60 to 01.6 wt. percent. (20 % recovery corrected).




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                                                                                 Gref. B-FI N01-000188




                                              JA394
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                                  Table 1. Asbestos Analysis Results



                 Client                      ATEM             1SO-PLM      Blount-PLM       CMS-PLM
   Sample                    Vear of
                Sample                     Amphibole        with/out HLS    with HLS        with HLS
   Number                  Manufacture
                Number                      Asbestos         Amphibole     Amphibole       Chrysotile
                                           F-B /gram        wt. percent    wt. percent     wt. percent
   M71045-
               OS-006A       unknown         <5,580            *NDA         <0.01%        0.60 to 1.60*,i.
     001

   M71045-
               OS-016A       unknown         <6.980            NDA            NDA          0.01 to 0.02
    002

  M71045-
               OS-033A       unknown         <7,130            NAD            NAO          0.01 to 0.02
     003
 *N DA: No Fibrous Amphibole Asbestos Structures Detected
 **CSM-PLM results weight corrected for HLS 20 % recovery




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                                                                                  Gref. 8-FI N01-000189




                                              JA395
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                                                                                  8
   i                                   Spreadsheet tor Maximum Ukei1hood CaicuiatlOns of Longo Old Spree Data
.2,j
   •':)    '
   ~J_     :

   4 i
   5 :
  6]7240                                    i=U,J(( 1l((2•Pl(W'0.5 'E$6 :.Y EXP(-(1/2 /' riU~ iA6 }-E$5')/ES6 ;1 2/ ;,
  1?11210                                                                        n
                     •••••• •• r~LN(("1/((2*"r;l(}}"05' E $6 ))' EXFil'.'112 (U,J (A7~E$5}/E $6 Y· 2}}
:$;J711 O                             .. !:::U,J(( 1!((2*Pl(})"Q.5* ES6))'EXP(-(1/2 / ((LN(A8}-E$5)/ES 6;1•2J:,
  3 7290                                    •=LN((1!({2*Pl()}"O ,5*E $6))"EXP(-( 1/2)*((LN (.A9 }-E $5 )/E$6 }'2))
 10 148500                                 •=LN((1!((2*Pl(}}"0.5*E$6))'EXP(-(112}*((LN(A 10 {-E$5)/E$6}"2))
 11 j 14200                                  =LN((1/((2' Pl()Y•0.5*E$6})'EXP(-(112)"1:(U·J(A·11 )-E$5)/E$6}"2))
 1~;j11700                                 :=LN((1l((2*PIOY•0.5'ES6))'EXP(-(1.12}*((U,J(A·12}-E$5;v'ES6Y'2))
13! 121 DO             ....... J=:LN!fllt.12~Pl()Y,05*ES6))'EXP(-(1/2}'ltU•.J(,A13)-E$5;JE$6)''2)) _
',4J22200           .. . .. J:::LN(r.·11((2,'P!ffl"_Q,5'E $6) !'EXPH112)' ((U•,J (AJ4):-E: :!:>_5 \IE $13 }"2 ))
,<•••i,~"<'tmo .. ~, ...

 15 '18200                                 I=LN((1/{(2*PI OY'O. 5*E$6);'EXP(-1 ·1 /2)*( (LN(A15}-H5:,✓E$6)'•2))
 16, J61tJOO                             ..' :::I.cN((if((2'Pl())l'O. 5*E$M' EXP (-(112)* ((LN(A ·1 6 }-E$5)/E$6}"2 ))
17 17700                                   :=LN((1/((2'Pl()t'0.5*E$6)tEXP(~(112)*((L~J(A17}-E$5}/E$6f'2))
18. 45£10                        , .J::HJ ((i/((?.'P!OY'.Q,5,'ES6) }'f:XPH1!2;,• I (U·J (A18}-E:$5)/E $6 }" 2 ))
            <7070                       _j:::LN(NORfyl[)l$T(U,J(7070},E$5,E$6,TRUE))
            <7100                          l=LN(NORMDIST'(LN(7100},E$-5,E$6,TRUE))
            <72J(I ••, •••• \:::LN(NQRtvlblST(LN(7210),E$5,E$6,TRU E))
            <6960                          :=LN(NQRMDIST(LN(6960},E$5,E$ 6JRUE))
            <6950                          :=LN(NQRMDJST(LN(6950), E$5,E$6 ,TRUE))
                        ...... j:::LN(NORJ111.[)ISI(U•,J(70·10;.E$5,E$6,TRUE11
                                          l=U•,J(NCRM[)IST(l,Nf71 OD},E$5,E$6.TRUE))
                    '' ''''''''' ,. . !~U,J(NORMPlST(U,J(709D)j:=~2:E$fi,TRUE))
                                           ,=LN(NQRMDIST(Lt,J(7180),E$5,E$G,TRUE))
                                       ... '=l.cN(NQRMDIST(LN(7130}.E$5,ESG,TRUE))
                                       . ':=:l.cN(NQRfv![)lST(LN(5690),E$5,E$6,TRUE))
                                           j=LN(NORMDl?I{!.cN(431 O},!':$:i,E§6 ,TRUE)) ..
                  ....................... !:==l.cN(NORtvl[)l:=J.I{LN(6030},!':$!>,E$6,TRUE)} .
                 . ........ ..... !:==U•,J(NORMQIST(LN(5930}.E$t>,!':$6,TRUE)}
                                           1:==bN(NCf3MOIST{Lf',.J(572D},E$5,E$6,TRUE.}}
                                           i =LN(NQB,MD!ST(LN(6060),E$5,E$6,TRUE))
                                           !=l.cN(NQRMDIST(LN(4470),E$5,E$6,TRUE)}
                                        [::LN(NOR_tv,l[)l§T(LN(6010), E$5, E$6,TRU E)) _ ...
      <6130                      , .J:::LN(NORM.QlSI(LN!6130),E:$,5,E$6,TRUE})
      <5580                              j:::LN(NOR.~ll:)l!?I(IJ\JJ55 80),f:~:i,l:;~6 ,TRUE l).
      <6980                                i=Lf,Jit~CRMDfSTrU-J(6_9HO},E$5 E:&6,TRUE))
1QL<71J9 ...     •                        1;v~cN1?Rr~iiJ1s-fiP~c113oi,Ess'.E$6,TRuE,,
4i                                         jT(}t<1l l,,<>gUkelrhood
                                          : =§llfvl(l:f!>: 840}




                  I used the formulae for the arithmetic mean and standard deviation described in the Perkins
                  textbook (Perkins JL. Modern Industrial Hygiene. Volume I: Recognition and Evaluation of
                  Chemical Agents. New York: Van Nostrand Reinhold: 1997).




                                                                             Page -190-



                                                                                                                         Gref B-FIN01-000190




                                                                                JA396
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J.4.. O'L                                         J.lc =                     exp[µ1. +<½~
f.l.,. Or.                                        1-t<: =                    µ, exp((½)<TJ

l1t., c.T1,                                        Ge=                       ~[exp(21,1.L + er,,})[ex!(of)-11
11.,. 01.                                          Oc=                       ✓µ;cexp(a2Jl[exp(~)-IJ


              So Mean= di exp(8.31 + 0.5*(1.22)"2)
              8560

              and SD
              . di (exp((2*8.3 l) + l.22/\2)*exp((l.22* 1.22) - 1))/\0.5
              10,900

              The arithmetic mean concentration was about 8560 structures / gm and the standard deviation was
              about 10900.

              To calculate the Confidence Intervals for the Arithmetic Mean, I used the methods described in: Ulf
              Olsson (2005) Confidence Intervals for the Mean of a Log-Normal Distribution, Journal of
              Statistics Education, 13:1,, DOI: 10.1080/10691898.2005.l 1910638.

              The Confidence Intervals for log(Mean) are:




                              s2
                 Y+ ·... ±z
                               2
              This gives the 95% Confidence Interval on the arithmetic mean concentration to be (5000-14,500)
              structures gram.




                                                             Page -191-



                                                                                               Gref.B-FIN01-000191




                                                            JA397
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    We thus have that the mean concentration of amphibole structures in the Old Spice powders
    1neasured by f)r. _Longo \.Vas 85(,0 (5000 - 14,500) structures/ gn1 of powder.

    It should be noted that neither the manufacture dates nor mine sources of the powder samples were
    available. It is thus possible that these samples represent a mixture of sources.

    Measurements of Clubman Talc


    FDA Memo

       EMORAND UM                               DEPARTMENT Q, HL.\UH, E.DUCATlON, AND \\IEl,FARE
                                                                 POBLl<J HEALTH SERVICE
                                                            FOOD .-\.!,,;D DRUG ADMrr-trsTRJ-.TlON



                   Dr~ Robe.rt M. Schaffner, Director
                   Office of 'I'er:hnol.ogy (BP-400)




      );1f    -~   Dr . .Alfred Weissler, Acting Director
                   Division of Color Technology (BF-430)

      JJEC'l': Summary and Comments un Pro£. Lewin rs Analytical Rest.1lts for Asbestos
               in Tale




             163                   Pinaud •Clubman Talc

                                                              RESULTS
                                     N. Y.U.                   FU\                          PFIZER
             SAMPLE NO.       (X-R.~Y DIFFRACTION)      (OPTICAL HICROSCOPYl          (X-RAY DIFFRA.CTION)




              163                      10%                     la,ge amount                            3.8%



    Dr. Steven Compton analyzed 4 samples of Clubman Talc on behalf of a plaintiffs attorney (MV A
    12113, September 2017). Three samples were from Pinaud Clubman containers and one sample
    was recovered from an application brush. All three containers had barcodes suggesting they were
    manufactured in the mid 1970s or later. The sample retrieved from the application brush is alleged
    to be a sample of Pinaud Clubman talcum powder used by the plaintiff.

    After visual examination and labeling with an MVA sample number, each sample received was
    photographed and a representative portion of each sample was weighed, suspended in filtered
    deionized water, and a known aliquot was extracted and filtered through a 0.4 micrometer pore size
    membrane filter. Each filter was dried and grids prepared following standard direct preparation
    procedures for analysis by transmission electron microscopy (TEM). The grids were examined
    using a Philips EM 420 transmission electron microscope (TEM) equipped with a Thermo

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                                                                                                              Gref. B-FIN01-000192




                                                                 JA398
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    Scientific Noran System 7 energy dispersive x-ray spectrometry (EDS) analysis system and capable
    of selected area electron diffraction (SAED).

    Talc fibers were not counted, but were discounted after confi1111ing their identity by elemental
    composition and observation of a pseudohexagonal diffraction pattern, consistent with the reported
    literature. Anthophyllite, tremolite, and actinolite fibers were designated as such based on their
    elemental composition and linear repeating diffraction patterns. When possible, a zone axis pattern
    was indexed to confirm the mineral identity. For each prepared sample, a laboratory blank sample
    was prepared following all of the same procedures except for the addition of test material.

    During the TEM examination, numerous platy and fibrous talc particles were observed. In addition
    to talc, anthophyllite fibers (one or more) were detected in all samples. The anthophyllite fiber
    concentration for all four samples ranges from approximately 11 to 51 million fibers per gram.
    After estimating the mass of the fibers counted, this corresponds to a quantity ranging from
    0.00005% to 0.002% by weight. No asbestos or talc fibers were detected in the analyzed blank
    samples.




            Figure 9. TEM image (above) and EDS spectrum (below) of an anlhophyllite fiber
                                     -             ·-


                     Table 1. Summary of TEM Bulk Sample Analytical Results

          MVA                                                                 TEM Analvsls Results
        Sample                                                        Fib&rs          %Wt        [Fibers Pfr
          ID                Sample Description                       Confirmed      Asbestos        Gram]
        AC0764         Pinaud Clubman Talc in tin (11 oz)                 1         0.00053     11,000.000
        AC0765         Pinaud Clubman Tale in tin (1 'I oz)               4         0.0010      51,000,000
                            Pinaud Clubman Tafc in
        AC0766                                                            2          0.0020     20,000,000
                                plastic bottle (255g}
                         Duster brush filled with Pinaud
        AC0767                                                            1         0.00005     12,000,000
                             Clubman talc powder




                                                        Page -193-



                                                                                               Gref. B-FIN01-000193




                                                        JA399
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    The length, width, and Aspect Ratios of the anthophyllite fibers measured by Dr. C01npton are
    shown below.

                                       ,. ;:J;,';~i~~)(·'   :width        A.s~e,~~~r.io.
                                   }(I            1.91          .33                   ,;;

                                   •
                                   3
                                                    .,i,

                                                  1.5            .OS
                                                                     .l
                                                                                    30
                                                                                      ~




                                   4              :LS           .as ,                 a
                                   5              l~S           .1s •                 a
                                   •              2.S
                                   7                  3

                                   e              2.1




    The mean width was 0.215 microns+\- 0.163 microns.

    There is some controversy whether the anthophyllite particles measured by Dr. Compton are best
    described as asbestiform fibers or cleavage fragments. According to Dr. Ann Wylie, Professor of
    Geology at the University of Maryland, "Rather than aspect ratio, width is a much more
    fundamental parameter of asbestos fibers, and perhaps will shed some light on how we tell particles
    that are elongated, whether they are cleavage fragments, or whether they are asbestos." A critical
    dimensional distinction between asbestiforrn fibers and cleavage fragments appears to be their
    widths. Thus, Dr. Wylie stated that her analyses of width show that about 80 percent of the
    amphibole cleavage fragments longer than five micrometers, have widths greater than one micron,
    and none have widths less than 0.25. Dr. Wylie also pointed out how the width of asbestos fibers
    will influence their aspect ratio. She stated that the mean width of asbestos fibers is less than half a
    micron, and if you have five micrometer particles, you have to have an aspect ratio of at least 10 to
    1. Moreover in her comments she stated that while low aspect ratio fiber (or fiber bundles) are
    present in asbestos populations, they are characteristic of short asbestos fibers. Since the mean
    width of asbestos fibers is less than 0.5 micrometers, the mean aspect ratio of a 5 micrometer fiber
    is about 10:1. (Federal Register/Vo 1. 57, No. 110 / Monday] June 8, 1992).


    Dr. R.J. Lee, a microscopist and mineralogist with R.J. Lee and Associates, noted the importance of
    width in distinguishing asbestos fibers from nonasbestiforrn cleavage fragments. Dr. Lee testified to
    the following: First airborne asbestos is less than one micrometer in diameter, unless it's present as
    bundles or clusters, which exhibit the characteristic fibrillar structure of asbestos. Asbestos larger
    than a half a micron is a bundle. Second, nonasbestos particles longer than five micrometers in
    length are generally more than one micrometer in diameter, and only rarely less than half a
    micrometer in diameter. (Federal Register/ Vol. 57, No. 110 / Monday, June 8, 1992).

    Now, Dr. Wylie has published data on anthophyllite clevage fragments in the Canadian
    Mineralogist (Wylie 2016).




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                                                                                            Gref. B-FIN01-000194




                                                             JA400
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TABLE 7B. AMPHIBOLE CLEAVAGE FRAGMENT EMPS DERIVED FROM CRUSHED SAMPLES


                                              II
                                       :i.nthophyllite
                                          Sweden

 1 < L < 5 ~tm
                            52
 % all EMPs
                        0.72 0.06
 width mode (~1rn)     3.71 ± 0.29
 mean width ± SD (~tm) 0.24-1.44
 range (~tm)

     So, for cleavage fragments less than 5 microns in length, the mean width was 0.71 +/- 0.29
     microns.

     We can thus compare the width distribution of the amphibole particles measured by Dr. Compton
     with the mean widths of a population of anthophyllite cleavage fragments.

     Two-sample t test with unequal variances

                       Obs           Mean      Std. Err.      Std. Dev.      [95% Conf. Interval]
     ---------+--------------------------------------------------------------------
             x I          8          .215      .0576292            .163      .0787286       .3512714
             y I         81           . 71     . 0322222            . 29     . 6458757      . 7741243
     ---------+--------------------------------------------------------------------
     combined I          89     .6655056       .0333252       .3143895       .5992788       .7317325
     ---------+--------------------------------------------------------------------
          diff I                    -.495      .0660257                    -.6389129       -.3510871

         diff = mean(x) - mean(y)                                             t=             -7.4971
     Ho: diff = 0                            Satterthwaite's degrees of freedom=             11.9586

         Ha: diff < 0                       Ha: diff != 0                         Ha: diff > 0
      Pr(T < t) = 0.0000               Pr(ITI > ltl) = 0.0000                  Pr(T > t) = 1.0000


     The null hypothesis that there is no difference in the mean widths between the anthophyllite
     particles measured by Dr. Compton and the anthophyllite cleavage fragments published by Dr.
     Wylie is rejected (P = 0.0000). This is consistent with the particles measured by Dr. Compton being
     asbestiform and not cleavage fragments.




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                                                                                        Gref.B-FIN01-000195




                                                JA401
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                                                          Reference List

         Wylie AG. 2016. Amphibole Dusts: Fibers, Fragments, and Mesothelioma. Canadian Mineralogist 54: 1403-1435.




         English Leather

         Dr. Seymour Lewin did not detect asbestos fibers in English Leather talc by the use of X-ray
         diffraction.



EM-C) RAND lTM                                      DEPARTMENT OF HEALTH, EDUCATION, AND WELFARE
                                                                            PUBLIC HEALTH SERVICE
                                                                      FOOD A1''D DRUG ADMTNISTR.'\TlON.



         Dr. Robert M. Schaffner_, Director                                                  July 31, 1973
         Office of Technology (BF-400)



)M       Dr. Alfred Weissler, Acting Director
         Division of Color Technology (BF-430)
lJECT:   Summary and Comments on Prof, Lewin 1 s Analytical Results for Asbestos
         in Talc




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                                                                                                    Gref. B-F! N01-000196




                                                         JA402
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               Measurements of Baby Powder Air Concentrations
     A: Longo: Measurement of Fibers in the Breathing Zone of a Subject applying Baby Powder
     below the Waist (MAS Project 14-1852, September 2017).

     Approximately 4 grams of baby powder were applied to the lower body of an investigator. The
     NIOSH 7400 PCM and 7402 TEM methods were perfonned to determine if any detectable
     amphibole asbestos fibers from the Johnson's Baby Powder were released into the Breathing zone
     of the investigator. Four personal samples were collected and fibers were detected by PCM and
     TEM.



                                                      Overview
        This n•port dest:ribes th€ prou•dures and methodology used ta analyze for lllrbome asbestos
        amphilwle fiber exposurt> during the app,k<l!1an of talc-containing Johnson's Baby Powder
        metal container M6S20S-001. Prevli:rns bulk ATEM analysis of the Johnson's llaby Powder from
        this can showed a tremolite concentration of 15,100,000 tremollte fibers.
        Approximately 4 grams ol baby powder were .\pplied to too lower bodv of sn investigator to
        determlnt!- the potential exi:>osvre levels of an individual to asbestos arnphlbole flbert. while
        applying Johnson's Baby Powder. Both the NJOSH 7400 PCM method and the WOSH 7402 TEM
        method were performed to determine if any detectable amphibole asbestos fibers from tile
        Johnson's Baby Powder wem relea~ed into the breathing zone of the investigator and
        immediate surrounding area in the ECL. The Johnson•~ Eiaby Powder apphcatlon procedure
        used ln this stvdy was based on the Nstimony of rhe plaintiff, Jody Ratcliff.

        The NIOSH 7400 PCM analysis found mat the four personal sample results ranged from ~.SS
        1/ccto 5.86 f/cc with an average moan of 4,5Z f/cc. Arna air $\ll\1ple resv.!tsw~n!! 0.2.8 t/cc to
        O.SS f/cc with an averaee mean of 0.41. f/cc.

        Four of the personal PCM !ilters were analyzed by 1he NIOSH 7402 TfM method and the
        percent tremolite asbestos fiber concentration ranged from 42.9% to 76.9% recsultlng in 3 !'CM
        enuivalent range of 1.61 f/cc 10 4.51 f/ct.




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                                                                                                             Gref. B-FI N01-000197



                                                               JA403
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                 and fully sumnFJr1zed tn Settlor) 3, Specii,c results tor both tne PC1Vl and TEM :1P2lv~es c.an be
                 found irt Sections Sand U of this rep on,

                                                              Table l
                                            Johnson's Bnbv Powder
                             PCM & nM Airbo.me Tremolite & Tali; Fiber Exposure levels
                                                             ?CM           740?TfM                     140.:HM
                                    No, of Air S~m~l-c-;
                     Sample JD                                             "fr2molit@-
                                         Analy,ed
                                                              f/cc




    B. Johnson's Baby Powder Application to Baby During Diaper Change: A Work Practice
    Study. Longo, Rigler, Egeland, Bennett. Materials Analytic Services. January 2019.

    A. The study was performed in the MAS, LLC Suwanee, GA exposure characterization lab (ECL)
    constructed using negative airflow asbestos abatement technology. The internal volume of the ECL
    is approximately 15 ft. wide x 20 ft. long x 8 ft. high that simulates the approximate size of a
    typical room. The ECL was thoroughly decontaminated before the study.

    B. A IO oz. container of Johnson's Baby Powder (M66 I 73-003) was placed on a changing table
    situated in the center of the ECL. Also located on the changing table was a 20" long clothed and
    diapered vinyl/silicone based baby doll. The doll was placed on top of a vinyl contoured changing
    pad. The baby powder and a spare disposable diaper was placed above the head of the doll. At the
    doll's feet was a vvipe used for cleaning the baby's bottom prior to re~diapering. The investigator
    donned typical type clothes consisting of a flannel shirt and a pair of blue jean pants on top of a pair
    of protective polypropylene based coveralls. The baby doll was donned with a cotton and polyester
    jump suit, a disposable diaper, crocheted bootees and head cover. The investigator entered the work
    area standing to the side of the changing table containing the baby doll and startedthe air sampling
    pump placed near the baby. The investigator re-diapered the baby performing the following
    procedural steps: 1). Unbuttoning the dolls jump suit, 2). Removing and disposing of the original
    diaper, 3). Cleaning the doll's bottom with a wipe, 4). Applying talc to the doll's bottom with
    approximately 3 shakes of the can, 5). Rubbing the talcum powder on the diaper area of the baby,
    6). Placing the new diaper on the doll, adjnsting it as needed and re-buttoning the jump suit, and;
    7). Lastly, standing next to the doll for a period of approximately 2 minutes before turning the


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                                                                                                                      Gref. 8-F!N01-000198




                                                               JA404
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        baby's air sampling pumps off and exiting the work area. The study was concluded and the area air
        sampling pumps were turned off.

        Total air sampling time for area and personal samples was 5 & 6 minutes.

        All air samples were analyzed by the NIOSH 7400 PCM method using "A" counting rules. After a
        portion of the filter had been removed for the PCM analysis, selected air filter samples were
        analyzed by the NIOSH 7402 method using ATEM. Additionally, air samples were analyzed by the
        typical TEM counting protocols (asbestos fibers/bundles >0.5µm in length, with parallel sides and
        aspect ratio> 5.0 to 1.)

        Results

        The Baby Powder can had been analyzed previously, and was found to contain 4,120,000 tremolite
        fibers and bundles/gm.



                         PERSONAL SAMPLES

                     Sample             PCM       TEM (7402)           PCME               TEM (ALL)
    Samele#          OescrlR:tion     Fibers/cc % Asbestos            Fibers/cc      Fibersfcc Asbestos
   rv168705-005       Personal
                                        D.82             0              <0.50                0.32
     P-1-A        (Right Shoulder)
   rv168705-003       Personal
                                        0.73             83.3           0.61             In progress
     P-1-S        (Right Shoulder)
   M68705-007         Personal
                                        1.3              60.0           0.78                 2.10
     P-1-C        (Left Shoulder)
   M68705-008         Personal
                                        0.64           100.0                             In progress
                                                                        0.64
     P-1-D        (Left Shoulder)
   M68705-009         Personal
                                        2.8              57.1           1.6              In progress
     P-1-E        (Right Shoulder)
   M68705-010         Personal                                          3.0
     P-1 -F       (Left Shoulder)
                                        3.5              85.7                                1.16




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                                                                                    Gref.B-FIN01-000199




                                               JA405
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    The PCME(TEM corrected fiber count) ranged from 0.6 - 3 flee.

    The concentration of fibers measured by PCM is given in the 3rd column, and the percentage of
    asbestos, by TEM is given in the 4th column, the PCM concentration, corrected for the
    concentration of non-asbestos fibers, is given in the 5th column. Non-asbestos fibers would include
    fibrous talc and other fibers, such as cloth dust. Assuming that all of the non-asbestos fibers were
    fibrous talc, then the concentration of talc fibers is the difference between PCMe and PCM. This is
    given in the Table below.

     Sample                                            Concentration of Talc Fibers (flee)
     PIA                                               0.5
     PIB                                               0.12
     PlC                                               0.52
     PlD                                               0
     PIE                                               1.2
     PlF                                               0.5
     Average (Excluding 0 count)                       0.6 flee




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                                                                                       Gref. B-FIN01-000200




                                                JA406
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     C. Measurements of Baby Powder Air Concentrations by Other Investigators

     Measurements of air concentrations during the use of Johnson's Baby Powder had been made
     earlier.

     1. In 1972 Dement and colleagues at the National Institute of Occupational Safety and Health
     performed a study of the fiber concentrations associated with the use of Baby Powders (J. Dement
     et al. Fibers Exposure During Use of Baby Powders. NIOSH 1972).




       In 1968, the U.S. Public Health Service examined 22 talcum products
 for the presence of fibrous m~:t;erials and found a range of 8% and 2290 by
 particle count. 2 No attempt: was made to determine fiber.exposure during
 the use of these· Pl'Oducts. In the present study nine commercially
 available baby powders ,~;ere .. .i.nve~~igated for fibei· and free ·si02 con.tent
 and a test conducted _on- each of these products to determine fiber expos-
 ure to both mother and baby during dusting. It was found that fiber con-
 c;entrations reached a maximum du.ring tho first thirty seconds of po1•:der
 use and diminished rapid~y with time. Concentrations were found to range
 between 0-18 £ibers g,:eatex than five microns in length per milliliter of
 air in the first thirty seconds .of powder use. The percentage of free •
 Si0 2 in the powders was found to range £rom 0.05% to 2 .03!'.; by weight.
 Purthe.r analysis of these powders will l>e necessary in order to properly
 identify the £ibors which were observed.



                 .            .,
    A total ef nine (9) baby powders were pu:rchased from \fa_lgl'een
D~gs ·on March 28., • 1972 lo<J: these. experiments.. Tliese powders are
listed in Table l ..




                                                Page -201-



                                                                                     Gref.8-FI N01-000201




                                               JA407
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       Jolrnson & Johnson          .Johnson & Jolnson                  tlcxac:hlorophcne, Ja.l c              5. 5 oz       .78
       Medicated       Powder      New Brunswick, N.J. 0$90.3

5      Diaparene                   Breon Laboratories, Inc~Nethy-lbenzethomiwn    9                                    oz   .94
                                   New York, New York 10016 chloride, Cornstarch.
                                   Subs. of Sterlfog Drug    &Magnesium carbonate
       Johnson 8.:ibr Powder       Johnson &Johnson                                                            9       oi   .76
                                   New Brunswtck, N .J. 0$903




                                             FIBER EXPOSURE
                                                  TO BOTH
                             MOTHER f,ND BABY DUR ING 15 SECOMD DUSTING

                                  (SECO~lD TALGUl•I PO\',llI]R EXPERii-lENT}



                                                                   SampZe        li'IlJCRS >5µn-Itl LEi!GTfl
                       Powde:r                    Sub;jec:t;        Pin:e           Ave:::·::,s· e  Cone.
                                                                    (Nin)       Pibe:t>s/Fie ld       F-iD:1£1s/c::c

      If 1.   Vaseline Intcns.i.vt: Care          Hother             2 .o             .06                 2.7
                                                   Baby              2.0              .05                 2.2
      II 2, Crib Age Pwder                        Hothor             2.0              .10                 4.5
                                                   Baby              2.0              ,12                 S.4
      114J Johnson & Johnson Medicated            Mother             2.0              .04                 1.8
                                                   Baby              2,0              .02                 0.9

      #6'     Johnson Baby Powder                 Mother       .     2.0              .05                 2.2
      I                                       I    Baby              2.0
                                                                            I         .04
                                                                                                  I        l.S
                                                                                                                       I
     The PCM counts were similar to those measured by Longo using a sample of Johnson's Baby
     Powder from Italy. The Baby Powder purchased by NIOSH was likely manufactured from Vermont
     talc.

     Ifwe assume that the talc component was similar to that measured by Longo, namely 0.6 flee, the
     asbestos concentrations (PCM) were 1 - 1.5 flee.




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                                                                                                  Gref. 8-F!N01-000202




                                                  JA408
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       2. Johnson and Johnson Measured Fiber Concentration s in 1977




                                        ~~
                                        BABY PRODUCTS COMPANY
                                                                              RARITAN. N.J. 08869
CC:     W. H. Ashton
        B. Semple
        W. Sherman                                           June 6, 1977
        \Y.   Waggoner

SUBJECT:        USPHS/NIOSH Membrane Filter Method
                for Evaluating Airborne Asbestos Fibers
                Method Applied to JBP for Determina tion of Talc
                Fibers in Airborne Re·spirable Fraction - 0503. 01

      TO:      Mr. G . Lee



               In a previous memo (Jan. 25, 1977) under this title, we
               report~d the results of applying this NIOSH method for
               measuring fibrous dust particles in an airborne JBP
               dust cloud. The cloud was cre.ated during shake .dis-
               pensing of JBP 118-D from the regular 9 02,. container.
               We found that 4% of tbe particles in the dust cloud
               were fibrous by NIOSH definitit>n , e.g., any particle
               having an aspect ratio of 3:1 or greater and which is
               5 microns or longer is classed as a fiber.




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                                                                            Gref. B-FI N01-000203




                                             JA409
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    In this present experim ent, the same thing was done,
    however . oaly the respira ble sized particl es (10 microns
    and below) were collect ed from the dust cloud and measure d.
    Results
    Totr1-l r.on,~en tration -
                           Respira ble particl es/cc = 244
    Fibrous concen tration - Respira ble fibers/ cc= 4.4

    These data indicat e the fiber concen tration at approxi
    mately 2% of the total airborn e respira ble size particl e
    concen tration.
    Discuss ion
    The fiber content oI the total airborn e talc cloud was
    found to be about 4% (from the 1/25/77 study), and the
    fiber content of the respira .ble fractio n only_.. of the
    cloud1was found to be 2% by the present experim ent.
    Experim entally, these results are in the same range, and
    we conclud e that 11 NIOSH definit ion" fibrous particl es are
    about evenly distrib uted through the particl e size range.
    present in airborn e JBP.


    /by



    The concentra tion of respirable fibers was 4.4 flee. This would have been a mixture of fibrous
    talc, asbestos, and possibly other fibers as well. Ifwe assume that the talc component was similar
    to that measured by Longo, namely 0.6 f/cc, the asbestos concentration (PCM) was about 3 ±;'cc.




    3. In another Study, Johnson measured the concentra tion of fibers in a dust cloud of Baby
    Powder.




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                                                                                     Gref.B-FIN01-000204




                                               JA410
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                           <L.L~"~
                           ~
                                                 J~J,.,...~
                            '-' r .. r.,c, '-"• .,,~"' ,_vrtr-O'-' r~

                           BABY PRODUCTS COMP.ANY
                                                                         RARtJ AN; N.J. 08869


                          Special Talc Study •
                          Project No. ,0503.0l •
             Report fo~ Dece~ber· 1976, January 1977




SUM:&IARY:




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                                                                        Gref.B-FIN01-000205




                                        JA411
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       Because of the possibility that both agencies ·may adopt the
       NIOSff Membrane Filter Method as official, it was deemed
       expedient to gain some prior data on the application of this
       rnethod to JBP. By NIOSH definition any particle having an
       aspect ratio of 3:1 or greater and which is 5 microns or longer
       is classed as a fiber.
      By this NIOSH method, airborne particles are sampled and deposited
      on a membrane filt~r where they are counted and shape aspect
      determined microscopically.
      Results:
      Two determinationi;; were made:



       , Tdta,T· cqi\centritibh---particle s/ cc
         3fr~.;l.ilfhel.' ~gg,wv,i;trat1g~-::--J~1;>ers/cc •
      These data indicate the 3:1 aspcct'ratio particles (fibers) as
      determined by the NIOSH Membrane Filter Method, would be approxi-
      mately 4% of the total concentration of ~irborne particles in
      the talc cloud caused by dispensing JBP from'its container.



    The Johnson investigators noted that the concentration during adult use was about 8 times
    the concentration when the powder was applied to babies.

    4. Anderson and colleagues (Anderson EL, Sheehan PJ, Kalmes RM, Griffin JR. Assessment of
    Health Risk from I-Iistorical Use of Cosmetic Talcum Powder. Risk Anal. 2017;37:918-929.)
    measured the concentration of fibers in the breathing zone of volunteers who applied Colgate's
    Cashmere Bouquet talcum powder manufactured from Italian talc. Each simulation run lasted a
    total of 48 minutes, with eight application events of approximately equal duration, at six-minute
    intervals per application event. Since there were 6 minutes between application, and since the
    concentrations decline following application, the 48-minute concentration would underestimate the
    peak concentrations during application. Here are the concentrations as measured by polarized light
    microscopy.




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                                                                                     Gref B-F!N01-000206




                                                JA412
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                                                     Table IV. Total Fiber and Asbestos Fiber Concentrations


                                                          Sample Sample       Total PCM          Fracfo
    Sample         Sample                                Duration Volume Fiber Concentrationa Asbestos l
    Number        Description          Sample ID           (Min)  (Liters)      (f/cm 3)        TEMb (

Sl-2-ML        Subject l, Left      61-33/33MNJ-5           48         200.6               0.139             0%
Sl-3-MR        Subject l, Right     6l-33/33MNJ-5           48         204.5               0.172             {)~{,
Sl-6-ML        Subject l 1 Left     6l-32/32MNJ-4           48         203.0               0.093             0%
Sl-7-~·lR      Subject t Right      61-32l32MNJ-4           48         201.1               OJ23              0%
s2-2-rvt.L     Subject 2, Left      61-33l33MNJ-5           48         201.6               0.277             0%
S2-3-MRf       Subject 2, Right     61-33l33MNJ-5           48         201.6               0.295             NA
SZ-6-ML        Subject 2, Left      6l-32f32MNJ-4           48         203.0               0.227             0%
S2-7-MRf       Subject 2, Right     6l-32132MNJ-4           48         201.l               0.229             NA
S3-2-ML        Subject 3, Left      61-12/l2L               48         209.3               0.246             0%
S3-3-MR        Subject 3, Right     61-l.2/J2L              48         204.0               0.234             0%*
S3-6-ML        Subject 3, Left      61-6l6F                 48         201.6               0.235             0%
S3-7-MR        Subject 3. Right     61-6/6F                 48         204.5               0.279             0%
S4-2-ML        Subject 4, Left      61-32l32MNJ-4           48         205.9               0.215             0%
S4-3-MR        Subject 4, Right     61-32/32MNJ-4           48         203.0               0.203             0%*
S4-6-ML        Subject 4, Left      61-ll/llK               48         202.6               0.540           0.73%
S4-7-MR        Subject 4~ Right     61Al/1JK                48         202.l               0.384             0%
S5-2-ML        Subject 5, Left      6l-6/6F                 49         207.8               0.184             Q0/4,
S5-3-MR        Subject 5, Right     61-6/6F                 49         204.8               0.180             0%
Pl6-MCE37      Subject 5, Left      61-33l33MNJ-5           48         202.l               0.144             0%
P17-MCE37      Subject 5, Right     6l~33/33MNJ-5           48         203.0               0.118             0%

NA= not analyzed; ND= not detected because the fraction of asbestos fibers was zero.
Concentrntion of total :fibers as measured by PCM.
8




      These results are consistent with a talc fiber concentration ofless than l flee.




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                                                                                         Gref. 8-FI N01-000207




                                                   JA413
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        Summary of Asbestos Fiber Concentrations During Use ofJohnson's Baby Powder



        1. Longo 2019

                                 PERSONAL SAMPLES

                              sample           PCM       lEM(7402}     PCME           TEM(ALL)
           sample#           Descri{!tion    Fibers/cc % Asbestos     Fibers/cc   Fibers/cc Asbestos
          M68705-005          Personal
                                              0.82         0
                          (Right Shoulder)                             <0.50            0.32
             P-1-A
          M68705-006          Personal
                                              0.73         83.3        0.61          In progress
             P-1-B        (Right Shoulder)
          M68705-C07          Personal
             P-1-0
                                              1.3          60.0        0.78              2.10
                          (Left Shoulder)
          1\.168705-008       Personal                                               In progress
                                              0.64        100.0        0.64
             P-1-0        (Left Shoulder)
          M68705-009          Personal
                                              2.8          57.1                      In progress
                                                                       1.6
             P-1-E        (Right Shoulder)
          M68705-010          Personal                                 3.0
             P-1-F        (Left Shoulder)
                                              3.5          85.7                          1.16




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                                                                                                   Gref. B-F INO 1-000208



                                                       JA414
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     2. NlOSH 1972



      In this present experiment , the same thing was done,
      however, only tbe respirable sized particles (10 microns
      and below) were collected from the dust cloud and measured.
      Results
      Total concentrat ion - Respirable particles/ cc a= 244
      Fibrous concentrat ion - Respirable fibers/cc= 4.4

      These data indicate the fiber concentrat ion at approxi-
      mately 2% of the total airborne respirable size particle
      concentrat ion.
      Discussion
      The fiber content of the total airborne talc cloud was
      found to be about 4% (from the 1/25/77 study), and the
      fiber content of the respirable fraction only~of the
      cloud 1 was found to be 2% by the present experiment .
      Experimen tally, these results are in tbe same range. and
      we conclude that "NIOSH definition " fibrous particles are
      about evenly distribute d through the particle size range
      present in airborne JBP.

      /by




     Johnson 1977



     Johnson Project 0503.01 1977    Adult after Shower Exposure Study




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                                                                    Gref.B-FIN01-000209




                                    JA415
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    CONCLUSIONS:

    Assuming that the concentration of talc fibers in the dust is about 1 flee, then we have

     Study                                              Amphibole Air Concentration (flee)
     NIOSH 1972                                         2 flee Total~ 1 f/cc
     Longo 2019                                         ~ 2 flee
     Johnson 1977                                       4 flee Total~ 3 flee
     Johnson Project 0503.01 1976-77                    8 flee Total~ 7 flee



    4. lVlAS Pn,jcct 14-1852: Below the Waist Application of Johnson & Johnson Baby Powder

    Longo and colleagues described the procedures and methodology used to analyze for airborne
    asbestos amphibole fiber exposure during the application of talc-containing Johnson's Baby Powder
    metal container M65205-001. Previous bulk ATEM analysis of the Johnson's Baby Powder from
    this can showed a tremolite concentration of 15,100,000 tremolite fibers.

    "Approximately 4 grams of baby powder were applied to the lower body of an investigator to
    determine the potential exposure levels of an individual to asbestos amphibole fibers while
    applying Johnson's Baby Powder. Both the NIOSH 7400 PCM method and the NIOSH 7402 TEM
    method were performed to determine if any detectable amphibole asbestos fibers from the
    Johnson's Baby Powder were released into the Breathing zone of the investigator and immediate
    surrounding area in. The Johnson's Baby Powder application procedure used in this study was
    based on the testimony of the plaintiff, Jody Ratcliff.

    The NIOSH 7400 PCM analysis found that the four personal sample results ranged from 3.85 flee
    to 5.86 flee with an average mean of 4.52 flee. AREA air sample results were 0.28 flee to 0.58 flee
    with an average mean of0.41 flee. Four of the personal PCM filters were analyzed by the NIOSH
    7402 TEM method and the percent tremolite asbestos fiber concentration ranged from 42.9% to
    76.9% resulting in a PCM equivalent range of 1.81 flee to 4.51 flee."

    Finkelstein: This study found respirable fibers in the Breathing zone of an individual applying
    cosmetic talc.




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                                                                                         Gref.B-FIN01-000210




                                                 JA416
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    Fiber Deposition in the Lungs of Babies

    Moon has computed fiber deposition in the lungs of babies exposed to baby powder (Moon MC,
    Park JD, Choi BS, et al. Risk Assessment of Baby Powder Exposure through Inhalation. Toxicol
    Res.2011;27: 137-141.) He wrote: 'the airborne concentration of asbestos in a workplace using
    below 0.1 % asbestos-containing talcum powder has been estimated as 0.01 fibers/cc (Mattenklott,
    2007). If the breathing frequency of a baby is assumed to be 40 times/min (range 20~40 times/min)
    and the tidal volume for a baby is 123 ml/min, the minute volume would be approximately 5
    liters/min, 7200 liters/day, and 5,256,000 liters/2 years. The lung weight of a baby is approximately
    300 g, and if it contains 60% water, the d1y lung weight becomes 120 g. Thus, if the inhalation
    exposure of a baby to asbestos-containing baby powder is 24 hrs, 1 hr, or 10 min over 2 years, the
    inhaled asbestos fibers would be 438,000 fibers/g of dry lung, 18,250 fibers/g of dry lung, or 3,040
    fibers/g of dry lung, respectively. Plus when applying a deposition fraction maximum of 20%, as
    suggested by Asgharian et al. (2004 ), the lung contents of asbestos in the case of inhalation
    exposure to baby powder for 24 hr, 1 hr, or 10 minutes over 2 years would be 87,600 fibers/g of dry
    lung, 3,650 fibers/g of dry lung, or 608 fibers/g of dry lung, respectively.




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                                                                                       Gref.B-FIN01-000211




                                                JA417
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                      Buman Health Effects of Talc Exposure
     Talc powder is a complex mixture of platy talc, asbestos fibers, and other minerals. The major
     asbestiform contaminants are tremolite and anthophyllite. Tremolite is an established cause of
     mesothelioma in humans (Luce et al. 1994;Luce et al. 2000). Anthophyllite fibers have caused
     mesothelioma in Finnish miners (Nynas et al. 2017).

     A: Cosmetic Talc Epidemiology




                     How Many Americans Use Baby Powder?
     Al. The Use of Consumer Talcs in the United States
     Statista, a company that performs analysis of consumer purchasing patterns, has reported
     that some 100 million Americans used body and baby powders in the years 2011 to 2017
     (https://www.statista.com/statistics/285799/brands-of-body-and-baby-powder-in-the-us-trend
     /). They reported that 53 million Americans used Johnson and Johnson's Baby Powder in
     2017.




                   U.S. population: Most used brands of body and baby powder from 2011 to 2017




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                                                                                                        pO'-!Vtier !J$•!'d ll'Hl!i!. ofr!!n Ir! the tw;ted Sti!t(!s rr(!rr,
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                                                                                                        bot:i:ed on tM U.S. c~ms..ndata: ?rd Simmons N9tioru!
                                                                                                        Co~;•n!!r SLl!\'1.>y (NHCS). J.~x.'J1d!ng ti.> t~1J:,. !iW.tfsltt.
                                                                                                        52.59 mi!!iori A~Cri(ilM ll~d j!:)hr!Sori':,. B:l~ Pcw!kr
                                                                                                        In 2011,
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       A2. Johnson performed Internal Surveys to estimate Baby Powder Usage in the United
       States.



       1. February 1973: 75% of teen girls and 80°/o of women use a talc



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                                                                                            Io "i -
                                     BABY PRODUCTS COMPANY                                  /0   v,
                                                                    February 13, 1973/oi~--
      t JOHNSON'S Baby Powder                                                          / o i ••
        Review ot· Consumer Research
                                                                                      ./D 7-.:,

                                                                                       /_or - ;
        Mr. H. R. Callum                                                               /JO-
                                                                                        /II-,
        This document reviews past market research in an effort to isolate 11~•
        those product benefits and uses which are most _important to ·consumers~/(/
        Conclusions:
        Teen and. Female Narket--
        - 75% of teen girls and 80}6 of women use a talc. Therefore, the primary
          grow-th for JBP in this market will have to be taken from other.
          brands (Avon, Cashmere Bouquet, etc).




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                                                                             Gref.B-FIN01-000213




                                           JA419
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        2 September 1982. Perinea( Usage ofTakby WoIDen

        RECE'.JVEO


         sEP '1\982.                BABY PRODUCTS COMPANY


                                     September 3, 1982
                                                                   SKIL.1..MAN, N. J. 08858




        SUBiJECT;    JOHNSON'S Baby Powder
                     Talc Usage ln tbe Crotch Area
                     Project .7321.45

             TO:     Brue@ Sl.llllple, M.D.




               Response•                      Number of Women          .Percent               Cumulative t
              :U~e Frequently                      lllO                    50.1                  50.l
              Usf:. Occasionally                     437                   19.7                   69,8
              Seldom Use                             128                    5.8                   75.6
              Never Use                              179                     8.l                  83~7
              No nesponse                            103                     4.7                  88.4
              No ta.lo use in
              past 12 months                       ..!2!                   .ll:!                 100.0
              Total                                2214                  100.0

              Although tbe questi.onna.1re does not (lefine ''frequent" or
              11 occa8ional," the results clearly show a much
                                                              higher incidence
              of perineal talc usage than found by Dr. Cramer.




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                                                                                                Gref.B-FI N01-000214




                                                 JA420
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       A3. May 2004. Adult Use of Powder


         Powder Consumer Leaming Survey - Internet Survey Analysis (Tag-On to RDG #117-03)

         General Survey Population     n=l073 survey participants ( 18+ in age):
         -   34 % reported curnnt baby/body powder use on themselves.
         •   Slight overall difference in powder use among age categories:
                 Powder users: 38% of(120) 18-24 year olds surveyed/ 35% of(379) 25-39 year olds I
                 35% of (283) 40-49 yearoJds surveyed/ 31% of(291} 50+

         Gender Breakouts:
         -   Greater percentage of females indicate powder use on themselves:
                 42% of the 418 females surveyed/ 29% of the 655 males surveyed
         -   Slightly higher percentage of powder use among males in the 18 to Z4 age category
                 Powder use amougroales surveyed: 35% of69 male, 18-24 year olds/ 28% of 194 male,
                 25-39 year olds/ 28% of 172 male, 40-49 year olds/ 29% of220 male 5o+ year,olds
         -   Little significant difference in female powder use ~unong age categories:
                 Powder use wong {\'!Pala surveyed: 41 % of 51 female, l s.24 year olds/ 42% of 185
                 female, 25-3!} year olds 145¾ of 111 female, 40-49 year olds/ 37% of 71 female So+




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                                                                                        Gref.B-FIN01-000215




                                               JA421
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      A4. Powdering of Babies. December 1991.



                                           ~~CONSUMfR PROOUClS, INC
                                                )KIUMAN, NI De:slll-9tt&




                                              December 19, 1991




            SUBJECT:    JOHNSON'S BABY POWDER USE

            TO:         J. LEEBAW
                        B. SEMPLE

           You asked me for an idea of how many baby bottoms have been powdered with
           JOHNSON'S Baby Powder since we introduced it about 100 years ago.

           From 1930 to 1990, total U.S. binhs were 235,295,000. They estimate 1991 at 3.7 million
           giving us a total of 238,995,000 baby bottoms. The U.S. Census Bureau records go back
           onJy to 1920. Numbers prior to 1920 would not be significant anyway.

           Assuming 70% of babies born were powdered and that SO% were powdered with J&J
           powder. it comes down to a little over 100.000.000 J&J n<)wdered hottnm!. h•m• in thP.
       H the question had been - "How many times bas JOHNSOWS Baby Powder been
     - applied to baby bottoms?", the answer wouJd be astronomical!

       H you want an astronomica1 number for publicity reasons, 1 suggest you (:heck with Mr.
       Bigelow's office and ask him how many times an infant is powdered during its diaper life
       and multiply by 200 million.




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                                                                                       Gref.B-FIN01-000216




                                               JA422
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           Comment: Many millions of Americans used, or were exposed to, Johnson's Baby Powder during
           the 20th century.

           How is the use of Cosmetic talcs by Americans reflected in analyses of their Biological
           Tissues?

           Tremolite and Anthophyllite Lung Fiber Burden in Victor Roggli's studies

           A. Srebro and Roggli measured talc, tremolite, and anthophyllite concentrations in the lungs of
           individuals referred for fiber burden analysis (Srebro SH, Roggli VL. Asbestos-related disease
           associated with exposure to asbestiform tremolite. Am J Ind Med. l 994;26:809-819.).

           Here are their subjects:


TABLE I. Demographic, Pathologic, and Occupational Information for Se.,·en Patients With
Asbestos-Related Diseases*
            .\gc:                                                             E.xposure           Smoking
C.1:-.~•     ,,;::1,         Diagnosis               Occupation               duration             history
            7.4,~l     ...\sbesrosis       Manufactured asbestos                 7 yr     Smoker
                                            blanketsigaskets                                ( PY unknown)
,          +l, :'i-1   .\sbest0s2s;Lung    Lived near vermiculite              20 yr      Ex-smoker. { I -2 PY) .
-
                          aJenocarcinoma     plant during childhood                         (quit 20 years)
3          56,M BPL                        Painter/spackler                    38 vr      Smoker (70 PY l
-+         62'\f       EPL                 Engineer at power                    N/A       Smoker <6 PY)
                                             plant: insulator
5          ..w,f       EPL                 Assembler at dry cleaner             NIA       NIA
6          57,F        EPL                 Housewife of shipyard worker        1-2 Yr     Smoker (40 PY)
7          58/F        DPL                 Teacher's aide in                    18 yr     Nonsmoker
                                           building with tremolite in tiles



           Subjects 5, 6, and 7 were females.



           The talc concentrations in the lungs of these subjects were:




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                                                                                                Gref.B-FIN01-000217




                                                       JA423
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                            816            Srebro and Roggli
                            TA.BLE UL Uncoated NA~IF From Seve,

                           C.1se 3                            Tak
                                                            11 .300
                           .,
                           -.3                             <8.200
                                                           60.800
                           ~                               <Ll90
                           5                                 680
                           6                               <4.860
                           7                                6.930
                           Controls                      <80-l0.200

         and the tremolite and anthophyllite concentrations in the lungs of these subjects were


TABLE IL Results of LM and SEM Analyses in Seven Patients With Asbestos-related Diseases•
L:vt dara                                                5EM data (uncoated fiber.sigl
                                               Trem-           Antho-       Actin-          Chry-
Case!J          :\Big             Total         olite          phyllite      olice          sotile      NAMF
               6.200             554.000      405.000          63.800     <21.300          63.800        21.300
-
"I
               2.900             l-W.000      124.000          <8.200        16.500        <8.200       <8.200
3               < 15.0           101.000         8.100           8.100      <-t060          <-W60       85.~00
-+                42              l0.700         5.940          <1200       <1200            1.200        3.570
5                 64               6,800         5.440           <680        <680            <680         1.360
6                   1             24.300         4.860          <4860        4.860         <4.860       l•L600
7                   2.8           13.000         4,330           <870        <870            <870        8.670
Control:;     0.2-22.0 420-12.700           <160-2.5-4-0       <!.540     <80-1.310      <80-1.000    210-10.160




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                                                                                            Gref.B-FIN01-000218




                                                     JA424
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           For the 3 women, the concentrations were about 5,000 Fibers ofTremolite per gram of Wet Lung.

           Srebro and Roggli wrote:

      Women represent 43% (3/7) of the cases in this study vs. only 8% of the l 53
mesotheliomas cases. with tissue asbestos analyses. in one of the authors' (V.L.R.)
consultation files. A potential source of exposure for these three cases was cosmetic
talc. which may be contaminated with tremolite asbestos. The l 9 control cases used
   1   ,        4    •   I        1'..   ~.   r      t   .    I.,,   J   J          11        .......,,   f"




       Our study confirms the relationship between tremolite exposure and the devel-
 opment of asbestos-associated diseases and suggests that certain types of ex.posure are
 likely to be associated with elevated tissue levels of tremolite asbestos. Furthermore,
 the finding of relatively modest elevations of tremolite content in some of our me-
 sothelioma cases suggests to us. that at least for some susceptible individuals. mod-
 erate exposures to tremolite-contaminated dust can produce malignant pleural me-
 sothel ioma.




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                                                                                         Gref.B-FIN01-000219



                                                    JA425
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    B: The Studies of Dr. Victor Roggli and colleagues on Tremolite inSubjects with
    mesothelioma (Roggli et al. 2002).

    Dr. Roggli 's laboratory performed lung fiber burden analysis on a large number of mesothelioma
    patients. Fiber analysis was performed on lung tissue samples obtained either at time of surgery
    (lobectomy or pneumonectomy) or at autopsy. Scanning electron microscopy was performed with a
    JEOL JSM 6400 scanning eiectron microscope. Both coated (asbestos body) and uncoated fibers
    z.5µ in length were counted, with a fiber defined as a mineral particle with an aspect (length to
    width) ratio of at least 3: 1 and roughly parallel sides. A total of l 00 fields or 200 fibers, whichever
    occmTed first, were counted for each sample. Blank filters were also examined and all reagents
    were pre-filtered to avoid contamination with fibers. The elemental composition of individual
    mineral fibers was determined by means of energy dispersive X-ray analysis (EDXA). Asbestos
    fibers were classified as amosite, crocidolite, tremolite, anthophyllite, actinolite, chrysotile or talc
    based on their morphology and X-ray spectra.

    Taic was identified in i93 cases (62%), and chrysotile was identified in oniy 32 cases (10%).
    Tremolite was detected in 166 of 312 cases (53%). The levels of tremolite were strongly
    associated with concentrations of fibrous talc. Mesotheliomas associated with non-commercial
    amphibole fibers alone accounted for 3.5% of the cases (11 of312). These included six men and
    five women ranging in age from 44 to 73 yr (median age 58 yr). The exposure duration ranged from
    8 days to 34 yr. In 1994, Srebro and Roggli discussed 3 of these women (Srebro and Roggli 1994).
    They stated that 'A potential source of exposure for these three cases was cosmetic talc which may
    be contaminated with tremolite asbestos.' Roggli and colleagues concluded 'evidence from our
    series.indicates that tremolite and other non-commercial amphibolefibers are present in the lungs
    of a substantial proportion ofpatients with mesothelioma. In some patients these fibers appear to
    be the likely cause of the disease. The data are consistent with a derivation of the pulmonary
    tremolite burden from both talc and chrysotile asbestos. '

    Additional Analysis of the Roggli Database

    The Roggli database has continued to accumulate new cases. I examined the database of asbestos
    fiber lung burden measurements from December 1978 through March 2015. Fiber burden
    measurements were made on 566 subjects with pleural mesothelioma; 75 (13%) were female. Lung
    burdens of talc, along with its amphibole contaminants, are markers of exposure to talc-containing
    dusts. There has been occupational exposure to industrial talc in the United States. American-mined
    talc was used in the production of ceramics, paint, paper, plastics, roofing, rubber, cosmetics,
    flooring, caulking, and agricultural applications. The talc is used as a "filler" in most of these
    applications, and there is unlikely to be any substantial exposure among users of most of these
    products. The number of persons with occupational or para-occupational exposures to industrial
    talc is tiny compared to the 100 million users of baby and body powders.

    Table 1, below, shows the proportion of subjects diagnosed with pleural mesothelioma, lung
    cancer, or neither of these, in the Roggli database. The finding of talc and tremolite in the tissues of



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                                                                                           Gref. B-FI N01-000220



                                                  JA426
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    subjects with mesothelioma, and other conditions, was common reflecting the widespread use of
    body and baby powders in the United States.

     Table 1: The prop011ions of subjects who had fibers of the stated minerals in their lung tissues.


                        Pleural Mesothelioma           Lung Cancer               All Other Diagnoses

     Mineral Fiber      Men             Women          Men         Women         Men            Women

                        N=491           N=75           N=450       (N =14)       N=355          (N =26)



     Talc               332/491         62/75          244/450      11/14        199/355        11/26
                        (68%)
                                         (83%)         (54%)       (78%)         (56%)          (42%)

     Talc and           205 I 491       46 / 75        118/450     7/14          118/355        7/26
     Tremolite          (42%)
                                         (61%)         26%         50%           (33%)          (27%)

     Talc and           77 /491         11 / 75        47/450      3/14          47/355         5/26
     Anthophyllite      (16%)
                                        (15%)          10%         21%           (13%)          (19%)

    Given the millions of users of baby and body powders, it is not surprising that the prevalence of talc
    fibers in the lung tissues of subjects with mesothelioma was very common, being present in more
    than 61 % of men and women. The detection of tremolite was also common, being present in 43%
    of subjects. Thirty-six percent of subjects had both talc and tremolite in their lung tissues.
    Tremolite is a contaminant of Canadian chrysotile in addition to being a contaminant of talc, but
    detection oftremolite was significantly associated with the presence of talc (p < 0.001); only 5
    women and 49 men had tremolite, but not talc, in their lungs.

    In a logistic regression analysis, talc was twice as likely to be found in the lungs of subjects with
    pleural mesothelioma than among subjects with other diagnoses (excluding lung cancer).


    PleuralvsOther I Odds Ratio        Std. Err.         z      P>lzl       [95% Conf. Interval]

    ---------------+----------------------------------------------------------------
                 Talc     l. 996096    .2915159       4.73      0.000       1.499233      2.657623

                 Age      1.007703     .0057461       1.35      0.178       .9965038      1.019028




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                                                                                           Gref.B-FIN01-000221




                                                   JA427
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     I have obtained a copy of Dr. Ruggli's lung burden database (2015version). 86 of 120 (72%)
     women had talc fibers in their lung~. (I previously mentioned the Johnson survey of 1973 in which
     it was found that 80% of women use a talc) Here are the talc and amphibole concentrations for
     female subjects with talc in their lungs.

     Age    Diagnosis                                Talc    TremPlusAnth (Fibers per gm Wet Lung)
     68     Malignant pleural mesothclioma           660     1980
     62     Malignant pleural mesothelioma           4070    5420
     32     Malignant pleural mesothelioma           6680    2430
     49     Malignant peritoneal mcsothclioma        9680    740
     62     Malignant peritoneal mesothelioma        1190    0
     56     Malignant pleural mcsothelioma           510     510
            Metastatic adcnocarcinoma                5360    0
     77     Squamous cell carcinoma                  5650    1420
     55     Nonspecific pleural, subpleural, and peribronchiolar fibrosis   1810   600
     so     Malignant pleural mesothelioma           1450    480
     54     Malignant pleural mesothclioma           550     1640
     72     Mucinous adenocarcinoma                  1390    2090
     63     Malignant pleural mesothelioma           1230    1230
     81     Malignant pleural mesothclioma           8640    3600
     53     Malignant pleural mesothelioma           5640    700
     38     Malignant pleural mesothelioma           940     0

     73     Bronchioloalveolar cell carcinoma (BJ\C)         1250    0
     61     Malignant pleural mesothelioma           1920    1280
     68     Malignant pleural mesothelioma           15900 11340
     59     Malignant pleural mesothelioma           11700 1670
     59     Malignant peritoneal mesothelioma        8790    0
     67    Benign asbestos-related pleural disease 6040      0
     64     Monophasic synovial sarcoma              33000 2060

     65     Malignant pleural mesothelioma           3910    490



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                                                   JA428
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                   66    Malignant pleural mesothelioma           22500 0
                   49    Idiopathic pulmonary fibrosis (U.I.P.)   30600 0
                   47    Squamous cell carcinoma                   16000 2290
                   34    Malignant pleural mesothelioma           20100 2510
                   72    Large cell carcinoma                     3140   0
                   44    Malignant pleural mesothelioma           680    5440
                   81    Malignant pleural mesothelioma           2610   4170
                   71    Malignant pleural mesothelioma           650    0
                   61    Malignant pleural mesothelioma           11500 0
                   67    Malignant pleural mesothelioma           3400   570
                   34    Malignant pleural mesothelioma           1460   0
                   70    Adenocarcinoma                           490    0
                   79    Malignant pleural mesothelioma           37200 17200
                   55    Malignant pleural mesothelioma           3630   610
                   62    Malignant pleural mesothelioma           20000 14520
                   55    Malignant pleural mesothelioma           2080   0
                   56    Malignant pleural mesothelioma           3700   0
                   80    Malignant pleural mesothelioma           13400 0
                   66    Nonspecific interstitial pneumonia       4380   0
                   60    Malignant pleural mesothelioma           3320   0
                   41    Malignant peritoneal mesothelioma        7970   1990
                   68    Carcinoma                                13400 1120
                   53    Malignant pleural mesothelioma           5220   0
                   62    Malignant pleural mesothelioma           2160   3780
                   59    Malignant pleural mesothelioma           3250   5200
                   31    Malignant pleural mesothelioma           5310   0
                   75    Malignant pleural mesothelioma           17100 3420
                   76    Malignant pleural mesothelioma           11900 9920


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                                                                                Gref. 8-FI N01-000223



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                   84   Malignant pleural mesothelioma           5780   640
                   35   Malignant pleural mesothelioma           1970   0
                   66   Malignant peritoneal mesothelioma        500    0
                   55   Malignant pleural mesothelioma           5340   480
                   75   Malignant pleural mesothelioma           28000 16800
                   74   Malignant pleural mesothelioma           2000   4000
                   60   Small cell carcinoma                     15800 9500
                   49   Malignant pleural mesothelioma           21700 1550
                   47   Malignant pleural mesothelioma           2760   1230
                   42   Malignant pleural mesothelioma           2180   1450
                   34   Malignant pleural mesothelioma           1570   0
                   63   AODM, ASCVD, pulmonary edema             5610   4670
                   54   Malignant pleural mesothelioma           1160   0
                   65   Malignant peritoneal mesothelioma        12000 7170
                   74   Idiopathic pulmonary fibrosis (U.I.P.)   2540   2540
                   66   Malignant pleural mesothelioma           1460   490
                   77   Malignant pleural mesothelioma           4380   490
                   45   Malignant pleural mesothelioma           1460   490
                   74   Malignant pleural mesothelioma           2080   520
                   58   Malignant pleural mesothelioma           6930   4330
                   62   Malignant pleural mesothelioma           1260   3150
                   73   Malignant pleural mesothelioma           46100 5010
                   79   Malignant pleural mesothelioma           970    970
                   68   Malignant pleural mesothelioma           29900 3520
                   63   Small cell/large cell carcinoma          40000 8000
                   74   Nonspecific interstitial pneumonia       19000 2540
                   76   Malignant pleural mesothelioma           1960   1470
                   75   Adenocarcinoma                           12200 6070


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                                                                               Gref.B-FIN01-000224




                                         JA430
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    43     Malignant pleural mesothelioma       3900   1950
    82     Malignant pleural mesothelioma       70200 9360
    72     Malignant pleural mesothelioma       7200   3600
    73     Malignant pleural mesothelioma       3850   0
    78     Malignant pleural mesothelioma       7350   4200
    80     Malignant pleural mesothelioma       57200 21450


    The mean concentration of talc fibers was 9000 f/gm wet lung

    The mean concentration of tremolite fibers was 2300 f/gm wet lung among those women with talc
    in their lungs (some of whom may not have had detectable amphibole).

    The mean concentration oftremolite/anthophyllite fibers was 2700 f/gm wet lung among those
    women with talc in their lungs (some of whom may not have had detectable amphibole) and was
    2800 £'gm wet lung among those women with both talc and tremolite/anthophyllite fibers in their
    lungs.

    The level of amphibole fibers in women's lungs was significantly associated with the level of
    Talc fibers (p < 0.001).

    Among the 86 women with talc in their lungs the mean amphibole/talc ratio was 0.54. Among the
    61 women with both Talc and Anthophyllite/Tremolite in their lungs, the mean amphibole/talc ratio
    was 0. 76. That is, there were 2-3 anthophyllite/tremolite fibers for every 4 talc fibers.

    The graph below shows the amphibole/talc ratio for women with both Talc and
    Anthophyllite/Tremolite in their lungs. Amphibole deposition and retention was of the same
    order of magnitude as talc deposition and retention.




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                                                                                    Gref. B-FI NO 1-000225



                                              JA431
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    C: Dr. Roggli's 2020 Publication on Mesothelioma in Women (PavHsko EN, LiuB, Greene,
    Sporn TA, Roggli VL. Malignant Diffuse MesotheHoma in Women: A Study of 354 Cases.
    Am J Surg Pathol. 2020;44:293-304.)

    The authors wrote:

    Fiber Analysis

    Fiber analysis data were available for 67 of the 354 cases of mesothelioma in women (Tables
    5-10). There are 3 distinct groups that stand out following analysis: (I) asbestos fiber burden
    elevated above background range, (2), borderline asbestos fiber burden, and(]) background
    range asbestos fiber burden. Overall, tremolite/actinolite/ anthophyllite (TAA) were the most
    common fiber type detected (82%) ,vith tremolitc predominating, and amositc and crocidolite
    (AC) were present in slightly less than half of all cases (48%), with amosite predominating.
    Chrysotile was detected in 9% of cases and was never the lone fiber type.

    l\' onasbestos Mineral Fiber-Talc

    Talc is a nonasbestos mineral fiber that is considered elevated above background range at 10,000
    fibers per gram. In our 65 cases with SEM fiber analysis data, talc was elevated in 23%. Looking
    further at the distribution of talc in the 3 categories of elevated, borderline and background tissue
    asbestos content shows that talc was predominantly detected elevated in cases with elevated
    amphibole asbestos. Of our 3 8 cases with elevated tissue asbestos content, talc was detected in 32
    of36 with SEM data and elevated in 13 of those cases. In these 13 cases, talc was accompanied by
    elevated AC and T AA, which were elevated above background in nearly equal numbers at 9 and I 0
    cases, respectively. Six of the 13 had elevated levels of both AC and TAA. Only I of these 13 had
    elevated chrysotile, which was also in the presence of elevated AC.

    Of the 32 cases with talc detected in the setting of elevated tissue asbestos content, there were 6
    cases where T AA was the only asbestos fiber type detected (elevated TAJ\ in al I 6). Two of the 6
    T AA-only cases had elevated talc above background. Interestingly, in 4 of the 6 T AA only cases,
    the asbestos fiber type was isolated to tremolite (also elevated in these 4 cases) and only I
    tremolite-only case had elevated talc above background.

    Noncommercial amphiboles were detected in 82% and elevated in 34% of all cases with fiber
    analysis. Overall, the most common fiber type was tremolite by SEM, detected in 74% and elevated
    in 34% of all cases with fiber analysis data. Tremolite is also the most common fiber type found in
    our unexposed background population (Finkelstein comment: The unexposed background
    population consisted of20 men).




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                                                                                       Gref B-F!N01-000226




                                                JA432
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    The nonasbestos mineral fiber talc was uncommonly elevated (23%) in our 65 cases with SEM
    fiber analysis data. Of cases with elevated talc, commercial and noncommercial amphiboles were
    elevated above background in a nearly equal number of cases. Rare cases (6 in our series) with only
    elevated noncommercial amphiboles had talc detected and even more infrequently (2 cases in our
    series) was talc elevated in the presence of isolated and elevated noncommercial amphibole
    asbestos.

    Overall, 44% of our women with peritoneal mesothelioma had objective markers of asbestos
    exposure (4/9 cases). Overall, 20% (1/5 cases) had elevated tissue asbestos content in comparison
    to 62% of men from our cohort.27 The single woman with peritoneal mesothelioma and above
    background levels of asbestos had elevated levels of both commercial and noncommercial
    amphibole asbestos with no chrysotile detected. The remaining 4 cases had background levels with
    no chrysotile detected, and 2 having background levels of TAA.

    MM in younger women was more often located in the peritoneum. Survival after a diagnosis of
    mesothelioma was greatest for tumors of epithelioid type, and this was magnified in the peritoneal
    location. HHC was the most common exposure reported and is a significant source of asbestos
    exposure with objective markers present in 57% of our cases. Tremolite was the most common type
    of asbestos detected in women, although commercial and noncommercial amphiboles were elevated
    in nearly equal numbers of cases. Of cases with elevated tissue asbestos content, talc is rarely a
    source. There are some cases ofmesothelioma in women which cannot be attributed to asbestos
    exposure; peritoneal mesotheliomas in women, in general, are not likely to be caused by exposure
    to asbestos.




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                                                                                      Gref.B-FIN01-000227




                                               JA433
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    D: Moline and colleagues measured the tissue burden of amphibole fibers in subjects whose only
    asbestos exposure was to cosmetic talc (Moline J, Bevilacqua K, Alexandri M, Gordon RE.
    Mesothelioma Associated with the Use of Cosmetic Talc. J Occup Environ Med. 2019.)

    Tissue digestion was performed in 6 of 33 subjects.

    Case 1 applied loose face powder on a daily basis from the 1940' s to the 1970' s Her mother also
    used the same loose face powder and Case 1 cleaned residual powder from her mother's dresser
    and clothing every other week from 1994-2012. Electron microscopic analysis (EMA) of the lung
    tissue revealed anthophyllite fibers in a calculated concentrations of 3,286 fibers per gram
    weight. There was also significant amount of fibrous and platy talc and aluminum silicates.

    Case 2 reported starting to use talc around age eight or nine and would apply powder after her daily
    shower or bath. She would also use talcum powder when visiting her grandmother because she
    enjoyed the scent and wouid apply the powder before going on a date. She continued to use powder
    after getting married and used baby powder with all three of her children. In the early 2000 's she
    began to regularly apply a fragrance and its matching talcum powder in the morning and at night,
    describing it as her signature scent. She also sprinkled the powder in her lingerie drawer and
    traveled with the powder which she would rub on her suitcases and other surfaces.

    EMA of the lung tissue revealed anthophyllite fibers in a calculated concentration of 8,625
    fibers per gram wet weight with a limit of detection of 2,875 fibers per gram wet weight. A
    significant amount of fibrous and platy talc was seen. EMA of the lymph node tissue revealed
    anthophyllite and tremolite fibers in a calculated concentrations of 34,500 fibers per gram wet
    weight with a limit of detection of 11,500 fibers per gram wet weight. They were seen in a ratio of
    2: 1 anthophyllite:tremolite/actinolite. All fibers counted were 5 micrometers or greater in length
    with aspect ratios greater than 8. There was also some amount of fibrous and platy talc noted in the
    lymph node tissue.

    Case 3 worked as an elementary school teacher with no known occupational exposure to
    asbestos. Case 3 used talcum powder "before [she] was 12 and 13 years old," applying it under
    her arms and in her shoes daily. She shook the powder out of the can and apply it onto her body.
    She noted that her mother also used talcum body powder, and they shared a small bathroom. She
    used talcum powder beginning in the 1940s and continuing for decades, until her preferred brand
    was no longer available for purchase.

    EMA of the lung tissue did not reveal any asbestos fibers above the limit of detection of 6,900.
    However, there were a number of very small chrysotile asbestos fibers. Analysis of the lymph
    node tissue revealed tremolite asbestos fibers in calculated concentrations of 9,409 fibers per
    gram wet weight with a limit of detection of 9,409. All fibers counted were 5 micrometers or
    greater in length with aspect ratios greater than 20. There was also a significant amount of
    aluminum silicates, silica particles and both fibrous and platy talc. Light microscopic analysis



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                                                                                       Gref. B-FI N01-000228



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    revealed a calculated concentration of 409 asbestos bodies per gram wet weight of lymph node
    tissue by phase contrast light microscopy.

    Case 4 grew up in a home where her mother used talcum powder "for as long as [she could]
    remember." She recalled personally using talcum powder starting around the age of nine or ten,
    applying the powder to her armpits, groin, and around her body, using a powder puff. She applied
    talcum powder to her body for approximately 40 years. Case 4 had additional exposure to talcum
    powder in the 1960's while working as a licensed cosmetologist, applying talcum powder on
    clients' necks after a haircut. She shook the talcum powder onto the client's neck, and would wipe
    off the excess with a brush or blow dryer. She also used talcum powder inside the gloves that she
    donned prior to applying hair color.

    EMA of the peritoneal tissue revealed chrysotile type asbestos fibers in a calculated
    concentration of 920 fibers per gram wet weight with a limit of detection of 920 fibers per gram
    wet weight. Fibrous and platy talc was also observed. Also seen were non-asbestifonn tremolite
    and silica crystals.

    Case 5 had daily personal use of talcum body powder from the 1950s to the mid-1970s. She
    would pour the powder onto her hands and pat it under her arms, in her genital area, between her
    toes, and on her legs. When she was menstruating she would apply talcum powder on her feminine
    napkins and her underwear. She also applied talcum powder to her shoes. Case S's husband also
    used talcum powder. Both Case 5 and her husband applied the powder in the bathroom. She shook
    the bathroom floor mat and cleaned up residual powder from the bathroom sink.

    EMA of the omental tissue did not reveal any asbestos fibers above the limit of detection of
    detection of 651 fibers per gram wet weight. EMA of the lymph node tissue revealed chrysotile
    and anthophyllite asbestos fibers in a calculated concentrations of 20,700 fibers per gram wet
    weight with a limit of detection of 10,350 fibers per gram wet weight. All fibers counted were 5
    micrometers or greater in length with aspect ratios greater than 20. There was also a significant
    amount of fibrous and platy talc as well as fibrous and platy aluminum silicates.

    Case 6 was exposed to talcum powder beginning when he was an infant. His mother applied it to
    him after his bath until he was able to apply it himself, starting around the age of six. Case 6
    recalled using the powder in the bathroom and in his room, and that there would be powder on
    his floor. He applied the talcum powder directly to his torso, groin, legs, and back, often twice a
    day after showering. He played hockey as a youth and used powder in his hockey gear before
    donning the equipment. He recalled getting mouthfuls of powder during the application. He often
    applied talcum powder once or twice a day after showering. He had no occupational exposure to
    asbestos.

    EMA of the lymph node tissue revealed anthophyllite and tremolite asbestos fibers in a
    calculated concentrations of 17,250 fibers per gram wet weight with a limit of detection of
    3,450 fibers per gram wet weight. They were seen in a ratio of 2:3 anthophyllite:tremolite. All
    fibers counted were 5 micrometers or greater in length with aspect ratios greater than 14.7 or

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                                                                                        Gref.B-FIN01-000229




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    greater. There was also some amount of fibrnt1s ;ind platy talc along with platy aluminum silicates
    and magnesium aluminum silicates.

    E. 2020 Publication on Asbestos Fibers in the Abdominal Tissues of Subjects with
    Gynecologic Cancer (Steffen JE, Tran T, Yimam M, et al. Serous Ovarian Cancer Caused by
    Exposure to Asbestos and Fibrous Talc in Cosmetic Talc Powders-A Case Series. J Occup
    Environ Med. 2020;62:e65-e77.

    The authors wrote:

    Tissue Analysis for Asbestos and Talc

    Samples from a combination of the left and right ovaries, left and right fallopian tubes, and left and
    right pelvic lymph nodes were obtained from the hospital for each of the 10 patients. Tissues were
    analyzed to identify and quantify talc and asbestos content in the tissue. For tissue analysis, a small
    portion of the tissue in each block was removed with a clean razor blade and placed in a
    pre-weighed 20 to 30mL borosilicate glass vial. The vial was filled with 10mL of filtered extraction
    solvent (hexane) and placed in a 60 8C water bath. The filtered extraction solvent was replaced
    every 20 minutes for a total of three changes. After the last extraction solvent change, two changes
    of filtered ethanol (10 mL, each) 10 minutes each were performed, then the tissue piece(s) were
    dried at 110 to 120 8C.

    For TEM analysis, I 00 to 300 grid openings were analyzed for all asbestos and talc structures at a
    magnification of between 4000 and 20,000 . As per standard TEM analysis protocols, asbestos
    fiber/bundle identification was done by morphology (substantially parallel sides and length to width
    ratio of at least 5:1), length (greater than 0.5mm in length), selected area electron diffraction
    (SAED), and energy dispersive X-ray spectroscopy (EDS). Talc structures (platy and fibrous) were
    identified morphologically, by selected area diffraction (SAED), and energy dispersive
    spectroscopy (EDS).

    Talcum Powder Use

    All cases reported perinea! talc application; the frequency of perinea! powdering with talc ranged
    from once per day to 10 times per day and the duration ranged from 24 years to 4 7 years. Nine of
    10 cases reported upper body powdering with talc ranging from 1 to 5 times per day and lasting
    from 20 to 4 7 years. Seven of 10 cases reported that their parents used talc powder on them during
    diaper changes and eight of 10 cases used talc powder during diapering.




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                                                                                         Gref.B-FIN01-000230




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    Tissue Burden

    Talc and/or asbestos was identified in the tissue from all cases. Platy talc was found in 9/10 cases
    (90%) with an average concentration of264,487 structures per gram (s/g) (range, 0 to 2,057,640
    s/g). Fibrous talc was found in 8/10 cases (80%) with an average concentration of 5878 s/g (range,
    0 to 21,545 s/g). Tremolite asbestos was found in 6/10 cases (60%) with an average concentration
    of 6488 s/g (range, 0 to 22,000 s/g). Anthophyllite asbestos was found in 4/10 cases (40%) with an
    average concentration of2393 s/g (range: 0 to 12,000 s/g). Ferro-anthophyllite asbestos was also
    identified in two cases (20% ), winchite and richterite asbestos were identified in one case (10% ),
    and crocidolite asbestos was identified in one case (10%). Two tremolite structures with aspect
    ratios less than 5: 1 were observed in one case, but were not counted as asbestos.

    The most common structures identified by tissue analysis (platy talc, fibrous talc, tremolite and
    anthophyllite asbestos) strongly indicate talc powder as the source of asbestos exposure in these
    cases. Tremolite asbestos has had minor commercial production in India and Italy and is mainly
    found as an accessory mineral in talc, vermiculite, and chrysotile. Anthophyllite asbestos, which
    occurs as an accessory mineral in talc and chrysotile, has also had limited commercial use.
    Anthophyllite and tremolite together account for less than l % of asbestos production and
    consumption worldwide.None of the cases reported in this series had any known history of
    alternative asbestos or vermiculite exposure and no chrysotile or vermiculite was found in any of
    the tissue samples.

    The combination of talc with tremolite and/or anthophyllite asbestos, as identified by Finkelstein
     and the 10 cases reported here, are a fingerprint for exposure to asbestos-containing talc. These
    results indicate that perinea! use can result in important inhalation exposure to asbestos, which is an
    accepted route of transmigration to the peritoneum and ovary.

        ]OEM • Volume 62, Number 2, February 2020                          Serous Ovorian Cancer Caosed by Asbestos in Cosmetic Talc




        FIGURE 3. TEM images of a tremolite asbestos fibers in Case No. 3 right pelvic lymph node tissue (left) and in sample of JBP
        purchased by Case No. 3 in 2014 (right).


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                                                                                                                      Gref. B-FI N01-000231



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             F: Emory TS, Maddox JC, Kradin RL. Malignant mesothelioma foUowing repeated
             exposures to cosmetic taic: A case series of 75 patients. Am .J Ind Med. 2020.

             Emory and colleagues presented a case series of seventy-five individuals (64 females; 11 males)
             with malignant mesothelioma, whose only known exposure to asbestos was repeated exposures to
             cosmetic talcum powders, and ,Nho were reviewed in medical-legal consu!tc.!ion. Out of lhe 75
             cases, 11 were examined for asbestiform fibers. For the 11 subjects whose tissues were examined
             by ATEM and ASEM, the analysis showed the presence oftremolite and/or anthophyllite in all 11
             subjects. The findings in 9 subjects are shown in the Table below.


TABLE 2 Fiber detection in tissue digestion from nine cases of malignant mesothelioma




 65       Pleur,11              Anthupliyllite, tremolile             Lung. lymph node          8625                                   4313
                                Anthophvllfte                                                                                          7667, 1150
 67       Peritoneal            Anthophyllite. trcmolite              Omentum, lymph node       1917, 1725                             639. 1725
 68       Pleural               Anthophyllitt?, trem"'.lite           Lymph node                                                       1015
 70       Pleun.11              Anthnphyllite, amosite, chcysotile    Lymph node                17250                                  3450
                                Anthophvtlite,,tr<,~plite                                                                                     857,
 72       Pleural               Anthophyllik, lremolite               Lymph node                17250                                  3450
 74       Pleural               A;nthiiphyUite, tremolite

 75       Pleur;il              Anti1ophyllite                        lung. ovary               3450, 2070                             1150, 2070
Note: All cases sho·Nn were examined by analytical transmission electron microscopy and structtn·es analyzed by microprobe analysis.




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                                                                                                                                 Gref. 8-F! NO 1-000232




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    G: Fiber Burden Analysis of the Johnson Baby Powder User Kathleen Stepanek

    I have consulted on, and been deposed on, the case of Johnson and Johnson user Kathleen
    Stepanek.



         MTE/al                                                                       Firm//')0200
                          IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                COUNTY DEPARTMENT, LAW DIVISION


         KATHLEEN STEPANEK,                            )
                                                       )       fN RE: ASBESTOS L1TIGAT10N
                       Plaintillts),                   )
                                                       )
         vs.                                           )       NO. 17 L 008994
                                                      )
         BRENNTAG NORTH AMERICA, INC.,                )
         INDIVJDUALLY, AND AS                         )
         SUCCESSOR-IN-INTEREST TO MINERAL             )
         PIGMENT SOLUTIONS INC., AS                   )
         SUCCESSOR TO WHITTAKER, CLARK &              )
         DANIELS, INC., ET. AL. ,

                       Defondant(s).




    Dr. Stepanek was born in 1929, and used Johnson's Baby powder on herself and on her children.
    She also had take-home exposure to amosite fibers on her husband's work clothing and there was
    vermiculite insulation in their attic.

    Dr. Ronald Dodson performed tissue burden analysis of Dr. Stepanek's lung and tissues.

    Fiber Burden Analysis by Dr. Ronald Dodson

    Dr. Dodson was provided with autopsy tissue (45 grams) for analysis oflung fiber burden. There
    were 3 pieces each from the left and right lungs. Samples from each lung were pooled and analysed
    by TEM at high magnification (15,000X) and also at low magnification (2,000x).

    Six asbestos structures (Tremolite:4; Amosite: I; and Anthophyllite: 1) were counted in left lung
    tissue at high magnification. In addition, one fiber of"Libby Amphibole" was observed.




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                                                                                       Gref. B-FIN01-000233




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                                                Asbestos,. By TEM ~ Tissue Fiber Burden
                                                                                LAB WORKSHEET
        customer:                   ERi Consulting                                                               Sample Number:      l80S333A
        J3 Order#:                  JH1899962                                                                                Prep:   Fl
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                        Non-   Asbestos                                                                         1m111es
           Grld G.0,# .Asbe~ws  Tally                          l x:W(f)ffl)             TVPE                                          CammentJ
                                                                                                        EDS    M<>mhlW•""   SAED
             A
                         1            ✓            NA           14 x 0.3        Libbv Amphrbole          Yes      01        02
                         -                        liltlill~




                                                l'J)l)

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                                                                                                                 05         06


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                      17.                         3             9 l( Q,S          Tremollte.            Yes       11
                      18                          4             8 x 0.5           Tremoiite             Yes
                                                a.~c"M




                      21                         NSD
                      21                                       12 x 0.8            Tremolite            Yes
                      23 •                       NSD
                      24                         NSD
                      25                         NSD
                      26                         NSD
                      27                         NSO
                      2S                         NSD
                      29                           6           is x 0.6            Tremolite


                                                                                                         ...
                                     Asbestos - By TEM - Tissue Fiber Burden                                                Five asbestos
                                                              LAB WORKSIIEU
      customer;              ERi Consulting                                               Sample Nuonbu:                    structures
      J3 Order#:         JH1899962                                                                 Prep:
                                                                                                                            (Tremolite:4; and,
                                                Low Magnification Scan at 2,000X                                            Anthophyllite: 1)
      Grid G.O.i
       A
                             Non•
                        Asl>Ml<ls
                                     Asbestos
                                      Tallv     lxW!Jnn)           TYPf.
                                                                                 ··-     ·-···a                             were counted in left
                                                                                                                            lung tissue at low
                                      Af:
              1•14                     11!S0
                 ts                             7.Sx0,3          Tremolke        y,,.     0'1
                                                                                                                            magnification.
                                                 S ~ 1),3        Tremolit11      Ye,
             16-19
                 20                     3         8Jt0,25      AflthO"'""lite    Yes     OS/09     10

       B
              1·7                     IIISO
                 ll                    4         ax o.s          T<l!mo!lt~      Vos
              9'.16                   NSI>
                 11                     s       11 X 0,3,5       Tremolije       Yes                                        Two asbestos
     '----   ,fil~.                   NSD
                                                                                                                            structures

                                                                                Page -234-



                                                                                                                                     Gref. B-FIN01-000234




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     (Amosite:1; and Anthophyllite: 1) were counted in right lung tissue at high magnification. In
     addition, a tremolite cleavage fragment and a talc fiber were observed.

                                                                                                                                                                      '11111111111"
            Customer:                     uu Consultinr;                                                                       5amplg Number.: 1805333El
            J3 Order!/•                   JH1899962                                                                                     Prep; FJ
                                                                          High Magni. ,cation Scan at 15,000X
                          Noo-   Asbestos
            Grid G.O.fl Asoosto~                                            lx W [ftm)               lYi'E                                                             Comment,
                                  h11:L                                                                            ,!:.
              A
                                                        ~J/'.I,                                                     Yes          01                               aeavi}g-E Fra11rntH'lt
                           2                           NSD
                           3                               1                                                        Ye.s        02                  03
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                      l.'T                           t~~L.I           !                                                                    I


        I             25                               2                  lU, X 0.25         tmthc;plwilite        Yfl                     I
                      26                             NSD
                      27                             NSD
                      l8                             N5D
                      29                  /          ['Ii\                 24 .x L                 Tak:            Ye,                                                    FiMr




     Five asbestos structures (Anthophyllite: 3; and, Tremolite: 2) were counted in right lung
     tissue at low magnification. There was one Talc fiber counted.


                                                        Asbestos - By TEM ~· Tissue Fiber Burden
                                                                                              LAB WbRKSHEtr
               Customer:                      ERi Con,iilting                                                                   Sample Number:
               J3 Order#;                     JH1899962                                                                                               Ptep;


                                                                             tow Magnification Scan at 2,000X
                                    Asbesto~  Non,
                                                                              lKW(µm)                 i'{~E]                   lml.lgl!S
               Grid G.O.ft            Tally                                                                                                         SAID-
                           A&be5lc»                                                                                   fiOS   .Mon,holol!l/
                A
                     1•7
                      8
                                      N.50
                                       1                                      7.S )I 08             Tr@molit~         Yes
                                                                                                                                               ~~i·-"'''''-'•~
                                                                                                                                                                  -
              ::Js-10                 NSD                                           .. ·····I··
                                                                                      ,.



                     11                2                                      5.5 )( 0.4            rromoUte          Yes

                  B
                                1-1:1,.                       NSD
                                 15                                           45 )( l             AnthophyJHtc        Ye,       04/0;i               06


                                          -
                                                                  3
                                                                  4           7.5 ~ li.3          Anth~phylliM        Yes
                             16~                             NSD

                  C
                                Vi                           NSD
                                  4                               5           lJ   X (J.25        Allthap'iyHite      Yes                                   .·.




                                                                                           Page -235-



                                                                                                                                                           Gref. B-FIN01-000235




                                                                                           JA441
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     Tremolite                                          Cleavage Fragment




                                                           Anthophyllite Fiber
                                                           Bundle




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                                                                Gref. B-FIN01-000236




                                    JA442
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    Summary of Asbestos Structures Observed


     Structure                     Magnification     Length(µ)         Width(µ)         Aspect Ratio
     Libby Amphibole               H                 14                0.3              47
     Amosite                       H                 11                0.25             44
     Amosite                       H                 15                0.25             60
     Anthophyllite                 H                 16                5                3.2
     Anthophyllite                 L                 8                 0.25             32
     Anthophyllite                 H                 11.5              0.25             46
     Anthophyllite                 L                 45                2                23
     Anthophyllite                 L                 2.5               0.3              8.3
     Anthophyllite                 L                 17                0.25             68
     Tremolite                    H                  9                 0.5              18
     Tremolite                     H                 8                 0.5              16
     Tremolite                    H                  12                0.8              15
     Tremolite                    H                  15                0.6              25
     Tremolite                    L                  7.5               0.3              25
     Tremolite                    L                  5                 0.3              17
     Tremolite                    L                  8                 0.3             27
     Tremolite                    L                  11                0.35            31
     Tremolite                    H                  15                0.25            60
     Tremolite                    L                  7.5               0.8             9.4
     Tremolite                    L                  5.5               0.4             14


    Discussion: A mixed population of fibers was observed in Dr. Stepanek's lungs. These included
    Libby Amphibole (1 fiber), Amosite (2 fibers), Anthophyllite (6 fibers), Tremolite (12 fibers), and
    Talc (1 fiber). The anthophyllite and tremolite likely were derived from inhalation of cosmetic talc,
    although the dust from brakes (husband and son performed shade tree mechanic work) would also
    have contained tremolite fibers.

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                                                                                        Gref.B-FIN01-000237




                                                 JA443
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          I now reproduce Wylie's Table to show the dimensions of crushed prismatic tremolite.



                                    TABLE 7B. AMPHIBOLE CLEAVAGE FRAGMENT EMPS DERIVED FROM CRUSHED

                                   Q           R                  A             B           H                         II
                                tremo!tte   tremolite         riebecl<lte   riebeckite   grunerita   grunerite   anthophyllite
                                 NIEHS        NIEHS               CA           co           SD       Portugal      Sweden
      1.~LS511m
      % all EMPs                59              74            37         69          69           80             52
      width mode (11m)      0.83 :!:: 0.17 0.18 ::t 0.12 0.44 ± 0.06 0.63 ± 0.06 0.64 ± 0.07 0.36 ± 0.06 0.72 0.06
      mean width ± SD (11m) 0.77 ± 0.28 0.40 ::!: 0.29 0.63 ± 0.30 0.59 ± 0.31 0.59 ::t 0.31 0.54 ::!: 0.31 0.71 ± 0.29
      range (11m)            0.33-1.76      0.06-1.45     0.17-1,76   0.06-1.27   0.01-1.27   0.06-1.45      0.24-1.44
      5<L:<:;10run
      % all EMPs                21           11           20              25         23              13         40
      width mode (µm)       1.93 ± 0.17 undefined 0.66 :!:: 0.06 0.66 ± 0.06 0.89 :!:: 0.07 1.21 ± 0.06 1.80 0.12
      mean width ± SD (11m) 1.70 ± 0.49 1.14.:!::0.59 1.09 ::!: 0.56 1.56 ± 0.63 1.33 ::!: 0.62 1.30 ± 0.53 1.40 ± 0.50
      range (µm)             0.77-3.08   0.06-2.72     0.11-3.08      0.51-2.92   0.51-2.79      0.48-2.72   0.48-2.40
      10 < L ~ 15 µm
      % all EMPs                    10             5           9           4           2           3            5
      width mode (µm)          3.3±0.10 undefined 0.66 ± 0.06 undefined            undefined   undefined    undefined
      mean width ::!: SD (11m) 2.76 :!:: 0.95 2.17 ± 0.94 1.66 ± 1.01 2.57 ± 1.01 2.88 ± 0.66 2.45 :t 1.03 2.76 ± 0.78
      range (µrn)                0.99-4.4      0.48-3.33   0.33-3.96   1.52-4.44   2.22-3.81   0.97-3.93    1.44-3.60
      L > 15 µm
      % all EMPs               11           2           33          2            1                     <1             4
      width mode (11m)    3.85 ± 0.08 undefined 0.77 ± 0.06 undefined       undefined                undefined    undefined
      mean width± SD (µm) 4.47 :t 3.10 3.95 ± 2.29 3.82 ± 3.30 3.77 ± 0.97 3.81 ::t 2.29             undefined   2.70 ± 1.89
      range (µm)          0.55-13.75 2.18-7.26      0.33-15.4   2.92-4.83   1.91-6.35                undefined    0.72-6.40
      Number of EMPs              157         233               651           195          210         209           155
      minimum length (µm)         1.1         0.6               0.44          0.64         0.8         0.5            1.2
      maximum length (µm)         165         30                160           18.4         22          21            23.4




                                 Length     Width
         Tremolite          H      9        0.5         18
         Tremolite          H      8        0.5         16
         Tremolite          H      12       0.8         15
         Tremolite          H      15       0.6         25
         Tremolite          L      7.5      0.3         25
         Tremolite          L      5        0.3         17
         Tremolite          L      8        0.3         27
         Tremolite          L      11       0.35        31
         Tremolite          H      15       0.25        60
         Tremolite          L      7.5      0.8         9.4
         Tremolite          L      5.5      0.4         14

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    I conclude that the Tremolite fibers measured by Dr. Dodson did not arise from crushed
    prismatic tremolite.

    This analysis confirms the deposition and retention of talc, tremolite and anthophyllite fibers in the
    lungs of a Johnson Baby Powder user and is consistent with the previously mentioned findings of
    Roggli and of Churg.

    H: The Analysis of Cores of Asbestos Bodies in Human Lung Tissue

    Warnock and Churg analyzed the cores of asbestos bodies from members of the general population
    ((Asbestos and Other Ferruginous Bodies: Their Formation and Clinical Significance. Am J Pathol
    1981, 102:447-456). They found that certain differences in fiber types at the core of the asbestos
    bodies between men and women became apparent. Although cores of amosite and crocidolite
    predominated in men (12 of 14, 86 per cent), anthophyllite and tremolite comprised 57 per cent (12
    of21) of the cores found in women, a statistically significant difference. These differences
    suggested to Warnock and Churg that the major commerical varieties of amphibole asbestos
    (amosite and crocidolite) are the source of the fibers in men, 'whereas in women a major source
    may be cosmetic talc, which is often contaminated with anthophyllite and tremolite.'

    I have a copy of the lung tissue fiber burden database of Dr. Victor Roggli of Duke University.
    There are analyses of the fiber burden of 530 individuals with pleural mesothelioma. Dr. Roggli
    counted tremolite and anthophyllite cored asbestos bodies among these subjects. There were 3
    anthophyllite-cored asbestos bodies among the 73 women (4.1 %) and 11 anthophyllite-cored
    asbestos bodies among the 457 men (2.4%). There were 4 tremolite-cored asbestos bodies among
    the 73 women (5.5%) and 13 tremolite-cored asbestos bodies among the 457 men (2.8%).

    As with Dr. Churg's analysis, the tremolite and anthophyllite cored asbestos bodies were more
    common among the women.

    Comment: The finding of fibers, and asbestos bodies, of talc, tremolite, and anthophyllite in
    the lung tissues of men and women is consistent with the widespread use of talcum products
    in the United States, and, the contamination of these products with fibers of tremolite and
    anthophyllite.


    I: The Epidemiology of Mesothelioma among Cosmetic Talc Users

    There are, as of the present, no studies of the epidemiology of mesothelioma among cosmetic talc
    users. In 2018, I urged researchers performing epidemiologic studies of mesothelioma to collect
    informtion on cosmetic talc use that would make such studies possible (Finkelstein MM: Re: The
    epidemiology of malignant mesothelioma in women: gender differences and modalities of asbestos
    exposure. Occup Env Med 2018. http://dx.doi.org/10.l 136/oemed-2018-105129.) Marinaccio and
    colleagues replied and indicated that they would begin collecting such data for their studies of the

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      Italia11 n1esotl:ieli0111a register ( Marinaccio A, C::orfiati M, BinazziA, et aL Occup Environ Med
      2018;75:844-845.)

                             Letter concerning: 'Response
                             to: 'The epidemiology of
                             malignant mesothelioma in
                             women: gender differences and
                             modalities of asbestos
                             exposure' by Marinaccio et al'
                             Finkelstein 1 invited physicians and
                                     1:     •   ~    .   1   •       . 1   1 •
                             researcners mreresrea 111 mesorneuoma
                             to investigate on past usage of talcum
                             powders by affected people. In Italy,
                             asbestos contamination in talc for indus-
                             trial use has been documented, 2 and, as he
                             underlines tremolite contamination at low
                             levels of cosmetic and pharmaceutical talc
                             has been reported in USA by Blount3 and
                             Gordon and colleagues.4




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                           Registry data such as those provided
                        by ReNa1t1 cannot provide estimates of
                        the mesothe lioma risk associated with
                        any particular exposure circumstance.
                        \Ve plan to inclnde talc exposure at ·work
                        and cosmetic talc usage in the analyses
                        of a case-control stndy on pleural meso-
                        thelioma currently under ,vay. A specific
                        survey to compare and discuss how the
                        modalities of exposure to talc have been
                        evaluated in patients with mesothe-
                        lioma in countrie-s ,vhere epidemiolog-
                        ical surveillance systems are active could
                        improve knowledge and support preven-
                        tion policies.




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    J: The Epidemiology of Mesothelioma among Talc Miners and Miners

    1. Miners and end-users of commercial talc from New York State are at increased risk of
    mesothelioma (Finkelstein 2012;Finkelstein 2013), attributable to the contamination with tremolite
    and anthophyllite, but the talc used in cosmetic talc was not sourced from this heavily contaminated
    deposit.

    Vanderbilt Minerals Corporation states that their products did not contain asbestiform minerals.




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    Nolan, Gamble, and Gibbs have written, in the American Journal of Industrial Medicine, that
    'tremolite and anthophyllite particles in NYS tremolitic talc are by definition non-asbestiform'
    (Nolan et al. 2013).

    Kelse, of Vanderbilt Minerals, refers to the amphibole particles as Non-asbestos Elongate Mineral
    Particulate in a paper published in 2017 (Kelse et al. 2017).




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     We thus have an increased risk of mesothelioma among individuals exposed to Elongate
     Mineral Particles. This is in agreement with The Recent Preliminary Recommendations of
     the Interagency Working Group on Asbestos in Consumer Products (IWGACP) (January 6,
     2020) who wrote:


    'The difficulty of identifying and quantifying individual asbestos or other mineral particles present
    at low concentrations in talc is compounded by the presence of non-asbestiform analogs with the
    same elemental composition and crystal structure, but different growth habit. Using TEM,
    differentiation of chrysotile from non-asbestiform serpentine analogs is relatively straightforward;
    however, each of the non-asbestiform amphiboles can disaggregate into particles resembling
    asbestiform fibers, giving rise to disputes between laboratories over whether elongate amphibole
    particles are truly asbestos, or are particles resulting from attrition of larger particles of a
    non-asbestiform analog. Because both types of elongate minerals are suspected of having
    biological activity with similar pathological outcomes, the distinction is irrelevant. Lack of
    consensus concerning what should be called "asbestos" has persisted since the first reports
    indicating that asbestos might be present in talc used in cosmetics and has inhibited thorough
    toxicological and epidemiological investigations of disease attributable to talc that contains
    asbestos. Based on its review, the IWGACP agrees with the recommendations and rationale
    provided in the peer reviewed NIOSH Bulletin 6210 regarding adopting the term "elongate mineral
    particle" or "EMP" that is defined as "any mineral particle with a minimum aspect ratio [i.e.,
    length: width ratio] of3:1. Countable EMPs have an aspect ratio (AR) of>3:l and a length of> 0.5
    µmusing the most inclusive criteria for length and AR from among the "asbestos" counting rules in
    established testing protocols. The specified minimum length of 0.5 µmis consistent with the
    counting rules for fibers established by the global standard for TEM sampling and analysis, ISO
    10312:2019 and is supported by studies that indicate asbestos particles and EMPs of these
    dimensions could pose a health concern.'


    Mesothelioma Incidence Among New York State Talc Miners Exposed to Amphibole
    Particles

    Mining operations began in 1948. In 2002, Honda and colleagues (Honda et al. 2002) reported 2
    cases ofmesothelioma among 782 men who were followed from 1960 to the end of 1989. In 2012,
    I described an additional 6 cases from this cohort. Making conservative assumptions about overall
    mortality in the cohort, I computed that:

    "The Incidence Rate Ratios (with 95% confidence limits) in a comparison of the RTV incidence rates with those
    of American males are then:
    (a) 5 (1.6-11.7) assuming Subject 6 did not have mesothelioma; and,
    (b) 6 (2.2-13.0) assuming Subject 6 did have mesothelioma. In both situations, the Rate Ratios are significantly
    above unity."

    I wrote: "There has been concern that these individuals may have had asbestos exposure outside of
    their mining employment. Indeed, Several of the subjects with mesothelioma may have had

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    exposure to asbestos from other sources. Subject 3 had worked as a radar man in the US Navy. It is
    possible that, although not working in an asbestos-exposed trade, he may have had exposure lo
    asbestos onboard naval vessels. Subject 4 had worked in a Navy Yard for 1 year. A description of
    his job tasks was not available, but asbestos exposure was certainly possible in that environment.
    Subject 5 had done mechanical work, including brake adjustments, at an automotive service station.
    It is possible that he had asbestos exposure from automotive friction products. but that exposure
    aionc 1s unlikely to have produced pneumoconiosis, a morbidity with which he had been dia 6111osed.
    Asbestos exposure is thus possible among three subjects prior to the start of their employment in
    the talc industry; the extent of exposure cannot be quantified, but is likely to be low with the
    possible exception of the man who worked in the Navy Yard."

    Since my 2012 report, I have reviewed the cases of 2 additional Vanderbilt Talc employees who
    developed mesothelioma. Neither of these career miners had any history of asbestos exposure
    outside of their mining en1ployment.

    There are thus at least 10 cases of mesothelioma among the 800 men in the Gouverneur talc cohort.
    The rate ofmesothelioma is thus about 1 per 80. This might be compared to the average of 1.05
    mesothelioma cases per 100,000 persons diagnosed annually in the United States during
    2003-2008 (Henley et al. 2013 ). Men in the mining coho11 had exposure to tremolite and
    anthophyllite asbestos fibers (in the opinions of NIOSH, Hull and Abraham and Case (2002)) or to
    ,wn-asbestiform particles of trcmolite and anthophyllite (in the opinions of Vanderbilt Minerals,
    Nolan et al., Kclse et al.)

    Conclusion: Workers at a New York State Talc Mine and Mill who inhaled Amphibole Particles
    have had a markedly increased risk of developing mesothelioma. These particles were classified as
    Fibers by NIOSI I and by Research Pathologists. They were classified as non-asbestiform by the
    Company and its consultants.


    2. NIOSH and Exponent Mortality Studies of Vermont Talc Miners

    Selevan and colleagues conducted a mortality study of 392 Vcrrnont talc workers who had been
    under radiographic surveillance by the Vermont Health Department (Selevan et al. 1979). Death
    certificates were obtained and coded according to the 7th revision of the ICD. The 7th revision did
    not have a separate rubric for mesothelioma, and any deaths from mesothelioma would have been
    coded under the rubric for lung cancer. NIOSTI observed a total of90 deaths, including 6 coded to
    respiratory cancer (3.7 expected). There was a substantial excess of mortality from non-malignant
    respiratory disease.


    Lamm compared lung cancer and respiratory disease mortality between the Vermont and New York
    State talc workers (Lamm and Starr 1990). He concluded that the mortality patterns were similar.
    He stated "although New York talc has been described as asbestiform and Vermont talc as non-
    asbestiform, the mortality patterns of the workers appear to be inconsistent with that classification."

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    Lamm stated that "mesothelioma caused the death of one Vermont talc man". No further details of
    the diagnosis or exposure history were given.

    In 2019, Fordyce and colleagues confirmed the occurrence of I case ofmesothelioma in a 37-year
    update on mortality patterns in an expanded cohort of Vennont talc miners and millers. (Fordyce et
    al. Journal of Occupational and Environmental Medicine, DOI :
    I 0.1097/JOM.0000000000001700).

    Fordyce and colleagues made a special effort to find any deaths due to mesothelioma in this cohort.
    There was no specific code for mesothelioma before implementation of ICD-10 in 1999; therefore,
    mesothelioma deaths were assigned ICD codes at the discretion of the nosologist. These ICD codes
    were not specific to mesothelioma and included other malignant, and possibly benign, conditions.
    Furthermore, these codes did not necessarily represent tumors of the pleura or peritoneum, the
    anatomic sites at which most mesotheliomas arise. To identify any mesothelioma deaths in this
    cohort of workers, all death certificates with the codes listed in Table 2 were sent back to the
    nosologist for a second review to identify any deaths due to mesothelioma.

    In their preliminary analyses using the methodology in Selevan et al. (1979), no deaths were
    attributed to malignant neoplasms of either the pleura or the peritoneum; therefore, applying the
    methodology employed by Selevan et al. (1979) to the updated cohort would not have resulted in
    the identification of any possible deaths due to mesothelioma. Because mesotheliomas are not
    necessarily coded as either pleural or peritoneal tumors, they created two subsets ofICD codes, as
    described above, each of which could have been used to code mesothelioma deaths. Death
    certificates coded to these ICD codes were sent to the nosologist for a second evaluation. After
    evaluation by the nosologist, only one of these deaths was determined to be due to mesothelioma
    and was explicitly noted on the death certificate. In this talc worker, death occurred 30 or more
    years following employment and the death certificate indicated that the individual had been
    exposed to asbestos. This worker was employed in the talc industry for less than five years and
    death occurred 30 years following employment.

    The SMR for lung cancer was also elevated in this small cohort (Bronchus, Trachea, Lung (SMR =
    143.9, 95% CI: 98.4-203.1)

    There are no other studies of American talc miners, but there are a number of studies of European
    cohorts, and several have recently been updated.

    3. Wergeland and colleagues (Wergeland et al. 2017) updated information on mortality and cancer
    morbidity in a cohort of Norwegian talc workers exposed to talc not containing asbestiform fibers,
    although the authors state that National Institute of Occupational Health (NIOH) in Norway had
    identified tremolite and anthophyllite (asbestiform fibers) in bulk samples from the mine. Repeated
    exposure measurements after 1981 showed only trace amounts of fibrous tremolite and
    anthophyllite together with trace amounts of quartz. The updated cohort comprised 390 men, 94
    miners, and 296 millers. They were observed from January 1, 1953 through December 31, 2011 or
    date of death or emigration, whichever date came first. Mean age by end of follow-up was 74.9

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    years (median 75.9 ycars,range 31.3-95.9}. Mean duration or employment was 15 years (miners 8
    years, range 1-49 years, millers 17 years, range 3-46 years.) Person-years were 3 956 for miners and
    11 731 for millers. The cohort included all employees from the mine 1944-1972 with at least 1 year
    employment, and all employees from the mill with at least 2 years employment. They were
    considered at risk from I year (miners) and 2 years (millers) after first employment. Standardized
    mortality and incidence ratios were based on 5-year age-specific and period-specific rates in the
    general male population. No cases of mesothelioma were observed and the authors reported that the
    probability of detecting increased incidence of mesothelioma was about 80% for a true RR= 7 .5
    and 54% for RR= 5.

    4. Pira and colleagues have puhlished an updated analysis of the mortality experience of a cohort
    of talc miners and millers in Northern Italy (Pim ct al. 2017). The authors concluded 'We
    confirmed the lack of association between exposure to asbestos-free talc, lung cancer, and
    mcsothelioma.' ·with respect to rnesothelioma, the authors found no cases among their cohort of
    1722 miners and millers. They reported that 2.0 cases would have been expected based upon
    national and regional mesothelioma mortality rates. Unfortunately, the authors' conclusion about a
    lack of association between asbestos-free talc and mesothelioma is blunted by their failure to
    discuss the power of their study to detect an excess risk.

    A Recent Review of Talc Miner Epidemiology by Marsh and Colleagues: Occupational
    exposures to cosmetic talc and risk of mesothelioma: an updated pooled cohort and statistical
    power analysis with consideration of latency period by Gary M. Marsh et al. (Inhal Toxicol. 2019
    Aug 5:1-11. doi: 10.1080/08958378.2019.1645768.)

    Marsh and colleagues have recently updated their pooled cohort analysis of mesothelioma
    incidence in Italian, Norwegian, Austrian, and French cosmetic talc miner and miller cohorts and
    concluded that the epidemiological evidence from these cohort studies does not support the
    hypothesis that exposure to cosmetic talc is associated with the development of pleural
    cancer/mesothelioma. Unfortunately, there are a number of errors in the paper and some statements
    made by the authors are worthy of further discussion.

    In the Introduction to their paper the authors state that "in the mid-l 970s, researchers at Mt. Sinai
    claimed to have measured elevated levels of asbestos mineral in numerous cosmetic talc products
    (Rohl et al. 1976). Following the publication of their initial study, Rohl et al. (1976) acknowledged
    that the method employed in their 1976 study (i.e. X-ray diffraction [XRD]) was not capable of
    distinguishing bet,veen asbestiform and non-asbestiform minerals (Rohl and Langer 1979)." This
    statement by Marsh and colleagues in misleading and incomplete. In their 1979 paper Rohl and
    Langer do write: "The major limitation of x-ray diffraction analysis is its inability to distinguish
    between different morphological habits of the same mineral. For example, short tremolite
    fragments and long fibers of asbcstiform tremolite give virtually identical x-ray patterns." Marsh
    and colleagues fail to mention the next sentences and paragraph written by Rohl and Langer: "To
    distinguish between different habits or shapes of the same mineral, including asbestos minerals,
    requires microscopic techniques. Transmission electron microscopy, used in conjunction with
    selected area electron diffraction (SAED), provides the resolution capability to visualize all

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    pai1icles and, in many cases, to identify them." "In a paper published in 1976, we reported a
    mineral and chemical chai·acterization of 20 consumer talcums and powders obtained in New York
    city during thee period 1971-1975 (Rohl et al., 1976). Of the twenty products, 10 contained either
    tremolite or anthophyllite or both. The proportions, determined by step-scan x-ray diffraction
    ranged from 0.1 % to over 14%, by weight. No attempt was made to distinguish proportions of
    fibrous and non-fibrous morphological phases, although every sample contained fiber. The
    presence of these minerals in fibrous fonn was verified by electron beam techniques (Figures 1,2)."
    The next pages of Rohl and Langer (1979) show electron micrographs ofamphibole fibers in
    commercial cosmetic talcs. Marsh and colleagues are thus in error in suggesting that Rohl and
    Langer did not find amphibole asbestos fibers in the samples of commercial cosmetic talcs that they
    analysed.

    Marsh and colleagues go on to say "Nonetheless, there continues to be some debate on this issue.
    For example, Gordon et al. (2014) recently claimed to have measured 0.004-0.9% by weight
    asbestos fiber in bulk samples of cosmetic talc. Using different analytical methods, Anderson et al.
    (2017) analysed the saine product and concluded there was no detectable asbestos fiber." Marsh
    and colleagues fail to mention that Anderson and colleagues hired Dr. Mark Floyd of Forensic
    Analytical Laboratories to perform the microscopic analysis, and that he identified and classified
    fibers of anthophyllite in his initial report on the bulk samples. One of the Anderson et al. authors,
    Patrick Sheehan, who is not a microscopist, directed Floyd to alter the report and add the
    qualification that " ... this classification was inconclusive due to the small number counted.
    (Deposition Testimony of Mark Floyd, Supreme Court of the State of New York, County of New
    York, New York City Asbestos Litigation: Dec. 4, 2012).

    Further on in their report Marsh and colleagues discuss specific issues related to the Italian cohort
    and comment on deaths attributed to pneumoconiosis. They write: "It is worth noting that Pira et al.
    (2017) reported that the number of observed deaths in their cohort attributed to pneumoconiosis
    was significantly higher than expected, yielding an SMR for pneumoconiosis of 26.62. Notably, the
    number of expected deaths in the Pira et al. (2017) cohort due to pneumoconiosis (n =2.6) was
    similar to that ofmesothelioma (n =2.0), yet the authors observed 69 deaths due to pneumoconiosis
    and O deaths due to mesothelioma." This statement with respect to expected deaths due to
    pneumoconiosis and to mesothelioma illustrates a problem with the use of the regional reference
    population in the Italian study. Pneumoconiosis is an occupational lung disease caused by inhaling
    large amounts of fibrosis-inducing dusts such as silica or asbestos. Individuals do not develop these
    diseases without inhaling these dusts. Therefore the expected number of cases ofpneumoconiosis
    in a general population without industrial exposures should be 0. Indeed, Marsh and colleagues
    write that "Pira et al. (2017) used regional (Piedmont) mesothelioma rates to estimate the expected
    number of mesothelioma deaths in the Italian cohort. Because there were several active asbestos
    industries in Piedmont, it has been claimed that the use of regional mesothelioma rates may lead to
    an overestimate of expected deaths for the Italian cohort (Finkelstein 2017; Mirabelli 2017).
    Marinaccio et al. (2018) specifically reported that among women in the Piedmont region, 'both
    environmental and familial exposures contribute to the female mesothelioma clusters, attributable
    to large asbestos cement plants'. In using regional rates to compute their expected number of cases
    of mesothelioma in the talc mining cohort, Marsh and colleagues have essentially asked the

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    question: How do mesothelioma rates in the mining cohort compare to the average rate in a region
    \vhcrc many cases of mesothclioma are caused by exposures arising from the asbestos cement and
    other industries in l'iedmont? Tn order to address the important question of how many cases of
    mesothelioma one might expect in a population without these known asbestos exposures, one
    would need rates in an unexposed reference population. Unfortunately these are not available
    because the reference population cannot be divided among exposed and unexposed individuals.

    With respect to pneumoconiosis, Marsh and colleagues go on to write: "As we previously noted
    (Finley ct al. 2017), the excess risk of pneumoconiosis in the Italian cohort is important because it
    indicates that these workers were exposed to very high levels of cosmetic talc, levels well beyond
    those ever encountered by cosmetic talc consumers." This statement is false. The occurrence of
    pneumoconiosis docs not indicate that the workers were exposed to very high levels of cosmetic
    talc; rather it indicates that they were exposed to very high levels of silica. The 1976 study of
    Rubino ct al tabulated 65 deaths froin silicosis ( 62 in miners and J in n1i1lers) and there was a dose-
    response relationship with cumulative dust exposure. Rubino writes: "Table 13 shows a remarkable
    difference of free silica amount in air dust respectively in the mines and in the mills and within the
    mines jobs between drilling and other operations. This is due to the high content of quartz in
    footwall rocks and inclusions as opposed to the absence ofticc silica in talc minerals. The small
    amount of free silica in mills operations is due, as above mentioned, to the actual incomplete
    screening of talc inclusions."

    Concerning the presence of asbestos in the Italian mines, Marsh and colleagues write "Regarding
    the alleged presence of asbestos in the Italian cosmetic talc mines, Mirabelli (2017) stated that
    'low-level exposure to airborne asbestos fibers was indeed reported by Rubino et al. ( 1976)'.
    However, Rubino et al. (1976) did not report the presence of airborne asbestos fibers at the mine,
    nor did they claim there was any 'exposure' to such fibers." This is false. Rubino et al wrote:
    "Table 13 shows a remarkable difference of free silica amount in air dust respectively in the mines
    and in the mills and within the mines jobs between drilling and other operations. This is due to the
    high content of quartz in footwall rocks and inclusions as opposed to the absence of free silica in
    talc minerals. The small amount of free silica in mills operations is due, as above mentioned, to the
    actual incomplete screening of talc inclusions. The same explanation could he given for the very
    small number offibcrs in air. caused by possible microinclusions of rock containing little amount
    of trcmolite."

    Marsh and colleagues comment on a case ofmesothelioma in the Vermont talc cohort studied by
    Sclcvan et al. They computed 7682 person-years at risk and an expectation of 0.16 based upon US
    national and state-specific rates. Calculation of an SMR has the same caveats as discussed
    concerning reference rates in the Italian study.

    Marsh and colleagues concluded that "The epidemiological evidence from the cosmetic talc
    miner/mil lcr cohort sh1dies does not support the hypothesis that exposure to cosmetic talc is
    associated with the development of pleural cancer/mesothelioma. In a previous analysis
    (Finkelstein 2017), I commented that it is not possible to find a reference population purged of
    subjects with occupational exposures and I proposed a 'thought experiment' in which the cosmetic

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    talc miners are compared to the chrysotile miners of Quebec, Canada. McDonald and colleagues
    (McDonald et al. 1997) reported on mesothelioma mortality in Quebec miners and millers. They
    found 33 deaths from mesothelioma in a cohort of 9072 men (132,000 person-years). The
    mesothelioma mortality rates were 33.7 per 100,000 person-years among miners and millers in the
    Thetford Region and were 13.2 per 100,000 in the Asbestos Region. The average across the 2
    regions was 25 deaths per 100,000 person-years. The pooled cohorts of the updated Marsh study
    comprised 113,344 person-years of observation.

    Now, for the purposes of analysis, let us make two assumptions about the asbestos dust
    concentrations experienced by the cosmetic talc miners. Assumption (a) is that asbestos dust
    exposures in talc mining were 10% of the levels in Quebec chrysotile mining (high assumption), or,
    assumption (b) that asbestos dust exposures in talc mining were 1% of the asbestos dust exposures
    experienced by the Quebec miners and millers. How many mesothelioma deaths would be expected
    in the pooled cohort under these exposure conditions? In situation (a) we would expect the rate to
    be 10% of the Quebec rate of25 per 100,000. In situation (b) we would expect the rate to be 1% of
    25 per 100,000. Given that there were 113,000 person-years in the pooled cohort, we would then
    expect to see 2.5 cases ofmesothelioma for situation (a) in which asbestos exposure levels were
    10% of those in Quebec, and to see 0.25 cases in situation (b) where exposure levels were l % of
    those in Quebec.

    Now, there were no cases of mesothelioma observed in the three pooled cohorts. According to the
    Poisson distribution, used to compute confidence intervals for count data:

    1) there is an 8% chance of observing no cases when 2.5 were expected (situation A where the
    cosmetic talc miners asbestos exposure was 10% of the Quebec chrysotile miners exposure); and,
    2) there is a 78% probability of observing no cases when 0.25 were expected (situation B where the
    cosmetic talc miners asbestos exposure was 1% of the Quebec chrysotile miners exposure).

    The exposure at which there is a 50/50 chance of observing either no case, or, of observing one or
    more cases ofmesothelioma, corresponds to an asbestos exposure of about 3% of that experienced
    by the chrysotile miners and millers in Quebec.

    I conclude that, given the size of the pooled cosmetic talc cohort, even at risk levels corresponding
    to asbestos exposures as high as 3% of those of the Quebec miners and millers, one is as likely to
    observe no cases of mesothelioma as one in likely to see one or more cases. Thus, despite the
    pooling of 4 cohorts and the accumulation of 113,000 person-years of observation the
    epidemiologic evidence is too weak to draw conclusions about the risk associated with the low
    levels of asbestos exposure experienced by talc miners. Observation of a much larger cohort would
    be required to have confidence in a conclusion that there is no risk associated with these exposures.
    In the meantime, the best evidence concerning risk is derived from analyses of the mineral content
    of samples of cosmetic talc and of the analyses of the lung content of cosmetic talc users.




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    Recent Analysis of the Val Chisone cohort by Ciocan and colleagues (Ciocan C, Pira E,
    Coggiola M, Franco N, Godono A, La VC, Negri L, Boffetta P. 2021. Mortality in the cohort ortalc
    miners and millers from Val Chisone, Northern Italy: 74 years of follow-up. Environ Res
    203: 111865.)

    Cioc:rn and collagues have recently updated follow-up of the Val Chisone cohort (n = 1749)
    through 2020. There were 64, 349 person-years of observation. No cases of mesothelioma were
    observed. Talc product (massive material) was collected by the contractor from the raw material,
    directly extracted from the mine, before any cleaning and processing technique. Samples arrived in
    the laboratory of the University of Turin with the request for the qualitative analysis (presence or
    absence of asbestos fibers) for fibrous content and not for quantitative analysis. The overall weight
    of the product brought each time to the laboratory was 500 g. Analyses were conducted with an
    Electron Microscope (SEM). No fibers were detected by SEM analysis.

    In the previous analysis of the pooled cosmetic talc cohorts I proposed a 'thought experiment' in
    which the cosmetic talc miners are compared to the chrysotile miners of Quebec, Canada.
    McDonald and colleagues (McDonald et al. 1997) reported on mesothelioma mortality in Quebec
    miners and millers. They found 33 deaths from mcsothelioma in a cohort of9072 men (132,000
    person-years). The mesothelioma mortality rates were 33.7 per 100,000 person-years among miners
    and millers in the Thetford Region and were 13 .2 per 100,000 in the Asbestos Region. The average
    across the 2 regions was 25 deaths per 100,000 person-years. The cohort of the updated Italian
    study comprised 64, 349 person-years of observation.

    Now, for the purposes of analysis, let us make two assumptions about the asbestos dust
    concentrations experienced by the cosmetic talc miners. Assumption (a) is that asbestos dust
    exposures in talc mining were 10% of the levels in Quebec chrysotile mining (high assumption), or,
    assumption (b) that asbestos dust exposures in talc mining were 1% of the asbestos dust exposures
    experienced by the Quebec miners and millers. How many mesothelioma deaths would be expected
    in the pooled cohort under these exposure conditions'? b1 situation (a) we would expect the rate to
    be I 0% of the Quebec rate of 25 per 100,000. In situation (b) we would expect the rate to be 1% of
    25 per 100,000. Given that there were 64,349 person-years in the pooled cohort, we would then
    expect to see 1.4 cases of mesothclioma for situation (a) in which asbestos exposure levels were
    10% of those in Quebec, and to see 0.14 cases in situation (b) where exposure levels were I% of
    those in Quebec.

    Now, there were no cases ofmesothelioma observed in the three pooled cohorts. According to the
    Poisson distribution, used to compute confidence intervals for count data:

    I) there is a 20% chance of observing no cases when 1.4 cases were expected (situation A where
    the cosmetic talc miners asbestos exposure was 10% of the Quebec chrysotile miners exposure);
    and, 2) there is a 85% prohahility ofobserving no cases when 0.14 were expected (situation B
    where the cosmetic talc miners asbestos exposure was 1% of the Quebec chrysotile miners
    exposure).


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    I conclude that, given the size of the Val Chisone cosmetic talc cohort, even at risk levels
    corresponding to asbestos exposures as high as 1% of those of the Quebec miners and millers, one
    is more likely than not to observe no cases of mesothelioma. Thus the epidemiologic evidence is
    too weak to draw conclusions about the risk associated with the low levels of asbestos exposure
    experienced by talc miners. Observation of a much larger cohort would be required to have
    confidence in a conclusion that there is no risk associated with these exposures. In the meantime,
    the best evidence concerning risk is derived from analyses of the mineral content of samples of
    cosmetic talc and of the analyses of the lung content of cosmetic talc users.


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    .J: Health Risk Assessment:

    As discussed above, there is some controversy whether the amphibole particles in cosmetic talc
    (and industrial talc) are best described as asbestos fibers or cleavage fragments. The pathologist,
    Dr. Bruce Case of McGill University, has commented upon the health implications of this
    controversy. In 1991, he published a letter in the British Journal of Industrial Medicine entitled "On
    talc, trcmolite, and tcrgiver-sation (Ter-gi-ver-sate: To use subterfuges)" (Case 1991). Dr Case
    wrote: "Reger and Morgan attempt to get "non-asbestifmm" tremolitc off the hook. Three vital
    questions need to be ansv;ered if some fibrous tremolitc is to be declared "safe" in the 'vvorking and
    general environments. Firstly, can "non-asbestiform" fibres, by mineralogical definition, be
    unambiguously identified to the satisfaction of experts and regulators? Secondly, if they can be
    identified, are they present to the exclusion of "asbestiform" fibres in the same mix? Thirdly, if
    both of the previous conditions can be satisfied, do they inform as to the biological effects of long,
    thin, durable fibres that do not meet the crystallographic growth characteristics for asbestiform
    nah1re required by some experts? The answer to all three questions-without tcr-giversation-is no.

    "Non-asbestiform" trcmolite has a variable content of high aspect ratio ( > 3: I for regulatory
    purposes, but often> 10: 1), long ( > 5 ~tm, and many> 10 µm), and thin ( < 3 µm, and many less
    than 0.25 µm) "fibres". The lack of mineralogical consensus as to what exactly the term means is
    such that the American Thoracic Society's statement on the health effects oftremolite observes that:
    "It became apparent both from our review of the literahlre and from submissions made to this
    Committee by experienced mineralogists, that the distinction between cleavage fragments and
    asbestiform fibres, although theoretically clear, is in practice extremely murky. Some mineralogists
    believe that these two types of particles arc always distinct, whereas others believe they shade off
    one into the other ... these same submissions were at odds with one another in identifying
    particular samples used in various experiments. The US Occupational Safety and Health
    Administration (OSHA) has observed that the primary proponent for use of a "mineralogically
    correct" definition of asbestos was a company mining and producing tremolitic talc. The OSHA
    also notes that" ... many (biological) sh1dies did not use carefully crafted definitions such as those
    currently submitted by the comentors from affected industries." The major flaw in the substitution
    of mineralogical definitions for microscopical characteristics is a reliance of the first on gross
    morphology. For regulatoty and health assessment purposes, it is microscopical morphology that
    counts: there is no evidence that potentially affected cells can distinguish between "asbestiform 11
    and "non-asbestiform II fibres having equivalent dimensions. The lack of agreement as to what is
    and what is not "asbestifonn" tremolite would be less critical if those who advocate such a
    definition could show that a clear line exists between the two forms when they present "fibrous"
    morphology. Unfortunately, this is not the case. Pooley has noted that the differences in structure


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    between massive, acicular, and fibrous morphology are not "sharply defined" but rather represent
    points on a continuum." So called cleavage fragments may, in a strict morphological sense, be
    fibrous in their appearance in microscopical fields, and there is no convincing evidence that these
    "fibres" are ofno public health concern. The probability that clearly amorphous, non-fibrous
    massive particles are individually of less concern is irrelevant for regulatory purposes. Regulatory
    fibres (those greater than 5 µmin length and having aspect ratio> 3: 1) are present in both
    asbestifonn and non-asbestiform habit.

    Even if there were agreement on a definition of non-asbestiform fibres, and even if it were possible
    consistently to observe real world samples for regulation in which one form or the other, but not
    both, were present, the most important question would remain unanswered. That is, do
    non-asbestiform fibres lack biological effects? Reger and Morgan correctly cite inconclusive
    epidemiological studies of lung cancer among talc miners, but omit convincing evidence that
    tremolite-actinolite (a mixture of mineralogical types) causes lung cancer, mesothelioma, and
    interstitial fibrosis in vern1iculite miners.

    In discussing animal studies, studies flawed by improper sample preparation/characterisation and
    unacceptable animal survival figures are discussed as if they were valid, whereas the important
    work by Stanton et al is misinterpreted. Tremolite, which was most carcinogenic in Stanton's paper,
    did not fit the usually cited dimensional range (diameter< 0.25 µm, length> 8µm) but was
    composed largely of thicker and shorter fibres. Conversely, six of the seven talc preparations
    injected contained no fibres in the Stanton range at all. The exact make up, sources, and preparation
    methods for these samples are unknown. Reference to important recent work by Addison and Davis
    and Davis et al neglects to point out that one tremolite characterised before the experiment as
    fibrous (spicules) but not asbestiform ultimately produced mesothelioma in 70% of animals.

    It is certainly true that more work is needed in the investigation of any role for mineralogical
    characteristics in the production of health effects bytremolite "fibres". Until there is actual
    evidence that "non-asbestiform" fibres are easily defined, clearly separated from tremolite asbestos
    in real world work environments, and not productive of lung fibrosis or other health effects, it
    seems folly to declare them exempt from regulation."

    In 2017, Dr. Case wrote 'distinction between mineralogical groups collectively known as 'asbestos'
    is important when considering the aetiology of asbestos-related diseases because it demonstrates
    that the potential of asbestos to produce disease is not confined to one crystalline mineral or
    chemical grouping. The biological potential of asbestos is most likely related directly to the ability
    of the minerals to form fibrous dust or 'elongated mineral particles' (EMP) in the parlance of the
    NIOSH Roadmap'. 'Imprecise terminology and mineralogical complexity have affected progress in
    research. 'Asbestos' and 'asbestiform' are two commonly used terms that lack mineralogical
    precision. 'Asbestos' is a term used for certain minerals that have crystallized in a particular
    macroscopic habit with certain commercially useful properties. These properties are less obvious on
    microscopic scales, and so a different definition of asbestos may be necessary at the scale of the
    light microscope or electron microscope, involving characteristics such as chemical composition
    and crystallography. The lack of precision in these terms and the difficulty in translating


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    macroscopic properties to microscopically identifiable characteristics contribute to
    miscommunication and uncertainty in identifying toxicity associated with various form of minerals.
    Comparably sized (hy length, width, aspect ratio etc) amphibole particles which are considered
    'asbestos' or 'not asbestos' including but not limited to 'cleavage fragments' 'transitional fibers'
    and the like have not been tested adequately for toxic potential , and in many real world situations -
    tremolite associated with chrysotile mining being one- many health scientists believe that such
    asbestos analogues need to be treated with similar caution as long as they meet minimum
    requirements for fiber length. For regulatory and health-assessment purposes there is no evidence
    that potentially affected cells can distinguish between 'asbestiform' and 'nonasbestifonn' fibers
    having equivalent dimensions (Case and Marinaccio 2017).



    There arc several recently published papers written by attendees at the Elongated Mineral Particles
    (EMP) Conference (October, 2017) in Charlottesville, Virginia that have bearing upon questions of
    interest concerning the toxicity of particles in cosmetic taic.




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     The English mineralogist, Dr. Fred Pooley, a long-time consultant to Johnson & Johnson has
     written a paper entitled Characterization of lung burden E.M.P .S.




  Accepted Manuscript


  Characterization of lung burden E.M.P.S



  F.D.Pooley


  PII:                             S0041-008X( 18)30483-6
  DOI:                             doi: 10.1016,j.taap.2018.10.019
  Reference:                       YTAAP 14442
  To appear in:                    Toxicology and Applied Pharmacology
  Received date:                   7 I\fay 2018
  Revised date:                    17 October 2018
  Accepted date:                   22 October 2018

  Please cite this article as: F.D. Pooley , Characterization of lung burden E.~1.P.S. Ytaap
  (2018), doi: 10. JO I 6zj.taap.2018. l 0.019


     Dr. Pooley concludes that "the toxicity of exposure to airborne elongated mineral particles can be
     related almost entirely to their dimensions i.e.: length and diameter distributions and durability."



     Dr. Bruce Case, a pathologist and epidemiologist has written about tremolite.




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Does qualitative examination of Elongated Mineral Particles (EMP)
recovered from human and animal lungs provide reliable information on
their carcinogenic and other effects?
Bruce W. Case•
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    The Recent Health Risk Assessment by Burns and Colleagues: Burns AM, Barlow CA,
    Banducci AM, Unice KM, Sahmel J. Potential Airborne Asbestos Exposure and Risk
    Associated with the Historical Use of Cosmetic Talcum Powder Products. Risk Anal 2019 Apr
    12. doi: 10.1111/risa.13312

    Burns and colleagues Ol have recently reported on potential airborne asbestos exposures and the risk
    associated with the historical use of cosmetic talcum powder products. Burns and colleagues are
    consultants to defendants in talc litigation. They declare that: Three of the authors (Burns, Barlow,
    and Sahmel) have served as experts in talc and/or asbestos-related litigation. It is likely that this
    work will be relied upon in occupational health and exposure assessment research and litigation.

    Their aim was to update a previous Food and Drug Administration (FDA) assessment by
    incorporating the current published exposure literature associated with consumer use of talcum
    powder and to use the current U.S. Environmental Protection Agency's (EPA) nonoccupational
    asbestos risk assessment approach to estimate potential cumulative asbestos exposure and risk for
    four use scenarios: (1) infant exposure during diapering; (2) adult exposure from infant diapering;
    (3) adult exposure from face powdering; and (4) adult exposure from body powdering.
    Unfortunately, the authors made a serious error in the method they used to compute asbestos fiber
    levels observed in experimental studies and have thus underestimated asbestos exposures by a least
    2 orders of magnitude. This has substantial implications for the reliability of their conclusions.

    In Table 1 of their paper, the authors list measurements of airborne dust concentrations, or of
    airborne fiber concentrations, published in 7 studies of infant or adult application of cosmetic
    talcum powder. In order to establish a common metric, they converted dust concentrations (in
    millions of particles per cubic foot or mg/m3 ) to a fiber concentration in fibers/cc. In Table II, they
    presented Infant and Adult Cumulative Asbestos Exposure Estimates Associated with Four
    Consumer Application Scenarios. As they explained in the footnote to Table II, "fiber
    concentrations were converted from dust concentrations to fiber concentrations using the 1. 72: 1
    fiber to dust conversion factor and the application of the 0.1% asbestos factor to the airborne fiber
    concentration; based on the FDA 1985 approach. In other words, they assumed that the asbestos
    component of the measurements of the fiber concentration was only 0.1 % of the total fiber
    concentration. This is clearly wrong, as can be seen in the case of the measurements reported by
    Gordon et a1<2l, where Transmission Electron Microscopy (TEM) was used to measure the asbestos
    fiber concentration directly.

    The authors' use of the 0.1 % asbestos factor followed from a misinterpretation of the FDA
    method. The method used by the FDA to assess asbestos concentrations was explained by the
    geologist, Alice Blount, in her 1991 paper on the amphibole content of cosmetic and
    pharmaceutical talcs< 3l_ Blount wrote "The FDA has equated 0.1 % with l 000 particles per
    milligram. It should be borne in mind that the 0.1 % indicated is percent by count and not percent by
    weight or volume. The question of the validity of this relation has been considered. Briefly, the
    relation implies (1000 amphibole particles)/(1,000,000 total particles). Counts of total particles per
    milligram of talc have shown that 1 million particles per milligram of talc is a low value. Most
    show at least 2 to 3 times this number. The only exception was a baby powder with very large


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    flakes which showed 0.4 to 0.8 million particles per milligrnm. It was not clear, however, whether
    this was a true value or due to the problem of counting where large, flakcy particles could
    potentially hide other particles even in the most carefully prepared samples. Using 1000
    particles/mg= 0.1 % would, in most samples, give a percentage value on the high side and in this
    sense be a conservative answer." So, the error made by Burns and colleagues was to equate
    particles in talc with.fibers in talc. The great majority of particles in cosmetic talc are not fibers, but
    arc platey talc.

    There are several studies which have directly measured the airborne concentrations of asbestos
    fibers during the use of cosmetic talc and which do not require any conversion. Burns and
    colleagues cited the 2014 paper by Gordon et al (2)_ Page 323 of that paper states that in the Shaker
    Container Test "For the talc user, the average Phase Contrast Microscopy (PCM) fiber
    concentration in his breathing zone during application was 4.8 1:/cc. The asbestos to total.fiber
    percentage as determined by TEA1 was 10%. Therefore, the asbestos concentration in the breathing
    zone of the talc user during application was 1.9 F/cc. For the bystander the PCM fiber
    concentration was 1.35 Flee and the TEM derived percentage o/'asbestos was 35%." For
    measurements made of powder application using a puff, "PCM fiber concentration in his breathing
    zone during the 5-minute sampling period was 20 Flee. The asbestos to total fiber percentage as
    determined by TEM was 21 %. Therefore, the asbestos concentrations in the breathing zone of the
    talcum powder user were 5 and 3.5 Flee. The short term sample in the breathing zone of the applier
    had a PCM value of60 Flee. Using the TEM-derived percentage of asbestos of 10%, the result for
    the short term sample was an asbestos concentration of 13 Fl cc. For the bystander, the PCM fiber
    concentration was 11.7 Flee. Using the minimum TEM-derivcd percentage of asbestos of 36%
    results in a bystander asbestos concentration of 4.9 and 3.5 F/cc. No asbestos fibers were found in
    the sample collected in the chamber before the testing or in the blank filters." So, the original
    investigators reported that the fiber concentrations during application were 4.8, 20, and 60 fibers/cc.
    Burns and colleagues have divided these concentrations by a factor of 1000, and report them in
    their Table II to be 0.0048, 0.020, and 0.060 fibers/cc.

    Longo, Rigler, and Egeland measured the asbestos concentration of an individual applying
    Johnson's Baby Powder <5l_ Approximately 4 grams of baby powder were applied to the lower body
    of an investigator to determine the potential exposure levels of an individual to asbestos amphibole
    fibers. Both the NIOSH 7400 PCM method and Lhe NIOSH 7402 TEM method were performed to
    determine if any detectable amphibolc asbestos fibers from the Johnson's Baby Powder were
    released into the breathing zone of the investigator and the immediate surrounding area. The
    NIOSH 7400 PCM analysis found that the four personal sample results ranged from 3.85 flee to
    5.86 11/cc with an average mean of 4.52 flee. Area air sample results were 0.28 flee to 0.58 flee with
    an average mean of 0.41 f/cc. Four of the personal PCM filters were analyzed by the NIOSH 7402
    TEM method and the percent tremolite asbestos.fiber concentration rangedfrom 42.9% to 76.9%
    resulting in a PCM equivalent range of 1. 81 trcc to 4.51 f/cc. The investigators also measured the
    concentration of fibrous talc and reported that the NIOSH 7402 TEM method was used to
    quantitate the airborne fibrous talc concentrations in each of the four personal air samples. The
    airborne fibrous talc concentrations ranged from 0.45 frcc to 1.86 t1/cc with an average mean of 1.23
    flee.


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    The results of these two investigations show that rather than the 0.1 % proportion assumed by Burns
    et al to be the proportion of asbestos in the fibers released during application of cosmetic talc, the
    measured proportion is actually in the range 10% - 75%. Bums and colleagues have thus
    underestimated the asbestos fiber concentration by at least 2 orders of magnitude.

    I have recalculated the airborne asbestos concentrations and cumulative exposures tabulated by
    Burns et al in Table II of their paper by multiplying by I 00, to more closely reflect the
    concentration of asbestos measured in the studies performed by Gordon and by Longo. For adult
    exposures during face powdering and body powdering, concentrations range from 0.02 to 6 flee and
    cumulative exposures from 0.1 to 0.9 flee-yr.

    Burns and colleagues have compared these exposures to cumulative lifetime exposures to ambient
    air (0.002-0.4 flee - yr) and concluded that "Our analysis also confirmed the original finding of the
    FDA that the risks associated with cosmetic talc use were below the corresponding cumulative
    upper-bound lifetime risk of background asbestos exposures to the general population. The results
    also indicate that using the FDA's upper-bound assumption of asbestos content (i.e., 0.1 %) in
    cosmetic talc products, many typical consumer use scenarios are unlikely to pose a cumulative
    asbestos exposure risk using conservative regulatory approaches to risk assessment." After
    correction of the serious underestimate (by at least 2 orders of magnitude) in the asbestos exposure
    concentrations, I conclude that the risks associated with cosmetic talc use exceed the corresponding
    cumulative upper-bound lifetime risk of background asbestos exposures to the general population.
    Given the millions of cosmetic talc users in the United States, it is not surprising that cases of
    mesothelioma have developed in some users.



    Here are the data relied upon by Bums and colleagues. Note that the airborne fiber concentrations
    and cumulative exposure estimates have been under estimated by 2-3 orders of magnitude.




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                                                                                        Gref. B-F INO 1-000259




                                                 JA465
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                                 Tahltdl .. Jnfant and Adult Cumulative Expo:-un, Estimates Af-socialcd with Four Consumer Application Scenarios

                                                                               Expo-;.u1c    Exposu1c              Exposure           Airh<m.1c         Cumulative
                                                                              Time (fi-r) Frequency (EFl         Duration (En)      Concentration        Exposure
Application Dc-scriptkm                                                       (Min/Use)' (lJsos/Yeanb.,             (Years)            (f/cc)d           {ficc-yr)'        Reicrencc

Srenurio 1: lnfmtt e.\:pn?-ure-diapering
Application of powder ln •·normal w~,y," container whh sprinkler clo~ure            5              1,825                2               l)J){/24         K4E-05       Aylotl ~t iii.. 1979
AppJication around diaper llt'Ca followed by ~prcading the powder                   2              1.825                2               0.0024           3.3F.-05     Dcm,~nr_ et nl.; 1972
Application around diaper area follow~d by spreading the powder                                    l_,825               2               0.CkJ053          UE-05       Dement et al.. 1972
AppJicationaround diaper area followed by spreading the powder                                     l.~25                2               !HMH6            '..l.4E-05   Dement ct al., 1<n2
Application of powder around arm pit area                                           5             1.825                 2               0.00025          8.8E-06       Moon ct al.. 201 l
Application of powder around diaper area, twist~top container                     0.69            1.825                 2               0.0/112          1.0E-05      Russell et al.. 1979
Scenario 2: Adult t.•xpo.surc-diapL~rinJ!
Applicatio.n around diaper area followed b~' spreading 1hc powder                   ~             l.825                 2                0.0027          3.8E-05      Dement ct al.. 1972
Application around diaper area followed by spreading the powder                     3             1.825                 2               0.00085          1.SE-05      Dement ct al., 1972
Application around -1..Uaptr area followed by spreading th~ pmvdcr                  3             1,825                 2               O.Ofl.12         2.6E-05      Dement ct al .. 1972
Simulated application of powder~ p1oduct dusting into slmllow tray                1.25            l_l.'25               2               0.0/1024         2.lE-06      Hildick-Srnith, 1976
Applicalion of powder around arm pit area                                           5             1,825                 2              0.(}()()()60      2.IE-06       Moon et ,d., 2()( l
Scenario 3: AdoJt c,:..posu.n---f.uce powcforinjt
Applir...atiun of loose face powder, puff applicator                                               J65                 70               (J.()()55         L3E-OJ       Aylott ct at, 1979
Sccruirio 4: Adult exposun•-body powderin~
A1>plication of powder in a twical fashion'                                          6             365                 70               (Wll023          6.6E-05      Anderson cl al.. 21117
Application of powder in ·'normal way," container with sprinkler closure             5             365                 70                ll.013          3.lE,03       Aylotl et al., 1979
Applicatio.n to upper body, shaker container                                         5             365                 70               0JMJ48           l.2E-03       Gordon ct al .. 2014
Application to upper body, puff appUcatoi                                            4             365                 70                0.020           3.9E-03       Gordon ct al., 2014
Application lo upper body, puff applicalorf                                        3.3             365                 70                0.1]6()         <J.6E,()3     Gordon et al., 2014
AppJication of powder in a '"normal mannci-.'· twist-top container                 1.711           365                 70                IJ.023          2.0E-03       Russell ct al., 1979

awhen nvailable1 the sample duration reported for each application sc~nario Wit.'i used for c.tposurc lime (f:'T). Anderson et aL (2017) reported that each simulation lasted
48 minutes, including eight applications each lasting 6 minutes: therefore, 6 minutes was used as the f:'r for this study. Russell el al. (1979) did not report a sample duration;
therefore, the maximum reported powdering lime was used.
hDaily exposure frequency of ftve uses per day, based on diapcrinr; frequency data prc.scnted in Hildick-Smith (1976) and EPA 's Expo,mre Fae/Ors Hmulhook (20l l ).
<Daily exposure frequency of one use pc,· Jay,bascd on adult use pr<.-,;cnted in Zuzenski ct al. (1995)and EPA's Exposure fr1<•Jor.v 11,mdbaok (2011).
d_Fiber concentrations in italics were converted from dust concentration..., to fiber concentrations using the .l.7:1:l fiber to du...:;t conversion factor .and the appJication of the O.l %
asbestos factor to the airborne fiber concentration, based on the FDA ·1985 approacll.
•cumulative asbestos exposure overtime on an environmental basis (flee-Year)= Cw«l "E-r x Ep" ED" Cp;where Cp: (Year/Mill), or l.9E-06 (I year I (%5 days/year} x [24
bmirslday]x [60 minutes/hour.I).
1Reported PCM (f/oo) concentrations used for analysis.




           As discussed above, for example, Gordon and colleagues reported fiber concentrations, measured
           directly by TEM of 4.8, 20, and 60 flee and Bums and colleagues have under-reported by a factor of
           1000. The cumulative exposures for body powdering should thus be 1.2, 3.9, and 9.6 flee-years.

           Risk Estimation in the United States Population

           Bums and colleagues used the EPA Risk assessment Methodology (EPA. 2008. Framework for
           Investigating Asbestos-Contaminated Sites. Report prepared by the Asbestos Committee of the
           Technical Review Workgroup of the Office of Solid Waste and Emergency Response, U.S.
           Environmental Protection Agency. OSWER Directive #9200.0-68.)




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                                                                                                                                                      Gref.B-FIN01-000260




                                                                                   JA466
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    The EPA writes: "Inhalation exposure to asbestos increases the risk of cancer (lung cancer and
    mesothelioma) in exposed humans. The U.S. Environmental Protection Agency (EPA) has·
    developed a method for estimating the risk of cancer as a function of the concentration of asbestos
    in inhaled air and the exposure conditions (EPA, 2008). The basic equation is:

                                                   Risk = EPC • TWF • illRa,d

    where:

    Risk= Lifetime excess risk of dying from cancer (lung cancer or mesothelioma) as a consequence
    of the site-related asbestos exposure.

    EPC = Exposure point concentration of asbestos in air (PCM or PCMe s/cc). The EPC is an
    estimate of the long-term average concentration of asbestos in inhaled air.

    TWF = Time weighting factor. The value of the TWF tenn ranges from zero to one, and describes
    the average fraction of full time that exposure occurs in the time interval being evaluated.

    Burns and colleagues calculated a less-than-lifetime IUR of0.22 f/cc- 1 for the adult use over a
    70-year lifetime (with an age at start of exposure of 0 years; Scenarios 3 and 4). The cancer risk
    estimates they calculated for the consumer application of facial talcum powder (Scenario 3: adult
    exposure over the course of 70 years) resulted in less than 10-5 added theoretical risk. Similarly, the
    cancer risk estimates calculated for consumer application of body powder (Scenario 4: adult
    exposure over the course of70 years) resulted in less than 10-4 added theoretical risk. Now, ifwe
    asswne that they underestimated fiber exposures by a factor of only 100, the lifetime cancer risks
    become 10-3 added theoretical risk for the consumer application of facial talcum powder (1/1000)
    and 10-2 (1/100) added theoretical risk for consumer application of body powder.

    As shown above, there are about 100,000,000 users of cosmetic talc in the United States.
    Application of these risk estimates would suggest the occurrence of many thousands of cases of
    asbestos-related cancers (lung cancer and mesothelioma) in the United States attributable to the use
    of cosmetic talcs.




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                                                                                         Gref. B-FI N01-000261




                                                 JA467
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    Reference List

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                                                                                      Gref. B-FIN01-000262




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     K: COMPARISONS of COSMETIC TALC with NEW YORK TALC

    As discussed above, there are, as of the present, no studies of the epidemiology ofmesothelioma
    among cosmetic talc users. Miners and end-users of commercial talc from New York State are at
    increased risk ofmesothelioma (Finkelstein 2012;Finkelstein 2013), attributable to the
    contamination with tremolite and anthophyllite, but the talc used in cosmetic talc was not sourced
    from this heavily contaminated deposit. Vanderbilt Minerals Corporation, and their consultants,
    state that their products did not contain asbestiform minerals. The effect of amphibole
    contaminants on mesothelioma risk among the New York talc miners and millers nevertheless
    assists with risk assessment for cosmetic talc users. Although the concentrations of amphibole
    particles are higher in New York talc than in samples of cosmetic talc (and I in 80 miners in the
    Vanderbilt cohort developed mesothelioma), it is possible to derive inferences about the health
    effects of the contamination of cosmetic talcs from the experience of humans exposed to the dusts
    of New York talc. It is therefore of interest to compare the amphibole particles measured in
    cosmetic talc with those measured in New York industrial talc.

     Millette has analyzed samples of New York Talc and repo1ted on the size distribution of the
     tremolite particles that he observed.

     The results of analyses of samples ofNYTAL 100, lOOHR, 200,300, and 400 are shown in the
     Table below.



      Measurement ofTremolite in NYTAL Talcs by MVA Scientific Consultants

      Length                           Width                            AR

      NYTALlO0                         ReportMVA 8237

      8.2                              0.58                             14

      3.1                              0.38                             8

      4.3                              0.77                             6

      2.6                              0.48                             5



      NYTALlO0HR                       Report MVA 8237

      12.6                             2.8                              5

      16.9                             3.7                              5

      4.3                              0.96                             5

      2.9                              0.38                             8

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                                                                                      Gref.B-FIN01-000263




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      2.4                    0.24                     10
      2.9                    0.24                     12


      NYTAL200               Report MVA 10331
      1.7                    0.29                     6
                                                    -------·   .

      1. 7                   0.29                     6
      5.4                    0.15                     36
      2.9                    0.24                     12


      NYTAL300               Report MVA 10331
      9.3                    1.7                      5
      3.4                    0.39                     8
      5.4                    0.73                     7
      3.9                    0.49                     8
      3.3                    0.21                     16
      1.7                    0.29                     6
      6                      1.04                     6
      4.2                    0.5                      8
      12.5                   1.33                     9
      1.8                    0.29                     6
      2.3                    0.25                     9
     0.8                     0.08                     10
      I. 9                   0.29                     9




     NYTAL 400               Report MVA 10331
      13.7                   1.46                     9


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                                                                   Gref. B-FI N01-000264




                                    JA470
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      3.9                              0.39                             10
      5.4                              0.98                             6
      4.6                              0.59                             8
      2.7                              0.49                             6
      2.4                              0.29                             8



     Millette has analyzed samples of New York Talc and also reported on the size distribution of the
     anthophyllite particles that he observed.

     The results of analyses of samples ofNYTAL 100, lOOHR, 200,300, and400 are shown in the
     Table below.

      Measurement of Anthophyllite in NYTAL Talcs by MVA Scientific Consultants
      Length                           Width                            AR
      NYTAL 100                        Report MVA 8237
      5.3                              0.96                             6
      1.4                              0.01                             14
      7.2                              0.58                             12
      4.3                              0.87                             5
      8.2                              l.ll                             7
      4.8                              0.48                             10
      12                               0.38                             32
      3.1                              0.05                             62


      NYTAL lOOHR                      Report MVA 8237
      7.2                              0.29                             25
      2.9                              0.24                             12
      3.1                              0.38                             8



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                                                                                     Gref. B-FIN01-000265




                                               JA471
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      1.4                    0.14                    10
      3.1                    0.38                    8
      6.7                     1.44                   5
      11.5                   0.58                    20
      2.9                    0.19                    15
      2.2                    0.14                    15
      3.4                    0.1                     35
      12                     0.48                    25
      2.2                    0.1                     23
      29.8                   1.44                    21


      NYTAL200               Report MVA 10331
      9.3                    0.73                    13
      2.9                    0.49                    6
      8.5                    1.22                    7
      38.5                   0.39                    99
      8.3                    0.49                    17


      NYTAL300               Report MVA 10331
      4.9                    0.39                    13
      26.8                   0.49                    55
      4.6                    0.39                    12
      22.4                   0.39                    57
      2.9                    0.39                    7
      3.9                    0.49                    8
      16.6                   0.49                    34



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                                                               Gref. B-FI N01-000266



                                     JA472
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      NYTAL400                MVA 10331
      5.4                     0.24                    23

      3.4                     0.49                    7
      5.4                     0.98                    6

      6.3                     0.24                    26

      7.8                     1.46                    5

      4.4                     0.24                    18

      4.4                     0.39                    11

      8.8                     0.49                    18

      7.8                     0.73                    11
      7.3                     0.49                    15

      7.8                     0.39                    20

      9.3                     0.39                    24

      28.8                    0.73                    39

      8.3                     0.73                    11
      8.3                     0.39                    21

      10.7                    0.59                    18

      5.4                     0.49                    11

      12.2                    0.49                    25
      6.3                     0.49                    13

      7.8                     0.24                    33

      3.4                     0.39                    9
      26.8                    0.59                   45

      3.9                     0.29                    13

      3.9                     0.59                   7

      3.9                     0.24                    16

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                                                               Gref.B-FIN01-000267




                                     JA473
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      2.4                             0.2                              12
      1.5                             0.24                            6
      3.7                             0.34                             11
      42.9                            0.59                            73

      8                               0.44                             18
      5.9                             0.29                            20
      2.9                             0.24                             12
      7.3                             0.49                             15
      22.4                            0.59                             38

     I now make comparisons of the particle size distributions in New York talcs with those in
     cosmetic talcs.




                                  Johnson's Baby Powder
     This analysis compares Longo's measurements oftremolite in Baby Powder and his 2018
     measurements of anthophyllifo iri Johnson's Baby Powder with Millette' s measurements of
     NYTAL.

     Firstly, histograms for width. The Baby Powder particles tended to be wider; however, Longo
     identified most of these as bu.11.dles rather than fibers.




                                                Page -268-



                                                                                    Gref. B-FIN01-000268




                                              JA474
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      and a statistical test for differences in particle width between Johnson's Baby Powder and New
      York Talc:




                                                 Page -269-



                                                                                     Gref. B-FIN01-000269




                                               JA475
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             (;0111parison of Particle Width: New York Talc and Baby Powder
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                                                    P = 0.18 (No Significant Difference)
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                                                                Width

                                                   I·   NYTAL   • Baby Powder


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                                                                                  I            P = 0.85 (Not Significant)


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       and for the Aspect Ratios .




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                                                               Gref. B-FIN01-000272




                                     JA478
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                       Compc:1rison of Anthophyllite Particle Aspect Ratios
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                            1--'


                                                                20                       40                       60
                                                                              Aspect Ratio
                                                   New York Talc             - - - - Johnson's BabyPowder



     I conclude that there is substantial overlap between the size distributions of anthophyllite particles
     between cosmetic talcs and New York industrial talcs. Miners and end-users of commercial talc
     from New York State are at increased risk ofmesothelioma (Finkelstein 2012;Finkelstein 2013),
     attributable to the contamination with tremolite and anthophyllite.




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                                                                                                        Gref. B-FIN01-000273




                                                                     JA479
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    Trace AmphibQle C<>ntainination Qf Asbestos Ore or Products and Huinan
    Body Burden

    Retail talc products contained trace amounts of amphibole particles. Blount found a concentration
    of0.025% and Longo a concentration of0.045%. Rohl and Langer did not use a concentration
    technique, and, using Xray diffraction, they did not find tremolite in the 4 retail samples they
    examined. These tremolite contamination levels in consumer talcs may be compared with the level
    of0.0094% in Quebec chrysotile. Higher levels of contamination were found in Cashmere Bouquet
    and Coty powders.

    It is well known that, because of their lengthy biopersistence, amphibole fibers accumulate in
    human tissues. Dr Andre Dufresne and I analyzed the fiber burden in the lungs of chrysotile miners
    and millers in the Province of Quebec, Canada (Finkelstein and Dufresne 1999). The chrysotile
    ores of Quebec are contaminated with trace amounts oftremolite and other fibrous amphiboles
    /1\./f.,..T"\,..._,..1...J ,....,_ .... 1   10C\'7'\   'T"L ... .C:~--- L-1---· -L---·- •L- ----------1-.i..: ... _   ... C l - - - ... _.J _, ___., .C:L ... -   ... 1__ . ____ ,;1_
    \lVH,LJUltalU <CL ell. 177 / )· l ll<C ui:;u1c; uc;1uw :suuw:s LUC, dl.A,UlllUli:lllUll Ul lUlll:, auu :>UUlL uuc;1 uuy:suLUC,

    and tremolite in miners' lungs in relation to the length of occupational exposure. The Table below
    shows that, despite its presence in trace quantities in the ore, there was as much tremolite measured
    in the lung tissue of chrysotile miners and millers as there was chrysotile.

    The accumulation of amphibole particles in the lungs of cosmetic talc users is thus not surprising.




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                                                                                                                                                       Gref.B-FIN01-000274




                                                                                       JA480
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                     Length of Exposure (Years)




                     Length of Exposure (Years)




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                                                               Gref. B-FIN01-000275




                                    JA481
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       TABLE IL Results of Multiple Linear Regression .A.nalyses for the Logar~hm m· Fiber Concentration in Relation
       to Years of Exposure and Time Since Last Exposure

                                                                                                     Years since                     Clearance
       fiber                                 tltercepl             Years of 0[po!Ue'-'             lastexposu-e'-'               half-lime (years)

       Asbesto:. bodies                1.16 (0.50-3.D2)           0,073c (0.039-0.108)       -0.025 (-0 065 to 0.016)      12.04 (4.63 10 oo)
       Chrysotile <5 microns           2.54 (1.29-3.79)           0.0 52c (0.01 8-0 .0 87)   -0.01,;:r (-0 119 to -0.039)   3.81 (2.53 to 7. 72)
       Chrysotile 5-10 mtrons          1.10 (-0.212-2.42)         a.ow (0.028-0.100)         -0.053b (-0 095 to -0.010)     5.67 (3.17 to 30.1)
       Chrµtile > 10 microns           ,.07 (-0.106-2.24)         0.05F (0.019-0.083)        -0.038b (-0 076 to -0.0002)    7.92 (3.96 to 1500)
       Tremolite <5 mic10ns            1.72 (0.50-2.94)           o.ow (0.032-0.099)         -0.021 (-0.061 t) 0.018)      14.33 (4.93 to oo)
       Tremolite 5-10 mtrons           1.15 (0.28-2.02)           0.067C (0.043-0.090)       -0.019(-0.047100.009)         15.84 (6.40 to<»)
       Tremolite > 10 mi::10ns         1.07 (0.19-1.95)           0.046C (0.022-0.070)       -0.002 (-O.D30 to 0.0266)    150 (11 to oo)

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       •P< 001.
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       nlhe model. Q.Jei:13c chryro liil milers au ll J:15ied 1'Jl.>-1002.



    McDonald, Case and colleagues (McDonald et al. 1997) attribute much of the mesothelioma risk in
    Quebec to the contamination of chrysotile with tremolite. 'Its pathogenicity and carcinogenicity
    have been amply demonstrated and lung burden analyses suggest that its geographical distribution in
    the mining region is closely related to the pattern of mesothelioma risk.'




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    In relation to Mr. Gref's asbestos exposure we have the following:

    1. Mr. Gref had long term usage of a variety of cosmetic talcs:

    1. Johnson and Johnson: Shower to Shower and Baby Powder: 1982 - 2000s
    2. Old Spice : 1982 - 2000s
    3. Mennen: 1982 - 1992
    4. Clubman: 1982 - 2000s
    5. English Leather: 1982 - 2000s

    His earliest exposures were as an infant and continued to the time of his diagnosis ofmeaothelioma.

    2. The powders that he used were sourced from Italian, Vermont, other American and Chinese
    sources. These cosmetic talcs were contaminated with asbestiform minerals including the amphibole
    minerals tremolite and anthophyllite. From 1968, Johnson's Powders were sourced from Vermont
    ore. These cosmetic talcs were contaminated with asbestiform minerals including the amphibole
    minerals tremolite and anthophyllite. From the early 2000s, Johnson's Baby Powder was sourced
    from Chinese ore. These cosmetic talcs were contaminated with asbestiform minerals including
    chrysotile and the amphibole minerals tremolite and anthophyllite.

    2. Exposure to fibers oftremolite and anthophyllite increases the risk ofmesothelioma.

    3. There is transport of asbestos fibers from the lungs to the abdominal cavity via the lymphatic
    system. Tremolite and anthophyllite fibers are found in the abdominal cavity and omentum of
    individuals with mesothelioma.


    Dodson reported finding tremolite and anthophyllite fibers in the mesentery and omentum of
    individuals with mesothelioma (Dodson et al. 2000). The chart showing the comparison between the
    lung and abdominal burdens is shown below.




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                                                Type of Asbestos Fibers




      Steffen et al reported the measurement of Asbestos Fibers in the Abdominal Tissues of Subjects
      with Gynecologic Cancer who had been users of Johnson's Baby Powder.




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    4. Low Level Asbestos Exposure is a recognized cause of mesothelioma

    As stated in the Helsinki Criteria for diagnosis and attribution (Wolff et al. 2015):

    "The following points need to be considered in the assessment of occupational aetiology:
    • "The great majority of mesotheliomas are due to asbestos exposure;
    • "Mesotheliomas can occur in cases with low asbestos exposure. However, very low background
    environmental exposures carry only an extremely low risk;
    • "About 80% ofmesothelioma patients have had some occupational exposure to asbestos, and
    therefore a careful occupational and environmental history should be taken;
    • "Even a brief or low-level exposure should be considered sufficient for mesothelioma to be
    designated as occupationally related;
    • "A minimum of 10 years from the first exposure is required to attribute the mesothelioma to
    asbestos exposure, though in most cases the latency interval is longer (e.g., in the order of 30-40
    years); and
    • "Smoking has no influence on the risk ofmesothelioma."

    Mr. Grefs exposures were domestic and not occupational, but the same criteria apply.


    5. Asbestos is the only relevant known cause of mesothelioma

    Mesothelioma is a rare tumor. Apart from therapeutic radiation and inhalation of erionite, fluoro-
    edenite, and Libby amphibole inhalation of asbestos is the only known cause of mesothelioma.
    Inhalation of asbestos is the only relevant cause in Mr. Grefs case.

    6. Mr Gref had exposures to asbestos dusts from a variety of products

    As outlined above, Mr Grefhad exposures to asbestos fibers originating in a variety of cosmetic
    talcs. Because of the multi-stage process for the initiation ofmesothelioma (Hanahan and Weinberg
    2011 ;National Cancer Institute 2009), all exposures must be considered to have increased his risk of
    mesothelioma (Appendix).

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    In summary, for the reasons stated above, I conclude, to a reasonable degree of medical certainty,
    that Mr. Grefs exposures to asbestos fibers in cosmetic talcs were substantial contributing causes of
    his malignant peritoneal mesothelioma.

    I reserve the right to supplement my report should additional information become available.


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     APPENDIX



                  Slide 4 I Loss of Normal Growth Control

                  Cancer arises from a loss of normal growth control. In normal tissues. the rates of new cell growth and old cell
                  death are kept in balance. In cancer, this balance is disrupted. This disruption can result from uncontrolled cell
                  growth or loss of a cell's ability to undergo cell suicide by a process called"'apoptosis • .A.poptosis. er "cell
                  suicide:• is the mechanism by which old or damaged cells normally self-destruct




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    Dr. Finkelstein's Qualifications

    I am a physician-epidemiologist. My education is in physical science and medicine. In 1972, I was
    awarded a PhD in physics from Case-Western Reserve University in Cleveland, Ohio. I graduated
    from the Faculty of Medicine at McGill University in Montreal, Canada in 1976. In 1978, I
    completed my residency training at the University of Toronto and obtained my certification in
    Family Medicine. In July 1978 I began employment as a Medical Consultant with the Ontario
    Ministry of Labour, a position I held until retirement in September 2008.

    My first assignments at the Ministry of Labour were to prepare the background health-effects
    documentation for the proposed asbestos regulation (R.R.O. 1990, Reg. 837) and to undertake an
    epidemiologic study of the health of workers at the Johns-Manville asbestos-cement plant in
    Scarborough, Ontario. I have subsequently published numerous studies, in the peer-reviewed
    literature, of the relations between asbestos exposure and health. In addition, in 2007 my research
    team and I won a "Request for Proposals" competition sponsored by WorkSafeBC, the workers'
    compensation authority of British Columbia, to prepare a systematic review entitled: "Bronchogenic
    Carcinoma in Asbestos Exposed Workers: A Systematic Review". In 2008 I was appointed as an
    epidemiologist to the United States Environmental Protection Agency Science Advisory Board
    Asbestos Panel. In 2013, I was invited by the Finnish Institute of Occupational Health to participate
    in the 2014 revision of the Helsinki Criteria for the diagnosis and attribution of asbestos, asbestosis,
    and cancer. In November 2014, my colleagues and I won a "Request for Proposals" competition
    sponsored by WorkSafeBC, the workers' compensation authority of British Columbia, to prepare a
    systematic review entitled: "Asbestos-related Lung Disease and Chronic Obstructive Pulmonary
    Disease".

    In June, 2015 I retired from my part-time medical practice in the Department of Family and
    Community Medicine at Mt Sinai Hospital in Toronto, and from my appointment as a Research
    Scholar in the Department of Family and Community Medicine at the University of Toronto. I
    continue to hold Faculty Appointments in the Departments of Family Medicine at the University of
    Toronto and at McMaster University.

    Dr Finkelstein's Publications 2010 - 2021

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    121. Finkelstein MM: Malignant Pleural Mesothelioma in U.S. Automotive Mechanics: Reported
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        Dr. Finkelstein's Appearances at Deposition or Trial 2015 - 2021

             Name                Date             Attorney                  Jurisdiction

            Bullington           January 6/15    McMullen                     Florida    Deposition
            Bunting              January 6/15    Vinocur                      Florida    Deposition
            Pudleiner            January 30/15   Weitzel                      D.C.       Deposition
            Stockton             Feb 3/15        Ruckdeschel                  Tennessee Deposition
            Schwartz             Feb 10/15       Kelly-Ferraro                Ohio       Deposition
            Hayes                Feb 24/15       Hoffman                      Louisiana Deposition
            Schultz              Mar 2/15        Smith                        Maryland Deposition
            Matteoni             Mar 5/15        Lanier                       Illinois   Deposition
            May                  Mar 23/15       French & Mudd               Illinois    Deposition
            Bodnarchuk           Mar 27/15       lgnatowski                   Maryland Deposition
            Ridenour             April 17/15     French & Mudd               California Deposition
            Pejic                April 28/15     Bullock                     Missouri Deposition
            Gonzalez             May8/15         Ferraro                     Florida     Deposition
            Castello             May 14/15       Ferraro                     Massachusetts Deposit
                                                                             ion
            Schultz             May 21/15        Angelos                     Maryland Trial
            Bowers              May 26/15        French & Mudd               Illinois   Deposition
            Pavlick             June 18/15       Ruckdeschel                 Delaware Trial
            Supanich            June 23/15       Vinocur                     Florida    Deposition
            Shrum               June 25/15       French & Mudd               Illinois   Deposition
            David               July 1/15        French & Mudd               Illinois   Deposition
            Seiber              July 2/15        Karst                       Texas      Deposition
            Maxwell             July6/15         Ferraro                     Florida    Deposition
            Bean                July 6/15        Ferraro                     Florida    Deposition
            Graubart            July7/15         French & Mudd               California Deposition
            Gonzalez            July 29/15       Ferraro                     Florida    Trial
            Kelly               Aug 4/15         Ferraro                     Florida    Deposition
            Levn                Aug 5/15         Ferraro                     Florida    Deposition
            Mosko               Aug 6/15         Angelos                     Maryland Deposition
            Stockton            Aug 12/15        Ruckdeschel                 Tennessee Trial
            Gomez               Sept 2/15        Ferraro                     Florida    Deposition
            Higgins             Sept 3/15        Vinocur                    Florida     Deposition
            Lewis               Sept 9/15        DiMuzio                    Virginia    Deposition
            Russell             Sept 10/15       Lanier                     Florida     Deposition
            Herndon             Sept 11/15       Lanier                     Florida     Deposition
            English             Sept17/15        Maune Raichle              Pennsylvania Trial
            Seiber              Oct 29/15        Karst & VonOiste           Texas       Trial
            Ellis               Nov 25/15        Shepard                    MassachusettsDeposit
                                                                            ion
            Guthrie             Nov 30/15        Maune Raichle              MADCO Deposition
            Hoskins             Nov 30/15        Maune Raichle             ·MADCO       Deposition
            Foskett             Dec2/15          Maune Raichle              MADCO Deposition
            Saldana             Dec 10/15        Kunen                      Florida     Deposition
            Hickey              Dec 18/15        Karst & VonOiste           WashingtonDeposiiton
            Mitchem             Jan 28/16        Maune Raichle              California Deposition
            Lem berger          Jan 29/16        Maune Raichle              California Deposition


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          Rauen                 Feb 1/16        Maune Raichle         Illinois    Deposition
          Yanez                 Feb 4/16        Maune Raichle         California Deposition
          Cataldo               Feb 18/16       Waters & Krauss       MassachusettsDeposit
                                                                      ion
          Velasco               Mar 3/16        Vinocur               Florida     Deposition
          Bordelone             Mar 10/16       Baron & Budd          Louisiana Deposition
          Mead                  Mar11/16        Maune Raichle         California Deposition
          Vega                  Mar 16/16       Maune Raichle         California Trial
          Goodson               Mar21/16        Ferraro               Florida     Deposition
          Garcia                Mar 22/16       Ferraro               Florida     Deposition
          Parrott               Mar 29/16       Maune Raichle         South
                                                                      CarolinaDeposition
          Tracy                 April21/16      Levy-Konigsberg       Georgia     Deposition
          Beene                 May 2/16        Vinocur               Florida     Deposition
          Smith                 May 3/16        Waters & Krauss       Virginia    Deposition
          Rodriguez             May 25/16       Waters & Krauss       California Deposition
          Hubbard               June 3/16       Maune Raichle         MADCO Deposition
           Lasich               June 29/16      Karst and Von Oiste   WashingtonDeposition
          Weis                  July7/16        Baron & Budd           Louisiana Deposition
          Ludlow                July 19/16      Morgan and Morgan      Maryland Deposition
          Lasich                July 21/16      Karst                  Washington Trial
          Batchelor             July 25/16      Ferraro               Florida     Deposition
          Dominguez             July 30/16      Heubeck                California Deposition
          Soto                  Aug 12/16       Maune Raichle          California Deposiiton
          Raines                Aug 19/16       Vinocur                Florida    Deposition
          Oster                 Aug 23/16       Kunen                  Florida    Deposition
          Batchelor             Aug 25/16       Ferraro                Florida    Trial
          Levine                Aug 26/16       Ferraro                Florida    Deposition
          Britt                 Aug 26/16       Ferraro                Florida    Deposition
          Trigueros             Aug 29/16       Baron & Budd           Louisiana Deposition
          Coates                Aug 30/16       Angelos                Maryland Deposition
          Theriault             Sept 1/16       Ferraro                MassachusettsDeposit
                                                                       ion
          Reid                  Sept 6/16       Baron & Budd           Texas      Deposition
          Cumbest               Sept 16/16      Angelos                Maryland/T exasDepos
                                                                       ition
          Britt                 Sept 21,22/16   Ferraro                Florida    Trial
          Colletti              Oct 5/16        Landry, Swarr          Louisiana Deposition
          Wagoner               Oct 13/16       Karst                  California Deposition
          Bourke                Oct 19/16       Baron & Budd           Louisiana Deposition
          Garcia                Oct 25/16       Baron & Budd           Texas      Deposition
          LeBlanc               Oct 28/16       Ferraro                Massachusetts Deposit
                                                                       ion
          Angelos Steel Cases   Nov1/16         Angelos                Maryland Deposition
          McGrew                Nov 2/16        Baron & Budd           Louisiana Deposition
          Giovanni              Nov 9/16        Robins Cloud           Missouri Deposition
          Coates                Nov 21/16       Angelos                 Maryland Trial
          Clarke                Nov 23/16       Ferraro                Florida    Deposition
          Graham                Nov 29/16       Vinocur                Florida    Deposition
          Angelos Steel Cases   Dec 8/16        Angelos                 Maryland Trial
          Parbury               Dec 21/16       French & Mudd          California Deposition


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                                                                                   Gref. B-FIN01-000288




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          Schmidt        January 9/17   Robins Cloud          Florida     Deposition
          Rodrigues      Jan 13/17      Waters & Krauss       California Deposition
          Muscarello     Jan 27/17      Baron & Budd          Louisiana Deposition
          Olsen          Feb 10/17      Ferraro               Florida     Deposition
          Wallace        Feb 14/17      Angelos               Maryland Deposition
          Westerman      Feb 17/17      Morgan and Morgan     Florida     Deposition
          Lennon         Feb 21/17      Maune Raichle         California Deposition
          LeBlanc        Feb 24/17      Ferraro               MassachusettsTrial
          Olsen          Feb 28/17      Ferraro               Florida     Deposition
          Tracy          Mar 2/17       Levy-Konigsberg      Georgia      Daubert
                                                                          Hearing
          Kindred        Mar 13/17      Angelos              Maryland Deposition
          Greene         Mar 16/17      Angelos              Maryland Deposition
          Foster         Mar 20/17      French & Mudd        California Deposition
          Hardaway       April 19/17    SWMK Law             Missouri Deposition
          Garcia         April 20/17    Baron & Budd         Texas        Trial
          Shaw           May 2/17       French & Mudd        California Deposition
          Brooks         May 23/17      Angelos              Maryland Deposition
          Herold         May 26/17      French & Mudd        MADCO Deposition
          Hart           June 6/17      French & Mudd        California Deposition
          Moore          June 21/17     Ferraro              Florida     Deposition
          Moore          June 27/17     Ferraro              Florida     Trial
          Hart           June 29/17     Maune Raichle        California Trial
          Hlotsclaw      July 3/17      Maune Raichle        California Deposition
          DeFiore        July 10.17     Baron & Budd         Louisiana Deposition
          Smith          Aug 4/17       Ferraro              Florida     Deposition
          Foucha         Aug 10/17      SMKW Law             Louisiana Deposition
          Jasmin         Aug 14/17      Baron & Budd         Louisiana Deposition
          O'Neill        Aug 18/17      Ferraro              Florida     Deposition
          Pisz·          Aug 21/17      Ferraro              Florida     Deposition
          Lefebvre       Sept 5/17      Ferraro             MassachusettsDeposit
                                                            ion
          Morgan         Sept 7/17      Baron & Budd        Louisiana Deposition
          Gokey          Sept 14/17     Ferraro             MassachusettsDeposit
                                                            ion
          Nichols        Sept 18/17     Gori Julian         Florida      Deposition
          Lanzo          Sept 29/17     Levy-Konigsberg     New JerseyDeposition
          Jaslovec       Oct 2/17       Ferraro             Florida      Deposition
          Torres         Oct 13/17      Ferraro             Florida      Deposition
          Gafford        Oct 30/17      McMullen            Louisiana Deposition
          Kohr           Oct 31/17      Levy-Konigsberg     Illinois     Deposition
          Torres         Nov 9/17       Ferraro             Florida      Trial
          Lanzo          Nov 13/17      Levy-Konigsberg     New JerseyDeposition
          Miller         Dec 12/17      Flint               Illinois     Deposition
          Henry          Dec22/17       Motley Rice         New JerseyDeposition
          Lord           Jan 12/18      Waters & Krauss     Florida      Deposition
          Henry          Jan 23/18      Motley Rice         New JerseyDeposition
          Henry          Jan 30/18      Motley Rice         New JerseyDeposition
          Michel         Feb 21/18      Gori Julian         Louisiana Deposition
          Minecci        Feb 26/18      Ferraro             Florida     Deposition
          Lord           March 1/18     Waters & Krauss     Florida     Trial


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                                                                         Gref. B-FIN01-00 0289




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          Boyd-Bostic     Mar16/18      Motley Rice            South
                                                               CarolinaDeposition
          Wills           Mar 16/18     Motley Rice            South
                                                               Carolina Deposition
          Sontag          April 10/18   French & Mudd          California Deposition
          Blake           April 11/18   Angelos                Maryland Deposition
          Alexander       April 26/18   Kelly-Ferraro          Ohio        Deposition
          Boyd-Bostic     May 17/18     Motley Rice            South Caro!inaTrial
          McKnight        May 23/18     Hoffman                Louisiana Deposition
          Strong          May24/18      Ferraro                Wisconsin Deposition
          Long            June 7/16     Zinns                  Georgia     Deposition
          Windsor         June 8/16     Cooney Conway          Illinois    Deposition
          Huff/McIntosh   June 12/18    Schmickle              Missouri Deposition
          Blake           July 17/18    Angelos                Maryland Trial
          O'Daniel        July 19/18    McMullen               Illinois    Deposition
          Dugger          Juiy 20/18    Angelos                Maryland Deposition
          Meek            Aug 24/18     Baron & Budd           Indiana     Deposition
          Green           Aug 77/18     FP.rr;:iro             Florida     Deposition
          Cook            Aug 27/18     Ferraro                Florida     Deposition
           Barr           Aug 29/18     French & Mudd          California Deposition
          Hare            Sept 7/18     SWMW Law               Missouri Deposition
          Henry           Sept 25/18    Motley Rice            New JerseyTrial
          Alexander       Oct 3/18      Kelly-Ferraro          Ohio        Trial
          Berry           Oct 10/18     Baron & Budd           Louisiana Deposition
          Startley        Oct 19/18     Baron & Budd           Illinois    Deposition
          Barr            Oct 22/18     French & Mudd          California Trial
          Colatorti       Oct 29/18     Cooney Conway          Illinois    Deposition
          Startley        Dec 11/18     Baron &Budd            Illinois    Trial
          Henson          Dec 13/18     Waters & Krauss        California Deposition
          Scheurman       Dec 28/18     Vinocur                Florida     Deposition
          Henson          Jan11/19      Waters & Krauss        California Trial
          Various         Feb 6/19      SWMW Law               Missouri Trial
          Hogue           Feb 6/19      Maune Raichle          California Deposition
          Simpson         Feb 8/19      ~A;;,1 lnA R;air.hlP   West
                                                               VirginiaDeposition
          Coates          Feb 13/19     Angelos                Maryland Trial
          Gutuiorrez      Feb21/19      Baron & Budd           New
                                                               MexicoDeposition
          Martin          Feb 22/19     Baron & Budd            Louisiana Deposition
          Olson           Mar 11/19     French & Mudd           New York Trial
          Hare            April 4/19    SWMW Law                Missouri Trial
          Stepanek        May 23/19     Levy-Konigsberg         Illinois   Deposition
          Fibish          May 24/19     Maune Raichle           Illinois   Deposition
          Elizarraras     June 3/19     Maune Raichle           California Deposition
          Thornton        June 5/19     Ferraro                 Florida    Trial
          Bennett         June 10/19    Gori Julian             Missouri Deposition
          Lavender        June 17/19    Eley                    Colorado Deposition
          Foushee         June 26/19    Levy-Konigsberg         N. CarolinaDeposition
          Scott           June 27/19    Baron & Budd            Louisiana Deposition
          Morgan          July 8/10     Baron & Budd            Louisiana Deposition
          Bell            July 9/19     Angelos                 Maryland Deposition


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                                                                            Gref. B-FI N01-000290




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          Hernandez         July 10/19      Ferraro            Florida        Deposition
          Gutierrez         July 18/19      Baron & Budd       New MexicoTrial
          Hewatt            July 29/19      French & Mudd      Georgia        Deposition
          Pelltier          Aug 1/19        Gori Julian        Louisiana Deposition
          Cole              Aug 2/19        Baron & Budd       Missouri Deposition
          Melcher           Aug 5/19        Maune Raichle      Illinois       Deposition
          Hernandez         Aug 14/19       Ferraro            Florida        Trial
          Sutter            Aug 19/19       SMKW Law           Missouri Deposition
          Bennett           Aug 21/19       Gori Julian        Missouri Trial
          Bergeman          Sept 9/19       SMKW Law           Missouri Deposition
          Fankhauser        Sept 12/19      Waters & Krauss    Iowa           Deposition
          Vazquez           Sept 19/19      Ferraro            Florida        Deposition
          Woodard           Sept 20/19      Cooney Conway      Illinois       Deposition
          Hudak             Sept27/19       Kelly-Ferraro     Ohio            Trial
          Bell              Oct 3/19        Angelos            Maryland Trial
          Roy               Oct 7/19        Maune Raichle     California Deposition
          McLeod            Oct 8/19        Gori Julian       Louisiana Deposition
          Berkman           Oct 11/19       Maune Raichle     Indiana         Deposition
          Delacruz          Oct 28/19       Meisenkothen      ConnecticutDeposition
          Doolittle         Oct 30/19       Cooney Conway     Illinois        Deposition
          Foushee           Nov 5/19        Simmons           N. CarolinaDeposition
          Todd              Nov 6/19        Baron & Budd      Louisiana Deposition
          Scott             Dec 4/19        Baron & Budd      Louisiana Trial
          Long              Dec 16/19       Zinns             Georgia        Daubert
                                                                              Hearing
          Lebrecht          January 10/20   Waters & Krauss   California Deposition
          Mourre-Cabrerra   Jan 14/20       Ferraro           Florida        Deposition
          Chapman           Jan 17/20       Ruckdeschel       Florida        Deposition
          Moure-cabrerra    Feb 6/20        Ferraro           Florida        Daubert
                                                                             Hearing
          Moure-cabrerra    Feb 10/20       Ferraro           Florida        Trial
          Doolittle         Feb 20/20       Cooney Conway     Illinois       Trial
          Terek             Feb 21 /20      Baron & Budd      Wisconsin Deposition
          Daily             Feb 21/20       Maune Raichle     California Deposition
          Roy               Feb 25/20       Maune Raichle     California Deposition
          Wilson            Feb 27/20       Baron & Budd      Louisiana Deposition
          Slann             Mar 3/20        Baron & Budd      Louisiana Deposition
          Biermann          Mar 13/20       Unglesby          Louisiana Deposition
          Wagner            Mar 26/20       Maune Raichle     California Deposition
          Kyler             April 24/20     Waters & Krauss   California Deposition
          Butler            April 29/20     Ferraro           Florida        Deposition
          Arditto           May 8/20        Maune Raichle     California Deposition
          Ford              July 13/20      Gori Julian       Florida        Deposition
          Chambers          July 15/20      Baron & Budd      Louisiana Deposition
          Broussard         Aug 7/20        Baron & Budd          Louisiana Deposition
          Joros             Aug 24/20       Maune Raichle           Indiana Deposition
          Williams          Sept 2/20       Maune Raichle         California Deposition
          Parsons           Sept 4/20       Kelly-Ferraro               Ohio Deposition
          Montgomery        Sept 18/20      Ferraro                  Florida Deposition
          Sarkis            Oct 2/20        Shepard             Massachus Deposition
                                                                          etts

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                                                                            Gref.B-FIN01-000291




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          Sawmiller           Oct 5/20        Waters & Krauss               Ohio Deposition
          Matacena            Oct 9/20        Ferraro                     Florida Deposition

          Jennings            Nov 9/20      Kelly-Ferraro                             Ohio Deposition
          West                Nov 25/20     Maune Raichle                       California Deposition
          Patterson           Dec 2/20      Maune Raichle                        Missouri Deposition
          Williams            Dec 17/20     Maune Raichle                       California        Trial
          Williams            Dec 29/20     Maune Raichle                       California Deposition
          Williams            Jan 12/21     Maune Raichle                       California        Trial
          Castro              Jan 15/21     Belluck Fox                        New York Deposition
          Whetsel             Jan 21/21     Karst &Von Oiste                     Missouri Deposition
          Weatherman          Feb 22/21     Ferraro                                Florida Deposition
          Losner              Feb 23/21     Ferraro                                Florida Deposition
          Chenet              Feb 24/21     Unglesby                            Louisiana Deposition
          Eggers              Mar 1/21      Dean Omar Branham                  Oklahoma Deposition
          R~min:~7            M:ar R/?1     M:a,me R:aichle                     California Deposition
          Walls               April 5/21    Dean Omar Branham              North Carolina Deposition
          Torres              Aprii 15/21   Ferraro                                r1onua         Triai
          Harpster            April 19/21   Simmons                          New Jersey Deposition
          Fouts               April 21/21   Angelos                             Maryland Deposition
          Corcoran            May 4/21      Simmons                                Florida Deposition
          Wheeler             May4/21       Simmons                                Florida Deposition
          Walls               June 28/21    Dean Omar Branham              North Carolina Deposition
          Horner              July 12/21    Lanier                          North Dakota Deposition
          Jennings            July 19/21    Kelly Ferraro                              Ohio       Trial
          Masters             Aug 6/21      Boling                              Louisiana Deposition
          Pylar               Aug 20/21     Ferraro                                Florida Deposition
          Chavis              Aug 23/21     Maune Raichle                         Indiana Deposition
          Bonnem              Sept 3/21     Cooney Conway                           Illinois Deposition



     Dr Finkelstein's Compensation

     Dr Finkelstein will be paid $550 per hour for office work, $825 per hour for deposition
     testimony, and $5000 / day for trial testimony.



     Please let me know if you have any questions.

     Sincerely,




     Murray Finkelstein PhD MD


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                                                                                     Gref.B-FIN01-000292




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                  EXHIBIT J




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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK

     BRIAN JOSEPH GREF,                         §
                                                §
                     Plaintiff,                 §
                                                § Case No. 1:20-CV-05589-GBD
     V.                                         §
                                                §
     AMERICAN INTERNATIONAL                     §
     INDUSTRIES, et al.                         §
                                                §
                     Defendants.                §
                                                §

           AMERICAN INTERNATIONAL INDUSTRIES' OPPOSITION TO
          NORTHWELL HEALTH. INC.'S MOTION TO MODIFY SUBPOENA
           SERVED BY DEFENDANT AND CROSS-MOTION TO ENFORCE
                           A-I-I'S SUBPOENA

            Defendant American International Industries           (sued individually and

    erroneously as "successor-in-interest for       the   CLUBMAN BRAND, to THE

    NESLEMUR COMPANY and PINAUD COMPANY") ("A-I-I"), by counsel, requests

    this Court deny Northwell Health, Incorporated's ("Northwell") Motion to Modify

    Subpoena served by Defendant A-I-I ("Motion to Modify") and grant A-I-I's Cross

    Motion to Enforce its Subpoena for the following reasons:

           BACKGROUND - In 2020, Dr. Jacqueline Moline, who is a well-known
           causation expert for plaintiffs in talc and asbestos litigation published an
           article about certain plaintiffs who claimed to have used cosmetic talc products.
           ("Mesothelioma Associated With the Use of Cosmetic Talc," Journal of
           Occupational and Environmental Medicine, Vol. 62, No. 1, Jan. 2020,
           ("Exhibit C") ("Moline Article"). The twin assertions of the Article are: (i) that
           all 33 mesotheliomas were caused by asbestos, and (ii) their only possible
           source of asbestos exposure was contaminated cosmetic talc. To the contrary,
           it was discovered in the Betty Bell case that Mrs. Bell was one of the Article
           subjects and that she, and later her estate, filed two workers' compensation
           cases alleging occupational exposure to asbestos from a textile mill where she

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           worked. When subsequently confronted with that fact, Dr. Moline made the
           false statement under oath that those claims were "adjudicated" to be without
           merit. Neither she nor Northwell has ever provided any documentation to
           support such a claim. When this information was disclosed in a similar motion
           filed by Northwell in Bell, the United States District Court for the Middle
           District of North Carolina ("M.D.N.C.") twice found it troubling that Dr. Moline
           might mislead factfinders by testifying that the Article's subjects had no
           alleged exposures to asbestos, knowing there were workers' compensation
           claims in one of them, while being shielded from cross-examination by claiming
           that her reliance materials were privileged medical information. (See Ex. A at
           p. 20-22).

           REASON #1 - Northwell's Motion to Modify raises the exact same arguments
           recently rejected by the M.D.N.C. (See, e.g., Memorandum Opinion and Order
           dated September 13, 2022, Bell et al. v. Anierican Internat,:onal Industries, el
           al., 1:17-cv-00111-WO-JEP, M.D.N.C. "Exhibit A" at p. 36 ("Bell Order");
           Northwell's Memorandum of Law in support of Motion to Intervene and
           Extend Protective Order, Bell et al. u. American International Industries, et al.,
           1:17-cv-00111, ECF 259 "Exhibit B" ("Northwell's Bell Motion")). Both
           North well and plaintiffs counsel in Bell repeatedly raised these arguments.
           They were fully briefed and decided against Northwell in a detailed 41-page
           opinion. The Bell Court also ordered unsealed 37 pleadings discussing the fact
           that Mrs. Bell was a subject of the Moline Article despite her and her Estate's
           belief that she had occupational exposure to asbestos. Thus; Northwell must
           be estopped from making the same arguments to this Court, seeking a contrary
           result.

           REASON #2 - If this Court finds not all conditions for collateral estoppel are
           present, Northwell's Motion to Modify should be denied because the claim that
           its "interests" in the information about the identities of the 33 subjects is
           privileged is factually and legally wrong. The 33 subjects of the Moline Article
           were never patients of the doctor or in any Northwell facility. Instead, they
           were plaintiffs in talc litigation in which their lawyers hired Dr. Moline as an
           expert. The only information Dr. Moline received about the cases was litigation
           materials chosen for her by the lawyers who hired her, such as deposition
           transcripts and discovery responses. These were public materials for those
           cases to which defense counsel and courts in those cases also had access. The
           defendants in this matter are simply asking for those very same public
           litigation materials and a key that corresponds with the subject numbers
           assigned in the Moline Article.

    II I

    I II


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                                          ARGUMENT

     I.     Principles of Collateral Estoppel Bar Northwell's Motion to Modify A-
            I-l's Subpoena.

            Collateral estoppel "will bar relitigation of an issue that is identical to an issue

     which has necessarily been decided in the prior action." Application of Am. Tobacco

     Co., 880 F.2d 1520, 1527 (2d Cir. 1989). This principle "has the dual purpose of

    protecting litigants from the burden of relitigating an identical issue with the same

    party or his privy and of promoting judicial economy by preventing needless

    litigation." Parklane Hosiery Co. v. Shore, 439 U.S. 322, 326 (1979), citing Blonder-

     Tongue Laboratories, Inc. v. University of Illinois Foundation, 402 U.S. 313, 328-329

     (1971). "Collateral estoppel saves parties and the courts from the waste and burden

    of relitigating stale issues, and, by discouraging inconsistent results, forwards public

    policy favoring the establishment of certainty in legal relations." Bounkhoun v.

    Barnes, No. 15-CV-631A, 2020 WL 1526917, at *4 (W.D.N.Y. Mar. 30, 2020).

           Collateral estoppel applies if:

                  (1) the issues in both proceedings are identical,

                  (2) the issue in the prior proceeding was actually litigated and actually
                     decided,

                  (3) there was a full and fair opportunity for litigation m the prior
                     proceeding, and

                  (4) the issues previously litigated were necessary to support a valid and
                     final judgment on the merits.

    Lord v. Int'l Marine Ins. Servs., 420 F. App'x 40, 41 (2d Cir. 2011).




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            Here, Northwell's Motion to l\foclify meets ;:ill criteria for the applieation of

    collateral estoppel: (1) the Motion to Mo<lify attempts to hi<le lhe identity of the

    participants of Dr. Moline's Article using the exact arguments North well used in Bell

    ct al. v. American International Industries, et al. (" Bdl case"); (2) A-T-I expended great

    expense to fully litigate these same arguments in the Bell case; (?,) Northwell

    intervened in Bell and fully briefed an<l argued these same issues in the Bell case

    over the course of nearly two years; and (4) all issues raised by Northwell here were

    ft1lly litig-ated and decided by tl1e lVI.D.l\J.C in a valid a11d fi11al judg1r1er1t. (See Ex. 1\

    ('"nell Order"). Plus, Northwell was given an opportunity to appeal the Bell court's

    ruling and did not. Now, it seeks to consume the resources of this Court to try to get

    a different result.

            ln Bell, counsel for plaintiff and Northwell made confidentiality and privilege

    arguments, including concerns about HIPAA and "human rese:1rch" confidentiality,

    to shield Moline's Article from full and fair cross-examination. The Bell court rejected

    those arguments and ordered unsealed all information relating to Mrs. Bell as a

    subject of the study. The Rell court unse;:iled 37 pleadings initially protected based on

    claims of confidentiality and privilege. (Ex. A). The existence of 37 pleadings on that

    topic indicate how thoroughly this issue has been litigated.

            Northwell intervened in the Bell case making the same argument it makes in

    its Motion to Modify. (Ex. B at p.2). In Bell, North well requested the court not require

    Dr. Moline to disclose "the identity of any subjects of her research study," claiming

    such disclosures "would be contrary to":



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                  1. The Federal Policy for the Protection of Human Subjects, 45
                     C.F.R. Part 46, Subpart A (or, "The Common Rule");

                  2. Bedrock Institutional Review Board ("IRB") standards of
                     privacy and confidentiality covering research subjects;

                  3. The specific IRB approvals that Dr. Moline secured in advance
                     of writing and publishing the Article;

                  4. Well-established standards and universally accepted norms in
                     the medical research community related to research subjects
                     and anonymity; and

                  5. Relevant case law affirming privacy and confidentiality
                     requirements for research subjects.

    (Id.; compare with Northwell's Motion to Modify, ECF 266 at p. 3). Apart from minor

    wording changes in argument three (3), these are verbatim, the same arguments

    Northwell makes in its Motion to Modify in this matter where Northwell requests the

    Court enjoin A-I-I from compelling Northwell to "identify any research subjects" that

    were part of Dr. Moline's 2020 article at-issue before the Court. (See Ex. C, Moline

    Article).

           As the Bell court found, Dr. Moline is using her article offensively to assert a

    connection between mesothelioma and cosmetic talc. (Ex A). This creates a new

    chapter in asbestos litigation from which Dr. Moline handsomely profits as an expert

    - for the last 25 years. She also volunteered to testify before a congressional

    committee and used one of the cases from her Article as an example of someone with

    mesothelioma who had no known exposure to asbestos. (Hearing before the

    Subcommittee on Economic and Consumer Policy of the committee on Oversight and

    Reform (Dec. 10, 2019), "Exhibit D"). There, she repeated the claim from her Article




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    that, "[n]o individual identified any asbestos exposure apart from contaminated

    talcum powder from workplace or household exposures." (Ex. C).

           Dr. Moline's congressional testimony was nearly verbatim from her (non-

    confidential) litigation report issued in the Bell case. (See Report from Dr. Moline

    dated May 5, 2016 (Bell), attached hereto as "Exhibit H"). Counsel from that case

    knew Mrs. Bell had filed workers' compensation cases. (Ex. A). When confronted with

    that inconsistency, Dr. Moline claimed she could not confirm the Bell case was one in

    l1er study 110:r ans\ver any questions about it. Thus, she \Vas in tho erl,ri.able position,

    for an expert witness, of being able to make what she claimed were "groundbreaking"

    claims of causation but not having to answer questions about the grounds for those

    claims. (Ex. A).

           Both the Bell plaintiffs and Northwell moved to seal the identities of the

    subjects of Moline's Article, including Mrs. Bell's identity, claiming various privileges

    and privacy concerns. (See, e.g., Ex. R). The M.D.N.C. Magistn1k Judge relied on

    their representations that confidential medical information was at issue and

    tentatively sealed all pleadings rehiting to Mrs. Bell's identity as a subject of the

    study. After A-I-I won the case on summary judgment, it moved to unseal those

    pleadings. United States District Judge William Osteen, Jr. extensively considered

    Northwell's arguments in light of the facts and issued a detailed 41-page Opinion

    solely dedicated to this issue, including:

                  Mrs. Bell nonetheless made statements to the Industrial
                  Commission, while represented by counsel, that she had
                  sustained an occupational disease caused by exposure to asbestos
                  during employment with Hoechst Celanese Corporation and


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                  Pillowtex Corporation. The alleged occupational disease was
                  mesothelioma. As Mrs. Bell's counsel explained, "[s]he made a
                  [workers' compensation] claim because she thought she might
                  have been exposed." Mrs. Bell's employment history, as well
                  as her belief that she may have been exposed to asbestos
                  during her textile employment, undermines the weight of
                  Dr. Moline's finding that each of the "33 cases ... had no
                  known exposure to asbestos other than prolonged use of
                  talcum powder." The fact is that at least one study
                  participant reported to a state agency that she did have
                  another known asbestos exposure, at least one known to
                  the study participant. Given the groundbreaking nature
                  of the article and its express premise that all individuals
                  studied had no known alternative asbestos exposures, the
                  fact that one of the individuals claimed otherwise has
                  direct bearing on the study's credibility. This court
                  expressed concern about this seeming contradiction before, and
                  does so again.

                  This court's concern is magnified considering the influence the
                  article has had on cosmetic talc litigation nationwide. For
                  example, Dr. Moline gave testimony discussing her article in a
                  California state court cosmetic talc trial. The plaintiffs counsel
                  relied on Dr. Moline's article in his closing argument to connect
                  cosmetic talc exposure to asbestos: "Gosh, does cosmetic talc
                  really cause mesothelioma? Well, Dr. Moline, she published a
                  paper on this." Dr. Moline has given testimony in many
                  other cosmetic talc cases. Moreover, other expert
                  witnesses have begun relying on the article for the basis
                  of their opinions. [O]ne [expert] describe[ed] it as "the
                  only peer-reviewed paper that [he] know[s]" to support
                  the conclusion that cosmetic talc use by hairdressers
                  releases material amounts of asbestos into the air. When
                  entering bankruptcy because of cosmetic talc liabilities, one
                  prominent cosmetic talc seller specifically discussed the article's
                  integral role in supporting the plaintiffs' claims.

                  This court finds that with the protective order in place defense
                  counsel in cosmetic talc cases across the country are stymied from
                  effectively cross-examining plaintiff expert witnesses on the
                  article's foundation. The following exchange from Dr. Moline's
                  cross-examination in the California state trial is illustrative:




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                        Q . . . Other than cosmetic talc, you eliminated anybody
                        from your study who might have had other asbestos
                        exposures; is that correct?

                        A To the best of my knowledge, yes.

                        Q Okay. And after you published the paper and testified in
                        Congress about the paper, did you come to learn that some
                        of the information regarding one or more of the people in
                        your study was incorrect as published?

                        A There was a question about one particular individual
                        that I was presented with information about, but I -- based
                        on the information that I had, there was -- it wasn't
                        determined that they had the -- any additional exposure.
                        I'm not sure of any others.
                        [****]
                        Q Did you publish an errata with regard to your paper after
                        you found out that this one plaintiff that was provided to
                        you had other alleged exposures?

                        A As I said just a minute ago, there was an allegation or
                        there was a -- a comment, but it was shown to be without
                        evidence, so l did not publish an errata. based on that one
                        individual.

                  Dr. Moline offered no basis for her statement that an errata was
                  unnecessary because the allegation of alternative exposure "was
                  shown to be without evidence." Indeed, she did not have to
                  because the protective order effectively shielded the assertion
                  from cross-examination. If the order was not in place, then
                  defense counsel in that case--and defense counsel in similar
                  cosmetic talc cases-would be able to establish that Mrs. Bell was
                  one of the individuals the article studied and then challenge Dr.
                  Moline with Mrs. Bell and Plaintiffs workers' compensation
                  claims asserting, under criminal penalty for false statements,
                  that Mrs. Bell was exposed to asbestos at textile job sites. Defense
                  counsel could show that those workers' compensation claims were
                  not adjudicated on the merits, rather they were dismissed
                  without prejudice, weakening the credibility of Dr. Moline's
                  statement that the allegation of alternative exposure "was shown
                  to be without evidence."




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                  Perhaps more significant than this example of a
                  hamstrung cross-examination is the Daubert v. Merrell
                  Dow Pharms., Inc., 509 U.S. 579 (1993) issue created by
                  concealment of Mrs. Bell's possible exposure. Dr. Moline
                  testified that "based on the information ... it wasn't determined
                  that [the research subjects] had ... any additional exposure."
                  Federal Rule of Evidence 702 requires that expert testimony be
                  "based on sufficient facts or data" and be "the product of reliable
                  principles and methods." Relatedly, Daubert imposes a list of
                  factors a court should consider in assessing the reliability of
                  expert testimony, including "the known or potential rate of error
                  and the existence and maintenance of standards controlling the
                  technique's operation." 509 U.S. at 594 (internal citations
                  omitted). Mrs. Bell's assertion that she may have been
                  exposed to asbestos through the textile industry and Dr.
                  Moline's possible rejection of that potential fact are
                  important pieces of information to aid in the assessment
                  of the potential rate of error of the study's assertion that
                  the thirty-three participants had no asbestos exposure
                  other than talcum powder. Similarly, Dr. Moline's possible
                  rejection of evidence of additional exposure goes directly
                  to the issue of standards controlling her study's operation.

                  From this court's perspective, inquiry into the accuracy of facts
                  and assumptions underlying scientific merit is not only an
                  appropriate inquiry, but also necessary and required. "The
                  inquiry envisioned by [Federal] Rule [of Evidence] 702 is ... a
                  flexible one. I ts overarching subject is the scientific validity and
                  thus the evidentiary relevance and reliability-of the principles
                  that underlie a proposed submission." Daubert, 509 U.S. at 594-
                  95. Even if reliability is examined by a court and deemed
                  sufficient to support admissibility, relevant cross-examination of
                  an expert includes "factual underpinnings [which] ... affect the
                  weight and credibility of the witness' assessment." Bresler v.
                  Wilmington Tr. Co., 855 F.3d 178, 195 (4th Cir. 2017) (internal
                  quotation mark omitted) (quoting Structural Polymer Grp. v.
                  Zoltek Corp., 543 F.3d 987, 997 (8th Cir. 2008)).
                  [... ]
                  In this case, a principal factual underpinning of the article is that
                  in all thirty-three cases studied "no identified source apart from
                  the talcum powder" was identified. (Doc. 274-1 at 2.) The
                  absence of any specific information on the identities of the
                  individuals studied precludes inquiry into the basis of the



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                   factual underpinning of no known exposure to asbestos
                   other than talcum powder.

     (Ex. A at p. 16-22) (emphasis added) (internal citations omitted).

            For Northwell's specific arguments, the Bell court explicitly rejected that "The

     Common Rule" applied to the Moline Article. The judge noted:

                   As an initial matter, Northwell appears to concede that because
                   Dr. Moline's study was not conducted by or on behalf of the federal
                   government these protections for human subjects do not
                   inherently apply. (Northwell's Resp. (Doc. 392) at 14-15.) Rather,
                   Northwell insists the protections apply because it has voluntarily
                   elected, as part of its "Federalwide Assmance" to the government,
                   to have these protections apply to all its human subject
                   research-regardless of the source of support or funding for that
                   research. (Id.) Northwell's concession that these protections only
                   apply because it has chosen to apply them (and has told the
                   government about that choice), suggests to this court that these
                   protections are not requirements imposed on Northwell by the
                   government, but rather requirements it has imposed upon itself.
                   Thus, nonenforcement of these protections would not seem to
                   violate any federal requirements the government itself has
                   imposed on Northwell.

     (Ex. A at p. 31, fn. 8; see also Northwell's Response m Opposition to Defendant

     American International Industries' Motion to Vacate the Preliminary Protective

     Order of September 25, 2020, Bell et al. v. American International Industries, et al.,

     1:17-cv-00111, ECF 392 "Exhibit E").

            The Bell court also rejected the notion that the IRB approval conferred privacy

     or confidentiality on the subjects of Moline's Article given the IRB "waived the

     requirement that Dr. Moline and her coauthors acquire informed consent from the

     individuals to be studied." (Ex. A at p. 33, fn. 10). Northwell admitted this waiver was

     granted "because the IRB found Dr. Moline's research subjects faced no more than 'a



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     minimal risk of harm resulting from a breach of confidentiality."' (Id., quoting Ex. E

     at 14). "That finding undercuts Northwell and Plaintiffs argument that research

     subjects would suffer great harm if their identities were disclosed." (Id.).

                   While being part of a larger study that qualified as human subject
                   research may have facially and incidentally granted Mrs. Bell
                   greater confidentiality protections, this court is hesitant to give
                   much weight to those protections that were not crafted with the
                   goal of protecting the privacy of deceased individuals like Mrs.
                   Bell.
     (Ex A at p. 33).

            The Bell court also rejected Northwell's argument that disclosing the identities

     of the subjects of Moline's Article would have a "chilling effect" that "would

     significantly dissuade individuals from agreeing to participate in human subject

     research" because the individuals involved in Moline's Article "never agreed to

     participate in Dr. Moline's research because the study was not required to obtain

     informed consent from any of the individuals studied." (Ex. A at p. 34-35)(see also

     Northwell's Motion to Modify, ECF 266 at p. I ("preserving the anonymity ofresearch

     subjects' identities is essential to avoid the chilling effect that disclosure of those

     subjects' identities would inevitably have have ....")).

            The court ruled that deceased individuals are not considered "human subjects"

     for purposes of confidentiality protections. It also found that all individuals (living or

     deceased) in Moline's Article were afforded less confidentiality protections because

     they consented to put their medical information in the legal domain by filing lawsuits:




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     "all the information in the Northwell Document1-and indeed much more sensitive

     medical information-is already contained in this case's publicly available filings."

     (Ex. A at p. 35).

             The Bell Order also rejected Northwell's HIPAA concerns. ln Bell, plaintiffs

     attorney admitted HIPAA did not apply to documentation containing Mrs. Bell's

     identity. (Ex. A at p. 36; Plaintiffs Response in Opposition to Defendant .American

     International Industries' Motion to Vacate the Preliminary Protective Order of

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     00111, ECF 377 ''Exhibit F"). Yet, now, Northwell seeks to resurrect even that claim.

     Dr. Moline did not treat the medical information of the 33 as protected by HIPP.A

     when she wrote and disseminated litigation reports about their detailed medical

     history. Northwell's position on HIPAA is, in essence, that Dr. Moline was free to

     disregard those protections when she used the information but can invoke it when

     convenient to avoid cross-examination. Ignoring her supposed confidentiality

     concerns, Dr. Moline even identified Mrs. Bell (for the purpose of making the false

     claim that her workers' compensation claims were dismissed as meritless) while

     refusing to identify Mrs. Bell during cross-examination by defense.

             The Bell court concluded Northwell did not have "any remaining privacy

     interest" in Mrs. Bell's identity being disclosed from Moline's Article "because in a

     medical research study, the interest in confidentiality belongs primarily to the




     1 The "Northwell Document" referred to by lhe court was a 5-page document produced by Northwell

     containing Mrs. Bell's name, brands of talc she used, the law firm representing her, her occupation,
     and her mesothelioma diagnosis.

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     study participant, not the researcher or sponsoring facility." (Ex. A at pp. 36-

     37). Specifically, the court found "the study participant chose to publicly expose the

     fact of her mesothelioma by filing a complaint in this case, and the workers'

     compensation claim she chose to file, alleging she was exposed to asbestos in the

     textile industry, is publicly available." (Id. at p. 37)(internal citations omitted). Here,

     the identity of every subject of Dr. Moline's study chose to publicly expose the fact of

     their mesothelioma diagnoses by filing complaints, verifying discovery, and giving

     testimony in their respective cases.

             There are several analogous cases where federal courts have applied the

     principles of collateral estoppel in cases involving the issuances of subpoenas. First,

     in Sreter v. Hynes, plaintiffs operating nursing homes sought to enjoin enforcement

     of a subpoena for records in United States District Court for the Eastern District of

     New York. 419 F. Supp. 546, 547-48 (E.D.N.Y. 1976). Plaintiffs initially attempted

     to quash the same subpoena in New York state court, though the New York Supreme

     Court denied their application. Id. at 548. The District Court held that plaintiffs'

     claim attempting to quash the subpoena was barred by res judicata given it involved

     "identical parties and the same basic claim (invalidity of the subpoena)" previously

     ruled on by the state court decision. Id.

            In another case, a plaintiff comic book media group sued various entities about

     the ownership of characters used in other forms of media, suing Disney in the District

     Court of Colorado, Marvel Enterprises in the Southern District in New York, and

     Stan Lee in the Central District of California. Stan Lee Media, Inc. v. Walt Disney



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     Co., 774 F.3d 1292, 1294-,95 (10th Cir. 2014). The California District Court initially

     denied the plaintiff media group's claim on res judicata grounds related to a decision

     in the Southern District of New York, though the Ninth Circuit affirmed the denial

     on other grounds (sufficiency of the pleadings due to lack of plausibility). Id. at 1296.

     Following the Ninth Circuit's decision, the Tenth Circuit found the issues in its case

     "substantively identical'' despite the differences in defendants, noting collateral

     estoppel precludes relitigation of the issues "even if the issue arises when the party

     is pursuing or defending against a different claim." Id. at 1297. vVhile the plaintiff

     argued it was allowed to "fully litigate" the claims or amend its claims, the Tenth

     Circuit held it fully briefed the issues of pleading sufficiency to the Ninth Circuit and

     these substantively similar claims were denied. Id. at 1298-99; see also Kwolek v.

     United States, No. ll-MC-53, 2011 WL 2940984, at *1 (W.D. Pa. July 21, 2011)

     (finding collateral estoppel applied to deny motion to quash subpoena in Western

     District of Pennsylvania case because an evidentiary hearing was not required to

     determine if issue "fully litigated" in Northern District of California).

            Finally, in Edwards v. Maxwell, a non-party filed a motion to quash a subpoena

     in the Southern District of Florida issued by the defendant in the underlying action,

     Giuffre v. Maxwell, in the SouthernDistrictofNewYork. No. 15CV07433RWSSDNY,

     2016 WL 7413505, at *1 (S.D. Fla. Dec. 22, 2016) (unreported). The defendant in the

     underlying action previously subpoenaed another non-party who had subsequently

     moved to quash the subpoena in the District of Utah, which transferred the motion

     back to the Southern District of New York. Id. Because the court in the underlying



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     case had previously ruled on identical requests for the other non-party, the Southern

     District of Florida transferred the motion to quash to the Southern District of New

     York on res judicata grounds, among others, citing the "great risk of inconsistent

     rulings" and "the interests of fairness, consistency, judicial economy, and speed of

     resolution." Id. at *2-3. The court highlighted the importance of "[u]niformity of

     discovery rulings in a case of this complexity is critical to achieving fairness to the

     parties and non-parties." Id. at *3.

            Here, Northwell should be barred from raising its arguments in its Motion to

     Modify given that every argument was fully litigated in the Bell case. As

     demonstrated above, United States District Courts in New York have already rejected

     the attempts of parties to stop subpoenas by making the same arguments in a new

     court after an adverse ruling in another. See Sreter v. Hynes, 419 F. Supp. 546, 547-

     48 (E.D.N.Y. 1976). As with the Kwolek and Stan Lee Media cases noted above,

     Northwell's Motion to Modify and its previously filed motion in Bell are

     "substantively identical" or "nearly identical" to each other. Beyond the final

     judgment of the Bell Order-which Northwell did not appeal-Northwell's Motion to

     Modify is nearly unchanged for large sections of its argument. ( Compare Motion to

     Modify, ECF 266 at p. 1 to Ex. B at 2; Motion to Modify, ECF 266, IIl(A) at 7-11 to

     Ex. B at 7-10; Motion to Modify, ECF 266, III(B) at 11 to Ex. B Ill(B) at 10-11).

     Northwell essentially admits the facts in its Motion to Modify are unchanged from

     those litigated in Bell as Northwell relies on an affidavit of Dr. Moline used in the

     Bell case, stating "Northwell notes that Dr. Moline's affidavit was provided in another



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     cRse (and reileds the caption of that case). Because Northwellrelics on the same facts


     and testimony provided therein, Northwell does not believe a new, identical affidavit

     is necessary here." (Motion to Modify, ECF 266 at p. 2, fn. 1) (emphasis added).

             The District Court in Bell already 1·ejected Northwell's privacy concerns raised

     in its Motion to Modify. Just as Northwell argues here, the Bell court considered

     whuther the "Common Rule'' applied to the subjects in Moline's c1rticle and held that

     it did not. Just as Northwell argues here, the Bell court considered whether the IRB

     co11±erred privacy r:iglJts over the subjects in ]VIoline's article and held that it did not.

     A:s is argued here, the Bell court considered whether Northwell had a privacy interest

     in the identity of the subjects and held that it did not . .Finally, the Bell court

     considered whether not identifying the subjects of Moline's article would prejudice A-

     I-I and found that it would.

             Given the arguments Northwell makes here are substantively identic;-il to

     those made in Bell, not precluding these arguments creates a "great risk of

     inconsistent rulings." Because "uniformity of discovery rulings... is critical to

     achieving fairness to the pcirties and non-parties/' this Court should preclude

     Northwell from making the same argument rejected by the Bell Court and deny its

     Motion to Modify. See Edwards v. Maxwell, No. 15CV07433RWSSDNY, 2016 WL

     74i::l505 (S.D. Fla. Dec. 22, 2016).

             Additionally, none of the arguments raised by Northwell fall under the

     exceptions to the collateral estoppel principle. There have been no changes to the

     legal rules at issue; there have been no changes to the factual predicates essential to



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     the Bell Order (i.e., the disclosure of the subjects' identities of the Moline Article);

     there are no pure questions of law at issue; and the interests of finality and judicial

     economy are not outweighed by "other substantive policies." United States v. Alcan

     Aluminum Corp., 990 F.2d 711, 718-19 (2d Cir. 1993).

             Given Northwell's arguments were previously litigated, barring Northwell

     from relitigating these issues here would protect A-I-I from the burden of relitigating

     these same issues and promote judicial economy. See Parklane Hosiery Co. v. Shore,

     439 U.S. 322, 326 (1979). Therefore, A-I-I requests this Court bar Northwell from re-

     litigating previously adjudicated issues in its Motion to Modify.

     II.    In the Alternative to Precluding Northwell's Motion By Collateral
            Estoppel, This Court Should Deny Its Motion Because There Is No
            Privilege Protecting the Identities of the 33 Subjects in Moline's
            Article As All Information Sought Is from the Subjects' Own
            Lawsuits.

            Assuming, arguendo, this Court does not find all conditions for Collateral

     Estoppel are met, this Court should deny Northwell's Motion to Modify given the

     privileges it espouses do not apply. Northwell's efforts to enjoin A-I-I from compelling

     Northwell to identify any research subjects of Moline's Article is based on a

     fundamental misunderstanding of the law and facts. Not only is the information not

     privileged, it is highly relevant. And precluding inquiry regarding the subjects'

     inclusion in the study will significantly prejudice A-I-I.

            The facts against Northwell's Motion to Modify are straightforward: the 33

     subjects are not (and were never) patients of Dr. Moline. None sought health

     treatment at Northwell. Dr. Moline did not obtain their health information used in



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     her Article in the course of treatment; nor did she obtain this health information.in

     the course of research. Rather, all information sought by A-I-I was obtained by Dr.

     Moline - and subsequently Northwell - through Dr. Moline's work in litigation. All

     information sought was provided by these 33 subjects after they disclosed their

     medical condition publicly by filing their respective lawsuits. Dr. Moline admitted the

     background information she relied on to draft her Article was provided to her by

     counsel for those subjects, and she even assumed all this health information was

     made available to defense counsel during the course of the subjects' litigation. Finally,

     not only did Northwell waive a requirement that Dr. Moline obtain informed consent

     from any of the subjects or their counsel, Dr. Moline never informed any of the

     subjects' counsel that she was drafting her Article based on the information.

            A.     There is no privilege with respect to any of the study subjects
                   in Moline's Article when their information was obtained
                   through Dr. Moline's capacity as an expert witness in the
                   subjects' own lawsuits.

            Moline's Article does not involve research where a physician used medical

     records from her employer to conduct research and publish a paper in a scientific

     journal. Dr. Moline did not have a physician-patient relationship with any of the

     subjects, and none of the subjects were seen by any doctor at North well. (Ex. C at 11).

     The personal health information for all 33 subjects Northwell claims it seeks to

     protect was obtained from lawyers representing the plaintiffs and was contained in

     Dr. Moline's litigation reports that she issued as part of her work as an expert in

     those cases. (Ex. A; Ex. C at 11 ("The [33] cases were referred to author J.M. for

     medicolegal evaluation as part of tort litigation."); Relevant Portions of Deposition of


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     Jacqueline Moline, M.D. (Lashley), taken January 15, 2020, "Exhibit G", at pp.

     30:24-34:12). Dr. Moline already provided detailed histories of these individuals in

     her expert reports produced for purposes of litigation without claiming confidentiality

     or HIPAA rights were at-issue. (See, e.g., Ex. H).

             Likewise, all 33 subjects publicly put their medical condition at issue by filing

     lawsuits for mesothelioma. (Ex. A). Indeed, Dr. Moline admitted she assumed "all

     information" she relied on for her article was already "in the possession of defense

     lawyers" during the course of litigation. (Ex. G at p. 172: 17-22).

             As such, none of the information Northwell seeks to protect was confidential

     when disclosed in those underlying lawsuits. Plaintiffs in personal injury litigation

     execute a release for medical information relating to their claims, and they waive the

     patient-physician relationship as it relates to the medical conditions that are at issue

     in the case. Hence, there is no privilege that applies. And, there is certainly no

     privilege as it relates to questioning Dr. Moline about the subjects' inclusion in her

     Article on which she bases her opinions.

             Likewise, Northwell's "concerns" that "potential research subjects might well

     be disinclined to consent to participating in research at alr' are disingenuous. As

     noted, none of the 33 subjects knowingly participated in medical research conducted

     by Dr. Moline. All 33 subjects filed lawsuits and waived privacy of their respective

     medical information. Tellingly, the IRB "waived the requirement that Dr. Moline and

    ·her coauthors acquire informed consent from the individuals to be studied." (Ex. A at

     p. 33, fn. 10). Moreover, Dr. Moline did not inform counsel for any of these subjects



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     that she was drafting her purported "research" based on the subjects' health

     information until after her Article was accepted for publication. (Ex. G at pp. 167:14-

     168:20).

            There 1s no privilege that attaches to materials produced by plaintiffs in

     litigation when they are received by a retained expert who happens to be a physician.

     Northwell tries to argue that the approval of the study by the IRB at Northwell

     somehow confers a privilege or confidentiality to the information. This is false. Dr.

     Moline received the information in her capacity as an expert witness in litigation.

     Hence, the information was no longer privileged at the time she included it in her 33

     litigation reports and then used the "same" information to write her "study." That the

     IRB later approved her use of the non-privileged information for a study does not

     confer any privilege on material where the underlying physician-patient privilege

     was already waived by filing 33 lawsuits and turning the information over to an

     expert witness.

            Northwell attempts to misuse confidentiality and privilege claims intended to

     protect patients in medical studies in a context wholly unlike Dr. Moline's use of

     depositions and litigation materials to write an article that supports her expert

     witness work in those and future cases. Northwell cites no law that says funneling

     litigation materials through a retained medical expert gives those litigation materials

     confidentiality protections intended for real subjects of human studies sharing their

     confidential medical information with medical researchers.




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             Northwell also claims privacy concerns stop it from complying, so it requests

     this Court enjoin A-I-I from compelling Northwell to "produce documentation from

     which the identities of research subjects can be ascertained." (Motion to Modify, ECF

     266). This ignores the fact that both Dr. Moline and Northwell previously produced

     such individually identifiable health information or confirming documentation about

     the identity of individual subjects. For example, Northwell previously disclosed

     documentation containing Mrs. Bell's information to A-I-I containing her name,

     diagnosis, date of diagnosis, and alleged exposure information. (Ex. A at 6). As the

     court noted in the Bell Order, all information contained in this document "is already

     contained in this [Bell] case's publicly available filings." (Id. at 36).

             Dr. Moline claimed "no patient identifiers would be included m research-

     related summaries." (Ex. F para. 16 to Deel. of Nathanial Huff). 2 However, she

     provided substantial information in her Article and her testimony before Congress

     about individual subjects, which allowed A-I-I to correctly identify Mrs. Bell. (Ex. D).

     In her Congressional testimony, Dr. Moline willingly provided the following details

     about Mrs. Bell (whom she referred to as "Ms. D''): her age, her medical diagnosis,

     her symptoms, her medications, her treatments, her smoking history, her

     employment and occupation history, and the timing of her death following her

     diagnosis. (Id.). This is similar to the identifying information provided in her Article:




     2 Other defendants in this litigation have been able to determine the identity of at least four other
     subjects of Dr. Moline's Article based on the information she included in her reports. All four of these
     subjects had additional exposures to asbestos, contrary to Dr. Moline's claims. However, the
     identities of these subjects is yet to be confirmed due to Dr. Moline's refusal to provide confirmation.
     See infra.

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     she identified six subjects' ages, g·enclers, symptoms, diagnoses, date of diagnoses,

     treatments, date of treatments, and alleged exposures. (Ex. C). Beyond this

     information that Dr. Moline willingly disclosed without regard to HIP AA or other

     privacy concerns, counsel for plaintiff in the Bell case admitted her information was

     not "protected by HIPAA" given the authorized release produced in that case. (Ex. F

     at 19; see also Ex. G at p. 172:17-22 (Dr. Moline acknowledging defendants in the

     subjects' underlying lawsuits would have access to the same medical information she

     relied on)).

             Finally, none of the authorities cited by North well support the proposition that

     information obtained by an expert through litigation somehow gains confidential

     protection when that same expert uses that litigation information to publish a paper

     that supports her litigation activities. (Motion to Modify, ECF 266 at p. 10-11).

             A prime example from the authority cited by Northwell is In re Am. Tobacco

     Co., 880 F.2d 1520, 1522-23 (2d Cir. 1989). While Northwell cites this case as an

     example of a court "allowing non-party recipients of subpoenas to redact the names

     and other identifying information of participants in research studies and enjoining

     defendants from determining the identities of research participants from the

     information provided," the differences between the research studies in that case

     compared to the 33 litigntion subjects in Moline's Article are widely apparent. Tn In

     re Am. Tobacco Co., neither Dr. Selikoff nor any of his employers' staffs were being

     called as paid expert witnesses in litigation. Id. at 1522-23. The information sought

     in that case was not obtained through the course of litigation, and Dr. Selikoff



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      obt;:iined the sought-after information through his own research and assured his

      wbjects that the information they provided would remain confidential. Id.

              As noted, supra, Dr. Moline is offering her opinion in Plaintiffs case as an

      expert witness, and her opinion relics on her Article. She obt;:iined all sought-after

     information through the course of her work in litigation from her subjects' lawsuits.

     The individuals in the Moline Article did not explicitly agree to participate in her

     rese;:irch, and Dr. Moline did not obtain informed consent from any of the 33

     individuals. (Ex. A at 34-35). Finally, all information sought by Defendants here is

     ;:ilrcady cont;:iined in publicly available litigation reports, transcripts, and filings.

     (Id.).

              The remammg cases on which Northwcll relies an~ no better. See, e.g.,

     Cuswnano u. Microsoft Corp., 162 F.3d 708, 714 (1st Cir. 1998) ("Whether the creator

     of the materials is a member of the media or of the academy, the courts will make a

     measure of protection available to him as long as he intended 'at the inception of the

     newsgathering process' to use the fruits of his research 'to disseminate information

     to the public."')(citing von Bulow v. uon Bulow, 811 F.2d 136, 144 (2d Cir. 1987). It

     can hardly be said that Dr. Moline intended "at the inception" of her research to use

     the information on her Article's subjects to disseminate it to the public for the

     betterment of society. On the contrary, at the inception, she obtained that information

     in her capacity as an expert witness for the "betterment" of her work as an expert

     witness. See also, e.g., In re Bextra and Celebrex Mktg. Sales Practices ancl Prod. Liab.

     Litig., 249 F.R.D. 8, 11 (D. Mass. 2008) (this involved 8 subpoena to the New England



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     Journal of Medicine (a thirds party with no relationship to the underlying litigation)

     for all documents regarding any studies submitted to the Journal involving Celebrex

     or Bextra untethered to whether that information was obtained in litigation);

     Andrews v. Eli Lilly & Co., Inc., 97 F.R.D. 494 (N.D. Ill. 1983), vacated sub nom.

     Deitchman v. E.R. Squibb & Sons, Inc., 740 F.2d 556 (7th Cir. 1984) (finding the lower

     court abused its discretion in denying Squibb discovery into a third-party researcher's

     registry on patients with clear cell adenocarcinoma); Lampshire v. Procter & Gamble

     Co., 94 F.R.D. 58, 59 (N.D. Ga. 1982) (granting discovery into the CDC's study on

     tampons and toxic shock but requiring names be redacted when the underlying

     patients had no connection to the litigation).

            Clearly, Dr. Moline's Article was not drafted with the privacy of the 33 subjects

     secured or in mind, and, as such, should not be afforded the subsequent privacy

     protections requested by Northwell.

            B.     Allowing Northwell to Modify A-I-I's Subpoena Would
                   Significantly Prejudice A-I-l's Defense.

            Northwell argues that modifying A-I-I's subpoena to cover "all" subjects in

     Moline's Article "will not prejudice or delay Defendant A-I-I in any way." (ECF No.

     266 at 11). This is plainly false. The only reason that Northwell wants to modify A-I-

     I's subpoena is to prevent A-I-I from questioning Dr. Moline about the participants in

     the study as doing so will destroy Dr. Moline's credibility and the central claim in her

     paper. The central premise of her Article is that cosmetic talc must have caused

     mesothelioma in all 33 study subjects (i.e., plaintiffs) because those study subjects

     had no other exposures to asbestos. (Ex. C at 11; Ex. A) ("For all 33 cases, other


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     potential exposures to asbestos wrc;re considered, with no identified source apart from

     the talcum powder."). A-I-I has proof that this premise is false as the plaintiffs

     representing the one confirmed subject, Mrs. Bell, filed two workers' compensation

     claims alleging exposure to asbestos during her work at Fiber Industries in the 1970s.

     (Ex. A at 16). As the court in Bell explained,

                    The fact is that at leac;t one study participant reported to a state
                    agency that she did have another known asbestos exposure, at
                    least one known to the study participant. Given the
                    groundb1·eaki ng nature of the article and its express premise that
                    all individuals studied had no known alternative asbestos
                    exposures, the fact that one of the individuals claimed otherwise
                    has direct bearing on the study's [Moline Article's] credibility.

     (Ex. A at 16-17).

              In addition to the Bell case, there are at least three other cases that appear to

     be ones Dr. Moline used that also involved additional exposures to asbestos, contrary

     to the express claims of her Article. Thus far, defendants have determined that at

     least four of the subjects in Moline's Article match plaintiffs for whom there is

     significant evidence of exposure to asbestos that is not from purportedly

     contaminated talc.

             What Dr. Moline refers to as "Case 3" in her 2020 article aligns with the facts

     of the Doris Jackson case, a school teacher. (Ex. C; Dr. Moline's Expert Report

     (Jackson), attached hereto as "Exhibit I" at 3; Ronald Gordon, Ph.D.'s Tissue

     Digestion (Jackson), attached hereto as "Exhibit J" at 2) The U.S.D.C. for the

     District of Columbia granted a talcum powder defendant's Daubert motion to exclude

     the testimony of Ms. Jackson's expert, Dr. Ronald Gordon, because he failed to follow



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     the Helsinki Criteria in disregarding Ms. Jackson's exposure to "ceiling pipes with

     degrading insulation" during her more than 30 year career as a public school teacher.

     (Jackson Daubert Decision, "Exhibit K" at 18 (emphasis added)). The court excluded

     the opinion finding, "Dr. Gordon's specific causation opinion is unreliable under

     Daubert." Id. Like Dr. Gordon, Dr. Moline reviewed and noted evidence of alternative

     exposure in her litigation report, yet she represented that "Case 3"/Doris Jackson had

     no asbestos exposure other than talcum powder. (Ex. I at 5).

            "Case 4" aligns with Valerie Jo Dalis who filed a $450,000 asbestos bankruptcy

     trust claim based on her husband's automotive work. She received $28,000 from the

     Manville Personal Injury Settlement Trust related to known commercial asbestos

     exposure-separate and apart from her alleged talcum powder exposure. (Ex. C; Dr.

     Moline's Expert Report (Dalis), attached hereto as "Exhibit L" at 4; see also Ronald

     Gordon, Ph.D.'s Tissue Digestion Analysis (Dalis), attached hereto as "Exhibit M" at

     2; Bankruptcy Trust claim, Claim Detail Report and Claim Information Report

     (Valerie Dalis), attached hereto as "Exhibit N"). Dr. Moline was aware of the

     asbestos bankruptcy trust claim, having received the transcripts of the depositions of

     both Mr. and Mrs. Dalis in preparation of or drafting her litigation report in 2016.

     (Ex. L). Despite this review and knowledge, Dr. Moline again misrepresented "Case

     4"/Mrs. Dalis as having no exposures to asbestos other than talcum powder in her

     2020 article. (Ex. C).

            Case 17's facts align with Helene Kohr. (Ex. C; Dr. Moline's Expert Report

     (Kohr), attached hereto as "Exhibit O" at 3). In her case-specific litigation report for



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     Ms. Kohr, Dr. Moline acknowledged Ms. Kohr's 50 to 60 pack year smoking history,

     which included smoking Kent cigarettes with crocidolite asbestos-containin g filters.

     (Ex. 0). However, Dr. Moline did not include this fact in her 2020 article. (Ex. C).

     Thus, based on Dr. Moline's own causation opinion, "Case 17"/Helene Kohr had

     alternative exposures and should have been excluded from the study due to Dr.

     Moline's description of the scope of the study. (Id.).

            Northwell asks this Court to aid it in continuing to mislead the medical

     community, judges, and jurors into believing that this Article shows a link between

     cosmetic talc and mesothelioma, when the underlying facts show this to be false.

     Because the information on these subjects' inclusion in Dr. Moline's study is critical

     to A-I-I's defense, modifying A-I-l's subpoena such that Northwell would not have to

     produce identifying information about these subjects would significantly prejudice A-

     I-I. As noted by the Bell court, concealing the identities of these subjects and their

     alternative exposures significantly hamstrings A-I-I's cross-examination of Dr.

    Moline, and it creates an obvious Daubert issue in that A-I-I cannot determine

    whether her opinions are based on "sufficient facts or data" and "reliable principles

     and methods" as required by Federal Rule of Evidence 702. (Ex. A at 19-29, citing

    Daubert v. Merrell Dow Pharms, Inc., 509 U.S. 579 (1993). For this reason, and those

    discussed above, the Court should deny Northwell's Motion to Modify.

                   CROSS MOTION TO ENFORCE A-I-I'S SUBPOENA

           A-I-I served its subpoena, dated September 27, 2022, to Northwell and, to date,

    Northwell has not produced the requested documents or information. As discussed



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    supra, the items requested .are highly relevant and non-prodt1ction significantly

    prejudices A-I-I. To ensure Northwell complies with this subpoena, pursuant to

     Federal Rules of Civil Procedure 45, A-I-I respectfully requests thaL this Court grant

    A-I-I's Cross Motion To Enforce its Subpoena compelling Northwell to comply with

     the subpoena and further relief as the Court deems appropriate.

                                          CONCLUSION

             In light of the foregoing, A-I-I respectfully requests that this Court (i) deny

     t~ortl1well's Motion to ]Vlodify Subpoena, rind (ii) grnnt 1-\-I-I's Cross l\1otion to Enforce

     its Subpoena pursuant to Fed. R. Civ. P. 45.



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                                 CERTIFICATE OF SERVICE

             I herehy certify that, on Novemher 21, 2022, a true ::incl correct copy of the

     foregoing American International Industries' OPPOSITION TO NORTHWELL

     HEALTH, lNC.'S MOTION TO MODIFY SUBPOENA SERVED BY DEFENDANT

     AND CROSS-MOTTON TO ENFORCE A-I-I'S SUBPOENA was served to all

     registered parties and non-parties pursuant to the Federal Rules of Civil Procedure

     via CM/ECF NextGen.



                                                Isl Robert E. Thachston
                                                Robert E. Thackston




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                 EXHIBIT K




                                   JA530
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                      2022 WL 16571057                               I. BACKGROUND
        Only the Westlaw citation is currently available.
                                                                     Betty Whitley Bell ("Mrs. Bell") worked most of her career
       United States District Court, M.D. North Carolina.
                                                                     as a hairdresser and used Clubman brand talc powder for over
                                                                     thirty years, beginning in the I 970s, (Doc. 294-9 at 6-8),1
             Lloyd BELL, individually and as
                                                                     and continuing through 2009, (id. at 7-8). All purchased the
              Executor of the Estate of Betty                        Clubman brand in the late 1980s. (Doc. 294-3 ,i 8.) Mrs. Bell
            Whitley Bell, Deceased, Plaintiff,                       was diagnosed with mesothelioma in July 2015. (Doc. 322-2
                                                                     at 2; Doc. 205-11 at 5--6.)
                                V.
            AMERICAN INTERNATIONAL                                   In September 2015, Mrs. Bell filed workers' compensation
            INDUSTRIES, et al., Defendants.                          claims with the North Carolina Industrial Commission,
                                                                     asserting that she was exposed to asbestos during prior
                             l:17CVIII                               employment with two textile employers-Hoechst Celanese
                                     I                               Corporation and Pillowtex Corporation. (Doc. 322-2.) Mrs.
                    Signed September I 3, 2022                       Bell's claims were eventually dismissed without prejudice.
                                                                     (Doc. 333-3.)
  Attorneys and Law Firms
                                                                     Mrs. Bell filed this case in February 2017, arguing that
  Kevin w; Paul, Dean Omar & Branham LLP, Dallas, TX,
                                                                     exposure to asbestos in Clubman talc powder caused her
  Eric Przybvsz, Frank J. Wathen, Leah C. Kagan, Simon
                                                                     mesothclioma. (Doc. 1.) Mrs. Bell passed away in June 2017.
  Grecnstone Panatier Bartlett, Dallas, TX, William Marc
                                                                     (Doc. 39-2 at 2.) The executor of her estate, Lloyd Bell, was
  Grahan1, Wallace and Graham, P.A., Salisbury, NC, Joseph J.
                                                                     substituted as Plaintiff in this action after Mrs. Bell passed.
  Mandia, Simon Greenstone Panatiet~ PC, New York, NY, for
                                                                     (Doc. 40.)
  Plaintiff.

  _Robert E. Thackston, Kmt W. Greve, Lanita S. _M.m:gan,            In April 2019, Plaintiff filed a new workers' compensation
  _5amuel Garcia, Lathrop GPM LLP, Dallas, TX, ]}mothv               claim against Mrs. Bell's two former textile employers
  I:'...i:£k, Richard A. Coughlin, Fox Rothschild LLP, Greensboro,   seeking death benefits. 2 (Doc. 322-5.) The claims were again
  NC, Eric .A .... Swan, Lathrop GPM LLP, Kansas City, MO,           dismissed without prejudice. (Doc. 333-11.)
  Nilofar Karbassi, Lathrop GPM LLP, Los Angeles, CA, for
  Defendant American International Industries.                       In Janua1y 2020, the peer-reviewed Journal of Occupational
                                                                     and Environmental Medicine published an article titled
                                                                     ''Mcsothclioma Associated With the Use of Cosmetic
  MEMORANDUM OPINION AND ORDER                                       Talc." (Doc. 274-1 at 2.) Dr. Jacqueline Moline was the
                                                                     article's lead author. (Id.) The article analyzed medical
  OSTEEN. JR., District Judge                                        records and deposition transcripts for thirty-three anonymous
                                                                     individuals diagnosed with mesothelioma for whom Dr.
   *1 Before this coutt is Notthwell Health, Inc.'s
                                                                     Moline had conducted a "medico-legal evaluation as part of
  (''N01thwell") Motion for Reconsideration of its Motion to
                                                                     tott litigation." (Id.) The article stated that each of the thirty-
  Intervene and Extend Protective Order. (Doc. 388.) Also
                                                                     three individuals had no known asbestos exposure other than
  before this coutt is a Motion to Vacate the Preliminary
                                                                     talcum powder. (Id.) The article claimed to be "the first large
  Protective Order of September 25, 2020, (Doc. 368), filed
                                                                     case series to identify cosmetic talcum powder contaminated
  by Defendant American International Industries ("AIi")
                                                                     with asbestos as the cause of malignant mesothelioma in
  and joined by Defendant Whittaker, Clark & Daniels, Inc.
                                                                     cosmetic talc users.'' (Id. at 5.) Prior to drafting the aiticle,
  ("WCD"), (Doc. 373). Lastly before this court are motions
                                                                     Dr. Moline received Institutional Review Board ("!RB")
  to seal the motion to vacate and related briefing. (Docs. 370,
                                                                     approval from her employer, No1thwell. (Doc. 2652-1 at
  375,378, 381.) The motion for reconsideration and motion to
                                                                     2; Doc. 392-1 at 2-4.) That approval referenced federal
  vacate will be granted; the motions to seal will be denied.
                                                                     regulations governing human subject research and waived the



                                                                       U.S, Ciovcrnrnent VVorkn.




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 requirement that Dr. Moline obtain informed consent from the              On September 25, 2020, the Magistrate Judge held that the
 individuals whose cases she planned to study. (Doc. 392-1 at              Northwell Document could be used in this case but that
 2-3.)                                                                     it, and the information therein confirming Mrs. Bell was
                                                                           one of the thirty-three individuals the article studied, was
  *2 Dr. Moline's work has been influential. For example, afler            ''confidential and limited solely to this case." (Doc. 206 at 94,
 her article had been published online, she testified to Congress          96.) The Magistrate Judge explicitly stated that this limited
 about her findings. (Doc. 33 I• I 1.) In her congressional                protective order could potentially be reconsidered as the case
 testimony she used a pseudonym-"Ms. D"-to discuss one                     progressed. (Id. at 96.) In December 2020, Northwell filed a
 of the thirty-three individuals analyzed for her article. (lg_, at        Motion to Intervene and Extend Protective Order, seeking to
 5-6.)                                                                     prevent defense counsel from questioning Dr. Moline about
                                                                           any link between Mrs. Bell and the article. (Doc. 258.)
 Dr. Moline had been retained as an expe1t in this case.
 (See, e.g .. Doc. 188-8.) Because the facts of Mrs. Bell's                Before Northwell's motion was adjudicated, Plaintiff
 case paralleled the description of Ms. D in Dr. Moline's                  effectively withdrew Dr. Moline as an expert by not
 congressional testimony, AIi suspected that Mrs. Bell was                 presenting her for deposition by the comt-ordered January
 one of the thilty-three anonymous individuals that the article            7, 2021 deadline. (Order ("MJ's Order") (Doc. 309) at 3.)
 had studied. (Doc. i88 at 6-7.) If so, AII believed that                  Accordingiy, in February 2021, the Magistrate Judge denied
 would undermine the article's express premise and the                     Northwell's intervention motion as procedurally moot and
 related expert testimony that none of the individuals had                 untimely, as well as substantively meritless. (Id. at 3-8.)
 any known exposure to asbestos other than talcum powder                   Northwell filed an objection, (Doc. 316), but this court
 because Mrs. Bell and her estate filed workers' compensation              affirmed the Magistrate Judge's decision, (Doc. 350 at 8).
 claims alleging occupational exposure to asbestos from
 textile workplaces. (lg_, at 3.) In a deposition for a different           *3 In July 2021, this comt granted All's motion for summary
 mesothelioma case, All asked Dr. Moline for specifics about               judgment, and judgment was entered the following month.
 the thiity-three individuals. (See Doc. 188-1 at 6.) Dr. Moline           (Doc. 361 at 12-13; See Doc. 366.) The case was closed.
 de1::Um:clJoanswer clue to. con:ficli;ntia!ity . GOnGt:.m.s . . M) Thi:
 plaintiff's counsel, who also represents Plaintiff in this case,          On September 29, 2021, All filed the instant motion
 advised All that if it sought information regarding the thirty-           requesting this comt vacate the order protecting the
 three individuals, then it would have to subpoena Northwell.              identification of Mrs. Bell as one of the individuals in the
 (Id. at 6-7.) AIi did so, (Doc. 168-1), and Plaintiff moved to            article from disclosure outside this case. (Doc. 368.) AIi
 quash the subpoena, (Doc. 168).                                           filed a brief in support of its motion. (Def. All's Br. in
                                                                           Supp. of Mot. to Vacate Prelim. Protective Order of Sept.
  After AIi provided Northwell with a HIPAA authorization                  25, 2020 ("All's Br.") (Doc. 369).) Codefendant WCD filed
  form signed by Plaintiff, (Doc. 179-6), Northwell produced               a notice that it joins in All's motion. (Doc. 373.) Plaintiff
  a single five-page document (the "Northwell Document"),                  responded in opposition to the motion, (Pl.'s Resp. in Opp'n
  (Doc. 182-5). The document is a spreadsheet containing                   to All's Mot. to Vacate Prelim. Protective Order of Sept.
  information on all thirty-three individuals the article studied,         25, 2020 & WCD's Notice of Joinder ("Pl.'s Resp.") (Doc.
  but impo1tantly the entire document is redacted except for the           377)), and All replied, (Def. All's Reply in Supp. of Mot.
  row headings and the column listing Mrs. Bell's information.             to Vacate Prelim. Protective Order of Sept. 25, 2020 ("All's
  (Id. at 4-8.) Upon learning that this document had been                  Reply") (Doc. 380)). In June 2022, Northwell filed a motion
  disclosed, Plaintiff filed an emergency motion for a protective          for reconsideration of its intervention motion, (Doc. 388),
  order pursuant to Federal Rule of Civil Procedure 26_w                   accompanied by a brief, (Northwell's Suppl. Mem. of Law in
  to preclude discovery and inquiry into the identities of the             Supp. of Mot. for Recons. of Mot. to Intervene and Extend
  thirty-three individuals. (Doc. 182 at 5-9, 12.) The motion              Protective Order ("Northwell's Recons. Br.") (Doc. 391)).
  also sought for all copies of the Northwell Document to be               That motion is unopposed. Northwell also filed a response
  destroyed and not disseminated in this case or any other                 in opposition to All's motion to vacate the protective order,
  forum. (Id. at 12.) The motion was set for hearing. (Text Entry          (N01thwell's Resp. in Opp'n to All's Mot. to Vacate Prelim.
  09/18/2020.)                                                             Protective OrderofSept. 25, 2020 & WCD's Notice ofJoinder




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 ("Northwell's Resp.") (Doc. 392)), to which AII replied, (Doc.       be justified by "good cause" pursuant to fede@.L.Rule of Civil
 394).                                                                J~rn£..edure 26(c). (Pl.'s Resp. (Doc. 377) at 12; Northwell's
                                                                      Resp. (Doc. 392) at 7-8.)
 The motion to vacate and related briefing, as well as
 Northwell's brief supporting its reconsideration motion, have        "The type of documents or information which will be
 all been filed under temporary seal and are accompanied by           revealed by the modification to the protective order directly
 con·esponding motions to seal. (Docs. 370, 375, 378, 381,            bears on the decision to modify.... [If] the documents are
 390, 395.) AIi and WCD state in their motions to seal that           so-called 'judicial documents,' any presumption in favor
 they do not believe the filings need to be sealed and have only      of maintaining confidentiality must now contend with a
 filed motions to seal because Plaintiff and Northwell claim          presumption in favor of public access." S-111.i.tl:!K.Hns;Bs;!:!.~ham_
 confidentiality. (Doc. 370 at 1-2; Doc. 375 at 1; Doc. 381 at        Corp. y . .. Synthon Pharms.. Ltd.,___ 2 I_O___f.R.D ...J 63..,_J 67
 1-2; Doc. 395 at 1-2.)                                               (M.D.N.C ..20@. That right of public access "derives from
                                                                      two independent sources: the common law and the First
                                                                      Amendment." Va. DG)2't of State Police v. Wash. Post, 386
 II. ANALYSIS                                                         F.3d 567. 575 (4th Cir. 2004). But "the mere filing of a
 The motion for reconsideration, motion to vacate the                 document with a comt does not render the document judicial."
 protective order, and the motions to seal are all ripe for review.   Hatch v. Demavo, No. l:!6cv925 2020 WL 6161533. at *5
 This court will address the motions in that order.                   (M.D.N.C. Oct.21.2020) (internal quotation marks omitted)
                                                                      (quoting In re Policy Mgmt. Sys. Corp .. 67 F.3d 296 (!able),
                                                                      Nos. 94--2254 & 94-2341, 1995 WL 54.1623. *4 (4th Cir.
     A. Motion for Reconsideration
                                                                      1995)).
 Northwell seeks reconsideration of its intervention motion so
 it can become an intervening party, allowing it to "adequately
                                                                      Rather, "documents filed with the comt are 'judicial records'
 defend its continuing interests in this case." (Northwell's
                                                                      if they play a role in the adjudicative process, or adjudicate
 Recons. Br. (Doc. 391) at 6.) The reconsideration motion is
                                                                      substantive rights." In re. U.S. for an Order Pursuant to 18
 unopposed.
                                                                      U.S.C. Section 2703(dl. 707 F.3d 283, 290 (4th Cir. 2013).
                                                                      Applying that definition, court filings may be judicial records
 After carefully reviewing Northwell's reconsideration motion
                                                                      if "they were filed with the objective of obtaining judicial
 and supporting brief, (Doc. 388; Northwell's Recons. Br.
                                                                      action or relief." hL.. at 291- Crucially, however, "courts in
 (Doc. 391)), this court will grant the motion to the extent
                                                                      this circuit have found that documents filed to facilitate
 necessary to admit Northwell as a formal intervening pa1ty
                                                                      protective orders and other discovery motions do not qualify
 in this case.1 Accordingly, this comt has fully considered           as judicial records." United . States.. ex_rel.. ..Thomas v. Duke
 and herein addressed the relevant arguments contained in             Un_iv.,. No.J.:.l}cv276,. 20}8 _WL . 4211375,. . at . . *4 (M.D.N.C.
 Northwell's response to All's motion to vacate the protective        Sept. _ _4_,_2018) (collecting cases). Fourth Circuit courts have
 order, (Northwell's Resp. (Doc. 392)).                               ruled similarly regarding documents filed to facilitate motions
                                                                      to seal. E,g_,, _id . (concluding that "motions to seal concern
                                                                      procedural issues similar to those requesting protective orders
    B. Motion to Vacate Protective Order
                                                                      [and thus] ... do not qualify as 'judicial documents'").
  *4 As a threshold matter, the parties disagree what standard
 this court should apply in adjudicating the motion to vacate
                                                                      Here, All argues that the Northwell Document is a judicial
 the protective order. All1 insists that the Northwell Document       record because it was attached to All's Opposition to
 is a judicial record. (All's Br. (Doc. 369) at 12.) All maintains    Northwell Health's Objections and Appeal and "has also been
 that because the Notthwell Document is a judicial record             the subject of numerous motions." (All's Br. (Doc. 369)
 there is a presumption of public access that "can be rebutted        at 12.) But that Opposition to Notthwell's Objections and
 only if 'countervailing interests heavily outweigh the public        Appeal and each of those motions were filed in relation to
 interests in access.' " (Ill at 13 (quoting BASF Agro B.V.           the protective order, discovery, or sealing requests. (See e.g.,
 v. Makhteshim Airnn ofN. Am., Inc., l:!Ocv276, 2013 WL               Docs. 168, 179, 331.) Therefore, the Northwell Document
 12178583. at *I !M.D.N.C. Sept. 30. 2013)).) Plaintiff and           does not quality as a judicial record, and no presumptive right
 Notthwell disagree that the Northwell Document qualifies as
 a judicial record and contend that the motion to vacate must




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 of public access attaches. See United States ex rel. Thoma~            factfinders." (All's Br. (Doc. 369) at 13.) All explains that
 20 l 8 WL 42.113 72, at *4.                                            the purpose of its motion is "to prevent Moline and others
                                                                        from misrepresenting to courts, juries, and the public the
    Because no public right of access has presumptively attached,       truth about a study supposedly showing that cosmetic talc
    All's motion is not governed by the First Amendment or              causes mesothelioma." (Id. at 14.) AIi argues that if the order
    common law but rather the "good cause" standard from                protecting the Northwell Document is lifted, then it will be
    Federal . . Rule of...Civi!J'rocedure.. 26(c), the rule providing   able to debunk "the false narrative that the only plausible
    for protective orders. While the rule itself does not address       asbestos exposures in the 33 cases were from contaminated
    modification of protective orders, "[a] district court has          cosmetic talc" because it will be able to show that at least
    discretionary authority to modify a protective order it has         one of the individuals the article studied, Mrs. Bell, "had
    previously entered 'for what it deems good cause shown.' "          alternative exposures to asbestos at her job sites." (Id. at 14,
    Schaefer v. Fam. Med. Ctrs. of S.C., LLC. CIA No. 3:18-              16.) All explains that it "and other defendants continue to
    cv-02775-MBS, 2019 WL 2135675, at * 12_.ill.,.S.C. Mav 16,          be confronted with Moline's [a]rticle in litigation, and other
    ~Wl9) (quoting United States v. (Under Seal). 794 F.'>d 920.        plaintiffs' expe1ts rely on it as support for their opinions." (Id.
    928 n.6 (4th Cir. 1986)): accord In re Kolon Indus. Inc .. 479      at 17.) AIi asse1ts that plaintiffs in these other cases are using
    F. App'x 483. 485-86 (4th Cir. 2012). As in this case, "[a]         the protective order from this case "as a shield against cross-
    final judgment ... does not diminish the district court judge's     examination" to prevent the discrediting of the article. (Id. at
    right to lift or to modify [protective] orders." hero Mut.           16.)
    Ins. v. lnsteel Indus .. Inc .. 212 F.R.D. 301, 303 (M.D.N.C.
    2002). Because the parties did not stipulate to a protective         Plaintiff disagrees that the Northwell Document undermines
    order, and instead Plaintiff moved for a protective order            the a1ticle's claims. (See Pl.'s Resp. (Doc. 377) at 15-16.)
    during discovery and that motion was granted-the finding             Plaintiff insists that the workers' compensation claims do
    of that good cause for the protective order was necessarily          not establish that Mrs. Bell in fact had alternative exposure
    established, see Longman v. Food Lion, !nc., 186 F.R.D.              to asbestos at the textile workplaces; rather, those claims
    331,333 (M.D.N.C. 1999).-"[t]he party seeking to modify a            are merely unsuppo1ted allegations. (Id.) Moreover, Plaintiff
 .· protective order.bears . the. burden of.showing.goo.d.cause. for . . and.Northwell argue that .''.Defendants. may.effectively . crosss •
    the modification." Smith Kline Beecham~.210 F.R.D. at 166.           examine Dr. Moline on the exact issue they have with the
                                                                         Moline Study without disclosing ... Mrs. Bell's identity." (Id.
     *5 In determining whether that patty has shown good cause,          at 16; see also Northwell's Resp. (Doc. 392) at 11.) Plaintiff
    comts consider four factors: "(1] the reason and purpose for         points to trial testimony in a California state coutt case as an
    a modification, [2] whether a patty has alternative means            example. (Id.)
    available to acquire the information, [3] the type of protective
    order which is at issue, and (4] the type of materials or            In essence, AIT seeks to vacate the protective order so the
    documents which are sought." Id.; accord Am.J::Icaitland             Northwell Document can be used in other litigation. This
    Port~Inc.v. Am. PortHoldings._Inc .. 53 F. Supp._3d.87J.880-         is "the most forceful" grounds for modifying a protective
    8J_(N.D.W. Va. 2014); Schaefor,_20J9WL2135675,at *12.                order and "builds on a long line of cases recognizing the
    As will be discussed, the first factor weighs in All's favor, the    propriety of access to the fruits of one litigation to facilitate
    second in Plaintift's favor, the third is neutral, and the foutth in the preparation of other cases." 8A Charles A. Wright &
    AII's favor. This court finds that because more factors weigh        Arthur R. Miller, Federal Practice and Procedure§ 2044.1 (3d
    in favor of vacating the order than preserving it, AH has met        ed. Apr. 20_2.2 update) But nevertheless "[a] court should be
    its burden to show good cause, and the protective order will         hesitant to modify protective orders for matters unrelated to
    be vacated. Each factor will now be addressed in turn.               the litigation in front of it because ... modifying protective
                                                                         orders for other litigation involves re-litigation over issues
                                                                         that that have nothing to do with the lawsuit in front of the
                                                                         court ... [and can] burden[ ] both the court and the parties."
    1. Reason for Modification
                                                                         SmithKlinc Beecham, 210 F.R.D. at 166 (internal citation
    All seeks to vacate the protective order to allow for                omitted). Moreover, "[s]uch modifications [risk] involv[ing]
    "public access to data that undermines claims that plaintiffs'       the court in a controversy with which it is not familiar and
    expe1ts and counsel continue to present to courts and                over which it lacks control." Id.




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                                                                    know[s]" to support the conclusion that cosmetic talc use by
  *6 AII's reason for seeking to vacate the protective order        hairdressers releases material amounts of asbestos into the air.
 seems to outweigh those concerns. While this court is              (Doc. 188-14 at 6-7.)5. When entering bankruptcy because of
 hesitant to justify a modification of its own protective order     cosmetic talc liabilities, one prominent cosmetic talc seller
 solely in light of collateral cases, it also recognizes that the   specifically discussed the article's integral role in supporting
 issues and controversies in those collateral cases intimately      the plaintiff-;' claims. (Doc. 380-1 at 98-99.)
 intersect with those litigated in this case. Further, although
 this court agrees with Plaintiff that the mere existence of        This court finds that with the protective order in place defense
 the unsuccessful workers' compensation claims does not             counsel in cosmetic talc cases across the country are stymied
 definitively establish that Mrs. Bell was in fact exposed to       from effectively cross-examining plaintiff expe1t witnesses
 asbestos at the textile workplaces, Mrs. Bell nonetheless made     on the article's foundation. The following exchange from
 statements to the Industrial Commission, while represented         Dr. Moline's cross-examination in the California state trial is
 by counsel, that she had sustained an occupational disease         illustrative:
 caused by exposure to asbestos during employment with
 Hoechst Celanese Corporation and Pillowtex Corporation.              Q ... Other than cosmetic talc, you eliminated anybody
 (Doc. 322-2 at 2.) The alleged occupational disease was              from your study who might have had other asbestos
 )M2-Qthelioma. (Doc. 322-3 at 2.) As Mrs. Bell's counsel             exposures; is that correct?
 explained, "[s]he made a [workers' compensation] claim
 because she thought she might have been exposed." (Doc.              A To the best of my knowledge, yes.
 322-7 at 6.) Mrs. Bell's employment history, as well as
                                                                      Q Okay. And after you published the paper and testified in
 her belief that she may have been exposed to asbestos
                                                                      Congress about the paper, did you come to learn that some
 during her textile employment, undermines the weight of Dr.
                                                                      of the information regarding one or more of the people in
 Moline's finding that each of the "33 cases ... had no known
                                                                      your study was incorrect as published?
 exposure to asbestos other than prolonged use of talcum
 powder." (Doc. 274-1 at 5.) The fact is that at least one study      A There was a question about one particular individual that
 participant reported to a state agency that she did have another     I was presented with information about, but I - based on
 known asbestos exposure, at least one known to the study             the information that I had, there was - it wasn't determined
 participant. Given the groundbreaking nature of the article          that they had the - any additional exposure. I'm not sure
 and its express premise that all individuals studied had no          of any others.
 known alternative asbestos exposures, the fact that one of
 the individuals claimed otherwise has direct bearing on the
 study's credibility. This court expressed concern about this
                                                                      Q Did you publish an errata with regard to your paper after
 seeming contradiction before, (Doc. 350 at 7 n.2), and does
                                                                      you found out that this one plaintiff that was provided to
 so again.
                                                                      you had other alleged exposures?
 This court's concern is magnified considering the influence          A As I said just a minute ago, there was an allegation or
 the article has had on cosmetic talc litigation nationwide.          there was a - a comment, but it was shown to be without
 For example, Dr. Moline gave testimony discussing her                evidence, so I did not publish an errata based on that one
 article in a California state coutt cosmetic talc trial. (See        individual.
 Doc. 369-1.) TI1e plaintiff's counsel relied on Dr. Moline's       (Doc. 377-1 at 6.)
 article in his closing argument to connect cosmetic talc
 exposure to asbestos: "Gosh, does cosmetic talc really cause       Dr. Moline offered no basis for her statement that an
 mcsothclioma? Well, Dr. Moline, she published a paper on           errata was unnecessary because the allegation of alternative
 this." (Doc. 369-2 at 6-7.) Dr. Moline has given testimony         exposure "was shown to be without evidence." (Id.) Indeed,
 in many other cosmetic talc cases. (See Doc. 197-1 at 19.)         she did not have to because the protective order effectively
 Moreover, other expert witnesses have begun relying on the         shielded the assertion from cross-examination. (See id.) If the
 aiticle for the basis of their opinions. (see, e.g., Doc. 331-13   order was not in place, then defense counsel in that case--
 at 4; Doc. 331-14 at 3; Doc. 331-15 at 3.) [O]ne [expert]          and defense counsel in similar cosmetic talc cases-would
 describe[ ed] it as "the only peer-reviewed paper that [he]        be able to establish that Mrs. Bell was one of the individuals




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  the article studied and then challenge Dr. Moline with Mrs.           U.S. at 594-95, 113 S.Ct. 2,7.86. Even ifreliability is examined
  Bell and Plaintiffs workers' compensation claims asse1iing,           by a court and deemed sufficient to suppmi admissibility,
  under criminal penalty for false statements, that Mrs. Bell           relevant cross-examination of an expert includes "factual
  was exposed to asbestos at textile job sites. Defense counsel         underpinnings [which] ... affect the weight and credibility
  could show that those workers' compensation claims were not           of the witness' assessment." Bresler v. Wilmington Tr. Co ..
  adjudicated on the merits, rather they were dismissed without         855 F.3d 178, 192.J.4tlLCir. 20 ill (internal quotation mark
  prejudice, (Docs. 333-3, 333-11 ), weakening the credibility          omitted) (quoting Structural.J'olymer . .Grp ....v... Zo Itek_Co1:p.,
  of Dr. Moline's statement that the allegation of alternative          543..F.3.d . 987.997 (8th_Cir.)008}).
  exposure ''was shown to be without evidence."
                                                                        In this case, a principal factual underpinning of the article is
    *7 Perhaps more significant than this example of a                  that in all thirty-three cases studied ''no identified source apart
   hamstrung cross-examination is the Daube1t v. Merrell Dow            from the talcum powder" was identified. (Doc. 274-1 at 2.)
   Phanns.,,.Jn~509 U.S. 579. 113 S.Ct. 2786, 125 L.Ed.2d               The absence of any specific infmmation on the identities of
   469 Jj 993) issue created by concealment of Mrs. Bell's              the individuals studied precludes inquiry into the basis of the
   possible exposure. Dr. Moline testified that "based on the           factual underpinning ofno known exposure to asbestos other
   information ... it wasn't determined that [the research subjects]    than talcum powder.
   had ... any additionai exposure." (Doc. 377-i at 6.) Fedcrni
   Ruic of.Lvidcncc 702 requires that expert testimony be "based        This is the reason why All seeks to vacate the protective
   on sufficient facts or data" and be "the product of reliable         order: to be able to challenge the article's tlmdamental
   principles and methods." Relatedly, Daubert imposes a list           premise that none of the thirty-three individuals had any
   of factors a court should consider in assessing the reliability      known alternative asbestos exposures. This is a valid purpose,
   of expert testimony, including "the known or potential rate          especially given the groundbreaking nature and widespread
   of error and the existence and maintenance of standards              influence of the article. Mrs. Bell's workers' compensation
   controlling the technique's operation." 509 U.S. at 594, 113         claims, and her employment at the textile facilities, is clearly
   S.Ct. 2786 (internal citations omitted). Mrs. Bell's assertion       relevant to the a1ticle's findings. If presented with Mrs.
 . that she ro.aY. haYe b1,i;n exposec! to asbe~tos Jhroµgh the         B~IJ;ti. workers: . CQJJl.p.ensat.ion c.la.im.s, Qr, MPlineJm.d other.•
   textile industry and Dr. Moline's possible rejection of that         expert witnesses for cosmetic talc plaintiffs may be able
   potential fact are important pieces of information to aid in the     to persuasively explain that they do not constitute known
   assessment of the potential rate of error of the study's assertion   alternative exposures because the claims never amounted
   that the thiliy-three participants had no asbestos exposure          to more than unproven allegations. But at a minimum,
   other than talcum powder. Similarly, Dr. Moline's possible           defendants in cosmetic talc cases deserve a fair opportunity
   rejection of evidence of additional exposure goes directly to        to explore the weight to be assigned to Dr. Moline's facts and
   the issue of standards controlling her study's operation.            conclusions-an opportunity not previously available due to
                                                                        the absence of information stemming from the previous cloak
  Plaintiff quotes Mrs. Bell's diagnosing pathologist who               of anonymity. Simply because Dr. Moline and her colleagues
  asserted "these requests go far beyond ... appropriate                may have a good answer as to why the workers' compensation
  investigation into scientific merit or arguments that are made        claims do not undermine the article's credibility does not
  in the scientific literature." (Pl.'s Resp. (Doc. 377) at 14          foreclose an otherwise relevant inquiry. Therefore, the first
  (quoting Doc. 179-8 at 11).) But Plaintiff fails to recite what       factor-reason for modification of the protective order-
  this doctor considers "appropriate investigation into scientific      weighs heavily in favor of vacating the order.
  merit." (Id.)

  From this court's perspective, inquiry into the accuracy of
                                                                        2. Alternative Means to Acquire the Information
  facts and assumptions underlying scientific merit is not only
  an appropriate inquiry, but also necessary and required. "The          *8 AII quotes language from the Magistrate Judge
  inquiry envisioned by [Federal] Rule [of Evidence] 702 is ...         suggesting that it would be inappropriate in other cases to seek
  a flexible one. Its overarching subject is the scientific validity    the release of Mrs. Bell's inclusion in the aiiicle. (All's Br.
  and thus the evidentiary relevance and reliability--of the            (Doc. 369) at 24 (quoting Doc. 220-2 at 8).) AII argues that if
  principles that underlie a proposed submission." Daubert, 509         it cannot disclose Mrs. Bell's inclusion in the article in future




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 cases, then "Plaintiffs counsel is essentially given free rein           ascertained that Mrs. Bell was one of the anonymous thirty-
 to commit fraud-provided they never disclose Moline as an                three individuals. (E,g,_, Doc. 340-2 at 5-8.) To do this,
 expert in any of the 32 remaining cases that were included in            they cross-referenced Dr. Moline's congressional testimony,
 her study." (Id. at 24-25; see also All's Reply (Doc. 380) at            Examining Carcinogens in Talc and the Best Methods for
 13.)                                                                     Asbestos Detection: Hearing Before the Subcomm. on Econ.
                                                                          & Consumer Pol'y of the H. Comm. on Oversight & Reform,
 In evaluating whether to modi1y a protective order, courts               116th Cong. 8-9 (2019) (statement of Dr. Jacqueline Moline,
 must assess whether the movant can "obtain the information               Professor, Feinstein Institutes for Medical Research at
 in ways other than requesting a modification of the protective           Northwell Health), with her unsealed expert report evaluating
 order" because "a motion to modify a protective order in order           Mrs. Bell, (Doc. 205-11). (E,g,_, Doc. 340-2 at 5-8.) This
 to use material in other litigation should, in most cases, be the        demonstrates that defendants in other cosmetic talc cases have
 last resort of a party, not the first." SmithKline B_\;ccham. 210        alternative means of acquiring the information that Mrs. Bell
 F.R.D. at 168--69. For example, prior to seeking a protective            was one of the individuals the article studied, undermining
 order's modification, a party in the other litigation should             All's insistence that the Northwell Document is needed to
 seek to obtain the information via a third-party subpoena. See           establish this fact. 6
 id . "The third-party subpoena route has the added benefit of
 allowing the court in which the main litigation is pending to             "'9 For these reasons, the second fact01~alternative means
 make the ruling. This may be particularly appropriate when               to acquire the information-weighs against vacating the
 relevancy of the discovery is a significant issue" because               protective order.
 "[t]he court in which the litigation is pending will be in
 a better position to decide relevancy issues." ld. at 169
 n.7. Additionally, "where the material sought would not be
 discoverable in the collateral litigation ... the court should be        3. Type of Protective Order
 inclined to deny modification" of a protective order. Wright
                                                                          All notes that unlike cases where the parties "enter into a
 & Mi Iler. supra, &2044.1.
                                                                          protective order-prior to a document production to 'facilitate
                                                                          discovery,' "here "the parties did not stipulate to a protective
 Here, All has not alleged that it is devoid of alternative means
                                                                          order." (All's Reply (Doc. 380) at 3--4 (quoting Factor.Y...!...'vlut.
 to acquire the information it seeks. While All recites the
                                                                          Ins., 212 F.R.D. at 305).) All stresses that the document was
 Magistrate Judge's statement that it may be inappropriate in
                                                                          produced by a third party, and All has consistently opposed
 other cases to seek the Northwell Document identifying Mrs.              protecting it. (See id.) All also insists that the protective
 Bell, (All's Br. (Doc. 369) at 24 (quoting Doc. 220-2 at 8)),
                                                                          order shielding the Northwcll Document was always intended
 All never states that it has actually tried and failed to get
                                                                          to be a preliminary ruling as evidenced by the fact that
 that document in any other case through the use of a third-
                                                                          the Magistrate Judge "more than once ... reminded the
 party subpoena or any other mechanism. Because "a motion
                                                                          parties that the protective order was tentative and subject to
 to modify a protective order in order to use material in other
                                                                          reconsideration." (Id. at 4.)
 litigation should, in most cases, be the last res01t of a party,
 not the first," SmithKline.. Beecham, 2.1.0 _ F.R.D.... at...169, this
                                                                          Different types of protective orders are granted varying
 couit is wary of vacating the protective order without any
                                                                          degrees of deference when deciding whether an order should
 allegation that All has exhausted alternative means. And even
                                                                          be vacated. See .s_mjJ]1Kline Beecham. 210 F.R.D. at 167__.
 if All had actually tried and failed in another case to get the
 Northwell Document identifying Mrs. Bell, this comt would                  If the protective order has been entered upon an actual
 not be disposed to undercut that ruling by modifying the                   finding that the information falls within Ruic 26(c)
 protective order because "where the material sought would                  protection, great care should be exercised before modifying
 not be discoverable in the collateral litigation" courts "should           a protective order for use outside of the litigation and
 be inclined to deny modification." Wrif!ht & Miller, supra. §              the court's control. A blanket protective order, on the
 2044.1.                                                                    other hand, often is nothing more than a Fed. R. Civ.
                                                                            P. 29 stipulation between the parties to keep discovery
 Finally, this court notes that even with the protective order              confidential. A party's claimed reliance on such orders to
 in place, defense counsel in other cosmetic talc cases have                protect confidentiality is, consequently, less than if the




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    party had to make an actual or particular showing of                 placed her health at issue by commencing this lawsuit, and
    confidentiality in order to obtain the protective order.             the information contained in the Northwell Document is not
 ld. (internal citation omitted). Additionally, less "credence           HIPPA protected. (Id.) Plaintiff concedes that the Northwell
 may be given to reliance on ... temporary pretrial [protective          Document is not HIPAA protected but insists that Mrs. Bell
 orders]." Td.                                                           qualifies as a human research subject, and thus her identity
                                                                         is entitled to confidentiality protections to prevent "a chilling
 The protective order at issue is not a blanket protective order         effect on further research." (Pl.'s Resp. (Doc. 377) at 14, 18-
 that was stipulated to by the parties. Rather, it was entered           19 .) Northwell shares the chilling effect concern and adds that
 by the Magistrate Judge in response to an opposed Ruic                  even if Mrs. Bell herself is not a human research subject, the
 26(c) motion. (Docs. 179, 197; Oral Order 09/25/2020.) That             article as a whole still qualified as human subject research
 the order was issued upon an actual, particularized finding             because of the other individuals studied. (Northwell's Resp.
 of good cause entitles the order to more deference. See                 (Doc. 392) at 15-16.)
 SmithKline Beccham,.210,F.R.D ... al 167.
                                                                         When the documents under protective order are highly
    On the other hand, Plaintiff cannot claim to have reasonably         confidential, "[t]he court may demand greater need for
    relied on the protective order because the order was pretrial        modification and act with more reluctance" when faced with
    and explicitly temporary. See id. In issuing the order, the          a modification motion. Smith Kline Beecham, 210 F.R.D.
    Magistrate Judge stated that "[i]f there is any reason to revisit    at_l68. In contrast, "when the documents at issue do not
    that further ... then those are matters that the Court can take      likely involve highly confidential information ... opposition
    up once they are briefed and presented." (Doc. 206 at 96.) All       to modification carries less weight." Id. at 167. In determining
    understandably concluded from this and similar statements,           what information qualifies as "highly confidential," "some
    (see, e.g., Doc. 360 at 3 ("[T]he Court has only made                documents or information will, at initial apprehension,
    preliminary determinations regarding confidentiality.... ")),        intuitively appear to be more confidential." Td. at 167-68.
    that the protective order was preliminary and ''not intended
    to be a final order," (All's Br. (Doc. 369) at 4). Further             United States Department of Health and Human
 .· discrediting any reliance. interest Plaintiff may .claim .in th.e   : .Services. regulations. confer upon '.'human . subject" research
    protective order is that the Northwell Document was not              confidentiality protections enforced by an IRB ..8. Se!.~, 4.S..
    produced in reliance on the order's protection, rather it was        C.F.R. & 46.1 ll(a)(7) (2020). "Human subject" is defined as
    produced before the order was issued.                                "a living individual about whom an investigator ... conducting
                                                                         research ... [o]btains information ... through intervention or
 In sum, this third factor-type of protective order at issue             interaction with the individual, and uses, studies, or analyzes
 -cuts in both directions. Some aspects weigh in favor of                the information or ... [o]btains, uses, studies, analyzes, or
 Plaintiff: that the order is not a stipulated blanket order but         generates identifiable private information." Id. § 46. l 02( e)( l)
 instead a particularized order supported by a good cause                (emphasis added).
 finding of confidentiality. Other aspects weigh in favor of All:
 that the order was pretrial, expressly preliminary, and Plaintiff       Mrs. Bell does not qualify as a human subject under
 cannot claim that the Northwell Document was produced in                that regulation because by the time Dr. Moline and her
 reliance on the protective order since the order issued after           coauthors "obtain[ed]," "use[d]," "studie[d]" "analyze[d],"
 the document was produced. Therefore, on balance, this court            or "generate[d]," Mrs. Bell's information for purposes of
 finds this factor to be neutral.                                        drafting the article, Mrs. Bell was no longer a "living
                                                                         individual." Id. Mrs. Bell died in June 2017. (Doc. 39-2 at 2.)
                                                                         Dr. Moline and her coauthors did not receive IRB approval for
                                                                         their study until March 2018. (Doc. 265-1 ,r 17; Doc. 392-1.)
  4. Type of Document Sought1
                                                                         However, it seems likely that some of the other individuals
   *10 AII insists that the information contained in the                 the article studied were living when IRB approval was
  Northwell Document is not sensitive enough to warrant the              granted-thus qualifying them as human subjects. Indeed,
  protective order. (AII's Br. (Doc. 369) at 18-22.) AII argues          Northwell claims at least twenty-three individuals studied
  that the article cannot be classified as human subject research,       were still living when the study was conducted.2 (Northwell's
  Mrs. Bell had no reasonable expectation of privacy since she           Resp. (Doc. 392) at 15.) Irrespective of the exact number




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  of living individuals, the fact that at least some of the
  individuals studied were alive when the IRB reviewed the            Critically, the Northwell Document redacts all information on
  article's application is corroborated by the IRB approval's         other individuals, (see Doc. 331-17), some of whom likely
  statement that the "research must be conducted in accordance        qualify as human subjects thus entitling them to greater
  with ... Department of Health and Human Services regulations        confidentiality protections than Mrs. Bell. Additionally,
  CFR 46," which provides protection for human research               the information the No1thwell Document contains is not
  subjects ..li! (Doc. 392-1 at 3; accord Doc. 265-1120.)             sensitive; all that is listed is Mrs. Bell's name, the brands
                                                                      of talc she used, the name of the law firm representing
   *11 Thus, although the article as a whole likely qualified as      her, her occupation, and her mesothelioma diagnosis date.11
  human subject research, Mrs. Bell herself was never a human         (Id.) Given Mrs. Bell put all that info1mation at issue
  subject because she was deceased by the time the study began.       by filing this lawsuit, that information is a far cry
  While being part of a larger study that qualified as human          from the sort of document or information that "at initial
  subject research may have facially and incidentally granted         apprehension, intuitively appear[s] to be more confidential."
  Mrs. Bell greater confidentiality protections, this court is        SmithKline Beecham. __ 210 F.R.D. at 168. In fact. all the
  hesitant to give much weight to those protections that were         information in the Northwell Document-and indeed much
  not crafted with the goal of protecting the privacy of deceased     more sensitive medical information-is already contained in
  individuals like Mrs. Bell. This is consistent with caselaw that    this case's publicly available filings. (See, e.g.. Doc. 205-11.)
  indicates Mrs. Bell's privacy interest in her study patticipation   Consequently, this court finds that Mrs. Bell's privacy
  was always, and remains presently, diminished because she           interests do not justify keeping the Northwell Document
  was deceased. (MJ's Order (Doc. 309) at 7 n.2 (citing \\'essler     confidential.
  v. __ DOJ. J8l F...Supp._3d_253~ . 259(S.D.N.Y._201..2)). That
  Mrs. Bell was not a human subject also renders inapposite           Moreover, All and Plaintiff agree that none of the information
  the caselaw Plaintiff has marshalled, as well as much of the        in the Northwell Document is HIPAA protected. (Compare
  regulatory scheme that Northwell exhaustively recites. (See         All's Br. (Doc. 369) at 21, with Pl.'s Resp. (Doc. 377) at 19.)
  Pl.'s Resp. (Doc. 377) at 14 (citing Lampshire v. Procter &         Plaintiffs concession that no HIPPA-protected information
  Gamble Co..,_94 F.R.D. SlUN.D. Ga. 19~; Doe v. Am.                  is at risk of disclosure nullifies Northwell's argument that
  Red Cross Blood Servs .. 125 F.R.D. 646 (D.S.C. 1982}); see         "vacating the protective order would violate the purpose of
  Northwell's Resp. (Doc. 392) at 9-18.)                              HIPPA." (Notthwell's Resp. (Doc. 392) at 17 (capitalization
                                                                      removed).) As Notthwell acknowledges, the relevant purpose
  Moreovet; since Mrs. Bell was not a human subject,                  of HIPPA is to benefit patients by providing privacy
  that invalidates Plaintiff and Northwell's argument that the        protections for ce1tain types of health information. (See
  disclosure of human subjects would have a chilling effect           id. at 17 (citing 45 C.F.R. §§ 160.103, 164.502, 164.508
  on academic research. (See Pl.'s Resp. (Doc. 377) at 14;            (2020)).) Here, the patient's representative, Plaintiff, concedes
  Northwell's Resp. (Doc. 392) at 12-13.) Here, no human              no HIPPA-protected information is at risk of disclosure. In
  subject's identity is being disclosed. Additionally, as to          light of this concession-not to mention the HIPPA waiver
  Plaintiff and Nmthwell's chilling effect concern, this court        Plaintiff executed, (Doc. 179-6)-HIPPA does not seem to
  remains ever "cognizant that 'the ability to conduct probing        apply nor is its purpose violated.
  scientific and social research supported by a population
  willing to submit to in-depth questioning' depends on the            *12 In that vein, this court reminds Northwell that despite
  guarantee that the researcher will take steps to ensure             its claimed "significant interest in protecting the anonymity
  confidentiality." (MJ's Order (Doc. 309) at 5 (quoting              of research participants," (Northwell's Resp. (Doc. 392) at
  Farnsworth v. Procter & Gamble Co.i_758 F.2d 1545. 1547             12), it "does not appear to have any remaining privacy
  illth..{).r,_ 19851).) But Northwell's argument that "[f]orcing     interest in the fact of Ms. Bell's participation in Dr. Moline's
  the disclosure of the identities of research subjects ... would     study," (MJ's Order (Doc. 309) at 7). That is because
  significantly dissuade individuals from agreeing to participate     "[i]n a medical research study, the interest in confidentiality
  in human subject research," neglects the fact that Mrs. Bell        belongs primarily to the study participant, not the researcher
  never agreed to pmticipate in Dr. Moline's research because         or sponsoring facility." (Id.) Here, that study pa1ticipant
  the study was not required to obtain informed consent from          chose to publicly expose the fact of her mcsothel_ioma by
  any of the individuals studied. (See Doc. 392-1 at 2.)              filing a complaint in this case, (Doc. I), and the workers'


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                                                                        protective order is granted, then the motions to seal should
  compensation claim she chose to file, alleging she was
                                                                        be denied. (See Doc. 382 at 1 (recognizing that the motions
  exposed to asbestos in the textile industry, is publicly
                                                                        to seal are contingent on "the Court's decision as to whether
  available, (See Doc. 322-2).
                                                                        the protective order should be vacated"); see also Doc. 374
                                                                        at 1-2.)
  Finally, this court notes that All seeks to vacate the protective
  order to un-shield a single document. This matters because it
                                                                        Because this court has decided that the Northwell Document
  can "make a difference if the proposed modification involves
                                                                        is not entitled to confidentiality protections and thus will grant
  one or many documents." SmithKline Beecham 210 F.R.D. at
                                                                        the motion to vacate the protective order, supra Section ll.B.,
  168. While courts may be inclined to reject motions to vacate
                                                                        the motions to seal will all be denied. This court will seal and
  protective orders when a large number of documents would
                                                                        stay this order for 7 days to allow Plaintiff and Intervenor to
  be "wholesale release[d]," "request[s] for modification only
                                                                        review this order and determine how they wish to proceed.
  involv[ing] a limited set of documents" are more palatable. Id.

  For these reasons, this court concludes that the final factor
                                                                        III. CONCLUSION
  --type of document sought-weighs in AII's favor. Because
                                                                        For the foregoing reasons,
  the first factor weighed in All's favor, the second in Plaintiff's
  favor, and the third was neutral, this last factor tips the scales    IT IS THEREFORE ORDERED that Northwell's Motion
  decisively and establishes that All has discharged its burden
                                                                        for Reconsideration of its Motion to Intervene and Extend
  of showing good cause to vacate the protective order..12.             Protective Order, (Doc. 388), is GRANTED insofar as
  Accordingly, this court will grant All's Motion to Vacate the         Northwell is hereby admitted to the case as an intervening
  Preliminary Protective Order of September 25, 2020. (Doc.             party.
  368.)
                                                                         *13 IT IS FURTHER ORDERED that AII's Motion to
  At this time, this court will not unseal any filings as All's         Vacate the Preliminary Protective Order of September 25,
  motion has not sought such action. If any party seeks to unseal       2020, (Doc. 368), is GRANTED.
  any filings pifrsuarit to this decision vacating thi:j:n'otective •
  order, they should file the appropriate motion with this court.       IT IS FURTHER ORDERED that the motions to seal the
                                                                        motion to vacate and the related briefing, (Docs. 370, 375,
                                                                        378,381,390,395), are all DENIED.
     C. Motions to Seal
  All's motion to vacate and the related briefing are all
                                                                        This order is hereby SEALED and STAYED for 7 days. At
  accompanied by corresponding motions to seal. (Docs. 370,
                                                                        the conclusion of the 7 days, this order shall be UNSEALED
  375, 378, 381, 390, 395.) All and WCD explicitly state
                                                                        by the Clerk unless a further order is entered.
  that they do not believe the motion or briefing should be
  sealed but have filed the motions because "Plaintiff and
  Northwell have claimed confidentiality with regard to certain         All Citations
  information." (Doc. 370 at l; see also Doc. 375.) Plaintiff
  effectively acknowledges that if the motion to vacate the             --- F.Supp.3d ----, 2022 WL 16571057


  Footnotes
  1     All citations in this Memorandum Opinion and Order to documents filed with the court refer to the page numbers located
        at the bottom right-hand corner of the documents as they appear on CM/ECF.

  2.      Both this and the prior workers' compensation filings were subject to a state statute that criminalizes the making of false
          statements to obtain benefits. N.C. Gen. Stat. § 97-88.2(a).

  .3_     Northwell's reconsideration motion was made pursuant to fJ;dernLRule of Civil Procedure M(b.}. (Doc. 388 at 1; see also
          Northwell's Recons. Br. (Doc. 391) at 4.) That is not the appropriate vehicle because Rule 54(!,) reconsideration motions




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         must be made "before the entry of a judgment adjudicating all the claims and all the parties' rights and liabilities." Here,
         such a judgment adjudicating all the parties' claims and liabilities has been entered. (Doc. 366.)

         The appropriate vehicle for Northwell's reconsideration motion is Rule 60{b)(6), which allows this court to relieve a party
         from an order for any "reason that justifies relief." This court has carefully reviewed Northwell's motion and supporting
         brief pursuant to that Rule and finds that they provide sufficient grounds to justify relief from this court's prior order denying
         Northwell's intervention motion.

  1      Although WCD has filed a notice that it joins All's motion to vacate, (Doc. 373), for ease of reference this court will refer
         to All as the party making the arguments in favor of vacating the protective order.

  .Q     Evidently, at least one similar peer-review paper was published in the months after the Moline article was released. (See
         Doc. 282-5.)

  §.     Further evidence that the Northwell Document is not required to establish this information is that Plaintiff failed to redact a
         portion of an unsealed filing in this case that directly identifies Mrs. Bell as an article "subject." (Doc. 179 at 5 ("The Court
         Should Enter a Protective Order ... Requiring All Copies of Documents Identifying Betty Bell as a Subject Be Destroyed.").)

  Z      Some cases have examined whether a document is a "judicial document" under this fourth factor. E.,g_,_, SmithKline
         Be.e.c.b_9m,210.f,R,0,...9L1.6I::::§~. This court found it analytically more logical to address that as a threshold question
         prior to discussing the four factors. Thus, this court has already concluded that the Northwell Document is not a judicial
         document and will examine other concerns within the confines of the fourth factor .

  .8_    As an initial matter, Northwell appears to concede that because Dr. Moline's study was not conducted by or on behalf of the
         federal governmentthese protections for human subjects do not inherently apply. (Northwell's Resp. (Doc. 392) at 14-15.)
         Rather, Northwell insists the protections apply because it has voluntarily elected, as part of its "Federalwide Assurance"
         to the government, to have these protections apply to all its human subject research-regardless of the source of support
         or funding for that research. (ldJ Northwell's concession that these protections only apply because it has chosen to apply
         them (and has told the government about that choice), suggests to this court that these protections are not requirements
         imposed on Northwell by the government, but rather requirements it has imposed upon itself. Thus, nonenforcement of
         these protections would not seem to violate any federal requirements the government itself has imposed on Northwell.

  .9_    Northwell has not provided any evidence to substantiate this number, preventing this court from independently
         corroborating Northwell's claim.

  1O     The IRB approval also waived the requirement that Dr. Moline and her coauthors acquire informed consent from the
         individuals to be studied. (See Doc. 392-1 at 2.) Northwell explains this informed consent waiver was granted because
         the IRB found Dr. Moline's research subjects faced no more than "a minimal risk of harm resulting from a breach of
         confidentiality." (Northwell's Resp. (Doc. 392) at 14 (citing 45 C.F.R. § 46.11.10,)(1 )(ii) (2020)).) That finding undercuts
         Northwell and Plaintiff's argument that research subjects would suffer great harm if their identities were disclosed.

  11     The Northwell Document appears to have made a clerical error as to Mrs. Bell's diagnosis date. It states she was
         diagnosed with mesotheli.9ma on "7/20/2016." (Doc. 331-17 at 6.) She was actually diagnosed a year earlier. (Doc. 322-2
         at 2; Doc. 205-11 at 4-5.)

  1.2.   Alternatively, this court further finds the first factor weighs substantially in All's favor. This court goes so far as to find
         the reason and purpose for the modification establish an extraordinary circumstance and a related compelling need. See
         $,.E.,C,.'l,TbJ19.JreetGQm,.2n...F.~3d.22.2.,.2.29.12nd.Cir,2Q.QJ.J. As a result, even if the third factor weighed in Plaintiffs
         favor, this court would reach the same result.




   End of Document                                                         C!D 2022 Tt1ornson Reuters. No claim to original U.S.
                                                                                                                 Gove,rnment Works.




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                  EXHIBIT L




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          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF NEW YORK
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          BRIAN JOSEPH GREF,                                                 Index No.:
                                                                             Date Filed:

                                                 Plaintiff,                  Plaintiff designates
                                                                             New York County
                          -against-                                          as the place of trial

                                                                             The basis of the venue is
          AMERICAN INTERNATIONAL INDUSTRLES,                                 Defendant's Place of Business
           individually and as successor-in-interest for the
           CLUBMAN BRAND, and to THE NESLEMUR                                SUMMONS
           COMPANY and PINAUD COMPANY, et al.

                                                 Defendants.

           See Attached Rider - FULL CAPTION
          ---------------------- -------------------X

           TO THE ABOVE NAMED DEFENDANTS:

                         You are hereby summoned to answer the Complaint in this action and to serve a
          copy of your Answer, or, if the Complaint is not served with this Summons, to serve a Notice of
          Appearance, on the Plaintiffs' Attorney within 20 days after the service of this Summons,
          exclusive of the day of service (or within 30 days after the service is complete if this Summons is
          not personally delivered to you within the State of New York). In the case of your failure to
          appear or answer, judgment will be taken against you by default for the relief demanded in the
          complaint.

           Date: NewYork, New York
                 July 8, 2020
                                                                        SIMMONS HANLY CONROY
                                                                        Attorneys for Plaintiffs
                                                                        112 Madison Avenue
                                                                        New York, NY 10016
                                                                        Tel.: (212)784-6400




                                                                         James M. Kramer, Esq



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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NEW YORK
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        BRIAN JOSEPH GREF,

                                                    Plaintiff,
                          -against-
                                                                                    FULL CAPTION RIDER
        AMERICAN INTERNATIONAL INDUSTRIES,
         individually and as successor-in-interest for the
         CLUBMAN BRAND, and to THE NESLEMUR
         COMPANY and PINAUD COMPANY,
        BRENNTAG NORTH AMERICA,
        BRENNTAG SPECIALTIES, INC., as successor-in-
          interest to MINERAL PIGMENT SOLUTIONS, INC.,
          as successor-in-interest to WHITAKER CLARK
          & DANIELS, INC.,
        CYPRUS AMAX MINERALS COMPANY, sued
         individually, doing business as, and as successor to
         AMERICAN TALC COMPANY, METROPOLITAN
         TALC CO. INC., and CHARLES MATHIEU, INC and
         SIERRA TALC COMPANY and UNITED TALC
         COMPANY,
        CYPRUS MINES CORPORATION individually,
          doing business as, and as successor-in-interest to
          AMERICAN TALC COMPANY,
          METROPOLITAN TALC CO. INC., CHARLES
          MATHIEU INC., CYPRUS INDUSTRIAL
          MINERALS COMPANY, WINDSOR
          MINERALS INC., and VERMONT TALC
        DANA CLASSIC FRAGRANCES, INC.,
        IMG HOLDINGS INC.,
        JOHNSON & JOHNSON,
        JOHNSON & JOHNSON CONSUMER,
          COMPANIES, INC.,
        KOLMAR LABORATORIES, INC.,
        LUZENAC AMERICA INC.,
        PATRIARCH PARTNERS, LLC
        JOHN DOE 1 through JOHN DOE 75 (fictitious),

                                                     Defendants.
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                         SUPREME COURT OF THE STATE OF NEW YORK
                         COUNTY OF NEW YORK
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                         BRIAN JOSEPH GREF,                                                               Index No.:

                                                                      Plaintiff,                          COMPLAINT FILED:
                                             -against-
                                                                                                          VERIFIED COMPLAINT
                         AMERICAN INTERNATIONAL INDUSTRIES,
                          individually and as successor-in-interest for the
                          CLUBMAN BRAND, and to THE NESLEMUR
                          COMPANY and PINAUD COMPANY,
                         BRENNTAG NORTH AMERICA,
                         BRENNTAG SPECIALTIES, INC., as successor-in-
                           interest to MINERAL PIGMENT SOLUTIONS, INC.,
                           as successor-in-interest to WHIT AKER CLARK
                           & DANIELS, INC.,
                         CYPRUS AMAX MINERALS COMPANY, sued
                          individually, doing business as, and as successor to
                          AMERICAN TALC COMPANY, METROPOLITAN
                          TALC CO. INC., and CHARLES MATHIEU, INC and
                          SIERRA TALC COMPANY and UNITED TALC
                          COMPANY,
                         CYPRUS MINES CORPORATION individually,
                           doing business as, and as successor-in-interest to
                           AMERICAN TALC COMPANY,
                           METROPOLITAN TALC CO. INC., CHARLES
                           MA THIEU INC., CYPRUS INDUSTRIAL
                           MINERALS COMPANY, WINDSOR
                           MINERALS INC., and VERMONT TALC
                         DANA CLASSIC FRAGRANCES, INC.,
                         IMG HOLDINGS INC.,
                         JOHNSON & JOHNSON,
                         JOHNSON & JOHNSON CONSUMER,
                           COMPANIES, INC.,
                         KOLMAR LABORATORIES, INC.,
                         LUZENAC AMERICA INC.,
                         PATRIARCH PARTNERS, LLC
                         JOHN DOE 1 through JOHN DOE 75 (fictitious),

                                                                 Defendants.
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                Plaintiffs complaint of the Defendants, by SIMMONS HANLY CONROY, his attorneys,

        respectfully alleges, upon information and belief, at all times hereinafter mentioned, as follows:

                                            PARTIES - PLAINTIFF

                1.      Plaintiff Brian Joseph Gref resides at 10263 Whispering Forest Drive, Apartment

         716, Jacksonville, FL 32257. Plaintiff Brian Grefwas previously employed as, inter alia, a security

        guard, desk clerk, service technician, call center operator, medical combat technician, and

        presently employed as a blood technician. During his personal use of talc products, Plaintiff Brian

        Grefwas exposed to and came in contact with Defendants' asbestos products and was also exposed

        to dust from Defendants' asbestos, asbestos-containing, and asbestos-contaminated products. As

        a direct and proximate result of his inhalation and ingestion of asbestos dust particles and fibers

        from Defendants' asbestos and asbestos-contaminated products, Plaintiff Brian Gref developed

        mcsothclioma on or about November 27, 2019. Said injury meets the criteria for placement on the

        New York City Asbestos Litigation ("NYCAL") active docket as set forth in the NYCAL Case

        management order.

                2.      Plaintiff respectfully repeats, realleges, and incorporates as set forth more fully

        herein all allegations contained in Simmons Hanly Conroy Standard Complaint for New York City

        Asbestos Litigation filed with the Court under Index No. 40,000 on June 16, 2015 as it pertains to

        the Defendants in the aforementioned caption.

                3.     Reference herein to plaintiff and/or plaintiffs decedents is reference to all the

        persons set forth above as is syntactically and contextually correct.




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                                                         PARTIES - DEFENDANTS.

                 4.     Defendant AMERICAN INTERNATIONAL INDUSTRIES, individually and as

         successor-in-interest for the CLUBMAN BRAND, and to THE NESLEMUR COMPANY and

         PfNAUD COMPANY is a corporation and was doing business in the State of New York.

                 5.     Defendant BRENNTAG NORTH AMERICA is a corporation and was doing

         business in the State of New York.

                 6.     Defendant BRENNTAG SPECIALTIES, INC., as successor-in-interest to

         MINERAL PIGMENT SOLUTIONS, INC., as successor-in-interest to WHITAKER CLARK &

         DANIELS, INC., is a corporation and was doing business in the State of New York.

                 7.     Defendant CYPRUS AMAX MINERALS COMPANY, sued individually, doing

         business as, and as successor to AMERICAN TALC COMPANY, METROPOLITAN TALC CO.

         INC and CHARLES MATHIEU, INC and SIERRA TALC COMPANY and UNITED TALC

         COMPANY is a corporation and was doing business in the State of New York.

                 8.     Defendant CYPRUS MINES CORPORATION individually, doing business as,

         and as succcssor-in-intercstto AMERICAN TALC COMPANY, METROPOLITAN TALC CO.

         INC., CHARLES MATHIEU INC., CYPRUS INDUSTRIAL MINERALS COMPANY,

         WINDSOR MINERALS INC., and VERMONT TALC is a corporation and was doing business

         in the State of New York.

                 9.     Defendant DANA CLASSIC FRAGRANCES, INC. is a corporation and was doing

         business in the State of New York.

                 I 0.   Defendant IMG HOLDINGS INC. is a corporation and was doing business in the

         State of New York.




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                11.    Defendant JOHNSON & JOHNSON isa corporation and was doing business in the

         State of New York.

                12.    Defendant JOHNSON & JOHNSON CONSUMER COMPANIES, INC. ts a

        corporation and was doing business in the State of New York.

                13.    Defendant KOLMAR LABORATORIES, INC. is a corporation and was doing

        business in the State of New York.

                14.    Defendant LUZENAC AMERICA INC. is a corporation and was doing business in

        the State of New York.

                15.    Defendant PATRIARCH PARTNERS, LLC is a corporation and was doing

        business in the State ofNew York.

                16.    John Doe 1 through John Doe 50 are the fictitious names of corporations,

        partnerships, or other business entities or organizations whose identities are not presently known

        and who mined, manufactured, sold, marketed, installed, or removed asbestos or asbestos

        containing products which plaintiff used or to which plaintiff was exposed.

                17.    John Doe 51 through John Doe 75 are the fictitious names of corporations,

        partnerships, or other business entities or organizations whose identities are not presently known

        and who are the alter ego of or are otherwise responsible for the conduct or liability of those who

        mined, milled, manufactured, sold, marketed, installed, or removed asbestos or asbestos containing

        products which plaintiff used or to which plaintiff was exposed.

               18.    The term "Defendant" is used hereafter to refer to all of the entities named above.

               19.    At all relevant times the Defendants have done business in this state, have

        transacted business in this state, have committed one or more tortuous acts within this state, and




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         otherwise have performed acts within or without the state which have given rise to the injuries and

         losses hereafter described, and which subjects them to jurisdiction of the courts of this state.

                20.     Plaintiff hereby incorporates by reference all allegations set forth in the Standard

         Verified Complaint filed with the Court under Index No. 40,000 on June 16, 2015 in accordance

         with the Case Management Order entered by Justice Freedman respecting asbestos litigation.

         Copies of the Standard Complaint are available upon written request.

                                              PUNITIVE DAMAGES

                21.     Defendants and each of them had a duty to refrain from willful, reckless and

         wanton acts, omissions and/or misconduct which would forcsceably harm Plaintiff Brian Gref

         and/or expose Plaintiff Brian Grefto harm.

                22.     Defendants and each of them breached said duties in that one or more of the above-

         described acts and/or omissions constitute willful, reckless, and wanton misconduct and

         manifests an intentionally and reckless disregard for the health, safety, and well-being of Plaintiff

         Brian Gref and others similarly situated.

                23.     As a direct and proximate result of such willful, reckless, and wanton acts and/or

         omissions on the part of the Defendants and each of them, Plaintiff Brian Grefwas exposed to

         asbestos as described, causing Plaintiff Brian Gref to develop mesothelioma and thereby sustain

         damages as outlined above as against each Defendant.

                24.     In addition to compensatory damages, an award of punitive damages is necessary

         and appropriate to punish Defendants and each of them for their willful, wanton and intentional

         misconduct and reckless disregard for the health, safety and well-being of Plaintiff Brian Gref,

         and to deter Defendants and others from engaging in like misconduct in the future.

                25.     WHEREFORE, Plaintiff demands and prays judgment against Defendants and

         each of them, jointly, severally or in the alternative, as follows:
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                       a. Compensatory damages on each cause of action m an amount to be

                           determined at trial, but exceeding the jurisdictional limits of any and all lower

                           courts;

                       b. Punitive damages in amounts to be determined at trial, but exceeding the

                           jurisdictional limits of any and all lower courts;

                       c. An award of interest (pre- and post- judgment), costs and disbursements

                           incurred in this action; and,

                       d. Such other and further relief as this Court deems appropriate.

                26.    In accordance with the Case Management Order entered on June 20, 2017, a

         copy of Plaintiff's Social Security records were ordered on January 8, 2020 and will be made

         available to Defendants.

        Dated: New York, New York                                    SIMMONS HANLY CONROY
               July 8, 2020




                                                                     James Kramer, Esq.
                                                                     112 Madison Avenue, 7th Floor
                                                                     New York, New York 10016-7416
        OF COUNSEL                                                   Attorneys for Plaintiff
        SIMMONS HANLY CONROY
        Drew Sealey {IL Id. No. 6294584)
        One Court Street
        Alton, Il1inois 62002
        Tele: (618) 259-2222
        Fax: (618) 259-2251




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         STATE OF NEW YORK              )

                            )
         COUNTY OF NEW YORK )

                The undersigned, an attorney admitted to practice in the Courts of New York State, shows:

                Deponent is a member of the firm SIMMONS HANLY CONROY, Trial Counsel for the

         Plaintiff in the within action; deponent has read the foregoing Summons and Verified Complaint

         and knows the contents thereof; the same is true to deponent's own knowledge, except as to the

         matters therein stated to be alleged on information and belief, and that as to those matters deponent

         believes it to be true. This Verification is made by deponent and not by Plaintiff because Plaintiff

         resides outside of the County of New York where the deponent maintains his office.

         Dated: July 8, 2020




                                                                     James M. Kramer, Esq.




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               EXHIBIT M




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         UNITED STATES DISTRICT COURT
         SOUTHERN DISTRICT OF NEW YORK
         ------------------------------------------------------------------------X

         BRIAN JOSEPH GREF,                                                          Docket No.: I :20-cv-05589

                                                     Plaintiff,                      AMENDED COMPLAINT
                          -against-


         AMERICAN INTERNATIONAL INDUSTRIES,
          individually and as successor-in-interest.for the
          CLUBMAN BRAND, and to THE NESLEMUR
          COMPANY and PINAUD COMPANY;
         BRENNTAG NORTH AMERICA;
         BRENNTAG SPECIALTIES, INC., as successor-in-
           interest to MINERAL PIGMENT SOLUTIONS, INC.,
           as successor-in-interest to WHITTAKER CLARK
           & DANIELS, INC.;
         COLGATE-PALMOLIVE COMPANY as successor-in
         Interest to THE MENNEN COMPANY;
         CYPRUS AMAX MINERALS COMPANY, sued
          individually, doing business as, and as successor to
          AMERICAN TALC COMPANY, METRO POLIT AN
          TALC CO. INC., and CHARLES MATHIEU, INC and
          SIERRA TALC COMP ANY and UNITED TALC
          COMPANY;
         CYPRUS MINES CORPORATION individually,
           doing business as, and as successor-in-interest to
           AMERICAN TALC COMPANY,
           METRO POLIT ANT ALC CO. INC., CHARLES
           MATHIEU INC., CYPRUS INDUSTRIAL
           MINERALS COMPANY, WINDSOR
           MINERALS INC., and VERMONT TALC;
         DANA CLASSIC FRAGRANCES, INC.;
         IMG HOLDINGS INC.;
         JOHNSON & JOHNSON;
         JOHNSON & JOHNSON CONSUMER COMPANIES,
           INC.;
         KOLMAR LABORATORIES, INC.;
         LUZENAC AMERICA INC.,;
         PATRIARCH PARTNERS, LLC;
         SHULTON, INC.
         THE PROCTER & GAMBLE MANUFACTURING
          COMPANY as successor-in-interest to SHULTON INC.; :
         WHITTAKER CLARK & DANIELS, INC.;




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   WHITT AKER CLARK & DANIELS, INC.
    Individually and as successor to CHARLES MATHIEU,
     INC. and METROPOLITAN TALC CO.;
   JOHN DOE 1 through JOHN DOE 75 (fictitious),

                                               Defendants.
   ------------------------------------------------------------------------X
           Plaintiffs complaint of the Defendants, by SIMMONS HANLY CONROY, his attorneys,

   respectfully alleges, upon infonnation and belief, at all times hereinafter mentioned, as follows:

                                          NATURE OF THE ACTION

            1.      Plaintiff BRIAN JOSEPH GREF resides at 10263 Whispering Forest Drive,

   Apartment 716, Jacksonville, FL 32257. Plaintiff Brian Gref was previously employed as, inter

   alia, a security guard, desk clerk, service technician, call center operator, medical combat

   technician, and presently employed as a blood technician. During his daily use of cosmetic talc

   products, Plaintiff Brian Gref was exposed to and came in contact with Defendants' asbestos-

   containing talc products from approximately 1982 until 2019. Plaintiff purchased, used, and was

   exposed to asbestos from the use of Defendants' talcum powder in the United States, including in

   but not limited to, New York where he stayed for an extended pe1iod of time during the relevant

   time period. Plaintiff Brian Gref would apply and/or be exposed to the Defendants' Asbestos

   Contaminated Products at least once and often twice per day during the relevant time period as he

   used Defendants Asbestos Contaminated Products as part of his daily hygiene routine. As a direct

   and proximate result of his inhalation and ingestion of asbestos dust particles and fibers from

   Defendants' asbestos and asbestos-contaminated products, Plaintiff Brian Gref developed

   mesothelioma on or about November 27, 2019.

           2.       This is a product liability action arising out of Defendants' negligent design,

   manufacture and sale of talc and talcum powder-based products which were contaminated

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         with asbestos. Plaintiff alleges that BRIAN GREF used and was exposed to AMERICAN

         INTERNATIONAL INDUSTRIES, individually and as successor-in-interest.for the CLUBMAN

         BRAND, and to THE NESLEMUR COMPANY and PINAUD COMPANY (hereinafter

         "CLUB MAN"), DANA CLASSIC FRAGRANCES, INC. (hereinafter "ENGLISH LEATHER"),

         COLGATE-PALMOLIVE COMPANY as successor-in-interest to THE MENNEN COMPANY

         (hereinafter "MENNEN"), THE PROCTER & GAMBLE MANUFACTURING COMPANY as

         successor-in-interest to SHULTON INC. (hereinafter "OLD SPICE"), and SHULTON INC.

         (hereinafter "OLD SPICE II") talcum powder products in the United States, which were

         contaminated with asbestos for decades.

                3.     As a result of his exposure to asbestos-contaminated talc and/or talcum powder

         products that Defendants designed, mined, milled, managed, manufactured, supplied, sold

         and/or distributed, Plaintiff developed mesothelioma. In addition, Plaintiff alleges that

         Defendants defectively manufactured, designed, tested, marketed and produced their talcum

         powder products, when they knew or should have known of an alternative design,

         manufacturing process and testing process which would eliminated the potential for asbestos

         contamination of their products.

                4.     Defendants CLUBMAN, ENGLISH LEATHER, MENNEN, OLD SPICE I and II,

         KOLMAR LAB ORATORIES, INC. (hereinafter "KOLMAR"), BRENNTAG NORTH

         AMERICA, Defendant BRENNTAG SPECIALTIES, INC., as successor-in-interest to

         MINERAL PIGMENT SOLUTIONS, INC., as successor-in-interest to WHITAKER CLARK &

         DANIELS, INC. (hereinafter ''BRENNTAG"), CYPRUS AMAX MINERALS COMPANY, sued

         individually, doing business as, and as successor to AMERICAN TALC COMPANY,

         METROPOLITAN TALC CO. INC., and CHARLES MATHIEU, INC and SIERRA TALC

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    COMPANY and UNITED TALC COMPANY (hereinafter ·'CAMC"), CYPRUS MINES

    CORPORATION individually, doing business as, and as successor-in-interest to AMERICAN

    TALC COMPANY, METROPOLITAN TALC CO. INC., CHARLES MATHIEU INC.,

    CYPRUS INDUSTRIAL MINERALS COMPANY, WINDSOR MINERALS INC., and

    VERMONT TALC (hereinafter "CMC"), DANA CLASSIC FRAGRANCES, INC. (hereinafter

    "DANA" or "ENGLISH LEATHER"), LUZENAC AMERICA INC. (hereinafter "LUZENAC"),

   WHITTAKER CLARK & DANIELS, INC. (hereinafter "WCD I"), and WHITTAKER CLARK

   & DANIELS, INC., Individually and as successor to CHARLES MATHIEU, INC. and

   METROPOLITAN TALC CO. (hereinafter "WCD IT") were engaged in mining, milling,

   producing, processing, bagging, designing, manufacturing, marketing, supplying, delivering,

   distributing, using, purchasing, importing, exporting, compounding, selling and/or otherwise

   placing into the stream of commerce: (i) raw talc and/or talc ore contaminated with asbestos fibers

   of various kinds and grades; and/or (ii) asbestos- contaminated talcum powder products,

   specifically CLUBMAN, ENGLISH LEATHER, MENNEN, and OLD SPICE I and II talc powder

   (hereinafter referred to by name or as "Asbestos Contaminated Products").

          5.      Upon information belief, Defendants IMG HOLDINGS INC. (hereinafter "IMG)

   and PATRIARCH PARTNERS, LLC (hereinafter "PATRIARCH") engaged in the management,

   supply, capitalization, distribution, and/or otherwise placing in the stream of commerce asbestos-

   containing talcum powder manufactured by ENGLISH LEATHER.

          6.      Brian Grefpersonally used CLUBMAN, ENGLISH LEATHER, MENNEN, and

   OLD SPICE I and II talcum powder as part of his daily hygiene routine from approximately 1995

   until 2019. In addition, Plaintiffs parents applied, as designed and intended, CLUBMAN and

   ENGLISH LEATHER talcum powder to Brian Gref from the time of his birth in 1982 until

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         approximately 1987. Plaintiffs parents applied Defendants' talcum powder multiple times per day

         after they changed his diapers and bathed him, and for several years after Plaintiff stopped wearing

         diapers to prevent rashes and general skin irritation.

                 7.      As a result of the above activities, Plaintiff was exposed to asbestos dust and

         asbestos fibers through the normal and anticipated use of said Asbestos Contaminated Products.

                 8.      During the relevant time period, Plaintiff was exposed - directly and/or indirectly-

         on numerous occasions to talcum powder products which were mined, produced, processed,

         designed, manufactured, marketed, supplied, delivered, distributed, used, purchased, tested,

         specified, controlled, imported, exported, compounded, sold or otherwise placed in the stream of

         commerce by Defendants.

                 9.      Plaintiff was unavoidably exposed to, inhaled and ingested asbestos fibers

         contained within and emanating from the Defendants' Asbestos Contaminated Products and/or as

         a result of Defendants' actions, omissions and/or failures to act.

                 10.     At all relevant times, Defendants knew or should have known of the health hazards

         associated with exposure to asbestos.

                 11.     At all relevant times, Defendants knew or should have known that the Asbestos

         Contaminated Products that they mined, milled, designed, manufactured, supplied, sold and/or

         distributed were and are contaminated with asbestos fibers.

                 12.    As a direct and proximate result of Plaintiffs exposure to-and consequential

         inhalation and ingestion of asbestos fibers and dust, as contained within and emanating from the

         Defendants' Asbestos Contaminated Products or otherwise as a result of Defendants' actions or

         failures to act, Plaintiff developed a progressive, debilitating asbestos-related disease, specifically




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    mesothelioma, and consequential damages, including, without limitation, pain and suffering,

    mental anguish, and medical expenses.

            13.    Plaintiffalleges that Plaintiffs exposure to Defendants' Asbestos Contaminated

    Products caused or substantially contributed to his asbestos-related injuries such that the

    Defendants are jointly and severally liable to him for same.

                                      PARTIES - DEFENDANTS.

            14.    Plaintiff Brian Grefresides at 13221 Pecky Cypress Drive, Jacksonville, FL 32223

            15.    Defendant AMERICAN INTERNATIONAL INDUSTRIES, individually and as

   successor-in-interest for the CLUBMAN BRAND, and to THE NESLEMUR COMPANY and

    PINAUD COMP ANY is a California corporation duly organized and existing under and by virtue

    of the laws of the State of California

            16.    Defendant AMERICAN INTERNATIONAL INDUSTRIES, individually and as

   successor-in-interest for the CLUBMAN BRAND, and to THE NESLEMUR COMPANY and

    PINAUD COMPANY maintained its principal place of business and corporate headquarters in

    California.

           17.     Defendant BRENNTAG NORTH AMERICA is a Delaware corporation duly

    organized and existing under and by virtue of the laws of the State of Delaware.

           18.     Defendant BRENNTAG NORTH AMERICA maintained its principal place of

    business and corporate headquarters in Pennsylvania.

           19.     Defendant BRENNTAG SPECIALTIES, INC., as successor-in-interest to

    MINERAL PIGMENT SOLUTIONS, INC., as successor-in-interest to WHITTAKER CLARK

    & DANIELS, INC., is a Delaware corporation duly organized and existing under and by virtue of

    the laws of the State of Delaware.


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                   20.   Defendant BRENNTAG SPECIALTIES, INC., as successor-in-interest to

         MINERAL PIGMENT SOLUTIONS, INC., as successor-in-interest to WHITT AKER CLARK

         & DANIELS, INC., maintained its principal place of business and corporate headquarters in New

         Jersey.

                   21.   Defendant COLGATE-PALMOLIVE COMPANY as successor-in-interest to

         THE MENNEN COMPANY is a Delaware corporation duly organized and existing under and by

         virtue of the laws of the State of Delaware.

                   22.   Defendant COLGATE-PALMOLIVE COMPANY as successor-in-interest to

         THE MENNEN COMPANY maintained its p1incipal place of business and corporate headquarters

         in New York.

                   23.   Defendant CYPRUS AMAX MINERALS COMPANY, sued individually, doing

         business as, and as successor to AMERICAN TALC COMPANY, METROPOLITAN TALC CO.

         INC and CHARLES MATHIEU, INC and SIERRA TALC COMPANY and UNITED TALC

         COMPANY is a Delaware corporation duly organized and existing under and by virtue of the laws

         of the State of Delaware.

                   24.   Defendant CYPRUS AMAX MINERALS COMP ANY, sued individually, doing

         business as, and as successor to AMERICAN TALC COMPANY, METROPOLITAN TALC CO.

         INC and CHARLES MATHIEU, INC and SIERRA TALC COMPANY and UNITED TALC

         COMP ANY maintained its principal place of business and corporate headquarters in Colorado.

                   25.   Defendant CYPRUS MINES CORPORATION individually, doing business as,

         and as successor-in-interest to AMERICAN TALC COMPANY, METROPOLITAN TALC CO.

         INC., CHARLES MATHIEU INC., CYPRUS INDUSTRIAL MINERALS COMPANY,




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   WINDSOR MINERALS INC., and VERMONT TALC is a Delaware corporation duly organized

   and existing under and by virtue of the laws of the State of Delaware.

          26.     Defendant CYPRUS MINES CORPORATION individually. doing business as,

   and as successor-in-interest to AMERICAN TALC COMPANY, METRO POLIT ANT ALC CO.

   INC., CHARLES MATHIEU INC., CYPRUS INDUSTRIAL MINERALS COMPANY,

   WINDSOR MINERALS INC., and VERMONT TALC maintained its principal place of business

   and corporate headquarters in Arizona.

          27.     Defendant DANA CLASSIC FRAGRANCES, INC. is a Delaware corporation

   duly organized and existing under and by virtue of the laws of the State of Delaware.

          28.     Defendant DANA CLASSIC FRAGRANCES, INC. maintained its principal place

   of business and corporate headquarters in New Jersey.

          29.     Defendant IMG HOLDINGS INC. is a Delaware corporation duly organized and

   existing under and by virtue of the laws of the State of Delaware.

          30.     Defendant IMG HOLDINGS INC. maintained its principal place of business and

   corporate headquarters in Florida.

          31.     Defendant KOLMAR LABORATORIES, INC. is, a Delaware corporation, duly

   organized and existing under and by virtue of the laws of the State of Delaware.

          32.     Defendant KOLMAR LABORATORIES, INC. maintained its principal place of

   business in New York.

          33.     Defendant LUZENAC AMERICA, INC. is a Georgia corporation duly organized

   and existing under and by virtue of the laws of the State of Georgia.

          34.     Defendant LUZENAC AMERICA, INC. maintained its principal place of business

   and corporate headquarters in Georgia.


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                 35.     Defendant PATRIARCH PARTNERS, LLC is a Delaware corporation duly

          organized and existing under and by virtue of the laws of the State of Delaware.

                 36.     Defendant PATRIARCH PARTNERS, LLC maintained its principal place of

          business and corporate headquarters in New York.

                 37.     Defendant THE PROCTER & GAMBLE MANUFACTURING COMPANY as

          successor-in-interest to SHULTON INC. is an Ohio corporation duly organized and existing under

          and by virtue of the laws of the State of Ohio.

                 38.     Defendant THE PROCTER & GAMBLE MANUFACTURING COMPANY as

          successor-in-interest to SHULTON INC. maintained its principal place of business and corporate

          headquarters in Ohio.

                 39.      Defendant SHULTON INC. is a New Jersey corporation duly organized and

          existing under and by virtue of the laws of the State of New Jersey.

                 40.     Defendant SHULTON INC. maintained its principal place of business and

          corporate headquarters in Ohio.

                 41.     Defendant WHITTAKER CLARK & DANIELS, INC., is a New Jersey

          corporation duly organized and existing under and by virtue of the laws of the State ofNew Jersey.

                 42.     Defendant WHITTAK.ER CLARK & DANIELS, INC. maintained its principal

          place of business and corporate headquarters in New Jersey.

                 43.     Defendant WHITTAKER CLARK & DANIELS, INC., Individually and as

          successor to CHARLES MATHIEU, INC. and METROPOLITAN TALC CO., is a New Jersey

          corporation duly organized and existing under and by virtue of the laws of the State of Jersey.




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           44.     Defendant WHITTAKER CLARK & DANIELS, INC., Individually and as

    successor to CHARLES MATHIEU, INC. and METROPOLITAN TALC CO., maintained its

    principal place of business and corporate headquarters in New Jersey.

           45.     John Doe I through John Doe 50 are the fictitious names of corporations,

    partnerships, or other business entities or organizations whose identities are not presently known

    and who mined, manufactured, sold, marketed, installed, or removed asbestos or asbestos

    containing products which plaintiff used or to which plaintiff was exposed.

           46.     John Doe 51 through John Doe 75 are the fictitious names of corporations,

    partnerships, or other business entities or organizations whose identities are not presently known

    and who are the alter ego of or are otherwise responsible for the conduct or liability of those who

    mined, milled, manufactured, sold, marketed, installed, or removed asbestos or asbestos containing

    products which plaintiff used or to which plaintiff was exposed.

           47.     The term "Defendant" is used hereafter to refer to all of the entities named above.

           48.     At all relevant times the Defendants have done business in this state, have

    transacted business in this state, have committed one or more tortuous acts within this state, and

    otherwise have performed acts within or without the state which have given rise to the injuries and

    losses hereafter described, and which subjects them to jurisdiction of the courts of this state.

                                     JURISDICTION AND VENUE

           49.     On July 8, 2020, Plaintiff filed an asbestos-related lawsuit in New York State

    Supreme Court, County of New York, Index No. 190178/2020 naming the above captioned

    Defendants.




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                 50.     On July 20, 2020, Defendants Johnson & Johnson and Johnson & Johnson

          Consumer Inc. by counsel and pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, filed a Notice of

          Removal to the United States District Court for the Southern District of New York.

                 51.    The Court has jurisdiction over each Defendant because each Defendant is either a

          resident and citizen of New York and/or has continuing minimum contacts with the State of New

          York, or is doing business and is engaged in substantial activity within New York, or has

          committed torts or breached waiTanties and committed acts or omissions in New York, at a time

          when solicitations or services were carried on within New York, by or on behalf of these

          Defendants and products, materials or things processed, serviced, managed, or manufactured by

          these corporate Defendants which resulted in personal injuries in locations inside and outside of

          the State, when they were used or consumed, in the ordinary course of trade.

                 52.    Consistent with the Due Process Clause of the Fifth and Fourteenth Amendments,

         this Court has in personal jurisdiction over each of the Defendants, because Defendant KOLMAR

         maintains their principal place of business in New York and Defendants are routinely present and

         conduct regular business in the State of New York such that requiring an appearance does not

         offend traditional notions of fair play and substantial justice.

                 53.    This Court has personal jurisdiction over the Defendants, pursuant to, and

         consistent with, the Constitutional requirements of Due Process in that the Defendants acting

         through agents or apparent agents, committed one or more of the following:

                        a. Defendants transacted business in the State ofNew York; and

                        b. Defendants made or performed a contract or promise substantially
                           connected within the State ofNew York.




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           54.    At    all   times   hereinafter   mentioned,    the   Defendants    systematically,

    continuously, and regularly did business in the State of New York in that it places its products

    in the stream of commerce with actual knowledge that its products, including the above are

    distributed, sold and used from and in the State of New York.

           55.    At all times hereinafter mentioned the Defendants were in the business,

    investment, and management of, milling, designing, manufacturing, supplying, selling and/or

    distributing products, including the Asbestos Contaminated Products to which Plaintiff was

    exposed, and received substantial compensation and revenue from the sale of its Asbestos

    Contaminated Products in the State ofNew York.

           56.    At all times hereinafter mentioned, the Defendants had and continue to have

    significant sales of, as well as marketing promotion for their talcum powder products within

    the State ofNew York, including the Asbestos Contaminated Products to which Plaintiff was

    exposed, and are thereby subject to the jurisdiction of this State and Court.

           57.    At all times relevant, the products at issue in this case, specifically talc powders,

    were sold, managed, designed, specified, distributed, marketed, and directed to New York.

           58.    At all times herein mentioned, the Defendants, jointly and individually, were

    engaged in the business of, or were successors in interest to, entities engaged in the business of

    designing, mining, milling, manufacturing, researching, formulating, testing, producing,

    assembling, inspecting, distributing, marketing, labeling, promoting, packaging, and/or

    advertising for sale, and selling the Asbestos Contaminated Products to which Plaintiff was

    exposed in New York. These products were for use by consumers such as Plaintiff and were used

    and/or applied in the same condition as when the Asbestos Contaminated products left the




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          Defendants' control and in the anticipated manner. As such, each of the Defendants are

          individually, as well as jointly and severally, liable to the Plaintiff for his damages.

                  59.     Venue is properly laid in this judicial district pursuant to 28 U.S.C. 139l(b)(2) as

          substantial parts of the events or omissions giving rise to the claim, namely, Defendants designed,

          manufactured, supplied, sold and/or distributed the Asbestos Contaminated Products, specifically

          talcum powders in this district.

                  60.     Venue also is proper under 28 U.S.C. §§ 139l(a), 139l(b)(l), 139l(b)(2),

          139l(c)(l) and 139l(c)(2) because a substantial part of the events or omissions giving rise to the

          claim are in this judicial district.

                                                 FACTUAL ALLEGATIONS

                  61.     Upon information and belief, at all times pertinent hereto, Defendants CLUBMAN,

          ENGLISH LEATHER, MENNEN, and OLD SPICE I and II manufactured talcum powders to

          which Plaintiff was exposed.

                  62.     Upon information and belief, at all times pertinent hereto, Defendants CLUBMAN,

          ENGLISH LEATHER, MENNEN, OLD SPICE I and II, BRENNTAG, CAMC, CMC,

          KOLMAR, LUZENAC, WCD I, and WCD II, were engaged in mining, milling, producing,

          processing, bagging, designing, manufacturing, marketing, supplying, delivering, distributing,

          using, purchasing, importing, exporting, compounding, selling and/or otherwise placing into the

          stream of commerce: (i) raw talc and/or talc ore contaminated with asbestos fibers of various kinds

          and grades; and/or (ii) asbestos- contaminated talcum powder products.

                  63.     Upon information and belief, at all times pertinent hereto, Defendants IMG and

          PATRIARCH engaged in the management, supply, capitalization, distribution, and/or otherwise




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    placing in the stream of commerce asbestos-containing talcum powder manufactured by DANA

    under the brand, trade, or manufacturer's name "ENGLISH LEATHER."

             64.   Defendants committed misconduct in New York by concealing asbestos

    contamination, failing to warn, and marketing and selling a known dangerous product globally

    through its many subsidiaries.

             65.   At all times relevant, Defendants developed, over-saw, controlled and perfonned

    all testing for asbestos on its finished baby powder products that were sold in New York and

    throughout the United States.

             66.   Upon infonnation and belief, at all times herein mentioned, Defendants

    CLUBMAN, ENGLISH LEATHER, MENNEN, OLD SPICE I and II, selected third party labs in

    the U.S. to test talcum powder that was sold throughout the United States and controlled the testing

    methodology, materials, and was sole recipient of the results.

             67.   Upon information and belief, at all times relevant, Defendants controlled and

    directed all messaging and public communication, on the issue of asbestos contamination in talc

    from the United States.

            68.    Upon inf01mation and belief, at all times herein mentioned, Plaintiff was exposed

    to CLUBMAN, ENGLISH LEATHER, MENN"EN, and OLD SPICE I and II, talcum powder in

    the United States, including in but not limited to, New York, between approximately 1982 until

    2019.

            69.    At all times herein mentioned, the Defendants' talcum powder products as set f011h

    above were contaminated with asbestos and asbestos fibers.

            70.    Between approximately 1995 until 2019, Plaintiff personally used and applied

    CLUBMAN, ENGLISH LEATHER, MENNEN, and OLD SPICE I and II talcum powder,


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          manufactured by Defendants, as part of his daily hygiene routine. In addition, Plaintiff's parents

          applied, as designed and intended, CLUBMAN and ENGLISH LEATHER talcum powder to

          Plaintiff Brian Gref from the time of his birth in 1982 until approximately 1987. Plaintiff's parents

          applied Defendants' talcum powder to Plaintiff multiple times per day after they changed his

          diapers and bathed him. Plaintiff's parents continued to apply Defendants' powder to Plaintiff

          Brian Gref for several years after he stopped wearing diapers to prevent rashes and general skin

          irritation.

                   71.   The Defendants incorporated raw talc and talc ore during the manufacturing and

          blending of their Asbestos Contaminated Products.

                   72.   The talc ore used as an ingredient in Defendants' talcum powder and sold by the

          Defendants was contaminated with asbestos fibers due to the location and manner in which it was

          mined.

                   73.   The normal and anticipated use and application of Defendants' Asbestos-

          Contaminated Products produced dangerous levels of airborne asbestos fibers which Plaintiff

          breathed in.

                   74.   As a result of his exposure to the Asbestos-Contaminated Products mined, milled,

          designed, manufactured, supplied, sold and/or distributed by Defendants, Plaintiff was diagnosed

          with mesothelioma, an aggressive, incurable and tenninal cancer caused exclusively by exposure

          to asbestos fibers, in November of 2019.

                   75.   The dangers of talc and the understanding that mined talc was contaminated with

          asbestos can be traced back to the 1930's where a number of clinical reports indicated that talc

         workers were suffering from pneumoconiosis, a disease which causes symptoms similar to




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    asbestosis. By the l 960's talc miners had been identified as having an increased risk oflung cancer.

    Additionally, in the 1960's, tremolite asbestos fibers were identified in cosmetic talc products.

           76.     During the l 970's, the FDA became concerned about the possibility of asbestos

    contamination of cosmetic talc products, and called upon the cosmetic talc industry, including

    the Defendants, to discuss the analytical methods they were employing to test for the presence

    of asbestos fibers. In 1972, Dr. Seymour Lewin of New York University, under contract with

    the FDA, tested I 02 samples of commercial talc products, including Defendants' products,

    and found over 40 percent to contain asbestos fibers. These results were published in major

    newspapers, including the New York Times, and disseminated amongst those in the cosmetic

    industry, including the Defendants.

           77.     In response to these findings, the FDA announced a proposed rule in the Federal

    Register which would require that cosmetic talc products to be at least 99.9% free of

    amphibole and/or chrysotile asbestos fibers, to be considered safe.

           78.     In 1971 the FDA expressed concerns regarding asbestos in consumer talc

    products to those in the cosmetics industry, including Defendants. In response, Defendants

    should have: (a) directly informed consumers of these risks by including a warning label on

    their talc and talcum powder products; (b) instructed consumers on the safe handling,

    application and use of their products in order to minimize or eliminate exposure to respirable

    asbestos fibers; (c) utilized testing methods for their products that were precise enough to

    detect asbestos fibers; (d) changed talc source in their products; (e) removed talc as an

    ingredient and incorporated a reasonable alternative design, such as corn starch or mica (f)

    removed their talc products from the stream of commerce as they were defective and could




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                                                    JA570
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          cause consumers to be exposed to asbestos fibers, which would subject patients to

          unreasonable risk, including risk of death.

                 79.     Defendants knew or should have known about the presence of asbestos in their

          products based on their own internal testing results.

                 80.     Upon infonnation and belief, testing of CLUBMAN, ENGLISH LEATHER,

          MENNEN, and OLD SPICE I and II talcum powder has shown that it has been consistently and

          pervasively contaminated with asbestos for decades.

                 81.     Defendants failed to include warnings with their Asbestos Contaminated

          Products regarding the presence of asbestos fibers, or the health hazards associated with

          asbestos exposure.

                 82.     Defendants failed to include instructions with their products regarding the safe

          handling and use of the products, which could minimize or eliminate exposure to asbestos

          fibers. If Defendants had timely and adequately warned Plaintiff of this risk, Plaintiff's

          injuries would have been avoided.

                 83.     Upon information and belief, not only did Defendants fail to warn about the

          presence of asbestos fibers in their products, they actively concealed the fact that these

          products could be contaminated with asbestos fibers through misrepresentation regarding the

         purity of their talc and by employing less stringent analytical methodologies to certify that

         asbestos was not detected in their products, thus misleading consumers into believing that

         these products were safe and free of asbestos fibers.

                 84.     Defendants knew or should have known and notified consumers that their

         consumer talc products were defectively and improperly designed in that the raw talc and/or

         talc ore used as the main ingredient in these products was contaminated with asbestos fibers,


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    the inhalation of which could put consumers at risk for developing several asbestos-related

    diseases, including mesothelioma.

                                        COUNTI
                         NEGLIGENCE AS AGAINST ALL DEFENDANTS

           85.     Plaintiff repeats, reiterates and incorporates herein the prior and subsequent

    allegations of this Complaint with the same force and effect as if hereinafter set forth at length.

           86.     Plaintiff Brian Gref frequently and regularly was exposed to the Asbestos

    Contaminated Products mined, milled, produced, processed, designed, manufactured, marketed,

    supplied, delivered, distributed, purchased, imported, exported, converted, compounded, removed,

    sold, or otherwise placed in the stream of commerce by Defendants. Said exposure directly and

    proximately caused him to develop an asbestos-related disease, specifically mesothelioma.

           87.     At all times pertinent hereto, Defendants acted through their duly authorized agents,

    servants and employees who were then and there acting in the course and scope of their

    employment and in furtherance of Defendants' business.

           88.     Plaintiff Brian Grefwas necessarily and unavoidably exposed to and did inhale and

    ingest asbestos fibers from Defendants' Asbestos Contaminated Products.

           89.     As a proximate result of the exposure to asbestos from Defendants' Asbestos

    Products and/or Asbestos Contaminated Products, Plaintiff Brian Gref developed an asbestos-

    related disease, specifically mesothelioma.

            90.    At all relevant times, Defendants knew or should have known that the products they

    designed, milled, mined, manufactured, supplied, sold and/or distributed were consistently and

    pervasively contaminated with asbestos.

            91.    At all relevant times, Defendants knew or with reasonable diligence should have

    known and/or ascertained that their Asbestos Contaminated Products were inherently dangerous
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          and hazardous to the health and well-being of persons using, exposed to or otherwise coming in

          contact with Defendants' Asbestos Contaminated Products.

                 92.     At all relevant times, Defendants knew or with reasonable diligence should have

          known and/or ascertained that the inherent dangers posed by their Asbestos Contaminated

          Products were beyond the expectations of the ordinary user or handler who would come into

          contact with said Asbestos Contaminated Products.

                 93.     Defendants knew or with reasonable diligence should have known and/or

          ascertained that the reasonable and anticipated use of, exposure to or contact with their Asbestos

          Contaminated Products would cause the release of asbestos fibers and dust, creating a danger and

          unreasonable risk of injury and hann to those in the vicinity of such Asbestos Contaminated

          products.

                 94.     Defendants knew or with reasonable diligence should have known and/or

          ascertained that Plaintiff would use or come into contact with Defendants' Asbestos Contaminated

          Products, and in so doing, would become exposed to, inhale and ingest the asbestos fibers as they

          were discharged and released from said Asbestos Contaminated Products in the course of ordinary

          and foreseeable contact, application and use thereof.

                 95.     Defendants knew or with reasonable diligence should have known and/or

          ascertained that Plaintiff used, came into contact with and was exposed to asbestos fibers

          emanating and released from Defendants' Asbestos Contaminated Products without any

          knowledge of the dangers and potential risk of harm to which he was thereby being subjected.

                 96.     Despite knowledge of the unsafe and dangerous nature and prope1iies ofasbestos,

          Defendants willfully, recklessly and negligently:

                         a. failed to warn the public at large, and specifically Plaintiff Brian Gref,
                            of the dangers and hazards associated with or caused by the use of,
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                   exposure to or contact with Defendants' Asbestos Contaminated
                   Products resulting from the ordinary, anticipated and foreseeable use
                   thereof;

              b. failed to study, investigate and/or properly test their Asbestos
                 Contaminated Products for both potential and actual hazards
                 associated with the use of, exposure to and contact with said products
                 when said products were used in a reasonably foreseeable and
                 anticipated manner;

              c. failed to communicate or convey their suspicions and knowledge with
                 respect to potential or actual dangers and health hazards associated
                 with the use of, exposure to or contact with their Asbestos
                 Contaminated Products resulting in inhalation and ingestion of
                 asbestos fibers by the users and consumers of said Asbestos
                 Contaminated Products;

              d. failed to design or redesign their Asbestos Contaminated Products to
                 prevent, impede or minimize the release of airborne inhalable and
                 ingestible asbestos fibers;

              e. failed to design their Asbestos Contaminated Products to prevent,
                 impede or minimize the asbestos contamination of their product and/or
                 its component parts or ingredients.

              f. failed to properly design and manufacture their Asbestos
                 Contaminated Products to insure safe use and handling by users and
                 consumers under conditions that were reasonably anticipated and
                 foreseeable;

              g. failed to advise the public at large, and specifically Plaintiff Brian Gref
                 of the necessity for protective garments, safety equipment and
                 appliances to protect the user/consumer from harm caused by
                 inhalation and ingestion of asbestos fibers released by, and associated
                 with the ordinary and foreseeable use of and contact with Defendants'
                 Asbestos Contaminated Products;

              h. failed to institute, adopt or enforce appropriate safety protocols for
                 handling and use of their Asbestos Contaminated Products and to
                 communicate same to individuals, including Plaintiff, working with,
                 utilizing, handling or otherwise coming into contact with said
                 products;

              1.   failed to adequately package and/or design the packaging of their

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                                              JA574
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                              respective Asbestos Contaminated Products in a manner which would
                              ensure safe handling and use by those individuals, including Plaintiff,
                              who Defendants knew or should have reasonably anticipated would be
                              exposed to asbestos fibers and dust released by and associated with the
                              ordinary and foreseeable use of Defendants' Asbestos Products and/or
                              Asbestos Contaminated Products;

                         j.   failed to remove their Asbestos Contaminated Products from the
                              stream of commerce, despite knowledge of the unsafe and dangerous
                              nature and condition of said Asbestos Products and/or Asbestos
                              Contaminated Products;

                         k. continued to mine, produce, process, design, manufacture, market,
                            supply, deliver, distribute, use, purchase, import, export, convert,
                            compound, and/or sell Asbestos Contaminated Products for general
                            application and purposes without any alteration or change, despite the
                            potential and known health hazards and dangers posed to the
                            foreseeable and anticipated users and consumers of said Asbestos
                            Contaminated Products;

                         1.   failed to timely develop and utilize substitute materials for use in their
                              Asbestos Contaminated Products and/or develop non-hazardous
                              substitutes that could have been used for the same purposes as their
                              Asbestos Contaminated Products;

                         m. failed to design or redesign their Asbestos Contaminated Products to
                            prevent, impede or minimize the release of inhalable and/or ingestible
                            asbestos fibers and dust;

                         n. failed to recall and/or issue a post-sale warning for their Asbestos
                            Contaminated Products;

                         o. failed to provide warnings, advice, instructions or infonnation to
                            Plaintiff so that he may have made an adequate and informed judgment
                            as to the use of Defendants' Asbestos Contaminated Products; and

                         p. failed to develop, make available and/or provide non-hazardous
                            materials which could have been used for the same purpose as their
                            Asbestos Contaminated Products.

                 97.    Defendants, individually and as a group, since the early 1900s possessed medical

          and scientific data which clearly indicated that asbestos and, consequently, Asbestos Contaminated

          Products were hazardous. Further, since at least as early as 1971, Defendants possessed knowledge
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                                                  JA575
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    regarding the potential for the talc and/or talc ore used in their products was contaminated with

    asbestos fibers. However, in pursuit of pecuniary motives, Defendants, individually and

    collectively, suppressed, ignored and/or failed to act upon said knowledge and medical and

    scientific data and conspired to deprive the public, and particularly users of their Asbestos

    Contaminated Products, including Plaintiff, of said knowledge and medical and scientific data.

    Therefore, Defendants deprived the public at large, including Plaintiff, of the opportunity of free

    choice regarding whether or not to expose themselves to Defendants' Asbestos Contaminated

    Products. Defendants further willfully, intentionally and wantonly failed to warn Plaintiff of the

    serious bodily harm which would result from the inhalation and ingestion of asbestos fibers from

    their Asbestos Contaminated Products.

            98.    Defendants' continued mining, production, processing, design, manufacture,

    marketing, supply, delivery, distribution, installation, use, purchase, importation, exportation,

    conversion, compounding, and/or sale of their respective Asbestos Contaminated Products under

    the circumstances and conditions enumerated above demonstrates a callous, reckless, willful,

    depraved and wanton indifference to and disregard of the health, safety and welfare of the public

    at large, including Plaintiff

            99.    As a result of the Defendants' negligence and recklessness, Plaintiff unwittingly

    and unavoidably inhaled and ingested asbestos fibers, which resulted in the development of his

    asbestos-related disease and injuries. Plaintiff has been caused to endure severe physical pain and

    suffering and mental anguish and has been placed at increased risk for developing other serious

    bodily injuries. Plaintiff had expended sums of money for medical care, treatment and monitoring

    related to his exposure to asbestos and his asbestos related disease and sequelae. Plaintiff was

    prevented from pursuing his normal activities and employment, was deprived of his ordinary

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          pursuits and enjoyment of life as a result of his mesothclioma. Plaintiff has suffered pecuniary

          losses as a result of his asbestos-related injuries.

                  100.    Plaintiffs injuries an.: a direct and proximate result of the negligence and

          carelessness of Defendants ;ind their demonstrated wanton and reckless disregard for Plaintiff's

          safety and well-being.

                  101.    Defendants' utter failure to use reasonable care under all the circumstances is the

          proximate cause of Plaintiff's asbestos-related disease and injuries.

                  102.    By reason of the foregoing Plaintiff suffered and continues to suffer great pain,

          personal injuries, agony, mental anguish, emotional distress, surgeries, hospitalization, physical

          impainnent, and economic losses.

                 103.    That no negligence on the part of the Plaintiff contributed to the occurrence alleged

          herein in any manner whatsoever.

                 104.    As a direct and proximate cause of the Defendants' negligence, breach of

          warranties, both expressed and implied, and strict liability in tort, Plaintiff contracted

         mesothelioma and suffers from various diverse injuries and attendant complications related to his

          mesothelioma diagnosis, endured great pain and suffering, and mental anguish.

                 105.    It was foreseeable to the Defendants that Plaintiff and others similarly situated,

         would be injured as a result of their actions, inactions and misconduct.

                 WHEREFORE, Plaintiff demands judgment against the Defendants, jointly and severally

         for:

                         a. Compensatory damages;

                         b. Punitive damages;

                         c. Pre-judgment and post judgment interest;


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                   d. Costs;

                   e. Attorney fees and litigation expenses; and

                   f.   Such other relief as the Court may deem just and proper.

                                    COUNT II
                   BREACH OF WARRANTY AS AGAINST ALL DEFENDANTS

           106.    Plaintiff repeats, reiterates and incorporates herein the prior and subsequent

    allegations of this Complaint with the same force and effect as if hereinafter set forth at length.

           107.    The Defendants conduct and/or have conducted business in New York at all times

    relevant herein, including but not limited to, the sale, management, distribution, marketing, design

    fonnulation, processing and/or manufacturing of their talc/talcum powder, including asbestos

    contaminated talc/talcum and other finished and unfinished asbestos containing and/or asbestos

    contaminated products to which Plaintiff was exposed.

            108.   The Defendants breached their warranties, both express and implied, for fitness of

    purpose and merchantability.

            109.   In reliance on Defendants' warranties, Plaintiff Brian Gref used, came into contact

    with and/or was otherwise exposed to Defendants' Asbestos Contaminated Products, causing him

    to unknowingly and unwittingly inhale and ingest asbestos fibers resulting from the ordinary and

    foreseeable use of said products.

            110.   The Defendants are strictly liable in tort

            111.   As a direct and proximate cause of the Defendants' negligence, breach of

    warranties, both expressed and implied, and strict liability in tort, Plaintiff contracted

    mesothelioma and suffers from various diverse injuries and attendant complications related to his

    mesothelioma diagnosis, endured great pain and suffering, and mental anguish.



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                                                    JA578
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                  112.   It was foreseeable to the Defendants that Plaintiff and others similarly situated

          would be injured as a result of their actions, inactions and misconduct.

                  113.   That no negligence on the part of the Plaintiff contributed to the occurrence alleged

          herein in any manner whatsoever.

                 114.    That by reason of the foregoing, the Plaintiff has been damaged in an amount to be

          established at trial, but the damages of the Plaintiff exceed $75,000.00.

                 WHEREFORE, Plaintiff demands judgment against the Defendants, jointly and severally

          for:

                         a. Compensatory damages;

                         b. Punitive damages;

                         c. Pre-judgment and post judgment interest;

                         d. Costs;

                         e. Attorney fees and litigation expenses; and

                         f.   Such other relief as the Court may deem just and proper.

                                                COUNT III
                              STRICT LIABILITY AS AGAINST ALL DEFENDANTS


                 115.    Plaintiff repeats, reiterates and incorporates herein the prior and subsequent

         allegations of this Complaint with the same force and effect as if hereinafter set forth at length.

                 116.    Defendants mined, produced, processed, designed, manufactured, marketed,

         supplied, delivered, distributed, installed, used, purchased, imported, exported, converted,

         compounded, removed, sold or otherwise placed into the stream of commerce Asbestos

         Contaminated Products in a defective, unsafe and unreasonably dangers condition, and said




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   products were expected to and did reach users, handlers and other persons coming into contact

    therewith without substantial change in the condition in which they left Defendants' possession.

           117.    Defendants Asbestos Contarninilted Products were defective in their design,

   manufacture, and in its failure to provide adequate warnings, and said defect existed at the time

    the Products left the Defendants' possession and control.

           118.    Defendants' Asbestos Contaminated Products did not contain a warning and/or

    information concerning the asbestos-related dangers posed to persons using, handling or otherwise

    coming into contact therewith.

           119.    Defendants' Asbestos Contaminated Products were defectively designed and

    during the relevant time period, Defendants were aware of a reasonable alternative design that

    would have altered the dangerous and defective condition.

            120.   Defendants' Asbestos Contaminated Products did not contain adequate and correct

    warnings or instructions regarding safety precautions to be observed by users, handlers and persons

    who would foreseeably use or otherwise come into contact with said products.

            121.   At all relevant times, Defendants' Asbestos Contaminated Products were being

    employed for the purpose and in the manner that was intended and foreseeable. The defects of

    Defendants' Asbestos Contaminated Products were not discoverable by Plaintiff through the

    exercise of reasonable care, the dangers of said products were not perceivable by Plaintiff, and

    Plaintiff would not have otherwise averted his injuries by the exercise ofreasonable care.

            122.   Defendants' Asbestos Contaminated Products were defective and dangerous at the

    time they left Defendants' possession, as they contained a latent defect and were harmful,

    poisonous and deleterious when inhaled and/or ingested.




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                 123.    Defendants knew or otherwise expected that their Asbestos Contaminated Products

          would reach the ultimate users, including Plaintiff, without substantial change from, or alteration

          of, the condition in which said products were originally mined, produced, processed, designed,

          manufactured, marketed, supplied, delivered, distributed, installed, used, purchased, imported,

          exported, converted, compounded, removed or sold.

                 124.    Defendants knew or in the exercise of reasonable diligence should have ascertained

         that Plaintiff and others similarly situated would be the ultimate users or consumers of

         Defendants' Asbestos Contaminated Products and would be exposed to asbestos dust and fibers

         therefrom.

                 125.   Defendants knew that their Asbestos Contaminated Products would be used without

         inspection for defects and, by placing them in the marketplace, represented to the public at large,

         including Plaintiff that said products could be utilized safely in the manner and for the purpose for

         which they were intended.

                 126.   Defendants knew that their Asbestos Contaminated Products were defective and

         were incapable of being made safe for their ordinary, intended and foreseeable uses and purposes

         and that these defects were not discoverable by Plaintiff, or others similarly situated, in the

         exercise of reasonable care. The dangers and hazards of said products were not perceivable to

         Plaintiff such that he might otherwise have averted his injuries by the exercise of reasonable care.

         In light of the foregoing, the ordinary and foreseeable use of Defendants' Asbestos Contaminated

         Products constituted a dangerous and hazardous activity and placed the ultimate users, including

         Plaintiff, at an unreasonable risk of harm and injury. The risks and dangers created by the use of

         Defendants' Asbestos Contaminated Products outweighed their utility.




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           127.      The Defendants failed to implement or use the reasonable alternative design that

    was easily available at the time of manufacture, and would have prevented the injury causal defect

    and made the product safe for its intended purpose.

           128.      The Defendants, jointly and severally, marketed an ultra-hazardous product and

    placed that product in the stream of commerce.

           129.      Defendants breached their non-delegable duty to warn and negligently supplied

    defective materials and products without ensuring that Plaintiff, was warned about the dangers of

    asbestos exposure.

           130.      The Defendants aforesaid were willful, by intentionally withholding from the

    Plaintiff, and his family, the known dangers associated with the use of asbestos compounds, second

    hand exposure, household exposure and intentionally withholding from the Plaintiff and his

    family, knowledge that breathing in respirable asbestos fiber dust generated from asbestos-

    contaminated talc powder products can be fatal. Defendants issued infonnation, which they knew

    to be false concerning their product safety, and did willfully, wantonly and intentionally prevent

    the dissemination of infonuation known to them concerning the products' hazards and dangers,

    and willfully, wantonly and intentionally failed to take the appropriate steps to minimize the risks

    of asbestos exposure, and otherwise acted willfully, wantonly and intentionally with reference to

    their products

           131.      As a consequence of the warning, manufacturing and design defects of Defendants'

    Asbestos Contaminated Products and Plaintiffs resultant inhalation and/or ingestions of asbestos

    fibers and dust resulting from the ordinary and foreseeable use of said products, Plaintiff has

    sustained serious and permanent injuries and damages as more fully described herein.




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                     132.    Plaintiffs injuries are the direct and proximate result of Defendants' placement into

          the stream of commerce of defective and unreasonably dangerous Asbestos Contaminated

          Products.

                     133.   The Defendants, by virtue of the foregoing, ,ire strictly liable to Plaintiff for injuries

          and illnesses resulting from the defects and dangerous propensities of their Asbestos Contaminated

          Products.

                    134.    By reason of the foregoing, Plaintiff su lfercd great pain, personal injuries, agony,

          mental anguish, emotional distress, surgeries, hospit;ilization, physical impairment, and economic

          losses.

                    135.    That no negligence on the part of the Plaintiff contributed to the occurrence alleged

          herein in any manner whatsoever.

                    136.    It was foreseeable to the Defendants that Plaintiff and others similarly situated,

          would be injured as a result of their actions, inactions and misconduct.

                    137.    That by reason of the foregoing, the PlaintiiThas been damaged in an amount to be

          established at trial, but the damages of the Plaintiff exceed $75,000.00

                    WHEREFORE, Plaintiff demands judgment against the Defendants, jointly and severally

         for:

                            a. Compensatory damages;

                            b. Punitive damages;

                            c. Pre-judgment and post judgment interest;

                            d. Costs;

                            e. Attorney fees and litigation expenses; and

                            f.   Such other relief as the Court may deem just and proper.


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                                   COUNTIV
             NEGLIGENT FAILURE TO WARN AS AGAINST ALL DEFENDANTS

            138.   Plaintiff repeats, reiterates and incorporates herein the prior and subsequent

    allegations of this Complaint with the same force and effect as if hereinafter set forth at length.

            139.   Defendants breached their non-delegable duty to warn and negligently marketed,

    sold, manufactured, designed, formulated, distributed and/or supplied defective materials and

    products without ensuring that Plaintiff was warned about the dangers of asbestos exposure.

            140.   Plaintiff was exposed to asbestos fibers from Asbestos Contaminated Products

    mined, produced, processed, designed, manufactured, marketed, supplied, delivered, distributed,

    installed, used, purchased, imported, converted, compounded, removed, sold, or otherwise placed

    into the stream of commerce by Defendants.

            141.   During the course of his lifetime, Plaintiff was exposed to and inhaled and/or

    ingested asbestos dust and fibers from Defendants' Asbestos Contaminated Products and such

    exposure directly and proximately caused him to develop an asbestos-related disease

            142.   At all relevant times, Defendants knew or should have known that their Asbestos

    Contaminated Products were inherently dangerous and that such dangerous qualities were beyond

    the expectations and knowledge of the ordinary user or handler who would come into contact with

    said Asbestos Contaminated Products.

            143.   Defendants negligently failed to provide adequate and proper warnings regarding

    the health hazards posed by their products.

            144.   Defendants negligently failed to warn and failed to provide adequate instructions

    of safe handling methods, if any, which could have been utilized by reasonably foreseeable users,

    handlers and other persons came into contact with Defendants' Asbestos Containing Products.



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                  145.     Defendants negligently failed to render warnings or advice or give instructions and

          information to Plaintiff so that he may have made an adequate and informed judgment as to the

          use of Defendants' Asbestos Contaminated Products.

                  146.     Defendants negligently failed to investigate and/or test for the hazards of asbestos.

                  147.     To the extent that a Defendant inquired as to the hazards of asbestos, Defendant

          negligently failed to convey to the users and consumers of its Asbestos Contaminated Products,

          including Plaintiff, whatever knowledge of dangers, health hazards or necessary safety precautions

          it discovered.

                  148.     Defendants, individually and as a group, since the early 1900s possessed medical

         and scientific data which clearly indicated that asbestos and, consequently, Asbestos Contaminated

         Products were hazardous. Further, since at least as early as 1971, Defendants possessed knowledge

         regarding the potential for the talc and/or talc ore used in their products was contaminated with

         asbestos fibers. However, in pursuit of pecuniary motives, Defendants, individually and

         collectively, suppressed, ignored and/or failed to act upon said knowledge and medical and

         scientific data and conspired to deprive their salesmen, and those who directly communicated with

         the salesmen, and the public, and particularly users of their Asbestos Contaminated Products,

         including Plaintiff, of said knowledge and medical and scientific data. Therefore, Defendants

         deprived the public at large, including Plaintiff, of the opportunity of free choice regarding

         whether or not to expose themselves to Defendants' Asbestos Contaminated Products. Defendants

         further willfully, intentionally and wantonly failed to warn Plaintiff of the serious bodily hann

         which would result from the inhalation and ingestion of asbestos fibers from their Asbestos

         Contaminated Products.




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              149.   Defendants' negligent and reckless failure to use reasonable care in providing

    adequate warnings under all of the circumstances was the direct and proximate cause of Plaintiffs

    injuries.

              150.   As a direct and proximate result of, using or otherwise being present near

    Defendants' Asbestos Contaminated Products and the consequent and unavoidable inhalation and

    ingestion of asbestos fibers therefrom, Plaintiff developed asbestos-related injuries and endured

    great physical pain and suffering, mental anguish, and loss of enjoyment of his life.

              151.   By reason of the foregoing, Plaintiff suffered great pain, personal injuries, agony,

    mental anguish, emotional distress, surgeries, hospitalization, physical impainnent, and economic

    losses.

              152.   That no negligence on the part of the Plaintiff contributed to the occurrence alleged

    herein in any manner whatsoever

              153.   It was foreseeable to the Defendants that Plaintiff and others similarly situated,

    would be injured as a result of their actions, inactions and misconduct

              154.   That by reason of the foregoing, the Plaintiff has been damaged in an amount to be

    established at trial, but the damages of the Plaintiff exceed $75,000.00.

          WHEREFORE, Plaintiff demands judgment against the Defendants, jointly and severally for:

                     a. Compensatory damages;

                     b. Punitive damages;

                     c. Pre-judgment and post judgment interest;

                     d. Costs;

                     e. Attorney fees and litigation expenses; and

                     f.   Such other relief as the Court may deem just and proper.

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                                                PUNITIVE DAMAGES

                  155.    Defendants and each of them had a duty to refrain from willful, reckless and

          wanton acts, omissions and/or misconduct which would foreseeably harm Plaintiff I {rian Gref

          and/or expose Plaintiff Brian Gref to hann.

                  156.    Defendants and each of them breached said duties in that one or more of the above-

          described :i.cts and/or omissions constitute willful, reckless, and wanton misconduct and

          manifests an intentionally and reckless <lisregard for the health, safety, and well-being of Plaintiff

          Brian Gref and others similarly situated.

                  157.   As a direct and proximate result of such willful, reckless, and wanton acts and/or

          omissions on the part of the Defendants and each of them, Plaintiff Brian C,refwas exposed to

          asbestos as described, causing Plaintiff Brian Gref to develop mesothelioma and thereby sustain

          damages as outlined above as against each Defendant.

                 158.    In addition to compensatory damages, an award of punitive damages is necessary

          and appropriate to punish Defendants and each of them for their willful, wanton and intentional

         misconduct and reckless disregard for the health, safety an<l well-being of Plaintiff Brian Gref,

         and to deter Defend,mts and others from engaging in like misconduct in the future.

                 WIIEREFORl(, Plaintiff demands and prays judgment against Defendants and each

         of them, jointly, severally or in the alternative, as follows:

                         a. Compensatory damages on each cause of action in an amount to be
                            detennined at trial, but exceeding the jurisdictional limits of any and al I lower
                            courts;

                         b. Punitive damages in amounts to be detennined at trial, but exceeding the
                            jurisdictional limits of any and all lower courts;

                         c. J\n award of interest (pre- and post- judgment), costs and disbursements
                            incurred in this action; and,


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                   d. Such other and further relief as this Court deems appropriate.


                                            JURY DEMAND

           Plaintiff hereby invokes his right to a trial by jury as to all counts and issues pied against

    the Defendants in this case.

           WHEREFORE, Plaintiff demands judgment against Defendants, jointly and severally, on

    the First, Second, Third, and Fourth Counts in an amount to be determined at trial of this matter,

    which exceeds $75,000.00 on each Cause of Action, together with the costs and disbursements of

    this action, and for such other and further relief as the Court herein deems just and proper.

    Dated: New York, New York                             SIMMONS HANLY CONROY
           January 29, 2021




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                     CERTIFICATE OF SERVICE

     This is to certify that I have this December 20, 2023, electronically

filed the foregoing with the Clerk of Court using the CM/ECF system,

which will notify all registered counsel.

                                        /S/ Benjamin L. Hatch
                                        Benjamin L. Hatch
                                        Counsel for Appellant American
                                        International Industries
